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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NIAL BENTON and HUTTON                      *
GRAHAM, individually and on
behalf of similarly situated                *
persons,
                                            *           Civil No.     1:17-cv-
                        Plaintiff,                 00296-WSD
      v.                                    *

DELI MANAGEMENT, INC.                       *
d/b/a “JASON’S DELI,”
                                            *
                     Defendant.
                                         ******

                  EXPERT REPORT OF PAUL T. LAURIA

      I have been retained by the Plaintiffs in the above-styled case to provide

expert opinions on issues relevant to the case. This report constitutes a

complete statement of all opinions I have formed and intend to express at the

trial of this matter, along with an explanation of the basis and reasons for

them as required by Fed. R. Civ. P. 26(a)(2) based on the information received

to date. If, after submitting this report, I receive additional relevant

information, I reserve the right to supplement this report as necessary.

Dated: August 8, 2018                        Paul T. Lauria, President
                                             Mercury Associates, Inc.
                                             7361 Calhoun Place, Suite 680
                                             Rockville, MD 20855
                                             301 519 0535 (office)




                                                                              1
                              EXHIBIT D
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                                QUALIFICATIONS

      I am the President of Mercury Associates, Inc., one of North America’s

premier providers of vehicle fleet management consulting services. I co-

founded Mercury Associates in 2002.

      I hold a Master’s Degree in Transportation Planning from the University

of North Carolina, Chapel Hill. I have more than 30 years of experience

consulting with hundreds of organizations on the management of the costs of

owning and operating vehicles for business purposes. Before co-founding

Mercury, I was a Vice President in Maximus, Inc., where I served as national

director of fleet management consulting services. Prior to that, I was a Senior

Manager in the Transportation Consulting Group of Ernst & Young.

                            SUMMARY OF OPINIONS

      I was asked to determine whether Jason’s Deli’s vehicle reimbursement

program reasonably reimburses its delivery drivers for the costs incurred in

owning and operating personal vehicles to make deliveries for Jason’s Deli

and, if not, to calculate reimbursement rates that would be sufficient to

reimburse drivers for these costs.

      Based on my education, training, professional experience, and review of

materials in this case and general industry information, and relying on vehicle

cost determination methods that are sound and widely accepted in my

industry, I have formed the following opinions in this case:




                                                                             2
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1)      When an employer chooses to reimburse a large number of

        employees for the cost of owning and operating their personal

        vehicles for business use, it is standard practice in my industry to

        reimburse employees using an aggregate reimbursement rate, like

        the IRS Standard Mileage Rate or the one developed by Jason’s Deli.

2)      From my review of information and data furnished by Jason’s Deli

        and other relevant industry data, I have found that its vehicle

        reimbursement program does not reasonably reimburse its delivery

        drivers for the costs they incur delivering food for Jason’s Deli.

        Specifically, Jason’s Deli’s reimbursement program is flawed for the

        following reasons:

        a. Jason’s   Deli    does   not   employ   a   structured,   documented

           methodology to determine driver reimbursement rates.

        b. While little documentation was provided on the development of

           Jason’s Deli’s per-delivery reimbursement rate, the evidence that

           I have reviewed suggests that reimbursement rates are based

           only on fuel costs, implicitly assuming that that drivers do not

           need be compensated for maintenance and repair, insurance

           coverage, vehicle depreciation, and other costs of vehicle

           ownership or operation. This causes Jason’s Deli’s estimates of

           delivery drivers’ vehicle costs to significantly understate the actual

           costs of owning and operating a motor vehicle. While it is true that


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               certain vehicle costs borne by drivers would exist regardless of

               whether or not they used their vehicles for delivery, all vehicle

               ownership costs are to some extent interrelated, and when a

               significant portion of a vehicle’s utilization is for the benefit of an

               employer, such costs cannot be ignored based on the argument

               that only fuel costs need be reimbursed.

   3)       From my review of data on delivery driver vehicles and deliveries

            provided by Jason’s Deli and other industry data on vehicle costs, I

            have calculated a reasonable per-mile reimbursement rate for each

            of the markets in which Jason’s Deli operates, or has operated during

            the relevant time period, as set forth in a detailed Microsoft Excel®

            workbook appended to this report.1

              FACTS AND DATA REVIEWED IN FORMING OPINIONS

        A. Evidence Developed In This Case

        In forming my opinions expressed herein and in preparing this Expert

Report, I reviewed the following materials developed as evidence in this case:

       Questionnaires completed by the Jason’s Deli delivery drivers who are

        currently plaintiffs in this case;2




        1
          I calculated the cost per delivery mile for four Jason’s Deli market regions for each
of five years (2014-2018). My cost calculations and all the underlying data, assumptions,
mathematical equations and formulas I used to develop them are contained in an annotated
Excel workbook, as they are too voluminous to include in this document.
        2
          The responses to this questionnaire were compiled into a table which can be found
in the provided Excel workbook on Sheet 27.

                                                                                             4
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     A list of Jason’s Deli store locations furnished to me by Plaintiff’s

      Counsel;

     Jason’s Deli store delivery data from the years 2014 through 2018,

      obtained from Jason’s Deli, with delivery distances calculated by

      Plaintiffs’ Council; and

     An email exchange between Brian Hebert and Willa White of Jason’s

      Deli, Hebert Dep. Ex. 6, which suggests the Defendant’s reasoning in

      determining driver reimbursement rates.

      B. Industry Information

      In forming my opinions expressed herein and in preparing this Expert

Report, I also reviewed the following industry information:

     Vehicle fuel economy (MPG) rates for applicable vehicle models and

      model years published by the U.S. Environmental Protection Agency.3

     Vehicle fuel costs per gallon for regular gasoline for the applicable time

      periods and geographic regions in which Jason’s Deli operated stores

      and made deliveries, published by the U.S. Department of Energy,

      Energy Information Administration.4

     U.S. Internal Revenue Service Standard Mileage Rates for the applicable

      time periods.




      3
          Workbook sheet 16
      4
          Workbook sheet 15

                                                                              5
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      Consumer Price Indices for vehicle purchase, maintenance and repair,

       and insurance costs published by the U.S. Department of Labor, Bureau

       of Labor Statistics.5

      Vehicle maintenance and repair cost projections for vehicle models

       representative of those actually used by Jason’s Deli drivers published

       by Edmunds as part of its True Cost to Own® vehicle cost calculator.6

      Surveys of insurance companies conducted to obtain costs of insurance

       for applicable vehicle models, ages, locations, and coverage types and

       amounts.7

      Estimated used vehicle private-party sale prices for vehicle models

       representative of those actually used by Jason’s Deli drivers derived

       from Edmunds’ True Market Value® calculator.8

       I have also relied on my own knowledge and experience spanning 33

years providing and performing vehicle cost estimates for a wide array of

public and private-sector entities.

       It is common in my profession to rely on these sources, other than the

driver questionnaire response data, in calculating vehicle ownership and

operating costs. I and many of my employees have used these sources of data

to estimate vehicle ownership and operating costs for corporate/commercial

as well as federal, state, and local government entities.


       5
           Workbook   sheet 18
       6
           Workbook   sheet 19
       7
           Workbook   sheet 11
       8
           Workbook   sheets 20-26

                                                                               6
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      I also relied on the work of an employee of Mercury Associates, Inc.,

Gary Nalven. Mr. Nalven worked under my supervision to develop the

aforementioned Excel-based vehicle cost estimation and reimbursement rate

workbook, and assisted me in drafting certain sections of this report which

present information on the specific inputs to and outputs of the workbook. His

work applied the methodology I describe in this report.




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                                BASIS FOR OPINIONS

Opinion 1: When an employer chooses to reimburse a large number of
employees for the cost of owning and operating their personal
vehicles for business use, it is standard industry practice to
reasonably estimate such costs on an aggregate basis.

   A. Relevant Experience

      My company and I are frequently engaged to advise businesses and

governmental entities on determining and managing the costs of owning and

operating motor vehicles for business purposes. I have been providing

research and consulting services on such matters for more than 30 years. This

includes determining and comparing the cost of organizations meeting the

business vehicle needs of its employees using employer-owned versus

employee-owned vehicles. For instance, as long ago as 1988, while employed

by Ernst & Young, I co-directed a landmark research study on the comparative

costs of employer versus employee provision of business cars.9 More recently,

I directed a study for the State of New York, one of whose objectives was to

identify cost savings that could be achieved by furnishing State-owned cars to

some of the State employees who collectively were receiving almost $13

million per year in reimbursement for driving their personally owned vehicles

on State business.

      In the course of my consulting work, I frequently have been called upon

to quantify and analyze the total cost of ownership (TCO) of different types of


      9
         Lauria, Paul T. and Taggart, Robert E., Employer versus Employee Provision of
Business Cars: A Cost Comparison, Iselin, NJ: NAFA Foundation, May 1989.

                                                                                    8
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vehicles – ranging from passenger cars to multi-million dollar pieces of mining

and construction equipment – over a range of possible vehicle replacement

cycles in terms of age, accumulated mileage, or both. This is the same type

of vehicle cost analysis I have performed in this case to determine

reimbursement rates for Jason’s Deli drivers that are adequate to reasonably

cover their costs of owning and operating a vehicle for business purposes.

   B. Driver Reimbursement Principles

        It is generally impractical, illogical, and unnecessary for an employer to

reimburse a large number of employees for the costs of the business use of

their    personally   owned   vehicles   based   on   the   actual   out-of-pocket

expenditures each employee makes for such use while employed. For this

reason, programs that employ reimbursement rates based on the typical costs

of owning and operating a vehicle are widely used by business owners as the

basis for making such reimbursements. Indeed, the most obvious and widely

used program of this type is the Internal Revenue Service Standard Business

Mileage Rate.10 Jason’s Deli, however, does not use the Standard Business

Mileage Rate for reimbursing its delivery drivers. It uses an alternative, but

still aggregate or class-wide reimbursement program, under which it

reimburses these drivers based on the estimated gasoline costs they incur




        10
            See, for example, IRS 2017 Standard Mileage Rates, available at
https://www.irs.gov/pub/irs-drop/n-16-79.pdf and Internal Revenue Bulletin 2010-51
available at https://www.irs.gov/pub/irs-drop/rp-10-51.pdf.

                                                                                9
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instead of the actual expenditures they make to own and operate their

vehicles.

      In most situations, reimbursing individual employees for their vehicle-

related expenditures is illogical and unnecessary because out-of-pocket

expenses provide an incomplete picture of the total cost of owning and

operating a vehicle for business purposes. This is because many of the largest

expenses that a vehicle owner incurs are intermittent, not continuous, in

nature. As a result, the vehicle-related expenditures made by a given driver

during a given period of time – such as their period of employment with

Jason’s Deli – often reflect maintenance, repair, and other practices and

events (e.g., an accident, a failed transmission, a replaced engine, etc.) that

occurred before or after that period.

      To give one example, it would be absurd to suggest that the entire cost

of a major repair expenditure such as replacing a worn-out transmission in

the second month of a driver’s employment with Jason’s Deli should be wholly

borne by the company when this expense was largely the result of vehicle

operation, usage, maintenance and repair, and/or other practices or events

that occurred prior to the driver’s employment. Conversely, if a driver replaces

his/her transmission two months before she begins working for Jason’s Deli,

it is undeniable that the company derives benefits from the large expense the

driver incurred to make such a repair. But if Jason’s Deli reimbursed only the

actual vehicle expenses incurred by the driver while employed, the company


                                                                             10
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would bear no portion of the cost of this repair despite enjoying the obvious

benefits of it having been made.

      Perhaps the most important reason, however, that reimbursing

employees for their actual vehicle expenditures during a given period of time

is not an adequate means of compensating them for these costs is that one of

the largest costs associated with owning and operating a vehicle is not a

discrete, out-of-pocket expense for which an employee can produce a receipt,

or for that matter, understand and calculate. This cost, depreciation, accounts

for an average of 46 percent of the total cost of ownership of a vehicle

according to the IRS.11

      Depreciation is a way of measuring and accounting for the costs of

buying a vehicle, spread over time. It reflects the diminishing market value of

the vehicle as it ages and accumulates mileage and associated wear and tear.

But the exact depreciation cost of a given vehicle to a given vehicle owner

cannot be determined unless and until that vehicle has been sold. It is

possible, however, to estimate depreciation prior to when the vehicle has been

sold based on a wealth of published information on the sales prices and

realized residual values of the myriad of types of vehicles operated in the

United States.




      11
          Depreciation accounts for $0.25 of the 2018 standard mileage rate of $0.545
according to IRS Notice 2018-03: 2018 Standard Mileage Rates, Section 4.

                                                                                  11
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      It also is impractical and unnecessary to have a different reimbursement

rate for each employee to account for the fact that employees drive different

vehicles, purchase different insurance, use different types of tires, drive

different distances, or live in different locations. Behaviors that, at first glance,

may appear individual among drivers are actually captured by utilizing an

average reimbursement cost. This is because of the interrelatedness of the

costs of operating a vehicle.

      For instance, if I base a reimbursement rate, in part, on the costs of

vehicle manufacturers’ recommended preventive maintenance activities, my

estimates of vehicle repair, fuel, and depreciation costs obviously presume

that these recommendations are being followed. But, a driver is, if anything,

going to have higher repair and depreciation costs and lower fuel efficiency if

s/he does not perform these services as recommended – this is precisely why

they are referred to as preventive maintenance services. Thus, it is not

necessary to know if and when drivers actually performed those services in

calculating the costs of, and a reasonable reimbursement rate for, a typical

vehicle, because assuming that they did so is a best-case assumption. Human

nature being what it is, this assumption yields an eminently reasonable, if

somewhat conservative, estimate of the costs associated with the business

use of the vehicle.

      For all the reasons just cited, the prevailing industry practice based on

my experience consulting for organizations that permit or require their


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employees to use their personally owned vehicles for business purposes use

either the IRS Standard Business Mileage Rate or an IRS-approved FAVR

(fixed and variable rate) program.

         The costs of using personal vehicles for business can be estimated to a

reasonable degree of certainty by applying information from a cross-section

of such employees and the vehicles for which costs are to be estimated to

information from a) vehicle manufacturers; b) federal government agencies

such as the EPA, Energy Information Administration, IRS, and Bureau of Labor

Statistics; c) transportation and vehicle-related research organizations such

as Edmunds, Inc., d) insurance companies and brokers; and e) other entities.

In my profession, these sources, including those that I have relied on, are

reliable and appropriate to use to estimate vehicle ownership and operating

costs.

         For purposes of this report, my methodology for determining the costs

of Jason’s Deli delivery drivers’ vehicles is similar to the one employed in the

development the Standard Business Mileage Rate for the IRS. It involved

basing reimbursement rates on the weighted average cost of vehicles of

representative types, ages, and usage levels in representative locations; that

is, on the costs of a typical Jason’s Deli delivery driver’s vehicle.

         In fact, it is my opinion that this alternative approach understates the

costs incurred by an employer’s delivery drivers and, hence, the benefits

enjoyed by the employer as a result of its reliance on employees’ personally-


                                                                              13
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owned vehicles to meet its product distribution needs. This is, in part, because

it does not account for many attenuated costs that an employer avoids by

using an employee-owned fleet of vehicles, such as the time and labor costs

associated with purchasing and disposing of vehicles and all the goods (e.g.,

fuel) and services (e.g., insurance, maintenance and repair) associated with

their ownership and use.

      My company has performed detailed vehicle cost analyses for

organizations with as many as 10,000 leased company cars. The economies

of scale associated with the performance of indirect vehicle management

activities like those just cited are obviously far greater and their costs thus

much lower than those that any individual vehicle owner could hope to realize.

Our analyses have found that the annual costs of passenger vehicle

management activities are generally around $200 per year. That said, I have

not attempted to capture these indirect costs mentioned above in my

methodology and have restricted my analysis to those categories of direct

vehicle cost that Jason’s Deli is currently reimbursing for and the direct

benefits that it enjoys by utilizing the fleet owned and maintained by its

drivers.

   C. Aggregate or Class-wide Reimbursement Rate

      An aggregate or class-wide reimbursement rate is a single, generally

per-mile, rate that is used to reflect the reasonable costs of a group of drivers.

It is generally used in lieu of reimbursing for actual expenditures since, for


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large employers, doing so would be cost-prohibitive, impractical, and contrary

to industry practice.

       The most widely recognized estimate of the cost per mile of owning and

operating a motor vehicle is the IRS Standard Business Mileage Rate. In my

experience, most businesses that do not have a fleet of vehicles but instead

reimburse employees to drive their own vehicles for business purposes do so

using this cents-per-mile rate. This rate, set at $0.545 for 2018, is accepted

by the IRS as an appropriate substitute for the recording of actual vehicle

expenses. Thus, in my field, the IRS rates are considered a reasonable

estimate of vehicle expenses on which employers can rely. The reimbursement

rate used by Jason’s Deli, when applied to the nationwide average delivery

round trip distance of 9.5 miles,12 is significantly lower than the ones the IRS

has adopted. In 2016, the IRS Standard Business Mileage Rate was $0.54 per

mile. Jason’s Deli’s actual per-mile rate at that time, based on $1.25 to $1.50

reimbursement per delivery,13 was $0.13 to $0.16 per mile.

   It is my understanding that in some exceptional cases, an extra

reimbursement is paid by store managers for deliveries outside of the store’s

service area. It is also my understanding, based on review of the payout



       12
            This average distance, weighted by the number of deliveries at each store, was
calculated using a sample of delivery distances furnished to me by Plaintiffs’ Counsel. My
understanding from discussions with Plaintiff’s Counsel is that Jason’s Deli does not keep
easily accessible electronic records of delivery distances. The official policy is to fill out
reimbursement amounts and mileages on excel tables at the store-level and then print these
documents daily to hard-copy format.
         13
            Jason’s Deli’s reimbursement rate in years 2014 through 2018 as reported to me by
Plaintiff’s counsel and found in Jason’s Deli delivery records. See, e.g., 501334 – 506807.

                                                                                          15
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forms, that these extra reimbursements are infrequent. Additionally, these

extra payouts have not been disclosed in a computer-readable data format. I

accordingly reserve the right to supplement my opinion when and if additional

information becomes available. However, a sampling of the available

information shows that on the rare occasions that Jason’s Deli provides extra

reimbursements for longer deliveries, Jason’s Deli appears to pay an average

of 19 to 34 cents per mile. Overall, these extra payouts would not increase

the average reimbursement rate more than about $.021 per mile, presuming

that they are paid 10% of the time ($.34 per mile - $.13 per mile = $.21 x

10% = $.021). However, it appears from the sampling that the additional

payouts are provided for less than 10% of the total deliveries.14 In sum, the

additional payouts have a minimal impact on the overall calculations.

      I have conducted many studies, like the one I recently conducted for

the State of New York, in which I was asked to advise an organization as to

whether owning specific vehicles in its fleet was more cost effective than

reimbursing employees for driving their own vehicles at the IRS Standard

Business Mileage Rate. The State of New York reimbursed employees using

the IRS rate and, in fact, spent approximately $13 million per year reimbursing

drivers using this rate. So, the use of the IRS rate is widely accepted, even by

large employers.




      14
           See JD Extra Pay Chart provided herewith.

                                                                             16
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      Some large companies, including Jason’s Deli, decide to develop their

own reimbursement rate rather than use the IRS Standard Business Mileage

Rate. In my opinion, however, the reimbursement justification used by Jason’s

Deli lacks the empirical analysis and rigorous methodology needed to

determine a reasonable aggregate reimbursement rate. For instance, while

the IRS rate attempts to capture the costs of many vehicle types, Jason’s Deli

did not base the cost estimates in their rate justification on any specific vehicle

type nor an aggregate of different vehicle types. For this and several other

reasons discussed in this report, the Jason’s Deli per-delivery reimbursement

rates and Jason’s Deli’s justification of them are fundamentally flawed.

Opinion 2: Jason’s Deli’s vehicle cost reimbursement program does

not reasonably or adequately reimburse its delivery drivers for the

costs they incur delivering food for Jason’s Deli.

      I was asked to review Jason’s Deli’s delivery driver reimbursement

program to determine whether it reasonably estimated and provided for the

reimbursement of the expenses incurred by Jason’s Deli delivery drivers.

      Specifically, Jason’s Deli reimbursed the vast majority of its delivery

drivers at a flat rate of $1.25 per delivery during the vast majority of the

recovery period. This rate was increased at just a few locations and was as

high as $2.00 per delivery for one store. I have reviewed the reimbursement

rates paid to delivery drivers and the methodology used to develop the rates,




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and find the Jason’s Deli delivery driver reimbursement program to be

fundamentally flawed.

      In reviewing Jason’s Deli’s reimbursement practices, I was not provided

with any detailed information on the development of reimbursement rates,

nor did I see any official policies related to rate determination. The only

evidence available regarding reimbursement rate development was an email

dated May 31, 2018, in which Willa White, Director of Accounts Payable for

Jason’s Deli, indicates that Jason’s Deli’s reimbursement rates are based solely

on fuel costs. In this email, she makes the following assumptions: 1) average

delivery vehicle fuel economy is 20 miles per gallon, and; 2) average delivery

distance is 10 miles. Based on these assumptions, Ms. White determines that

the average delivery round trip takes about ½ gallon of fuel, and therefore a

reimbursement rate of $1.25 per delivery is reasonable based on a fuel cost

of $2.50 per gallon. Ms. White goes on to state that a rate of $1.50 per delivery

would be appropriate based on a fuel cost of $3.00 per gallon.

      While Ms. White’s assumptions about fuel economy and delivery

distance appear to be fairly accurate, this reimbursement methodology is

flawed in that it views fuel as the only component of vehicle costs for Jason’s

Deli’s delivery drivers. As explained previously in this report, the standard

practice in reimbursing employees for the use of their personally owned

vehicles includes accounting for all sources of vehicle costs, including

depreciation, insurance, maintenance, and repair, in addition to fuel. In


                                                                              18
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addition to the IRS Standard Rate, which takes all of these costs into account,

examples of vehicle cost models that follow this methodology are publicly

available from sources such as AAA and Edmunds.com.15

      In summary, Jason’s Deli’s per-delivery reimbursement rates are not

supported by any acceptable methodology used within the vehicle costing

industry. The assumptions used to justify Jason’s Deli’s reimbursements are

inconsistent with well-known principles and facts related to vehicle lifecycle

costs. Jason’s Deli did not consult reliable industry sources for vehicle costs,

but instead developed a minimal rate based only on fuel costs. For this reason,

it is my opinion that the Jason’s Deli reimbursement program unreasonably

reimburses drivers less than their actual costs.




      15
          See, for example, https://exchange.aaa.com/automotive/driving-costs/   or
https://www.edmunds.com/tco.html

                                                                                 19
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Opinion 3: From my review of data provided by the Plaintiffs’ counsel,
Jason’s Deli, and other industry data, a reasonable reimbursement
rate for each of the markets in which Jason’s Deli operates, or has
operated during the relevant time period, is as set forth in the
worksheet entitled “Per Mile Costs” in the attached Excel workbook.

   A. Selection of a Base Vehicle

      Rather than use a single vehicle model, the approach I took to determine

the vehicle ownership and operating costs on which a reasonable driver

reimbursement rate would be based was to define a base vehicle that reflects

the attributes of the various types and ages of vehicles most commonly used

by actual Jason’s Deli delivery drivers. That is, a base vehicle that is a

combination or “composite” of several different vehicle types. As noted earlier,

this is how the IRS Standard Business Mileage Rate is developed, and it

obviously is a much more logical and defensible approach than using the

estimated costs of a single model of vehicle, or limited selection of vehicle

types, as the basis for a reimbursement rate for delivery drivers using

hundreds of different vehicle models.

      For the purposes of this report, therefore, I analyzed information

produced by the plaintiffs on 492 vehicles that were used by plaintiffs over

the period of 2013 to 2017. Again, because Jason’s Deli did not provide any

information on the vehicles used by its delivery drivers, all data used in

defining a base vehicle was taken from the driver database. I assigned each

of these vehicles to a specific group or class (e.g., compact sedan, SUV,




                                                                             20
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minivan, pickup truck, etc.) using the widely recognized and objective vehicle

classification system of the U.S. Environmental Protection Agency.

       I then developed a frequency distribution to determine which classes of

vehicles accounted for the majority of the vehicles in the driver database. The

results of this analysis are shown in Table 1. Also included in this figure is

some additional information on each vehicle class that I used in determining

the base vehicle costs, as is discussed in the remainder of this report.

                                    Table 1
                     Information Used to Define Base Vehicle



                                              Mean
                               Percentage    Vehicle
                               of Vehicles     Age              Model Used for Cost
      Vehicle Class    Count   in Sample     (years)          Determination Purposes
     Compact             106        21.5%         9.4    2018 Toyota Corolla
     Large                33         6.7%         8.9    2018 Chevrolet Impala
     Midsize             146        29.7%         8.5    2018 Honda Accord
     Minivan              18         3.7%         9.5    2018 Dodge Grand Caravan16
     SUV                  96        19.5%       10.0     2018 Ford Explorer
     Pickup               24         4.9%       10.0     2018 Ford F150 2WD
     Subcompact           53        10.8%         9.8    2016 Scion tC
     Other/Unknown        16        3.3%
     Total/Average       306        100%         9.317




       16
           2018 model years were used for all base vehicles except for the Scion tC, which was
discontinued in 2016. As sufficient cost data was available for the 2016 model year, it was
used as the base vehicle for the subcompact class. The Scion tC was selected because other
subcompact vehicles commonly used by Jason’s Deli delivery drivers either are no longer
classified as subcompact (e.g. Honda Civic), have been out of production for several years
(e.g. Mitsubishi Eclipse), or might be considered more costly than other subcompact vehicles
(e.g. Ford Mustang).
        17
           Vehicle ages were reviewed from an analysis of data furnished on questionnaires
completed by the current plaintiffs in this case. Because the questionnaires did not specify in
which years these vehicles served as delivery vehicles for Jason’s Deli, it was assumed that
all vehicles were used in year 2016 for the purpose of calculating age.

                                                                                           21
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       Approximately 97 percent of vehicles in the driver database fit into one

of seven vehicle classes. I used the percentage distribution of these vehicles

by class to combine the costs of seven vehicle classes to determine the cost

of a base vehicle on which a reasonable reimbursement rate for Jason’s Deli

delivery drivers should be based. Specifically, I quantified the costs of owning

and operating each of the seven types of vehicle, using the representative

vehicle models identified in the table and the mean age of each type, and

calculated the weighted average of the costs of all seven models.

   B. Vehicle Costs Included in My Analysis

       In order to determine the annual and per-mile costs of owning and

operating the base vehicle on which delivery driver reimbursements should be

based, I estimated several specific costs for each of the seven vehicle models

identified above before combining them to arrive at the weighted average or

base vehicle annual cost. I calculated these costs based on the average age

of the vehicles in each class in the sample, for each year from 2014 through

2018, and for the four market regions in which Jason’s Deli operated stores

during this period. The costs I estimated were:

      Capital cost
      Maintenance and repair cost
      Fuel cost
      Insurance cost; and
      Registration cost.




                                                                             22
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      The methods I used to determine each of these costs, and the resulting

costs, are described in the following sections of my report. In all cases, I used

methods and data sources that are common to rely on in my profession. The

Microsoft Excel-based cost model I developed to make all my cost calculations

contains most of the inputs and all of the outputs (calculations) I developed

in this case. Due to the sheer volume of outputs (e.g., cost per mile

calculations for the base vehicle, based on cost calculations for seven separate

vehicle models that make up the base vehicle, for five years and three

locations), most of my cost determination results can be found in this

workbook rather than in the body of this report.

      All vehicle costs cited in my report are expressed in nominal dollars as

of the midpoint of the calendar year indicated. To the extent that elements of

cost were determined from data sources that present these costs in today’s

dollars, I discounted them from July 2018, the month in which the costs in my

reimbursement model were determined, to the midpoint (July 1) of the

pertinent calendar year using the Consumer Price Index appropriate to the

type of cost.

   C. Market Regions Served by Jason’s Deli

      Jason’s Deli operates stores in four major market regions in the United

States. These market regions, defined by Jason’s Deli, are named North,




                                                                              23
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South, East, and West.18 To account for the fact that vehicle costs such as

maintenance and insurance can vary between different locations, I calculated

reimbursement rates separately for each of these market regions. The cities

representative of these regions were used to look up maintenance and repair

costs and insurance quotes representative of each geographical region. 19 To

determine an appropriate representative City for each region, I selected the

city in each region with the most deliveries from 2014 to 2018.20 The store

with the most deliveries in each city was used to provide a zip code where

necessary (e.g. for insurance quotes). My cost per mile rates for each year

are weighted by the number of deliveries for stores in each market region.

   D. Miles Driven and Business Use

       My per-mile cost calculations were based on the average number of

miles driven per year for delivery use by the typical Jason’s Deli driver. My

estimates of the average number of delivery miles per year for each market

region are based on delivery records for Jason’s Deli stores from December

2014 through April 2018. Because Jason’s Deli did not provide delivery

distance data, Plaintiff’s Counsel provided me with an estimate of average




       18
            A store list entitled “2016 Corporate Deli Audit Listing” produced by Jason’s Deli and
containing store ID numbers, addresses and geographical regions was furnished to me by
Plaintiffs’ Counsel.
         19
            Fuel prices also vary by geographical region; however, historical fuel price data were
not available at the City level, so a single average annual fuel price was used for the entire
state.
         20
            Delivery records for the period from December 2014 through April 2018 for all
Jason’s Deli stores involved in this case were furnished to me by Plaintiffs’ counsel.

                                                                                              24
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delivery distance for each store, based on calculations of round trip distances

for a sample of approximately 20 deliveries for each store.

      To estimate average annual delivery miles for Jason’s Deli drivers, I

calculated the average number of deliveries per month for each of the 399

drivers who made the deliveries recorded in the data provided by Jason’s Deli.

I then multiplied this by the average delivery distance for the store at which

each driver was employed to determine the average monthly miles, and then

annualized this amount by multiplying by 12. For all regions combined, the

average annual delivery miles driven was 6,462, with a high of 7,770 for the

West region and a low of 5,039 for the North region. The average round trip

delivery distance was 9.5 miles.

      Data on personal use of delivery vehicles was not provided to me. To

estimate combined annual mileage, I assumed that vehicles were driven

12,000 miles per year for personal use, which is somewhat less than the

national average for personal vehicles. The combined personal and delivery

mileage was used to calculate per-mile costs for all fixed costs (i.e. capital

cost, insurance, and registration).

   E. Vehicle Capital (Depreciation) Cost

      For purposes of developing a driver reimbursement rate, the most

accurate and equitable way to calculate a vehicle’s capital cost is to determine

the reduction in its fair market value (FMV) during a given year of its life,

based on the average age and accumulated mileage of the vehicles of that


                                                                             25
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type in the driver population (determined through appropriate sampling

methods).

      To determine the capital costs of each model of vehicle shown in Table

1 above, I developed seven separate multiple regression equations based on

used vehicle sales data published by Edmunds.com.21 The data provided by

Edmunds is based on actual car sales and collected from a variety of nation-

wide sources. In my professional opinion, Edmunds is a reliable industry

source for determination of vehicle fair market values (FMVs) and depreciation

costs. I used this data to estimate the FMV as a percentage of original

purchase price for each type of vehicle in the analysis based on two

independent variables, age and average annual mileage. All of these equations

had excellent regression coefficients (R2), ranging from 0.91 to 0.97. The data

used to develop these equations and the equations themselves can be found

in my Excel-based cost determination workbook file.

      I used these equations to estimate the change in fair market value, i.e.

the annual capital or depreciation cost, for each type of vehicle. To determine

the capital cost, I calculated the beginning and ending fair market values for

each type of vehicle over a one-year period, based on the assumed age and

mileage of each vehicle type at the beginning and end of the year. This annual

capital cost was divided by total annual mileage to arrive at the capital cost




      21
           https://www.edmunds.com/appraisal/.

                                                                            26
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per mile. These capital costs were then adjusted for inflation to come up with

the capital costs per mile in each year. 22

      For example, the average age of the large sedans in the driver database,

for which the Chevrolet Impala is the representative vehicle model, was 8.9

years, meaning that, on average this vehicle would be 8.4 years old at the

beginning of a given year and 9.4 years old at the end of the year. Because I

would not assume that the vehicle has been driven for delivery purposes its

entire life, I instead assumed that in previous years the vehicle traveled an

average of 15,000 miles per year, meaning the vehicle would start the year

with 126,000 miles on the odometer. For a vehicle in the “South” region, the

mileage at the end of the year would be 145,184 to account for the combined

total of 12,000 personal miles and 7,184 delivery miles driven during the year.

Based on these variables, my regression equation calculates the fair market

value of the Impala at the beginning of the year would be $2,477, and $1,990

at the end of that year. The resulting reduction of $487 in the FMV was the

capital cost (in 2018 dollars) of the vehicle in that year. This capital cost was

then adjusted for inflation according to the Consumer Price Index (CPI) for

new car or truck prices for the appropriate year.




      22
         Using the appropriate Consumer Price Index (CPI). Inflationary adjustments were
made based on information published by the U.S. Bureau of Labor Statistics: Consumer Price
Index – New Cars (All Urban Consumers, Not Seasonally Adjusted), 1990-2017, (Series ID
CUSR0000SS45011); and Consumer Price Index – New Trucks (All Urban Consumers, Not
Seasonally Adjusted), 1990-2017, (Series ID CUSR0000SS45021).

                                                                                       27
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      My vehicle purchase price adjustments (for inflation) and capital cost

calculations by vehicle type, location, and year are shown in my Excel-based

vehicle cost determination workbook file.

   F. Vehicle Maintenance and Repair Costs

      Including repair costs in the determination of a reimbursement rate for

Jason’s Deli delivery drivers is essential due to the advanced age of these

vehicles and due to factors with which virtually anyone who has owned a

personal car or truck is familiar: the cumulative effects of wear and tear on

vehicle systems and parts, the expiration of manufacturers’ warranties, and

the ever-increasing quality and durability of newly manufactured vehicles

(which makes newer vehicles less expensive to repair than older ones, all

other things being equal).

      Fortunately, there is a significant amount of publicly available

information that one can use to estimate the annual maintenance and repair

costs of Jason’s Deli delivery drivers’ vehicles. One such source is Edmund’s,

a company that has been publishing vehicle specification and cost information

since 1966. In my practice, Edmund’s True Cost to Own® tool23 is a source of

information commonly relied on and used to estimate vehicle ownership and

operating costs. I used information from this source to determine the

maintenance and repair costs of each of the seven types of vehicle whose

costs comprise, on a weighted average basis, the costs of my base vehicle.


      23
           www.edmunds.com/tco.html.

                                                                           28
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      Specifically, I obtained estimated maintenance and repair costs by year

for each of the first 10 years of the vehicle’s life for each of the seven specific

vehicle models included in my analysis. I then developed equations from these

data for estimating, separately, vehicle maintenance and repair costs as a

function of vehicle age and accumulated mileage.

      The costs of unscheduled repairs, which increase steadily as vehicles

age, were modeled through regression analysis of the Edmunds data. All of

the regression equations I developed had high goodness of fit (R2) statistics,

ranging from 0.79 to 0.83, meaning that changes in the independent variable,

vehicle age, are a very good predictor of changes in the dependent variable,

annual repair cost.

      To estimate the costs of scheduled maintenance, which fluctuate from

year to year based on the manufacturers’ recommended service schedules for

different vehicle components, I applied a smoothing algorithm, which is a

common approach to modeling and forecasting quantities that fluctuate up

and down over time. Because Edmunds’ TCO® tool only provides maintenance

and repair cost estimates based on the assumption of 15,000 annual vehicle

miles traveled, it was necessary to add a scaling factor to these equations to

account for the fact that the average vehicle driven by a Jason’s Deli delivery

driver accumulates mileage at an annualized rate of significantly more than

15,000 miles per year.




                                                                                29
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      I used these models to estimate annual maintenance and repair costs

for each type of vehicle whose costs make up my base vehicle cost. I

determined these costs based on average vehicle age and odometer reading

(by location, since total annual mileage varies by region, as explained above)

for each of the seven vehicle models. For example, I determined that a Honda

Accord in Houston with an average age of 8.5 years had an annual

maintenance and repair cost in 2018 of $1,273; I then scaled this cost based

on Edmunds’ assumption of 15,000 annual miles to arrive at a maintenance

and repair cost per mile of $0.08. I adjusted these costs for inflation for each

year from 2014 through 2018 using the appropriate Consumer Price Index. To

account for regional differences in labor rates and other maintenance and

repair costs, I developed a scaling factor for each geographical region in which

Jason’s Deli operated delivery stores, based on Edmonds’ TCO® tool lookups

for various ZIP codes.

      Estimating the maintenance and repair costs of older vehicles can be

difficult, as the actual costs incurred can vary based on many factors including

that nature of use, driving environment, adherence to manufacturers’

guidelines, and even random chance. However, in my practice I have regularly

collected and analyzed maintenance cost data for fleets that operate large

numbers of vehicles ranging in age from brand new to 15 years and older.

Based on the analyses I have performed in my career and the data my

company has collected, I can attest that the estimated maintenance and repair


                                                                             30
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costs produced for this report using Edmunds data are within reasonable

boundaries of what I would expect for vehicles 8 to 10 years of age.

      The Edmunds data used to develop these equations, the equations

themselves, and the annual maintenance and repair costs I determined for

each of the vehicle models that comprise my base vehicle can be found in my

Excel-based cost determination workbook file.

      It should be noted that the maintenance and repair costs that I

developed using this methodology likely understate the actual costs incurred

by Jason’s Deli delivery drivers for several reasons. One is the type of driving

associated with making deliveries, such as driving primarily in urbanized or

near-urban areas with relatively heavy traffic congestion, resulting in frequent

starts, stops, and turns; and frequent engine starts and stops. Edmunds True-

Cost-to-Own® tool quantifies annual maintenance and repair costs by vehicle

age based on 15,000 annual miles of vehicle use, which undoubtedly includes

a more balanced mix of city and highway driving than delivery driver vehicles

are likely to experience.

      The second reason that the maintenance and repair costs of my base

vehicle understate the costs that Jason’s Deli delivery drivers likely

experienced is that they are based on the costs of 2018 model year vehicles.

It is widely acknowledged that cars are better engineered and manufactured

and far more reliable today than were the vehicles manufactured 10 to 20

years ago, and that they have lower repair costs than do the vehicles (with an


                                                                             31
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overall average age of 9.3 years) that Jason’s Deli delivery drivers were

operating in, say, 2014.24

   G. Vehicle Fuel Costs

      I determined the annual fuel cost of each base delivery vehicle using

three key inputs: annual miles driven, vehicle fuel efficiency in miles per gallon

(MPG), and fuel prices for the years 2014 through 2018.

      I developed my MPG parameters as follows. I began with the EPA City

MPG rating for each type of vehicle whose weighted average costs make up

the cost of my base vehicle. Whereas my determination of vehicle capital and

maintenance and repair costs used as the point of departure the costs of 2018

model year vehicles, my fuel cost calculations used the EPA ratings for vehicle

models that would have been the same average age as were the Jason’s Deli

delivery driver vehicles in the years 2014 through 2018.

      Thus, for example, the average age of the large sedans in the Jason’s

Deli driver database (as shown in Table 2 above) is 8.9 years. Accordingly, to

determine the fuel cost of a mid-size sedan in, say, 2014, I began with EPA’s

City MPG rating for a 2005 Chevrolet Impala. For 2015, I used the rating for

a 2006 Malibu; and so forth.

      Once I had determined the appropriate EPA MPG ratings to use, I made

two adjustments to these ratings. First, I reduced them by 10 percent to


      24
          See, for example, JD Power 2013 US Vehicle Dependability Study (press release
available at http://autos.jdpower.com/ratings/dependability-press-release.htm); and recent
American Enterprise Institute article at http://www.aei-ideas.org/2013/02/when-it-comes-
to-new-vehicles-todays-models-are-cheaper-and-more-reliable-than-ever-before/.

                                                                                       32
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reflect the fact that EPA ratings are well known by professional fleet managers

who actually measure the fuel economy of the vehicles they manage to

overstate the actual fuel consumption rates achieved by vehicles due to the

fact that they are developed based on tests performed under laboratory

conditions rather than in real-world driving conditions.25

      That said, EPA test results indicate that vehicles achieve higher fuel

efficiency rates (i.e., lower MPG) when running continuously than immediately

after both cold and hot starts. EPA’s City MPG ratings are derived from the

results of Federal Test Procedure 75, which is conducted in three phases using

the EPA’s Urban Dynamometer Driving Schedule: after a cold engine start;

after the vehicle engine has been running for eight and one-half minutes; and

after a hot engine start, which is initiated after an engine has been run for

approximately 23 and just off for 10 subsequent minutes.

      By comparing the average MPG ratings calculated by the EPA for each

of these three test phases, I found that the phase one testing resulted in 16

percent lower fuel economy on average for all tests completed in 2011 (the

first year that these results were made publicly available). Based on the

frequency with which delivery drivers stop and start their cars, the actual fuel

economy figures experienced by the delivery drivers are more accurately

represented by the lower results that were observed during the cold start


      25
          See, for example, Here's Why Real-World MPG Doesn't Match EPA Ratings, available
at http://www.edmunds.com/fuel-economy/heres-why-real-world-mpg-doesnt-match-epa-
ratings.html; and About EPA Ratings available at http://www.fueleconomy.gov; EPA Fuel
Economy Guide (updated Feb. 20, 2013) pp. i & 39.

                                                                                       33
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testing phases of the EPA fuel economy rating process. I chose to use a

reduction of 10 rather than 16 percent to be conservative.

       The results of each of these phases of testing are accessible at the Test

Car List Data Files section of the EPA’s Office of Transportation and Air

Quality’s website26. The procedures for testing are outlined in the Code of

Federal Regulations, specifically 40 CFR §1066.27

       After making this 10-percent downward adjustment, I next reduced the

EPA City MPG ratings a further one percent per year of average vehicle age to

account for the cumulative effects of wear and tear on vehicle engines and

transmissions that occurs as vehicles age. This is consistent with the findings

of research I have conducted for organizations that have large numbers of

business vehicles of the same type and across a range of ages and appropriate

longitudinal data on actual amounts of fuel consumed by these vehicles.

       Thus, for example, in 2014 an 8.9-year old Chevrolet Impala would have

had an original EPA City MPG rating of 19 when it was new in 2005. I adjusted

this rate downward to 17.1 MPG to account for EPA’s overstatement of actual

vehicle fuel efficiency rates and test results that show that frequent engine

starts and stops reduce fuel efficiency. I then adjusted it downward to 15.6 to




       26
          US Environmental Protection Agency. Office of Transportation and Air Quality. Test
Car List Data, accessed September 4, 2014, http://www.epa.gov/otaq/tcldata.htm.
       27
          US Environmental Protection Agency. Office of Transportation and Air Quality.
National Vehicle & and Fuel Emissions Laboratory. Test Procedures and Chemistry Methods,
accessed September 4, 2014, http://www.epa.gov/nvfel/testing/procedures.htm.

                                                                                         34
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account for 8.9 years of accumulated age and mileage and associated wear

and tear.

      For each of the vehicle models whose costs comprise the cost of my

base vehicle, I divided the average annual miles driven by the adjusted MPG

rate to determine the number of gallons of fuel consumed per year. I then

multiplied these amounts by the average cost of a gallon of regular gasoline

between 2014 and 2018 to arrive at the annual cost of fuel per vehicle. The

fuel costs per gallon that I used to determine vehicle fuel costs were the

average annual prices published by the U.S. Energy Information Agency.28

These prices, which are in nominal dollars and thus did not need to be adjusted

for inflation using a Consumer Price Index, are shown in my Excel-based

vehicle cost determination model workbook.

      The original EPA City MPG ratings and the adjustments I made to the

ratings can be found in my Excel-based vehicle cost determination workbook.

So too can the fuel price per gallon data by geographic area by year.

   H. Vehicle Insurance Costs

      I estimated insurance costs by obtaining two insurance premium quotes

for each geographic region in which Jason’s Deli operated stores from 2014 to

2018, for each vehicle model whose costs are included in the cost of my base

vehicle, based on the average age of each type of vehicle in each year of the

period covered by my report, 2014-2018. For example, I obtained quotes for


      28
           http://www.eia.gov/dnav/pet/pet_pri_gnd_dcus_nus_w.htm.

                                                                            35
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a 2009 Chevrolet Impala (in 2018 when such a vehicle would be 9 years old)

because the average age of large sedans in the driver database, of which the

Impala is the representative model, was approximately 9 years. The quotes

were obtained in 2018 dollars, so I adjusted them for inflation (i.e., reduced

them) to reflect the cost that would have been incurred in each of these years

using the appropriate Consumer Price Index.

       I made conservative assumptions about the driver, the use of the

vehicle, and the insurance coverage in order to obtain insurance premium

quotes. With three exceptions, I intentionally used assumptions that would, if

anything, result in lower insurance costs than are likely to have been incurred

by actual Jason’s Deli delivery drivers. These assumptions were the following.

The driver is a 37-year old, single, male who has good credit, no

accidents/tickets, a high school education, and is a homeowner. The vehicle

is used for business five days a week, is driven approximately 18,000 miles a

year, and is parked in a garage when not in use. The insurance coverage

includes the following limits/deductibles:

      Bodily Injury – $100,000/$300,000
      Property Damage – $50,000
      Medical Coverage – No Coverage (unless required)
      Uninsured Motorist Property – $100,000/$300,000
      Comprehensive – $1,000
      Collision – $1,000
      Glass Deductible Buyback – No Coverage
      Towing and Road Service – No Coverage (unless required)
      Collision Plus/Loss of Use – No Coverage
                                                                            36
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      Uninsured Motorist/Liability – $50,000/$100,000

       It should be noted that I included collision and comprehensive coverage

in my cost analysis due to the manner in which I quantified vehicle capital

costs and to account for the cost of repair in the event of an accident, reduced

by the probability that such accident repair costs will be incurred. My

calculation of capital costs assumes that vehicles have fair market values at

the end of each year that are not diminished by the presence of unrepaired

vehicle damage, whether it be from collisions, vandalism, storm damage, or

any other cause. This assumption only makes sense to the extent that I also

assume that drivers carry the insurance coverage necessary to repair such

damage when it occurs. Because of these methods, and the fact that delivery

drivers are in effect self-insuring their vehicles, whether or not individual

drivers actually purchase such coverages has no bearing on the determination

of vehicle costs.

       More importantly, insurance coverage for such hazards is obviously the

most economically efficient way to pay for their costs. Drivers who choose not

to carry such coverage can be expected to pay more for such hazards in the

form of higher repair costs at rates not negotiated with body shops and other

service providers in advance by insurance companies, and/or lower residual

values when they sell vehicles with unrepaired damage.




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   I. Vehicle Registration Cost

      I determined vehicle registration costs based on publicly available

vehicle registration fee costs for the states of Texas, Georgia, and Illinois

which contain the representative cities for each region. Rather than making

assumptions about how much tax a driver would have paid on their vehicle

when it was purchased, I used only the state registration fee in my cost model.

Because sales taxes and other local vehicle taxes are not included in this

amount, my estimates understate the actual taxes paid by drivers.

   J. Total Vehicle Cost per Mile

      The Per Mile Costs worksheet in my Excel-based cost determination

workbook summarizes the end results of this process, showing my calculations

of the cost per mile in each region and in each year from 2014 through 2018

In comparison to Jason’s Deli’s minimal cost analysis, my analysis takes into

account all the key types of vehicles used by delivery drivers, the frequency

with which those classes of vehicles appear in the total population of delivery

driver vehicles for which I was provided information, the average age of each

type of vehicle, and all costs of ownership incurred by the driver. Table 2 below

contains the average unreimbursed vehicle costs per mile per region across

all years in the class period, increased by $.021 for additional payouts (see

explanation above). Jason’s Deli’s effective reimbursement rate is calculated

using the average round trip delivery distance of 9.5 miles, and the

reimbursement rate of $1.25 per delivery, which was the rate used for the


                                                                              38
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vast majority of deliveries during this time period. The differences, even using

my rates and not the IRS rate or the rates Jason’s Deli reimbursed its

managerial and corporate employees, are significant and support my

conclusion that Jason’s Deli’s reimbursement methodology is unreasonably

low.

                             Table 2
Average Unpaid Vehicle Costs per Mile Related to Business Use, Year

                   Jason’s Deli
                     Effective
                  Reimbursement
       Year            Rate          My Rate       IRS Rate      Manager Rate
       2014             $ 0.151      $ 0.46         $ 0.560         $0.510
       2015             $ 0.151      $ 0.40         $ 0.575         $0.525
       2016             $ 0.151      $ 0.40         $ 0.540         $0.490
       2017             $ 0.151      $ 0.42         $ 0.535         $0.485
       2018             $ 0.151      $ 0.45         $ 0.545         $0.495


The Excel workbook containing my vehicle costing calculations and results

breaks down these same figures on a region-by-region and year-by-year

basis, showing that Jason’s Deli’s failure to accurately estimate vehicle costs

is systematic and continuous across the class periods and regions.

       To be clear, I maintain that the IRS Business Mileage Rate is an accurate

and reasonable reimbursement rate. The actual costs per mile I have

calculated provide a more conservative reimbursement based on the data I

review and assumptions I made, and are thus the minimum amount necessary

to reimburse drivers for their vehicle expenses incurred making deliveries.

Given that the manager rate exceeds my conservative rate, it is also my
                                                                             39
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opinion that the manager reimbursement rate, which is set at 5 cents below

the IRS rate, is an accurate and reasonable reimbursement rate. Indeed, given

the generally more-expensive nature of delivery driving, it is more logical to

reimburse delivery driving at a higher (not lower) rate than general business

use.29

      Resulting Damages

      Attached hereto is a spreadsheet titled “JD damage calculations.xlxs.” I

incorporated my reimbursement rates in the form of blended annual averages

by region into this spreadsheet. The other data within the spreadsheet was

compiled by Plaintiff’s council from Jason’s Deli’s disclosures.

      Damages were calculated by determining the difference between each

driver’s estimated reimbursement and the estimated cost to the driver based

on the rates I developed for the years 2014 through 2018. As directed by

Plaintiffs’ counsel, referring to the aforementioned workbook, for each work

week (represented by a row on the “Calculations” sheet), I multiplied the

number of deliveries by the per-delivery reimbursement for that driver in that

week to determine the driver’s reimbursement (column “X”). I then estimated

the total miles driven (column “Y”) by multiplying the number of deliveries by

the average miles per delivery (9.5 miles). I multiplied the total miles driven

by the per-mile rate I developed for the year in which the work week started

(column “Z”) to determine the estimated vehicle cost for that week (column


29
     See infra pp. 30 – 31.

                                                                             40
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“AA”). Finally, I determined the damages (column “AC”) by subtracting the

total reimbursement for that week and the amount the driver was paid above

minimum wage ($7.25 per hour, calculated in column “AB”) from the

estimated vehicle cost.

   The total damages I calculated amount to $347,759 for the period from

December 2014 through April 2018. Delivery data for drivers still employed

by Jason’s Deli after April 2018 was not available to me at the time of this

report. Thus, I reserve the right to supplement the damage calculations after

receiving additional delivery data.

   My calculations and opinions expressed herein are based on methodologies,

formulas, and sources of data commonly relied on in my field of practice,

which is the calculation of the costs of owning and operating a vehicle for

business purposes. I have reached all of my opinions and conclusions to a

reasonable degree of certainty consistent with the standards applied in my

field of practice. I am prepared to testify regarding the opinions and

conclusions contained in this report.

                           Compensation for My Work

   I am being compensated for my work at a rate of $250 per hour, except

for time spent testifying in deposition or court, in which case my rate is $325

per hour.

   Dated: August 8, 2018

                                                Paul T. Lauria


                                                                            41
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   PLAINTIFF’S EXPERT REPORT OF PAUL T. LAURIA




        ATTACHMENT – “JD damage calculations.xlxs”


                      (Only columns A – P)
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       Week
ID     Numb WeekName    WorkWeekBegi Region     District            DeliId   DeliName   EmployeeNPOSEmp FirstName   LastName   Name               JobID             Rate     Hours
  1044   153 Week 153      1/31/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.55
  1044   154 Week 154       2/7/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.38
  1044   154 Week 154       2/7/2016 Western    MP Western Region       42   FRK        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        3.02
  1044   155 Week 155      2/14/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       27.08
  1044   156 Week 156      2/21/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       12.84
  1044   158 Week 158       3/6/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        6.18
  1044   159 Week 159      3/13/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        5.15
  1044   160 Week 160      3/20/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       10.69
  1044   161 Week 161      3/27/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       12.11
  1044   162 Week 162       4/3/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       13.54
  1044   163 Week 163      4/10/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.13
  1044   164 Week 164      4/17/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8         5.6
  1044   165 Week 165      4/24/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8         2.6
  1044   166 Week 166       5/1/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.94
  1044   167 Week 167       5/8/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.62
  1044   168 Week 168      5/15/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       10.07
  1044   169 Week 169      5/22/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        6.93
  1044   170 Week 170      5/29/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        2.45
  1044   171 Week 171       6/5/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        8.65
  1044   172 Week 172      6/12/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.19
  1044   173 Week 173      6/19/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        6.54
  1044   177 Week 177      7/17/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        3.05
  1044   178 Week 178      7/24/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8         3.3
  1044   179 Week 179      7/31/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       10.67
  1044   180 Week 180       8/7/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        2.72
  1044   181 Week 181      8/14/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        7.02
  1044   182 Week 182      8/21/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        6.63
  1044   184 Week 184       9/4/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        3.23
  1044   185 Week 185      9/11/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        4.35
  1044   187 Week 187      9/25/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.05
  1044   197 Week 197      12/4/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       13.53
  1044   198 Week 198     12/11/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       15.52
  1044   199 Week 199     12/18/2016 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        1.88
  1044   202 Week 202       1/8/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        10.2
  1044   203 Week 203      1/15/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        9.76
  1044   204 Week 204      1/22/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       13.39
  1044   205 Week 205      1/29/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8           3
  1044   206 Week 206       2/5/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8         2.8
  1044   207 Week 207      2/12/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8       10.48
  1044   208 Week 208      2/19/2017 Western    Mike McCown             58   STM        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8         4.1
  1044   208 Week 208      2/19/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        2.52
  1044   209 Week 209      2/26/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        5.08
  1044   210 Week 210       3/5/2017 Western    MP Western Region        5   ADD        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        8.22
  1044   214 Week 214       4/2/2017 Western    MP Western Region        8   MCK        ADD559    60320 JONATHAN    COLEMAN    JONATHAN COLEMAN   DELIVERY DRIVER        8        2.68
  2217   149 Week 149       1/3/2016 Eastern    Scott Miller          186    AGA        AGA160    58778 ANTHONY     HARLEY     ANTHONY HARLEY     DELIVERY DRIVER        8        5.58
  2217   150 Week 150      1/10/2016 Eastern    Scott Miller          186    AGA        AGA160    58778 ANTHONY     HARLEY     ANTHONY HARLEY     DELIVERY DRIVER        8        7.88
  3565   104 Week 104      2/22/2015 Southern   James Cornett           16   ARB        ARB559    44384 IAN         MITCHELL   IAN MITCHELL       DELIVERY DRIVER     8.25       31.05
  3565   105 Week 105       3/1/2015 Southern   James Cornett           16   ARB        ARB559    44384 IAN         MITCHELL   IAN MITCHELL       DELIVERY DRIVER     8.25       32.98
  3565   106 Week 106       3/8/2015 Southern   James Cornett           16   ARB        ARB559    44384 IAN         MITCHELL   IAN MITCHELL       DELIVERY DRIVER     8.25       29.87
  3565   107 Week 107      3/15/2015 Southern   James Cornett           16   ARB        ARB559    44384 IAN         MITCHELL   IAN MITCHELL       DELIVERY DRIVER     8.25       16.75
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3565   108   Week 108    3/22/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   33.73
3565   109   Week 109    3/29/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.23
3565   110   Week 110     4/5/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.87
3565   111   Week 111    4/12/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.33
3565   112   Week 112    4/19/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   21.97
3565   113   Week 113    4/26/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.86
3565   114   Week 114     5/3/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.76
3565   115   Week 115    5/10/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.25
3565   116   Week 116    5/17/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   17.65
3565   117   Week 117    5/24/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25      28
3565   118   Week 118    5/31/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    26.2
3565   119   Week 119     6/7/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.99
3565   120   Week 120    6/14/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   35.01
3565   121   Week 121    6/21/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.74
3565   122   Week 122    6/28/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   15.43
3565   123   Week 123     7/5/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.98
3565   124   Week 124    7/12/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.01
3565   125   Week 125    7/19/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.05
3565   126   Week 126    7/26/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.92
3565   127   Week 127     8/2/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.91
3565   128   Week 128     8/9/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   34.43
3565   129   Week 129    8/16/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    36.6
3565   130   Week 130    8/23/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   38.48
3565   131   Week 131    8/30/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.02
3565   132   Week 132     9/6/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.33
3565   133   Week 133    9/13/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   34.41
3565   134   Week 134    9/20/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.93
3565   135   Week 135    9/27/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.65
3565   136   Week 136    10/4/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   15.72
3565   137   Week 137   10/11/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   18.09
3565   138   Week 138   10/18/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.28
3565   139   Week 139   10/25/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   37.19
3565   140   Week 140    11/1/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   38.77
3565   141   Week 141    11/8/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.33
3565   142   Week 142   11/15/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.17
3565   143   Week 143   11/22/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   13.84
3565   144   Week 144   11/29/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.33
3565   145   Week 145    12/6/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.08
3565   146   Week 146   12/13/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.21
3565   147   Week 147   12/20/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    7.77
3565   148   Week 148   12/27/2015   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   18.77
3565   149   Week 149     1/3/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.35
3565   150   Week 150    1/10/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   38.98
3565   151   Week 151    1/17/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.97
3565   152   Week 152    1/24/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.22
3565   153   Week 153    1/31/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.79
3565   154   Week 154     2/7/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   35.54
3565   155   Week 155    2/14/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.43
3565   156   Week 156    2/21/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   33.47
3565   157   Week 157    2/28/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    29.1
3565   158   Week 158     3/6/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.04
3565   159   Week 159    3/13/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   18.94
3565   160   Week 160    3/20/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   17.55
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3565   161   Week 161    3/27/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.47
3565   162   Week 162     4/3/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    31.7
3565   163   Week 163    4/10/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    31.9
3565   164   Week 164    4/17/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.46
3565   165   Week 165    4/24/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   37.35
3565   166   Week 166     5/1/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.84
3565   167   Week 167     5/8/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   34.38
3565   168   Week 168    5/15/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   39.15
3565   169   Week 169    5/22/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.99
3565   170   Week 170    5/29/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.01
3565   171   Week 171     6/5/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.69
3565   172   Week 172    6/12/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.72
3565   173   Week 173    6/19/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.91
3565   174   Week 174    6/26/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   18.31
3565   175   Week 175     7/3/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   20.27
3565   176   Week 176    7/10/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.95
3565   177   Week 177    7/17/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.55
3565   178   Week 178    7/24/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25      31
3565   179   Week 179    7/31/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    24.2
3565   180   Week 180     8/7/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.65
3565   181   Week 181    8/14/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    18.4
3565   182   Week 182    8/21/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.55
3565   183   Week 183    8/28/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   20.15
3565   184   Week 184     9/4/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.49
3565   185   Week 185    9/11/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.29
3565   186   Week 186    9/18/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.69
3565   187   Week 187    9/25/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   37.93
3565   188   Week 188    10/2/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.97
3565   189   Week 189    10/9/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.84
3565   190   Week 190   10/16/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.39
3565   191   Week 191   10/23/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.14
3565   192   Week 192   10/30/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   33.13
3565   193   Week 193    11/6/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.89
3565   194   Week 194   11/13/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.29
3565   195   Week 195   11/20/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    8.49
3565   196   Week 196   11/27/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.21
3565   197   Week 197    12/4/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.38
3565   198   Week 198   12/11/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    23.5
3565   199   Week 199   12/18/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   14.51
3565   200   Week 200   12/25/2016   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    18.8
3565   201   Week 201     1/1/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   22.44
3565   202   Week 202     1/8/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   33.57
3565   203   Week 203    1/15/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.58
3565   204   Week 204    1/22/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.63
3565   205   Week 205    1/29/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   17.38
3565   206   Week 206     2/5/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.97
3565   207   Week 207    2/12/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.61
3565   208   Week 208    2/19/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    29.1
3565   209   Week 209    2/26/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.14
3565   210   Week 210     3/5/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.13
3565   211   Week 211    3/12/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   22.71
3565   212   Week 212    3/19/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.53
3565   213   Week 213    3/26/2017   Southern   James Cornett   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   17.76
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3565   214   Week 214     4/2/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25     6.4
3565   215   Week 215     4/9/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.04
3565   216   Week 216    4/16/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   21.47
3565   217   Week 217    4/23/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.82
3565   218   Week 218    4/30/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   14.94
3565   219   Week 219     5/7/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.12
3565   220   Week 220    5/14/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    19.1
3565   221   Week 221    5/21/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   13.13
3565   222   Week 222    5/28/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    8.85
3565   222   Week 222    5/28/2017   Southern   James Cornett     16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    6.08
3565   223   Week 223     6/4/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.56
3565   224   Week 224    6/11/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    23.1
3565   225   Week 225    6/18/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.29
3565   226   Week 226    6/25/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   16.01
3565   227   Week 227     7/2/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   15.36
3565   228   Week 228     7/9/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.62
3565   229   Week 229    7/16/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.83
3565   230   Week 230    7/23/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   25.55
3565   231   Week 231    7/30/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.41
3565   232   Week 232     8/6/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.93
3565   233   Week 233    8/13/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   21.78
3565   234   Week 234    8/20/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.39
3565   235   Week 235    8/27/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    25.9
3565   236   Week 236     9/3/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.49
3565   237   Week 237    9/10/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.59
3565   238   Week 238    9/17/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   32.18
3565   239   Week 239    9/24/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.98
3565   240   Week 240    10/1/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.89
3565   241   Week 241    10/8/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.73
3565   242   Week 242   10/15/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.95
3565   243   Week 243   10/22/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.31
3565   244   Week 244   10/29/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.19
3565   245   Week 245    11/5/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   27.63
3565   246   Week 246   11/12/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.78
3565   247   Week 247   11/19/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    4.91
3565   248   Week 248   11/26/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.38
3565   249   Week 249    12/3/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.81
3565   250   Week 250   12/10/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.97
3565   251   Week 251   12/17/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   18.66
3565   252   Week 252   12/24/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   12.42
3565   253   Week 253   12/31/2017   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.17
3565   254   Week 254     1/7/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   29.06
3565   255   Week 255    1/14/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   22.49
3565   256   Week 256    1/21/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.78
3565   257   Week 257    1/28/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    30.1
3565   258   Week 258     2/4/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    27.7
3565   259   Week 259    2/11/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    29.2
3565   260   Week 260    2/18/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   31.85
3565   261   Week 261    2/25/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   30.24
3565   262   Week 262     3/4/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   23.12
3565   263   Week 263    3/11/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.08
3565   264   Week 264    3/18/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   24.91
3565   265   Week 265    3/25/2018   Southern   DO Jason Harmon   16   ARB   ARB559   44384   IAN   MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   26.77
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3565   266   Week 266     4/1/2018   Southern   DO Jason Harmon      16   ARB   ARB559    44384   IAN    MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25   28.95
3565   267   Week 267     4/8/2018   Southern   DO Jason Harmon      16   ARB   ARB559    44384   IAN    MITCHELL   IAN MITCHELL   DELIVERY DRIVER   8.25    4.45
1841   101   Week 101     2/1/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   29.89
1841   102   Week 102     2/8/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   28.62
1841   103   Week 103    2/15/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   16.57
1841   104   Week 104    2/22/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   23.36
1841   105   Week 105     3/1/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   16.99
1841   106   Week 106     3/8/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   18.31
1841   107   Week 107    3/15/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   25.23
1841   108   Week 108    3/22/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   23.22
1841   109   Week 109    3/29/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   16.57
1841   110   Week 110     4/5/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   31.89
1841   111   Week 111    4/12/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   29.58
1841   112   Week 112    4/19/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25    33.5
1841   113   Week 113    4/26/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   33.02
1841   114   Week 114     5/3/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   29.46
1841   115   Week 115    5/10/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   32.01
1841   116   Week 116    5/17/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   14.97
1841   117   Week 117    5/24/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   27.28
1841   118   Week 118    5/31/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   19.06
1841   119   Week 119     6/7/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   22.97
1841   120   Week 120    6/14/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   21.78
1841   121   Week 121    6/21/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   19.49
1841   122   Week 122    6/28/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   12.75
1841   123   Week 123     7/5/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   23.08
1841   124   Week 124    7/12/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   26.86
1841   125   Week 125    7/19/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   25.39
1841   126   Week 126    7/26/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   24.68
1841   127   Week 127     8/2/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   19.24
1841   128   Week 128     8/9/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   14.03
1841   129   Week 129    8/16/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   11.13
1841   130   Week 130    8/23/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25    9.08
1841   131   Week 131    8/30/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25   10.59
1841   132   Week 132     9/6/2015   Western    Thomas McDonald      10   BOW   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25    6.57
1841   142   Week 142   11/15/2015   Western    MP Western Region   191   FWM   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25    9.11
1841   143   Week 143   11/22/2015   Western    MP Western Region   191   FWM   ARL008   393133   CHET   GARCIA     CHET GARCIA    DELIVERY DRIVER   7.25    5.08
 259   108   Week 108    3/22/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   12.61
 259   109   Week 109    3/29/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   15.36
 259   110   Week 110     4/5/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   22.77
 259   111   Week 111    4/12/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   17.48
 259   112   Week 112    4/19/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   19.34
 259   113   Week 113    4/26/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   18.51
 259   114   Week 114     5/3/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   18.87
 259   115   Week 115    5/10/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   19.25
 259   116   Week 116    5/17/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   15.34
 259   117   Week 117    5/24/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   18.11
 259   118   Week 118    5/31/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   16.76
 259   119   Week 119     6/7/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5    16.8
 259   120   Week 120    6/14/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   17.05
 259   121   Week 121    6/21/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   19.55
 259   122   Week 122    6/28/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   14.58
 259   123   Week 123     7/5/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   17.44
 259   124   Week 124    7/12/2015   Western    MP Western Region    48   LBJ   ARL340    47476   ADIL   BABIKIR    ADIL BABIKIR   DELIVERY DRIVER    8.5   15.94
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259   125   Week 125    7/19/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   17.55
259   126   Week 126    7/26/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   16.51
259   127   Week 127     8/2/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   17.66
259   128   Week 128     8/9/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   17.69
259   129   Week 129    8/16/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5    18.7
259   130   Week 130    8/23/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   19.02
259   131   Week 131    8/30/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   14.57
259   132   Week 132     9/6/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   13.66
259   136   Week 136    10/4/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5    8.04
259   137   Week 137   10/11/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   18.93
259   138   Week 138   10/18/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   19.91
259   139   Week 139   10/25/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER    8.5   18.64
259   140   Week 140    11/1/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   8.68   19.01
259   141   Week 141    11/8/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   14.93
259   142   Week 142   11/15/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    2.17
259   143   Week 143   11/22/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9     3.2
259   144   Week 144   11/29/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   19.39
259   145   Week 145    12/6/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   19.43
259   146   Week 146   12/13/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.69
259   148   Week 148   12/27/2015   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    3.98
259   149   Week 149     1/3/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    18.3
259   150   Week 150    1/10/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    18.5
259   151   Week 151    1/17/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.97
259   152   Week 152    1/24/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   14.47
259   153   Week 153    1/31/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.68
259   154   Week 154     2/7/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.05
259   155   Week 155    2/14/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.23
259   156   Week 156    2/21/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.81
259   157   Week 157    2/28/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.47
259   158   Week 158     3/6/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    17.3
259   159   Week 159    3/13/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.72
259   160   Week 160    3/20/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   15.97
259   161   Week 161    3/27/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.44
259   162   Week 162     4/3/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.05
259   163   Week 163    4/10/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   19.48
259   164   Week 164    4/17/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.26
259   165   Week 165    4/24/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.65
259   166   Week 166     5/1/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.08
259   167   Week 167     5/8/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.67
259   168   Week 168    5/15/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.05
259   169   Week 169    5/22/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   13.96
259   170   Week 170    5/29/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.48
259   171   Week 171     6/5/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.54
259   172   Week 172    6/12/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.31
259   173   Week 173    6/19/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   15.88
259   174   Week 174    6/26/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   10.08
259   175   Week 175     7/3/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   11.66
259   176   Week 176    7/10/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.83
259   177   Week 177    7/17/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.75
259   178   Week 178    7/24/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.73
259   179   Week 179    7/31/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    15.7
259   180   Week 180     8/7/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.67
259   181   Week 181    8/14/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   15.39
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259   182   Week 182    8/21/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   14.09
259   183   Week 183    8/28/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    12.6
259   184   Week 184     9/4/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.74
259   185   Week 185    9/11/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   14.95
259   186   Week 186    9/18/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   15.42
259   187   Week 187    9/25/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.79
259   188   Week 188    10/2/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.45
259   189   Week 189    10/9/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   15.57
259   190   Week 190   10/16/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.47
259   191   Week 191   10/23/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.46
259   192   Week 192   10/30/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    15.5
259   193   Week 193    11/6/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.76
259   194   Week 194   11/13/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   16.96
259   195   Week 195   11/20/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9     3.9
259   196   Week 196   11/27/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   18.06
259   197   Week 197    12/4/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   19.31
259   198   Week 198   12/11/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   17.88
259   199   Week 199   12/18/2016   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    6.17
259   201   Week 201     1/1/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9   19.17
259   202   Week 202     1/8/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER      9    19.3
259   203   Week 203    1/15/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.12   20.62
259   204   Week 204    1/22/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.14
259   205   Week 205    1/29/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25    15.8
259   206   Week 206     2/5/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.19
259   207   Week 207    2/12/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25    12.6
259   208   Week 208    2/19/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.52
259   209   Week 209    2/26/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25    18.3
259   210   Week 210     3/5/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.14
259   211   Week 211    3/12/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   12.12
259   212   Week 212    3/19/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.13
259   213   Week 213    3/26/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.06
259   214   Week 214     4/2/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.16
259   215   Week 215     4/9/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   14.09
259   216   Week 216    4/16/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   15.74
259   217   Week 217    4/23/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.74
259   218   Week 218    4/30/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.11
259   219   Week 219     5/7/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.15
259   220   Week 220    5/14/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.28
259   221   Week 221    5/21/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   13.56
259   222   Week 222    5/28/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   11.52
259   222   Week 222    5/28/2017   Western   MP Western Region   48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25    6.99
259   223   Week 223     6/4/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.93
259   224   Week 224    6/11/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.93
259   225   Week 225    6/18/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   14.92
259   226   Week 226    6/25/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   16.37
259   227   Week 227     7/2/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   10.32
259   228   Week 228     7/9/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.77
259   229   Week 229    7/16/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   15.27
259   230   Week 230    7/23/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.17
259   231   Week 231    7/30/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   18.85
259   232   Week 232     8/6/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.18
259   233   Week 233    8/13/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.16
259   234   Week 234    8/20/2017   Western   DO Will Schmidt     48   LBJ   ARL340   47476   ADIL   BABIKIR   ADIL BABIKIR   DELIVERY DRIVER   9.25   17.15
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 259   235   Week 235    8/27/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   10.48
 259   236   Week 236     9/3/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   14.03
 259   237   Week 237    9/10/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   17.72
 259   238   Week 238    9/17/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.41
 259   239   Week 239    9/24/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.15
 259   240   Week 240    10/1/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   18.16
 259   241   Week 241    10/8/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.02
 259   242   Week 242   10/15/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   14.97
 259   243   Week 243   10/22/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   18.68
 259   244   Week 244   10/29/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   17.72
 259   245   Week 245    11/5/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.55
 259   246   Week 246   11/12/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   17.36
 259   247   Week 247   11/19/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25    5.65
 259   248   Week 248   11/26/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   20.32
 259   249   Week 249    12/3/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.08
 259   250   Week 250   12/10/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25    19.2
 259   251   Week 251   12/17/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25    6.72
 259   252   Week 252   12/24/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25    3.98
 259   253   Week 253   12/31/2017   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   18.53
 259   254   Week 254     1/7/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   18.03
 259   255   Week 255    1/14/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   17.16
 259   256   Week 256    1/21/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   16.93
 259   257   Week 257    1/28/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   19.13
 259   258   Week 258     2/4/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   18.22
 259   259   Week 259    2/11/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   17.53
 259   260   Week 260    2/18/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   20.61
 259   261   Week 261    2/25/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   11.11
 259   262   Week 262     3/4/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   16.17
 259   263   Week 263    3/11/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   13.35
 259   264   Week 264    3/18/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   16.19
 259   265   Week 265    3/25/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.25   15.59
 259   266   Week 266     4/1/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER   9.35    15.8
 259   267   Week 267     4/8/2018   Western   DO Will Schmidt     48   LBJ   ARL340    47476   ADIL     BABIKIR   ADIL BABIKIR     DELIVERY DRIVER    9.5    3.43
2930   121   Week 121    6/21/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    6.29
2930   123   Week 123     7/5/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER   9.45   11.62
2930   124   Week 124    7/12/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9   10.57
2930   125   Week 125    7/19/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    7.25
2930   126   Week 126    7/26/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9     8.2
2930   127   Week 127     8/2/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9   11.35
2930   128   Week 128     8/9/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9   11.99
2930   129   Week 129    8/16/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    7.65
2930   130   Week 130    8/23/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9   28.26
2930   131   Week 131    8/30/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    7.55
2930   132   Week 132     9/6/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9   12.05
2930   133   Week 133    9/13/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    4.88
2930   135   Week 135    9/27/2015   Western   MP Western Region    6   ARL   ARL569    46167   DANIEL   LAGRONE   DANIEL LAGRONE   DELIVERY DRIVER      9    3.98
3538   109   Week 109    3/29/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   19.74
3538   110   Week 110     4/5/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   24.98
3538   111   Week 111    4/12/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   32.55
3538   112   Week 112    4/19/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   31.81
3538   113   Week 113    4/26/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   30.83
3538   114   Week 114     5/3/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   32.17
3538   115   Week 115    5/10/2015   Eastern   Les Brannen         75   ATD   ATB1249   39400   VLADI    MILLER    VLADI MILLER     DELIVERY DRIVER   7.25   33.61
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3538   116   Week 116    5/17/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   30.72
3538   117   Week 117    5/24/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   27.06
3538   118   Week 118    5/31/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.89
3538   119   Week 119     6/7/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.82
3538   120   Week 120    6/14/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.57
3538   121   Week 121    6/21/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   27.63
3538   122   Week 122    6/28/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   22.34
3538   123   Week 123     7/5/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   26.03
3538   124   Week 124    7/12/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.79
3538   125   Week 125    7/19/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.01
3538   126   Week 126    7/26/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.49   42.87
3538   127   Week 127     8/2/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.27
3538   128   Week 128     8/9/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.64
3538   129   Week 129    8/16/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.34   41.02
3538   130   Week 130    8/23/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.74
3538   131   Week 131    8/30/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.71
3538   132   Week 132     9/6/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.22
3538   133   Week 133    9/13/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.84
3538   133   Week 133    9/13/2015   Eastern   Max Torrence   70   ATP   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    0.87
3538   134   Week 134    9/20/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.61   44.38
3538   135   Week 135    9/27/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   26.27
3538   136   Week 136    10/4/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.52
3538   137   Week 137   10/11/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   29.78
3538   138   Week 138   10/18/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   37.81
3538   139   Week 139   10/25/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   31.06
3538   140   Week 140    11/1/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.96
3538   141   Week 141    11/8/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.36
3538   142   Week 142   11/15/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.02
3538   143   Week 143   11/22/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   21.88
3538   144   Week 144   11/29/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.26   40.14
3538   145   Week 145    12/6/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   29.86
3538   146   Week 146   12/13/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    29.5
3538   147   Week 147   12/20/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    6.55
3538   148   Week 148   12/27/2015   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   11.35
3538   149   Week 149     1/3/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   26.35
3538   150   Week 150    1/10/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    30.7
3538   151   Week 151    1/17/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   23.75
3538   152   Week 152    1/24/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.91
3538   153   Week 153    1/31/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    29.7
3538   154   Week 154     2/7/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER    7.5   42.96
3538   155   Week 155    2/14/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.63    44.7
3538   156   Week 156    2/21/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.39   41.64
3538   157   Week 157    2/28/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.09
3538   158   Week 158     3/6/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.98
3538   159   Week 159    3/13/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    16.2
3538   160   Week 160    3/20/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.95
3538   161   Week 161    3/27/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.81
3538   162   Week 162     4/3/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   30.83
3538   163   Week 163    4/10/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.82    47.5
3538   164   Week 164    4/17/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.26
3538   165   Week 165    4/24/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.26   40.07
3538   166   Week 166     5/1/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.88   48.39
3538   167   Week 167     5/8/2016   Eastern   Les Brannen    75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    35.1
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3538   168   Week 168    5/15/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.72   46.02
3538   169   Week 169    5/22/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   37.58
3538   170   Week 170    5/29/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.97
3538   171   Week 171     6/5/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.43
3538   172   Week 172    6/12/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.26
3538   173   Week 173    6/19/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.92
3538   174   Week 174    6/26/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.35
3538   175   Week 175     7/3/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.66
3538   176   Week 176    7/10/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER    7.3   40.54
3538   177   Week 177    7/17/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.58
3538   178   Week 178    7/24/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.89
3538   179   Week 179    7/31/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.23
3538   180   Week 180     8/7/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   31.36
3538   181   Week 181    8/14/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.31
3538   182   Week 182    8/21/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    32.2
3538   183   Week 183    8/28/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.51
3538   184   Week 184     9/4/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   30.22
3538   185   Week 185    9/11/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.63
3538   186   Week 186    9/18/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   29.99
3538   187   Week 187    9/25/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.34
3538   188   Week 188    10/2/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.83
3538   189   Week 189    10/9/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    29.9
3538   190   Week 190   10/16/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   23.68
3538   191   Week 191   10/23/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    37.3
3538   192   Week 192   10/30/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.27   40.21
3538   193   Week 193    11/6/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   31.96
3538   194   Week 194   11/13/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   35.53
3538   195   Week 195   11/20/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   16.89
3538   196   Week 196   11/27/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   26.83
3538   197   Week 197    12/4/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   28.13
3538   198   Week 198   12/11/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.87
3538   199   Week 199   12/18/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   15.65
3538   200   Week 200   12/25/2016   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   11.95
3538   201   Week 201     1/1/2017   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25    8.47
3538   202   Week 202     1/8/2017   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.12
3538   203   Week 203    1/15/2017   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   31.16
3538   204   Week 204    1/22/2017   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   23.52
3538   205   Week 205    1/29/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   16.57
3538   205   Week 205    1/29/2017   Eastern   Les Brannen     75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   17.59
3538   206   Week 206     2/5/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.56   43.71
3538   207   Week 207    2/12/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.54
3538   208   Week 208    2/19/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.79
3538   209   Week 209    2/26/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   36.82
3538   210   Week 210     3/5/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   33.23
3538   211   Week 211    3/12/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.98
3538   212   Week 212    3/19/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25     8.2
3538   213   Week 213    3/26/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   38.28
3538   214   Week 214     4/2/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   32.28
3538   215   Week 215     4/9/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   37.15
3538   216   Week 216    4/16/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   39.29
3538   217   Week 217    4/23/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.27   40.22
3538   218   Week 218    4/30/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.72      46
3538   219   Week 219     5/7/2017   Eastern   Brandon Andra   75   ATD   ATB1249   39400   VLADI   MILLER   VLADI MILLER   DELIVERY DRIVER   7.25   34.64
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3538   220   Week 220    5/14/2017   Eastern   Brandon Andra       75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   8.04   51.12
3538   221   Week 221    5/21/2017   Eastern   Brandon Andra       75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   36.92
3538   222   Week 222    5/28/2017   Eastern   Brandon Andra       75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   22.69
3538   222   Week 222    5/28/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.91   21.13
3538   223   Week 223     6/4/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   38.55
3538   224   Week 224    6/11/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   26.88
3538   225   Week 225    6/18/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER    7.4   41.68
3538   226   Week 226    6/25/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   26.36
3538   227   Week 227     7/2/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   32.21
3538   228   Week 228     7/9/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   39.18
3538   229   Week 229    7/16/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.39   41.56
3538   230   Week 230    7/23/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   32.72
3538   231   Week 231    7/30/2017   Eastern   DO Brandon Andra    75   ATD   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   24.89
3538   232   Week 232     8/6/2017   Eastern   DO Mike McCown     112   ATJ   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   19.59
3538   233   Week 233    8/13/2017   Eastern   DO Mike McCown     112   ATJ   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   18.02
3538   234   Week 234    8/20/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   20.93
3538   235   Week 235    8/27/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   30.41
3538   236   Week 236     9/3/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   20.47
3538   237   Week 237    9/10/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   29.91
3538   238   Week 238    9/17/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   36.74
3538   239   Week 239    9/24/2017   Eastern   DO Brandon Andra    67   ATF   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    3.15
3538   239   Week 239    9/24/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   16.12
3538   240   Week 240    10/1/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    24.6
3538   241   Week 241    10/8/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   26.29
3538   242   Week 242   10/15/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   31.04
3538   243   Week 243   10/22/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    27.3
3538   244   Week 244   10/29/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   28.14
3538   245   Week 245    11/5/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   11.25
3538   246   Week 246   11/12/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   21.55
3538   247   Week 247   11/19/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   10.98
3538   248   Week 248   11/26/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   19.11
3538   248   Week 248   11/26/2017   Eastern   DO Mike McCown     112   ATJ   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    7.53
3538   249   Week 249    12/3/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   14.92
3538   250   Week 250   12/10/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   15.21
3538   251   Week 251   12/17/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    13.7
3538   252   Week 252   12/24/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   13.27
3538   253   Week 253   12/31/2017   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    7.27
3538   254   Week 254     1/7/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   15.68
3538   255   Week 255    1/14/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   10.66
3538   256   Week 256    1/21/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25    4.93
3538   257   Week 257    1/28/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   15.26
3538   258   Week 258     2/4/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   18.65
3538   259   Week 259    2/11/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   13.33
3538   260   Week 260    2/18/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   22.71
3538   265   Week 265    3/25/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25   13.69
3538   266   Week 266     4/1/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25     7.4
3538   267   Week 267     4/8/2018   Eastern   DO Brandon Andra    70   ATP   ATB1249    39400   VLADI      MILLER   VLADI MILLER      DELIVERY DRIVER   7.25     4.2
2034   104   Week 104    2/22/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5    5.56
2034   105   Week 105     3/1/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5   10.17
2034   106   Week 106     3/8/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5    7.59
2034   107   Week 107    3/15/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5   11.31
2034   108   Week 108    3/22/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5   10.01
2034   109   Week 109    3/29/2015   Eastern   Les Brannen         59   ATB   ATB437    385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER    7.5    9.42
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2034   110   Week 110     4/5/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.15
2034   111   Week 111    4/12/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    15.2
2034   112   Week 112    4/19/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.56
2034   113   Week 113    4/26/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.34
2034   114   Week 114     5/3/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.37
2034   115   Week 115    5/10/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.43
2034   116   Week 116    5/17/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    9.51
2034   117   Week 117    5/24/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    8.53
2034   118   Week 118    5/31/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.15
2034   119   Week 119     6/7/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5      14
2034   120   Week 120    6/14/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.64
2034   121   Week 121    6/21/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.48
2034   122   Week 122    6/28/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    8.07
2034   123   Week 123     7/5/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.13
2034   124   Week 124    7/12/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.08
2034   125   Week 125    7/19/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.47
2034   128   Week 128     8/9/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.48
2034   129   Week 129    8/16/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.81
2034   130   Week 130    8/23/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.93
2034   131   Week 131    8/30/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.28
2034   132   Week 132     9/6/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    14.3
2034   133   Week 133    9/13/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   18.55
2034   134   Week 134    9/20/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   18.12
2034   135   Week 135    9/27/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    6.89
2034   136   Week 136    10/4/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    6.35
2034   137   Week 137   10/11/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.03
2034   138   Week 138   10/18/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   18.23
2034   139   Week 139   10/25/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   17.78
2034   140   Week 140    11/1/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    17.6
2034   141   Week 141    11/8/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.71
2034   142   Week 142   11/15/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    15.3
2034   143   Week 143   11/22/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    2.73
2034   144   Week 144   11/29/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.67
2034   145   Week 145    12/6/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.31
2034   146   Week 146   12/13/2015   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.87
2034   149   Week 149     1/3/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.73
2034   150   Week 150    1/10/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    13.1
2034   151   Week 151    1/17/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.56
2034   152   Week 152    1/24/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   18.47
2034   153   Week 153    1/31/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.38
2034   154   Week 154     2/7/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.65
2034   155   Week 155    2/14/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.05
2034   156   Week 156    2/21/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.57
2034   157   Week 157    2/28/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    2.75
2034   158   Week 158     3/6/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.05
2034   159   Week 159    3/13/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   19.19
2034   160   Week 160    3/20/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.99
2034   161   Week 161    3/27/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.33
2034   162   Week 162     4/3/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    8.87
2034   163   Week 163    4/10/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.15
2034   164   Week 164    4/17/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    19.3
2034   165   Week 165    4/24/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5     2.5
2034   166   Week 166     5/1/2016   Eastern   Les Brannen   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.28
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2034   167   Week 167     5/8/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.53
2034   168   Week 168    5/15/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.82
2034   169   Week 169    5/22/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5     6.4
2034   170   Week 170    5/29/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    6.78
2034   171   Week 171     6/5/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.04
2034   172   Week 172    6/12/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.66
2034   173   Week 173    6/19/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.47
2034   174   Week 174    6/26/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.57
2034   178   Week 178    7/24/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.99
2034   179   Week 179    7/31/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.42
2034   180   Week 180     8/7/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.28
2034   181   Week 181    8/14/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.02
2034   182   Week 182    8/21/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.76
2034   183   Week 183    8/28/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.12
2034   184   Week 184     9/4/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.28
2034   185   Week 185    9/11/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   19.74
2034   186   Week 186    9/18/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.26
2034   187   Week 187    9/25/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.17
2034   188   Week 188    10/2/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.45
2034   189   Week 189    10/9/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.28
2034   190   Week 190   10/16/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.26
2034   192   Week 192   10/30/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    9.54
2034   193   Week 193    11/6/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.69
2034   194   Week 194   11/13/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.34
2034   196   Week 196   11/27/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.88
2034   197   Week 197    12/4/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.45
2034   198   Week 198   12/11/2016   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.14
2034   201   Week 201     1/1/2017   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.78
2034   202   Week 202     1/8/2017   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.22
2034   203   Week 203    1/15/2017   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.11
2034   204   Week 204    1/22/2017   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   17.11
2034   205   Week 205    1/29/2017   Eastern   Les Brannen         59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.23
2034   205   Week 205    1/29/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5     7.5
2034   206   Week 206     2/5/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.52
2034   207   Week 207    2/12/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.35
2034   208   Week 208    2/19/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.13
2034   209   Week 209    2/26/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.84
2034   210   Week 210     3/5/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   14.12
2034   211   Week 211    3/12/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   15.46
2034   212   Week 212    3/19/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.68
2034   215   Week 215     4/9/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.73
2034   216   Week 216    4/16/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    15.9
2034   217   Week 217    4/23/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.44
2034   218   Week 218    4/30/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    17.8
2034   219   Week 219     5/7/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.44
2034   220   Week 220    5/14/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5      15
2034   221   Week 221    5/21/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    8.25
2034   222   Week 222    5/28/2017   Eastern   DO Mike McCown      59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    4.08
2034   222   Week 222    5/28/2017   Eastern   MP Eastern Region   59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    6.47
2034   223   Week 223     6/4/2017   Eastern   DO Mike McCown      59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   17.72
2034   224   Week 224    6/11/2017   Eastern   DO Mike McCown      59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.72
2034   228   Week 228     7/9/2017   Eastern   DO Mike McCown      59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.22
2034   229   Week 229    7/16/2017   Eastern   DO Mike McCown      59   ATB   ATB437   385904   GILBERTO   GRATAO   GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.58
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2034   230   Week 230    7/23/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.18
2034   231   Week 231    7/30/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.81
2034   232   Week 232     8/6/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.27
2034   233   Week 233    8/13/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   16.61
2034   234   Week 234    8/20/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.43
2034   235   Week 235    8/27/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    11.1
2034   236   Week 236     9/3/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.32
2034   239   Week 239    9/24/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.35
2034   240   Week 240    10/1/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.75
2034   241   Week 241    10/8/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   17.42
2034   242   Week 242   10/15/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.76
2034   243   Week 243   10/22/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    14.6
2034   244   Week 244   10/29/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    11.3
2034   245   Week 245    11/5/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.05
2034   246   Week 246   11/12/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.55
2034   248   Week 248   11/26/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   13.41
2034   249   Week 249    12/3/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   12.29
2034   250   Week 250   12/10/2017   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    9.87
2034   256   Week 256    1/21/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    2.52
2034   257   Week 257    1/28/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.82
2034   258   Week 258     2/4/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5       9
2034   259   Week 259    2/11/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.69
2034   260   Week 260    2/18/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.35
2034   261   Week 261    2/25/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   11.14
2034   262   Week 262     3/4/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.82
2034   264   Week 264    3/18/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    7.72
2034   265   Week 265    3/25/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5   10.55
2034   266   Week 266     4/1/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    9.53
2034   267   Week 267     4/8/2018   Eastern   DO Mike McCown   59   ATB   ATB437   385904   GILBERTO   GRATAO      GILBERTO GRATAO   DELIVERY DRIVER   7.5    3.83
3933   102   Week 102     2/8/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.94
3933   103   Week 103    2/15/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.02
3933   104   Week 104    2/22/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.37
3933   105   Week 105     3/1/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.47
3933   106   Week 106     3/8/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.14
3933   107   Week 107    3/15/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   25.22
3933   108   Week 108    3/22/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   18.48
3933   109   Week 109    3/29/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   12.83
3933   110   Week 110     4/5/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.65
3933   111   Week 111    4/12/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.55
3933   112   Week 112    4/19/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.67
3933   113   Week 113    4/26/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    25.4
3933   114   Week 114     5/3/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    18.1
3933   115   Week 115    5/10/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.11
3933   116   Week 116    5/17/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.38
3933   117   Week 117    5/24/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.43
3933   118   Week 118    5/31/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.32
3933   119   Week 119     6/7/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   25.89
3933   120   Week 120    6/14/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   13.91
3933   121   Week 121    6/21/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.48
3933   122   Week 122    6/28/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    5.75
3933   123   Week 123     7/5/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    18.3
3933   124   Week 124    7/12/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.02
3933   125   Week 125    7/19/2015   Eastern   Les Brannen      59   ATB   ATB517    50816   DINKO      PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   18.47
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3933   126   Week 126    7/26/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5      28
3933   127   Week 127     8/2/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   27.46
3933   128   Week 128     8/9/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   27.31
3933   129   Week 129    8/16/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   24.63
3933   130   Week 130    8/23/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   28.09
3933   131   Week 131    8/30/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.42
3933   132   Week 132     9/6/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   27.02
3933   133   Week 133    9/13/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   15.78
3933   134   Week 134    9/20/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5     4.9
3933   135   Week 135    9/27/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.67
3933   136   Week 136    10/4/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    17.1
3933   137   Week 137   10/11/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.06
3933   138   Week 138   10/18/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   37.04
3933   139   Week 139   10/25/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   34.25
3933   140   Week 140    11/1/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.46
3933   141   Week 141    11/8/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    15.8
3933   142   Week 142   11/15/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.28
3933   143   Week 143   11/22/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    2.17
3933   144   Week 144   11/29/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   25.65
3933   145   Week 145    12/6/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   28.87
3933   146   Week 146   12/13/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.08
3933   147   Week 147   12/20/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5     9.8
3933   148   Week 148   12/27/2015   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    9.98
3933   149   Week 149     1/3/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.77
3933   150   Week 150    1/10/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   14.22
3933   151   Week 151    1/17/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.63
3933   152   Week 152    1/24/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.08
3933   153   Week 153    1/31/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    24.6
3933   154   Week 154     2/7/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.87
3933   155   Week 155    2/14/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   18.85
3933   156   Week 156    2/21/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.37
3933   157   Week 157    2/28/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.45
3933   158   Week 158     3/6/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.34
3933   159   Week 159    3/13/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.05
3933   160   Week 160    3/20/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   12.89
3933   161   Week 161    3/27/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.88
3933   162   Week 162     4/3/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    4.98
3933   163   Week 163    4/10/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.15
3933   164   Week 164    4/17/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5     4.1
3933   165   Week 165    4/24/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.48
3933   166   Week 166     5/1/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.97
3933   167   Week 167     5/8/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    26.2
3933   168   Week 168    5/15/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.18
3933   169   Week 169    5/22/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   10.46
3933   170   Week 170    5/29/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   14.63
3933   171   Week 171     6/5/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.03
3933   172   Week 172    6/12/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.18
3933   173   Week 173    6/19/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    18.1
3933   179   Week 179    7/31/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    9.08
3933   180   Week 180     8/7/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.08
3933   181   Week 181    8/14/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   15.55
3933   182   Week 182    8/21/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   13.01
3933   183   Week 183    8/28/2016   Eastern   Les Brannen   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.47
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3933   184   Week 184     9/4/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.08
3933   185   Week 185    9/11/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.92
3933   186   Week 186    9/18/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   24.72
3933   187   Week 187    9/25/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.31
3933   188   Week 188    10/2/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.03
3933   189   Week 189    10/9/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.25
3933   190   Week 190   10/16/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.29
3933   191   Week 191   10/23/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   25.51
3933   192   Week 192   10/30/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.88
3933   193   Week 193    11/6/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   26.57
3933   194   Week 194   11/13/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   25.58
3933   195   Week 195   11/20/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   12.07
3933   196   Week 196   11/27/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.55
3933   197   Week 197    12/4/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   26.64
3933   198   Week 198   12/11/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   22.87
3933   199   Week 199   12/18/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.51
3933   200   Week 200   12/25/2016   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   10.75
3933   201   Week 201     1/1/2017   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.39
3933   202   Week 202     1/8/2017   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.87
3933   203   Week 203    1/15/2017   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    28.2
3933   204   Week 204    1/22/2017   Eastern   Les Brannen         59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.84
3933   205   Week 205    1/29/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   17.71
3933   206   Week 206     2/5/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   24.43
3933   207   Week 207    2/12/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.15
3933   208   Week 208    2/19/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   36.78
3933   209   Week 209    2/26/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.47
3933   210   Week 210     3/5/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   24.95
3933   211   Week 211    3/12/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.33
3933   212   Week 212    3/19/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   35.95
3933   213   Week 213    3/26/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.57
3933   214   Week 214     4/2/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.69
3933   215   Week 215     4/9/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   28.46
3933   216   Week 216    4/16/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   29.38
3933   217   Week 217    4/23/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   33.66
3933   218   Week 218    4/30/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.42
3933   219   Week 219     5/7/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   21.35
3933   220   Week 220    5/14/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   27.17
3933   221   Week 221    5/21/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.89
3933   222   Week 222    5/28/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   19.92
3933   222   Week 222    5/28/2017   Eastern   MP Eastern Region   59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5    8.98
3933   223   Week 223     6/4/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5      17
3933   225   Week 225    6/18/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   32.46
3933   226   Week 226    6/25/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   26.03
3933   227   Week 227     7/2/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   16.13
3933   227   Week 227     7/2/2017   Eastern   DO Mike McCown      72   ATC   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5       7
3933   228   Week 228     7/9/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   31.12
3933   229   Week 229    7/16/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   27.66
3933   230   Week 230    7/23/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   31.49
3933   231   Week 231    7/30/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   38.62
3933   232   Week 232     8/6/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   34.58
3933   233   Week 233    8/13/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   18.93
3933   234   Week 234    8/20/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   20.56
3933   235   Week 235    8/27/2017   Eastern   DO Mike McCown      59   ATB   ATB517   50816   DINKO   PANAYOTOV   DINKO PANAYOTOV   DELIVERY DRIVER   7.5   23.79
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3933   236   Week 236     9/3/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   30.14
3933   237   Week 237    9/10/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   35.88
3933   238   Week 238    9/17/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   23.17
3933   239   Week 239    9/24/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   25.99
3933   240   Week 240    10/1/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   39.38
3933   241   Week 241    10/8/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5    33.4
3933   242   Week 242   10/15/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   33.74
3933   243   Week 243   10/22/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   31.77
3933   244   Week 244   10/29/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER   7.58   40.82
3933   245   Week 245    11/5/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   39.39
3933   246   Week 246   11/12/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   31.77
3933   247   Week 247   11/19/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5    17.3
3933   248   Week 248   11/26/2017   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5    4.75
3933   254   Week 254     1/7/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5    5.57
3933   255   Week 255    1/14/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   32.85
3933   256   Week 256    1/21/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   32.59
3933   257   Week 257    1/28/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   30.71
3933   258   Week 258     2/4/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   18.96
3933   259   Week 259    2/11/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   29.89
3933   260   Week 260    2/18/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   22.48
3933   261   Week 261    2/25/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   32.21
3933   262   Week 262     3/4/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   24.94
3933   263   Week 263    3/11/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   36.84
3933   264   Week 264    3/18/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   24.97
3933   265   Week 265    3/25/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   15.88
3933   266   Week 266     4/1/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5   32.15
3933   267   Week 267     4/8/2018   Eastern   DO Mike McCown   59   ATB   ATB517   50816   DINKO      PANAYOTOV   DINKO PANAYOTOV     DELIVERY DRIVER    7.5    4.47
5682   153   Week 153    1/31/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    8.23
5682   154   Week 154     2/7/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   38.05
5682   155   Week 155    2/14/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   24.52
5682   156   Week 156    2/21/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   21.06
5682   157   Week 157    2/28/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   18.51
5682   158   Week 158     3/6/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    5.32
5682   159   Week 159    3/13/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   24.75
5682   160   Week 160    3/20/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   23.34
5682   161   Week 161    3/27/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   19.59
5682   162   Week 162     4/3/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   19.52
5682   163   Week 163    4/10/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   19.89
5682   164   Week 164    4/17/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   24.66
5682   165   Week 165    4/24/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   23.84
5682   166   Week 166     5/1/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   26.28
5682   167   Week 167     5/8/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    23.4
5682   168   Week 168    5/15/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    24.9
5682   169   Week 169    5/22/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    5.73
5682   170   Week 170    5/29/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   28.63
5682   171   Week 171     6/5/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   38.49
5682   172   Week 172    6/12/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   39.05
5682   173   Week 173    6/19/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.25
5682   174   Week 174    6/26/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   14.65
5682   175   Week 175     7/3/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   25.72
5682   176   Week 176    7/10/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   34.05
5682   177   Week 177    7/17/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.62
5682   178   Week 178    7/24/2016   Eastern   Les Brannen      59   ATB   ATB984   60424   NATASSEE   WILLIAMS    NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.95
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5682   179   Week 179    7/31/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    20.2
5682   180   Week 180     8/7/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.78
5682   181   Week 181    8/14/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.88
5682   182   Week 182    8/21/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   31.13
5682   183   Week 183    8/28/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   20.78
5682   184   Week 184     9/4/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   24.92
5682   185   Week 185    9/11/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   35.88
5682   186   Week 186    9/18/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER   7.58   39.93
5682   187   Week 187    9/25/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   25.22
5682   188   Week 188    10/2/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5    23.4
5682   189   Week 189    10/9/2016   Eastern   Les Brannen   59   ATB   ATB984   60424   NATASSEE   WILLIAMS   NATASSEE WILLIAMS   DELIVERY DRIVER    7.5   21.87
1607   131   Week 131    8/30/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25     7.1
1607   132   Week 132     9/6/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25   11.95
1607   133   Week 133    9/13/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25    9.37
1607   134   Week 134    9/20/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25    20.2
1607   135   Week 135    9/27/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25   20.48
1607   136   Week 136    10/4/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25    9.12
1607   137   Week 137   10/11/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25   10.47
1607   138   Week 138   10/18/2015   Eastern   Les Brannen   72   ATC   ATC623   57220   SHANTELL   EVERSON    SHANTELL EVERSON    DELIVERY DRIVER   7.25    4.65
5620   130   Week 130    8/23/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   17.54
5620   131   Week 131    8/30/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   17.77
5620   132   Week 132     9/6/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   24.74
5620   133   Week 133    9/13/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   18.75
5620   134   Week 134    9/20/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    24.7
5620   135   Week 135    9/27/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   23.21
5620   136   Week 136    10/4/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   15.67
5620   137   Week 137   10/11/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   22.75
5620   138   Week 138   10/18/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   24.05
5620   139   Week 139   10/25/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    25.5
5620   140   Week 140    11/1/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   22.36
5620   141   Week 141    11/8/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   22.05
5620   142   Week 142   11/15/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   17.44
5620   143   Week 143   11/22/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    4.42
5620   144   Week 144   11/29/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   21.95
5620   145   Week 145    12/6/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    23.1
5620   146   Week 146   12/13/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   22.06
5620   147   Week 147   12/20/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    9.37
5620   148   Week 148   12/27/2015   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   21.77
5620   149   Week 149     1/3/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   23.83
5620   150   Week 150    1/10/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   15.07
5620   156   Week 156    2/21/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   23.15
5620   157   Week 157    2/28/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   25.87
5620   158   Week 158     3/6/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   26.05
5620   159   Week 159    3/13/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   24.93
5620   160   Week 160    3/20/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   26.26
5620   161   Week 161    3/27/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   24.77
5620   162   Week 162     4/3/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   19.58
5620   163   Week 163    4/10/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   24.23
5620   164   Week 164    4/17/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25    28.2
5620   165   Week 165    4/24/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   28.54
5620   166   Week 166     5/1/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   26.01
5620   167   Week 167     5/8/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   27.13
5620   168   Week 168    5/15/2016   Eastern   Les Brannen   72   ATC   ATC682   56643   DIANA      WILDER     DIANA WILDER        DELIVERY DRIVER   7.25   28.45
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5620   169   Week 169    5/22/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   21.14
5620   170   Week 170    5/29/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   28.44
5620   171   Week 171     6/5/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    21.4
5620   172   Week 172    6/12/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25      29
5620   173   Week 173    6/19/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.65
5620   174   Week 174    6/26/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   15.43
5620   175   Week 175     7/3/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    7.97
5620   176   Week 176    7/10/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.24
5620   177   Week 177    7/17/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   24.11
5620   178   Week 178    7/24/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   24.24
5620   179   Week 179    7/31/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   20.99
5620   181   Week 181    8/14/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.13
5620   182   Week 182    8/21/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   25.91
5620   183   Week 183    8/28/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   16.49
5620   184   Week 184     9/4/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   24.03
5620   185   Week 185    9/11/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.27
5620   186   Week 186    9/18/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.03
5620   187   Week 187    9/25/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   25.49
5620   188   Week 188    10/2/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   17.92
5620   189   Week 189    10/9/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.61
5620   190   Week 190   10/16/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.77
5620   191   Week 191   10/23/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.22
5620   192   Week 192   10/30/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    25.1
5620   193   Week 193    11/6/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.32
5620   194   Week 194   11/13/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.28
5620   195   Week 195   11/20/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   13.73
5620   196   Week 196   11/27/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   11.75
5620   197   Week 197    12/4/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   20.55
5620   198   Week 198   12/11/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.49
5620   199   Week 199   12/18/2016   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    10.4
5620   201   Week 201     1/1/2017   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   24.09
5620   202   Week 202     1/8/2017   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.45
5620   203   Week 203    1/15/2017   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    27.7
5620   204   Week 204    1/22/2017   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   15.35
5620   205   Week 205    1/29/2017   Eastern   Les Brannen         72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    9.41
5620   205   Week 205    1/29/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   13.37
5620   206   Week 206     2/5/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   21.16
5620   207   Week 207    2/12/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.55
5620   208   Week 208    2/19/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   20.96
5620   209   Week 209    2/26/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    25.2
5620   210   Week 210     3/5/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   22.68
5620   211   Week 211    3/12/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   16.41
5620   213   Week 213    3/26/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   20.73
5620   214   Week 214     4/2/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   25.23
5620   215   Week 215     4/9/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   21.82
5620   216   Week 216    4/16/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   28.33
5620   217   Week 217    4/23/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.22
5620   218   Week 218    4/30/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   26.14
5620   219   Week 219     5/7/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   25.41
5620   220   Week 220    5/14/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   27.72
5620   221   Week 221    5/21/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    19.4
5620   222   Week 222    5/28/2017   Eastern   DO Mike McCown      72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25   15.12
5620   222   Week 222    5/28/2017   Eastern   MP Eastern Region   72   ATC   ATC682   56643   DIANA   WILDER   DIANA WILDER   DELIVERY DRIVER   7.25    9.73
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5620   223   Week 223     6/4/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   27.28
5620   224   Week 224    6/11/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   22.28
5620   225   Week 225    6/18/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   22.61
5620   226   Week 226    6/25/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   11.38
5620   227   Week 227     7/2/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   17.11
5620   228   Week 228     7/9/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   24.63
5620   229   Week 229    7/16/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   27.63
5620   230   Week 230    7/23/2017   Eastern   DO Mike McCown   72   ATC   ATC682   56643   DIANA      WILDER    DIANA WILDER      DELIVERY DRIVER   7.25   17.22
4937   157   Week 157    2/28/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   15.76
4937   158   Week 158     3/6/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25    24.7
4937   159   Week 159    3/13/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   18.82
4937   160   Week 160    3/20/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   20.35
4937   161   Week 161    3/27/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   13.22
4937   162   Week 162     4/3/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   15.82
4937   163   Week 163    4/10/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25    18.9
4937   164   Week 164    4/17/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   16.32
4937   165   Week 165    4/24/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25    17.1
4937   166   Week 166     5/1/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25   12.31
4937   167   Week 167     5/8/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25    10.4
4937   168   Week 168    5/15/2016   Eastern   Les Brannen      72   ATC   ATC981   60934   STEPHEN    STANLEY   STEPHEN STANLEY   DELIVERY DRIVER   7.25    6.93
4017   180   Week 180     8/7/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   11.23
4017   181   Week 181    8/14/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   21.76
4017   182   Week 182    8/21/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   18.91
4017   183   Week 183    8/28/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25    9.81
4017   184   Week 184     9/4/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   13.97
4017   185   Week 185    9/11/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   10.77
4017   186   Week 186    9/18/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   17.46
4017   187   Week 187    9/25/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   18.97
4017   188   Week 188    10/2/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   12.29
4017   189   Week 189    10/9/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   17.74
4017   190   Week 190   10/16/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   18.42
4017   191   Week 191   10/23/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25    18.9
4017   192   Week 192   10/30/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   19.33
4017   193   Week 193    11/6/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   16.63
4017   194   Week 194   11/13/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   18.45
4017   195   Week 195   11/20/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25       4
4017   196   Week 196   11/27/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   20.93
4017   197   Week 197    12/4/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   21.73
4017   198   Week 198   12/11/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   15.75
4017   199   Week 199   12/18/2016   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   10.18
4017   201   Week 201     1/1/2017   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   12.73
4017   202   Week 202     1/8/2017   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   16.05
4017   203   Week 203    1/15/2017   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   21.23
4017   204   Week 204    1/22/2017   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   20.09
4017   205   Week 205    1/29/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   10.07
4017   205   Week 205    1/29/2017   Eastern   Les Brannen      75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25    7.41
4017   206   Week 206     2/5/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   19.18
4017   207   Week 207    2/12/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   21.99
4017   208   Week 208    2/19/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25      20
4017   209   Week 209    2/26/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   19.69
4017   210   Week 210     3/5/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25    18.5
4017   211   Week 211    3/12/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25   21.38
4017   212   Week 212    3/19/2017   Eastern   Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER    FERNANDO PENTER   DELIVERY DRIVER   7.25    20.5
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4017   213   Week 213    3/26/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   17.78
4017   214   Week 214     4/2/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   20.72
4017   215   Week 215     4/9/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   16.16
4017   216   Week 216    4/16/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   21.27
4017   217   Week 217    4/23/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   20.91
4017   218   Week 218    4/30/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   22.12
4017   219   Week 219     5/7/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   19.93
4017   220   Week 220    5/14/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.26
4017   221   Week 221    5/21/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   16.19
4017   222   Week 222    5/28/2017   Eastern   Brandon Andra      75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25    8.67
4017   222   Week 222    5/28/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   10.09
4017   223   Week 223     6/4/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   15.95
4017   224   Week 224    6/11/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   21.79
4017   225   Week 225    6/18/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.67
4017   226   Week 226    6/25/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   18.97
4017   227   Week 227     7/2/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   13.14
4017   228   Week 228     7/9/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.47
4017   229   Week 229    7/16/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.03
4017   230   Week 230    7/23/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   18.21
4017   231   Week 231    7/30/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   26.27
4017   232   Week 232     8/6/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   26.08
4017   233   Week 233    8/13/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.67
4017   234   Week 234    8/20/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   31.08
4017   235   Week 235    8/27/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.58
4017   236   Week 236     9/3/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.03
4017   237   Week 237    9/10/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   25.69
4017   238   Week 238    9/17/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.09
4017   239   Week 239    9/24/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.43
4017   240   Week 240    10/1/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   21.29
4017   241   Week 241    10/8/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   22.69
4017   242   Week 242   10/15/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   32.12
4017   243   Week 243   10/22/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25    28.2
4017   244   Week 244   10/29/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   29.74
4017   245   Week 245    11/5/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   37.47
4017   246   Week 246   11/12/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   26.84
4017   247   Week 247   11/19/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   14.53
4017   248   Week 248   11/26/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.22
4017   249   Week 249    12/3/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   27.53
4017   250   Week 250   12/10/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25    26.5
4017   251   Week 251   12/17/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   15.06
4017   253   Week 253   12/31/2017   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   21.14
4017   254   Week 254     1/7/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   22.07
4017   255   Week 255    1/14/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.66
4017   256   Week 256    1/21/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.98
4017   257   Week 257    1/28/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   26.64
4017   258   Week 258     2/4/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   26.52
4017   259   Week 259    2/11/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   25.65
4017   260   Week 260    2/18/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.04
4017   261   Week 261    2/25/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   27.75
4017   262   Week 262     3/4/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   22.79
4017   263   Week 263    3/11/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   18.83
4017   264   Week 264    3/18/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   24.53
4017   265   Week 265    3/25/2018   Eastern   DO Brandon Andra   75   ATD   ATD793   64682   FERNANDO   PENTER   FERNANDO PENTER   DELIVERY DRIVER   7.25   23.67
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4017   266   Week 266     4/1/2018   Eastern   DO Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER     FERNANDO PENTER    DELIVERY DRIVER   7.25   18.15
4017   267   Week 267     4/8/2018   Eastern   DO Brandon Andra    75   ATD   ATD793   64682   FERNANDO   PENTER     FERNANDO PENTER    DELIVERY DRIVER   7.25    3.87
1048   209   Week 209    2/26/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   16.38
1048   210   Week 210     3/5/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   19.11
1048   211   Week 211    3/12/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   19.59
1048   212   Week 212    3/19/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    25.2
1048   213   Week 213    3/26/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   13.88
1048   214   Week 214     4/2/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    7.75
1048   215   Week 215     4/9/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   14.22
1048   216   Week 216    4/16/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   16.53
1048   217   Week 217    4/23/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   14.12
1048   218   Week 218    4/30/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   11.27
1048   219   Week 219     5/7/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    6.65
1048   220   Week 220    5/14/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   19.15
1048   221   Week 221    5/21/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   11.27
1048   222   Week 222    5/28/2017   Eastern   Brandon Andra       75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    7.45
1048   222   Week 222    5/28/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    6.91
1048   223   Week 223     6/4/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   14.41
1048   224   Week 224    6/11/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   14.79
1048   225   Week 225    6/18/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   15.25
1048   227   Week 227     7/2/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25    3.88
1048   228   Week 228     7/9/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   15.32
1048   229   Week 229    7/16/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   18.58
1048   230   Week 230    7/23/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   10.26
1048   231   Week 231    7/30/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   19.89
1048   232   Week 232     8/6/2017   Eastern   DO Brandon Andra    75   ATD   ATD801   68376   MARK       COLLIER    MARK COLLIER       DELIVERY DRIVER   7.25   14.32
5672   229   Week 229    7/16/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    3.57
5672   230   Week 230    7/23/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    6.54
5672   231   Week 231    7/30/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    7.52
5672   232   Week 232     8/6/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    3.15
5672   233   Week 233    8/13/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    5.94
5672   234   Week 234    8/20/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    6.99
5672   235   Week 235    8/27/2017   Eastern   DO Brandon Andra    75   ATD   ATD809   71341   LAQUITA    WILLIAMS   LAQUITA WILLIAMS   DELIVERY DRIVER   7.25    4.27
 642   119   Week 119     6/7/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   18.07
 642   120   Week 120    6/14/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   36.95
 642   121   Week 121    6/21/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   32.06
 642   122   Week 122    6/28/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   24.52
 642   123   Week 123     7/5/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   27.67
 642   124   Week 124    7/12/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8    36.3
 642   125   Week 125    7/19/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   32.37
 642   127   Week 127     8/2/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER   8.11   41.14
 642   128   Week 128     8/9/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   33.39
 642   129   Week 129    8/16/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   37.25
 642   130   Week 130    8/23/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   38.46
 642   131   Week 131    8/30/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8    18.7
 642   132   Week 132     9/6/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   27.72
 642   133   Week 133    9/13/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8    16.9
 642   134   Week 134    9/20/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   27.44
 642   135   Week 135    9/27/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8    9.95
 642   144   Week 144   11/29/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   14.85
 642   145   Week 145    12/6/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   33.39
 642   146   Week 146   12/13/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   30.97
 642   147   Week 147   12/20/2015   Eastern   Les Brannen        121   ATE   ATE518   55682   JASLYN     BROWN      JASLYN BROWN       DELIVERY DRIVER      8   13.11
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4990   105   Week 105     3/1/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   39.73
4990   106   Week 106     3/8/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.83
4990   107   Week 107    3/15/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   35.98
4990   108   Week 108    3/22/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   32.43
4990   109   Week 109    3/29/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.28   40.37
4990   110   Week 110     4/5/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   38.23
4990   111   Week 111    4/12/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   36.87
4990   112   Week 112    4/19/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.37   41.37
4990   113   Week 113    4/26/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.29
4990   114   Week 114     5/3/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.33   40.91
4990   115   Week 115    5/10/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   35.44
4990   116   Week 116    5/17/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   36.68
4990   117   Week 117    5/24/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   24.44
4990   118   Week 118    5/31/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   14.94
4990   119   Week 119     6/7/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   39.69
4990   120   Week 120    6/14/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.44
4990   121   Week 121    6/21/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25      39
4990   122   Week 122    6/28/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   22.17
4990   123   Week 123     7/5/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   35.56
4990   124   Week 124    7/12/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25    35.2
4990   125   Week 125    7/19/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   35.92
4990   126   Week 126    7/26/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   31.87
4990   127   Week 127     8/2/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   33.97
4990   128   Week 128     8/9/2015   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25    28.2
4990   171   Week 171     6/5/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   26.15
4990   172   Week 172    6/12/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   36.36
4990   173   Week 173    6/19/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   28.62
4990   174   Week 174    6/26/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   24.73
4990   175   Week 175     7/3/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   29.36
4990   176   Week 176    7/10/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   38.37
4990   177   Week 177    7/17/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.16
4990   178   Week 178    7/24/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   30.96
4990   179   Week 179    7/31/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   28.29
4990   180   Week 180     8/7/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   25.79
4990   198   Week 198   12/11/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   39.52
4990   199   Week 199   12/18/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   25.49
4990   200   Week 200   12/25/2016   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   33.42
4990   201   Week 201     1/1/2017   Eastern   Les Brannen      121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   30.76
4990   220   Week 220    5/14/2017   Eastern   Brandon Andra    121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.03
4990   221   Week 221    5/21/2017   Eastern   Brandon Andra    121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   27.22
4990   222   Week 222    5/28/2017   Eastern   Brandon Andra    121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   13.55
4990   222   Week 222    5/28/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25    7.94
4990   223   Week 223     6/4/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   28.87
4990   224   Week 224    6/11/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   33.39
4990   225   Week 225    6/18/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   33.88
4990   226   Week 226    6/25/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   31.97
4990   227   Week 227     7/2/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   25.79
4990   228   Week 228     7/9/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   27.65
4990   229   Week 229    7/16/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   35.04
4990   230   Week 230    7/23/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   37.74
4990   231   Week 231    7/30/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   30.73
4990   232   Week 232     8/6/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   33.05
4990   247   Week 247   11/19/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK   STOKES   MALIK STOKES   DELIVERY DRIVER   7.25   20.65
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4990   249   Week 249    12/3/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25    7.56
4990   250   Week 250   12/10/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25   39.34
4990   251   Week 251   12/17/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25    27.5
4990   252   Week 252   12/24/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25   28.75
4990   253   Week 253   12/31/2017   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25   12.55
4990   263   Week 263    3/11/2018   Eastern   DO Mike McCown   121   ATE   ATE687   52069   MALIK       STOKES   MALIK STOKES      DELIVERY DRIVER   7.25   29.52
4852   111   Week 111    4/12/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    8.09
4852   112   Week 112    4/19/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   13.97
4852   113   Week 113    4/26/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.38
4852   114   Week 114     5/3/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.52
4852   115   Week 115    5/10/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.02
4852   116   Week 116    5/17/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   15.29
4852   117   Week 117    5/24/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.42
4852   118   Week 118    5/31/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    19.8
4852   119   Week 119     6/7/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    14.5
4852   120   Week 120    6/14/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.51
4852   121   Week 121    6/21/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.74
4852   122   Week 122    6/28/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   11.97
4852   123   Week 123     7/5/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   10.09
4852   124   Week 124    7/12/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   16.11
4852   125   Week 125    7/19/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   17.26
4852   126   Week 126    7/26/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.13
4852   127   Week 127     8/2/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   12.51
4852   128   Week 128     8/9/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   11.29
4852   129   Week 129    8/16/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   10.83
4852   130   Week 130    8/23/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.88
4852   131   Week 131    8/30/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   16.72
4852   132   Week 132     9/6/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.41
4852   133   Week 133    9/13/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   13.67
4852   134   Week 134    9/20/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    17.1
4852   135   Week 135    9/27/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.81
4852   136   Week 136    10/4/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.42
4852   137   Week 137   10/11/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.61
4852   138   Week 138   10/18/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.65
4852   139   Week 139   10/25/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25      21
4852   140   Week 140    11/1/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   25.02
4852   141   Week 141    11/8/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.57
4852   142   Week 142   11/15/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.85
4852   143   Week 143   11/22/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.69
4852   144   Week 144   11/29/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   17.15
4852   145   Week 145    12/6/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    21.8
4852   146   Week 146   12/13/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   12.46
4852   147   Week 147   12/20/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    9.13
4852   148   Week 148   12/27/2015   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25    8.31
4852   149   Week 149     1/3/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   15.75
4852   150   Week 150    1/10/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.84
4852   151   Week 151    1/17/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.03
4852   152   Week 152    1/24/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.89
4852   153   Week 153    1/31/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.52
4852   154   Week 154     2/7/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.39
4852   155   Week 155    2/14/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   26.95
4852   156   Week 156    2/21/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   28.77
4852   157   Week 157    2/28/2016   Eastern   Les Brannen      121   ATE   ATE692   54257   SHAREEDAH   SMITH    SHAREEDAH SMITH   DELIVERY DRIVER   7.25   18.13
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4852   158   Week 158     3/6/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.14
4852   159   Week 159    3/13/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   23.65
4852   160   Week 160    3/20/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    9.23
4852   161   Week 161    3/27/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   13.06
4852   162   Week 162     4/3/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.72
4852   163   Week 163    4/10/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   21.42
4852   164   Week 164    4/17/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   26.08
4852   165   Week 165    4/24/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    29.3
4852   166   Week 166     5/1/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.07
4852   167   Week 167     5/8/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   27.08
4852   168   Week 168    5/15/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   21.77
4852   169   Week 169    5/22/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.99
4852   170   Week 170    5/29/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    13.6
4852   171   Week 171     6/5/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   21.95
4852   172   Week 172    6/12/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   13.36
4852   173   Week 173    6/19/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   13.14
4852   174   Week 174    6/26/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    12.6
4852   176   Week 176    7/10/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    16.5
4852   177   Week 177    7/17/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   15.88
4852   178   Week 178    7/24/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    13.7
4852   179   Week 179    7/31/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   16.78
4852   180   Week 180     8/7/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.23
4852   181   Week 181    8/14/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   25.43
4852   182   Week 182    8/21/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   24.22
4852   183   Week 183    8/28/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   24.76
4852   184   Week 184     9/4/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.17
4852   185   Week 185    9/11/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.58
4852   186   Week 186    9/18/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    27.9
4852   187   Week 187    9/25/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.88
4852   188   Week 188    10/2/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   25.45
4852   189   Week 189    10/9/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    27.9
4852   190   Week 190   10/16/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   28.66
4852   191   Week 191   10/23/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   26.15
4852   192   Week 192   10/30/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   29.07
4852   193   Week 193    11/6/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.81
4852   194   Week 194   11/13/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   17.51
4852   195   Week 195   11/20/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   10.54
4852   196   Week 196   11/27/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25     8.4
4852   197   Week 197    12/4/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   22.72
4852   198   Week 198   12/11/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   23.24
4852   199   Week 199   12/18/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   11.03
4852   200   Week 200   12/25/2016   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    2.82
4852   201   Week 201     1/1/2017   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.83
4852   202   Week 202     1/8/2017   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   24.01
4852   203   Week 203    1/15/2017   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   21.47
4852   204   Week 204    1/22/2017   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   20.42
4852   205   Week 205    1/29/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   12.97
4852   205   Week 205    1/29/2017   Eastern   Les Brannen     121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25    4.82
4852   206   Week 206     2/5/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   19.13
4852   207   Week 207    2/12/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   15.63
4852   208   Week 208    2/19/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   10.67
4852   209   Week 209    2/26/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   14.39
4852   210   Week 210     3/5/2017   Eastern   Brandon Andra   121   ATE   ATE692   54257   SHAREEDAH   SMITH   SHAREEDAH SMITH   DELIVERY DRIVER   7.25   16.28
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4852   211   Week 211    3/12/2017   Eastern   Brandon Andra    121   ATE   ATE692   54257   SHAREEDAH   SMITH        SHAREEDAH SMITH       DELIVERY DRIVER   7.25   16.27
4852   212   Week 212    3/19/2017   Eastern   Brandon Andra    121   ATE   ATE692   54257   SHAREEDAH   SMITH        SHAREEDAH SMITH       DELIVERY DRIVER   7.25   23.74
4852   213   Week 213    3/26/2017   Eastern   Brandon Andra    121   ATE   ATE692   54257   SHAREEDAH   SMITH        SHAREEDAH SMITH       DELIVERY DRIVER   7.25   19.13
4852   214   Week 214     4/2/2017   Eastern   Brandon Andra    121   ATE   ATE692   54257   SHAREEDAH   SMITH        SHAREEDAH SMITH       DELIVERY DRIVER   7.25   13.95
4852   215   Week 215     4/9/2017   Eastern   Brandon Andra    121   ATE   ATE692   54257   SHAREEDAH   SMITH        SHAREEDAH SMITH       DELIVERY DRIVER   7.25   23.81
5696   128   Week 128     8/9/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   32.88
5696   129   Week 129    8/16/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   36.33
5696   130   Week 130    8/23/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER   7.67   41.84
5696   131   Week 131    8/30/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   28.01
5696   132   Week 132     9/6/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   28.33
5696   133   Week 133    9/13/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   27.61
5696   134   Week 134    9/20/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER    7.5   39.54
5696   135   Week 135    9/27/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER   7.74   42.73
5696   136   Week 136    10/4/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER   7.59   40.93
5696   137   Week 137   10/11/2015   Eastern   Les Brannen      121   ATE   ATE708   56778   GIOVANNI    WILLINGHAM   GIOVANNI WILLINGHAM   DELIVERY DRIVER   7.53   40.28
2808   137   Week 137   10/11/2015   Eastern   Les Brannen      121   ATE   ATE713   58134   DAVID       KEY III      DAVID KEY III         DELIVERY DRIVER      8    4.88
2808   138   Week 138   10/18/2015   Eastern   Les Brannen      121   ATE   ATE713   58134   DAVID       KEY III      DAVID KEY III         DELIVERY DRIVER      8   13.55
 672   230   Week 230    7/23/2017   Eastern   DO Mike McCown   121   ATE   ATE793   71614   VICTOR      BROWN        VICTOR BROWN          DELIVERY DRIVER   7.25   10.18
 672   231   Week 231    7/30/2017   Eastern   DO Mike McCown   121   ATE   ATE793   71614   VICTOR      BROWN        VICTOR BROWN          DELIVERY DRIVER   7.25   38.04
 672   232   Week 232     8/6/2017   Eastern   DO Mike McCown   121   ATE   ATE793   71614   VICTOR      BROWN        VICTOR BROWN          DELIVERY DRIVER   7.28   40.33
 672   233   Week 233    8/13/2017   Eastern   DO Mike McCown   121   ATE   ATE793   71614   VICTOR      BROWN        VICTOR BROWN          DELIVERY DRIVER   7.25   29.26
3893   155   Week 155    2/14/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   29.13
3893   156   Week 156    2/21/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER   8.08   40.84
3893   157   Week 157    2/28/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER   8.27   42.93
3893   158   Week 158     3/6/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   34.79
3893   159   Week 159    3/13/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER   8.03   40.26
3893   160   Week 160    3/20/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   13.36
3893   161   Week 161    3/27/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   30.26
3893   163   Week 163    4/10/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   37.91
3893   164   Week 164    4/17/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER   8.01   40.06
3893   165   Week 165    4/24/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   34.12
3893   166   Week 166     5/1/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   32.84
3893   167   Week 167     5/8/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   26.65
3893   168   Week 168    5/15/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   34.41
3893   169   Week 169    5/22/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8   31.17
3893   170   Week 170    5/29/2016   Eastern   Les Brannen      121   ATE   ATE951   60723   MARYKA      OSLER        MARYKA OSLER          DELIVERY DRIVER      8    6.44
1217   191   Week 191   10/23/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25     9.4
1217   192   Week 192   10/30/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25   35.25
1217   193   Week 193    11/6/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25   35.31
1217   194   Week 194   11/13/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25      35
1217   195   Week 195   11/20/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25    7.99
1217   196   Week 196   11/27/2016   Eastern   Les Brannen      121   ATE   ATE989   66350   ERICA       CURRY        ERICA CURRY           DELIVERY DRIVER   7.25    16.2
4775   167   Week 167     5/8/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8    3.08
4775   168   Week 168    5/15/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   29.81
4775   169   Week 169    5/22/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   29.02
4775   170   Week 170    5/29/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   16.51
4775   171   Week 171     6/5/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   23.39
4775   172   Week 172    6/12/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   20.34
4775   173   Week 173    6/19/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   28.28
4775   174   Week 174    6/26/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   23.25
4775   175   Week 175     7/3/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   26.63
4775   176   Week 176    7/10/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8    34.5
4775   177   Week 177    7/17/2016   Eastern   Max Torrence      67   ATF   ATF503   62496   PARKER      SIMON        PARKER SIMON          DELIVERY DRIVER      8   36.06
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4775   178   Week 178    7/24/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER   8.17   41.83
4775   179   Week 179    7/31/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   28.77
4775   180   Week 180     8/7/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   23.15
4775   181   Week 181    8/14/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   13.43
4775   182   Week 182    8/21/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   16.44
4775   183   Week 183    8/28/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    6.48
4775   184   Week 184     9/4/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    15.2
4775   185   Week 185    9/11/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   18.78
4775   186   Week 186    9/18/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   12.35
4775   187   Week 187    9/25/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   17.15
4775   188   Week 188    10/2/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    5.67
4775   189   Week 189    10/9/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    5.81
4775   190   Week 190   10/16/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    14.4
4775   191   Week 191   10/23/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   14.79
4775   192   Week 192   10/30/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   12.14
4775   193   Week 193    11/6/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    6.03
4775   194   Week 194   11/13/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   15.86
4775   195   Week 195   11/20/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    7.38
4775   196   Week 196   11/27/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   12.69
4775   197   Week 197    12/4/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    14.3
4775   198   Week 198   12/11/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   19.68
4775   199   Week 199   12/18/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    7.32
4775   200   Week 200   12/25/2016   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    9.98
4775   201   Week 201     1/1/2017   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    5.03
4775   202   Week 202     1/8/2017   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8   15.56
4775   203   Week 203    1/15/2017   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    9.56
4775   204   Week 204    1/22/2017   Eastern   Max Torrence         67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    8.75
4775   205   Week 205    1/29/2017   Eastern   Jason Harmon D.O.    67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    9.45
4775   206   Week 206     2/5/2017   Eastern   Jason Harmon D.O.    67   ATF   ATF503      62496   PARKER    SIMON    PARKER SIMON     DELIVERY DRIVER      8    5.35
3847   136   Week 136    10/4/2015   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    5.37
3847   140   Week 140    11/1/2015   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    2.92
3847   143   Week 143   11/22/2015   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    0.05
3847   144   Week 144   11/29/2015   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    2.25
3847   149   Week 149     1/3/2016   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    4.23
3847   151   Week 151    1/17/2016   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    0.08
3847   163   Week 163    4/10/2016   Eastern   Max Torrence        112   ATJ   ATJ222     616204   LOURDES   OCASIO   LOURDES OCASIO   DELIVERY DRIVER      8    0.02
3563   102   Week 102     2/8/2015   Eastern   Max Torrence        112   ATJ   ATJ269      34023   ETHAN     MISNER   ETHAN MISNER     DELIVERY DRIVER    8.5    5.77
2521   249   Week 249    12/3/2017   Eastern   DO Brandon Andra    201   ATL   ATL033      63260   MADISON   HUNT     MADISON HUNT     DELIVERY DRIVER      9    2.12
 513   104   Week 104    2/22/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   19.62
 513   105   Week 105     3/1/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   25.45
 513   106   Week 106     3/8/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   35.35
 513   107   Week 107    3/15/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   37.34
 513   108   Week 108    3/22/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.33   40.96
 513   109   Week 109    3/29/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   32.13
 513   110   Week 110     4/5/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   36.63
 513   111   Week 111    4/12/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   39.74
 513   112   Week 112    4/19/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   39.15
 513   113   Week 113    4/26/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   37.85
 513   114   Week 114     5/3/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25    28.8
 513   115   Week 115    5/10/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   22.56
 513   117   Week 117    5/24/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   29.72
 513   118   Week 118    5/31/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25   38.69
 513   119   Week 119     6/7/2015   Eastern   Les Brannen         113   ATM   ATM24258   242589   NUR       BONG     NUR BONG         DELIVERY DRIVER   7.25    37.8
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513   120   Week 120    6/14/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   35.28
513   121   Week 121    6/21/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   39.86
513   122   Week 122    6/28/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   16.39
513   123   Week 123     7/5/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    6.92
513   124   Week 124    7/12/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   33.59
513   125   Week 125    7/19/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   31.56
513   126   Week 126    7/26/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   32.95
513   127   Week 127     8/2/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   32.88
513   128   Week 128     8/9/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   31.38
513   129   Week 129    8/16/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    33.5
513   130   Week 130    8/23/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   31.32
513   131   Week 131    8/30/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25      24
513   132   Week 132     9/6/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   37.77
513   133   Week 133    9/13/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   36.94
513   134   Week 134    9/20/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   39.52
513   135   Week 135    9/27/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   37.53
513   136   Week 136    10/4/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   35.96
513   137   Week 137   10/11/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   35.78
513   138   Week 138   10/18/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.59   44.13
513   139   Week 139   10/25/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.74   46.22
513   140   Week 140    11/1/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.43   42.06
513   141   Week 141    11/8/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   39.47
513   142   Week 142   11/15/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   39.92
513   143   Week 143   11/22/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    6.73
513   144   Week 144   11/29/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   38.65
513   145   Week 145    12/6/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.34      41
513   146   Week 146   12/13/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    38.3
513   147   Week 147   12/20/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   12.62
513   148   Week 148   12/27/2015   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   15.05
513   149   Week 149     1/3/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   37.07
513   150   Week 150    1/10/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    39.2
513   151   Week 151    1/17/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   37.86
513   152   Week 152    1/24/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   39.68
513   153   Week 153    1/31/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.59   44.09
513   154   Week 154     2/7/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   31.63
513   155   Week 155    2/14/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25    7.78
513   156   Week 156    2/21/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   37.39
513   157   Week 157    2/28/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   7.25   29.56
513   158   Week 158     3/6/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   32.75
513   159   Week 159    3/13/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   36.42
513   160   Week 160    3/20/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   36.14
513   161   Week 161    3/27/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   34.31
513   162   Week 162     4/3/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   17.82
513   163   Week 163    4/10/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   33.63
513   164   Week 164    4/17/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8    21.8
513   165   Week 165    4/24/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   35.26
513   166   Week 166     5/1/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   37.28
513   167   Week 167     5/8/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   35.64
513   168   Week 168    5/15/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   34.52
513   169   Week 169    5/22/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   25.61
513   170   Week 170    5/29/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   30.31
513   171   Week 171     6/5/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   34.93
513   172   Week 172    6/12/2016   Eastern   Les Brannen   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER      8   30.25
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513   174   Week 174    6/26/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   10.07
513   175   Week 175     7/3/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   18.85
513   176   Week 176    7/10/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.51
513   177   Week 177    7/17/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.26
513   178   Week 178    7/24/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    6.18
513   179   Week 179    7/31/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   32.82
513   180   Week 180     8/7/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    33.2
513   181   Week 181    8/14/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   31.38
513   182   Week 182    8/21/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.69
513   183   Week 183    8/28/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   25.58
513   184   Week 184     9/4/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.65
513   185   Week 185    9/11/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.09
513   186   Week 186    9/18/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   35.48
513   187   Week 187    9/25/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.37
513   188   Week 188    10/2/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   30.76
513   189   Week 189    10/9/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    35.7
513   190   Week 190   10/16/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   37.53
513   191   Week 191   10/23/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   29.52
513   192   Week 192   10/30/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   37.35
513   193   Week 193    11/6/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   36.52
513   194   Week 194   11/13/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   36.39
513   195   Week 195   11/20/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   13.12
513   196   Week 196   11/27/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   36.49
513   197   Week 197    12/4/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    36.1
513   198   Week 198   12/11/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   30.93
513   199   Week 199   12/18/2016   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   19.12
513   201   Week 201     1/1/2017   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   26.02
513   202   Week 202     1/8/2017   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   30.22
513   203   Week 203    1/15/2017   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   36.06
513   204   Week 204    1/22/2017   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   38.87
513   205   Week 205    1/29/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   22.87
513   205   Week 205    1/29/2017   Eastern   Les Brannen      113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   16.06
513   206   Week 206     2/5/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   35.97
513   207   Week 207    2/12/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   36.58
513   208   Week 208    2/19/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   28.36
513   209   Week 209    2/26/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.05
513   210   Week 210     3/5/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.87
513   211   Week 211    3/12/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   37.93
513   212   Week 212    3/19/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.58
513   213   Week 213    3/26/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   38.39
513   214   Week 214     4/2/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.99
513   215   Week 215     4/9/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    20.1
513   216   Week 216    4/16/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   35.46
513   217   Week 217    4/23/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   34.27
513   218   Week 218    4/30/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   33.87
513   219   Week 219     5/7/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   37.55
513   220   Week 220    5/14/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    39.3
513   221   Week 221    5/21/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   28.41
513   222   Week 222    5/28/2017   Eastern   Brandon Andra    113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   14.96
513   222   Week 222    5/28/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   15.25
513   223   Week 223     6/4/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8    7.87
513   224   Week 224    6/11/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   35.87
513   225   Week 225    6/18/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR   BONG   NUR BONG   DELIVERY DRIVER   8   38.62
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 513   226   Week 226    6/25/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   28.39
 513   227   Week 227     7/2/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8     7.8
 513   228   Week 228     7/9/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   37.13
 513   229   Week 229    7/16/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.13   41.38
 513   230   Week 230    7/23/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.09   40.95
 513   231   Week 231    7/30/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   35.28
 513   232   Week 232     8/6/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   37.49
 513   233   Week 233    8/13/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   35.68
 513   234   Week 234    8/20/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   36.23
 513   235   Week 235    8/27/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   27.28
 513   236   Week 236     9/3/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   32.26
 513   237   Week 237    9/10/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    39.7
 513   238   Week 238    9/17/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   35.81
 513   239   Week 239    9/24/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   37.61
 513   240   Week 240    10/1/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   37.25
 513   241   Week 241    10/8/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   36.63
 513   242   Week 242   10/15/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   32.27
 513   243   Week 243   10/22/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   39.92
 513   244   Week 244   10/29/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   35.91
 513   245   Week 245    11/5/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    29.3
 513   246   Week 246   11/12/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.02   40.18
 513   247   Week 247   11/19/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   12.88
 513   248   Week 248   11/26/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    37.8
 513   249   Week 249    12/3/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.27   42.85
 513   250   Week 250   12/10/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.07   39.69
 513   251   Week 251   12/17/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   28.04
 513   253   Week 253   12/31/2017   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   28.42
 513   254   Week 254     1/7/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   36.95
 513   255   Week 255    1/14/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   28.48
 513   256   Week 256    1/21/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.11   41.09
 513   257   Week 257    1/28/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   37.43
 513   258   Week 258     2/4/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.02   40.16
 513   259   Week 259    2/11/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   24.56
 513   260   Week 260    2/18/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    9.55
 513   261   Week 261    2/25/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.33   43.56
 513   262   Week 262     3/4/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.01   40.09
 513   263   Week 263    3/11/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER   8.06   40.57
 513   264   Week 264    3/18/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   39.28
 513   265   Week 265    3/25/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8   38.13
 513   266   Week 266     4/1/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    34.4
 513   267   Week 267     4/8/2018   Eastern   DO Mike McCown   113   ATM   ATM24258   242589   NUR     BONG    NUR BONG      DELIVERY DRIVER      8    6.57
4942   104   Week 104    2/22/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25    24.3
4942   105   Week 105     3/1/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   13.82
4942   106   Week 106     3/8/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   31.15
4942   107   Week 107    3/15/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   35.32
4942   108   Week 108    3/22/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25    32.7
4942   109   Week 109    3/29/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   26.18
4942   110   Week 110     4/5/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   19.01
4942   111   Week 111    4/12/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   14.79
4942   112   Week 112    4/19/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   35.04
4942   113   Week 113    4/26/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   31.19
4942   114   Week 114     5/3/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   24.44
4942   115   Week 115    5/10/2015   Eastern   Les Brannen      113   ATM   ATM471      46283   LACEE   STARR   LACEE STARR   DELIVERY DRIVER   7.25   12.44
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4942   116   Week 116    5/17/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   22.59
4942   117   Week 117    5/24/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   18.61
4942   118   Week 118    5/31/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   26.35
4942   119   Week 119     6/7/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   27.92
4942   120   Week 120    6/14/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   36.64
4942   121   Week 121    6/21/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25    4.83
4942   123   Week 123     7/5/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   36.51
4942   124   Week 124    7/12/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   23.63
4942   125   Week 125    7/19/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25    15.2
4942   126   Week 126    7/26/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   10.75
4942   127   Week 127     8/2/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   34.31
4942   128   Week 128     8/9/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   32.38
4942   129   Week 129    8/16/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   30.45
4942   130   Week 130    8/23/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   32.25
4942   131   Week 131    8/30/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   20.73
4942   132   Week 132     9/6/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   30.97
4942   133   Week 133    9/13/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   21.98
4942   134   Week 134    9/20/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   28.41
4942   135   Week 135    9/27/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   37.86
4942   136   Week 136    10/4/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   20.67
4942   137   Week 137   10/11/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   37.94
4942   138   Week 138   10/18/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   29.48
4942   140   Week 140    11/1/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25    36.4
4942   141   Week 141    11/8/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25    27.8
4942   142   Week 142   11/15/2015   Eastern   Les Brannen      113   ATM   ATM471   46283   LACEE      STARR         LACEE STARR          DELIVERY DRIVER   7.25   27.16
1743   101   Week 101     2/1/2015   Eastern   Les Brannen      113   ATM   ATM843   52934   ISAAC      FOSTER        ISAAC FOSTER         DELIVERY DRIVER   7.25    7.25
1743   102   Week 102     2/8/2015   Eastern   Les Brannen      113   ATM   ATM843   52934   ISAAC      FOSTER        ISAAC FOSTER         DELIVERY DRIVER   7.25   39.81
1743   103   Week 103    2/15/2015   Eastern   Les Brannen      113   ATM   ATM843   52934   ISAAC      FOSTER        ISAAC FOSTER         DELIVERY DRIVER   7.25    6.52
2131   224   Week 224    6/11/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25    5.98
2131   225   Week 225    6/18/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25   25.68
2131   226   Week 226    6/25/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25   38.31
2131   227   Week 227     7/2/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25   20.05
2131   228   Week 228     7/9/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25   37.43
2131   229   Week 229    7/16/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.32    40.8
2131   231   Week 231    7/30/2017   Eastern   DO Mike McCown   113   ATM   ATM892   70794   MEWAEL     HABTEMARIAM   MEWAEL HABTEMARIAM   DELIVERY DRIVER   7.25    8.23
1179   178   Week 178    7/24/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   17.76
1179   179   Week 179    7/31/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   36.35
1179   180   Week 180     8/7/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25    32.4
1179   181   Week 181    8/14/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25    33.2
1179   182   Week 182    8/21/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   31.11
1179   183   Week 183    8/28/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   25.73
1179   184   Week 184     9/4/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   31.65
1179   185   Week 185    9/11/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   33.62
1179   186   Week 186    9/18/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   31.18
1179   187   Week 187    9/25/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   34.28
1179   188   Week 188    10/2/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   36.29
1179   189   Week 189    10/9/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   36.62
1179   190   Week 190   10/16/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   39.97
1179   191   Week 191   10/23/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.26    40.1
1179   192   Week 192   10/30/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   37.97
1179   193   Week 193    11/6/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   38.42
1179   194   Week 194   11/13/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25   37.09
1179   195   Week 195   11/20/2016   Eastern   Les Brannen      113   ATM   ATM998   64473   RAYFIELD   CROSS         RAYFIELD CROSS       DELIVERY DRIVER   7.25    16.4
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1179   196   Week 196   11/27/2016   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25    37.3
1179   197   Week 197    12/4/2016   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25   35.65
1179   198   Week 198   12/11/2016   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25    34.3
1179   199   Week 199   12/18/2016   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25    9.97
1179   200   Week 200   12/25/2016   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25   10.97
1179   201   Week 201     1/1/2017   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25   25.79
1179   202   Week 202     1/8/2017   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25   16.65
1179   203   Week 203    1/15/2017   Eastern   Les Brannen    113   ATM   ATM998    64473   RAYFIELD   CROSS       RAYFIELD CROSS   DELIVERY DRIVER   7.25    6.17
2305   106   Week 106     3/8/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   19.19
2305   108   Week 108    3/22/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   18.03
2305   109   Week 109    3/29/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   20.04
2305   110   Week 110     4/5/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    16.6
2305   111   Week 111    4/12/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   23.27
2305   112   Week 112    4/19/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   20.07
2305   113   Week 113    4/26/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   15.41
2305   114   Week 114     5/3/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   32.69
2305   115   Week 115    5/10/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   19.83
2305   116   Week 116    5/17/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   15.31
2305   117   Week 117    5/24/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   19.49
2305   118   Week 118    5/31/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   16.31
2305   119   Week 119     6/7/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   21.47
2305   120   Week 120    6/14/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   15.07
2305   121   Week 121    6/21/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   31.25
2305   122   Week 122    6/28/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.45
2305   123   Week 123     7/5/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   20.23
2305   125   Week 125    7/19/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5      30
2305   126   Week 126    7/26/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    27.8
2305   127   Week 127     8/2/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.86
2305   128   Week 128     8/9/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   18.25
2305   129   Week 129    8/16/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    24.1
2305   130   Week 130    8/23/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   18.93
2305   131   Week 131    8/30/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    14.2
2305   132   Week 132     9/6/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   20.97
2305   133   Week 133    9/13/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   24.95
2305   134   Week 134    9/20/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   28.27
2305   135   Week 135    9/27/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   23.97
2305   136   Week 136    10/4/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   19.06
2305   137   Week 137   10/11/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.54
2305   138   Week 138   10/18/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   24.15
2305   139   Week 139   10/25/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    25.9
2305   140   Week 140    11/1/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.87
2305   141   Week 141    11/8/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   25.64
2305   142   Week 142   11/15/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.03
2305   143   Week 143   11/22/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   11.47
2305   144   Week 144   11/29/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.84
2305   145   Week 145    12/6/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   28.84
2305   146   Week 146   12/13/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   24.41
2305   147   Week 147   12/20/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   11.58
2305   148   Week 148   12/27/2015   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   12.58
2305   149   Week 149     1/3/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   27.83
2305   150   Week 150    1/10/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   30.67
2305   151   Week 151    1/17/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   21.55
2305   152   Week 152    1/24/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY       HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   24.94
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2305   153   Week 153    1/31/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.04
2305   154   Week 154     2/7/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    23.4
2305   155   Week 155    2/14/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   25.29
2305   156   Week 156    2/21/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.12
2305   157   Week 157    2/28/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.81
2305   158   Week 158     3/6/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   21.67
2305   159   Week 159    3/13/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.74
2305   160   Week 160    3/20/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   19.13
2305   161   Week 161    3/27/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   22.82
2305   162   Week 162     4/3/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   16.53
2305   163   Week 163    4/10/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   29.21
2305   164   Week 164    4/17/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5      15
2305   165   Week 165    4/24/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   27.27
2305   166   Week 166     5/1/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   29.38
2305   167   Week 167     5/8/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   25.29
2305   168   Week 168    5/15/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   23.44
2305   169   Week 169    5/22/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   18.35
2305   170   Week 170    5/29/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   31.74
2305   171   Week 171     6/5/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   20.66
2305   172   Week 172    6/12/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   24.11
2305   173   Week 173    6/19/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.12
2305   175   Week 175     7/3/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5    20.1
2305   176   Week 176    7/10/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   25.24
2305   177   Week 177    7/17/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   26.54
2305   178   Week 178    7/24/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER    8.5   28.16
2305   179   Week 179    7/31/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER   8.65   24.15
2305   180   Week 180     8/7/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   25.63
2305   181   Week 181    8/14/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   22.09
2305   182   Week 182    8/21/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   25.97
2305   183   Week 183    8/28/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   15.65
2305   184   Week 184     9/4/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   25.52
2305   185   Week 185    9/11/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   24.35
2305   186   Week 186    9/18/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9    33.5
2305   187   Week 187    9/25/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   26.32
2305   188   Week 188    10/2/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   23.05
2305   189   Week 189    10/9/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   25.37
2305   190   Week 190   10/16/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   23.45
2305   191   Week 191   10/23/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   25.77
2305   192   Week 192   10/30/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   31.17
2305   193   Week 193    11/6/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9    26.7
2305   194   Week 194   11/13/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   27.96
2305   195   Week 195   11/20/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9    6.88
2305   196   Week 196   11/27/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   31.52
2305   197   Week 197    12/4/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   26.69
2305   198   Week 198   12/11/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   27.74
2305   199   Week 199   12/18/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   11.07
2305   200   Week 200   12/25/2016   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   18.57
2305   201   Week 201     1/1/2017   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   27.46
2305   202   Week 202     1/8/2017   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   24.02
2305   203   Week 203    1/15/2017   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   26.21
2305   204   Week 204    1/22/2017   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   24.22
2305   205   Week 205    1/29/2017   Eastern   Brandon Andra   56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9   20.18
2305   205   Week 205    1/29/2017   Eastern   Max Torrence    56   ATN   ATN022   433876   TONY   HENDERSON   TONY HENDERSON   DELIVERY DRIVER      9     8.4
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2305   206   Week 206    2/5/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   23.83
2305   207   Week 207   2/12/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   29.72
2305   208   Week 208   2/19/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   29.77
2305   209   Week 209   2/26/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   18.34
2305   210   Week 210    3/5/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   27.84
2305   211   Week 211   3/12/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   26.34
2305   212   Week 212   3/19/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   20.95
2305   213   Week 213   3/26/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   18.54
2305   214   Week 214    4/2/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   29.21
2305   215   Week 215    4/9/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   29.93
2305   216   Week 216   4/16/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   24.41
2305   217   Week 217   4/23/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   30.72
2305   218   Week 218   4/30/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   24.17
2305   219   Week 219    5/7/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   26.62
2305   220   Week 220   5/14/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   29.66
2305   221   Week 221   5/21/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   18.45
2305   222   Week 222   5/28/2017   Eastern   Brandon Andra    56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9    5.52
2305   222   Week 222   5/28/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   15.18
2305   223   Week 223    6/4/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   12.87
2305   224   Week 224   6/11/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   19.79
2305   225   Week 225   6/18/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   25.36
2305   226   Week 226   6/25/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   12.82
2305   227   Week 227    7/2/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   17.56
2305   228   Week 228    7/9/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   23.34
2305   229   Week 229   7/16/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   25.17
2305   230   Week 230   7/23/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   19.83
2305   231   Week 231   7/30/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   22.42
2305   232   Week 232    8/6/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   23.15
2305   233   Week 233   8/13/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   18.87
2305   234   Week 234   8/20/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   14.32
2305   235   Week 235   8/27/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   13.46
2305   236   Week 236    9/3/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   16.86
2305   237   Week 237   9/10/2017   Eastern   DO Mike McCown   56   ATN   ATN022   433876   TONY      HENDERSON   TONY HENDERSON     DELIVERY DRIVER      9   14.87
2136   107   Week 107   3/15/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   30.61
2136   108   Week 108   3/22/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   31.86
2136   109   Week 109   3/29/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25    30.2
2136   110   Week 110    4/5/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   30.66
2136   111   Week 111   4/12/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   23.17
2136   112   Week 112   4/19/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   36.89
2136   113   Week 113   4/26/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   28.51
2136   114   Week 114    5/3/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   30.54
2136   115   Week 115   5/10/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   22.33
2136   116   Week 116   5/17/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   24.83
2136   117   Week 117   5/24/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   34.81
2136   118   Week 118   5/31/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   30.99
2136   119   Week 119    6/7/2015   Eastern   Max Torrence     56   ATN   ATN256    52390   MICHAEL   HAGGERTY    MICHAEL HAGGERTY   DELIVERY DRIVER   7.25   11.28
2051   102   Week 102    2/8/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   7.25   23.15
2051   103   Week 103   2/15/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER    7.3   40.58
2051   104   Week 104   2/22/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   7.25   35.85
2051   105   Week 105    3/1/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   7.25   35.93
2051   106   Week 106    3/8/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   7.25   36.39
2051   107   Week 107   3/15/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   8.26   55.32
2051   108   Week 108   3/22/2015   Eastern   Max Torrence     56   ATN   ATN554    38769   CEDRIC    GREEN       CEDRIC GREEN       DELIVERY DRIVER   7.25   31.58
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2051   109   Week 109    3/29/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   37.01
2051   110   Week 110     4/5/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   27.64
2051   111   Week 111    4/12/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   34.64
2051   112   Week 112    4/19/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    39.9
2051   113   Week 113    4/26/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   33.08
2051   114   Week 114     5/3/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.47   42.64
2051   115   Week 115    5/10/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.86    48.1
2051   116   Week 116    5/17/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   24.96
2051   117   Week 117    5/24/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   24.37
2051   118   Week 118    5/31/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.32   40.78
2051   119   Week 119     6/7/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   22.78
2051   120   Week 120    6/14/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.48   42.65
2051   121   Week 121    6/21/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   33.55
2051   122   Week 122    6/28/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   17.17
2051   123   Week 123     7/5/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   32.11
2051   124   Week 124    7/12/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.49   42.77
2051   125   Week 125    7/19/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.96    44.1
2051   126   Week 126    7/26/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   38.03
2051   127   Week 127     8/2/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   32.08
2051   128   Week 128     8/9/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   39.93
2051   129   Week 129    8/16/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   36.46
2051   130   Week 130    8/23/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   30.54
2051   131   Week 131    8/30/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   20.28
2051   132   Week 132     9/6/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.98   50.12
2051   133   Week 133    9/13/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   31.09
2051   134   Week 134    9/20/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   37.57
2051   135   Week 135    9/27/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   28.25
2051   136   Week 136    10/4/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   26.77
2051   137   Week 137   10/11/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    4.68
2051   138   Week 138   10/18/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   34.23
2051   139   Week 139   10/25/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   11.83
2051   140   Week 140    11/1/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   29.75
2051   141   Week 141    11/8/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   17.49
2051   142   Week 142   11/15/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   27.41
2051   143   Week 143   11/22/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    5.32
2051   144   Week 144   11/29/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   20.94
2051   145   Week 145    12/6/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   24.56
2051   146   Week 146   12/13/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   14.08
2051   147   Week 147   12/20/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   11.07
2051   148   Week 148   12/27/2015   Eastern   Max Torrence    56   ATN   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    5.95
2051   188   Week 188    10/2/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   17.78
2051   189   Week 189    10/9/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   36.03
2051   190   Week 190   10/16/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.45   42.38
2051   191   Week 191   10/23/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   38.36
2051   192   Week 192   10/30/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   37.21
2051   193   Week 193    11/6/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   34.14
2051   194   Week 194   11/13/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    29.1
2051   195   Week 195   11/20/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   22.73
2051   196   Week 196   11/27/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   29.52
2051   197   Week 197    12/4/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   35.25
2051   198   Week 198   12/11/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   21.05
2051   199   Week 199   12/18/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25   13.15
2051   200   Week 200   12/25/2016   Eastern   Les Brannen    113   ATM   ATN554   38769   CEDRIC   GREEN   CEDRIC GREEN   DELIVERY DRIVER   7.25    8.07
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2051   201   Week 201     1/1/2017   Eastern   Les Brannen     113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   20.62
2051   202   Week 202     1/8/2017   Eastern   Les Brannen     113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   35.99
2051   203   Week 203    1/15/2017   Eastern   Les Brannen     113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   15.07
2051   204   Week 204    1/22/2017   Eastern   Les Brannen     113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   11.93
2051   206   Week 206     2/5/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25    32.6
2051   207   Week 207    2/12/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   32.58
2051   208   Week 208    2/19/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25    29.6
2051   209   Week 209    2/26/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25    34.3
2051   210   Week 210     3/5/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   33.19
2051   211   Week 211    3/12/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   32.32
2051   212   Week 212    3/19/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   17.98
2051   214   Week 214     4/2/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   10.35
2051   215   Week 215     4/9/2017   Eastern   Brandon Andra   113   ATM   ATN554   38769   CEDRIC    GREEN      CEDRIC GREEN       DELIVERY DRIVER   7.25   19.72
3839   171   Week 171     6/5/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25    9.16
3839   172   Week 172    6/12/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   25.75
3839   173   Week 173    6/19/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25    22.5
3839   174   Week 174    6/26/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   24.82
3839   175   Week 175     7/3/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   22.68
3839   176   Week 176    7/10/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   27.63
3839   177   Week 177    7/17/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25    30.9
3839   178   Week 178    7/24/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.63   44.61
3839   179   Week 179    7/31/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   27.37
3839   180   Week 180     8/7/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   22.54
3839   181   Week 181    8/14/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   26.04
3839   182   Week 182    8/21/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   24.28
3839   183   Week 183    8/28/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   25.16
3839   184   Week 184     9/4/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   31.83
3839   185   Week 185    9/11/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   31.13
3839   186   Week 186    9/18/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   28.42
3839   187   Week 187    9/25/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   27.89
3839   188   Week 188    10/2/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   21.98
3839   189   Week 189    10/9/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   23.73
3839   190   Week 190   10/16/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   35.43
3839   191   Week 191   10/23/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25    33.4
3839   192   Week 192   10/30/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25   18.61
3839   193   Week 193    11/6/2016   Eastern   Max Torrence     56   ATN   ATN885   63461   D‐TWE     NYANSEOR   D‐TWE NYANSEOR     DELIVERY DRIVER   7.25     6.5
5692   214   Week 214     4/2/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25   25.74
5692   215   Week 215     4/9/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25   27.38
5692   216   Week 216    4/16/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25   26.01
5692   217   Week 217    4/23/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25   16.02
5692   218   Week 218    4/30/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25   18.63
5692   219   Week 219     5/7/2017   Eastern   Brandon Andra    56   ATN   ATN917   69006   WHITNEY   WILLIAMS   WHITNEY WILLIAMS   DELIVERY DRIVER   7.25    8.43
3728   122   Week 122    6/28/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   34.48
3728   123   Week 123     7/5/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   35.67
3728   124   Week 124    7/12/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   30.07
3728   125   Week 125    7/19/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   32.87
3728   126   Week 126    7/26/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   37.34
3728   127   Week 127     8/2/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   34.39
3728   128   Week 128     8/9/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   32.46
3728   129   Week 129    8/16/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   26.66
3728   130   Week 130    8/23/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   22.05
3728   131   Week 131    8/30/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25   14.34
3728   132   Week 132     9/6/2015   Eastern   Max Torrence     70   ATP   ATP545   55901   MICHAEL   MYERS      MICHAEL MYERS      DELIVERY DRIVER   7.25    28.1
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3728   133   Week 133    9/13/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25    15.8
3728   134   Week 134    9/20/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   37.38
3728   135   Week 135    9/27/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   29.32
3728   136   Week 136    10/4/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   27.67
3728   137   Week 137   10/11/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25    32.8
3728   138   Week 138   10/18/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   36.79
3728   139   Week 139   10/25/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.99
3728   140   Week 140    11/1/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   38.23
3728   141   Week 141    11/8/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.72
3728   142   Week 142   11/15/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   33.09
3728   143   Week 143   11/22/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   29.45
3728   144   Week 144   11/29/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   34.45
3728   145   Week 145    12/6/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   32.55
3728   146   Week 146   12/13/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25    31.7
3728   147   Week 147   12/20/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   26.14
3728   148   Week 148   12/27/2015   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   25.93
3728   149   Week 149     1/3/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.66
3728   150   Week 150    1/10/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25    34.3
3728   151   Week 151    1/17/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   34.85
3728   152   Week 152    1/24/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.04
3728   153   Week 153    1/31/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   34.79
3728   154   Week 154     2/7/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   34.73
3728   155   Week 155    2/14/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   36.03
3728   156   Week 156    2/21/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   36.57
3728   157   Week 157    2/28/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   36.47
3728   158   Week 158     3/6/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   27.25
3728   159   Week 159    3/13/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   31.63
3728   160   Week 160    3/20/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25    32.4
3728   161   Week 161    3/27/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.13
3728   162   Week 162     4/3/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   38.18
3728   163   Week 163    4/10/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   35.17
3728   164   Week 164    4/17/2016   Eastern   Max Torrence   70   ATP   ATP545   55901   MICHAEL   MYERS    MICHAEL MYERS   DELIVERY DRIVER   7.25   20.48
   6    94   Week 94    12/14/2014   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   28.94
   6    95   Week 95    12/21/2014   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   11.03
   6    96   Week 96    12/28/2014   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   16.31
   6    97   Week 97      1/4/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   29.01
   6    98   Week 98     1/11/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25    27.7
   6    99   Week 99     1/18/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   30.29
   6   100   Week 100    1/25/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   25.88
   6   101   Week 101     2/1/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   22.72
   6   102   Week 102     2/8/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   21.96
   6   103   Week 103    2/15/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   27.26
   6   104   Week 104    2/22/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   23.21
   6   105   Week 105     3/1/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   27.51
   6   106   Week 106     3/8/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   24.71
   6   107   Week 107    3/15/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   29.64
   6   108   Week 108    3/22/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   28.82
   6   109   Week 109    3/29/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   19.96
   6   110   Week 110     4/5/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   23.66
   6   111   Week 111    4/12/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   24.19
   6   112   Week 112    4/19/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   28.69
   6   113   Week 113    4/26/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   24.57
   6   114   Week 114     5/3/2015   Eastern   Max Torrence   70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   24.06
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   6   115   Week 115    5/10/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25      16
   6   116   Week 116    5/17/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25    18.8
   6   117   Week 117    5/24/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   17.51
   6   118   Week 118    5/31/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   22.24
   6   119   Week 119     6/7/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   16.91
   6   120   Week 120    6/14/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   21.68
   6   121   Week 121    6/21/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25    9.26
   6   122   Week 122    6/28/2015   Eastern    Max Torrence    70   ATP   ATP566   39558   HUTTON    GRAHAM   HUTTON GRAHAM   DELIVERY DRIVER   7.25   15.55
3471   105   Week 105     3/1/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75    9.79
3471   106   Week 106     3/8/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   16.39
3471   107   Week 107    3/15/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75    8.64
3471   108   Week 108    3/22/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   29.52
3471   109   Week 109    3/29/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   19.09
3471   110   Week 110     4/5/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   28.06
3471   111   Week 111    4/12/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   18.27
3471   112   Week 112    4/19/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   19.49
3471   113   Week 113    4/26/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   29.41
3471   114   Week 114     5/3/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   30.88
3471   115   Week 115    5/10/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75    24.7
3471   116   Week 116    5/17/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   23.27
3471   118   Week 118    5/31/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   25.74
3471   119   Week 119     6/7/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   21.37
3471   120   Week 120    6/14/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   38.74
3471   121   Week 121    6/21/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75      32
3471   122   Week 122    6/28/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   19.93
3471   123   Week 123     7/5/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   18.23
3471   124   Week 124    7/12/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   27.46
3471   125   Week 125    7/19/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   12.11
3471   126   Week 126    7/26/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   16.52
3471   127   Week 127     8/2/2015   Southern   James Cornett    3   BCS   BCS718   53377   CARLA     MENDEZ   CARLA MENDEZ    DELIVERY DRIVER   8.75   12.48
3017   144   Week 144   11/29/2015   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    3.45
3017   145   Week 145    12/6/2015   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   28.96
3017   146   Week 146   12/13/2015   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   25.85
3017   147   Week 147   12/20/2015   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    3.48
3017   149   Week 149     1/3/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    20.8
3017   150   Week 150    1/10/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   23.77
3017   151   Week 151    1/17/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   19.58
3017   152   Week 152    1/24/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   17.92
3017   153   Week 153    1/31/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   26.54
3017   154   Week 154     2/7/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   24.22
3017   155   Week 155    2/14/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   18.08
3017   156   Week 156    2/21/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   22.39
3017   157   Week 157    2/28/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    19.1
3017   158   Week 158     3/6/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   18.42
3017   159   Week 159    3/13/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    3.97
3017   160   Week 160    3/20/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   12.13
3017   161   Week 161    3/27/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   17.39
3017   162   Week 162     4/3/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   15.14
3017   163   Week 163    4/10/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   15.58
3017   164   Week 164    4/17/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    9.32
3017   165   Week 165    4/24/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   13.49
3017   166   Week 166     5/1/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5   13.45
3017   167   Week 167     5/8/2016   Southern   James Cornett    3   BCS   BCS750   58997   RAPHAEL   LEE      RAPHAEL LEE     DELIVERY DRIVER    8.5    4.02
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3017   168   Week 168    5/15/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   13.69
3017   171   Week 171     6/5/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   15.41
3017   172   Week 172    6/12/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   29.45
3017   173   Week 173    6/19/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   30.54
3017   174   Week 174    6/26/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   14.32
3017   175   Week 175     7/3/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   21.15
3017   176   Week 176    7/10/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   30.05
3017   177   Week 177    7/17/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   19.95
3017   178   Week 178    7/24/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    29.7
3017   179   Week 179    7/31/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   30.85
3017   180   Week 180     8/7/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   33.61
3017   181   Week 181    8/14/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    29.2
3017   182   Week 182    8/21/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   18.54
3017   183   Week 183    8/28/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   20.19
3017   184   Week 184     9/4/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   19.84
3017   185   Week 185    9/11/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   18.97
3017   186   Week 186    9/18/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   24.27
3017   187   Week 187    9/25/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   16.12
3017   188   Week 188    10/2/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   17.12
3017   189   Week 189    10/9/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   23.66
3017   190   Week 190   10/16/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   18.39
3017   191   Week 191   10/23/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    8.65
3017   192   Week 192   10/30/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   15.73
3017   193   Week 193    11/6/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   18.92
3017   194   Week 194   11/13/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   20.93
3017   196   Week 196   11/27/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   19.53
3017   197   Week 197    12/4/2016   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    4.85
3017   201   Week 201     1/1/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    7.28
3017   202   Week 202     1/8/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   20.38
3017   203   Week 203    1/15/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   11.26
3017   204   Week 204    1/22/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   10.35
3017   205   Week 205    1/29/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    7.27
3017   206   Week 206     2/5/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    19.1
3017   207   Week 207    2/12/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   10.76
3017   208   Week 208    2/19/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   17.04
3017   209   Week 209    2/26/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    10.4
3017   210   Week 210     3/5/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    6.93
3017   211   Week 211    3/12/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    7.67
3017   212   Week 212    3/19/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   19.06
3017   213   Week 213    3/26/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   24.05
3017   214   Week 214     4/2/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   15.63
3017   215   Week 215     4/9/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    7.13
3017   216   Week 216    4/16/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    9.66
3017   217   Week 217    4/23/2017   Southern   James Cornett     3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5     8.2
3017   222   Week 222    5/28/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    2.67
3017   223   Week 223     6/4/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    8.97
3017   224   Week 224    6/11/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5   11.18
3017   225   Week 225    6/18/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   8.5    9.81
3017   226   Week 226    6/25/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   9.5    5.92
3017   227   Week 227     7/2/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   9.5    7.65
3017   228   Week 228     7/9/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   9.5   16.54
3017   229   Week 229    7/16/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   9.5   28.67
3017   230   Week 230    7/23/2017   Southern   DO Jason Harmon   3   BCS   BCS750   58997   RAPHAEL   LEE   RAPHAEL LEE   DELIVERY DRIVER   9.5   27.47
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3017   231   Week 231    7/30/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   33.68
3017   232   Week 232     8/6/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   23.23
3017   233   Week 233    8/13/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   29.22
3017   234   Week 234    8/20/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   19.16
3017   235   Week 235    8/27/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   17.97
3017   236   Week 236     9/3/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   20.73
3017   237   Week 237    9/10/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   22.84
3017   238   Week 238    9/17/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   25.64
3017   239   Week 239    9/24/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   17.36
3017   240   Week 240    10/1/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5    32.6
3017   241   Week 241    10/8/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   21.91
3017   242   Week 242   10/15/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5    25.4
3017   243   Week 243   10/22/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   12.38
3017   244   Week 244   10/29/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER    9.5   19.75
3017   245   Week 245    11/5/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER   9.65   16.57
3017   246   Week 246   11/12/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10    8.09
3017   247   Week 247   11/19/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10    1.53
3017   248   Week 248   11/26/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   10.62
3017   249   Week 249    12/3/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   12.38
3017   250   Week 250   12/10/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   19.37
3017   251   Week 251   12/17/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   12.12
3017   253   Week 253   12/31/2017   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   11.01
3017   254   Week 254     1/7/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   18.55
3017   255   Week 255    1/14/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   26.04
3017   256   Week 256    1/21/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   11.08
3017   257   Week 257    1/28/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10    4.78
3017   258   Week 258     2/4/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   32.83
3017   259   Week 259    2/11/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   22.38
3017   260   Week 260    2/18/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   26.46
3017   261   Week 261    2/25/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   18.88
3017   263   Week 263    3/11/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10    5.32
3017   264   Week 264    3/18/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   13.51
3017   265   Week 265    3/25/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   12.43
3017   266   Week 266     4/1/2018   Southern   DO Jason Harmon      3   BCS   BCS750   58997   RAPHAEL   LEE       RAPHAEL LEE       DELIVERY DRIVER     10   24.46
5166   210   Week 210     3/5/2017   Eastern    MP Eastern Region   64   BHB   BHB778   68441   RICHARD   THOMAS    RICHARD THOMAS    DELIVERY DRIVER    8.5    7.72
5166   211   Week 211    3/12/2017   Eastern    MP Eastern Region   64   BHB   BHB778   68441   RICHARD   THOMAS    RICHARD THOMAS    DELIVERY DRIVER    8.5   19.51
5166   212   Week 212    3/19/2017   Eastern    MP Eastern Region   64   BHB   BHB778   68441   RICHARD   THOMAS    RICHARD THOMAS    DELIVERY DRIVER    8.5    3.13
1659   208   Week 208    2/19/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   19.32
1659   209   Week 209    2/26/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   18.41
1659   210   Week 210     3/5/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   15.97
1659   211   Week 211    3/12/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   19.24
1659   212   Week 212    3/19/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   15.52
1659   213   Week 213    3/26/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    8.41
1659   214   Week 214     4/2/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   16.41
1659   215   Week 215     4/9/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   18.62
1659   216   Week 216    4/16/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   11.19
1659   217   Week 217    4/23/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   18.97
1659   218   Week 218    4/30/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    20.5
1659   219   Week 219     5/7/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   10.63
1659   220   Week 220    5/14/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   15.87
1659   221   Week 221    5/21/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    9.45
1659   222   Week 222    5/28/2017   Eastern    DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    5.78
1659   222   Week 222    5/28/2017   Eastern    MP Eastern Region   74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    8.56
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1659   223   Week 223     6/4/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   22.29
1659   224   Week 224    6/11/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   14.81
1659   225   Week 225    6/18/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   13.39
1659   226   Week 226    6/25/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   12.41
1659   227   Week 227     7/2/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   10.94
1659   228   Week 228     7/9/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   17.82
1659   229   Week 229    7/16/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    12.4
1659   230   Week 230    7/23/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   11.24
1659   231   Week 231    7/30/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5   11.58
1659   232   Week 232     8/6/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5    15.4
1659   233   Week 233    8/13/2017   Eastern   DO Jason Harmon     74   BHI   BHI470   68207   MICHAEL   FERRELL   MICHAEL FERRELL   DELIVERY DRIVER    8.5     8.9
 488   207   Week 207    2/12/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   30.13
 488   208   Week 208    2/19/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   19.27
 488   209   Week 209    2/26/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   27.62
 488   210   Week 210     3/5/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   32.04
 488   211   Week 211    3/12/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   15.97
 488   212   Week 212    3/19/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5    6.07
 488   213   Week 213    3/26/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   22.72
 488   214   Week 214     4/2/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER    8.5   12.45
 488   215   Week 215     4/9/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER   8.75   10.97
 488   216   Week 216    4/16/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9   15.85
 488   217   Week 217    4/23/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9    5.95
 488   218   Week 218    4/30/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9   11.87
 488   219   Week 219     5/7/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9    15.8
 488   220   Week 220    5/14/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9    2.87
 488   221   Week 221    5/21/2017   Eastern   MP Eastern Region   74   BHI   BHI904   68069   CODY      BLAND     CODY BLAND        DELIVERY DRIVER      9    4.04
3324   172   Week 172    6/12/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9    5.17
3324   173   Week 173    6/19/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   19.07
3324   174   Week 174    6/26/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   16.96
3324   175   Week 175     7/3/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   23.58
3324   176   Week 176    7/10/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   32.16
3324   177   Week 177    7/17/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   17.42
3324   178   Week 178    7/24/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   28.87
3324   179   Week 179    7/31/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   20.99
3324   180   Week 180     8/7/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9    16.8
3324   181   Week 181    8/14/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9    19.6
3324   182   Week 182    8/21/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   19.44
3324   183   Week 183    8/28/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9      21
3324   184   Week 184     9/4/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9    3.88
3324   185   Week 185    9/11/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.27      32
3324   186   Week 186    9/18/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER      9   10.92
3324   187   Week 187    9/25/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.07   24.07
3324   188   Week 188    10/2/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.36      41
3324   189   Week 189    10/9/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   28.66
3324   190   Week 190   10/16/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   20.57
3324   191   Week 191   10/23/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   30.75
3324   192   Week 192   10/30/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.26   40.12
3324   193   Week 193    11/6/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25    23.4
3324   194   Week 194   11/13/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   35.79
3324   195   Week 195   11/20/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25    20.2
3324   196   Week 196   11/27/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   12.02
3324   197   Week 197    12/4/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   30.17
3324   198   Week 198   12/11/2016   Eastern   Brandon Andra       76   BHR   BHR029   63546   KELLEY    MAYS      KELLEY MAYS       DELIVERY DRIVER   9.25   16.53
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3324   199   Week 199   12/18/2016   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   20.64
3324   200   Week 200   12/25/2016   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   22.07
3324   201   Week 201     1/1/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   20.72
3324   202   Week 202     1/8/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   36.98
3324   203   Week 203    1/15/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   36.69
3324   204   Week 204    1/22/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   34.46
3324   205   Week 205    1/29/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   23.45
3324   206   Week 206     2/5/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   30.34
3324   207   Week 207    2/12/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER   9.25   31.39
3324   208   Week 208    2/19/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER    9.4   19.34
3324   209   Week 209    2/26/2017   Eastern   Brandon Andra     76   BHR   BHR029   63546   KELLEY   MAYS       KELLEY MAYS      DELIVERY DRIVER     10   26.67
   5   102   Week 102     2/8/2015   Eastern   Brandon Andra     76   BHR   BHR354   52927   SETH     CAMERON    SETH CAMERON     DELIVERY DRIVER      8    2.93
5635   105   Week 105     3/1/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   16.17
5635   106   Week 106     3/8/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   17.22
5635   107   Week 107    3/15/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8     7.8
5635   108   Week 108    3/22/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   10.28
5635   109   Week 109    3/29/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    3.88
5635   110   Week 110     4/5/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.98
5635   111   Week 111    4/12/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   14.07
5635   112   Week 112    4/19/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   12.15
5635   113   Week 113    4/26/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    8.38
5635   114   Week 114     5/3/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    10.6
5635   115   Week 115    5/10/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.28
5635   116   Week 116    5/17/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    6.67
5635   117   Week 117    5/24/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   12.15
5635   118   Week 118    5/31/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    8.59
5635   119   Week 119     6/7/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.01
5635   120   Week 120    6/14/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8       8
5635   121   Week 121    6/21/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.11
5635   122   Week 122    6/28/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    8.88
5635   123   Week 123     7/5/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    11.8
5635   124   Week 124    7/12/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.79
5635   125   Week 125    7/19/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   10.58
5635   126   Week 126    7/26/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    6.53
5635   127   Week 127     8/2/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   13.41
5635   128   Week 128     8/9/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   17.31
5635   129   Week 129    8/16/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   10.02
5635   130   Week 130    8/23/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   11.47
5635   131   Week 131    8/30/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    11.1
5635   132   Week 132     9/6/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8    9.28
5635   133   Week 133    9/13/2015   Eastern   Brandon Andra     76   BHR   BHR488   46059   BLAKE    WILLIAMS   BLAKE WILLIAMS   DELIVERY DRIVER      8   12.94
1492   104   Week 104    2/22/2015   Eastern   Brandon Andra     76   BHR   BHR557   51854   NATHAN   DUNCAN     NATHAN DUNCAN    DELIVERY DRIVER    7.5    20.9
1492   105   Week 105     3/1/2015   Eastern   Brandon Andra     76   BHR   BHR557   51854   NATHAN   DUNCAN     NATHAN DUNCAN    DELIVERY DRIVER    7.5   11.23
1492   106   Week 106     3/8/2015   Eastern   Brandon Andra     76   BHR   BHR557   51854   NATHAN   DUNCAN     NATHAN DUNCAN    DELIVERY DRIVER    7.5   12.73
4090   141   Week 141    11/8/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   20.75
4090   142   Week 142   11/15/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   24.27
4090   143   Week 143   11/22/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5    3.58
4090   144   Week 144   11/29/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   20.78
4090   145   Week 145    12/6/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   22.01
4090   146   Week 146   12/13/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   12.26
4090   147   Week 147   12/20/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5    7.27
4090   148   Week 148   12/27/2015   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5     3.6
4090   149   Week 149     1/3/2016   Western   Thomas McDonald   10   BOW   BOW753   58621   JAMIE    PIERCE     JAMIE PIERCE     DELIVERY DRIVER    7.5   15.21
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4090   150   Week 150   1/10/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   16.89
4090   151   Week 151   1/17/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   21.19
4090   152   Week 152   1/24/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   16.97
4090   153   Week 153   1/31/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5    2.67
4090   154   Week 154    2/7/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   10.98
4090   155   Week 155   2/14/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   22.31
4090   156   Week 156   2/21/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   25.64
4090   157   Week 157   2/28/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5    7.78
4090   158   Week 158    3/6/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5    9.22
4090   159   Week 159   3/13/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5      14
4090   160   Week 160   3/20/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   12.05
4090   161   Week 161   3/27/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   23.81
4090   162   Week 162    4/3/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   13.91
4090   163   Week 163   4/10/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   20.21
4090   164   Week 164   4/17/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   20.15
4090   165   Week 165   4/24/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   20.97
4090   166   Week 166    5/1/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   20.76
4090   167   Week 167    5/8/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   19.35
4090   168   Week 168   5/15/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5     2.5
4090   169   Week 169   5/22/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   13.04
4090   170   Week 170   5/29/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   10.87
4090   171   Week 171    6/5/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5   10.96
4090   172   Week 172   6/12/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5    6.94
4090   174   Week 174   6/26/2016   Western   Thomas McDonald    10   BOW   BOW753   58621   JAMIE     PIERCE       JAMIE PIERCE         DELIVERY DRIVER    7.5    4.13
 889   101   Week 101    2/1/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   14.15
 889   102   Week 102    2/8/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   23.29
 889   103   Week 103   2/15/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9    22.1
 889   104   Week 104   2/22/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   26.62
 889   105   Week 105    3/1/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   16.89
 889   106   Week 106    3/8/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   20.14
 889   107   Week 107   3/15/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER      9   13.57
 889   108   Week 108   3/22/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.75
 889   109   Week 109   3/29/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    7.38
 889   110   Week 110    4/5/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.83
 889   111   Week 111   4/12/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   21.64
 889   112   Week 112   4/19/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.57
 889   113   Week 113   4/26/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.78
 889   114   Week 114    5/3/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.62
 889   115   Week 115   5/10/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.91
 889   116   Week 116   5/17/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.15
 889   117   Week 117   5/24/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    7.43
 889   118   Week 118   5/31/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   12.64
 889   119   Week 119    6/7/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    17.7
 889   120   Week 120   6/14/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    27.8
 889   121   Week 121   6/21/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    12.3
 889   122   Week 122   6/28/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25     6.7
 889   123   Week 123    7/5/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    22.2
 889   124   Week 124   7/12/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.09
 889   125   Week 125   7/19/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    3.33
 889   126   Week 126   7/26/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    2.43
 889   127   Week 127    8/2/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.64
 889   128   Week 128    8/9/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   27.64
 889   129   Week 129   8/16/2015   Eastern   Max Torrence      126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.83
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889   130   Week 130    8/23/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   16.78
889   131   Week 131    8/30/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   12.05
889   132   Week 132     9/6/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.15
889   133   Week 133    9/13/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   21.86
889   134   Week 134    9/20/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.56
889   135   Week 135    9/27/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    11.3
889   136   Week 136    10/4/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   18.46
889   137   Week 137   10/11/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.82
889   138   Week 138   10/18/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    15.1
889   139   Week 139   10/25/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   15.58
889   140   Week 140    11/1/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.99
889   141   Week 141    11/8/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.16
889   142   Week 142   11/15/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.15
889   143   Week 143   11/22/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    5.54
889   144   Week 144   11/29/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.24
889   145   Week 145    12/6/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.16
889   146   Week 146   12/13/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    14.2
889   148   Week 148   12/27/2015   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.48
889   149   Week 149     1/3/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.66
889   150   Week 150    1/10/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   15.69
889   151   Week 151    1/17/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   16.93
889   152   Week 152    1/24/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   19.86
889   153   Week 153    1/31/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.23
889   154   Week 154     2/7/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.82
889   155   Week 155    2/14/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   20.83
889   156   Week 156    2/21/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   19.91
889   157   Week 157    2/28/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   12.07
889   158   Week 158     3/6/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    12.8
889   159   Week 159    3/13/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   16.74
889   160   Week 160    3/20/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.64
889   161   Week 161    3/27/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.44
889   162   Week 162     4/3/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   16.26
889   163   Week 163    4/10/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    13.2
889   164   Week 164    4/17/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    11.9
889   165   Week 165    4/24/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    12.6
889   166   Week 166     5/1/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   15.08
889   167   Week 167     5/8/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.88
889   168   Week 168    5/15/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.85
889   169   Week 169    5/22/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   12.75
889   170   Week 170    5/29/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    7.85
889   171   Week 171     6/5/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    8.31
889   172   Week 172    6/12/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    3.65
889   173   Week 173    6/19/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    6.27
889   174   Week 174    6/26/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    5.27
889   175   Week 175     7/3/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    6.35
889   176   Week 176    7/10/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    6.25
889   178   Week 178    7/24/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.73
889   179   Week 179    7/31/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   15.08
889   180   Week 180     8/7/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   15.38
889   181   Week 181    8/14/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.27
889   182   Week 182    8/21/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.23
889   183   Week 183    8/28/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    8.75
889   184   Week 184     9/4/2016   Eastern   Max Torrence   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.73
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889   185   Week 185    9/11/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.08
889   186   Week 186    9/18/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.51
889   187   Week 187    9/25/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   13.59
889   188   Week 188    10/2/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    6.29
889   189   Week 189    10/9/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.53
889   190   Week 190   10/16/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    7.34
889   191   Week 191   10/23/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.14
889   192   Week 192   10/30/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.86
889   193   Week 193    11/6/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   12.26
889   194   Week 194   11/13/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    8.01
889   196   Week 196   11/27/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    3.13
889   197   Week 197    12/4/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    14.4
889   198   Week 198   12/11/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    6.42
889   200   Week 200   12/25/2016   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.51
889   201   Week 201     1/1/2017   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   11.55
889   202   Week 202     1/8/2017   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   10.36
889   203   Week 203    1/15/2017   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    9.07
889   204   Week 204    1/22/2017   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   14.15
889   205   Week 205    1/29/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25     9.8
889   205   Week 205    1/29/2017   Eastern    Max Torrence       126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25     7.1
889   206   Week 206     2/5/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   22.05
889   207   Week 207    2/12/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   17.09
889   208   Week 208    2/19/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25    15.4
889   209   Week 209    2/26/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   19.45
889   210   Week 210     3/5/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.25   19.05
889   211   Week 211    3/12/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.44   15.38
889   212   Week 212    3/19/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   19.43
889   213   Week 213    3/26/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   22.91
889   214   Week 214     4/2/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   11.56
889   215   Week 215     4/9/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   13.01
889   216   Week 216    4/16/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    7.75
889   217   Week 217    4/23/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   13.65
889   218   Week 218    4/30/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   17.33
889   219   Week 219     5/7/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   13.23
889   220   Week 220    5/14/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   13.05
889   221   Week 221    5/21/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    8.08
889   222   Week 222    5/28/2017   Eastern    Don Shirley        126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    5.99
889   224   Week 224    6/11/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   21.85
889   225   Week 225    6/18/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    9.73
889   226   Week 226    6/25/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5     4.7
889   227   Week 227     7/2/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5     6.7
889   228   Week 228     7/9/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    7.85
889   229   Week 229    7/16/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5     2.8
889   230   Week 230    7/23/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    7.38
889   231   Week 231    7/30/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   15.25
889   232   Week 232     8/6/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   22.32
889   233   Week 233    8/13/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    8.53
889   234   Week 234    8/20/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   19.36
889   235   Week 235    8/27/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   11.98
889   236   Week 236     9/3/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5    4.08
889   237   Week 237    9/10/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5     4.2
889   238   Week 238    9/17/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5     7.4
889   239   Week 239    9/24/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER    9.5   11.96
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 889   240   Week 240    10/1/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5    8.31
 889   241   Week 241    10/8/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5   14.99
 889   242   Week 242   10/15/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5   19.81
 889   243   Week 243   10/22/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5   10.59
 889   244   Week 244   10/29/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5    8.53
 889   245   Week 245    11/5/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5   12.22
 889   246   Week 246   11/12/2017   Closed LocaClosed Locations   126   BOY   BOY193   46297   RICHARD   CATRAMBONE   RICHARD CATRAMBONE   DELIVERY DRIVER   9.5    7.34
3586   102   Week 102     2/8/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   14.51
3586   103   Week 103    2/15/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   14.42
3586   104   Week 104    2/22/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   16.83
3586   105   Week 105     3/1/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   14.88
3586   106   Week 106     3/8/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   11.62
3586   107   Week 107    3/15/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9     5.7
3586   109   Week 109    3/29/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9    6.22
3586   110   Week 110     4/5/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9    6.65
3586   111   Week 111    4/12/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9    3.03
3586   112   Week 112    4/19/2015   Eastern    Max Torrence       126   BOY   BOY199   51642   RODRIGO   MOLINA       RODRIGO MOLINA       DELIVERY DRIVER     9   18.59
3491   107   Week 107    3/15/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9    4.65
3491   108   Week 108    3/22/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   24.41
3491   109   Week 109    3/29/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9    19.7
3491   110   Week 110     4/5/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   20.58
3491   111   Week 111    4/12/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   29.14
3491   112   Week 112    4/19/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9    18.5
3491   113   Week 113    4/26/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   32.59
3491   114   Week 114     5/3/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9    37.6
3491   115   Week 115    5/10/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   38.88
3491   116   Week 116    5/17/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   25.05
3491   117   Week 117    5/24/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   25.71
3491   118   Week 118    5/31/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   32.18
3491   119   Week 119     6/7/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   33.65
3491   120   Week 120    6/14/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   37.22
3491   121   Week 121    6/21/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   34.62
3491   122   Week 122    6/28/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   27.21
3491   123   Week 123     7/5/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   35.09
3491   124   Week 124    7/12/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   33.28
3491   125   Week 125    7/19/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   34.48
3491   126   Week 126    7/26/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   36.56
3491   127   Week 127     8/2/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   38.13
3491   128   Week 128     8/9/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   38.79
3491   129   Week 129    8/16/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   34.78
3491   130   Week 130    8/23/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   38.86
3491   131   Week 131    8/30/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   34.78
3491   132   Week 132     9/6/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   37.75
3491   133   Week 133    9/13/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   25.67
3491   134   Week 134    9/20/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   36.31
3491   135   Week 135    9/27/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   32.46
3491   136   Week 136    10/4/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   38.73
3491   137   Week 137   10/11/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   29.15
3491   138   Week 138   10/18/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   37.81
3491   139   Week 139   10/25/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   39.22
3491   140   Week 140    11/1/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   37.33
3491   141   Week 141    11/8/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9    39.5
3491   142   Week 142   11/15/2015   Eastern    Max Torrence       126   BOY   BOY943   53830   JACK      MESICK       JACK MESICK          DELIVERY DRIVER     9   35.88
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3491   143   Week 143   11/22/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   29.89
3491   144   Week 144   11/29/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   36.97
3491   145   Week 145    12/6/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER   9.03   40.25
3491   146   Week 146   12/13/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   39.85
3491   147   Week 147   12/20/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   23.21
3491   148   Week 148   12/27/2015   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   29.58
3491   149   Week 149     1/3/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   38.71
3491   150   Week 150    1/10/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   39.75
3491   151   Week 151    1/17/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   39.28
3491   152   Week 152    1/24/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   39.33
3491   153   Week 153    1/31/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    35.9
3491   154   Week 154     2/7/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   39.93
3491   155   Week 155    2/14/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER   9.01   40.12
3491   156   Week 156    2/21/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   21.98
3491   157   Week 157    2/28/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   23.58
3491   158   Week 158     3/6/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   22.46
3491   159   Week 159    3/13/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   20.57
3491   160   Week 160    3/20/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   17.75
3491   161   Week 161    3/27/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   19.51
3491   162   Week 162     4/3/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   24.81
3491   163   Week 163    4/10/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   27.67
3491   164   Week 164    4/17/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   18.79
3491   165   Week 165    4/24/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    16.6
3491   166   Week 166     5/1/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   22.77
3491   167   Week 167     5/8/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9      18
3491   168   Week 168    5/15/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   11.87
3491   169   Week 169    5/22/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   12.42
3491   170   Week 170    5/29/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   16.75
3491   171   Week 171     6/5/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   18.85
3491   172   Week 172    6/12/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    5.05
3491   173   Week 173    6/19/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    6.78
3491   174   Week 174    6/26/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9     9.2
3491   175   Week 175     7/3/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   16.67
3491   176   Week 176    7/10/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   20.57
3491   177   Week 177    7/17/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   10.42
3491   178   Week 178    7/24/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   20.03
3491   179   Week 179    7/31/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   11.45
3491   180   Week 180     8/7/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   15.87
3491   181   Week 181    8/14/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    9.48
3491   182   Week 182    8/21/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   19.04
3491   183   Week 183    8/28/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    8.61
3491   184   Week 184     9/4/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    6.73
3491   185   Week 185    9/11/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   14.43
3491   186   Week 186    9/18/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   15.85
3491   187   Week 187    9/25/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   11.37
3491   188   Week 188    10/2/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   11.45
3491   189   Week 189    10/9/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   24.47
3491   190   Week 190   10/16/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   23.22
3491   191   Week 191   10/23/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   13.07
3491   192   Week 192   10/30/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   11.18
3491   193   Week 193    11/6/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    11.6
3491   194   Week 194   11/13/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9   17.44
3491   195   Week 195   11/20/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK   JACK MESICK   DELIVERY DRIVER      9    7.57
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3491   196   Week 196   11/27/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK    JACK MESICK    DELIVERY DRIVER   9   13.63
3491   197   Week 197    12/4/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK    JACK MESICK    DELIVERY DRIVER   9   12.77
3491   198   Week 198   12/11/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK    JACK MESICK    DELIVERY DRIVER   9   23.94
3491   199   Week 199   12/18/2016   Eastern   Max Torrence   126   BOY   BOY943   53830   JACK   MESICK    JACK MESICK    DELIVERY DRIVER   9   21.69
4158   159   Week 159    3/13/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   29.01
4158   160   Week 160    3/20/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   15.85
4158   161   Week 161    3/27/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   17.61
4158   162   Week 162     4/3/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   19.68
4158   163   Week 163    4/10/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   21.25
4158   164   Week 164    4/17/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   15.35
4158   165   Week 165    4/24/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   16.42
4158   166   Week 166     5/1/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   17.87
4158   167   Week 167     5/8/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   15.34
4158   168   Week 168    5/15/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   12.91
4158   169   Week 169    5/22/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.95
4158   170   Week 170    5/29/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   17.99
4158   171   Week 171     6/5/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   14.05
4158   172   Week 172    6/12/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    8.03
4158   173   Week 173    6/19/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.07
4158   174   Week 174    6/26/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.55
4158   175   Week 175     7/3/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.66
4158   176   Week 176    7/10/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9     2.3
4158   177   Week 177    7/17/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    8.06
4158   178   Week 178    7/24/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    4.45
4158   179   Week 179    7/31/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9     4.2
4158   180   Week 180     8/7/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    9.65
4158   181   Week 181    8/14/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    3.57
4158   182   Week 182    8/21/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9     4.9
4158   183   Week 183    8/28/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    4.55
4158   184   Week 184     9/4/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   12.15
4158   185   Week 185    9/11/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   15.33
4158   186   Week 186    9/18/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   10.92
4158   187   Week 187    9/25/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   11.77
4158   188   Week 188    10/2/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    4.84
4158   189   Week 189    10/9/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   18.94
4158   190   Week 190   10/16/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   17.04
4158   191   Week 191   10/23/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   16.51
4158   192   Week 192   10/30/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   14.81
4158   193   Week 193    11/6/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    4.65
4158   194   Week 194   11/13/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    3.07
4158   195   Week 195   11/20/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    1.87
4158   196   Week 196   11/27/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    8.62
4158   197   Week 197    12/4/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   15.19
4158   198   Week 198   12/11/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   16.08
4158   199   Week 199   12/18/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   18.55
4158   200   Week 200   12/25/2016   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.05
4158   201   Week 201     1/1/2017   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    24.8
4158   202   Week 202     1/8/2017   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   12.96
4158   203   Week 203    1/15/2017   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   24.23
4158   204   Week 204    1/22/2017   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   24.19
4158   205   Week 205    1/29/2017   Eastern   Don Shirley    126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9   12.08
4158   205   Week 205    1/29/2017   Eastern   Max Torrence   126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    5.19
4158   206   Week 206     2/5/2017   Eastern   Don Shirley    126   BOY   BOY946   61303   John   Poupore   John Poupore   DELIVERY DRIVER   9    25.2
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4158   207   Week 207    2/12/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   22.56
4158   208   Week 208    2/19/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   28.96
4158   209   Week 209    2/26/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   14.86
4158   210   Week 210     3/5/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   20.31
4158   211   Week 211    3/12/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   22.94
4158   212   Week 212    3/19/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   21.05
4158   213   Week 213    3/26/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   25.65
4158   214   Week 214     4/2/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   24.06
4158   215   Week 215     4/9/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   12.99
4158   216   Week 216    4/16/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   18.81
4158   217   Week 217    4/23/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   15.03
4158   218   Week 218    4/30/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   16.27
4158   219   Week 219     5/7/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   15.47
4158   220   Week 220    5/14/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   21.64
4158   221   Week 221    5/21/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9      10
4158   222   Week 222    5/28/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   13.42
4158   222   Week 222    5/28/2017   Eastern    Don Shirley        126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9    5.52
4158   223   Week 223     6/4/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   14.04
4158   224   Week 224    6/11/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   13.91
4158   225   Week 225    6/18/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   13.11
4158   226   Week 226    6/25/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   11.75
4158   227   Week 227     7/2/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9    9.75
4158   228   Week 228     7/9/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   10.95
4158   229   Week 229    7/16/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   12.92
4158   230   Week 230    7/23/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   12.87
4158   231   Week 231    7/30/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   17.92
4158   232   Week 232     8/6/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9    14.7
4158   233   Week 233    8/13/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   22.83
4158   234   Week 234    8/20/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   15.41
4158   235   Week 235    8/27/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   22.74
4158   236   Week 236     9/3/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9    2.75
4158   238   Week 238    9/17/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   10.27
4158   239   Week 239    9/24/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9    7.17
4158   240   Week 240    10/1/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   23.08
4158   241   Week 241    10/8/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   11.79
4158   242   Week 242   10/15/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   19.24
4158   243   Week 243   10/22/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   17.76
4158   244   Week 244   10/29/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   17.29
4158   245   Week 245    11/5/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   16.26
4158   246   Week 246   11/12/2017   Closed LocaClosed Locations   126   BOY   BOY946   61303   John     Poupore    John Poupore      DELIVERY DRIVER     9   17.72
 308   104   Week 104    2/22/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    29.3
 308   105   Week 105     3/1/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    26.5
 308   106   Week 106     3/8/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    31.5
 308   107   Week 107    3/15/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    29.4
 308   108   Week 108    3/22/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   39.54
 308   109   Week 109    3/29/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   33.34
 308   110   Week 110     4/5/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   37.96
 308   111   Week 111    4/12/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    36.1
 308   112   Week 112    4/19/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   31.25
 308   113   Week 113    4/26/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   31.25
 308   114   Week 114     5/3/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   30.18
 308   115   Week 115    5/10/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   23.34
 308   116   Week 116    5/17/2015   Southern Bradley Hulett        66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   23.83
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308   117   Week 117    5/24/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   28.94
308   118   Week 118    5/31/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   28.33
308   119   Week 119     6/7/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   35.47
308   120   Week 120    6/14/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   40.02
308   121   Week 121    6/21/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    33.5
308   122   Week 122    6/28/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   20.84
308   123   Week 123     7/5/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   33.33
308   124   Week 124    7/12/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   33.39
308   125   Week 125    7/19/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   32.24
308   126   Week 126    7/26/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   35.37
308   127   Week 127     8/2/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   34.25
308   128   Week 128     8/9/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5      32
308   129   Week 129    8/16/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   35.09
308   130   Week 130    8/23/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   35.01
308   131   Week 131    8/30/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   20.43
308   132   Week 132     9/6/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    27.7
308   133   Week 133    9/13/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   30.66
308   134   Week 134    9/20/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   27.41
308   135   Week 135    9/27/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   23.07
308   136   Week 136    10/4/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   33.38
308   137   Week 137   10/11/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   21.72
308   138   Week 138   10/18/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   20.98
308   139   Week 139   10/25/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   24.68
308   140   Week 140    11/1/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   21.34
308   141   Week 141    11/8/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   29.08
308   142   Week 142   11/15/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.63
308   143   Week 143   11/22/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5    11.8
308   144   Week 144   11/29/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   30.53
308   145   Week 145    12/6/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.11
308   146   Week 146   12/13/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   27.94
308   147   Week 147   12/20/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   12.42
308   148   Week 148   12/27/2015   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   11.96
308   149   Week 149     1/3/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.17
308   150   Week 150    1/10/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.25
308   151   Week 151    1/17/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   26.41
308   152   Week 152    1/24/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   34.79
308   153   Week 153    1/31/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   26.24
308   154   Week 154     2/7/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.84
308   155   Week 155    2/14/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   25.75
308   156   Week 156    2/21/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   24.33
308   157   Week 157    2/28/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   27.98
308   158   Week 158     3/6/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   30.97
308   159   Week 159    3/13/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   34.05
308   160   Week 160    3/20/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   8.5   27.89
308   161   Week 161    3/27/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   22.92
308   162   Week 162     4/3/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   21.51
308   163   Week 163    4/10/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   37.99
308   164   Week 164    4/17/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   22.09
308   165   Week 165    4/24/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   26.89
308   166   Week 166     5/1/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   34.75
308   167   Week 167     5/8/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   18.35
308   168   Week 168    5/15/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   23.97
308   169   Week 169    5/22/2016   Southern   Bradley Hulett   66   BRS   BRS899   53035   SAMUEL   BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER     9   21.25
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 308   170   Week 170    5/29/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   18.64
 308   171   Week 171     6/5/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   22.68
 308   172   Week 172    6/12/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   18.01
 308   173   Week 173    6/19/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   14.27
 308   174   Week 174    6/26/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   26.37
 308   175   Week 175     7/3/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   16.54
 308   176   Week 176    7/10/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   18.29
 308   177   Week 177    7/17/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   21.98
 308   178   Week 178    7/24/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   15.53
 308   179   Week 179    7/31/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9    18.6
 308   180   Week 180     8/7/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9    7.92
 308   181   Week 181    8/14/2016   Southern   Bradley Hulett     66   BRS   BRS899   53035   SAMUEL    BANKSTON   SAMUEL BANKSTON   DELIVERY DRIVER   9   19.66
3816   121   Week 121    6/21/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   22.71
3816   122   Week 122    6/28/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   23.62
3816   123   Week 123     7/5/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   23.69
3816   124   Week 124    7/12/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   19.14
3816   125   Week 125    7/19/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   32.79
3816   126   Week 126    7/26/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   22.41
3816   127   Week 127     8/2/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8    30.3
3816   128   Week 128     8/9/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   36.31
3816   129   Week 129    8/16/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8    26.6
3816   130   Week 130    8/23/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   26.15
3816   131   Week 131    8/30/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   29.87
3816   132   Week 132     9/6/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   26.45
3816   133   Week 133    9/13/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   30.08
3816   134   Week 134    9/20/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   24.43
3816   135   Week 135    9/27/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   31.71
3816   136   Week 136    10/4/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   22.93
3816   137   Week 137   10/11/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   30.12
3816   138   Week 138   10/18/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   32.54
3816   139   Week 139   10/25/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   31.67
3816   140   Week 140    11/1/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   19.47
3816   141   Week 141    11/8/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   29.97
3816   142   Week 142   11/15/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   17.99
3816   143   Week 143   11/22/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8     7.7
3816   144   Week 144   11/29/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   24.49
3816   145   Week 145    12/6/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   32.79
3816   146   Week 146   12/13/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   24.23
3816   147   Week 147   12/20/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8    9.75
3816   148   Week 148   12/27/2015   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8     9.9
3816   149   Week 149     1/3/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   18.37
3816   150   Week 150    1/10/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   27.89
3816   151   Week 151    1/17/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   25.41
3816   152   Week 152    1/24/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8    27.1
3816   153   Week 153    1/31/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   21.72
3816   154   Week 154     2/7/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   25.36
3816   155   Week 155    2/14/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   29.74
3816   156   Week 156    2/21/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8    32.6
3816   157   Week 157    2/28/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   22.91
3816   158   Week 158     3/6/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   20.15
3816   159   Week 159    3/13/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   21.03
3816   160   Week 160    3/20/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   19.31
3816   161   Week 161    3/27/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ     RICARDO NOGUEZ    DELIVERY DRIVER   8   29.68
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3816   162   Week 162     4/3/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   26.77
3816   163   Week 163    4/10/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8    28.3
3816   164   Week 164    4/17/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8      11
3816   165   Week 165    4/24/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   19.53
3816   166   Week 166     5/1/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   25.47
3816   167   Week 167     5/8/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   32.92
3816   168   Week 168    5/15/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8    19.9
3816   169   Week 169    5/22/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   25.46
3816   170   Week 170    5/29/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   26.08
3816   171   Week 171     6/5/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   23.97
3816   172   Week 172    6/12/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER      8   27.37
3816   173   Week 173    6/19/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.06   29.17
3816   174   Week 174    6/26/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   24.36
3816   175   Week 175     7/3/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.21
3816   176   Week 176    7/10/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   26.07
3816   177   Week 177    7/17/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.42
3816   178   Week 178    7/24/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   28.29
3816   179   Week 179    7/31/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   24.49
3816   180   Week 180     8/7/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25      26
3816   181   Week 181    8/14/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   19.01
3816   182   Week 182    8/21/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25    19.7
3816   183   Week 183    8/28/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.62
3816   184   Week 184     9/4/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.49
3816   185   Week 185    9/11/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.64
3816   186   Week 186    9/18/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   22.25
3816   187   Week 187    9/25/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   22.54
3816   188   Week 188    10/2/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.15
3816   189   Week 189    10/9/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   22.47
3816   190   Week 190   10/16/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   22.51
3816   191   Week 191   10/23/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.75
3816   192   Week 192   10/30/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   24.74
3816   193   Week 193    11/6/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   26.47
3816   194   Week 194   11/13/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.58
3816   196   Week 196   11/27/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.23
3816   197   Week 197    12/4/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.89
3816   198   Week 198   12/11/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   24.45
3816   199   Week 199   12/18/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.04
3816   200   Week 200   12/25/2016   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   18.27
3816   201   Week 201     1/1/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   26.33
3816   203   Week 203    1/15/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.12
3816   204   Week 204    1/22/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.41
3816   205   Week 205    1/29/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   26.91
3816   206   Week 206     2/5/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.65
3816   207   Week 207    2/12/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.19
3816   208   Week 208    2/19/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   28.36
3816   209   Week 209    2/26/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.16
3816   210   Week 210     3/5/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   27.32
3816   211   Week 211    3/12/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.35
3816   212   Week 212    3/19/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   30.12
3816   213   Week 213    3/26/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.21
3816   214   Week 214     4/2/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   28.67
3816   215   Week 215     4/9/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   13.05
3816   216   Week 216    4/16/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ   RICARDO NOGUEZ   DELIVERY DRIVER   8.25   27.53
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3816   217   Week 217    4/23/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25    29.1
3816   218   Week 218    4/30/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   16.08
3816   219   Week 219     5/7/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25    25.4
3816   220   Week 220    5/14/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   28.26
3816   221   Week 221    5/21/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.24
3816   222   Week 222    5/28/2017   Southern   Mark Livingston   167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25     2.9
3816   223   Week 223     6/4/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   16.23
3816   224   Week 224    6/11/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25    28.5
3816   225   Week 225    6/18/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   26.66
3816   226   Week 226    6/25/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.26
3816   227   Week 227     7/2/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   11.64
3816   229   Week 229    7/16/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   21.36
3816   230   Week 230    7/23/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   20.65
3816   231   Week 231    7/30/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   19.68
3816   232   Week 232     8/6/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.82
3816   233   Week 233    8/13/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.84
3816   234   Week 234    8/20/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   25.43
3816   235   Week 235    8/27/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25    8.42
3816   236   Week 236     9/3/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   19.93
3816   237   Week 237    9/10/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   24.94
3816   238   Week 238    9/17/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.21
3816   239   Week 239    9/24/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25      21
3816   240   Week 240    10/1/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   29.87
3816   241   Week 241    10/8/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   23.22
3816   242   Week 242   10/15/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   22.88
3816   243   Week 243   10/22/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   20.88
3816   244   Week 244   10/29/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   12.79
3816   245   Week 245    11/5/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.25   18.05
3816   246   Week 246   11/12/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   25.87
3816   247   Week 247   11/19/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75    12.5
3816   248   Week 248   11/26/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   19.38
3816   249   Week 249    12/3/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75    25.8
3816   250   Week 250   12/10/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75    27.2
3816   251   Week 251   12/17/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   22.58
3816   252   Week 252   12/24/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75     7.1
3816   253   Week 253   12/31/2017   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75     4.4
3816   254   Week 254     1/7/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   28.83
3816   255   Week 255    1/14/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   17.53
3816   256   Week 256    1/21/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   28.52
3816   257   Week 257    1/28/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   31.23
3816   258   Week 258     2/4/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   22.15
3816   259   Week 259    2/11/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   31.43
3816   260   Week 260    2/18/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   35.34
3816   261   Week 261    2/25/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   35.19
3816   262   Week 262     3/4/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   33.22
3816   263   Week 263    3/11/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   23.09
3816   264   Week 264    3/18/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   31.39
3816   265   Week 265    3/25/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75      21
3816   266   Week 266     4/1/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75   31.03
3816   267   Week 267     4/8/2018   Southern   DO Jay White      167   BTN   BTN279   55835   RICARDO   NOGUEZ    RICARDO NOGUEZ   DELIVERY DRIVER   8.75    8.05
1255   178   Week 178    7/24/2016   Southern   Mark Livingston   167   BTN   BTN316   64431   ELISE     DANIELS   ELISE DANIELS    DELIVERY DRIVER      8    4.08
1255   180   Week 180     8/7/2016   Southern   Mark Livingston   167   BTN   BTN316   64431   ELISE     DANIELS   ELISE DANIELS    DELIVERY DRIVER      8    9.42
1255   181   Week 181    8/14/2016   Southern   Mark Livingston   167   BTN   BTN316   64431   ELISE     DANIELS   ELISE DANIELS    DELIVERY DRIVER      8   10.89
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1255   182   Week 182    8/21/2016   Southern   Mark Livingston     167   BTN   BTN316    64431   ELISE       DANIELS   ELISE DANIELS     DELIVERY DRIVER      8    5.27
 823   162   Week 162     4/3/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   21.73
 823   163   Week 163    4/10/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   21.94
 823   164   Week 164    4/17/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   31.71
 823   165   Week 165    4/24/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   9.94   60.52
 823   166   Week 166     5/1/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5    37.2
 823   167   Week 167     5/8/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   8.92   44.39
 823   168   Week 168    5/15/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   8.85   43.54
 823   169   Week 169    5/22/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   36.34
 823   170   Week 170    5/29/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   8.55   40.45
 823   171   Week 171     6/5/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   16.65
 823   172   Week 172    6/12/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   39.19
 823   173   Week 173    6/19/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   35.12
 823   174   Week 174    6/26/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   28.72
 823   175   Week 175     7/3/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5    17.4
 823   176   Week 176    7/10/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   22.52
 823   177   Week 177    7/17/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   8.81   43.17
 823   178   Week 178    7/24/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   31.73
 823   179   Week 179    7/31/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5    26.2
 823   180   Week 180     8/7/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5    15.5
 823   181   Week 181    8/14/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   39.23
 823   182   Week 182    8/21/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   9.29   49.13
 823   183   Week 183    8/28/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER   8.71   42.12
 823   184   Week 184     9/4/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.6   40.95
 823   185   Week 185    9/11/2016   Southern   Bradley Hulett       32   BTR   BTR1086   61741   EDWARD      CARNES    EDWARD CARNES     DELIVERY DRIVER    8.5   16.24
 955   236   Week 236     9/3/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   16.37
 955   237   Week 237    9/10/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   24.54
 955   238   Week 238    9/17/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   10.69
 955   239   Week 239    9/24/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5    2.29
 955   241   Week 241    10/8/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   11.48
 955   242   Week 242   10/15/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   12.32
 955   243   Week 243   10/22/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   16.76
 955   244   Week 244   10/29/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   12.48
 955   245   Week 245    11/5/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   10.32
 955   246   Week 246   11/12/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   19.58
 955   248   Week 248   11/26/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   11.04
 955   249   Week 249    12/3/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5   13.92
 955   251   Week 251   12/17/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5    7.77
 955   253   Week 253   12/31/2017   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5     2.9
 955   257   Week 257    1/28/2018   Southern   DO Brandon Andra     32   BTR   BTR1139   72426   DOMINIQUE   CHINN     DOMINIQUE CHINN   DELIVERY DRIVER    8.5    4.82
3438   105   Week 105     3/1/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8   26.28
3438   106   Week 106     3/8/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8   24.25
3438   107   Week 107    3/15/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8    29.9
3438   108   Week 108    3/22/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8   30.17
3438   109   Week 109    3/29/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8   25.09
3438   110   Week 110     4/5/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER      8   29.81
3438   111   Week 111    4/12/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER   8.15   27.83
3438   112   Week 112    4/19/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3      26
3438   113   Week 113    4/26/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3   38.06
3438   114   Week 114     5/3/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3   28.66
3438   115   Week 115    5/10/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3   28.18
3438   116   Week 116    5/17/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3   24.68
3438   117   Week 117    5/24/2015   Western    MP Western Region    24   CCM   CCM671    48905   JOHN        MCRAE     JOHN MCRAE        DELIVERY DRIVER    8.3   21.62
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3438   118   Week 118    5/31/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   18.78
3438   119   Week 119     6/7/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    35.7
3438   120   Week 120    6/14/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   36.24
3438   121   Week 121    6/21/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   31.58
3438   122   Week 122    6/28/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   25.89
3438   123   Week 123     7/5/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.84
3438   124   Week 124    7/12/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.28
3438   125   Week 125    7/19/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   30.39
3438   126   Week 126    7/26/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   27.07
3438   127   Week 127     8/2/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   38.38
3438   128   Week 128     8/9/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    35.5
3438   129   Week 129    8/16/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.51
3438   130   Week 130    8/23/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    32.2
3438   131   Week 131    8/30/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3      33
3438   132   Week 132     9/6/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    28.6
3438   133   Week 133    9/13/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.08
3438   134   Week 134    9/20/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   29.03
3438   135   Week 135    9/27/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   34.35
3438   136   Week 136    10/4/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   29.03
3438   137   Week 137   10/11/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   18.11
3438   138   Week 138   10/18/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   21.36
3438   139   Week 139   10/25/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   21.13
3438   140   Week 140    11/1/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   18.16
3438   141   Week 141    11/8/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   18.29
3438   142   Week 142   11/15/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   18.08
3438   143   Week 143   11/22/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    6.93
3438   144   Week 144   11/29/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   25.08
3438   145   Week 145    12/6/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    26.7
3438   146   Week 146   12/13/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    26.3
3438   147   Week 147   12/20/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    16.2
3438   148   Week 148   12/27/2015   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   16.66
3438   149   Week 149     1/3/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    21.1
3438   150   Week 150    1/10/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   21.66
3438   151   Week 151    1/17/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   23.66
3438   152   Week 152    1/24/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   19.79
3438   153   Week 153    1/31/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   32.18
3438   154   Week 154     2/7/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   39.69
3438   155   Week 155    2/14/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   39.31
3438   156   Week 156    2/21/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   25.32
3438   157   Week 157    2/28/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   25.01
3438   158   Week 158     3/6/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   26.03
3438   159   Week 159    3/13/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   27.83
3438   160   Week 160    3/20/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   26.66
3438   161   Week 161    3/27/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.73
3438   162   Week 162     4/3/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.35
3438   163   Week 163    4/10/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   26.45
3438   164   Week 164    4/17/2016   Western   MP Western Region    8   MCK   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    5.02
3438   164   Week 164    4/17/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.52
3438   165   Week 165    4/24/2016   Western   MP Western Region    8   MCK   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    3.02
3438   165   Week 165    4/24/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3    31.8
3438   166   Week 166     5/1/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   28.17
3438   167   Week 167     5/8/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER    8.3   39.67
3438   168   Week 168    5/15/2016   Western   Mike McCown         34   WPL   CCM671   48905   JOHN   MCRAE   JOHN MCRAE   DELIVERY DRIVER   9.48    6.87
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3438   168   Week 168   5/15/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   30.79
3438   169   Week 169   5/22/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   33.65
3438   170   Week 170   5/29/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   27.53
3438   171   Week 171    6/5/2016   Western   Mike McCown         34   WPL   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9    7.74
3438   171   Week 171    6/5/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   21.43
3438   172   Week 172   6/12/2016   Western   Mike McCown         34   WPL   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER   9.38   10.42
3438   172   Week 172   6/12/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   27.64
3438   173   Week 173   6/19/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   26.95
3438   174   Week 174   6/26/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   36.08
3438   175   Week 175    7/3/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   32.62
3438   176   Week 176   7/10/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9      26
3438   177   Week 177   7/17/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   28.69
3438   178   Week 178   7/24/2016   Western   Mike McCown         34   WPL   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9    2.75
3438   178   Week 178   7/24/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   26.05
3438   179   Week 179   7/31/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   38.92
3438   180   Week 180    8/7/2016   Western   MP Western Region   24   CCM   CCM671   48905   JOHN      MCRAE     JOHN MCRAE        DELIVERY DRIVER      9   37.39
 748   107   Week 107   3/15/2015   Western   MP Western Region   24   CCM   CCM673   49651   Manuel    Cabrera   Manuel Cabrera    DELIVERY DRIVER      8   13.47
 748   108   Week 108   3/22/2015   Western   MP Western Region   24   CCM   CCM673   49651   Manuel    Cabrera   Manuel Cabrera    DELIVERY DRIVER      8    2.52
 388   101   Week 101    2/1/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   15.58
 388   102   Week 102    2/8/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   11.07
 388   103   Week 103   2/15/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   12.32
 388   104   Week 104   2/22/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.06
 388   105   Week 105    3/1/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   12.98
 388   106   Week 106    3/8/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   14.53
 388   107   Week 107   3/15/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   17.99
 388   108   Week 108   3/22/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   16.77
 388   109   Week 109   3/29/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    9.62
 388   110   Week 110    4/5/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   11.44
 388   111   Week 111   4/12/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   18.43
 388   112   Week 112   4/19/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   16.57
 388   113   Week 113   4/26/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   18.01
 388   114   Week 114    5/3/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    20.2
 388   115   Week 115   5/10/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5      19
 388   116   Week 116   5/17/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.35
 388   117   Week 117   5/24/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.01
 388   118   Week 118   5/31/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.17
 388   119   Week 119    6/7/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   18.14
 388   120   Week 120   6/14/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   11.97
 388   121   Week 121   6/21/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   18.08
 388   122   Week 122   6/28/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    7.53
 388   123   Week 123    7/5/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    3.02
 388   124   Week 124   7/12/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    6.44
 388   125   Week 125   7/19/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   14.89
 388   126   Week 126   7/26/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   16.43
 388   127   Week 127    8/2/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5      14
 388   128   Week 128    8/9/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    6.65
 388   129   Week 129   8/16/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   15.75
 388   130   Week 130   8/23/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   15.33
 388   131   Week 131   8/30/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    8.91
 388   132   Week 132    9/6/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   14.97
 388   133   Week 133   9/13/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.27
 388   134   Week 134   9/20/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5   13.95
 388   135   Week 135   9/27/2015   Eastern   Scott Miller        61   CHB   CHB768   45703   PRESTON   BECKETT   PRESTON BECKETT   DELIVERY DRIVER    7.5    9.67
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 388   136   Week 136    10/4/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   14.87
 388   137   Week 137   10/11/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   17.65
 388   138   Week 138   10/18/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   10.16
 388   139   Week 139   10/25/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   13.53
 388   140   Week 140    11/1/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    9.86
 388   141   Week 141    11/8/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   15.65
 388   142   Week 142   11/15/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   10.85
 388   143   Week 143   11/22/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    7.83
 388   144   Week 144   11/29/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   12.62
 388   145   Week 145    12/6/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   12.05
 388   146   Week 146   12/13/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   16.43
 388   147   Week 147   12/20/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    2.95
 388   148   Week 148   12/27/2015   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    7.37
 388   149   Week 149     1/3/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   13.46
 388   150   Week 150    1/10/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   19.18
 388   151   Week 151    1/17/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    8.84
 388   152   Week 152    1/24/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   17.39
 388   153   Week 153    1/31/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   13.37
 388   154   Week 154     2/7/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   15.38
 388   155   Week 155    2/14/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   12.97
 388   156   Week 156    2/21/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   11.94
 388   157   Week 157    2/28/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   11.71
 388   158   Week 158     3/6/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    17.1
 388   159   Week 159    3/13/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   15.28
 388   160   Week 160    3/20/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   13.15
 388   161   Week 161    3/27/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   15.35
 388   162   Week 162     4/3/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    5.92
 388   163   Week 163    4/10/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   16.39
 388   164   Week 164    4/17/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   15.29
 388   165   Week 165    4/24/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   14.83
 388   166   Week 166     5/1/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5   10.02
 388   167   Week 167     5/8/2016   Eastern   Scott Miller   61   CHB   CHB768   45703   PRESTON   BECKETT    PRESTON BECKETT   DELIVERY DRIVER    7.5    2.93
 754   171   Week 171     6/5/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   25.05
 754   172   Week 172    6/12/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   25.85
 754   173   Week 173    6/19/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   14.61
 754   174   Week 174    6/26/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   23.26
 754   175   Week 175     7/3/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25    7.69
 754   176   Week 176    7/10/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   19.66
 754   177   Week 177    7/17/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25    7.63
 754   178   Week 178    7/24/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25    3.23
 754   179   Week 179    7/31/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   13.26
 754   180   Week 180     8/7/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   21.59
 754   181   Week 181    8/14/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   15.51
 754   182   Week 182    8/21/2016   Eastern   Scott Miller   61   CHB   CHB842   63301   MARK      CALCAGNO   MARK CALCAGNO     DELIVERY DRIVER   7.25   14.68
5026   165   Week 165    4/24/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER    9.8    3.45
5026   175   Week 175     7/3/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10   15.98
5026   176   Week 176    7/10/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    3.08
5026   177   Week 177    7/17/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    7.82
5026   178   Week 178    7/24/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10   23.46
5026   180   Week 180     8/7/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    5.75
5026   181   Week 181    8/14/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    10.6
5026   182   Week 182    8/21/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    3.92
5026   183   Week 183    8/28/2016   Eastern   Scott Miller   55   CHC   CHC843   47621   TIFFANY   BRIGGS     TIFFANY BRIGGS    DELIVERY DRIVER     10    0.83
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5026   184   Week 184     9/4/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    4.35
5026   185   Week 185    9/11/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    8.43
5026   189   Week 189    10/9/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.43
5026   190   Week 190   10/16/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    1.78
5026   191   Week 191   10/23/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.52
5026   192   Week 192   10/30/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    6.05
5026   196   Week 196   11/27/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    6.57
5026   197   Week 197    12/4/2016   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    6.94
5026   202   Week 202     1/8/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    2.75
5026   203   Week 203    1/15/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    8.31
5026   204   Week 204    1/22/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.65
5026   205   Week 205    1/29/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10   11.98
5026   206   Week 206     2/5/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10   10.25
5026   207   Week 207    2/12/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.05
5026   208   Week 208    2/19/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.47
5026   210   Week 210     3/5/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    3.93
5026   212   Week 212    3/19/2017   Eastern   Scott Miller      55   CHC   CHC843   47621   TIFFANY   BRIGGS    TIFFANY BRIGGS   DELIVERY DRIVER     10    9.11
5204   104   Week 104    2/22/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER      8   30.78
5204   105   Week 105     3/1/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER      8   35.03
5204   106   Week 106     3/8/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER      8   33.98
5204   107   Week 107    3/15/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER      8   34.14
5204   108   Week 108    3/22/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.09   40.95
5204   109   Week 109    3/29/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   32.67
5204   110   Week 110     4/5/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   26.97
5204   111   Week 111    4/12/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   34.94
5204   112   Week 112    4/19/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   34.29
5204   113   Week 113    4/26/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   32.79
5204   114   Week 114     5/3/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   33.01
5204   115   Week 115    5/10/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   35.73
5204   116   Week 116    5/17/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   35.18
5204   117   Week 117    5/24/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   23.16
5204   119   Week 119     6/7/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   36.49
5204   120   Week 120    6/14/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   35.35
5204   121   Week 121    6/21/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   23.89
5204   122   Week 122    6/28/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   23.02
5204   123   Week 123     7/5/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   34.97
5204   124   Week 124    7/12/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   30.58
5204   125   Week 125    7/19/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   32.49
5204   126   Week 126    7/26/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   25.13
5204   127   Week 127     8/2/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   16.73
5204   128   Week 128     8/9/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   20.02
5204   129   Week 129    8/16/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35    24.5
5204   130   Week 130    8/23/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   33.06
5204   131   Week 131    8/30/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   23.09
5204   132   Week 132     9/6/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   29.17
5204   133   Week 133    9/13/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   29.43
5204   134   Week 134    9/20/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35    27.5
5204   135   Week 135    9/27/2015   Eastern   Scott Miller     134   CHE   CHE266   33430   VIOLET    TILFORD   VIOLET TILFORD   DELIVERY DRIVER   8.35   25.72
 660   101   Week 101     2/1/2015   Eastern   Nick Robertson   192   CHL   CHL007   49795   NAKITA    BROWN     NAKITA BROWN     DELIVERY DRIVER      9   25.04
 660   102   Week 102     2/8/2015   Eastern   Nick Robertson   192   CHL   CHL007   49795   NAKITA    BROWN     NAKITA BROWN     DELIVERY DRIVER      9   28.72
 660   103   Week 103    2/15/2015   Eastern   Nick Robertson   192   CHL   CHL007   49795   NAKITA    BROWN     NAKITA BROWN     DELIVERY DRIVER      9   27.08
 660   104   Week 104    2/22/2015   Eastern   Nick Robertson   192   CHL   CHL007   49795   NAKITA    BROWN     NAKITA BROWN     DELIVERY DRIVER      9   39.74
 660   105   Week 105     3/1/2015   Eastern   Nick Robertson   192   CHL   CHL007   49795   NAKITA    BROWN     NAKITA BROWN     DELIVERY DRIVER      9   21.29
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660   121   Week 121    6/21/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    4.43
660   122   Week 122    6/28/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    7.75
660   123   Week 123     7/5/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   11.05
660   124   Week 124    7/12/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   20.08
660   126   Week 126    7/26/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9     4.6
660   127   Week 127     8/2/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   24.97
660   128   Week 128     8/9/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   20.81
660   129   Week 129    8/16/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   21.94
660   130   Week 130    8/23/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   27.16
660   131   Week 131    8/30/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   18.77
660   132   Week 132     9/6/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   21.33
660   133   Week 133    9/13/2015   Eastern   Nick Robertson    192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   11.33
660   239   Week 239    9/24/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9     5.7
660   240   Week 240    10/1/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    8.02
660   241   Week 241    10/8/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    12.4
660   242   Week 242   10/15/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   10.73
660   243   Week 243   10/22/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   19.93
660   244   Week 244   10/29/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    9.13
660   245   Week 245    11/5/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   16.92
660   246   Week 246   11/12/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   21.79
660   247   Week 247   11/19/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    2.57
660   248   Week 248   11/26/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    15.1
660   249   Week 249    12/3/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   14.53
660   250   Week 250   12/10/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   16.54
660   251   Week 251   12/17/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    7.85
660   252   Week 252   12/24/2017   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9     9.2
660   254   Week 254     1/7/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    11.8
660   255   Week 255    1/14/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9     9.3
660   256   Week 256    1/21/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    5.45
660   258   Week 258     2/4/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    9.42
660   259   Week 259    2/11/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   13.03
660   260   Week 260    2/18/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   11.88
660   261   Week 261    2/25/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   16.27
660   262   Week 262     3/4/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   10.23
660   263   Week 263    3/11/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    8.09
660   264   Week 264    3/18/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   14.03
660   265   Week 265    3/25/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    9.94
660   266   Week 266     4/1/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9   11.08
660   267   Week 267     4/8/2018   Eastern   DO Jason Harmon   192   CHL   CHL007   49795   NAKITA   BROWN   NAKITA BROWN   DELIVERY DRIVER   9    2.33
 48   103   Week 103    2/15/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   31.69
 48   104   Week 104    2/22/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   27.31
 48   105   Week 105     3/1/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   24.97
 48   106   Week 106     3/8/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   30.84
 48   107   Week 107    3/15/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   28.75
 48   108   Week 108    3/22/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8    19.2
 48   109   Week 109    3/29/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8    26.7
 48   110   Week 110     4/5/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8    28.6
 48   111   Week 111    4/12/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   25.18
 48   112   Week 112    4/19/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   33.78
 48   113   Week 113    4/26/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8    35.7
 48   114   Week 114     5/3/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8    29.3
 48   115   Week 115    5/10/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   30.36
 48   116   Week 116    5/17/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH     ADAMS   NOAH ADAMS     DELIVERY DRIVER   8   30.93
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  48   117   Week 117    5/24/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   27.74
  48   118   Week 118    5/31/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   21.19
  48   119   Week 119     6/7/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   15.98
  48   120   Week 120    6/14/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   24.98
  48   121   Week 121    6/21/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8    23.5
  48   122   Week 122    6/28/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   11.69
  48   123   Week 123     7/5/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8    18.7
  48   124   Week 124    7/12/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   16.28
  48   125   Week 125    7/19/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8    19.7
  48   126   Week 126    7/26/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   14.72
  48   127   Week 127     8/2/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   29.63
  48   128   Week 128     8/9/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   23.38
  48   129   Week 129    8/16/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   15.24
  48   130   Week 130    8/23/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8    9.09
  48   131   Week 131    8/30/2015   Eastern   Nick Robertson    192   CHL   CHL056   53132   NOAH        ADAMS       NOAH ADAMS            DELIVERY DRIVER       8   11.07
 667   229   Week 229    7/16/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   21.87
 667   230   Week 230    7/23/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   39.59
 667   231   Week 231    7/30/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER   10.84    39.6
 667   232   Week 232     8/6/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER   10.07   32.89
 667   233   Week 233    8/13/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   35.92
 667   234   Week 234    8/20/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   32.32
 667   235   Week 235    8/27/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   23.53
 667   236   Week 236     9/3/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   10.82
 667   237   Week 237    9/10/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   31.16
 667   238   Week 238    9/17/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   36.84
 667   239   Week 239    9/24/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   28.26
 667   240   Week 240    10/1/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   17.86
 667   241   Week 241    10/8/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   22.07
 667   242   Week 242   10/15/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10   21.75
 667   243   Week 243   10/22/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10    6.48
 667   244   Week 244   10/29/2017   Eastern   DO Jason Harmon   192   CHL   CHL510   71426   SHATAJAH    BROWN       SHATAJAH BROWN        DELIVERY DRIVER      10     0.1
4932   107   Week 107    3/15/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   17.42
4932   108   Week 108    3/22/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   16.49
4932   109   Week 109    3/29/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   11.05
4932   110   Week 110     4/5/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   17.77
4932   111   Week 111    4/12/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    12.8
4932   112   Week 112    4/19/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   20.58
4932   113   Week 113    4/26/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   16.99
4932   114   Week 114     5/3/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   18.24
4932   115   Week 115    5/10/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   28.51
4932   117   Week 117    5/24/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    3.65
4932   123   Week 123     7/5/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   11.87
4932   124   Week 124    7/12/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   17.52
4932   125   Week 125    7/19/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   18.61
4932   126   Week 126    7/26/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    9.73
4932   127   Week 127     8/2/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    19.1
4932   128   Week 128     8/9/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   19.53
4932   129   Week 129    8/16/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   17.88
4932   130   Week 130    8/23/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   22.55
4932   131   Week 131    8/30/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    7.77
4932   132   Week 132     9/6/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5    18.5
4932   133   Week 133    9/13/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   16.55
4932   134   Week 134    9/20/2015   Eastern   Les Brannen       120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER     7.5   18.72
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4932   135   Week 135    9/27/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.05
4932   136   Week 136    10/4/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.46
4932   137   Week 137   10/11/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    19.2
4932   138   Week 138   10/18/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   35.63
4932   139   Week 139   10/25/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   29.34
4932   140   Week 140    11/1/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   22.35
4932   141   Week 141    11/8/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    16.7
4932   142   Week 142   11/15/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   20.09
4932   143   Week 143   11/22/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.26
4932   144   Week 144   11/29/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.25
4932   145   Week 145    12/6/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.16
4932   146   Week 146   12/13/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   24.05
4932   147   Week 147   12/20/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5     4.3
4932   148   Week 148   12/27/2015   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    8.22
4932   149   Week 149     1/3/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.52
4932   150   Week 150    1/10/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.09
4932   151   Week 151    1/17/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   15.62
4932   152   Week 152    1/24/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.39
4932   153   Week 153    1/31/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   15.31
4932   154   Week 154     2/7/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.79
4932   155   Week 155    2/14/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.12
4932   156   Week 156    2/21/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.17
4932   157   Week 157    2/28/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.75
4932   158   Week 158     3/6/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.36
4932   159   Week 159    3/13/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.89
4932   160   Week 160    3/20/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   17.58
4932   161   Week 161    3/27/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.19
4932   162   Week 162     4/3/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    1.97
4932   163   Week 163    4/10/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.43
4932   164   Week 164    4/17/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.39
4932   165   Week 165    4/24/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   17.82
4932   166   Week 166     5/1/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.95
4932   167   Week 167     5/8/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    26.8
4932   168   Week 168    5/15/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   32.06
4932   169   Week 169    5/22/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   26.37
4932   170   Week 170    5/29/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   27.66
4932   171   Week 171     6/5/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    4.07
4932   172   Week 172    6/12/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   28.68
4932   173   Week 173    6/19/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   22.15
4932   174   Week 174    6/26/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   17.48
4932   175   Week 175     7/3/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.09
4932   176   Week 176    7/10/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   25.88
4932   177   Week 177    7/17/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5      22
4932   178   Week 178    7/24/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.88
4932   179   Week 179    7/31/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   24.01
4932   180   Week 180     8/7/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    23.2
4932   181   Week 181    8/14/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.68
4932   182   Week 182    8/21/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   20.55
4932   183   Week 183    8/28/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.75
4932   184   Week 184     9/4/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.52
4932   185   Week 185    9/11/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.26
4932   186   Week 186    9/18/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   22.23
4932   187   Week 187    9/25/2016   Eastern   Les Brannen   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.29
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4932   188   Week 188    10/2/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.09
4932   189   Week 189    10/9/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.44
4932   190   Week 190   10/16/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5     3.9
4932   191   Week 191   10/23/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.18
4932   192   Week 192   10/30/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   20.73
4932   193   Week 193    11/6/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   22.38
4932   194   Week 194   11/13/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.71
4932   195   Week 195   11/20/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.51
4932   196   Week 196   11/27/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   20.15
4932   197   Week 197    12/4/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.07
4932   198   Week 198   12/11/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   25.67
4932   199   Week 199   12/18/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    16.4
4932   200   Week 200   12/25/2016   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   13.29
4932   202   Week 202     1/8/2017   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    18.6
4932   203   Week 203    1/15/2017   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   25.02
4932   204   Week 204    1/22/2017   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.03
4932   205   Week 205    1/29/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   12.88
4932   205   Week 205    1/29/2017   Eastern   Les Brannen         120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    3.65
4932   207   Week 207    2/12/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.15
4932   208   Week 208    2/19/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    22.5
4932   209   Week 209    2/26/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.87
4932   210   Week 210     3/5/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    17.9
4932   211   Week 211    3/12/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   15.98
4932   212   Week 212    3/19/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    20.1
4932   213   Week 213    3/26/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.99
4932   214   Week 214     4/2/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    9.11
4932   215   Week 215     4/9/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.74
4932   216   Week 216    4/16/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.83
4932   217   Week 217    4/23/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   12.57
4932   218   Week 218    4/30/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   16.97
4932   219   Week 219     5/7/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5     4.2
4932   220   Week 220    5/14/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   20.71
4932   221   Week 221    5/21/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.59
4932   222   Week 222    5/28/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   12.74
4932   222   Week 222    5/28/2017   Eastern   Jason Harmon D.O.   120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5    3.28
4932   224   Week 224    6/11/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   15.64
4932   225   Week 225    6/18/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   17.52
4932   226   Week 226    6/25/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.44
4932   227   Week 227     7/2/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5     8.3
4932   228   Week 228     7/9/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.97
4932   229   Week 229    7/16/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   13.98
4932   230   Week 230    7/23/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.75
4932   232   Week 232     8/6/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   11.46
4932   233   Week 233    8/13/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.61
4932   234   Week 234    8/20/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   21.15
4932   235   Week 235    8/27/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   18.55
4932   236   Week 236     9/3/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.35
4932   237   Week 237    9/10/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.45
4932   238   Week 238    9/17/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5     3.8
4932   239   Week 239    9/24/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   19.14
4932   240   Week 240    10/1/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   14.64
4932   241   Week 241    10/8/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   10.62
4932   242   Week 242   10/15/2017   Eastern   DO Jason Harmon     120   CHO   CHO605   46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER   7.5   15.01
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4932   243   Week 243   10/22/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   17.69
4932   244   Week 244   10/29/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   18.61
4932   245   Week 245    11/5/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   17.34
4932   246   Week 246   11/12/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   15.85
4932   248   Week 248   11/26/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   19.04
4932   249   Week 249    12/3/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   13.07
4932   251   Week 251   12/17/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5    4.17
4932   252   Week 252   12/24/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5    2.93
4932   253   Week 253   12/31/2017   Eastern    DO Jason Harmon   120   CHO   CHO605    46472   ALEXANDER   STANDEFER   ALEXANDER STANDEFER   DELIVERY DRIVER    7.5   14.25
1196   102   Week 102     2/8/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   20.62
1196   103   Week 103    2/15/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   18.65
1196   104   Week 104    2/22/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.89
1196   105   Week 105     3/1/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   13.61
1196   106   Week 106     3/8/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    2.88
1196   107   Week 107    3/15/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   18.25
1196   108   Week 108    3/22/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   21.78
1196   109   Week 109    3/29/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   19.94
1196   110   Week 110     4/5/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    16.5
1196   111   Week 111    4/12/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.78
1196   112   Week 112    4/19/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   19.26
1196   113   Week 113    4/26/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    8.33
1196   114   Week 114     5/3/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.13
1196   115   Week 115    5/10/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.03
1196   116   Week 116    5/17/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   12.39
1196   117   Week 117    5/24/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.24
1196   118   Week 118    5/31/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    18.1
1196   119   Week 119     6/7/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    17.3
1196   120   Week 120    6/14/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.48
1196   121   Week 121    6/21/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   15.52
1196   122   Week 122    6/28/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    8.52
1196   123   Week 123     7/5/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   17.23
1196   124   Week 124    7/12/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   15.87
1196   125   Week 125    7/19/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   15.37
1196   126   Week 126    7/26/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   14.97
1196   127   Week 127     8/2/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.37
1196   128   Week 128     8/9/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.65
1196   129   Week 129    8/16/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   14.95
1196   130   Week 130    8/23/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    17.5
1196   131   Week 131    8/30/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   14.86
1196   132   Week 132     9/6/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   20.65
1196   133   Week 133    9/13/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   21.78
1196   134   Week 134    9/20/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   19.78
1196   135   Week 135    9/27/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   18.37
1196   136   Week 136    10/4/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   15.45
1196   137   Week 137   10/11/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   18.16
1196   138   Week 138   10/18/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25    13.4
1196   139   Week 139   10/25/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25      19
1196   140   Week 140    11/1/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.98
1196   141   Week 141    11/8/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.64
1196   142   Week 142   11/15/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   16.87
1196   143   Week 143   11/22/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   10.05
1196   144   Week 144   11/29/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   13.49
1196   145   Week 145    12/6/2015   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL      CRUZ        RAFAEL CRUZ           DELIVERY DRIVER   8.25   12.47
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1196   146   Week 146   12/13/2015   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.49
1196   147   Week 147   12/20/2015   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    4.37
1196   148   Week 148   12/27/2015   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    6.17
1196   150   Week 150    1/10/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.86
1196   151   Week 151    1/17/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.66
1196   152   Week 152    1/24/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.33
1196   153   Week 153    1/31/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    14.2
1196   154   Week 154     2/7/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   11.91
1196   155   Week 155    2/14/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    16.1
1196   156   Week 156    2/21/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.56
1196   157   Week 157    2/28/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.47
1196   158   Week 158     3/6/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    16.9
1196   159   Week 159    3/13/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    9.23
1196   160   Week 160    3/20/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    8.75
1196   161   Week 161    3/27/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   24.49
1196   162   Week 162     4/3/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   23.96
1196   163   Week 163    4/10/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    16.8
1196   164   Week 164    4/17/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.46
1196   165   Week 165    4/24/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    13.9
1196   166   Week 166     5/1/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   21.17
1196   167   Week 167     5/8/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.74
1196   168   Week 168    5/15/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.03
1196   169   Week 169    5/22/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   10.37
1196   170   Week 170    5/29/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    7.15
1196   171   Week 171     6/5/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   10.13
1196   172   Week 172    6/12/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.22
1196   173   Week 173    6/19/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.79
1196   174   Week 174    6/26/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   12.09
1196   175   Week 175     7/3/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   15.72
1196   176   Week 176    7/10/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   12.97
1196   177   Week 177    7/17/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    12.8
1196   178   Week 178    7/24/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   12.39
1196   179   Week 179    7/31/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    17.1
1196   180   Week 180     8/7/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.85
1196   181   Week 181    8/14/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.69
1196   182   Week 182    8/21/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.31
1196   183   Week 183    8/28/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   12.78
1196   184   Week 184     9/4/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   15.77
1196   185   Week 185    9/11/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.24
1196   186   Week 186    9/18/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.74
1196   187   Week 187    9/25/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.83
1196   188   Week 188    10/2/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.14
1196   189   Week 189    10/9/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.66
1196   190   Week 190   10/16/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.86
1196   191   Week 191   10/23/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    17.7
1196   192   Week 192   10/30/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.04
1196   193   Week 193    11/6/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.26
1196   194   Week 194   11/13/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.28
1196   195   Week 195   11/20/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    7.21
1196   196   Week 196   11/27/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    16.2
1196   197   Week 197    12/4/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   19.28
1196   198   Week 198   12/11/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.23
1196   199   Week 199   12/18/2016   Southern   Gene Leal   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25     7.6
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1196   201   Week 201     1/1/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    6.62
1196   202   Week 202     1/8/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   15.85
1196   203   Week 203    1/15/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.01
1196   204   Week 204    1/22/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.46
1196   205   Week 205    1/29/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.37
1196   206   Week 206     2/5/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   11.53
1196   207   Week 207    2/12/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   19.46
1196   208   Week 208    2/19/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    18.8
1196   209   Week 209    2/26/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    18.7
1196   210   Week 210     3/5/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.43
1196   211   Week 211    3/12/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.94
1196   212   Week 212    3/19/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   19.36
1196   213   Week 213    3/26/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.37
1196   214   Week 214     4/2/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    16.6
1196   215   Week 215     4/9/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.34
1196   216   Week 216    4/16/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    20.4
1196   217   Week 217    4/23/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.03
1196   218   Week 218    4/30/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.94
1196   219   Week 219     5/7/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    19.1
1196   220   Week 220    5/14/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    13.5
1196   221   Week 221    5/21/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    9.58
1196   222   Week 222    5/28/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    4.47
1196   222   Week 222    5/28/2017   Southern   Gene Leal          20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25     8.4
1196   223   Week 223     6/4/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.35
1196   224   Week 224    6/11/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    12.5
1196   225   Week 225    6/18/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.16
1196   226   Week 226    6/25/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.48
1196   227   Week 227     7/2/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    8.55
1196   228   Week 228     7/9/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.07
1196   229   Week 229    7/16/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.25
1196   230   Week 230    7/23/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.37
1196   231   Week 231    7/30/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.12
1196   232   Week 232     8/6/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.07
1196   233   Week 233    8/13/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.07
1196   234   Week 234    8/20/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   16.31
1196   236   Week 236     9/3/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    4.85
1196   237   Week 237    9/10/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    19.4
1196   238   Week 238    9/17/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.56
1196   239   Week 239    9/24/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.59
1196   240   Week 240    10/1/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.62
1196   241   Week 241    10/8/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   19.12
1196   242   Week 242   10/15/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    17.6
1196   243   Week 243   10/22/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.13
1196   244   Week 244   10/29/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   13.74
1196   245   Week 245    11/5/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.58
1196   246   Week 246   11/12/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   17.03
1196   247   Week 247   11/19/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    4.03
1196   248   Week 248   11/26/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    21.1
1196   249   Week 249    12/3/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   18.49
1196   250   Week 250   12/10/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   15.21
1196   251   Week 251   12/17/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25    9.23
1196   252   Week 252   12/24/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25     5.3
1196   253   Week 253   12/31/2017   Southern   DO Travis Bryant   20   CHP   CHP217   319405   RAFAEL   CRUZ   RAFAEL CRUZ   DELIVERY DRIVER   8.25   14.41
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1196   254   Week 254    1/7/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   12.52
1196   255   Week 255   1/14/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   14.71
1196   256   Week 256   1/21/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   17.04
1196   257   Week 257   1/28/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   17.61
1196   258   Week 258    2/4/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   12.97
1196   259   Week 259   2/11/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   16.46
1196   260   Week 260   2/18/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25    8.42
1196   261   Week 261   2/25/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   17.39
1196   262   Week 262    3/4/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   18.33
1196   263   Week 263   3/11/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   15.15
1196   264   Week 264   3/18/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25    11.9
1196   265   Week 265   3/25/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   17.55
1196   266   Week 266    4/1/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25   12.92
1196   267   Week 267    4/8/2018   Southern   DO Travis Bryant    20   CHP   CHP217   319405   RAFAEL    CRUZ      RAFAEL CRUZ       DELIVERY DRIVER   8.25    5.98
2151   106   Week 106    3/8/2015   Southern   Gene Leal           52   JNS   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      8   26.79
2151   108   Week 108   3/22/2015   Southern   Gene Leal           20   CHP   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   9.71    8.55
2151   109   Week 109   3/29/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      8   34.35
2151   110   Week 110    4/5/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   9.06   52.78
2151   111   Week 111   4/12/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER    9.6   54.02
2151   112   Week 112   4/19/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   9.25   48.59
2151   113   Week 113   4/26/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   8.93   44.46
2151   114   Week 114    5/3/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER    8.5   39.61
2151   115   Week 115   5/10/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER    8.5    32.3
2151   116   Week 116   5/17/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   8.65   36.32
2151   117   Week 117   5/24/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER    8.5   16.17
2151   118   Week 118   5/31/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER    8.5    7.97
2151   119   Week 119    6/7/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   8.79   23.88
2151   120   Week 120   6/14/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   35.06
2151   121   Week 121   6/21/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9    35.4
2151   122   Week 122   6/28/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   37.61
2151   123   Week 123    7/5/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   38.64
2151   124   Week 124   7/12/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   12.08
2151   125   Week 125   7/19/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9    6.73
2151   126   Week 126   7/26/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER   9.48    39.7
2151   127   Week 127    8/2/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   29.83
2151   128   Week 128    8/9/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   32.72
2151   129   Week 129   8/16/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   34.58
2151   130   Week 130   8/23/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   27.41
2151   131   Week 131   8/30/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   26.22
2151   132   Week 132    9/6/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   20.98
2151   133   Week 133   9/13/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9   14.44
2151   134   Week 134   9/20/2015   Southern   Gene Leal          190   HSC   CHP463    42824   KYLE      HALL      KYLE HALL         DELIVERY DRIVER      9    9.41
1705   104   Week 104   2/22/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   37.54
1705   105   Week 105    3/1/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   31.81
1705   106   Week 106    3/8/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.29   40.55
1705   107   Week 107   3/15/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   39.83
1705   108   Week 108   3/22/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.56   46.45
1705   109   Week 109   3/29/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   38.35
1705   110   Week 110    4/5/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   20.13
1705   111   Week 111   4/12/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   35.59
1705   112   Week 112   4/19/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   33.11
1705   113   Week 113   4/26/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.14   39.69
1705   114   Week 114    5/3/2015   Eastern    Scott Miller        62   CHU   CHU517    43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   31.66
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1705   115   Week 115    5/10/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   29.11
1705   116   Week 116    5/17/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   31.75
1705   117   Week 117    5/24/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   25.72
1705   118   Week 118    5/31/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8    14.6
1705   119   Week 119     6/7/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   30.56
1705   120   Week 120    6/14/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8    27.5
1705   121   Week 121    6/21/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8    25.5
1705   122   Week 122    6/28/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   14.78
1705   123   Week 123     7/5/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8    18.4
1705   124   Week 124    7/12/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   24.64
1705   125   Week 125    7/19/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   23.29
1705   126   Week 126    7/26/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER      8   23.34
1705   127   Week 127     8/2/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    8.1   21.68
1705   128   Week 128     8/9/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   22.47
1705   129   Week 129    8/16/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75    29.9
1705   130   Week 130    8/23/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   33.02
1705   131   Week 131    8/30/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   11.83
1705   132   Week 132     9/6/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   24.93
1705   133   Week 133    9/13/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   30.57
1705   134   Week 134    9/20/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   30.95
1705   135   Week 135    9/27/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   34.57
1705   136   Week 136    10/4/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75    33.3
1705   137   Week 137   10/11/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   34.79
1705   138   Week 138   10/18/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   30.03
1705   139   Week 139   10/25/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   31.68
1705   140   Week 140    11/1/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   32.69
1705   141   Week 141    11/8/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   38.54
1705   142   Week 142   11/15/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   36.84
1705   143   Week 143   11/22/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   19.81
1705   144   Week 144   11/29/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   32.56
1705   145   Week 145    12/6/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   30.36
1705   146   Week 146   12/13/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   29.56
1705   148   Week 148   12/27/2015   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75     5.2
1705   149   Week 149     1/3/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   27.46
1705   150   Week 150    1/10/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   36.22
1705   151   Week 151    1/17/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   32.53
1705   152   Week 152    1/24/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   38.09
1705   153   Week 153    1/31/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   35.37
1705   154   Week 154     2/7/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   39.77
1705   155   Week 155    2/14/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   8.75   39.92
1705   156   Week 156    2/21/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    8.9   41.42
1705   157   Week 157    2/28/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.09   43.41
1705   158   Week 158     3/6/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.19    44.5
1705   159   Week 159    3/13/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.37   46.55
1705   160   Week 160    3/20/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    8.9   31.05
1705   161   Week 161    3/27/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25      29
1705   162   Week 162     4/3/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   39.21
1705   163   Week 163    4/10/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.89   46.45
1705   164   Week 164    4/17/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   35.36
1705   165   Week 165    4/24/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   34.15
1705   166   Week 166     5/1/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   28.73
1705   167   Week 167     5/8/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   25.65
1705   168   Week 168    5/15/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   37.04
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1705   169   Week 169    5/22/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   26.15
1705   170   Week 170    5/29/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   20.35
1705   171   Week 171     6/5/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   38.31
1705   172   Week 172    6/12/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   33.12
1705   173   Week 173    6/19/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   31.68
1705   174   Week 174    6/26/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   26.12
1705   175   Week 175     7/3/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   24.99
1705   176   Week 176    7/10/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   29.95
1705   177   Week 177    7/17/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   27.67
1705   178   Week 178    7/24/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   34.77
1705   179   Week 179    7/31/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   31.87
1705   180   Week 180     8/7/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   10.04   48.26
1705   181   Week 181    8/14/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   27.05
1705   182   Week 182    8/21/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   38.31
1705   183   Week 183    8/28/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   30.68
1705   184   Week 184     9/4/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.86   46.02
1705   185   Week 185    9/11/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   37.96
1705   186   Week 186    9/18/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   35.84
1705   187   Week 187    9/25/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   24.51
1705   188   Week 188    10/2/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   39.76
1705   189   Week 189    10/9/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   36.71
1705   190   Week 190   10/16/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25    36.7
1705   191   Week 191   10/23/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.86   46.07
1705   192   Week 192   10/30/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   19.03
1705   193   Week 193    11/6/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25    34.1
1705   194   Week 194   11/13/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   38.92
1705   195   Week 195   11/20/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   16.72
1705   196   Week 196   11/27/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.63   43.56
1705   197   Week 197    12/4/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   36.81
1705   198   Week 198   12/11/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   33.47
1705   199   Week 199   12/18/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   23.16
1705   200   Week 200   12/25/2016   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25    8.88
1705   201   Week 201     1/1/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25      29
1705   202   Week 202     1/8/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   35.57
1705   203   Week 203    1/15/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   33.29
1705   204   Week 204    1/22/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   37.93
1705   205   Week 205    1/29/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   36.56
1705   206   Week 206     2/5/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   27.27
1705   207   Week 207    2/12/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   35.87
1705   208   Week 208    2/19/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   36.81
1705   209   Week 209    2/26/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.48   42.07
1705   210   Week 210     3/5/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   37.44
1705   211   Week 211    3/12/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   31.28
1705   212   Week 212    3/19/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25    32.1
1705   213   Week 213    3/26/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   33.03
1705   214   Week 214     4/2/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   29.74
1705   215   Week 215     4/9/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   28.84
1705   216   Week 216    4/16/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   32.45
1705   217   Week 217    4/23/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   28.74
1705   218   Week 218    4/30/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25    32.8
1705   219   Week 219     5/7/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   26.23
1705   220   Week 220    5/14/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   30.32
1705   221   Week 221    5/21/2017   Eastern   Scott Miller   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER    9.25   24.52
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1705   222   Week 222    5/28/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   17.36
1705   222   Week 222    5/28/2017   Eastern   Scott Miller       62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25    10.6
1705   223   Week 223     6/4/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   39.44
1705   224   Week 224    6/11/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   29.63
1705   225   Week 225    6/18/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   30.63
1705   226   Week 226    6/25/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   25.94
1705   227   Week 227     7/2/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   15.65
1705   228   Week 228     7/9/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   27.22
1705   229   Week 229    7/16/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   33.82
1705   230   Week 230    7/23/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   27.47
1705   231   Week 231    7/30/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   27.52
1705   232   Week 232     8/6/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   34.21
1705   233   Week 233    8/13/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   26.26
1705   234   Week 234    8/20/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   31.81
1705   235   Week 235    8/27/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25    19.4
1705   236   Week 236     9/3/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   29.92
1705   237   Week 237    9/10/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   37.09
1705   238   Week 238    9/17/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   24.64
1705   239   Week 239    9/24/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   25.35
1705   240   Week 240    10/1/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   29.45
1705   241   Week 241    10/8/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   26.33
1705   242   Week 242   10/15/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   36.25
1705   243   Week 243   10/22/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   29.93
1705   244   Week 244   10/29/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   28.76
1705   245   Week 245    11/5/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   35.94
1705   246   Week 246   11/12/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   28.47
1705   247   Week 247   11/19/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   19.85
1705   248   Week 248   11/26/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   32.09
1705   249   Week 249    12/3/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   34.63
1705   250   Week 250   12/10/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   30.85
1705   251   Week 251   12/17/2017   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   10.08
1705   256   Week 256    1/21/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   10.97
1705   257   Week 257    1/28/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   36.57
1705   258   Week 258     2/4/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25    36.4
1705   259   Week 259    2/11/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   37.49
1705   260   Week 260    2/18/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   36.87
1705   261   Week 261    2/25/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   39.58
1705   262   Week 262     3/4/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   37.78
1705   263   Week 263    3/11/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25    39.1
1705   264   Week 264    3/18/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   24.34
1705   265   Week 265    3/25/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   36.57
1705   266   Week 266     4/1/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25   30.65
1705   267   Week 267     4/8/2018   Eastern   DO David Rathbun   62   CHU   CHU517   43387   WILLIAM   FLEMING   WILLIAM FLEMING   DELIVERY DRIVER   9.25    7.23
4987   101   Week 101     2/1/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   38.77
4987   102   Week 102     2/8/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   32.41
4987   103   Week 103    2/15/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   16.49
4987   104   Week 104    2/22/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   20.61
4987   105   Week 105     3/1/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   33.86
4987   106   Week 106     3/8/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5      25
4987   107   Week 107    3/15/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   36.69
4987   108   Week 108    3/22/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5    6.28
4987   109   Week 109    3/29/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   26.59
4987   110   Week 110     4/5/2015   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES    ALLISON STOKES    DELIVERY DRIVER    8.5   30.02
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4987   111   Week 111    4/12/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    8.5   22.84
4987   112   Week 112    4/19/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    8.5   28.39
4987   113   Week 113    4/26/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   8.92    36.9
4987   114   Week 114     5/3/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   22.68
4987   115   Week 115    5/10/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   19.48
4987   116   Week 116    5/17/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   15.78
4987   117   Week 117    5/24/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   28.34
4987   118   Week 118    5/31/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   17.02
4987   119   Week 119     6/7/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   16.34
4987   120   Week 120    6/14/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   21.06
4987   121   Week 121    6/21/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   27.89
4987   122   Week 122    6/28/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   17.26
4987   123   Week 123     7/5/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   33.86
4987   124   Week 124    7/12/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   27.32
4987   125   Week 125    7/19/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9    33.6
4987   126   Week 126    7/26/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   18.45
4987   127   Week 127     8/2/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   17.03
4987   128   Week 128     8/9/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   28.41
4987   129   Week 129    8/16/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   19.67
4987   130   Week 130    8/23/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   18.11
4987   131   Week 131    8/30/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   22.19
4987   132   Week 132     9/6/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   17.88
4987   133   Week 133    9/13/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   29.05
4987   134   Week 134    9/20/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   25.66
4987   135   Week 135    9/27/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   18.84
4987   136   Week 136    10/4/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   11.07
4987   137   Week 137   10/11/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   22.48
4987   138   Week 138   10/18/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   14.63
4987   139   Week 139   10/25/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   19.34
4987   140   Week 140    11/1/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER      9   22.36
4987   141   Week 141    11/8/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.05   24.87
4987   142   Week 142   11/15/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   24.71
4987   143   Week 143   11/22/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   17.08
4987   144   Week 144   11/29/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   36.72
4987   145   Week 145    12/6/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    23.7
4987   146   Week 146   12/13/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   28.05
4987   147   Week 147   12/20/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   12.38
4987   148   Week 148   12/27/2015   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    6.87
4987   149   Week 149     1/3/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    23.4
4987   150   Week 150    1/10/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   22.85
4987   151   Week 151    1/17/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   15.54
4987   152   Week 152    1/24/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   13.35
4987   153   Week 153    1/31/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   29.24
4987   154   Week 154     2/7/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    23.8
4987   155   Week 155    2/14/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    26.9
4987   156   Week 156    2/21/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    34.7
4987   157   Week 157    2/28/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   17.84
4987   158   Week 158     3/6/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   29.91
4987   159   Week 159    3/13/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.52
4987   160   Week 160    3/20/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   17.82
4987   161   Week 161    3/27/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    3.45
4987   162   Week 162     4/3/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   34.33
4987   163   Week 163    4/10/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   28.59
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4987   164   Week 164    4/17/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   25.31
4987   165   Week 165    4/24/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   26.25
4987   166   Week 166     5/1/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   24.32
4987   167   Week 167     5/8/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    25.4
4987   168   Week 168    5/15/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   13.12
4987   169   Week 169    5/22/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    15.5
4987   170   Week 170    5/29/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   19.55
4987   171   Week 171     6/5/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   30.57
4987   172   Week 172    6/12/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   11.52
4987   173   Week 173    6/19/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.75
4987   174   Week 174    6/26/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   15.85
4987   175   Week 175     7/3/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.59
4987   176   Week 176    7/10/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   20.27
4987   177   Week 177    7/17/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25    20.8
4987   178   Week 178    7/24/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   26.51
4987   179   Week 179    7/31/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   21.23
4987   180   Week 180     8/7/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   24.96
4987   181   Week 181    8/14/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   29.97
4987   182   Week 182    8/21/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   16.23
4987   183   Week 183    8/28/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   13.35
4987   184   Week 184     9/4/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.27
4987   185   Week 185    9/11/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   17.37
4987   186   Week 186    9/18/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   19.21
4987   187   Week 187    9/25/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   21.94
4987   188   Week 188    10/2/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   16.55
4987   189   Week 189    10/9/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.76
4987   190   Week 190   10/16/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   25.78
4987   191   Week 191   10/23/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.19
4987   192   Week 192   10/30/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   22.74
4987   193   Week 193    11/6/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.25   23.83
4987   194   Week 194   11/13/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER   9.29   26.97
4987   195   Week 195   11/20/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    8.55
4987   196   Week 196   11/27/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   24.09
4987   197   Week 197    12/4/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    21.2
4987   198   Week 198   12/11/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   20.72
4987   199   Week 199   12/18/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    9.98
4987   200   Week 200   12/25/2016   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   17.67
4987   201   Week 201     1/1/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   14.61
4987   202   Week 202     1/8/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   11.89
4987   203   Week 203    1/15/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   24.51
4987   204   Week 204    1/22/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   19.75
4987   205   Week 205    1/29/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    24.1
4987   206   Week 206     2/5/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   23.67
4987   207   Week 207    2/12/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    17.8
4987   208   Week 208    2/19/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   21.95
4987   209   Week 209    2/26/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   21.48
4987   210   Week 210     3/5/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   18.12
4987   211   Week 211    3/12/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   22.63
4987   212   Week 212    3/19/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    18.7
4987   213   Week 213    3/26/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   20.21
4987   214   Week 214     4/2/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   19.61
4987   215   Week 215     4/9/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5   16.22
4987   216   Week 216    4/16/2017   Eastern   Scott Miller   62   CHU   CHU519   43698   ALLISON   STOKES   ALLISON STOKES   DELIVERY DRIVER    9.5    4.15
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4987   217   Week 217    4/23/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   20.19
4987   218   Week 218    4/30/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   16.25
4987   219   Week 219     5/7/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   24.88
4987   220   Week 220    5/14/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   14.83
4987   221   Week 221    5/21/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   12.25
4987   222   Week 222    5/28/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   10.48
4987   222   Week 222    5/28/2017   Eastern   Scott Miller       62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5     8.7
4987   223   Week 223     6/4/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   21.94
4987   224   Week 224    6/11/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   26.46
4987   225   Week 225    6/18/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   21.71
4987   226   Week 226    6/25/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   19.15
4987   227   Week 227     7/2/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5     7.7
4987   228   Week 228     7/9/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   15.59
4987   229   Week 229    7/16/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   13.44
4987   230   Week 230    7/23/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   16.52
4987   231   Week 231    7/30/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   19.81
4987   232   Week 232     8/6/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   22.66
4987   233   Week 233    8/13/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   18.06
4987   234   Week 234    8/20/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   22.67
4987   235   Week 235    8/27/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   14.19
4987   236   Week 236     9/3/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   18.01
4987   237   Week 237    9/10/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   17.64
4987   238   Week 238    9/17/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   17.88
4987   239   Week 239    9/24/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   16.08
4987   240   Week 240    10/1/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   16.66
4987   241   Week 241    10/8/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   14.74
4987   242   Week 242   10/15/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   21.27
4987   243   Week 243   10/22/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   13.65
4987   244   Week 244   10/29/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   20.27
4987   245   Week 245    11/5/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   17.51
4987   246   Week 246   11/12/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   24.12
4987   247   Week 247   11/19/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5    6.67
4987   248   Week 248   11/26/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   21.38
4987   249   Week 249    12/3/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   21.77
4987   250   Week 250   12/10/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   13.32
4987   251   Week 251   12/17/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   13.79
4987   252   Week 252   12/24/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5    6.65
4987   253   Week 253   12/31/2017   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   11.56
4987   254   Week 254     1/7/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   23.59
4987   255   Week 255    1/14/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   10.87
4987   256   Week 256    1/21/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   25.56
4987   257   Week 257    1/28/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   25.18
4987   258   Week 258     2/4/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   27.39
4987   259   Week 259    2/11/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   19.28
4987   260   Week 260    2/18/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   24.39
4987   261   Week 261    2/25/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5      26
4987   262   Week 262     3/4/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   20.02
4987   263   Week 263    3/11/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   24.39
4987   264   Week 264    3/18/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5   24.12
4987   265   Week 265    3/25/2018   Eastern   DO David Rathbun   62   CHU   CHU519   43698   ALLISON   STOKES     ALLISON STOKES   DELIVERY DRIVER    9.5    5.13
1342   115   Week 115    5/10/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX      DEGRASSI   ALEX DEGRASSI    DELIVERY DRIVER   7.25   32.96
1342   116   Week 116    5/17/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX      DEGRASSI   ALEX DEGRASSI    DELIVERY DRIVER   7.25   34.95
1342   117   Week 117    5/24/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX      DEGRASSI   ALEX DEGRASSI    DELIVERY DRIVER   7.25   20.68
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1342   118   Week 118    5/31/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   23.82
1342   119   Week 119     6/7/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   24.66
1342   120   Week 120    6/14/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   31.74
1342   121   Week 121    6/21/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   22.21
1342   123   Week 123     7/5/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25    34.1
1342   124   Week 124    7/12/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   34.93
1342   125   Week 125    7/19/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   31.01
1342   126   Week 126    7/26/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   28.53
1342   127   Week 127     8/2/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   30.05
1342   128   Week 128     8/9/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   36.18
1342   129   Week 129    8/16/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   31.75
1342   130   Week 130    8/23/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   35.05
1342   131   Week 131    8/30/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   23.98
1342   132   Week 132     9/6/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   28.72
1342   133   Week 133    9/13/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   34.48
1342   134   Week 134    9/20/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   27.64
1342   135   Week 135    9/27/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   28.64
1342   136   Week 136    10/4/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   27.11
1342   137   Week 137   10/11/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   31.97
1342   138   Week 138   10/18/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   37.21
1342   139   Week 139   10/25/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   34.62
1342   140   Week 140    11/1/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   16.99
1342   141   Week 141    11/8/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   37.96
1342   142   Week 142   11/15/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.36    41.2
1342   143   Week 143   11/22/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   26.26
1342   144   Week 144   11/29/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25    29.2
1342   145   Week 145    12/6/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25   37.17
1342   146   Week 146   12/13/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.68   41.14
1342   147   Week 147   12/20/2015   Eastern   Scott Miller       62   CHU   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER   7.25    6.83
1342   229   Week 229    7/16/2017   Eastern   DO Jason Harmon   171   WNC   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER      9   17.84
1342   230   Week 230    7/23/2017   Eastern   DO Jason Harmon   171   WNC   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER      9   17.77
1342   231   Week 231    7/30/2017   Eastern   DO Jason Harmon   171   WNC   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER      9   14.68
1342   233   Week 233    8/13/2017   Eastern   DO Jason Harmon   171   WNC   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER      9    7.98
1342   235   Week 235    8/27/2017   Eastern   DO Jason Harmon   171   WNC   CHU576   54562   ALEX     DEGRASSI   ALEX DEGRASSI   DELIVERY DRIVER      9     5.2
1192   131   Week 131    8/30/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   17.36
1192   132   Week 132     9/6/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   14.73
1192   133   Week 133    9/13/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   22.81
1192   134   Week 134    9/20/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   21.21
1192   135   Week 135    9/27/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5    20.8
1192   136   Week 136    10/4/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   13.31
1192   137   Week 137   10/11/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5    20.3
1192   138   Week 138   10/18/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5    7.07
1192   139   Week 139   10/25/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   13.28
1192   140   Week 140    11/1/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   20.59
1192   141   Week 141    11/8/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5    1.58
1192   144   Week 144   11/29/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   12.92
1192   145   Week 145    12/6/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   29.94
1192   146   Week 146   12/13/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   28.48
1192   147   Week 147   12/20/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   15.31
1192   148   Week 148   12/27/2015   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   23.97
1192   149   Week 149     1/3/2016   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   35.67
1192   150   Week 150    1/10/2016   Eastern   Scott Miller       61   CHB   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5    6.18
1192   150   Week 150    1/10/2016   Eastern   Scott Miller       62   CHU   CHU583   57001   HARVYN   CRUZ       HARVYN CRUZ     DELIVERY DRIVER    7.5   17.05
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1192   151   Week 151    1/17/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   15.36
1192   152   Week 152    1/24/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   17.48
1192   153   Week 153    1/31/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   31.38
1192   154   Week 154     2/7/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   31.99
1192   155   Week 155    2/14/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   21.68
1192   156   Week 156    2/21/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5   29.13
1192   157   Week 157    2/28/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    7.5    22.4
1192   158   Week 158     3/6/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER      8    5.95
1192   159   Week 159    3/13/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER      8   26.19
1192   160   Week 160    3/20/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER   8.09   19.08
1192   161   Week 161    3/27/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    8.5   39.71
1192   162   Week 162     4/3/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    8.5   28.91
1192   163   Week 163    4/10/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    8.5   21.85
1192   164   Week 164    4/17/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    8.5    27.3
1192   165   Week 165    4/24/2016   Eastern    Scott Miller      62   CHU   CHU583    57001   HARVYN    CRUZ      HARVYN CRUZ      DELIVERY DRIVER    8.5   29.28
 998   191   Week 191   10/23/2016   Eastern    Scott Miller      62   CHU   CHU900    66318   BARNEY    CLAY JR   BARNEY CLAY JR   DELIVERY DRIVER      8    4.15
 998   192   Week 192   10/30/2016   Eastern    Scott Miller      62   CHU   CHU900    66318   BARNEY    CLAY JR   BARNEY CLAY JR   DELIVERY DRIVER   8.49   45.61
 998   193   Week 193    11/6/2016   Eastern    Scott Miller      62   CHU   CHU900    66318   BARNEY    CLAY JR   BARNEY CLAY JR   DELIVERY DRIVER      8   38.05
 998   194   Week 194   11/13/2016   Eastern    Scott Miller      62   CHU   CHU900    66318   BARNEY    CLAY JR   BARNEY CLAY JR   DELIVERY DRIVER      8   18.82
 998   195   Week 195   11/20/2016   Eastern    Scott Miller      62   CHU   CHU900    66318   BARNEY    CLAY JR   BARNEY CLAY JR   DELIVERY DRIVER      8   21.57
4788   104   Week 104    2/22/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   34.05
4788   105   Week 105     3/1/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9    38.1
4788   106   Week 106     3/8/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   36.82
4788   107   Week 107    3/15/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   29.85
4788   108   Week 108    3/22/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   39.97
4788   109   Week 109    3/29/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   37.34
4788   110   Week 110     4/5/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   35.78
4788   111   Week 111    4/12/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   38.25
4788   112   Week 112    4/19/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   35.87
4788   113   Week 113    4/26/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   37.84
4788   114   Week 114     5/3/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   39.14
4788   115   Week 115    5/10/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   38.71
4788   116   Week 116    5/17/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   30.51
4788   117   Week 117    5/24/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9    32.2
4788   118   Week 118    5/31/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER      9   37.22
4788   119   Week 119     6/7/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.19   30.64
4788   120   Week 120    6/14/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25    5.78
4788   121   Week 121    6/21/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   23.65
4788   122   Week 122    6/28/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   20.21
4788   123   Week 123     7/5/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   37.54
4788   124   Week 124    7/12/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   32.03
4788   125   Week 125    7/19/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   17.34
4788   126   Week 126    7/26/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   30.22
4788   127   Week 127     8/2/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   37.69
4788   128   Week 128     8/9/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   38.81
4788   129   Week 129    8/16/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.39   41.23
4788   130   Week 130    8/23/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   33.89
4788   131   Week 131    8/30/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   34.24
4788   132   Week 132     9/6/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   38.07
4788   133   Week 133    9/13/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   37.17
4788   134   Week 134    9/20/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   37.08
4788   135   Week 135    9/27/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25   34.27
4788   136   Week 136    10/4/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH     SUKHVIR SINGH    DELIVERY DRIVER   9.25    37.6
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4788   137   Week 137   10/11/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   38.17
4788   138   Week 138   10/18/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   39.48
4788   139   Week 139   10/25/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    27.7
4788   140   Week 140    11/1/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    37.2
4788   141   Week 141    11/8/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.41   41.45
4788   142   Week 142   11/15/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   34.14
4788   143   Week 143   11/22/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   24.02
4788   144   Week 144   11/29/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   34.94
4788   145   Week 145    12/6/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   36.18
4788   146   Week 146   12/13/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   35.24
4788   147   Week 147   12/20/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   23.62
4788   148   Week 148   12/27/2015   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   16.09
4788   149   Week 149     1/3/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   37.22
4788   150   Week 150    1/10/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   34.56
4788   151   Week 151    1/17/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    36.7
4788   152   Week 152    1/24/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   37.23
4788   153   Week 153    1/31/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   32.67
4788   154   Week 154     2/7/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.27   40.13
4788   155   Week 155    2/14/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    38.4
4788   156   Week 156    2/21/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   38.36
4788   157   Week 157    2/28/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   37.07
4788   158   Week 158     3/6/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   36.54
4788   159   Week 159    3/13/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   34.24
4788   160   Week 160    3/20/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   21.89
4788   161   Week 161    3/27/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   22.65
4788   162   Week 162     4/3/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    20.4
4788   163   Week 163    4/10/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   19.68
4788   164   Week 164    4/17/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   18.31
4788   165   Week 165    4/24/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   12.13
4788   166   Week 166     5/1/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    14.4
4788   167   Week 167     5/8/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   16.45
4788   168   Week 168    5/15/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   25.88
4788   169   Week 169    5/22/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    13.7
4788   170   Week 170    5/29/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    18.2
4788   171   Week 171     6/5/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   19.13
4788   172   Week 172    6/12/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   18.64
4788   173   Week 173    6/19/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   17.25
4788   174   Week 174    6/26/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   15.88
4788   175   Week 175     7/3/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   24.73
4788   176   Week 176    7/10/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   25.54
4788   177   Week 177    7/17/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   26.65
4788   178   Week 178    7/24/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25   25.51
4788   179   Week 179    7/31/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.25    38.2
4788   180   Week 180     8/7/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.55    42.8
4788   181   Week 181    8/14/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    9.89   39.84
4788   182   Week 182    8/21/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.48
4788   183   Week 183    8/28/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   36.79
4788   184   Week 184     9/4/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.04   40.34
4788   185   Week 185    9/11/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.82
4788   186   Week 186    9/18/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.19   40.71
4788   187   Week 187    9/25/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.18   41.53
4788   188   Week 188    10/2/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   40.02
4788   189   Week 189    10/9/2016   Southern   Mark Livingston   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.29   42.45
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4788   190   Week 190   10/16/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.11   40.93
4788   191   Week 191   10/23/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.21   41.79
4788   193   Week 193    11/6/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.95
4788   194   Week 194   11/13/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   38.24
4788   195   Week 195   11/20/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   15.52
4788   196   Week 196   11/27/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.25   42.14
4788   197   Week 197    12/4/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.32   42.73
4788   198   Week 198   12/11/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.81
4788   199   Week 199   12/18/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   28.64
4788   200   Week 200   12/25/2016   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   25.28
4788   201   Week 201     1/1/2017   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   36.62
4788   202   Week 202     1/8/2017   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.52
4788   203   Week 203    1/15/2017   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    10.3   42.56
4788   204   Week 204    1/22/2017   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.01   40.07
4788   205   Week 205    1/29/2017   Southern   Mark Livingston      36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   11.75
4788   205   Week 205    1/29/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.04   28.46
4788   206   Week 206     2/5/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.35   42.97
4788   207   Week 207    2/12/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.48   44.25
4788   208   Week 208    2/19/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.32    42.7
4788   209   Week 209    2/26/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER    10.1   40.84
4788   210   Week 210     3/5/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   38.06
4788   211   Week 211    3/12/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.84
4788   212   Week 212    3/19/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.04   40.33
4788   213   Week 213    3/26/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.16   41.29
4788   214   Week 214     4/2/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   37.13
4788   215   Week 215     4/9/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.21
4788   216   Week 216    4/16/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.28   42.34
4788   217   Week 217    4/23/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.17   41.37
4788   218   Week 218    4/30/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   36.42
4788   219   Week 219     5/7/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10      40
4788   220   Week 220    5/14/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   39.73
4788   221   Week 221    5/21/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   34.12
4788   222   Week 222    5/28/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10    18.2
4788   222   Week 222    5/28/2017   Southern   MP Southern Region   36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10    14.1
4788   223   Week 223     6/4/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10    5.88
4788   224   Week 224    6/11/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   34.69
4788   225   Week 225    6/18/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.75
4788   226   Week 226    6/25/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.24
4788   227   Week 227     7/2/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   29.55
4788   228   Week 228     7/9/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.75
4788   229   Week 229    7/16/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.95
4788   230   Week 230    7/23/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   38.02
4788   231   Week 231    7/30/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   37.61
4788   232   Week 232     8/6/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   35.83
4788   233   Week 233    8/13/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.56   45.06
4788   234   Week 234    8/20/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   33.08
4788   235   Week 235    8/27/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   22.93
4788   236   Week 236     9/3/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   31.22
4788   237   Week 237    9/10/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.03   40.26
4788   238   Week 238    9/17/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   34.64
4788   239   Week 239    9/24/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER      10   38.52
4788   240   Week 240    10/1/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.14   41.12
4788   241   Week 241    10/8/2017   Southern   DO Jay White         36   PAS   CLK352   821013   SUKHVIR   SINGH   SUKHVIR SINGH   DELIVERY DRIVER   10.26   42.15
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4788   242   Week 242   10/15/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   37.45
4788   243   Week 243   10/22/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.25   42.07
4788   244   Week 244   10/29/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   38.66
4788   245   Week 245    11/5/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.27   42.28
4788   246   Week 246   11/12/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.28   42.39
4788   247   Week 247   11/19/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   28.24
4788   248   Week 248   11/26/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.45   43.98
4788   249   Week 249    12/3/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.52   44.63
4788   250   Week 250   12/10/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   40.01
4788   251   Week 251   12/17/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.41   43.58
4788   252   Week 252   12/24/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   31.91
4788   253   Week 253   12/31/2017   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   37.77
4788   254   Week 254     1/7/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   39.36
4788   255   Week 255    1/14/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   37.94
4788   256   Week 256    1/21/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.09   40.77
4788   257   Week 257    1/28/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER    10.5   44.48
4788   258   Week 258     2/4/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.48   44.29
4788   259   Week 259    2/11/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.43   43.79
4788   260   Week 260    2/18/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.01   40.09
4788   261   Week 261    2/25/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10    38.5
4788   262   Week 262     3/4/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   38.51
4788   263   Week 263    3/11/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10   37.47
4788   264   Week 264    3/18/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.08   40.61
4788   265   Week 265    3/25/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.05   40.43
4788   266   Week 266     4/1/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER   10.22   41.84
4788   267   Week 267     4/8/2018   Southern   DO Jay White          36   PAS   CLK352   821013   SUKHVIR   SINGH      SUKHVIR SINGH     DELIVERY DRIVER      10     8.1
1522   101   Week 101     2/1/2015   Southern   Mark Livingston       31   CLK   CLK848    52036   Denton    Eckhardt   Denton Eckhardt   DELIVERY DRIVER    7.75   30.72
1522   102   Week 102     2/8/2015   Southern   Mark Livingston       31   CLK   CLK848    52036   Denton    Eckhardt   Denton Eckhardt   DELIVERY DRIVER    7.75   22.75
1698   201   Week 201     1/1/2017   Southern   Mark Livingston       31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5     8.3
1698   202   Week 202     1/8/2017   Southern   Mark Livingston       31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5      11
1698   202   Week 202     1/8/2017   Southern   Mark Livingston      167   BTN   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    5.28
1698   203   Week 203    1/15/2017   Southern   Mark Livingston       31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   22.71
1698   204   Week 204    1/22/2017   Southern   Mark Livingston       31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   22.18
1698   205   Week 205    1/29/2017   Southern   Mark Livingston       31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    9.51
1698   205   Week 205    1/29/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    7.98
1698   206   Week 206     2/5/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   23.17
1698   207   Week 207    2/12/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    20.3
1698   208   Week 208    2/19/2017   Southern   Mark Livingston      167   BTN   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    5.17
1698   208   Week 208    2/19/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   18.49
1698   209   Week 209    2/26/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   16.86
1698   210   Week 210     3/5/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    19.9
1698   211   Week 211    3/12/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   16.02
1698   212   Week 212    3/19/2017   Southern   Mark Livingston      167   BTN   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    4.32
1698   212   Week 212    3/19/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    20.9
1698   213   Week 213    3/26/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   19.85
1698   214   Week 214     4/2/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   16.63
1698   215   Week 215     4/9/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   16.33
1698   216   Week 216    4/16/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   16.29
1698   217   Week 217    4/23/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   20.38
1698   218   Week 218    4/30/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    21.4
1698   219   Week 219     5/7/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5    11.2
1698   220   Week 220    5/14/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   32.37
1698   221   Week 221    5/21/2017   Southern   MP Southern Region    31   CLK   CLK938    67146   JAKE      FLANAGAN   JAKE FLANAGAN     DELIVERY DRIVER     7.5   25.24
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1698   222   Week 222    5/28/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER   7.5   23.58
1698   222   Week 222    5/28/2017   Southern   MP Southern Region   31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER   7.5    5.77
1698   223   Week 223     6/4/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER   7.5   23.02
1698   224   Week 224    6/11/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER   7.5   26.63
1698   225   Week 225    6/18/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER   7.5   25.06
1698   226   Week 226    6/25/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   22.57
1698   227   Week 227     7/2/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   10.16
1698   228   Week 228     7/9/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   25.94
1698   229   Week 229    7/16/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   17.04
1698   230   Week 230    7/23/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   25.66
1698   231   Week 231    7/30/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   21.99
1698   232   Week 232     8/6/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   24.96
1698   233   Week 233    8/13/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   29.87
1698   234   Week 234    8/20/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   15.21
1698   235   Week 235    8/27/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   15.53
1698   236   Week 236     9/3/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   26.88
1698   237   Week 237    9/10/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   27.96
1698   238   Week 238    9/17/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   22.72
1698   239   Week 239    9/24/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   27.49
1698   240   Week 240    10/1/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   31.69
1698   241   Week 241    10/8/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   20.15
1698   242   Week 242   10/15/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   36.18
1698   243   Week 243   10/22/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   28.91
1698   244   Week 244   10/29/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   10.01
1698   253   Week 253   12/31/2017   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8      27
1698   254   Week 254     1/7/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   14.91
1698   255   Week 255    1/14/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   11.27
1698   256   Week 256    1/21/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   15.07
1698   257   Week 257    1/28/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8    7.59
1698   258   Week 258     2/4/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   19.43
1698   259   Week 259    2/11/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   24.53
1698   260   Week 260    2/18/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   20.07
1698   261   Week 261    2/25/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   33.29
1698   262   Week 262     3/4/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   19.14
1698   263   Week 263    3/11/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   16.42
1698   264   Week 264    3/18/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   20.97
1698   265   Week 265    3/25/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8    13.7
1698   266   Week 266     4/1/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8   16.69
1698   267   Week 267     4/8/2018   Southern   DO Jay White         31   CLK   CLK938   67146   JAKE     FLANAGAN   JAKE FLANAGAN   DELIVERY DRIVER     8    3.35
3672   249   Week 249    12/3/2017   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8    7.23
3672   250   Week 250   12/10/2017   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   16.68
3672   251   Week 251   12/17/2017   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8    7.09
3672   252   Week 252   12/24/2017   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8    7.21
3672   253   Week 253   12/31/2017   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8       3
3672   254   Week 254     1/7/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   15.86
3672   255   Week 255    1/14/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   12.87
3672   256   Week 256    1/21/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   21.42
3672   257   Week 257    1/28/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8    19.5
3672   258   Week 258     2/4/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   17.91
3672   259   Week 259    2/11/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   15.43
3672   260   Week 260    2/18/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   15.46
3672   261   Week 261    2/25/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   14.04
3672   262   Week 262     3/4/2018   Southern   DO Jay White         31   CLK   CLK959   74370   DANIEL   MORROW     DANIEL MORROW   DELIVERY DRIVER     8   15.67
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3672   263   Week 263    3/11/2018   Southern   DO Jay White      31   CLK   CLK959   74370   DANIEL    MORROW       DANIEL MORROW        DELIVERY DRIVER     8    7.43
3672   264   Week 264    3/18/2018   Southern   DO Jay White      31   CLK   CLK959   74370   DANIEL    MORROW       DANIEL MORROW        DELIVERY DRIVER     8   17.92
3672   265   Week 265    3/25/2018   Southern   DO Jay White      31   CLK   CLK959   74370   DANIEL    MORROW       DANIEL MORROW        DELIVERY DRIVER     8   12.68
3672   266   Week 266     4/1/2018   Southern   DO Jay White      31   CLK   CLK959   74370   DANIEL    MORROW       DANIEL MORROW        DELIVERY DRIVER     8   17.05
3672   267   Week 267     4/8/2018   Southern   DO Jay White      31   CLK   CLK959   74370   DANIEL    MORROW       DANIEL MORROW        DELIVERY DRIVER     8    3.25
2285   107   Week 107    3/15/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    3.53
2285   108   Week 108    3/22/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5       7
2285   109   Week 109    3/29/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    6.18
2285   110   Week 110     4/5/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    6.88
2285   111   Week 111    4/12/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    5.65
2285   112   Week 112    4/19/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    4.05
2285   113   Week 113    4/26/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    7.25
2285   114   Week 114     5/3/2015   Eastern    Nick Robertson   162   CNC   CNC133   40150   CLAIRE    HEALEY       CLAIRE HEALEY        DELIVERY DRIVER   8.5    5.48
5735   120   Week 120    6/14/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    3.35
5735   121   Week 121    6/21/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   11.75
5735   122   Week 122    6/28/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   13.28
5735   123   Week 123     7/5/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   22.39
5735   124   Week 124    7/12/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   33.95
5735   125   Week 125    7/19/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   22.35
5735   126   Week 126    7/26/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   24.83
5735   127   Week 127     8/2/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   22.81
5735   128   Week 128     8/9/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   24.03
5735   129   Week 129    8/16/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   17.48
5735   130   Week 130    8/23/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    7.35
5735   131   Week 131    8/30/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    7.33
5735   132   Week 132     9/6/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   13.68
5735   133   Week 133    9/13/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   13.59
5735   134   Week 134    9/20/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   13.43
5735   135   Week 135    9/27/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   15.49
5735   136   Week 136    10/4/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   19.02
5735   137   Week 137   10/11/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   11.13
5735   138   Week 138   10/18/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   14.38
5735   139   Week 139   10/25/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   14.51
5735   140   Week 140    11/1/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   14.16
5735   141   Week 141    11/8/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8     7.2
5735   142   Week 142   11/15/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    7.05
5735   143   Week 143   11/22/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    3.08
5735   144   Week 144   11/29/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    7.88
5735   145   Week 145    12/6/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   13.75
5735   146   Week 146   12/13/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   19.72
5735   147   Week 147   12/20/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8     4.6
5735   148   Week 148   12/27/2015   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    5.08
5735   149   Week 149     1/3/2016   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   11.02
5735   150   Week 150    1/10/2016   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   19.79
5735   151   Week 151    1/17/2016   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   12.17
5735   152   Week 152    1/24/2016   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8   12.28
5735   153   Week 153    1/31/2016   Eastern    Nick Robertson   162   CNC   CNC192   55676   MAX       WOLFE        MAX WOLFE            DELIVERY DRIVER     8    4.12
3224   155   Week 155    2/14/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9   18.34
3224   156   Week 156    2/21/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9   23.15
3224   157   Week 157    2/28/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9    7.03
3224   158   Week 158     3/6/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9   30.97
3224   159   Week 159    3/13/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9   35.34
3224   160   Week 160    3/20/2016   Eastern    Nick Robertson   162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER     9   17.62
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3224   161   Week 161    3/27/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9   19.31
3224   162   Week 162     4/3/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9   23.26
3224   163   Week 163    4/10/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9   27.27
3224   164   Week 164    4/17/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9      15
3224   165   Week 165    4/24/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9   26.46
3224   166   Week 166     5/1/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9   14.77
3224   167   Week 167     5/8/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9    4.65
3224   168   Week 168    5/15/2016   Eastern    Nick Robertson    162   CNC   CNC219   60742   MICHAEL   MARCHESANO   MICHAEL MARCHESANO   DELIVERY DRIVER       9    4.38
5462   229   Week 229    7/16/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER       9     1.1
5462   230   Week 230    7/23/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER       9   17.31
5462   231   Week 231    7/30/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER       9    36.5
5462   232   Week 232     8/6/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER       9   28.16
5462   233   Week 233    8/13/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER       9   34.73
5462   234   Week 234    8/20/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.15   33.87
5462   235   Week 235    8/27/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   37.57
5462   236   Week 236     9/3/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   29.81
5462   237   Week 237    9/10/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   38.25
5462   238   Week 238    9/17/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   37.51
5462   239   Week 239    9/24/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   39.93
5462   240   Week 240    10/1/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.44   41.74
5462   241   Week 241    10/8/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   38.48
5462   242   Week 242   10/15/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.34   40.81
5462   243   Week 243   10/22/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   39.93
5462   244   Week 244   10/29/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   37.94
5462   245   Week 245    11/5/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.25   39.96
5462   246   Week 246   11/12/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER    9.72   44.51
5462   247   Week 247   11/19/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER      10   29.27
5462   248   Week 248   11/26/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER   10.17   41.44
5462   249   Week 249    12/3/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER      10   39.88
5462   250   Week 250   12/10/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER      10   39.36
5462   251   Week 251   12/17/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER      10   39.78
5462   252   Week 252   12/24/2017   Eastern    DO Jason Harmon   162   CNC   CNC294   71332   GEORGE    WALKINE      GEORGE WALKINE       DELIVERY DRIVER      10    21.8
2810   157   Week 157    2/28/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5    7.04
2810   158   Week 158     3/6/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   30.75
2810   159   Week 159    3/13/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5    21.5
2810   160   Week 160    3/20/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   16.94
2810   161   Week 161    3/27/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   29.27
2810   162   Week 162     4/3/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   29.66
2810   163   Week 163    4/10/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   36.37
2810   164   Week 164    4/17/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   30.32
2810   165   Week 165    4/24/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   22.24
2810   166   Week 166     5/1/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   20.91
2810   167   Week 167     5/8/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   13.33
2810   168   Week 168    5/15/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5      23
2810   169   Week 169    5/22/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   23.53
2810   170   Week 170    5/29/2016   Southern   Mark Livingston     2   CNM   CNM780   61018   JEREMY    KEYS         JEREMY KEYS          DELIVERY DRIVER     7.5   21.77
3208   105   Week 105     3/1/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   17.96
3208   106   Week 106     3/8/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   28.73
3208   107   Week 107    3/15/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   21.57
3208   108   Week 108    3/22/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   35.57
3208   109   Week 109    3/29/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   17.49
3208   109   Week 109    3/29/2015   Southern   Gene Leal          52   JNS   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25    2.55
3208   110   Week 110     4/5/2015   Southern   Gene Leal          43   COP   COP745   51314   JOHNIE    MANES        JOHNIE MANES         DELIVERY DRIVER    7.25   20.12
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3208   111   Week 111    4/12/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   32.35
3208   112   Week 112    4/19/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   16.01
3208   113   Week 113    4/26/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   32.92
3208   114   Week 114     5/3/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   22.99
3208   115   Week 115    5/10/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   35.11
3208   116   Week 116    5/17/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   19.75
3208   117   Week 117    5/24/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   23.18
3208   118   Week 118    5/31/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   27.68
3208   119   Week 119     6/7/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   23.22
3208   120   Week 120    6/14/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25    13.2
3208   121   Week 121    6/21/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25   19.57
3208   122   Week 122    6/28/2015   Southern   Gene Leal       43   COP   COP745   51314   JOHNIE   MANES   JOHNIE MANES   DELIVERY DRIVER   7.25    2.98
5590   105   Week 105     3/1/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    6.92
5590   106   Week 106     3/8/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    8.06
5590   107   Week 107    3/15/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    8.09
5590   111   Week 111    4/12/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    2.97
5590   112   Week 112    4/19/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    0.33
5590   113   Week 113    4/26/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    5.32
5590   114   Week 114     5/3/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    0.93
5590   115   Week 115    5/10/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    6.22
5590   116   Week 116    5/17/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   18.63
5590   117   Week 117    5/24/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   19.33
5590   118   Week 118    5/31/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   21.51
5590   119   Week 119     6/7/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   21.33
5590   120   Week 120    6/14/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   13.61
5590   121   Week 121    6/21/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   13.84
5590   122   Week 122    6/28/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9     6.9
5590   123   Week 123     7/5/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   14.08
5590   124   Week 124    7/12/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   15.96
5590   125   Week 125    7/19/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   20.91
5590   126   Week 126    7/26/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   16.43
5590   127   Week 127     8/2/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   22.76
5590   128   Week 128     8/9/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   23.91
5590   129   Week 129    8/16/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    16.2
5590   130   Week 130    8/23/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   15.69
5590   131   Week 131    8/30/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    7.92
5590   132   Week 132     9/6/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    14.6
5590   133   Week 133    9/13/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   18.19
5590   134   Week 134    9/20/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    17.9
5590   135   Week 135    9/27/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   24.25
5590   136   Week 136    10/4/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    6.21
5590   137   Week 137   10/11/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   17.65
5590   138   Week 138   10/18/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    19.4
5590   139   Week 139   10/25/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   22.26
5590   140   Week 140    11/1/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    22.5
5590   141   Week 141    11/8/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   29.97
5590   142   Week 142   11/15/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    20.9
5590   143   Week 143   11/22/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    2.78
5590   144   Week 144   11/29/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   20.03
5590   145   Week 145    12/6/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   13.09
5590   146   Week 146   12/13/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9   11.89
5590   148   Week 148   12/27/2015   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9     4.9
5590   149   Week 149     1/3/2016   Eastern    Scott Miller   163   CSC   CSC234   36000   ELLEN    WHITE   ELLEN WHITE    DELIVERY DRIVER      9    8.58
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5590   150   Week 150    1/10/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    19.7
5590   151   Week 151    1/17/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.28
5590   152   Week 152    1/24/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   17.18
5590   153   Week 153    1/31/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    15.4
5590   154   Week 154     2/7/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   20.29
5590   155   Week 155    2/14/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   20.74
5590   156   Week 156    2/21/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   21.37
5590   157   Week 157    2/28/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    24.2
5590   158   Week 158     3/6/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.98
5590   159   Week 159    3/13/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.84
5590   160   Week 160    3/20/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.12
5590   161   Week 161    3/27/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   15.12
5590   162   Week 162     4/3/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.36
5590   163   Week 163    4/10/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.88
5590   164   Week 164    4/17/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    15.5
5590   165   Week 165    4/24/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   13.39
5590   166   Week 166     5/1/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   21.25
5590   167   Week 167     5/8/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   16.07
5590   168   Week 168    5/15/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.74
5590   169   Week 169    5/22/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   17.27
5590   170   Week 170    5/29/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.74
5590   171   Week 171     6/5/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.87
5590   172   Week 172    6/12/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   19.41
5590   173   Week 173    6/19/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   15.11
5590   174   Week 174    6/26/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   11.86
5590   175   Week 175     7/3/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   17.47
5590   176   Week 176    7/10/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.26
5590   177   Week 177    7/17/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   21.87
5590   178   Week 178    7/24/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   21.88
5590   179   Week 179    7/31/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   23.68
5590   180   Week 180     8/7/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   13.99
5590   181   Week 181    8/14/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   27.58
5590   182   Week 182    8/21/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   23.39
5590   183   Week 183    8/28/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   13.73
5590   184   Week 184     9/4/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   38.65
5590   185   Week 185    9/11/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   25.18
5590   186   Week 186    9/18/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   33.97
5590   187   Week 187    9/25/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   23.37
5590   188   Week 188    10/2/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   16.54
5590   190   Week 190   10/16/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   32.84
5590   191   Week 191   10/23/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.62
5590   192   Week 192   10/30/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   22.21
5590   193   Week 193    11/6/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9      22
5590   194   Week 194   11/13/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.26
5590   195   Week 195   11/20/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    5.18
5590   196   Week 196   11/27/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   14.68
5590   197   Week 197    12/4/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.82
5590   198   Week 198   12/11/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.11
5590   200   Week 200   12/25/2016   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    3.77
5590   201   Week 201     1/1/2017   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    15.7
5590   202   Week 202     1/8/2017   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.05
5590   203   Week 203    1/15/2017   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.28
5590   204   Week 204    1/22/2017   Eastern   Scott Miller   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   22.24
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5590   205   Week 205    1/29/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    8.34
5590   205   Week 205    1/29/2017   Eastern   Scott Miller      163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    5.98
5590   206   Week 206     2/5/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   15.18
5590   207   Week 207    2/12/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    5.86
5590   208   Week 208    2/19/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   16.89
5590   209   Week 209    2/26/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    21.1
5590   210   Week 210     3/5/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   17.79
5590   211   Week 211    3/12/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   16.82
5590   212   Week 212    3/19/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   18.55
5590   213   Week 213    3/26/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   11.32
5590   214   Week 214     4/2/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   10.33
5590   215   Week 215     4/9/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   13.57
5590   216   Week 216    4/16/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   10.72
5590   217   Week 217    4/23/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   11.33
5590   218   Week 218    4/30/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.68
5590   219   Week 219     5/7/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9     6.8
5590   220   Week 220    5/14/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    9.56
5590   221   Week 221    5/21/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    9.62
5590   222   Week 222    5/28/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   12.71
5590   222   Week 222    5/28/2017   Eastern   Don Shirley       163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    7.74
5590   223   Week 223     6/4/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   16.02
5590   224   Week 224    6/11/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   27.44
5590   225   Week 225    6/18/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   33.25
5590   226   Week 226    6/25/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   30.18
5590   227   Week 227     7/2/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   11.02
5590   228   Week 228     7/9/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   27.53
5590   229   Week 229    7/16/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   36.21
5590   230   Week 230    7/23/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.14
5590   231   Week 231    7/30/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.51
5590   232   Week 232     8/6/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   36.09
5590   233   Week 233    8/13/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   36.38
5590   234   Week 234    8/20/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   29.81
5590   235   Week 235    8/27/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.41
5590   236   Week 236     9/3/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   23.17
5590   237   Week 237    9/10/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9      25
5590   238   Week 238    9/17/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   28.93
5590   239   Week 239    9/24/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    20.3
5590   240   Week 240    10/1/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   19.23
5590   241   Week 241    10/8/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   28.04
5590   242   Week 242   10/15/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.17
5590   243   Week 243   10/22/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.98
5590   244   Week 244   10/29/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   26.17
5590   245   Week 245    11/5/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   27.13
5590   246   Week 246   11/12/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    24.6
5590   247   Week 247   11/19/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9     4.6
5590   248   Week 248   11/26/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   23.83
5590   249   Week 249    12/3/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   21.31
5590   250   Week 250   12/10/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   24.84
5590   251   Week 251   12/17/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    9.14
5590   252   Week 252   12/24/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    4.53
5590   253   Week 253   12/31/2017   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   15.33
5590   254   Week 254     1/7/2018   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9    7.99
5590   255   Week 255    1/14/2018   Eastern   DO Will Schmidt   163   CSC   CSC234   36000   ELLEN   WHITE   ELLEN WHITE   DELIVERY DRIVER   9   17.58
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5590   256   Week 256    1/21/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   15.17
5590   257   Week 257    1/28/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   18.85
5590   258   Week 258     2/4/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9    14.7
5590   259   Week 259    2/11/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9    20.2
5590   260   Week 260    2/18/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   16.65
5590   261   Week 261    2/25/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9    17.5
5590   262   Week 262     3/4/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9    22.4
5590   263   Week 263    3/11/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9    20.8
5590   264   Week 264    3/18/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   19.54
5590   265   Week 265    3/25/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   16.55
5590   266   Week 266     4/1/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9   26.25
5590   267   Week 267     4/8/2018   Eastern    DO Will Schmidt   163   CSC   CSC234   36000   ELLEN    WHITE      ELLEN WHITE     DELIVERY DRIVER     9     7.5
  54   197   Week 197    12/4/2016   Eastern    Scott Miller      163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    5.48
  54   198   Week 198   12/11/2016   Eastern    Scott Miller      163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    5.57
  54   203   Week 203    1/15/2017   Eastern    Scott Miller      163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    7.75
  54   204   Week 204    1/22/2017   Eastern    Scott Miller      163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   21.34
  54   205   Week 205    1/29/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   15.11
  54   205   Week 205    1/29/2017   Eastern    Scott Miller      163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8     3.7
  54   206   Week 206     2/5/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   11.93
  54   207   Week 207    2/12/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   18.02
  54   208   Week 208    2/19/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    15.1
  54   209   Week 209    2/26/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    3.55
  54   210   Week 210     3/5/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   11.66
  54   211   Week 211    3/12/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8      21
  54   212   Week 212    3/19/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    4.05
  54   213   Week 213    3/26/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    7.86
  54   214   Week 214     4/2/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8   11.59
  54   215   Week 215     4/9/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    7.82
  54   216   Week 216    4/16/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    6.87
  54   217   Week 217    4/23/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    8.87
  54   218   Week 218    4/30/2017   Eastern    Don Shirley       163   CSC   CSC879   36174   HUNTER   ADKINS     HUNTER ADKINS   DELIVERY DRIVER     8    9.17
4162   218   Week 218    4/30/2017   Eastern    Don Shirley       163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5     9.4
4162   219   Week 219     5/7/2017   Eastern    Don Shirley       163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   23.67
4162   220   Week 220    5/14/2017   Eastern    Don Shirley       163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5    24.4
4162   221   Week 221    5/21/2017   Eastern    Don Shirley       163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   13.95
4162   222   Week 222    5/28/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   20.91
4162   222   Week 222    5/28/2017   Eastern    Don Shirley       163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5     4.5
4162   223   Week 223     6/4/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5    15.4
4162   224   Week 224    6/11/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5       9
4162   225   Week 225    6/18/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   25.74
4162   226   Week 226    6/25/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   21.07
4162   227   Week 227     7/2/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   10.41
4162   228   Week 228     7/9/2017   Eastern    DO Will Schmidt   163   CSC   CSC900   36196   TANNER   POWELL     TANNER POWELL   DELIVERY DRIVER   7.5   11.76
4181   183   Week 183    8/28/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5    8.56
4181   184   Week 184     9/4/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   38.93
4181   185   Week 185    9/11/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   39.52
4181   186   Week 186    9/18/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   34.74
4181   187   Week 187    9/25/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5      36
4181   188   Week 188    10/2/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   21.19
4181   189   Week 189    10/9/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   25.12
4181   190   Week 190   10/16/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   21.73
4181   191   Week 191   10/23/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   17.09
4181   192   Week 192   10/30/2016   Southern   Gene Leal         189   CTX   CTX108   65418   DARA     PREUSSER   DARA PREUSSER   DELIVERY DRIVER   8.5   19.57
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4181   193   Week 193    11/6/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER   9.08   38.59
4181   194   Week 194   11/13/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   33.66
4181   195   Week 195   11/20/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   15.27
4181   196   Week 196   11/27/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   32.88
4181   197   Week 197    12/4/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   34.52
4181   198   Week 198   12/11/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   39.59
4181   199   Week 199   12/18/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   17.01
4181   200   Week 200   12/25/2016   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   20.37
4181   201   Week 201     1/1/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   32.87
4181   202   Week 202     1/8/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   37.66
4181   203   Week 203    1/15/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   22.08
4181   204   Week 204    1/22/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   29.84
4181   205   Week 205    1/29/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   32.92
4181   206   Week 206     2/5/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    28.2
4181   207   Week 207    2/12/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    25.7
4181   208   Week 208    2/19/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   33.88
4181   209   Week 209    2/26/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   30.55
4181   210   Week 210     3/5/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   36.26
4181   211   Week 211    3/12/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   22.46
4181   212   Week 212    3/19/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    32.7
4181   213   Week 213    3/26/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   28.41
4181   214   Week 214     4/2/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   20.75
4181   215   Week 215     4/9/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   14.33
4181   216   Week 216    4/16/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   23.94
4181   217   Week 217    4/23/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5     6.1
4181   218   Week 218    4/30/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   30.11
4181   219   Week 219     5/7/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   29.34
4181   220   Week 220    5/14/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5      29
4181   221   Week 221    5/21/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   21.93
4181   222   Week 222    5/28/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   19.23
4181   222   Week 222    5/28/2017   Southern   Gene Leal          189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   11.31
4181   223   Week 223     6/4/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   26.54
4181   224   Week 224    6/11/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   33.33
4181   225   Week 225    6/18/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    9.38
4181   226   Week 226    6/25/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   28.31
4181   227   Week 227     7/2/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   27.54
4181   228   Week 228     7/9/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   30.89
4181   229   Week 229    7/16/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   28.45
4181   230   Week 230    7/23/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   29.19
4181   231   Week 231    7/30/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   24.05
4181   232   Week 232     8/6/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   33.07
4181   233   Week 233    8/13/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   33.16
4181   234   Week 234    8/20/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   21.07
4181   235   Week 235    8/27/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    28.3
4181   236   Week 236     9/3/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   29.97
4181   237   Week 237    9/10/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   25.05
4181   238   Week 238    9/17/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    28.9
4181   239   Week 239    9/24/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   18.81
4181   240   Week 240    10/1/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    33.4
4181   241   Week 241    10/8/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.8   42.69
4181   242   Week 242   10/15/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   19.98
4181   243   Week 243   10/22/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5   26.43
4181   244   Week 244   10/29/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA   PREUSSER   DARA PREUSSER   DELIVERY DRIVER    9.5    32.7
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4181   245   Week 245    11/5/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA       PREUSSER     DARA PREUSSER            DELIVERY DRIVER    9.5   37.52
4181   246   Week 246   11/12/2017   Southern   DO Travis Bryant   189   CTX   CTX108   65418   DARA       PREUSSER     DARA PREUSSER            DELIVERY DRIVER    9.5    8.25
 463   186   Week 186    9/18/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    4.78
 463   187   Week 187    9/25/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   21.94
 463   188   Week 188    10/2/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   25.89
 463   189   Week 189    10/9/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   19.03
 463   190   Week 190   10/16/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    15.4
 463   191   Week 191   10/23/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   13.98
 463   192   Week 192   10/30/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   16.37
 463   193   Week 193    11/6/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    9.52
 463   194   Week 194   11/13/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    12.6
 463   195   Week 195   11/20/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    3.27
 463   196   Week 196   11/27/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    6.82
 463   197   Week 197    12/4/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    3.55
 463   198   Week 198   12/11/2016   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    3.33
 463   205   Week 205    1/29/2017   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    3.07
 463   206   Week 206     2/5/2017   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5   18.01
 463   207   Week 207    2/12/2017   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    2.88
 463   208   Week 208    2/19/2017   Southern   Gene Leal          189   CTX   CTX113   65747   BRITTANY   BISHOP       BRITTANY BISHOP          DELIVERY DRIVER    8.5    9.33
 665   228   Week 228     7/9/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    3.58
 665   229   Week 229    7/16/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    8.73
 665   230   Week 230    7/23/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25   16.12
 665   231   Week 231    7/30/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    8.34
 665   232   Week 232     8/6/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    20.2
 665   233   Week 233    8/13/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    14.3
 665   234   Week 234    8/20/2017   Southern   DO Kelly Finley     26   DAF   DAF597   71242   SCOTT      BROWN        SCOTT BROWN              DELIVERY DRIVER   7.25    9.82
1887   102   Week 102     2/8/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   18.27
1887   103   Week 103    2/15/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    13.1
1887   104   Week 104    2/22/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   20.72
1887   105   Week 105     3/1/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   15.05
1887   106   Week 106     3/8/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   12.72
1887   107   Week 107    3/15/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   14.49
1887   108   Week 108    3/22/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    9.12
1887   109   Week 109    3/29/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   11.81
1887   110   Week 110     4/5/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   16.17
1887   111   Week 111    4/12/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   16.54
1887   112   Week 112    4/19/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   10.59
1887   113   Week 113    4/26/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    17.4
1887   114   Week 114     5/3/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    9.32
1887   115   Week 115    5/10/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5   12.33
1887   116   Week 116    5/17/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    9.27
1887   117   Week 117    5/24/2015   Western    Michael Gibson      14   DAL   DAL491   39278   DANIIL     GASIN        DANIIL GASIN             DELIVERY DRIVER    7.5    6.68
3318   102   Week 102     2/8/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   24.84
3318   103   Week 103    2/15/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8    38.8
3318   104   Week 104    2/22/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   26.26
3318   105   Week 105     3/1/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   21.99
3318   106   Week 106     3/8/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8    27.2
3318   107   Week 107    3/15/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   36.74
3318   108   Week 108    3/22/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   30.67
3318   109   Week 109    3/29/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   33.05
3318   110   Week 110     4/5/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   38.52
3318   111   Week 111    4/12/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8   37.61
3318   112   Week 112    4/19/2015   Northern   Bruce Brown        138   DCF   DCF340   46792   MICHAEL    MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER      8      36
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3318   113   Week 113    4/26/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   38.15
3318   114   Week 114     5/3/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.03
3318   115   Week 115    5/10/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.62
3318   116   Week 116    5/17/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   33.82
3318   117   Week 117    5/24/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8      18
3318   118   Week 118    5/31/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.77
3318   119   Week 119     6/7/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   32.44
3318   120   Week 120    6/14/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   30.53
3318   121   Week 121    6/21/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.69
3318   122   Week 122    6/28/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   21.89
3318   123   Week 123     7/5/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   30.62
3318   124   Week 124    7/12/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.56
3318   125   Week 125    7/19/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.86
3318   126   Week 126    7/26/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   29.69
3318   127   Week 127     8/2/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   25.11
3318   128   Week 128     8/9/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   17.58
3318   129   Week 129    8/16/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   19.53
3318   130   Week 130    8/23/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   32.25
3318   131   Week 131    8/30/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   20.52
3318   132   Week 132     9/6/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.03
3318   133   Week 133    9/13/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8    27.3
3318   134   Week 134    9/20/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   36.89
3318   135   Week 135    9/27/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   16.21
3318   136   Week 136    10/4/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   20.02
3318   137   Week 137   10/11/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.33
3318   138   Week 138   10/18/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8    25.4
3318   139   Week 139   10/25/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.85
3318   140   Week 140    11/1/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8      27
3318   141   Week 141    11/8/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   29.11
3318   142   Week 142   11/15/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   25.19
3318   143   Week 143   11/22/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8    7.79
3318   144   Week 144   11/29/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   15.63
3318   145   Week 145    12/6/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   27.57
3318   146   Week 146   12/13/2015   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   12.55
3318   156   Week 156    2/21/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.34
3318   157   Week 157    2/28/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   27.43
3318   158   Week 158     3/6/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   27.13
3318   159   Week 159    3/13/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.47
3318   160   Week 160    3/20/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   20.45
3318   161   Week 161    3/27/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   26.42
3318   162   Week 162     4/3/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.88
3318   163   Week 163    4/10/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8      27
3318   164   Week 164    4/17/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   22.84
3318   165   Week 165    4/24/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   28.53
3318   166   Week 166     5/1/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8    25.8
3318   167   Week 167     5/8/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   24.55
3318   168   Week 168    5/15/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   25.26
3318   169   Week 169    5/22/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   20.38
3318   170   Week 170    5/29/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   23.79
3318   171   Week 171     6/5/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   20.67
3318   172   Week 172    6/12/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   22.18
3318   173   Week 173    6/19/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   23.86
3318   174   Week 174    6/26/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER   8   15.67
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3318   175   Week 175     7/3/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8     2.8
3318   176   Week 176    7/10/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   20.29
3318   177   Week 177    7/17/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   27.46
3318   178   Week 178    7/24/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   28.81
3318   179   Week 179    7/31/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   17.53
3318   180   Week 180     8/7/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   23.47
3318   181   Week 181    8/14/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   23.03
3318   182   Week 182    8/21/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   34.46
3318   183   Week 183    8/28/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   30.47
3318   184   Week 184     9/4/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   23.33
3318   185   Week 185    9/11/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   28.91
3318   186   Week 186    9/18/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   26.73
3318   187   Week 187    9/25/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   24.66
3318   188   Week 188    10/2/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   34.59
3318   189   Week 189    10/9/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   24.05
3318   190   Week 190   10/16/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    23.3
3318   191   Week 191   10/23/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   22.17
3318   192   Week 192   10/30/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   27.74
3318   193   Week 193    11/6/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8      28
3318   194   Week 194   11/13/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   26.77
3318   195   Week 195   11/20/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    16.7
3318   196   Week 196   11/27/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   23.58
3318   197   Week 197    12/4/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   22.15
3318   198   Week 198   12/11/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   17.13
3318   199   Week 199   12/18/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    3.22
3318   200   Week 200   12/25/2016   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   19.36
3318   201   Week 201     1/1/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   12.61
3318   202   Week 202     1/8/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   15.39
3318   203   Week 203    1/15/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    9.36
3318   204   Week 204    1/22/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   18.37
3318   205   Week 205    1/29/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   18.41
3318   206   Week 206     2/5/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    16.9
3318   207   Week 207    2/12/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   14.97
3318   208   Week 208    2/19/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    18.5
3318   209   Week 209    2/26/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   25.35
3318   210   Week 210     3/5/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    26.9
3318   211   Week 211    3/12/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   17.79
3318   212   Week 212    3/19/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8    25.3
3318   213   Week 213    3/26/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   22.12
3318   214   Week 214     4/2/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   25.53
3318   215   Week 215     4/9/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   17.41
3318   216   Week 216    4/16/2017   Northern   Bruce Brown   138   DCF   DCF340   46792   MICHAEL   MAYFIELD‐BROWMICHAEL MAYFIELD‐BROWN   DELIVERY DRIVER     8   17.99
 103   135   Week 135    9/27/2015   Northern   Bruce Brown   141   DCT   DCT315   57940   Corey     Allen        Corey Allen              DELIVERY DRIVER   8.5    9.67
 103   136   Week 136    10/4/2015   Northern   Bruce Brown   141   DCT   DCT315   57940   Corey     Allen        Corey Allen              DELIVERY DRIVER   8.5   30.85
 103   137   Week 137   10/11/2015   Northern   Bruce Brown   141   DCT   DCT315   57940   Corey     Allen        Corey Allen              DELIVERY DRIVER   8.5   17.84
 103   138   Week 138   10/18/2015   Northern   Bruce Brown   141   DCT   DCT315   57940   Corey     Allen        Corey Allen              DELIVERY DRIVER   8.5      29
 103   139   Week 139   10/25/2015   Northern   Bruce Brown   141   DCT   DCT315   57940   Corey     Allen        Corey Allen              DELIVERY DRIVER   8.5   18.55
 332   157   Week 157    2/28/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9    8.22
 332   158   Week 158     3/6/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9   14.62
 332   159   Week 159    3/13/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9    3.42
 332   160   Week 160    3/20/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9   11.71
 332   161   Week 161    3/27/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9    12.4
 332   163   Week 163    4/10/2016   Northern   Bruce Brown   141   DCT   DCT330   61019   SEAN      BARR         SEAN BARR                DELIVERY DRIVER     9     9.5
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 332   164   Week 164    4/17/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   15.39
 332   165   Week 165    4/24/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   14.13
 332   166   Week 166     5/1/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    16.2
 332   167   Week 167     5/8/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   18.79
 332   168   Week 168    5/15/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   15.16
 332   169   Week 169    5/22/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   11.52
 332   170   Week 170    5/29/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   15.82
 332   171   Week 171     6/5/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   12.02
 332   172   Week 172    6/12/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   11.45
 332   173   Week 173    6/19/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   15.98
 332   174   Week 174    6/26/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    3.43
 332   175   Week 175     7/3/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   15.78
 332   176   Week 176    7/10/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   11.81
 332   177   Week 177    7/17/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   12.42
 332   178   Week 178    7/24/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9     5.9
 332   179   Week 179    7/31/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   11.37
 332   180   Week 180     8/7/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   14.24
 332   181   Week 181    8/14/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    9.65
 332   182   Week 182    8/21/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   12.75
 332   183   Week 183    8/28/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   12.39
 332   184   Week 184     9/4/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    8.94
 332   185   Week 185    9/11/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9   10.21
 332   186   Week 186    9/18/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    7.29
 332   187   Week 187    9/25/2016   Northern   Bruce Brown       141   DCT   DCT330    61019   SEAN      BARR      SEAN BARR        DELIVERY DRIVER      9    9.16
 749   198   Week 198   12/11/2016   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   11.63
 749   199   Week 199   12/18/2016   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   10.57
 749   200   Week 200   12/25/2016   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   16.88
 749   201   Week 201     1/1/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   17.95
 749   202   Week 202     1/8/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   15.83
 749   203   Week 203    1/15/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   27.03
 749   204   Week 204    1/22/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   13.99
 749   205   Week 205    1/29/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   10.08
 749   206   Week 206     2/5/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   15.22
 749   207   Week 207    2/12/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5    11.4
 749   208   Week 208    2/19/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   10.13
 749   209   Week 209    2/26/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5    9.45
 749   210   Week 210     3/5/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   13.51
 749   211   Week 211    3/12/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5    9.83
 749   212   Week 212    3/19/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   13.55
 749   213   Week 213    3/26/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   13.36
 749   214   Week 214     4/2/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   14.99
 749   215   Week 215     4/9/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   11.73
 749   216   Week 216    4/16/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   14.44
 749   217   Week 217    4/23/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   11.29
 749   218   Week 218    4/30/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5   13.86
 749   219   Week 219     5/7/2017   Northern   Bruce Brown       141   DCT   DCT392    66945   RAFAEL    CABRERA   RAFAEL CABRERA   DELIVERY DRIVER    8.5    6.65
4128   108   Week 108    3/22/2015   Western    Clint McPhail     119   PHB   DMI9934   32127   TRAVIS    POLICE    TRAVIS POLICE    DELIVERY DRIVER   8.05    13.5
4128   109   Week 109    3/29/2015   Western    Clint McPhail     119   PHB   DMI9934   32127   TRAVIS    POLICE    TRAVIS POLICE    DELIVERY DRIVER   8.05    5.98
4128   110   Week 110     4/5/2015   Western    Clint McPhail     119   PHB   DMI9934   32127   TRAVIS    POLICE    TRAVIS POLICE    DELIVERY DRIVER   8.05   10.25
4128   111   Week 111    4/12/2015   Western    Clint McPhail     119   PHB   DMI9934   32127   TRAVIS    POLICE    TRAVIS POLICE    DELIVERY DRIVER   8.05    2.97
2143   198   Week 198   12/11/2016   Southern   Mark Livingston     4   DOW   DOW1053   67087   ANTHONY   HALEY     ANTHONY HALEY    DELIVERY DRIVER   7.75   16.75
2143   199   Week 199   12/18/2016   Southern   Mark Livingston     4   DOW   DOW1053   67087   ANTHONY   HALEY     ANTHONY HALEY    DELIVERY DRIVER      8    8.03
2143   203   Week 203    1/15/2017   Southern   Mark Livingston     4   DOW   DOW1053   67087   ANTHONY   HALEY     ANTHONY HALEY    DELIVERY DRIVER      8    2.15
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2143   207   Week 207    2/12/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8   19.99
2143   208   Week 208    2/19/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8    14.4
2143   209   Week 209    2/26/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8   26.98
2143   210   Week 210     3/5/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8   30.28
2143   211   Week 211    3/12/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8    9.54
2143   212   Week 212    3/19/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8   24.82
2143   213   Week 213    3/26/2017   Southern   Mark Livingston   4   DOW   DOW1053   67087   ANTHONY   HALEY      ANTHONY HALEY      DELIVERY DRIVER      8    4.95
4725   103   Week 103    2/15/2015   Southern   Mark Livingston   4   DOW   DOW272    39920   DERRICK   SHEPEARD   DERRICK SHEPEARD   DELIVERY DRIVER     13    3.42
4725   105   Week 105     3/1/2015   Southern   Mark Livingston   4   DOW   DOW272    39920   DERRICK   SHEPEARD   DERRICK SHEPEARD   DELIVERY DRIVER     13    3.35
4725   106   Week 106     3/8/2015   Southern   Mark Livingston   4   DOW   DOW272    39920   DERRICK   SHEPEARD   DERRICK SHEPEARD   DELIVERY DRIVER     13   10.32
3106   133   Week 133    9/13/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.25    11.3
3106   134   Week 134    9/20/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.25   24.67
3106   135   Week 135    9/27/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.25   31.64
3106   136   Week 136    10/4/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   32.15
3106   137   Week 137   10/11/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.76   39.94
3106   138   Week 138   10/18/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    37.8
3106   139   Week 139   10/25/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   30.53
3106   140   Week 140    11/1/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   27.29
3106   141   Week 141    11/8/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75     6.9
3106   142   Week 142   11/15/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   34.81
3106   143   Week 143   11/22/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   28.84
3106   144   Week 144   11/29/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    26.3
3106   145   Week 145    12/6/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   38.71
3106   146   Week 146   12/13/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   24.75
3106   148   Week 148   12/27/2015   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   16.93
3106   149   Week 149     1/3/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   13.33
3106   150   Week 150    1/10/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   21.43
3106   151   Week 151    1/17/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   19.24
3106   152   Week 152    1/24/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   24.33
3106   153   Week 153    1/31/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    16.6
3106   154   Week 154     2/7/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   14.62
3106   155   Week 155    2/14/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   20.12
3106   156   Week 156    2/21/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   16.23
3106   157   Week 157    2/28/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   12.91
3106   158   Week 158     3/6/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   22.67
3106   159   Week 159    3/13/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    9.03
3106   160   Week 160    3/20/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    8.45
3106   161   Week 161    3/27/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    6.31
3106   162   Week 162     4/3/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    6.53
3106   163   Week 163    4/10/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    5.17
3106   165   Week 165    4/24/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    12.1
3106   166   Week 166     5/1/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   11.16
3106   167   Week 167     5/8/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   13.31
3106   168   Week 168    5/15/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   20.83
3106   169   Week 169    5/22/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    3.87
3106   170   Week 170    5/29/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   16.45
3106   171   Week 171     6/5/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   23.39
3106   173   Week 173    6/19/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   18.15
3106   174   Week 174    6/26/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   23.43
3106   175   Week 175     7/3/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   25.21
3106   176   Week 176    7/10/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   32.68
3106   177   Week 177    7/17/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   26.63
3106   178   Week 178    7/24/2016   Southern   Mark Livingston   4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   10.74
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3106   179   Week 179    7/31/2016   Southern   Mark Livingston     4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75   23.42
3106   180   Week 180     8/7/2016   Southern   Mark Livingston     4   DOW   DOW941    57574   JACOB     LOMONTE    JACOB LOMONTE      DELIVERY DRIVER   8.75    9.75
2536   117   Week 117    5/24/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   12.02
2536   118   Week 118    5/31/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   24.93
2536   119   Week 119     6/7/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   27.35
2536   120   Week 120    6/14/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   16.11
2536   121   Week 121    6/21/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   23.09
2536   122   Week 122    6/28/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    14.6
2536   123   Week 123     7/5/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   10.75
2536   124   Week 124    7/12/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   16.04
2536   125   Week 125    7/19/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   19.65
2536   126   Week 126    7/26/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   18.09
2536   127   Week 127     8/2/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   26.73
2536   128   Week 128     8/9/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   22.44
2536   129   Week 129    8/16/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   18.05
2536   130   Week 130    8/23/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   12.54
2536   131   Week 131    8/30/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    11.6
2536   132   Week 132     9/6/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   12.75
2536   133   Week 133    9/13/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   17.45
2536   134   Week 134    9/20/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    16.9
2536   135   Week 135    9/27/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    17.8
2536   136   Week 136    10/4/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    12.1
2536   137   Week 137   10/11/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   17.22
2536   138   Week 138   10/18/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   18.22
2536   139   Week 139   10/25/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   17.29
2536   140   Week 140    11/1/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   10.86
2536   141   Week 141    11/8/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    19.9
2536   142   Week 142   11/15/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   15.57
2536   143   Week 143   11/22/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    4.27
2536   144   Week 144   11/29/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   13.27
2536   145   Week 145    12/6/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    9.83
2536   146   Week 146   12/13/2015   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   11.12
2536   149   Week 149     1/3/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    8.82
2536   150   Week 150    1/10/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   12.51
2536   151   Week 151    1/17/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   16.95
2536   152   Week 152    1/24/2016   Southern   Noel Luna          60   DTH   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    3.48
2536   152   Week 152    1/24/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8     4.3
2536   153   Week 153    1/31/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   15.33
2536   154   Week 154     2/7/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   21.69
2536   155   Week 155    2/14/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   19.05
2536   156   Week 156    2/21/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   17.73
2536   157   Week 157    2/28/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   21.57
2536   158   Week 158     3/6/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    9.27
2536   159   Week 159    3/13/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    9.08
2536   160   Week 160    3/20/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    18.8
2536   161   Week 161    3/27/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   12.86
2536   162   Week 162     4/3/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8     6.1
2536   173   Week 173    6/19/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    6.62
2536   174   Week 174    6/26/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    4.71
2536   175   Week 175     7/3/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    3.83
2536   176   Week 176    7/10/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8   10.55
2536   177   Week 177    7/17/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    7.04
2536   178   Week 178    7/24/2016   Southern   Noel Luna         117   DT2   DT2001   776659   DERRICK   HUTCHING   DERRICK HUTCHING   DELIVERY DRIVER      8    3.47
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2536   179   Week 179    7/31/2016   Southern   Noel Luna           117   DT2   DT2001   776659   DERRICK     HUTCHING   DERRICK HUTCHING    DELIVERY DRIVER      8    7.03
2536   180   Week 180     8/7/2016   Southern   Noel Luna           117   DT2   DT2001   776659   DERRICK     HUTCHING   DERRICK HUTCHING    DELIVERY DRIVER      8    8.01
2536   181   Week 181    8/14/2016   Southern   Noel Luna           117   DT2   DT2001   776659   DERRICK     HUTCHING   DERRICK HUTCHING    DELIVERY DRIVER      8    9.28
2536   185   Week 185    9/11/2016   Southern   Noel Luna           117   DT2   DT2001   776659   DERRICK     HUTCHING   DERRICK HUTCHING    DELIVERY DRIVER      8    1.68
2536   186   Week 186    9/18/2016   Southern   Noel Luna           117   DT2   DT2001   776659   DERRICK     HUTCHING   DERRICK HUTCHING    DELIVERY DRIVER      8    4.62
4165   108   Week 108    3/22/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    27.6
4165   109   Week 109    3/29/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   26.48
4165   110   Week 110     4/5/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   25.54
4165   111   Week 111    4/12/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   26.73
4165   112   Week 112    4/19/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    30.8
4165   113   Week 113    4/26/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   23.08
4165   114   Week 114     5/3/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   25.32
4165   115   Week 115    5/10/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   26.64
4165   116   Week 116    5/17/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   21.95
4165   117   Week 117    5/24/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   28.12
4165   118   Week 118    5/31/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    29.2
4165   119   Week 119     6/7/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   31.87
4165   120   Week 120    6/14/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   27.14
4165   121   Week 121    6/21/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   25.86
4165   122   Week 122    6/28/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   21.65
4165   123   Week 123     7/5/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   36.69
4165   124   Week 124    7/12/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   18.67
4165   125   Week 125    7/19/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   29.66
4165   126   Week 126    7/26/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   27.11
4165   127   Week 127     8/2/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   21.12
4165   128   Week 128     8/9/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   32.98
4165   129   Week 129    8/16/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   22.03
4165   130   Week 130    8/23/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   32.93
4165   131   Week 131    8/30/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   22.07
4165   132   Week 132     9/6/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   21.43
4165   133   Week 133    9/13/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    5.62
4165   134   Week 134    9/20/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   33.12
4165   135   Week 135    9/27/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   33.38
4165   136   Week 136    10/4/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    31.4
4165   137   Week 137   10/11/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   32.72
4165   138   Week 138   10/18/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8    34.2
4165   139   Week 139   10/25/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   38.97
4165   140   Week 140    11/1/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER   8.09   40.97
4165   141   Week 141    11/8/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   39.11
4165   142   Week 142   11/15/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   38.41
4165   143   Week 143   11/22/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   24.72
4165   144   Week 144   11/29/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER   8.07   40.76
4165   145   Week 145    12/6/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      8   39.58
4165   146   Week 146   12/13/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER   8.03   40.33
4165   147   Week 147   12/20/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER   8.67   26.46
4165   148   Week 148   12/27/2015   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9   27.65
4165   149   Week 149     1/3/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER   9.13   41.15
4165   150   Week 150    1/10/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9    37.1
4165   151   Week 151    1/17/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9   39.12
4165   152   Week 152    1/24/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9   38.33
4165   153   Week 153    1/31/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9   38.84
4165   154   Week 154     2/7/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER    9.8   45.21
4165   155   Week 155    2/14/2016   Western    MP Western Region   135   DTD   DTD125    47592   GYANENDRA   PRADHAN    GYANENDRA PRADHAN   DELIVERY DRIVER      9   36.78
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4165   156   Week 156    2/21/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.22   42.02
4165   157   Week 157    2/28/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.38   43.72
4165   158   Week 158     3/6/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.15   41.38
4165   159   Week 159    3/13/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   36.44
4165   160   Week 160    3/20/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   36.65
4165   161   Week 161    3/27/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.29   42.77
4165   162   Week 162     4/3/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   37.13
4165   163   Week 163    4/10/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9    39.2
4165   164   Week 164    4/17/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.11
4165   165   Week 165    4/24/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.27
4165   166   Week 166     5/1/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   37.39
4165   167   Week 167     5/8/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.37
4165   168   Week 168    5/15/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.91
4165   169   Week 169    5/22/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   25.21
4165   170   Week 170    5/29/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   36.14
4165   171   Week 171     6/5/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   38.48
4165   172   Week 172    6/12/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   35.96
4165   173   Week 173    6/19/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   36.67
4165   174   Week 174    6/26/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   31.44
4165   175   Week 175     7/3/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.76
4165   176   Week 176    7/10/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.08   40.71
4165   177   Week 177    7/17/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.12   41.11
4165   178   Week 178    7/24/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.07   40.65
4165   179   Week 179    7/31/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9      37
4165   180   Week 180     8/7/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.19   41.73
4165   181   Week 181    8/14/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9    3.73
4165   182   Week 182    8/21/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   38.11
4165   183   Week 183    8/28/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   32.38
4165   184   Week 184     9/4/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.03   40.24
4165   185   Week 185    9/11/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   37.53
4165   186   Week 186    9/18/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9    9.82
4165   187   Week 187    9/25/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   10.12   53.25
4165   188   Week 188    10/2/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   37.13
4165   189   Week 189    10/9/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.19   41.72
4165   190   Week 190   10/16/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.45
4165   191   Week 191   10/23/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.01
4165   192   Week 192   10/30/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.01   40.13
4165   193   Week 193    11/6/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.07   40.64
4165   194   Week 194   11/13/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   39.38
4165   195   Week 195   11/20/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER       9   19.76
4165   196   Week 196   11/27/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.03   40.31
4165   197   Week 197    12/4/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.46   43.57
4165   198   Week 198   12/11/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.83
4165   199   Week 199   12/18/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   22.28
4165   200   Week 200   12/25/2016   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5    28.5
4165   201   Week 201     1/1/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   32.02
4165   202   Week 202     1/8/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5      37
4165   203   Week 203    1/15/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.82
4165   204   Week 204    1/22/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.89    43.6
4165   205   Week 205    1/29/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.46
4165   206   Week 206     2/5/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    10.3   42.81
4165   207   Week 207    2/12/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   36.34
4165   208   Week 208    2/19/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.93
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4165   209   Week 209    2/26/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.67   41.45
4165   210   Week 210     3/5/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.25
4165   211   Week 211    3/12/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   28.88
4165   212   Week 212    3/19/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.15
4165   213   Week 213    3/26/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.31
4165   214   Week 214     4/2/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   35.25
4165   215   Week 215     4/9/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.02
4165   216   Week 216    4/16/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   37.77
4165   217   Week 217    4/23/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   36.28
4165   218   Week 218    4/30/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   34.04
4165   219   Week 219     5/7/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.32
4165   220   Week 220    5/14/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   35.84
4165   221   Week 221    5/21/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   28.68
4165   222   Week 222    5/28/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   19.52
4165   222   Week 222    5/28/2017   Western   MP Western Region   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   15.46
4165   223   Week 223     6/4/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.55   40.39
4165   224   Week 224    6/11/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.11
4165   225   Week 225    6/18/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   35.86
4165   226   Week 226    6/25/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   30.34
4165   227   Week 227     7/2/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   29.17
4165   228   Week 228     7/9/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   36.73
4165   229   Week 229    7/16/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   35.15
4165   230   Week 230    7/23/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   36.06
4165   231   Week 231    7/30/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   34.05
4165   232   Week 232     8/6/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   35.56
4165   233   Week 233    8/13/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.59   40.77
4165   234   Week 234    8/20/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.26
4165   235   Week 235    8/27/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5    29.3
4165   236   Week 236     9/3/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.82   42.87
4165   237   Week 237    9/10/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   37.17
4165   238   Week 238    9/17/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.27
4165   239   Week 239    9/24/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.28
4165   240   Week 240    10/1/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5    36.1
4165   241   Week 241    10/8/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.55   40.42
4165   242   Week 242   10/15/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   38.02
4165   243   Week 243   10/22/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.52    40.2
4165   244   Week 244   10/29/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.79   42.58
4165   245   Week 245    11/5/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.79   42.61
4165   246   Week 246   11/12/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.7   41.75
4165   247   Week 247   11/19/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   29.52
4165   248   Week 248   11/26/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   36.62
4165   249   Week 249    12/3/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.37
4165   250   Week 250   12/10/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.59   40.79
4165   251   Week 251   12/17/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   33.95
4165   253   Week 253   12/31/2017   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.57
4165   254   Week 254     1/7/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.79   38.37
4165   255   Week 255    1/14/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.99   44.57
4165   256   Week 256    1/21/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   10.08   39.22
4165   257   Week 257    1/28/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.66
4165   258   Week 258     2/4/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   39.52
4165   259   Week 259    2/11/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   34.95
4165   260   Week 260    2/18/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER    9.69   41.63
4165   261   Week 261    2/25/2018   Western   DO Mike McCown      135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER     9.5   37.57
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4165   262   Week 262     3/4/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5   39.03
4165   263   Week 263    3/11/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5   36.96
4165   264   Week 264    3/18/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5   36.37
4165   265   Week 265    3/25/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5   37.79
4165   266   Week 266     4/1/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5   35.54
4165   267   Week 267     4/8/2018   Western    DO Mike McCown   135   DTD   DTD125   47592   GYANENDRA   PRADHAN   GYANENDRA PRADHAN   DELIVERY DRIVER   9.5    7.85
5848   134   Week 134    9/20/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5     7.3
5848   135   Week 135    9/27/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5   15.35
5848   136   Week 136    10/4/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5      13
5848   137   Week 137   10/11/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5    2.25
5848   138   Week 138   10/18/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5   15.31
5848   139   Week 139   10/25/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5   16.78
5848   140   Week 140    11/1/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5    3.92
5848   141   Week 141    11/8/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5   13.23
5848   142   Week 142   11/15/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5   13.53
5848   143   Week 143   11/22/2015   Southern   Noel Luna         60   DTH   DTH425   57712   MEWAEL      ZERU      MEWAEL ZERU         DELIVERY DRIVER   7.5     4.4
 641   102   Week 102     2/8/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   7.5     6.1
 641   103   Week 103    2/15/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   7.5      15
 641   104   Week 104    2/22/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   7.5    5.47
 641   105   Week 105     3/1/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   7.5   20.19
 641   106   Week 106     3/8/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    20.8
 641   107   Week 107    3/15/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9     9.9
 641   108   Week 108    3/22/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   20.54
 641   109   Week 109    3/29/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    2.82
 641   110   Week 110     4/5/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   20.68
 641   111   Week 111    4/12/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    9.84
 641   112   Week 112    4/19/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   12.12
 641   113   Week 113    4/26/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9       6
 641   114   Week 114     5/3/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    7.11
 641   115   Week 115    5/10/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    2.75
 641   117   Week 117    5/24/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9     9.7
 641   119   Week 119     6/7/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    5.79
 641   121   Week 121    6/21/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    6.45
 641   122   Week 122    6/28/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    5.47
 641   123   Week 123     7/5/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    9.68
 641   124   Week 124    7/12/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    3.18
 641   127   Week 127     8/2/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   29.07
 641   128   Week 128     8/9/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   13.14
 641   129   Week 129    8/16/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   11.28
 641   130   Week 130    8/23/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   17.22
 641   132   Week 132     9/6/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    8.29
 641   134   Week 134    9/20/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    8.08
 641   135   Week 135    9/27/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    4.95
 641   136   Week 136    10/4/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   18.64
 641   137   Week 137   10/11/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    5.02
 641   138   Week 138   10/18/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   22.88
 641   139   Week 139   10/25/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    6.58
 641   140   Week 140    11/1/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9   12.46
 641   142   Week 142   11/15/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    3.35
 641   143   Week 143   11/22/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER     9    0.05
 641   144   Week 144   11/29/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   10     0.15
 641   147   Week 147   12/20/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   10     1.07
 641   148   Week 148   12/27/2015   Eastern    Nick Robertson    68   DUN   DUN694   51670   HERMESHA    BROWN     HERMESHA BROWN      DELIVERY DRIVER   10     0.43
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 641   149   Week 149     1/3/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10   13.26
 641   150   Week 150    1/10/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10    4.68
 641   152   Week 152    1/24/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10   14.81
 641   153   Week 153    1/31/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10   20.19
 641   154   Week 154     2/7/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10   18.58
 641   155   Week 155    2/14/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10     7.1
 641   156   Week 156    2/21/2016   Eastern   Nick Robertson     68   DUN   DUN694    51670   HERMESHA   BROWN      HERMESHA BROWN     DELIVERY DRIVER     10    12.3
5816   130   Week 130    8/23/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    6.94
5816   131   Week 131    8/30/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    8.42
5816   132   Week 132     9/6/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    22.4
5816   133   Week 133    9/13/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   22.91
5816   134   Week 134    9/20/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    21.9
5816   135   Week 135    9/27/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   16.26
5816   136   Week 136    10/4/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   21.68
5816   137   Week 137   10/11/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   22.49
5816   138   Week 138   10/18/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    8.07
5816   139   Week 139   10/25/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   13.96
5816   140   Week 140    11/1/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   20.81
5816   141   Week 141    11/8/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   15.56
5816   142   Week 142   11/15/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   12.63
5816   143   Week 143   11/22/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8    4.28
5816   144   Week 144   11/29/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8      12
5816   145   Week 145    12/6/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   17.75
5816   146   Week 146   12/13/2015   Eastern   Nick Robertson     68   DUN   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER      8   11.23
5816   153   Week 153    1/31/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   21.23
5816   154   Week 154     2/7/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75    17.6
5816   155   Week 155    2/14/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   26.97
5816   156   Week 156    2/21/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   26.02
5816   157   Week 157    2/28/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   27.84
5816   158   Week 158     3/6/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75      21
5816   159   Week 159    3/13/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   20.91
5816   160   Week 160    3/20/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75    19.8
5816   161   Week 161    3/27/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   21.95
5816   162   Week 162     4/3/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   25.09
5816   163   Week 163    4/10/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   25.33
5816   164   Week 164    4/17/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   19.14
5816   165   Week 165    4/24/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   17.42
5816   166   Week 166     5/1/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75    15.5
5816   167   Week 167     5/8/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75   14.72
5816   168   Week 168    5/15/2016   Eastern   Nick Robertson      7   RSF   DUN706    56858   MARNIKKA   YOUNG      MARNIKKA YOUNG     DELIVERY DRIVER   7.75    9.16
4959   149   Week 149     1/3/2016   Eastern   Nick Robertson     68   DUN   DUN711    59209   JEFFREY    STEPHENS   JEFFREY STEPHENS   DELIVERY DRIVER      8    6.93
 311   177   Week 177    7/17/2016   Eastern   Nick Robertson     68   DUN   DUN732    64238   LATEEYAH   BARBEE     LATEEYAH BARBEE    DELIVERY DRIVER      8    7.05
 311   178   Week 178    7/24/2016   Eastern   Nick Robertson     68   DUN   DUN732    64238   LATEEYAH   BARBEE     LATEEYAH BARBEE    DELIVERY DRIVER      8   25.42
 311   179   Week 179    7/31/2016   Eastern   Nick Robertson     68   DUN   DUN732    64238   LATEEYAH   BARBEE     LATEEYAH BARBEE    DELIVERY DRIVER      8    3.53
2246   250   Week 250   12/10/2017   Eastern   DO Jason Harmon    68   DUN   DUN783    74397   ANGELA     HARRISON   ANGELA HARRISON    DELIVERY DRIVER    9.5     4.4
2246   251   Week 251   12/17/2017   Eastern   DO Jason Harmon    68   DUN   DUN783    74397   ANGELA     HARRISON   ANGELA HARRISON    DELIVERY DRIVER    9.5       6
2246   252   Week 252   12/24/2017   Eastern   DO Jason Harmon    68   DUN   DUN783    74397   ANGELA     HARRISON   ANGELA HARRISON    DELIVERY DRIVER    9.5    6.33
 438   102   Week 102     2/8/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5   15.48
 438   103   Week 103    2/15/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5    13.9
 438   104   Week 104    2/22/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5   17.96
 438   105   Week 105     3/1/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5   18.07
 438   106   Week 106     3/8/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5   15.11
 438   107   Week 107    3/15/2015   Eastern   Don Shirley       100   FLM   FLM576   324653   BENJAMIN   BERNIER    BENJAMIN BERNIER   DELIVERY DRIVER    9.5    12.9
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438   108   Week 108    3/22/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.33
438   109   Week 109    3/29/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.45
438   110   Week 110     4/5/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   20.78
438   111   Week 111    4/12/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.72
438   112   Week 112    4/19/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   21.72
438   113   Week 113    4/26/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   21.93
438   114   Week 114     5/3/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.38
438   115   Week 115    5/10/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    5.62
438   116   Week 116    5/17/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.72
438   117   Week 117    5/24/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.54
438   118   Week 118    5/31/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   24.84
438   119   Week 119     6/7/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.97
438   120   Week 120    6/14/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.37
438   121   Week 121    6/21/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   11.39
438   122   Week 122    6/28/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.67
438   123   Week 123     7/5/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   22.21
438   124   Week 124    7/12/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.75
438   125   Week 125    7/19/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.42
438   126   Week 126    7/26/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   17.28
438   127   Week 127     8/2/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   21.06
438   128   Week 128     8/9/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   20.74
438   129   Week 129    8/16/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   17.74
438   130   Week 130    8/23/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.56
438   131   Week 131    8/30/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.97
438   132   Week 132     9/6/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   13.67
438   133   Week 133    9/13/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.45
438   134   Week 134    9/20/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   17.82
438   135   Week 135    9/27/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.15
438   136   Week 136    10/4/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.42
438   137   Week 137   10/11/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   20.91
438   138   Week 138   10/18/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   19.63
438   139   Week 139   10/25/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.66
438   140   Week 140    11/1/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    18.5
438   141   Week 141    11/8/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    4.12
438   142   Week 142   11/15/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.76
438   143   Week 143   11/22/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5     9.4
438   144   Week 144   11/29/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   21.67
438   145   Week 145    12/6/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   17.62
438   146   Week 146   12/13/2015   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.23
438   149   Week 149     1/3/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.13
438   150   Week 150    1/10/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   18.41
438   151   Week 151    1/17/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.93
438   152   Week 152    1/24/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.14
438   153   Week 153    1/31/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.72
438   154   Week 154     2/7/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   16.82
438   155   Week 155    2/14/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.38
438   156   Week 156    2/21/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.85
438   157   Week 157    2/28/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.86
438   158   Week 158     3/6/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.33
438   159   Week 159    3/13/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.72
438   160   Week 160    3/20/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    2.78
438   161   Week 161    3/27/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.84
438   162   Week 162     4/3/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    7.91
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438   164   Week 164    4/17/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.65
438   165   Week 165    4/24/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    16.7
438   166   Week 166     5/1/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.25
438   167   Week 167     5/8/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    3.02
438   168   Week 168    5/15/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.42
438   169   Week 169    5/22/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    4.97
438   170   Week 170    5/29/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.41
438   171   Week 171     6/5/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   18.79
438   172   Week 172    6/12/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.55
438   173   Week 173    6/19/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    3.72
438   174   Week 174    6/26/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   11.06
438   175   Week 175     7/3/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    4.93
438   176   Week 176    7/10/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.24
438   177   Week 177    7/17/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   14.82
438   178   Week 178    7/24/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.43
438   179   Week 179    7/31/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    3.67
438   180   Week 180     8/7/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.85
438   181   Week 181    8/14/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.78
438   182   Week 182    8/21/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   13.72
438   183   Week 183    8/28/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.98
438   184   Week 184     9/4/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.28
438   185   Week 185    9/11/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    4.83
438   186   Week 186    9/18/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    10.9
438   187   Week 187    9/25/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    6.89
438   188   Week 188    10/2/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    3.43
438   189   Week 189    10/9/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5     8.7
438   190   Week 190   10/16/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.64
438   191   Week 191   10/23/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    10.7
438   192   Week 192   10/30/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   13.08
438   193   Week 193    11/6/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    6.61
438   194   Week 194   11/13/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    3.22
438   196   Week 196   11/27/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.12
438   197   Week 197    12/4/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    8.08
438   198   Week 198   12/11/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.74
438   199   Week 199   12/18/2016   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    5.72
438   202   Week 202     1/8/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5     8.1
438   203   Week 203    1/15/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   11.67
438   204   Week 204    1/22/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.48
438   205   Week 205    1/29/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.22
438   206   Week 206     2/5/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   12.85
438   207   Week 207    2/12/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   11.18
438   208   Week 208    2/19/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.13
438   209   Week 209    2/26/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5     7.1
438   210   Week 210     3/5/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    13.5
438   211   Week 211    3/12/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    13.5
438   212   Week 212    3/19/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    13.5
438   213   Week 213    3/26/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   15.24
438   214   Week 214     4/2/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   11.02
438   215   Week 215     4/9/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    7.75
438   216   Week 216    4/16/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    7.48
438   217   Week 217    4/23/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5   10.78
438   218   Week 218    4/30/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    11.8
438   219   Week 219     5/7/2017   Eastern   Don Shirley   100   FLM   FLM576   324653   BENJAMIN   BERNIER   BENJAMIN BERNIER   DELIVERY DRIVER   9.5    9.55
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 158   101   Week 101     2/1/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8    13.5
 158   102   Week 102     2/8/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   26.06
 158   103   Week 103    2/15/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   15.74
 158   104   Week 104    2/22/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   16.96
 158   105   Week 105     3/1/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   34.76
 158   106   Week 106     3/8/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   32.27
 158   107   Week 107    3/15/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   32.38
 158   108   Week 108    3/22/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8    29.1
 158   109   Week 109    3/29/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   23.58
 158   110   Week 110     4/5/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8      28
 158   111   Week 111    4/12/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   21.55
 158   112   Week 112    4/19/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   23.16
 158   113   Week 113    4/26/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8   29.62
 158   114   Week 114     5/3/2015   Eastern   Nick Robertson      131   FNC   FNC380   51408   MELISSA   ANDERSON   MELISSA ANDERSON   DELIVERY DRIVER     8    0.25
2617   187   Week 187    9/25/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   10.16
2617   188   Week 188    10/2/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    28.7
2617   189   Week 189    10/9/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   25.82
2617   190   Week 190   10/16/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   31.37
2617   191   Week 191   10/23/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   24.72
2617   192   Week 192   10/30/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   28.94
2617   193   Week 193    11/6/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    21.8
2617   194   Week 194   11/13/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   22.66
2617   195   Week 195   11/20/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    5.67
2617   196   Week 196   11/27/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   22.57
2617   197   Week 197    12/4/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    18.9
2617   198   Week 198   12/11/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   25.18
2617   199   Week 199   12/18/2016   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    6.19
2617   201   Week 201     1/1/2017   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   23.27
2617   202   Week 202     1/8/2017   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    13.7
2617   203   Week 203    1/15/2017   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   19.37
2617   204   Week 204    1/22/2017   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   18.32
2617   205   Week 205    1/29/2017   Eastern   Nick Robertson      131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    4.57
2617   205   Week 205    1/29/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8     9.6
2617   206   Week 206     2/5/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   21.88
2617   207   Week 207    2/12/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   30.88
2617   208   Week 208    2/19/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   23.07
2617   209   Week 209    2/26/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   18.46
2617   210   Week 210     3/5/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   21.41
2617   211   Week 211    3/12/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   22.54
2617   212   Week 212    3/19/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   25.82
2617   213   Week 213    3/26/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    25.4
2617   214   Week 214     4/2/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   16.56
2617   215   Week 215     4/9/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    5.13
2617   216   Week 216    4/16/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8   19.65
2617   217   Week 217    4/23/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    9.84
2617   218   Week 218    4/30/2017   Eastern   Scott Miller        131   FNC   FNC427   65750   JOHN      JEKEL      JOHN JEKEL         DELIVERY DRIVER     8    8.08
4506   234   Week 234    8/20/2017   Eastern   DO Jason Harmon     131   FNC   FNC460   72170   JILL      ROSS       JILL ROSS          DELIVERY DRIVER     8    0.07
4506   235   Week 235    8/27/2017   Eastern   DO Jason Harmon     131   FNC   FNC460   72170   JILL      ROSS       JILL ROSS          DELIVERY DRIVER     8    4.38
4506   236   Week 236     9/3/2017   Eastern   DO Jason Harmon     131   FNC   FNC460   72170   JILL      ROSS       JILL ROSS          DELIVERY DRIVER     8   15.13
1848   104   Week 104    2/22/2015   Western   MP Western Region    42   FRK   FRK560   52425   ERIC      GARCIA     ERIC GARCIA        DELIVERY DRIVER   7.5   25.71
1848   105   Week 105     3/1/2015   Western   MP Western Region    42   FRK   FRK560   52425   ERIC      GARCIA     ERIC GARCIA        DELIVERY DRIVER   7.5   26.06
1848   106   Week 106     3/8/2015   Western   MP Western Region    42   FRK   FRK560   52425   ERIC      GARCIA     ERIC GARCIA        DELIVERY DRIVER   7.5   23.41
1848   107   Week 107    3/15/2015   Western   MP Western Region    42   FRK   FRK560   52425   ERIC      GARCIA     ERIC GARCIA        DELIVERY DRIVER   7.5   22.12
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1848   108   Week 108    3/22/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   25.25
1848   109   Week 109    3/29/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.38
1848   110   Week 110     4/5/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   23.85
1848   111   Week 111    4/12/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.83
1848   112   Week 112    4/19/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   24.75
1848   113   Week 113    4/26/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   13.61
1848   114   Week 114     5/3/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    20.1
1848   115   Week 115    5/10/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   25.77
1848   116   Week 116    5/17/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.74
1848   117   Week 117    5/24/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    21.7
1848   118   Week 118    5/31/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   24.26
1848   119   Week 119     6/7/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   24.98
1848   120   Week 120    6/14/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   30.17
1848   121   Week 121    6/21/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    22.1
1848   122   Week 122    6/28/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   19.59
1848   123   Week 123     7/5/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   22.24
1848   124   Week 124    7/12/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   20.48
1848   125   Week 125    7/19/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.31
1848   126   Week 126    7/26/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    27.3
1848   127   Week 127     8/2/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   16.67
1848   128   Week 128     8/9/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5     9.8
1848   129   Week 129    8/16/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    19.6
1848   130   Week 130    8/23/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    19.8
1848   131   Week 131    8/30/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    8.95
1848   132   Week 132     9/6/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    14.8
1848   133   Week 133    9/13/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   12.53
1848   134   Week 134    9/20/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.75
1848   135   Week 135    9/27/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.95
1848   136   Week 136    10/4/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   13.49
1848   137   Week 137   10/11/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   19.08
1848   138   Week 138   10/18/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   15.22
1848   139   Week 139   10/25/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    8.96
1848   140   Week 140    11/1/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    8.58
1848   141   Week 141    11/8/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   16.46
1848   142   Week 142   11/15/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   15.22
1848   143   Week 143   11/22/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5    8.52
1848   144   Week 144   11/29/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   34.58
1848   145   Week 145    12/6/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   32.76
1848   146   Week 146   12/13/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   25.03
1848   147   Week 147   12/20/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   12.13
1848   148   Week 148   12/27/2015   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   14.54
1848   149   Week 149     1/3/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   34.53
1848   150   Week 150    1/10/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   29.91
1848   151   Week 151    1/17/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   30.96
1848   152   Week 152    1/24/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   31.23
1848   153   Week 153    1/31/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   26.75
1848   154   Week 154     2/7/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   29.54
1848   155   Week 155    2/14/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   31.28
1848   156   Week 156    2/21/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   18.78
1848   157   Week 157    2/28/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   17.99
1848   158   Week 158     3/6/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   23.31
1848   159   Week 159    3/13/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   24.98
1848   160   Week 160    3/20/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA   ERIC GARCIA   DELIVERY DRIVER   7.5   17.66
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1848   161   Week 161    3/27/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   26.58
1848   162   Week 162     4/3/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   25.09
1848   163   Week 163    4/10/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   30.19
1848   164   Week 164    4/17/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   31.92
1848   165   Week 165    4/24/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5    20.8
1848   166   Week 166     5/1/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5    22.7
1848   167   Week 167     5/8/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   16.44
1848   168   Week 168    5/15/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   15.75
1848   169   Week 169    5/22/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   19.24
1848   170   Week 170    5/29/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   17.26
1848   171   Week 171     6/5/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   13.35
1848   172   Week 172    6/12/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   28.41
1848   173   Week 173    6/19/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   21.61
1848   174   Week 174    6/26/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   21.82
1848   175   Week 175     7/3/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   24.65
1848   176   Week 176    7/10/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   23.83
1848   177   Week 177    7/17/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5    20.1
1848   178   Week 178    7/24/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   18.05
1848   179   Week 179    7/31/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER    7.5   14.09
1848   180   Week 180     8/7/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER   7.62   25.59
1848   181   Week 181    8/14/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   22.72
1848   182   Week 182    8/21/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   30.95
1848   183   Week 183    8/28/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   22.58
1848   184   Week 184     9/4/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   12.12
1848   185   Week 185    9/11/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8    34.9
1848   186   Week 186    9/18/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   30.86
1848   187   Week 187    9/25/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   23.13
1848   188   Week 188    10/2/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   26.08
1848   189   Week 189    10/9/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8    33.8
1848   190   Week 190   10/16/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   39.51
1848   191   Week 191   10/23/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   28.79
1848   192   Week 192   10/30/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   33.44
1848   193   Week 193    11/6/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   15.49
1848   194   Week 194   11/13/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8   15.71
1848   195   Week 195   11/20/2016   Western   MP Western Region   42   FRK   FRK560   52425   ERIC   GARCIA      ERIC GARCIA      DELIVERY DRIVER      8    1.08
1954   141   Week 141    11/8/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER      8   10.57
1954   142   Week 142   11/15/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER      8    19.2
1954   143   Week 143   11/22/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER      8   13.12
1954   144   Week 144   11/29/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER      8   20.49
1954   145   Week 145    12/6/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER      8   28.83
1954   146   Week 146   12/13/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.79
1954   147   Week 147   12/20/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   29.72
1954   148   Week 148   12/27/2015   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   30.63
1954   149   Week 149     1/3/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.83
1954   150   Week 150    1/10/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.29
1954   151   Week 151    1/17/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   38.16
1954   152   Week 152    1/24/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    38.4
1954   153   Week 153    1/31/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   38.94
1954   154   Week 154     2/7/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.36
1954   155   Week 155    2/14/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.82
1954   156   Week 156    2/21/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.57   40.66
1954   157   Week 157    2/28/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.92
1954   158   Week 158     3/6/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.51   40.12
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1954   159   Week 159    3/13/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   32.78
1954   160   Week 160    3/20/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   38.18
1954   161   Week 161    3/27/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.56   40.61
1954   162   Week 162     4/3/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.95
1954   163   Week 163    4/10/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.89
1954   164   Week 164    4/17/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.72   42.16
1954   165   Week 165    4/24/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   38.05
1954   166   Week 166     5/1/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   37.78
1954   167   Week 167     5/8/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.56
1954   168   Week 168    5/15/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5      40
1954   169   Week 169    5/22/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   24.88
1954   170   Week 170    5/29/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   38.37
1954   171   Week 171     6/5/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   39.47
1954   172   Week 172    6/12/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   32.18
1954   173   Week 173    6/19/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   31.32
1954   174   Week 174    6/26/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   27.87
1954   175   Week 175     7/3/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   37.18
1954   176   Week 176    7/10/2016   Western   MP Western Region   42   FRK   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.71   42.12
1954   179   Week 179    7/31/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5       3
1954   180   Week 180     8/7/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   18.13
1954   181   Week 181    8/14/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   20.43
1954   182   Week 182    8/21/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    16.9
1954   183   Week 183    8/28/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   16.32
1954   184   Week 184     9/4/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   18.92
1954   185   Week 185    9/11/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5      29
1954   186   Week 186    9/18/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   27.79
1954   187   Week 187    9/25/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   31.52
1954   188   Week 188    10/2/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   30.99
1954   189   Week 189    10/9/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   28.29
1954   190   Week 190   10/16/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   25.14
1954   191   Week 191   10/23/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    24.2
1954   192   Week 192   10/30/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    21.9
1954   193   Week 193    11/6/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   22.75
1954   194   Week 194   11/13/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   29.44
1954   195   Week 195   11/20/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    9.89
1954   196   Week 196   11/27/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   24.81
1954   197   Week 197    12/4/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   22.77
1954   198   Week 198   12/11/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   30.77
1954   199   Week 199   12/18/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   19.35
1954   200   Week 200   12/25/2016   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    5.47
1954   201   Week 201     1/1/2017   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   21.23
1954   202   Week 202     1/8/2017   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   25.27
1954   203   Week 203    1/15/2017   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   19.62
1954   204   Week 204    1/22/2017   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   22.23
1954   205   Week 205    1/29/2017   Western   Mike McCown         63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    9.55
1954   205   Week 205    1/29/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   11.15
1954   206   Week 206     2/5/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   33.68
1954   207   Week 207    2/12/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   24.16
1954   208   Week 208    2/19/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5    21.3
1954   209   Week 209    2/26/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   22.17
1954   210   Week 210     3/5/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   24.22
1954   211   Week 211    3/12/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   24.06
1954   212   Week 212    3/19/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART   GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER    8.5   33.74
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1954   213   Week 213    3/26/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   25.46
1954   214   Week 214     4/2/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   36.23
1954   215   Week 215     4/9/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    33.8
1954   216   Week 216    4/16/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   39.17
1954   217   Week 217    4/23/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   38.83
1954   218   Week 218    4/30/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   31.02
1954   219   Week 219     5/7/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   28.81
1954   220   Week 220    5/14/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   33.32
1954   221   Week 221    5/21/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    19.6
1954   222   Week 222    5/28/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   21.18
1954   222   Week 222    5/28/2017   Western   MP Western Region   63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    6.71
1954   223   Week 223     6/4/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   22.97
1954   224   Week 224    6/11/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   39.67
1954   225   Week 225    6/18/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   39.32
1954   226   Week 226    6/25/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   39.74
1954   227   Week 227     7/2/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   28.49
1954   228   Week 228     7/9/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   22.17
1954   229   Week 229    7/16/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    24.1
1954   230   Week 230    7/23/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   18.07
1954   231   Week 231    7/30/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   19.79
1954   232   Week 232     8/6/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   14.94
1954   233   Week 233    8/13/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   15.18
1954   234   Week 234    8/20/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    17.3
1954   235   Week 235    8/27/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.87
1954   236   Week 236     9/3/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   22.06
1954   237   Week 237    9/10/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   23.63
1954   238   Week 238    9/17/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    24.2
1954   239   Week 239    9/24/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   19.33
1954   240   Week 240    10/1/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   21.72
1954   241   Week 241    10/8/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   23.87
1954   242   Week 242   10/15/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   26.98
1954   243   Week 243   10/22/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   24.99
1954   244   Week 244   10/29/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   31.33
1954   245   Week 245    11/5/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    19.6
1954   246   Week 246   11/12/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   21.21
1954   247   Week 247   11/19/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   14.53
1954   248   Week 248   11/26/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.35
1954   249   Week 249    12/3/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.63
1954   250   Week 250   12/10/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   18.94
1954   251   Week 251   12/17/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    10.8
1954   252   Week 252   12/24/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   14.97
1954   253   Week 253   12/31/2017   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   16.12
1954   254   Week 254     1/7/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5    18.3
1954   255   Week 255    1/14/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   19.82
1954   256   Week 256    1/21/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   19.07
1954   257   Week 257    1/28/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.57
1954   258   Week 258     2/4/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   21.21
1954   259   Week 259    2/11/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.39
1954   260   Week 260    2/18/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   20.28
1954   261   Week 261    2/25/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   21.19
1954   262   Week 262     3/4/2018   Western   DO David Rathbun    63   FRS   FRK610   58808   BART    GLASSCOCK   BART GLASSCOCK   DELIVERY DRIVER   8.5   17.89
3708   154   Week 154     2/7/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ       EDGAR MUNOZ      DELIVERY DRIVER   7.5   11.53
3708   155   Week 155    2/14/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ       EDGAR MUNOZ      DELIVERY DRIVER   7.5   23.03
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3708   156   Week 156    2/21/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   12.15
3708   157   Week 157    2/28/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   14.17
3708   158   Week 158     3/6/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   16.65
3708   159   Week 159    3/13/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   16.81
3708   160   Week 160    3/20/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   12.69
3708   161   Week 161    3/27/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   17.05
3708   162   Week 162     4/3/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   22.56
3708   163   Week 163    4/10/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   17.45
3708   164   Week 164    4/17/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   14.03
3708   165   Week 165    4/24/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    18.1
3708   166   Week 166     5/1/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    8.97
3708   167   Week 167     5/8/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   16.82
3708   168   Week 168    5/15/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   15.32
3708   169   Week 169    5/22/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   13.85
3708   170   Week 170    5/29/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   15.99
3708   171   Week 171     6/5/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   18.71
3708   172   Week 172    6/12/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   18.27
3708   173   Week 173    6/19/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   19.51
3708   174   Week 174    6/26/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   17.69
3708   175   Week 175     7/3/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   13.99
3708   176   Week 176    7/10/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   20.61
3708   177   Week 177    7/17/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   20.76
3708   178   Week 178    7/24/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   14.41
3708   179   Week 179    7/31/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   10.48
3708   180   Week 180     8/7/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   24.47
3708   181   Week 181    8/14/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   21.46
3708   182   Week 182    8/21/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   17.61
3708   183   Week 183    8/28/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    19.2
3708   184   Week 184     9/4/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   16.96
3708   185   Week 185    9/11/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   10.85
3708   186   Week 186    9/18/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   25.32
3708   187   Week 187    9/25/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    16.2
3708   188   Week 188    10/2/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   11.77
3708   189   Week 189    10/9/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   25.58
3708   190   Week 190   10/16/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   27.18
3708   191   Week 191   10/23/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   39.86
3708   192   Week 192   10/30/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    39.8
3708   193   Week 193    11/6/2016   Western   MP Western Region    5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    3.33
3708   193   Week 193    11/6/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   28.08
3708   194   Week 194   11/13/2016   Western   MP Western Region    5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    2.55
3708   194   Week 194   11/13/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   22.87
3708   195   Week 195   11/20/2016   Western   MP Western Region    5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5     4.1
3708   195   Week 195   11/20/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    17.3
3708   196   Week 196   11/27/2016   Western   MP Western Region    5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER   11.25    1.85
3708   196   Week 196   11/27/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.09    47.5
3708   197   Week 197    12/4/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    39.6
3708   198   Week 198   12/11/2016   Western   MP Western Region    5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER   11.25    0.85
3708   198   Week 198   12/11/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.55   40.55
3708   199   Week 199   12/18/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    16.5
3708   200   Week 200   12/25/2016   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   18.44
3708   201   Week 201     1/1/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5    36.3
3708   202   Week 202     1/8/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.67   41.95
3708   203   Week 203    1/15/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER     7.5   22.36
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3708   204   Week 204    1/22/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER   7.92   45.05
3708   205   Week 205    1/29/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   39.75
3708   206   Week 206     2/5/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    26.7
3708   207   Week 207    2/12/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   19.57
3708   208   Week 208    2/19/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   28.58
3708   209   Week 209    2/26/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    28.5
3708   210   Week 210     3/5/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   24.13
3708   211   Week 211    3/12/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    21.4
3708   212   Week 212    3/19/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   20.35
3708   213   Week 213    3/26/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   21.04
3708   214   Week 214     4/2/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   20.08
3708   215   Week 215     4/9/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    23.5
3708   216   Week 216    4/16/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    21.6
3708   217   Week 217    4/23/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   24.25
3708   218   Week 218    4/30/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    28.1
3708   219   Week 219     5/7/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   25.71
3708   220   Week 220    5/14/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   23.66
3708   221   Week 221    5/21/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   22.36
3708   222   Week 222    5/28/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    16.6
3708   222   Week 222    5/28/2017   Western   MP Western Region   42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   10.77
3708   223   Week 223     6/4/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   18.51
3708   224   Week 224    6/11/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   25.74
3708   225   Week 225    6/18/2017   Western   DO Greg Winger       5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    3.27
3708   225   Week 225    6/18/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   12.13
3708   226   Week 226    6/25/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5   11.41
3708   227   Week 227     7/2/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5      10
3708   228   Week 228     7/9/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    7.5    21.3
3708   229   Week 229    7/16/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   25.75
3708   230   Week 230    7/23/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   22.23
3708   231   Week 231    7/30/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    25.2
3708   232   Week 232     8/6/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   30.78
3708   233   Week 233    8/13/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   26.01
3708   234   Week 234    8/20/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   33.71
3708   235   Week 235    8/27/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   22.73
3708   236   Week 236     9/3/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   24.21
3708   237   Week 237    9/10/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   23.76
3708   238   Week 238    9/17/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   22.37
3708   239   Week 239    9/24/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   29.38
3708   240   Week 240    10/1/2017   Western   DO Greg Winger       5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    1.35
3708   240   Week 240    10/1/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   37.67
3708   241   Week 241    10/8/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   27.47
3708   242   Week 242   10/15/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   27.22
3708   243   Week 243   10/22/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   28.24
3708   244   Week 244   10/29/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   23.87
3708   245   Week 245    11/5/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   30.78
3708   246   Week 246   11/12/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   22.95
3708   247   Week 247   11/19/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5     3.1
3708   248   Week 248   11/26/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   21.35
3708   249   Week 249    12/3/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   23.81
3708   250   Week 250   12/10/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    30.5
3708   251   Week 251   12/17/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   19.02
3708   252   Week 252   12/24/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    0.98
3708   253   Week 253   12/31/2017   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    9.43
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3708   254   Week 254    1/7/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   25.63
3708   255   Week 255   1/14/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   24.05
3708   256   Week 256   1/21/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   20.82
3708   257   Week 257   1/28/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   21.03
3708   258   Week 258    2/4/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   26.76
3708   259   Week 259   2/11/2018   Western   DO Greg Winger       5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    3.63
3708   259   Week 259   2/11/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   22.15
3708   260   Week 260   2/18/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   24.78
3708   261   Week 261   2/25/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    26.8
3708   263   Week 263   3/11/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   15.21
3708   264   Week 264   3/18/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   26.92
3708   265   Week 265   3/25/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   23.12
3708   266   Week 266    4/1/2018   Western   DO Greg Winger       5   ADD   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER   8.53    0.15
3708   266   Week 266    4/1/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5   19.83
3708   267   Week 267    4/8/2018   Western   DO Greg Winger      42   FRK   FRK621   60538   EDGAR   MUNOZ   EDGAR MUNOZ   DELIVERY DRIVER    8.5    4.57
3391   205   Week 205   1/29/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   16.81
3391   206   Week 206    2/5/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   35.09
3391   207   Week 207   2/12/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   27.16
3391   208   Week 208   2/19/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    25.7
3391   209   Week 209   2/26/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   34.06
3391   210   Week 210    3/5/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   21.75
3391   211   Week 211   3/12/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   15.17
3391   212   Week 212   3/19/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   21.83
3391   213   Week 213   3/26/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   28.51
3391   214   Week 214    4/2/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    22.8
3391   215   Week 215    4/9/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   19.51
3391   216   Week 216   4/16/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   17.51
3391   217   Week 217   4/23/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   26.86
3391   218   Week 218   4/30/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   24.97
3391   219   Week 219    5/7/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   21.35
3391   220   Week 220   5/14/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   20.51
3391   221   Week 221   5/21/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    20.3
3391   222   Week 222   5/28/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   12.73
3391   222   Week 222   5/28/2017   Western   MP Western Region   42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8       7
3391   223   Week 223    6/4/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8     1.3
3391   223   Week 223    6/4/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   28.03
3391   224   Week 224   6/11/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.03
3391   224   Week 224   6/11/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    10.4
3391   225   Week 225   6/18/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.05
3391   225   Week 225   6/18/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   21.33
3391   226   Week 226   6/25/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    14.9
3391   227   Week 227    7/2/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   18.32
3391   228   Week 228    7/9/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    4.07
3391   228   Week 228    7/9/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   17.71
3391   229   Week 229   7/16/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   14.24
3391   230   Week 230   7/23/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   13.87
3391   231   Week 231   7/30/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.78
3391   231   Week 231   7/30/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   20.89
3391   232   Week 232    8/6/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.53
3391   232   Week 232    8/6/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8   19.02
3391   233   Week 233   8/13/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.07
3391   233   Week 233   8/13/2017   Western   DO Greg Winger      42   FRK   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    22.6
3391   234   Week 234   8/20/2017   Western   DO Greg Winger       5   ADD   FRK646   67759   KATIE   MCGEE   KATIE MCGEE   DELIVERY DRIVER      8    0.88
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3391   234   Week 234    8/20/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   15.78
3391   235   Week 235    8/27/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    1.79
3391   235   Week 235    8/27/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   13.63
3391   236   Week 236     9/3/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    3.05
3391   236   Week 236     9/3/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   23.28
3391   237   Week 237    9/10/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   14.58
3391   238   Week 238    9/17/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   26.85
3391   239   Week 239    9/24/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    3.42
3391   239   Week 239    9/24/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   17.58
3391   240   Week 240    10/1/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   22.97
3391   241   Week 241    10/8/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    19.3
3391   242   Week 242   10/15/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    5.36
3391   242   Week 242   10/15/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   15.65
3391   243   Week 243   10/22/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    0.97
3391   243   Week 243   10/22/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   21.59
3391   244   Week 244   10/29/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    4.53
3391   244   Week 244   10/29/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   14.86
3391   245   Week 245    11/5/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8     0.7
3391   245   Week 245    11/5/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   16.81
3391   246   Week 246   11/12/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8       5
3391   246   Week 246   11/12/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   15.07
3391   247   Week 247   11/19/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    0.05
3391   247   Week 247   11/19/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   14.29
3391   248   Week 248   11/26/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   16.97
3391   249   Week 249    12/3/2017   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    2.35
3391   249   Week 249    12/3/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   14.56
3391   250   Week 250   12/10/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   27.11
3391   251   Week 251   12/17/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    13.5
3391   252   Week 252   12/24/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   13.37
3391   253   Week 253   12/31/2017   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   19.25
3391   254   Week 254     1/7/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   16.83
3391   255   Week 255    1/14/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    4.85
3391   255   Week 255    1/14/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   18.03
3391   256   Week 256    1/21/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   22.65
3391   257   Week 257    1/28/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   20.52
3391   258   Week 258     2/4/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    18.9
3391   259   Week 259    2/11/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    3.63
3391   259   Week 259    2/11/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   14.53
3391   260   Week 260    2/18/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    8.57
3391   260   Week 260    2/18/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   15.74
3391   261   Week 261    2/25/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    7.85
3391   261   Week 261    2/25/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    7.25
3391   262   Week 262     3/4/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   17.03
3391   263   Week 263    3/11/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    2.77
3391   263   Week 263    3/11/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    7.98
3391   264   Week 264    3/18/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8     7.8
3391   264   Week 264    3/18/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8   10.42
3391   265   Week 265    3/25/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    8.75
3391   265   Week 265    3/25/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    4.64
3391   266   Week 266     4/1/2018   Western   DO Greg Winger    5   ADD   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    9.03
3391   266   Week 266     4/1/2018   Western   DO Greg Winger   42   FRK   FRK646   67759   KATIE    MCGEE       KATIE MCGEE        DELIVERY DRIVER   8    5.92
4459   156   Week 156    2/21/2016   Western   Mike McCown      63   FRS   FRS563   60861   CARLOS   RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER   8   14.85
4459   157   Week 157    2/28/2016   Western   Mike McCown      63   FRS   FRS563   60861   CARLOS   RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER   8   20.38
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4459   158   Week 158     3/6/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   18.55
4459   159   Week 159    3/13/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   19.02
4459   160   Week 160    3/20/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   14.83
4459   161   Week 161    3/27/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8    21.9
4459   162   Week 162     4/3/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   29.32
4459   163   Week 163    4/10/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8    22.2
4459   164   Week 164    4/17/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   24.17
4459   165   Week 165    4/24/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   20.19
4459   166   Week 166     5/1/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   20.72
4459   167   Week 167     5/8/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   17.13
4459   168   Week 168    5/15/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8    4.15
4459   169   Week 169    5/22/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   17.39
4459   170   Week 170    5/29/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   20.24
4459   171   Week 171     6/5/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   18.35
4459   172   Week 172    6/12/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   22.67
4459   173   Week 173    6/19/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   19.88
4459   174   Week 174    6/26/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   15.38
4459   175   Week 175     7/3/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   14.65
4459   176   Week 176    7/10/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8   17.33
4459   177   Week 177    7/17/2016   Western   Mike McCown           63   FRS   FRS563   60861   CARLOS    RODRIGUEZ   CARLOS RODRIGUEZ   DELIVERY DRIVER     8    9.77
4135   148   Week 148   12/27/2015   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   17.32
4135   149   Week 149     1/3/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   24.93
4135   150   Week 150    1/10/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   14.49
4135   151   Week 151    1/17/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   13.18
4135   152   Week 152    1/24/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   15.29
4135   153   Week 153    1/31/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   16.11
4135   154   Week 154     2/7/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   13.52
4135   155   Week 155    2/14/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8    8.95
4135   156   Week 156    2/21/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8   13.78
4135   157   Week 157    2/28/2016   Western   MP Western Region    191   FWM   FWM122   59574   TRSITEN   POOL        TRSITEN POOL       DELIVERY DRIVER     8    12.6
2099   203   Week 203    1/15/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    3.48
2099   204   Week 204    1/22/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   27.99
2099   205   Week 205    1/29/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   17.61
2099   206   Week 206     2/5/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   21.44
2099   207   Week 207    2/12/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   25.77
2099   208   Week 208    2/19/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   14.71
2099   209   Week 209    2/26/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    3.58
2099   210   Week 210     3/5/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   12.42
2099   211   Week 211    3/12/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   13.52
2099   212   Week 212    3/19/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   13.64
2099   213   Week 213    3/26/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   15.65
2099   213   Week 213    3/26/2017   Western   Thomas McDonald       10   BOW   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    5.72
2099   214   Week 214     4/2/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   13.11
2099   214   Week 214     4/2/2017   Western   Thomas McDonald       10   BOW   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    4.52
2099   215   Week 215     4/9/2017   Western   MP Western Region    191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5   13.23
2099   223   Week 223     6/4/2017   Western   DO Michael Johnson   191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    2.57
2099   226   Week 226    6/25/2017   Western   DO Michael Johnson   191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    4.93
2099   227   Week 227     7/2/2017   Western   DO Michael Johnson   191   FWM   FWM184   67578   MARLENA   GUERRERO    MARLENA GUERRERO   DELIVERY DRIVER   8.5    2.58
1051   178   Week 178    7/24/2016   Eastern   Max Torrence          78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER     8    4.55
1051   179   Week 179    7/31/2016   Eastern   Max Torrence          78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER     8   18.03
1051   180   Week 180     8/7/2016   Eastern   Max Torrence          78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER     8   26.38
1051   181   Week 181    8/14/2016   Eastern   Max Torrence          78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER     8   28.37
1051   182   Week 182    8/21/2016   Eastern   Max Torrence          78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER     8   25.62
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1051   183   Week 183    8/28/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   14.53
1051   184   Week 184     9/4/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   26.46
1051   185   Week 185    9/11/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.39
1051   186   Week 186    9/18/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.79
1051   187   Week 187    9/25/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   29.25
1051   188   Week 188    10/2/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.48
1051   189   Week 189    10/9/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   30.79
1051   190   Week 190   10/16/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.81
1051   191   Week 191   10/23/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   21.02
1051   192   Week 192   10/30/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.79
1051   193   Week 193    11/6/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   27.62
1051   194   Week 194   11/13/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   19.58
1051   195   Week 195   11/20/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   26.22
1051   196   Week 196   11/27/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   22.03
1051   197   Week 197    12/4/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   32.13
1051   198   Week 198   12/11/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   26.04
1051   199   Week 199   12/18/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   10.35
1051   200   Week 200   12/25/2016   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   18.02
1051   201   Week 201     1/1/2017   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   22.24
1051   202   Week 202     1/8/2017   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8    5.09
1051   203   Week 203    1/15/2017   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   24.47
1051   204   Week 204    1/22/2017   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   25.68
1051   205   Week 205    1/29/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8    14.8
1051   205   Week 205    1/29/2017   Eastern   Max Torrence        78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8    9.45
1051   206   Week 206     2/5/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   22.53
1051   207   Week 207    2/12/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      8   24.64
1051   208   Week 208    2/19/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9    25.7
1051   209   Week 209    2/26/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   14.29
1051   210   Week 210     3/5/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   22.56
1051   211   Week 211    3/12/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   16.87
1051   212   Week 212    3/19/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   28.64
1051   213   Week 213    3/26/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   18.65
1051   214   Week 214     4/2/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   19.16
1051   215   Week 215     4/9/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   18.61
1051   216   Week 216    4/16/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   23.34
1051   217   Week 217    4/23/2017   Eastern   Brandon Andra       78   GAA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   15.78
1051   218   Week 218    4/30/2017   Eastern   Don Shirley        186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   21.68
1051   219   Week 219     5/7/2017   Eastern   Don Shirley        186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   21.19
1051   220   Week 220    5/14/2017   Eastern   Don Shirley        186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   26.47
1051   221   Week 221    5/21/2017   Eastern   Don Shirley        186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   16.14
1051   222   Week 222    5/28/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   13.75
1051   222   Week 222    5/28/2017   Eastern   Don Shirley        186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   11.12
1051   223   Week 223     6/4/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   24.41
1051   224   Week 224    6/11/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   23.44
1051   226   Week 226    6/25/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   23.76
1051   227   Week 227     7/2/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   12.96
1051   228   Week 228     7/9/2017   Eastern   DO Will Schmidt    186   AGA   GAA734   64525   BRYAN     COLLINS     BRYAN COLLINS      DELIVERY DRIVER      9   14.08
3863   242   Week 242   10/15/2017   Eastern   DO Brandon Andra    78   GAA   GAA782   72890   JESSICA   OLIVER      JESSICA OLIVER     DELIVERY DRIVER    8.5   12.82
3863   243   Week 243   10/22/2017   Eastern   DO Brandon Andra    78   GAA   GAA782   72890   JESSICA   OLIVER      JESSICA OLIVER     DELIVERY DRIVER   8.51     0.7
3863   244   Week 244   10/29/2017   Eastern   DO Brandon Andra    78   GAA   GAA782   72890   JESSICA   OLIVER      JESSICA OLIVER     DELIVERY DRIVER   8.51    0.85
3863   245   Week 245    11/5/2017   Eastern   DO Brandon Andra    78   GAA   GAA782   72890   JESSICA   OLIVER      JESSICA OLIVER     DELIVERY DRIVER    8.5     0.7
 177   106   Week 106     3/8/2015   Eastern   Brandon Andra       79   GAC   GAC692   51841   COLLIN    ARANSEVIA   COLLIN ARANSEVIA   DELIVERY DRIVER   7.25    37.5
 177   107   Week 107    3/15/2015   Eastern   Brandon Andra       79   GAC   GAC692   51841   COLLIN    ARANSEVIA   COLLIN ARANSEVIA   DELIVERY DRIVER   7.25   36.77
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 177   108   Week 108    3/22/2015   Eastern   Brandon Andra   79   GAC   GAC692   51841   COLLIN     ARANSEVIA   COLLIN ARANSEVIA    DELIVERY DRIVER   7.25   35.51
 177   109   Week 109    3/29/2015   Eastern   Brandon Andra   79   GAC   GAC692   51841   COLLIN     ARANSEVIA   COLLIN ARANSEVIA    DELIVERY DRIVER   7.25   26.84
 177   110   Week 110     4/5/2015   Eastern   Brandon Andra   79   GAC   GAC692   51841   COLLIN     ARANSEVIA   COLLIN ARANSEVIA    DELIVERY DRIVER   7.25   30.04
 177   111   Week 111    4/12/2015   Eastern   Brandon Andra   79   GAC   GAC692   51841   COLLIN     ARANSEVIA   COLLIN ARANSEVIA    DELIVERY DRIVER   7.25    9.99
5057   115   Week 115    5/10/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   10.58
5057   116   Week 116    5/17/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    33.3
5057   117   Week 117    5/24/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.25
5057   118   Week 118    5/31/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   34.46
5057   119   Week 119     6/7/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   30.85
5057   120   Week 120    6/14/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   20.61
5057   121   Week 121    6/21/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.74
5057   122   Week 122    6/28/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    24.9
5057   123   Week 123     7/5/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   33.02
5057   124   Week 124    7/12/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   27.84
5057   125   Week 125    7/19/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   33.74
5057   126   Week 126    7/26/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.03
5057   127   Week 127     8/2/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   39.13
5057   128   Week 128     8/9/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.34
5057   129   Week 129    8/16/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   36.97
5057   130   Week 130    8/23/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.15
5057   131   Week 131    8/30/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   37.64
5057   132   Week 132     9/6/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   39.94
5057   133   Week 133    9/13/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    39.1
5057   134   Week 134    9/20/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   12.16
5057   135   Week 135    9/27/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   36.79
5057   136   Week 136    10/4/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   21.68
5057   137   Week 137   10/11/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   30.15
5057   138   Week 138   10/18/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   32.62
5057   139   Week 139   10/25/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    24.3
5057   140   Week 140    11/1/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   25.85
5057   141   Week 141    11/8/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   28.94
5057   142   Week 142   11/15/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   23.63
5057   143   Week 143   11/22/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   10.74
5057   144   Week 144   11/29/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    26.9
5057   145   Week 145    12/6/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   38.69
5057   146   Week 146   12/13/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   26.47
5057   147   Week 147   12/20/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   19.82
5057   148   Week 148   12/27/2015   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   22.57
5057   149   Week 149     1/3/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   18.93
5057   150   Week 150    1/10/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    13.7
5057   151   Week 151    1/17/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   27.41
5057   152   Week 152    1/24/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   22.18
5057   153   Week 153    1/31/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   28.51
5057   154   Week 154     2/7/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   16.47
5057   155   Week 155    2/14/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   22.03
5057   156   Week 156    2/21/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   15.86
5057   157   Week 157    2/28/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   24.38
5057   158   Week 158     3/6/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    23.6
5057   159   Week 159    3/13/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   23.08
5057   160   Week 160    3/20/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   13.11
5057   161   Week 161    3/27/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   23.21
5057   162   Week 162     4/3/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   29.35
5057   163   Week 163    4/10/2016   Eastern   Brandon Andra   79   GAC   GAC697   54964   JONATHAN   SWEDBERG    JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    19.9
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5057   164   Week 164   4/17/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   16.93
5057   165   Week 165   4/24/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    8.75
5057   166   Week 166    5/1/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   17.78
5057   167   Week 167    5/8/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   10.68
5057   168   Week 168   5/15/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   39.99
5057   169   Week 169   5/22/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   23.79
5057   170   Week 170   5/29/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   25.41
5057   171   Week 171    6/5/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    10.3
5057   172   Week 172   6/12/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   14.02
5057   173   Week 173   6/19/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   11.03
5057   174   Week 174   6/26/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    10.9
5057   175   Week 175    7/3/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   24.83
5057   176   Week 176   7/10/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   31.26
5057   177   Week 177   7/17/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    31.7
5057   178   Week 178   7/24/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   23.74
5057   179   Week 179   7/31/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25      33
5057   180   Week 180    8/7/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.35   37.93
5057   181   Week 181   8/14/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   39.01
5057   182   Week 182   8/21/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   21.28
5057   183   Week 183   8/28/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25    23.9
5057   184   Week 184    9/4/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   27.62
5057   185   Week 185   9/11/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   30.59
5057   186   Week 186   9/18/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.32   34.99
5057   187   Week 187   9/25/2016   Eastern   Brandon Andra       79   GAC   GAC697   54964   JONATHAN    SWEDBERG   JONATHAN SWEDBERG   DELIVERY DRIVER   7.25   35.41
1004   210   Week 210    3/5/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   17.25
1004   211   Week 211   3/12/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   26.71
1004   212   Week 212   3/19/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   27.39
1004   213   Week 213   3/26/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   16.81
1004   214   Week 214    4/2/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   13.53
1004   215   Week 215    4/9/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   11.14
1004   216   Week 216   4/16/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   15.33
1004   217   Week 217   4/23/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   13.66
1004   218   Week 218   4/30/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8    11.5
1004   219   Week 219    5/7/2017   Eastern   Jason Harmon D.O.   79   GAC   GAC720   68465   CHRISTIAN   CLIFTON    CHRISTIAN CLIFTON   DELIVERY DRIVER      8   13.34
2310   101   Week 101    2/1/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   37.13
2310   102   Week 102    2/8/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   28.41
2310   103   Week 103   2/15/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   34.69
2310   104   Week 104   2/22/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   39.18
2310   105   Week 105    3/1/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   32.01
2310   106   Week 106    3/8/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   32.19
2310   107   Week 107   3/15/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   38.57
2310   108   Week 108   3/22/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   34.98
2310   109   Week 109   3/29/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   17.43
2310   110   Week 110    4/5/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   30.68
2310   111   Week 111   4/12/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   32.97
2310   112   Week 112   4/19/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER   8.15   41.55
2310   113   Week 113   4/26/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8    38.3
2310   114   Week 114    5/3/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   36.06
2310   115   Week 115   5/10/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   27.97
2310   116   Week 116   5/17/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   35.48
2310   117   Week 117   5/24/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8    36.3
2310   118   Week 118   5/31/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER      8   27.82
2310   119   Week 119    6/7/2015   Eastern   Brandon Andra       79   GAC   GAC956   48392   DERRICK     HENDRIX    DERRICK HENDRIX     DELIVERY DRIVER    8.7   33.04
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2310   120   Week 120    6/14/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75   35.52
2310   121   Week 121    6/21/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75    18.2
2310   122   Week 122    6/28/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75     7.9
2310   123   Week 123     7/5/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75   21.76
2310   124   Week 124    7/12/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75   14.35
2310   126   Week 126    7/26/2015   Eastern   Brandon Andra      79   GAC   GAC956   48392   DERRICK   HENDRIX     DERRICK HENDRIX   DELIVERY DRIVER    8.75     8.6
1394   115   Week 115    5/10/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8    5.65
1394   116   Week 116    5/17/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8    2.95
1394   117   Week 117    5/24/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8    7.32
1394   118   Week 118    5/31/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8   14.63
1394   119   Week 119     6/7/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8   13.67
1394   120   Week 120    6/14/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8   17.97
1394   121   Week 121    6/21/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8   17.41
1394   122   Week 122    6/28/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8    3.23
1394   123   Week 123     7/5/2015   Eastern   Nick Robertson    127   GNC   GNC520   54891   RENALDO   DIAZ        RENALDO DIAZ      DELIVERY DRIVER       8   10.85
 416   117   Week 117    5/24/2015   Western   Mike McCown        29   GPV   GPV816   53545   TAMMY     BENEFIELD   TAMMY BENEFIELD   DELIVERY DRIVER   11.07    6.98
 416   118   Week 118    5/31/2015   Western   Mike McCown        29   GPV   GPV816   53545   TAMMY     BENEFIELD   TAMMY BENEFIELD   DELIVERY DRIVER       9    8.95
 416   126   Week 126    7/26/2015   Western   Mike McCown        29   GPV   GPV816   53545   TAMMY     BENEFIELD   TAMMY BENEFIELD   DELIVERY DRIVER    10.5    2.55
 416   174   Week 174    6/26/2016   Western   Mike McCown        29   GPV   GPV816   53545   TAMMY     BENEFIELD   TAMMY BENEFIELD   DELIVERY DRIVER   14.02    3.27
 416   177   Week 177    7/17/2016   Western   Mike McCown        29   GPV   GPV816   53545   TAMMY     BENEFIELD   TAMMY BENEFIELD   DELIVERY DRIVER      12    3.12
4995   146   Week 146   12/13/2015   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8    5.48
4995   148   Week 148   12/27/2015   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8     6.7
4995   149   Week 149     1/3/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   12.07
4995   150   Week 150    1/10/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   17.25
4995   151   Week 151    1/17/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   26.17
4995   152   Week 152    1/24/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   19.93
4995   153   Week 153    1/31/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   16.98
4995   154   Week 154     2/7/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   29.31
4995   155   Week 155    2/14/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   11.84
4995   156   Week 156    2/21/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   18.88
4995   157   Week 157    2/28/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   32.82
4995   158   Week 158     3/6/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   29.26
4995   159   Week 159    3/13/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8      21
4995   160   Week 160    3/20/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8    4.85
4995   161   Week 161    3/27/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   22.18
4995   162   Week 162     4/3/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8    28.7
4995   163   Week 163    4/10/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8   31.26
4995   164   Week 164    4/17/2016   Eastern   Les Brannen        49   GSC   GSC182   59296   RANDALL   STONE       RANDALL STONE     DELIVERY DRIVER       8     5.7
5003   212   Week 212    3/19/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      13       6
5003   213   Week 213    3/26/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      13    4.67
5003   214   Week 214     4/2/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      13     5.4
5003   216   Week 216    4/16/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      13    5.53
5003   217   Week 217    4/23/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    7.87
5003   219   Week 219     5/7/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    5.12
5003   221   Week 221    5/21/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    5.22
5003   222   Week 222    5/28/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER   14.54    1.04
5003   222   Week 222    5/28/2017   Eastern   Scott Miller       49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    6.07
5003   223   Week 223     6/4/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER   15.57   19.37
5003   224   Week 224    6/11/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14   11.45
5003   225   Week 225    6/18/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    3.13
5003   229   Week 229    7/16/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    9.38
5003   232   Week 232     8/6/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    11.3
5003   233   Week 233    8/13/2017   Eastern   DO Will Schmidt    49   GSC   GSC349   52410   SARIE     STOVALL     SARIE STOVALL     DELIVERY DRIVER      14    2.25
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5003   235   Week 235    8/27/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    4.93
5003   236   Week 236     9/3/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    7.52
5003   238   Week 238    9/17/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14   14.68
5003   239   Week 239    9/24/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14   10.85
5003   240   Week 240    10/1/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14     5.5
5003   242   Week 242   10/15/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    5.83
5003   243   Week 243   10/22/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    9.22
5003   244   Week 244   10/29/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    5.78
5003   245   Week 245    11/5/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    12.7
5003   246   Week 246   11/12/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    7.58
5003   247   Week 247   11/19/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14    8.52
5003   250   Week 250   12/10/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER   19.66    6.08
5003   251   Week 251   12/17/2017   Eastern   DO Will Schmidt   49   GSC   GSC349   52410   SARIE      STOVALL     SARIE STOVALL        DELIVERY DRIVER      14   28.43
 963   129   Week 129    8/16/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5     7.1
 963   130   Week 130    8/23/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   36.03
 963   131   Week 131    8/30/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   31.19
 963   132   Week 132     9/6/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   28.79
 963   133   Week 133    9/13/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   30.76
 963   134   Week 134    9/20/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    35.7
 963   135   Week 135    9/27/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   35.96
 963   136   Week 136    10/4/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   27.83
 963   137   Week 137   10/11/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.53   40.24
 963   138   Week 138   10/18/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   37.47
 963   139   Week 139   10/25/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   36.24
 963   140   Week 140    11/1/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   35.78
 963   141   Week 141    11/8/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   32.98
 963   142   Week 142   11/15/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   22.26
 963   143   Week 143   11/22/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    7.72
 963   144   Week 144   11/29/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   30.03
 963   145   Week 145    12/6/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   33.92
 963   146   Week 146   12/13/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   27.18
 963   147   Week 147   12/20/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   22.66
 963   148   Week 148   12/27/2015   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    9.75
 963   149   Week 149     1/3/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   23.35
 963   150   Week 150    1/10/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    31.2
 963   151   Week 151    1/17/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   21.07
 963   152   Week 152    1/24/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    22.9
 963   153   Week 153    1/31/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   30.75
 963   154   Week 154     2/7/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   26.71
 963   155   Week 155    2/14/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   27.19
 963   156   Week 156    2/21/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   24.47
 963   157   Week 157    2/28/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   23.84
 963   158   Week 158     3/6/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   23.65
 963   159   Week 159    3/13/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   23.07
 963   160   Week 160    3/20/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   24.88
 963   161   Week 161    3/27/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   22.74
 963   162   Week 162     4/3/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   24.24
 963   163   Week 163    4/10/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   25.08
 963   164   Week 164    4/17/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   28.83
 963   165   Week 165    4/24/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5    34.1
 963   166   Week 166     5/1/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   25.54
 963   167   Week 167     5/8/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   24.94
 963   168   Week 168    5/15/2016   Eastern   Les Brannen       49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER     8.5   30.28
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 963   169   Week 169    5/22/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   21.52
 963   170   Week 170    5/29/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   22.26
 963   171   Week 171     6/5/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   25.64
 963   172   Week 172    6/12/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   28.03
 963   173   Week 173    6/19/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER   8.59   40.91
 963   174   Week 174    6/26/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   39.02
 963   175   Week 175     7/3/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   24.61
 963   176   Week 176    7/10/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   26.16
 963   177   Week 177    7/17/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   29.53
 963   178   Week 178    7/24/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   30.28
 963   179   Week 179    7/31/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   25.48
 963   180   Week 180     8/7/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   28.28
 963   181   Week 181    8/14/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   27.99
 963   182   Week 182    8/21/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   25.45
 963   183   Week 183    8/28/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5    18.8
 963   184   Week 184     9/4/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   28.22
 963   185   Week 185    9/11/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5    35.4
 963   186   Week 186    9/18/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5      31
 963   187   Week 187    9/25/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   36.44
 963   188   Week 188    10/2/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   22.85
 963   189   Week 189    10/9/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   33.36
 963   190   Week 190   10/16/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   34.68
 963   191   Week 191   10/23/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   29.81
 963   192   Week 192   10/30/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   28.69
 963   193   Week 193    11/6/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   23.45
 963   194   Week 194   11/13/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   33.83
 963   195   Week 195   11/20/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5    11.5
 963   196   Week 196   11/27/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   32.69
 963   197   Week 197    12/4/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   34.51
 963   198   Week 198   12/11/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   27.88
 963   199   Week 199   12/18/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   15.38
 963   200   Week 200   12/25/2016   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5       9
 963   201   Week 201     1/1/2017   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   26.67
 963   202   Week 202     1/8/2017   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5     9.7
 963   203   Week 203    1/15/2017   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   23.44
 963   204   Week 204    1/22/2017   Eastern   Les Brannen    49   GSC   GSC663   57037   BRITTANY   CHRISTIAN   BRITTANY CHRISTIAN   DELIVERY DRIVER    8.5   14.75
 966   197   Week 197    12/4/2016   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5    5.28
 966   198   Week 198   12/11/2016   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   13.09
 966   201   Week 201     1/1/2017   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5    5.08
 966   202   Week 202     1/8/2017   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   18.92
 966   203   Week 203    1/15/2017   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   34.93
 966   204   Week 204    1/22/2017   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   24.02
 966   205   Week 205    1/29/2017   Eastern   Les Brannen    49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   12.19
 966   205   Week 205    1/29/2017   Eastern   Scott Miller   49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   12.43
 966   206   Week 206     2/5/2017   Eastern   Scott Miller   49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5    21.9
 966   207   Week 207    2/12/2017   Eastern   Scott Miller   49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   28.54
 966   208   Week 208    2/19/2017   Eastern   Scott Miller   49   GSC   GSC721   66923   JOSHUA     CHRISTIAN   JOSHUA CHRISTIAN     DELIVERY DRIVER    8.5   25.37
2552   107   Week 107    3/15/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   13.35
2552   108   Week 108    3/22/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   14.69
2552   109   Week 109    3/29/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   17.04
2552   110   Week 110     4/5/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   14.07
2552   111   Week 111    4/12/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   19.98
2552   112   Week 112    4/19/2015   Western   Mike McCown    58   STM   HEB767   46797   RAMESH     INGNAM      RAMESH INGNAM        DELIVERY DRIVER    7.5   21.36
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2552   113   Week 113    4/26/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.42
2552   114   Week 114     5/3/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    10.7
2552   115   Week 115    5/10/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   12.21
2552   116   Week 116    5/17/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.94
2552   117   Week 117    5/24/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.78
2552   118   Week 118    5/31/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.18
2552   119   Week 119     6/7/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.85
2552   120   Week 120    6/14/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.39
2552   121   Week 121    6/21/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.58
2552   122   Week 122    6/28/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   13.41
2552   123   Week 123     7/5/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   12.37
2552   124   Week 124    7/12/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.97
2552   125   Week 125    7/19/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.21
2552   126   Week 126    7/26/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   12.49
2552   127   Week 127     8/2/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    7.67
2552   128   Week 128     8/9/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   14.46
2552   129   Week 129    8/16/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.58
2552   130   Week 130    8/23/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.52
2552   131   Week 131    8/30/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   11.15
2552   132   Week 132     9/6/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5     7.7
2552   133   Week 133    9/13/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   10.14
2552   134   Week 134    9/20/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.75
2552   135   Week 135    9/27/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.71
2552   136   Week 136    10/4/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   13.19
2552   137   Week 137   10/11/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.71
2552   138   Week 138   10/18/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   13.23
2552   139   Week 139   10/25/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   13.53
2552   140   Week 140    11/1/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.25
2552   141   Week 141    11/8/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.56
2552   142   Week 142   11/15/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.23
2552   143   Week 143   11/22/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5     2.9
2552   144   Week 144   11/29/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   14.34
2552   145   Week 145    12/6/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.49
2552   146   Week 146   12/13/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.27
2552   147   Week 147   12/20/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    3.45
2552   148   Week 148   12/27/2015   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5     7.6
2552   149   Week 149     1/3/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.22
2552   150   Week 150    1/10/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.85
2552   151   Week 151    1/17/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.35
2552   152   Week 152    1/24/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   27.02
2552   153   Week 153    1/31/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.59
2552   154   Week 154     2/7/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   15.53
2552   155   Week 155    2/14/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    4.25
2552   156   Week 156    2/21/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.31
2552   157   Week 157    2/28/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.72
2552   158   Week 158     3/6/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.96
2552   159   Week 159    3/13/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.93
2552   160   Week 160    3/20/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.44
2552   161   Week 161    3/27/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.99
2552   162   Week 162     4/3/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.61
2552   163   Week 163    4/10/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    11.9
2552   164   Week 164    4/17/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   14.14
2552   165   Week 165    4/24/2016   Western   Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.73
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2552   166   Week 166     5/1/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   14.64
2552   167   Week 167     5/8/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.42
2552   168   Week 168    5/15/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   27.31
2552   169   Week 169    5/22/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   12.23
2552   170   Week 170    5/29/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.61
2552   171   Week 171     6/5/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.14
2552   172   Week 172    6/12/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.25
2552   173   Week 173    6/19/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.31
2552   174   Week 174    6/26/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.64
2552   175   Week 175     7/3/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   15.49
2552   176   Week 176    7/10/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   10.72
2552   177   Week 177    7/17/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.32
2552   178   Week 178    7/24/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    24.7
2552   179   Week 179    7/31/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.47
2552   180   Week 180     8/7/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.05
2552   181   Week 181    8/14/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    18.9
2552   182   Week 182    8/21/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.26
2552   183   Week 183    8/28/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.45
2552   184   Week 184     9/4/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.96
2552   185   Week 185    9/11/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   34.21
2552   186   Week 186    9/18/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.67
2552   187   Week 187    9/25/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   17.35
2552   188   Week 188    10/2/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    16.2
2552   189   Week 189    10/9/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.39
2552   190   Week 190   10/16/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.49
2552   191   Week 191   10/23/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.06
2552   192   Week 192   10/30/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.02
2552   193   Week 193    11/6/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.05
2552   194   Week 194   11/13/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.59
2552   195   Week 195   11/20/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    2.25
2552   196   Week 196   11/27/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.44
2552   197   Week 197    12/4/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   19.51
2552   198   Week 198   12/11/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.05
2552   199   Week 199   12/18/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   13.46
2552   200   Week 200   12/25/2016   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5    17.6
2552   201   Week 201     1/1/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.39
2552   202   Week 202     1/8/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5      21
2552   203   Week 203    1/15/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   20.38
2552   204   Week 204    1/22/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.59
2552   205   Week 205    1/29/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   15.62
2552   206   Week 206     2/5/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   23.11
2552   207   Week 207    2/12/2017   Western   Mike McCown      58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.46
2552   235   Week 235    8/27/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   12.52
2552   236   Week 236     9/3/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   15.28
2552   237   Week 237    9/10/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.89
2552   238   Week 238    9/17/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   14.39
2552   239   Week 239    9/24/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   16.33
2552   240   Week 240    10/1/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   18.73
2552   241   Week 241    10/8/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   25.58
2552   242   Week 242   10/15/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   21.32
2552   243   Week 243   10/22/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   36.71
2552   244   Week 244   10/29/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   28.09
2552   245   Week 245    11/5/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH   INGNAM   RAMESH INGNAM   DELIVERY DRIVER   7.5   37.24
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2552   246   Week 246   11/12/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   35.51
2552   247   Week 247   11/19/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   13.97
2552   248   Week 248   11/26/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   31.13
2552   249   Week 249    12/3/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   32.02
2552   250   Week 250   12/10/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   32.38
2552   251   Week 251   12/17/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   24.63
2552   252   Week 252   12/24/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5    5.45
2552   253   Week 253   12/31/2017   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   18.76
2552   254   Week 254     1/7/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   29.17
2552   255   Week 255    1/14/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   34.39
2552   256   Week 256    1/21/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER   7.5   31.38
2552   257   Week 257    1/28/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   23.51
2552   258   Week 258     2/4/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   31.65
2552   259   Week 259    2/11/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8    26.2
2552   260   Week 260    2/18/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   30.21
2552   261   Week 261    2/25/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8    22.9
2552   262   Week 262     3/4/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8    26.5
2552   263   Week 263    3/11/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   24.94
2552   264   Week 264    3/18/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   21.45
2552   265   Week 265    3/25/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   25.24
2552   266   Week 266     4/1/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8   31.42
2552   267   Week 267     4/8/2018   Western   DO Mike McCown   58   STM   HEB767   46797   RAMESH     INGNAM    RAMESH INGNAM     DELIVERY DRIVER     8     6.8
4121   156   Week 156    2/21/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   13.33
4121   157   Week 157    2/28/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   20.37
4121   158   Week 158     3/6/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    18.7
4121   159   Week 159    3/13/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   21.23
4121   160   Week 160    3/20/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   20.58
4121   161   Week 161    3/27/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   16.13
4121   162   Week 162     4/3/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   14.19
4121   163   Week 163    4/10/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   11.95
4121   164   Week 164    4/17/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   17.38
4121   165   Week 165    4/24/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   20.61
4121   166   Week 166     5/1/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   12.73
4121   167   Week 167     5/8/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   12.61
4121   168   Week 168    5/15/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    9.94
4121   169   Week 169    5/22/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   13.44
4121   170   Week 170    5/29/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   10.61
4121   171   Week 171     6/5/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   12.22
4121   172   Week 172    6/12/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   17.93
4121   173   Week 173    6/19/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    2.38
4121   174   Week 174    6/26/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   11.56
4121   175   Week 175     7/3/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    9.38
4121   176   Week 176    7/10/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   11.28
4121   177   Week 177    7/17/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    13.3
4121   178   Week 178    7/24/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   15.22
4121   179   Week 179    7/31/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8    12.2
4121   180   Week 180     8/7/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8     9.3
4121   183   Week 183    8/28/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   17.39
4121   184   Week 184     9/4/2016   Western   Mike McCown      38   HEB   HEB836   60849   DANIELLE   PODJAN    DANIELLE PODJAN   DELIVERY DRIVER     8   13.82
3840   182   Week 182    8/21/2016   Western   Mike McCown      38   HEB   HEB859   65095   JAMES      NYASORE   JAMES NYASORE     DELIVERY DRIVER   8.5    8.55
3840   183   Week 183    8/28/2016   Western   Mike McCown      38   HEB   HEB859   65095   JAMES      NYASORE   JAMES NYASORE     DELIVERY DRIVER   8.5   17.13
3840   184   Week 184     9/4/2016   Western   Mike McCown      38   HEB   HEB859   65095   JAMES      NYASORE   JAMES NYASORE     DELIVERY DRIVER   8.5   14.97
3840   185   Week 185    9/11/2016   Western   Mike McCown      38   HEB   HEB859   65095   JAMES      NYASORE   JAMES NYASORE     DELIVERY DRIVER   8.5   14.62
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3840   186   Week 186    9/18/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   14.99
3840   187   Week 187    9/25/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   15.94
3840   188   Week 188    10/2/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   23.85
3840   189   Week 189    10/9/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    24.9
3840   190   Week 190   10/16/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   20.87
3840   191   Week 191   10/23/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   19.32
3840   192   Week 192   10/30/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   18.98
3840   193   Week 193    11/6/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   13.58
3840   199   Week 199   12/18/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   11.28
3840   200   Week 200   12/25/2016   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    3.93
3840   201   Week 201     1/1/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   15.87
3840   202   Week 202     1/8/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   10.89
3840   203   Week 203    1/15/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    8.96
3840   204   Week 204    1/22/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5     6.6
3840   205   Week 205    1/29/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   12.46
3840   206   Week 206     2/5/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   15.62
3840   207   Week 207    2/12/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   17.86
3840   208   Week 208    2/19/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   16.53
3840   209   Week 209    2/26/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   10.44
3840   210   Week 210     3/5/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   14.98
3840   211   Week 211    3/12/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    9.88
3840   212   Week 212    3/19/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   11.22
3840   213   Week 213    3/26/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   12.45
3840   214   Week 214     4/2/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   11.41
3840   215   Week 215     4/9/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    7.97
3840   216   Week 216    4/16/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    2.77
3840   217   Week 217    4/23/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    9.77
3840   219   Week 219     5/7/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    2.65
3840   220   Week 220    5/14/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5   12.43
3840   221   Week 221    5/21/2017   Western    Mike McCown        38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    9.14
3840   222   Week 222    5/28/2017   Western    DO Will Schmidt    38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    3.07
3840   223   Week 223     6/4/2017   Western    DO Will Schmidt    38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    5.87
3840   224   Week 224    6/11/2017   Western    DO Will Schmidt    38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5     3.2
3840   226   Week 226    6/25/2017   Western    DO Will Schmidt    38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    2.95
3840   228   Week 228     7/9/2017   Western    DO Will Schmidt    38   HEB   HEB859   65095   JAMES   NYASORE   JAMES NYASORE   DELIVERY DRIVER    8.5    3.32
1861   109   Week 109    3/29/2015   Southern   Gene Leal         190   HSC   HSC002   52739   PAULO   GARCIA    PAULO GARCIA    DELIVERY DRIVER    8.5    9.65
4706   109   Week 109    3/29/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   20.77
4706   110   Week 110     4/5/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   23.87
4706   111   Week 111    4/12/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   16.54
4706   112   Week 112    4/19/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   27.04
4706   113   Week 113    4/26/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   19.76
4706   114   Week 114     5/3/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   30.75
4706   115   Week 115    5/10/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   31.79
4706   116   Week 116    5/17/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   27.14
4706   117   Week 117    5/24/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   34.42
4706   118   Week 118    5/31/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER      8   27.05
4706   119   Week 119     6/7/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.18   24.82
4706   120   Week 120    6/14/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.25   24.49
4706   121   Week 121    6/21/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.41   41.62
4706   122   Week 122    6/28/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.25    23.2
4706   123   Week 123     7/5/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.25   25.84
4706   124   Week 124    7/12/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.25   33.53
4706   125   Week 125    7/19/2015   Southern   Gene Leal         190   HSC   HSC062   53322   JACK    SHANNON   JACK SHANNON    DELIVERY DRIVER   8.25   34.81
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4706   126   Week 126    7/26/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.41   41.64
4706   127   Week 127     8/2/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25   28.73
4706   128   Week 128     8/9/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    29.1
4706   129   Week 129    8/16/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    6.25
4706   133   Week 133    9/13/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    5.32
4706   134   Week 134    9/20/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25   11.73
4706   135   Week 135    9/27/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    7.15
4706   136   Week 136    10/4/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25     5.6
4706   137   Week 137   10/11/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25     5.7
4706   138   Week 138   10/18/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    4.53
4706   139   Week 139   10/25/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25   11.12
4706   140   Week 140    11/1/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25   10.43
4706   141   Week 141    11/8/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    9.69
4706   142   Week 142   11/15/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    13.3
4706   144   Week 144   11/29/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    8.18
4706   145   Week 145    12/6/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    4.02
4706   146   Week 146   12/13/2015   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25     7.6
4706   149   Week 149     1/3/2016   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    5.47
4706   150   Week 150    1/10/2016   Southern   Gene Leal          190   HSC   HSC062    53322   JACK      SHANNON   JACK SHANNON      DELIVERY DRIVER   8.25    3.92
2581   109   Week 109    3/29/2015   Southern   Gene Leal          190   HSC   HSC071    53448   PAUL      JACKSON   PAUL JACKSON      DELIVERY DRIVER      8    5.31
2581   110   Week 110     4/5/2015   Southern   Gene Leal          190   HSC   HSC071    53448   PAUL      JACKSON   PAUL JACKSON      DELIVERY DRIVER      8   32.91
2581   111   Week 111    4/12/2015   Southern   Gene Leal          190   HSC   HSC071    53448   PAUL      JACKSON   PAUL JACKSON      DELIVERY DRIVER      8    4.87
2581   112   Week 112    4/19/2015   Southern   Gene Leal          190   HSC   HSC071    53448   PAUL      JACKSON   PAUL JACKSON      DELIVERY DRIVER      8   30.32
2581   113   Week 113    4/26/2015   Southern   Gene Leal          190   HSC   HSC071    53448   PAUL      JACKSON   PAUL JACKSON      DELIVERY DRIVER      8    8.65
5163   219   Week 219     5/7/2017   Southern   Gene Leal          190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75    9.71
5163   228   Week 228     7/9/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75     2.3
5163   229   Week 229    7/16/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75    4.05
5163   230   Week 230    7/23/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75    5.95
5163   231   Week 231    7/30/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75     8.8
5163   232   Week 232     8/6/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75   14.19
5163   233   Week 233    8/13/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER   8.75   23.45
5163   235   Week 235    8/27/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER      9    5.82
5163   237   Week 237    9/10/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER      9    10.2
5163   238   Week 238    9/17/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER      9   12.71
5163   239   Week 239    9/24/2017   Southern   DO Travis Bryant   190   HSC   HSC161    65830   NOELL     THOMAS    NOELL THOMAS      DELIVERY DRIVER      9    9.56
2472   250   Week 250   12/10/2017   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   10.89
2472   251   Week 251   12/17/2017   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   29.79
2472   252   Week 252   12/24/2017   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   22.83
2472   253   Week 253   12/31/2017   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER   8.71   42.06
2472   254   Week 254     1/7/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   14.18
2472   255   Week 255    1/14/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER   8.67   29.71
2472   256   Week 256    1/21/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   38.63
2472   257   Week 257    1/28/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   38.13
2472   258   Week 258     2/4/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   35.26
2472   259   Week 259    2/11/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   33.63
2472   260   Week 260    2/18/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   40.03
2472   261   Week 261    2/25/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   38.89
2472   262   Week 262     3/4/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER   8.54   40.33
2472   263   Week 263    3/11/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   33.53
2472   264   Week 264    3/18/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER   8.51   40.06
2472   265   Week 265    3/25/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER   9.16   47.41
2472   266   Week 266     4/1/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5   35.27
2472   267   Week 267     4/8/2018   Southern   DO Travis Bryant    45   HUM   HUM1029   74525   MOHAMAD   HOUMANI   MOHAMAD HOUMANI   DELIVERY DRIVER    8.5    12.3
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2844   107   Week 107    3/15/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5    4.38
2844   108   Week 108    3/22/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   25.69
2844   109   Week 109    3/29/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   17.95
2844   110   Week 110     4/5/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   33.44
2844   111   Week 111    4/12/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   32.59
2844   112   Week 112    4/19/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   27.43
2844   113   Week 113    4/26/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   12.41
2844   114   Week 114     5/3/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   18.96
2844   115   Week 115    5/10/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5    24.2
2844   116   Week 116    5/17/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   13.47
2844   117   Week 117    5/24/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER    8.5   21.53
2844   118   Week 118    5/31/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   13.33
2844   119   Week 119     6/7/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   10.27
2844   120   Week 120    6/14/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    20.1
2844   121   Week 121    6/21/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    8.65
2844   122   Week 122    6/28/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75     2.5
2844   123   Week 123     7/5/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   20.24
2844   124   Week 124    7/12/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    11.5
2844   125   Week 125    7/19/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   17.83
2844   126   Week 126    7/26/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   21.38
2844   127   Week 127     8/2/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   22.66
2844   128   Week 128     8/9/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   17.57
2844   129   Week 129    8/16/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    14.1
2844   132   Week 132     9/6/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   18.61
2844   133   Week 133    9/13/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   22.66
2844   134   Week 134    9/20/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    7.05
2844   135   Week 135    9/27/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   18.21
2844   136   Week 136    10/4/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   12.78
2844   137   Week 137   10/11/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75     5.2
2844   138   Week 138   10/18/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   21.18
2844   139   Week 139   10/25/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   20.35
2844   140   Week 140    11/1/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    7.96
2844   141   Week 141    11/8/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   31.16
2844   142   Week 142   11/15/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    19.5
2844   144   Week 144   11/29/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   24.85
2844   145   Week 145    12/6/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   26.33
2844   146   Week 146   12/13/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   24.21
2844   148   Week 148   12/27/2015   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    5.25
2844   149   Week 149     1/3/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   18.72
2844   150   Week 150    1/10/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   23.52
2844   151   Week 151    1/17/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   21.62
2844   152   Week 152    1/24/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   29.14
2844   153   Week 153    1/31/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   24.36
2844   154   Week 154     2/7/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    7.47
2844   155   Week 155    2/14/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   28.92
2844   156   Week 156    2/21/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   32.69
2844   157   Week 157    2/28/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   32.53
2844   158   Week 158     3/6/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   23.25
2844   159   Week 159    3/13/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    7.18
2844   160   Week 160    3/20/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   26.59
2844   161   Week 161    3/27/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.79   40.36
2844   162   Week 162     4/3/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   26.73
2844   163   Week 163    4/10/2016   Southern   Mark Livingston   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   18.54
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2844   164   Week 164    4/17/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   12.87
2844   165   Week 165    4/24/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   16.17
2844   170   Week 170    5/29/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75     6.3
2844   171   Week 171     6/5/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   22.78
2844   172   Week 172    6/12/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    6.95
2844   173   Week 173    6/19/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   15.15
2844   174   Week 174    6/26/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   18.83
2844   176   Week 176    7/10/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    6.62
2844   177   Week 177    7/17/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   25.78
2844   178   Week 178    7/24/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   39.37
2844   179   Week 179    7/31/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   33.77
2844   180   Week 180     8/7/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    22.8
2844   181   Week 181    8/14/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   16.57
2844   182   Week 182    8/21/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   28.12
2844   183   Week 183    8/28/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   25.16
2844   184   Week 184     9/4/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   22.66
2844   186   Week 186    9/18/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    6.87
2844   187   Week 187    9/25/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   21.33
2844   188   Week 188    10/2/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   33.85
2844   189   Week 189    10/9/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   32.59
2844   190   Week 190   10/16/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   29.19
2844   191   Week 191   10/23/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   33.19
2844   192   Week 192   10/30/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   20.82
2844   193   Week 193    11/6/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    29.7
2844   194   Week 194   11/13/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   28.17
2844   195   Week 195   11/20/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    1.63
2844   196   Week 196   11/27/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   26.76
2844   197   Week 197    12/4/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   33.08
2844   198   Week 198   12/11/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   28.18
2844   199   Week 199   12/18/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75     6.8
2844   200   Week 200   12/25/2016   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    3.78
2844   201   Week 201     1/1/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   23.27
2844   202   Week 202     1/8/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   24.69
2844   203   Week 203    1/15/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   22.98
2844   204   Week 204    1/22/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    28.8
2844   205   Week 205    1/29/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75    23.6
2844   206   Week 206     2/5/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   25.63
2844   207   Week 207    2/12/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER   8.75   24.53
2844   208   Week 208    2/19/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   22.43
2844   209   Week 209    2/26/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   17.44
2844   210   Week 210     3/5/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   17.36
2844   211   Week 211    3/12/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9     6.1
2844   212   Week 212    3/19/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   32.91
2844   213   Week 213    3/26/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9    32.1
2844   214   Week 214     4/2/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   31.33
2844   215   Week 215     4/9/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   26.11
2844   216   Week 216    4/16/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   26.35
2844   217   Week 217    4/23/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   25.43
2844   218   Week 218    4/30/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   23.38
2844   219   Week 219     5/7/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   26.59
2844   220   Week 220    5/14/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   25.42
2844   221   Week 221    5/21/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   18.83
2844   222   Week 222    5/28/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH   KING   JOSEPH KING   DELIVERY DRIVER      9   14.58
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2844   222   Week 222    5/28/2017   Southern   Mark Livingston    45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9     5.9
2844   223   Week 223     6/4/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   20.03
2844   224   Week 224    6/11/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   18.78
2844   225   Week 225    6/18/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   23.32
2844   226   Week 226    6/25/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   16.62
2844   227   Week 227     7/2/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   11.33
2844   228   Week 228     7/9/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   13.68
2844   229   Week 229    7/16/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9     4.4
2844   230   Week 230    7/23/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   30.56
2844   231   Week 231    7/30/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   26.92
2844   232   Week 232     8/6/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    20.3
2844   233   Week 233    8/13/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   24.77
2844   234   Week 234    8/20/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   18.88
2844   236   Week 236     9/3/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    21.3
2844   237   Week 237    9/10/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   21.52
2844   238   Week 238    9/17/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   17.95
2844   239   Week 239    9/24/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   24.06
2844   240   Week 240    10/1/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   28.05
2844   241   Week 241    10/8/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   29.23
2844   242   Week 242   10/15/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   30.05
2844   243   Week 243   10/22/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   28.68
2844   244   Week 244   10/29/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    20.4
2844   245   Week 245    11/5/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   30.39
2844   246   Week 246   11/12/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   23.93
2844   247   Week 247   11/19/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    3.68
2844   248   Week 248   11/26/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   25.73
2844   249   Week 249    12/3/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   30.75
2844   250   Week 250   12/10/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   25.66
2844   251   Week 251   12/17/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   15.78
2844   253   Week 253   12/31/2017   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   17.12
2844   254   Week 254     1/7/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    28.7
2844   255   Week 255    1/14/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   21.53
2844   256   Week 256    1/21/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   24.15
2844   257   Week 257    1/28/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   22.68
2844   258   Week 258     2/4/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   32.64
2844   259   Week 259    2/11/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   20.73
2844   260   Week 260    2/18/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   25.24
2844   261   Week 261    2/25/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   28.86
2844   262   Week 262     3/4/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   20.98
2844   263   Week 263    3/11/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    4.02
2844   264   Week 264    3/18/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9    31.8
2844   265   Week 265    3/25/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   23.71
2844   266   Week 266     4/1/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9   27.76
2844   267   Week 267     4/8/2018   Southern   DO Travis Bryant   45   HUM   HUM115   339367   JOSEPH    KING       JOSEPH KING        DELIVERY DRIVER      9     6.2
4650   104   Week 104    2/22/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   9.36   54.66
4650   105   Week 105     3/1/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25   34.79
4650   106   Week 106     3/8/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25   10.28
4650   107   Week 107    3/15/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.65   44.25
4650   108   Week 108    3/22/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.8   46.14
4650   109   Week 109    3/29/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.36   41.09
4650   110   Week 110     4/5/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   9.35   54.59
4650   111   Week 111    4/12/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25    37.2
4650   112   Week 112    4/19/2015   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.54   43.04
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4650   113   Week 113    4/26/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25    38.6
4650   114   Week 114     5/3/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25    39.2
4650   115   Week 115    5/10/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25   36.93
4650   116   Week 116    5/17/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25   39.11
4650   117   Week 117    5/24/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.25   34.22
4650   118   Week 118    5/31/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.91   44.26
4650   119   Week 119     6/7/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   28.59
4650   120   Week 120    6/14/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   21.18
4650   121   Week 121    6/21/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   34.67
4650   122   Week 122    6/28/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   27.33
4650   123   Week 123     7/5/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   27.19
4650   123   Week 123     7/5/2015   Southern   Mark Livingston   69   KWD   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5    5.45
4650   124   Week 124    7/12/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   32.32
4650   125   Week 125    7/19/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   20.83
4650   126   Week 126    7/26/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   20.13
4650   127   Week 127     8/2/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5    9.03
4650   128   Week 128     8/9/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.55   40.44
4650   129   Week 129    8/16/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   9.45   51.47
4650   130   Week 130    8/23/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.67
4650   131   Week 131    8/30/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   31.41
4650   132   Week 132     9/6/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.74   42.44
4650   133   Week 133    9/13/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.56   40.59
4650   134   Week 134    9/20/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   25.57
4650   135   Week 135    9/27/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   27.74
4650   136   Week 136    10/4/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5    32.3
4650   137   Week 137   10/11/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   40.03
4650   138   Week 138   10/18/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   28.62
4650   139   Week 139   10/25/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   36.26
4650   140   Week 140    11/1/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.91
4650   141   Week 141    11/8/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.93
4650   142   Week 142   11/15/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   34.77
4650   143   Week 143   11/22/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5    6.68
4650   144   Week 144   11/29/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   33.89
4650   145   Week 145    12/6/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   39.29
4650   146   Week 146   12/13/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.79   42.91
4650   147   Week 147   12/20/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   11.67
4650   148   Week 148   12/27/2015   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   24.56
4650   149   Week 149     1/3/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.75
4650   150   Week 150    1/10/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   39.51
4650   151   Week 151    1/17/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5    39.4
4650   152   Week 152    1/24/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   32.84
4650   153   Week 153    1/31/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.27
4650   154   Week 154     2/7/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.56
4650   155   Week 155    2/14/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   35.69
4650   156   Week 156    2/21/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   33.74
4650   157   Week 157    2/28/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.82
4650   158   Week 158     3/6/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   35.72
4650   159   Week 159    3/13/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   37.44
4650   160   Week 160    3/20/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   31.64
4650   161   Week 161    3/27/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.51
4650   162   Week 162     4/3/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.56
4650   163   Week 163    4/10/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   36.77
4650   164   Week 164    4/17/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   22.37
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4650   165   Week 165    4/24/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.92   44.36
4650   166   Week 166     5/1/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   38.01
4650   167   Week 167     5/8/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER    8.5   39.05
4650   168   Week 168    5/15/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.69   36.54
4650   169   Week 169    5/22/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   23.17
4650   170   Week 170    5/29/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   27.03
4650   171   Week 171     6/5/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   31.17
4650   172   Week 172    6/12/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   38.93
4650   173   Week 173    6/19/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   29.02
4650   174   Week 174    6/26/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   19.74
4650   175   Week 175     7/3/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    6.48
4650   176   Week 176    7/10/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   38.42
4650   177   Week 177    7/17/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   30.38
4650   179   Week 179    7/31/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   36.59
4650   180   Week 180     8/7/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.83   40.71
4650   181   Week 181    8/14/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.76    33.1
4650   182   Week 182    8/21/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   32.66
4650   183   Week 183    8/28/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   28.04
4650   184   Week 184     9/4/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   29.69
4650   185   Week 185    9/11/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   39.68
4650   186   Week 186    9/18/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   39.44
4650   187   Week 187    9/25/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   28.68
4650   188   Week 188    10/2/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   33.32
4650   189   Week 189    10/9/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.86   41.06
4650   190   Week 190   10/16/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   33.97
4650   191   Week 191   10/23/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   28.19
4650   192   Week 192   10/30/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   33.84
4650   193   Week 193    11/6/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   37.14
4650   194   Week 194   11/13/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   29.94
4650   195   Week 195   11/20/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    4.53
4650   196   Week 196   11/27/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   36.03
4650   197   Week 197    12/4/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    29.9
4650   198   Week 198   12/11/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   26.01
4650   200   Week 200   12/25/2016   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   14.63
4650   201   Week 201     1/1/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   19.81
4650   202   Week 202     1/8/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   17.08
4650   203   Week 203    1/15/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   25.41
4650   204   Week 204    1/22/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   32.55
4650   205   Week 205    1/29/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   24.52
4650   206   Week 206     2/5/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   33.33
4650   207   Week 207    2/12/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    24.5
4650   208   Week 208    2/19/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   29.32
4650   209   Week 209    2/26/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   18.92
4650   210   Week 210     3/5/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   30.28
4650   211   Week 211    3/12/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    4.98
4650   212   Week 212    3/19/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    35.2
4650   213   Week 213    3/26/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    36.4
4650   214   Week 214     4/2/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75    31.1
4650   215   Week 215     4/9/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   19.37
4650   216   Week 216    4/16/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   21.17
4650   217   Week 217    4/23/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   27.46
4650   218   Week 218    4/30/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   26.45
4650   219   Week 219     5/7/2017   Southern   Mark Livingston   45   HUM   HUM151   601804   MICHAEL   SCHWERIN   MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   23.68
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4650   220   Week 220    5/14/2017   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   26.05
4650   221   Week 221    5/21/2017   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER   8.75   19.58
4650   222   Week 222    5/28/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   15.72
4650   222   Week 222    5/28/2017   Southern   Mark Livingston    45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER   8.86    8.38
4650   223   Week 223     6/4/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   28.26
4650   224   Week 224    6/11/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   28.95
4650   225   Week 225    6/18/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   17.95
4650   226   Week 226    6/25/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   25.13
4650   227   Week 227     7/2/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9    17.1
4650   228   Week 228     7/9/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   33.54
4650   229   Week 229    7/16/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   33.48
4650   230   Week 230    7/23/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   17.51
4650   231   Week 231    7/30/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9     5.5
4650   232   Week 232     8/6/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   27.76
4650   233   Week 233    8/13/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   28.79
4650   234   Week 234    8/20/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   23.27
4650   235   Week 235    8/27/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   13.31
4650   236   Week 236     9/3/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   35.81
4650   237   Week 237    9/10/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   29.31
4650   238   Week 238    9/17/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9    31.3
4650   239   Week 239    9/24/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   35.58
4650   240   Week 240    10/1/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9    29.9
4650   241   Week 241    10/8/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER   9.01   40.13
4650   242   Week 242   10/15/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   39.93
4650   243   Week 243   10/22/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   34.49
4650   244   Week 244   10/29/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   32.31
4650   245   Week 245    11/5/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   37.84
4650   246   Week 246   11/12/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   21.38
4650   248   Week 248   11/26/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   15.17
4650   249   Week 249    12/3/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   31.53
4650   250   Week 250   12/10/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   31.13
4650   251   Week 251   12/17/2017   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9    16.8
4650   254   Week 254     1/7/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   20.75
4650   255   Week 255    1/14/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   12.47
4650   256   Week 256    1/21/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   29.36
4650   257   Week 257    1/28/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   31.61
4650   258   Week 258     2/4/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   22.04
4650   259   Week 259    2/11/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   19.19
4650   260   Week 260    2/18/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   29.43
4650   261   Week 261    2/25/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   28.55
4650   262   Week 262     3/4/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   25.97
4650   264   Week 264    3/18/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   22.83
4650   265   Week 265    3/25/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   25.19
4650   266   Week 266     4/1/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9   18.89
4650   267   Week 267     4/8/2018   Southern   DO Travis Bryant   45   HUM   HUM151   601804   MICHAEL   SCHWERIN    MICHAEL SCHWERIN   DELIVERY DRIVER      9    6.12
  15    94   Week 94    12/14/2014   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25   11.58
  15    95   Week 95    12/21/2014   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25    5.35
  15    96   Week 96    12/28/2014   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25   10.07
  15    97   Week 97      1/4/2015   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25    22.3
  15    98   Week 98     1/11/2015   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25   33.52
  15    99   Week 99     1/18/2015   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25   15.42
  15   100   Week 100    1/25/2015   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25    23.1
  15   101   Week 101     2/1/2015   Southern   Mark Livingston    45   HUM   HUM383    41476   LARRY     LIBENGOOD   LARRY LIBENGOOD    DELIVERY DRIVER   8.25    20.2
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15   102   Week 102     2/8/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   26.12
15   103   Week 103    2/15/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   23.91
15   104   Week 104    2/22/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   24.51
15   105   Week 105     3/1/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   39.61
15   106   Week 106     3/8/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.8   46.09
15   107   Week 107    3/15/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   23.68
15   108   Week 108    3/22/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   26.26
15   109   Week 109    3/29/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   28.37
15   110   Week 110     4/5/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   24.25
15   111   Week 111    4/12/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   30.72
15   112   Week 112    4/19/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   30.41
15   113   Week 113    4/26/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   22.51
15   115   Week 115    5/10/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25    26.9
15   116   Week 116    5/17/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25    9.57
15   117   Week 117    5/24/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   8.25   15.83
15   118   Week 118    5/31/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    25.9
15   119   Week 119     6/7/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   25.25
15   120   Week 120    6/14/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5     5.3
15   121   Week 121    6/21/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   25.25
15   122   Week 122    6/28/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   10.88
15   123   Week 123     7/5/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    19.8
15   124   Week 124    7/12/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   29.09
15   125   Week 125    7/19/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5      28
15   126   Week 126    7/26/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   27.41
15   127   Week 127     8/2/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   37.06
15   128   Week 128     8/9/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   29.76
15   129   Week 129    8/16/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   24.37
15   130   Week 130    8/23/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   14.89
15   131   Week 131    8/30/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   17.83
15   132   Week 132     9/6/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   19.33
15   133   Week 133    9/13/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   25.57
15   134   Week 134    9/20/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.35
15   135   Week 135    9/27/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.89
15   136   Week 136    10/4/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.35
15   137   Week 137   10/11/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    23.1
15   138   Week 138   10/18/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   30.76
15   139   Week 139   10/25/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.85
15   140   Week 140    11/1/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    33.9
15   141   Week 141    11/8/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.49
15   142   Week 142   11/15/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   34.19
15   143   Week 143   11/22/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   13.75
15   144   Week 144   11/29/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   18.92
15   145   Week 145    12/6/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   17.77
15   147   Week 147   12/20/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    7.77
15   148   Week 148   12/27/2015   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   15.43
15   149   Week 149     1/3/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   33.65
15   150   Week 150    1/10/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   24.91
15   151   Week 151    1/17/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   26.95
15   152   Week 152    1/24/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   24.39
15   153   Week 153    1/31/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   20.41
15   154   Week 154     2/7/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   18.41
15   155   Week 155    2/14/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   25.62
15   156   Week 156    2/21/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   28.32
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15   157   Week 157    2/28/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   26.23
15   158   Week 158     3/6/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   29.64
15   159   Week 159    3/13/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   22.62
15   160   Week 160    3/20/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   27.98
15   161   Week 161    3/27/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   23.42
15   162   Week 162     4/3/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   19.31
15   163   Week 163    4/10/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5    30.9
15   164   Week 164    4/17/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   32.68
15   165   Week 165    4/24/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   31.44
15   166   Week 166     5/1/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   29.23
15   167   Week 167     5/8/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   32.03
15   168   Week 168    5/15/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER    8.5   21.75
15   169   Week 169    5/22/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.01   40.13
15   170   Week 170    5/29/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   25.68
15   171   Week 171     6/5/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   30.84
15   172   Week 172    6/12/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   31.96
15   173   Week 173    6/19/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   27.13
15   174   Week 174    6/26/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9      19
15   175   Week 175     7/3/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   29.88
15   176   Week 176    7/10/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   13.56
15   177   Week 177    7/17/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   20.71
15   178   Week 178    7/24/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   39.57
15   179   Week 179    7/31/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   32.08
15   180   Week 180     8/7/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   29.85
15   181   Week 181    8/14/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   24.19
15   182   Week 182    8/21/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   12.76
15   183   Week 183    8/28/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   17.18
15   184   Week 184     9/4/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   23.73
15   185   Week 185    9/11/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   24.29
15   186   Week 186    9/18/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   20.92
15   187   Week 187    9/25/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   29.13
15   188   Week 188    10/2/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   21.58
15   189   Week 189    10/9/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   21.83
15   190   Week 190   10/16/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   29.15
15   191   Week 191   10/23/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   35.44
15   192   Week 192   10/30/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   33.84
15   193   Week 193    11/6/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   24.29
15   194   Week 194   11/13/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   33.97
15   195   Week 195   11/20/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9      23
15   196   Week 196   11/27/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   37.09
15   197   Week 197    12/4/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   28.87
15   198   Week 198   12/11/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9    6.08
15   199   Week 199   12/18/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   28.25
15   200   Week 200   12/25/2016   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   16.02
15   201   Week 201     1/1/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   19.26
15   202   Week 202     1/8/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   22.15
15   203   Week 203    1/15/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   23.62
15   204   Week 204    1/22/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   30.74
15   205   Week 205    1/29/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9    22.6
15   206   Week 206     2/5/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9    31.6
15   207   Week 207    2/12/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   32.52
15   208   Week 208    2/19/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   36.02
15   209   Week 209    2/26/2017   Southern   Mark Livingston   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   27.18
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15   210   Week 210     3/5/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   34.67
15   211   Week 211    3/12/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   33.76
15   213   Week 213    3/26/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   29.26
15   214   Week 214     4/2/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   31.37
15   215   Week 215     4/9/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   27.47
15   216   Week 216    4/16/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   35.81
15   217   Week 217    4/23/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9      36
15   218   Week 218    4/30/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9    32.6
15   219   Week 219     5/7/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   21.75
15   220   Week 220    5/14/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   31.21
15   221   Week 221    5/21/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER      9   31.76
15   222   Week 222    5/28/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   20.25
15   222   Week 222    5/28/2017   Southern   Mark Livingston    45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.15   14.92
15   223   Week 223     6/4/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   26.22
15   224   Week 224    6/11/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   26.15
15   225   Week 225    6/18/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   25.81
15   226   Week 226    6/25/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   28.69
15   227   Week 227     7/2/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   22.21
15   228   Week 228     7/9/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   35.01
15   229   Week 229    7/16/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   21.37
15   230   Week 230    7/23/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    33.1
15   231   Week 231    7/30/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   35.06
15   232   Week 232     8/6/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.32   38.09
15   233   Week 233    8/13/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   26.76
15   234   Week 234    8/20/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25      18
15   235   Week 235    8/27/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    17.1
15   236   Week 236     9/3/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   34.37
15   237   Week 237    9/10/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   25.95
15   238   Week 238    9/17/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   30.17
15   239   Week 239    9/24/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    36.7
15   240   Week 240    10/1/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   32.61
15   241   Week 241    10/8/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    5.67
15   242   Week 242   10/15/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   29.56
15   243   Week 243   10/22/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   30.15
15   244   Week 244   10/29/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   31.04
15   245   Week 245    11/5/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   28.78
15   246   Week 246   11/12/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   24.99
15   247   Week 247   11/19/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   29.37
15   248   Week 248   11/26/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   39.74
15   249   Week 249    12/3/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25      36
15   250   Week 250   12/10/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   28.28
15   251   Week 251   12/17/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   12.97
15   253   Week 253   12/31/2017   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   35.99
15   254   Week 254     1/7/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   19.33
15   255   Week 255    1/14/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   16.68
15   256   Week 256    1/21/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   25.45
15   257   Week 257    1/28/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   34.74
15   258   Week 258     2/4/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   30.05
15   259   Week 259    2/11/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   35.67
15   260   Week 260    2/18/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   33.86
15   261   Week 261    2/25/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   27.76
15   262   Week 262     3/4/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   28.44
15   263   Week 263    3/11/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY   LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   28.44
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15   264   Week 264    3/18/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY     LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25   35.77
15   265   Week 265    3/25/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY     LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    36.6
15   266   Week 266     4/1/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY     LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    31.7
15   267   Week 267     4/8/2018   Southern   DO Travis Bryant   45   HUM   HUM383   41476   LARRY     LIBENGOOD   LARRY LIBENGOOD   DELIVERY DRIVER   9.25    6.33
 9    94   Week 94    12/14/2014   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   17.54
 9    95   Week 95    12/21/2014   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    6.98
 9    96   Week 96    12/28/2014   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    8.93
 9    97   Week 97      1/4/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   21.17
 9    98   Week 98     1/11/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   24.83
 9    99   Week 99     1/18/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.48
 9   100   Week 100    1/25/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    27.6
 9   101   Week 101     2/1/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   26.37
 9   102   Week 102     2/8/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   18.54
 9   103   Week 103    2/15/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   31.38
 9   104   Week 104    2/22/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   23.77
 9   105   Week 105     3/1/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   33.05
 9   106   Week 106     3/8/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   32.03
 9   107   Week 107    3/15/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   25.24
 9   108   Week 108    3/22/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   21.64
 9   109   Week 109    3/29/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   23.59
 9   110   Week 110     4/5/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    27.9
 9   111   Week 111    4/12/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   25.37
 9   112   Week 112    4/19/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   15.89
 9   113   Week 113    4/26/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.09
 9   114   Week 114     5/3/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.01
 9   115   Week 115    5/10/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   22.88
 9   116   Week 116    5/17/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   14.82
 9   117   Week 117    5/24/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   17.57
 9   118   Week 118    5/31/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    15.7
 9   119   Week 119     6/7/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   15.13
 9   120   Week 120    6/14/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8     8.7
 9   121   Week 121    6/21/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   18.92
 9   122   Week 122    6/28/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    8.77
 9   123   Week 123     7/5/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    13.3
 9   124   Week 124    7/12/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   16.47
 9   125   Week 125    7/19/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   10.92
 9   126   Week 126    7/26/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   18.76
 9   127   Week 127     8/2/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   16.38
 9   128   Week 128     8/9/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8     4.5
 9   129   Week 129    8/16/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   22.65
 9   130   Week 130    8/23/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    8.35
 9   131   Week 131    8/30/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    11.9
 9   132   Week 132     9/6/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   11.03
 9   134   Week 134    9/20/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   14.03
 9   135   Week 135    9/27/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   19.93
 9   136   Week 136    10/4/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   16.92
 9   137   Week 137   10/11/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.39
 9   138   Week 138   10/18/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   23.07
 9   139   Week 139   10/25/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8      17
 9   140   Week 140    11/1/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   10.13
 9   141   Week 141    11/8/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.55
 9   142   Week 142   11/15/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8   20.95
 9   143   Week 143   11/22/2015   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN        DARRELL BEAN      DELIVERY DRIVER      8    11.8
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9   144   Week 144   11/29/2015   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.47
9   145   Week 145    12/6/2015   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    18.8
9   146   Week 146   12/13/2015   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8      22
9   147   Week 147   12/20/2015   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    4.63
9   148   Week 148   12/27/2015   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    5.13
9   149   Week 149     1/3/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.02
9   150   Week 150    1/10/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.53
9   151   Week 151    1/17/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.64
9   152   Week 152    1/24/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.67
9   153   Week 153    1/31/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.28
9   154   Week 154     2/7/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   25.55
9   155   Week 155    2/14/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.13
9   156   Week 156    2/21/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.29
9   157   Week 157    2/28/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.93
9   158   Week 158     3/6/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   19.55
9   159   Week 159    3/13/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   23.42
9   160   Week 160    3/20/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.98
9   161   Week 161    3/27/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    24.4
9   162   Week 162     4/3/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.22
9   163   Week 163    4/10/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.77
9   164   Week 164    4/17/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.53
9   165   Week 165    4/24/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.56
9   166   Week 166     5/1/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.05
9   167   Week 167     5/8/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.62
9   168   Week 168    5/15/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.25
9   169   Week 169    5/22/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    24.6
9   170   Week 170    5/29/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   10.35
9   172   Week 172    6/12/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.26
9   173   Week 173    6/19/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   15.77
9   174   Week 174    6/26/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.56
9   175   Week 175     7/3/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.78
9   176   Week 176    7/10/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.68
9   177   Week 177    7/17/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.75
9   178   Week 178    7/24/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   24.25
9   179   Week 179    7/31/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   11.23
9   181   Week 181    8/14/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.23
9   182   Week 182    8/21/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   23.92
9   183   Week 183    8/28/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    24.5
9   184   Week 184     9/4/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.31
9   185   Week 185    9/11/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   15.29
9   186   Week 186    9/18/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.12
9   187   Week 187    9/25/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.67
9   188   Week 188    10/2/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.86
9   189   Week 189    10/9/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.02
9   190   Week 190   10/16/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.54
9   191   Week 191   10/23/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.24
9   192   Week 192   10/30/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    14.8
9   193   Week 193    11/6/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   23.73
9   194   Week 194   11/13/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.47
9   195   Week 195   11/20/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    9.91
9   197   Week 197    12/4/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    20.1
9   198   Week 198   12/11/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.06
9   199   Week 199   12/18/2016   Southern   Mark Livingston   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.07
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9   201   Week 201     1/1/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.77
9   202   Week 202     1/8/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    14.3
9   203   Week 203    1/15/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.07
9   204   Week 204    1/22/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.95
9   205   Week 205    1/29/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    17.2
9   206   Week 206     2/5/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.33
9   207   Week 207    2/12/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   11.86
9   208   Week 208    2/19/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.33
9   209   Week 209    2/26/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   22.96
9   210   Week 210     3/5/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   19.36
9   211   Week 211    3/12/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   24.92
9   212   Week 212    3/19/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   14.65
9   213   Week 213    3/26/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.78
9   214   Week 214     4/2/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    16.7
9   215   Week 215     4/9/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.22
9   216   Week 216    4/16/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.44
9   217   Week 217    4/23/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   14.39
9   218   Week 218    4/30/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    18.4
9   219   Week 219     5/7/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    19.4
9   220   Week 220    5/14/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8      20
9   221   Week 221    5/21/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    8.83
9   222   Week 222    5/28/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    8.01
9   222   Week 222    5/28/2017   Southern   Mark Livingston    45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    6.13
9   223   Week 223     6/4/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    16.5
9   224   Week 224    6/11/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.35
9   225   Week 225    6/18/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   23.44
9   226   Week 226    6/25/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.42
9   227   Week 227     7/2/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    7.31
9   228   Week 228     7/9/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.35
9   229   Week 229    7/16/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   13.38
9   230   Week 230    7/23/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.45
9   231   Week 231    7/30/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.16
9   232   Week 232     8/6/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   19.34
9   233   Week 233    8/13/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.34
9   234   Week 234    8/20/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   10.11
9   236   Week 236     9/3/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   15.15
9   237   Week 237    9/10/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.64
9   238   Week 238    9/17/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   12.98
9   239   Week 239    9/24/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.34
9   240   Week 240    10/1/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   20.27
9   241   Week 241    10/8/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   19.92
9   242   Week 242   10/15/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   23.63
9   243   Week 243   10/22/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.05
9   244   Week 244   10/29/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   14.52
9   245   Week 245    11/5/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   21.04
9   246   Week 246   11/12/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.13
9   247   Week 247   11/19/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8    4.18
9   248   Week 248   11/26/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8     8.9
9   250   Week 250   12/10/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   18.98
9   251   Week 251   12/17/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   10.21
9   252   Week 252   12/24/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   17.85
9   253   Week 253   12/31/2017   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   10.75
9   254   Week 254     1/7/2018   Southern   DO Travis Bryant   45   HUM   HUM391   44057   DARRELL   BEAN   DARRELL BEAN   DELIVERY DRIVER   8   16.65
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   9   255   Week 255    1/14/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8     9.2
   9   256   Week 256    1/21/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   17.95
   9   257   Week 257    1/28/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   11.58
   9   258   Week 258     2/4/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   20.85
   9   259   Week 259    2/11/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   16.65
   9   260   Week 260    2/18/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   19.53
   9   261   Week 261    2/25/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   16.64
   9   262   Week 262     3/4/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   21.02
   9   263   Week 263    3/11/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8    15.3
   9   264   Week 264    3/18/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   16.07
   9   265   Week 265    3/25/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8   17.14
   9   266   Week 266     4/1/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8    19.3
   9   267   Week 267     4/8/2018   Southern   DO Travis Bryant    45   HUM   HUM391   44057   DARRELL   BEAN       DARRELL BEAN      DELIVERY DRIVER      8    5.15
 874   134   Week 134    9/20/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8    14.9
 874   136   Week 136    10/4/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8    8.65
 874   137   Week 137   10/11/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   21.14
 874   138   Week 138   10/18/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   21.17
 874   139   Week 139   10/25/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   25.93
 874   140   Week 140    11/1/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   14.78
 874   141   Week 141    11/8/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   22.06
 874   142   Week 142   11/15/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   10.27
 874   143   Week 143   11/22/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8    27.5
 874   144   Week 144   11/29/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   20.35
 874   145   Week 145    12/6/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   27.27
 874   146   Week 146   12/13/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   27.09
 874   147   Week 147   12/20/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   25.66
 874   148   Week 148   12/27/2015   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8    20.6
 874   149   Week 149     1/3/2016   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   27.95
 874   150   Week 150    1/10/2016   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8      20
 874   151   Week 151    1/17/2016   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8   20.93
 874   152   Week 152    1/24/2016   Southern   Mark Livingston     45   HUM   HUM451   57754   James     Castillo   James Castillo    DELIVERY DRIVER      8      13
2859   101   Week 101     2/1/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   30.19
2859   102   Week 102     2/8/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   19.42
2859   103   Week 103    2/15/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   30.31
2859   104   Week 104    2/22/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   21.53
2859   105   Week 105     3/1/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   26.46
2859   106   Week 106     3/8/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   29.59
2859   107   Week 107    3/15/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25    37.2
2859   108   Week 108    3/22/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   33.55
2859   109   Week 109    3/29/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   32.39
2859   110   Week 110     4/5/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   25.15
2859   111   Week 111    4/12/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.5   42.59
2859   112   Week 112    4/19/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   29.33
2859   113   Week 113    4/26/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25      23
2859   114   Week 114     5/3/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   29.44
2859   115   Week 115    5/10/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   20.97
2859   116   Week 116    5/17/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   18.94
2859   117   Week 117    5/24/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   14.33
2859   118   Week 118    5/31/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   25.09
2859   119   Week 119     6/7/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25    14.8
2859   120   Week 120    6/14/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25      25
2859   121   Week 121    6/21/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   21.42
2859   122   Week 122    6/28/2015   Northern   Tim Casper         185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER   8.25   21.86
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2859   123   Week 123     7/5/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   23.32
2859   124   Week 124    7/12/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   23.51
2859   125   Week 125    7/19/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   19.98
2859   126   Week 126    7/26/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   26.54
2859   127   Week 127     8/2/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    26.3
2859   128   Week 128     8/9/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   14.55
2859   129   Week 129    8/16/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    9.94
2859   130   Week 130    8/23/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   17.67
2859   131   Week 131    8/30/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   15.69
2859   132   Week 132     9/6/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   21.72
2859   133   Week 133    9/13/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   15.47
2859   134   Week 134    9/20/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   14.89
2859   135   Week 135    9/27/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   16.93
2859   136   Week 136    10/4/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    19.5
2859   137   Week 137   10/11/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   10.42
2859   138   Week 138   10/18/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   10.26
2859   139   Week 139   10/25/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   15.93
2859   140   Week 140    11/1/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    21.2
2859   141   Week 141    11/8/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   18.81
2859   142   Week 142   11/15/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    6.05
2859   143   Week 143   11/22/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    8.78
2859   144   Week 144   11/29/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   14.13
2859   145   Week 145    12/6/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   21.47
2859   146   Week 146   12/13/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   29.58
2859   147   Week 147   12/20/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   10.05
2859   148   Week 148   12/27/2015   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25    8.12
2859   149   Week 149     1/3/2016   Northern   Tim Casper    185   IBM   IBM161   52103   JORDAN    KIRKWOOD   JORDAN KIRKWOOD   DELIVERY DRIVER    8.25   19.78
2687   159   Week 159    3/13/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10     9.4
2687   160   Week 160    3/20/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   11.49
2687   161   Week 161    3/27/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10    17.4
2687   162   Week 162     4/3/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   23.83
2687   163   Week 163    4/10/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   24.69
2687   164   Week 164    4/17/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   21.55
2687   165   Week 165    4/24/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   19.66
2687   166   Week 166     5/1/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10    7.62
2687   167   Week 167     5/8/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   24.91
2687   168   Week 168    5/15/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   25.94
2687   169   Week 169    5/22/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   16.12
2687   170   Week 170    5/29/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10    8.53
2687   171   Week 171     6/5/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   28.15
2687   172   Week 172    6/12/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10    9.97
2687   173   Week 173    6/19/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER      10   19.85
2687   174   Week 174    6/26/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER   10.29   14.21
2687   175   Week 175     7/3/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   11.67
2687   176   Week 176    7/10/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   13.83
2687   177   Week 177    7/17/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   14.24
2687   178   Week 178    7/24/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   16.53
2687   179   Week 179    7/31/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   17.64
2687   180   Week 180     8/7/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   15.02
2687   181   Week 181    8/14/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   15.58
2687   182   Week 182    8/21/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   17.84
2687   183   Week 183    8/28/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5    9.77
2687   184   Week 184     9/4/2016   Northern   Greg Winger   142   ICS   ICS405   43018   REBECCA   JOHNSON    REBECCA JOHNSON   DELIVERY DRIVER    10.5   16.92
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2687   185   Week 185    9/11/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   32.64
2687   186   Week 186    9/18/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   26.77
2687   187   Week 187    9/25/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5    23.4
2687   188   Week 188    10/2/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   34.45
2687   189   Week 189    10/9/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   25.78
2687   190   Week 190   10/16/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   24.24
2687   191   Week 191   10/23/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   28.84
2687   192   Week 192   10/30/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   33.01
2687   193   Week 193    11/6/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   29.53
2687   194   Week 194   11/13/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5   21.46
2687   195   Week 195   11/20/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5    4.69
2687   197   Week 197    12/4/2016   Northern   Greg Winger          142   ICS   ICS405   43018   REBECCA   JOHNSON   REBECCA JOHNSON   DELIVERY DRIVER    10.5    2.63
5092   198   Week 198   12/11/2016   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   25.13
5092   199   Week 199   12/18/2016   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    8.08
5092   200   Week 200   12/25/2016   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   10.01
5092   201   Week 201     1/1/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5      15
5092   202   Week 202     1/8/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   17.06
5092   203   Week 203    1/15/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    37.7
5092   204   Week 204    1/22/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   38.91
5092   205   Week 205    1/29/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   30.64
5092   206   Week 206     2/5/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   29.87
5092   207   Week 207    2/12/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    28.6
5092   208   Week 208    2/19/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   21.74
5092   209   Week 209    2/26/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   28.77
5092   210   Week 210     3/5/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   19.99
5092   211   Week 211    3/12/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   15.31
5092   212   Week 212    3/19/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   13.89
5092   213   Week 213    3/26/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    23.1
5092   214   Week 214     4/2/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   14.11
5092   215   Week 215     4/9/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    3.83
5092   216   Week 216    4/16/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   17.53
5092   217   Week 217    4/23/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   19.73
5092   218   Week 218    4/30/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   21.61
5092   219   Week 219     5/7/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   17.79
5092   220   Week 220    5/14/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   10.55
5092   221   Week 221    5/21/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   17.07
5092   222   Week 222    5/28/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    9.45
5092   222   Week 222    5/28/2017   Northern   Greg Winger          142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    5.31
5092   223   Week 223     6/4/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   15.24
5092   224   Week 224    6/11/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5    6.25
5092   225   Week 225    6/18/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    10.5   16.61
5092   226   Week 226    6/25/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER   10.61   14.62
5092   227   Week 227     7/2/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11    4.85
5092   228   Week 228     7/9/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   11.12
5092   229   Week 229    7/16/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   10.92
5092   230   Week 230    7/23/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   12.89
5092   231   Week 231    7/30/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   13.97
5092   232   Week 232     8/6/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   18.05
5092   233   Week 233    8/13/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   13.09
5092   234   Week 234    8/20/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   12.96
5092   235   Week 235    8/27/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   13.23
5092   236   Week 236     9/3/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11    3.22
5092   237   Week 237    9/10/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER      11   14.88
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5092   238   Week 238    9/17/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    15.63
5092   239   Week 239    9/24/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    13.49
5092   240   Week 240    10/1/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    15.68
5092   241   Week 241    10/8/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    14.73
5092   242   Week 242   10/15/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     18.8
5092   243   Week 243   10/22/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    12.91
5092   244   Week 244   10/29/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    10.95
5092   245   Week 245    11/5/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    13.39
5092   246   Week 246   11/12/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    14.44
5092   247   Week 247   11/19/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     2.72
5092   248   Week 248   11/26/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    16.64
5092   249   Week 249    12/3/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    12.74
5092   250   Week 250   12/10/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    13.16
5092   251   Week 251   12/17/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     9.68
5092   253   Week 253   12/31/2017   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    13.42
5092   254   Week 254     1/7/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     9.82
5092   255   Week 255    1/14/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11      9.2
5092   256   Week 256    1/21/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     9.42
5092   257   Week 257    1/28/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     7.91
5092   258   Week 258     2/4/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     8.32
5092   259   Week 259    2/11/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     8.63
5092   260   Week 260    2/18/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11    13.25
5092   261   Week 261    2/25/2018   Northern   DO Michael Johnson   142   ICS   ICS440   43059   MARK      TANNOUS   MARK TANNOUS      DELIVERY DRIVER    11     4.23
4705   219   Week 219     5/7/2017   Northern   Greg Winger          142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   11.4   22.37
4705   220   Week 220    5/14/2017   Northern   Greg Winger          142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   16.51
4705   221   Week 221    5/21/2017   Northern   Greg Winger          142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   11.41
4705   222   Week 222    5/28/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   22.77
4705   223   Week 223     6/4/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   11.23
4705   224   Week 224    6/11/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   19.32
4705   225   Week 225    6/18/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   19.26
4705   226   Week 226    6/25/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER   10.5   12.33
4705   227   Week 227     7/2/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     5.42
4705   228   Week 228     7/9/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     17.6
4705   229   Week 229    7/16/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    14.67
4705   230   Week 230    7/23/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     7.25
4705   231   Week 231    7/30/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    12.02
4705   232   Week 232     8/6/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     1.63
4705   233   Week 233    8/13/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11      2.9
4705   234   Week 234    8/20/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    24.97
4705   235   Week 235    8/27/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    15.94
4705   236   Week 236     9/3/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    16.13
4705   237   Week 237    9/10/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    23.06
4705   238   Week 238    9/17/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    13.31
4705   239   Week 239    9/24/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    19.35
4705   240   Week 240    10/1/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    27.96
4705   241   Week 241    10/8/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     8.64
4705   242   Week 242   10/15/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     16.1
4705   243   Week 243   10/22/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     11.8
4705   244   Week 244   10/29/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    16.41
4705   245   Week 245    11/5/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    15.78
4705   246   Week 246   11/12/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    12.29
4705   247   Week 247   11/19/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11     6.22
4705   248   Week 248   11/26/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON   EARNEST SHANNON   DELIVERY DRIVER    11    15.56
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4705   249   Week 249    12/3/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON     EARNEST SHANNON    DELIVERY DRIVER     11   23.88
4705   250   Week 250   12/10/2017   Northern   DO Michael Johnson   142   ICS   ICS562   43095   EARNEST   SHANNON     EARNEST SHANNON    DELIVERY DRIVER     11   13.11
4274   246   Week 246   11/12/2017   Northern   DO Michael Johnson   142   ICS   ICS577   43114   MICHAEL   RANKIN      MICHAEL RANKIN     DELIVERY DRIVER     11   20.05
1543   133   Week 133    9/13/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   8.25   23.48
1543   134   Week 134    9/20/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   8.25   28.05
1543   135   Week 135    9/27/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   34.57
1543   136   Week 136    10/4/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   23.46
1543   137   Week 137   10/11/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   22.81
1543   138   Week 138   10/18/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    8.97
1543   139   Week 139   10/25/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    9.93
1543   140   Week 140    11/1/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   10.43
1543   141   Week 141    11/8/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    7.73
1543   142   Week 142   11/15/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   19.95
1543   143   Week 143   11/22/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   11.69
1543   144   Week 144   11/29/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    4.23
1543   145   Week 145    12/6/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   21.97
1543   146   Week 146   12/13/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   29.35
1543   147   Week 147   12/20/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    7.44
1543   148   Week 148   12/27/2015   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   13.75
1543   149   Week 149     1/3/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   28.64
1543   150   Week 150    1/10/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   30.02
1543   151   Week 151    1/17/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   18.99
1543   152   Week 152    1/24/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   26.01
1543   153   Week 153    1/31/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   22.67
1543   154   Week 154     2/7/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   35.16
1543   155   Week 155    2/14/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   29.99
1543   156   Week 156    2/21/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   29.23
1543   157   Week 157    2/28/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   29.18
1543   158   Week 158     3/6/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   33.22
1543   159   Week 159    3/13/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   25.35
1543   160   Week 160    3/20/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   25.31
1543   161   Week 161    3/27/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5    29.9
1543   162   Week 162     4/3/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   32.36
1543   163   Week 163    4/10/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   22.78
1543   164   Week 164    4/17/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   33.38
1543   165   Week 165    4/24/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   25.87
1543   166   Week 166     5/1/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   19.75
1543   167   Week 167     5/8/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   26.29
1543   168   Week 168    5/15/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   19.11
1543   169   Week 169    5/22/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   24.66
1543   170   Week 170    5/29/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   33.47
1543   171   Week 171     6/5/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   30.76
1543   172   Week 172    6/12/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   30.19
1543   173   Week 173    6/19/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   30.91
1543   174   Week 174    6/26/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   20.41
1543   175   Week 175     7/3/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   33.32
1543   176   Week 176    7/10/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   27.23
1543   177   Week 177    7/17/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   22.74
1543   178   Week 178    7/24/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   24.76
1543   179   Week 179    7/31/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   27.22
1543   180   Week 180     8/7/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   31.56
1543   181   Week 181    8/14/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   32.35
1543   182   Week 182    8/21/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER    9.5   28.77
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1543   183   Week 183    8/28/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    28.9
1543   184   Week 184     9/4/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   16.37
1543   185   Week 185    9/11/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   20.54
1543   186   Week 186    9/18/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   27.16
1543   187   Week 187    9/25/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   23.02
1543   188   Week 188    10/2/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   16.06
1543   189   Week 189    10/9/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   28.32
1543   190   Week 190   10/16/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   25.97
1543   191   Week 191   10/23/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    21.8
1543   192   Week 192   10/30/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    15.6
1543   193   Week 193    11/6/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   32.25
1543   194   Week 194   11/13/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   25.03
1543   195   Week 195   11/20/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   18.25
1543   196   Week 196   11/27/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   21.91
1543   197   Week 197    12/4/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   30.34
1543   198   Week 198   12/11/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   25.93
1543   199   Week 199   12/18/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   15.57
1543   200   Week 200   12/25/2016   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   16.14
1543   201   Week 201     1/1/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   18.65
1543   202   Week 202     1/8/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   25.56
1543   203   Week 203    1/15/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   29.76
1543   204   Week 204    1/22/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   21.47
1543   205   Week 205    1/29/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   22.45
1543   206   Week 206     2/5/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   17.66
1543   207   Week 207    2/12/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   23.15
1543   208   Week 208    2/19/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    26.4
1543   209   Week 209    2/26/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   30.87
1543   210   Week 210     3/5/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   34.02
1543   211   Week 211    3/12/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   28.69
1543   212   Week 212    3/19/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   33.77
1543   213   Week 213    3/26/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   18.67
1543   214   Week 214     4/2/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   22.08
1543   215   Week 215     4/9/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   22.38
1543   216   Week 216    4/16/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   29.56
1543   217   Week 217    4/23/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   25.29
1543   219   Week 219     5/7/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   12.31
1543   220   Week 220    5/14/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   30.59
1543   221   Week 221    5/21/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   19.73
1543   222   Week 222    5/28/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    19.8
1543   222   Week 222    5/28/2017   Northern   Tim Casper           199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   10.68
1543   223   Week 223     6/4/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5      28
1543   224   Week 224    6/11/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   19.53
1543   225   Week 225    6/18/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   29.03
1543   226   Week 226    6/25/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   33.68
1543   227   Week 227     7/2/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   28.89
1543   228   Week 228     7/9/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   22.56
1543   229   Week 229    7/16/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   34.44
1543   230   Week 230    7/23/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   19.07
1543   231   Week 231    7/30/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   33.41
1543   232   Week 232     8/6/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   32.74
1543   233   Week 233    8/13/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   31.03
1543   234   Week 234    8/20/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5   27.09
1543   235   Week 235    8/27/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS   EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER   9.5    24.6
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1543   236   Week 236     9/3/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   28.64
1543   237   Week 237    9/10/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   37.95
1543   238   Week 238    9/17/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   28.92
1543   239   Week 239    9/24/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   34.83
1543   240   Week 240    10/1/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   31.97
1543   241   Week 241    10/8/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   30.67
1543   242   Week 242   10/15/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   27.02
1543   243   Week 243   10/22/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   32.67
1543   244   Week 244   10/29/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   25.05
1543   245   Week 245    11/5/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   26.03
1543   246   Week 246   11/12/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5    30.4
1543   247   Week 247   11/19/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   23.57
1543   248   Week 248   11/26/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   34.24
1543   249   Week 249    12/3/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5    20.3
1543   250   Week 250   12/10/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER     9.5   25.97
1543   251   Week 251   12/17/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   20.35
1543   252   Week 252   12/24/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   20.59
1543   253   Week 253   12/31/2017   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   39.03
1543   254   Week 254     1/7/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10    20.7
1543   255   Week 255    1/14/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   32.76
1543   256   Week 256    1/21/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   28.46
1543   257   Week 257    1/28/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10      34
1543   258   Week 258     2/4/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10    33.3
1543   259   Week 259    2/11/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10    25.1
1543   260   Week 260    2/18/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   26.58
1543   261   Week 261    2/25/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   29.19
1543   262   Week 262     3/4/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   31.61
1543   263   Week 263    3/11/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   31.66
1543   264   Week 264    3/18/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   35.96
1543   265   Week 265    3/25/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   25.89
1543   266   Week 266     4/1/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10   13.02
1543   267   Week 267     4/8/2018   Northern   DO Michael Johnson   199   IEP   IEP002   56959   DENNIS    EGGEMEYER   DENNIS EGGEMEYER   DELIVERY DRIVER      10    6.47
1581   173   Week 173    6/19/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25    4.12
1581   174   Week 174    6/26/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25    3.45
1581   177   Week 177    7/17/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25   12.87
1581   179   Week 179    7/31/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25   10.26
1581   181   Week 181    8/14/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25    3.97
1581   183   Week 183    8/28/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25    7.12
1581   184   Week 184     9/4/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER    9.25       3
1581   188   Week 188    10/2/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER     9.5    0.02
1581   196   Week 196   11/27/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER     9.2    0.05
1581   197   Week 197    12/4/2016   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER      10    3.57
1581   202   Week 202     1/8/2017   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER      10    1.75
1581   203   Week 203    1/15/2017   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER      10    0.05
1581   207   Week 207    2/12/2017   Northern   Tim Casper           199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER      10    0.87
1581   227   Week 227     7/2/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.26     0.5
1581   232   Week 232     8/6/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.29    4.22
1581   233   Week 233    8/13/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.25    4.14
1581   234   Week 234    8/20/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.25    1.98
1581   241   Week 241    10/8/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.25    1.35
1581   242   Week 242   10/15/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.26    0.78
1581   247   Week 247   11/19/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.25    2.33
1581   253   Week 253   12/31/2017   Northern   DO Michael Johnson   199   IEP   IEP019   57128   SHANNON   ERXLEBEN    SHANNON ERXLEBEN   DELIVERY DRIVER   10.25    0.67
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4437   136   Week 136    10/4/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   12.29
4437   137   Week 137   10/11/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   30.92
4437   138   Week 138   10/18/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   21.11
4437   139   Week 139   10/25/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   23.08
4437   140   Week 140    11/1/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   18.35
4437   141   Week 141    11/8/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   20.82
4437   142   Week 142   11/15/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   24.27
4437   143   Week 143   11/22/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    15.4
4437   144   Week 144   11/29/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   34.04
4437   145   Week 145    12/6/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   28.53
4437   146   Week 146   12/13/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.75
4437   147   Week 147   12/20/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   23.87
4437   148   Week 148   12/27/2015   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9     6.8
4437   149   Week 149     1/3/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   32.34
4437   150   Week 150    1/10/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   27.83
4437   151   Week 151    1/17/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   25.17
4437   152   Week 152    1/24/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    21.8
4437   153   Week 153    1/31/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   21.39
4437   154   Week 154     2/7/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.38
4437   155   Week 155    2/14/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   11.69
4437   157   Week 157    2/28/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   24.93
4437   158   Week 158     3/6/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   10.73
4437   159   Week 159    3/13/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   31.59
4437   160   Week 160    3/20/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   24.35
4437   161   Week 161    3/27/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   27.27
4437   162   Week 162     4/3/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   26.88
4437   163   Week 163    4/10/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   10.79
4437   164   Week 164    4/17/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   36.08
4437   165   Week 165    4/24/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   15.76
4437   166   Week 166     5/1/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   33.89
4437   167   Week 167     5/8/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   26.53
4437   168   Week 168    5/15/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   17.63
4437   169   Week 169    5/22/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   24.09
4437   170   Week 170    5/29/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.88
4437   171   Week 171     6/5/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   22.65
4437   172   Week 172    6/12/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   34.22
4437   173   Week 173    6/19/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   25.12
4437   174   Week 174    6/26/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   23.65
4437   175   Week 175     7/3/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.23
4437   176   Week 176    7/10/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   25.49
4437   177   Week 177    7/17/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    20.7
4437   178   Week 178    7/24/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   31.57
4437   179   Week 179    7/31/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   11.33
4437   180   Week 180     8/7/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   29.48
4437   181   Week 181    8/14/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   22.94
4437   182   Week 182    8/21/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.59
4437   183   Week 183    8/28/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   21.25
4437   184   Week 184     9/4/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   35.24
4437   185   Week 185    9/11/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   29.77
4437   186   Week 186    9/18/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    7.12
4437   187   Week 187    9/25/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   23.15
4437   188   Week 188    10/2/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   20.28
4437   189   Week 189    10/9/2016   Northern   Tim Casper   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   17.06
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4437   190   Week 190   10/16/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   19.74
4437   191   Week 191   10/23/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   20.85
4437   192   Week 192   10/30/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   18.76
4437   193   Week 193    11/6/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   13.87
4437   194   Week 194   11/13/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   14.57
4437   195   Week 195   11/20/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   16.53
4437   196   Week 196   11/27/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   20.31
4437   197   Week 197    12/4/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   14.05
4437   198   Week 198   12/11/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   22.43
4437   199   Week 199   12/18/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   13.37
4437   200   Week 200   12/25/2016   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    3.87
4437   201   Week 201     1/1/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   16.07
4437   202   Week 202     1/8/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    5.87
4437   203   Week 203    1/15/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   14.67
4437   204   Week 204    1/22/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9     8.6
4437   205   Week 205    1/29/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.11
4437   206   Week 206     2/5/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.88
4437   207   Week 207    2/12/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9     9.6
4437   208   Week 208    2/19/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   12.39
4437   209   Week 209    2/26/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    8.27
4437   210   Week 210     3/5/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    8.74
4437   211   Week 211    3/12/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    8.33
4437   212   Week 212    3/19/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.48
4437   213   Week 213    3/26/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.01
4437   214   Week 214     4/2/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   15.18
4437   215   Week 215     4/9/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    5.97
4437   216   Week 216    4/16/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    6.81
4437   217   Week 217    4/23/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    3.08
4437   218   Week 218    4/30/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    3.12
4437   219   Week 219     5/7/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   21.26
4437   220   Week 220    5/14/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   13.49
4437   221   Week 221    5/21/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.38
4437   222   Week 222    5/28/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.17
4437   222   Week 222    5/28/2017   Northern   Tim Casper           199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    5.22
4437   223   Week 223     6/4/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    8.82
4437   224   Week 224    6/11/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   16.67
4437   225   Week 225    6/18/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    14.5
4437   226   Week 226    6/25/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    11.3
4437   227   Week 227     7/2/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.25
4437   228   Week 228     7/9/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   12.02
4437   229   Week 229    7/16/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   11.82
4437   230   Week 230    7/23/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.15
4437   231   Week 231    7/30/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   12.74
4437   232   Week 232     8/6/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   10.74
4437   234   Week 234    8/20/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    3.22
4437   235   Week 235    8/27/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.52
4437   236   Week 236     9/3/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    7.66
4437   237   Week 237    9/10/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    3.07
4437   238   Week 238    9/17/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   14.97
4437   239   Week 239    9/24/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    2.97
4437   241   Week 241    10/8/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9    9.67
4437   242   Week 242   10/15/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9     9.8
4437   243   Week 243   10/22/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER   9   18.65
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4437   244   Week 244   10/29/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9     8.1
4437   245   Week 245    11/5/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    6.01
4437   247   Week 247   11/19/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    3.38
4437   248   Week 248   11/26/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    8.35
4437   249   Week 249    12/3/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9   15.78
4437   250   Week 250   12/10/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    7.05
4437   251   Week 251   12/17/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    6.43
4437   253   Week 253   12/31/2017   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9   11.72
4437   254   Week 254     1/7/2018   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9   21.15
4437   255   Week 255    1/14/2018   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9   17.18
4437   256   Week 256    1/21/2018   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    5.22
4437   257   Week 257    1/28/2018   Northern   DO Michael Johnson   199   IEP   IEP084   57968   VICTORIA   ROBINSON   VICTORIA ROBINSON   DELIVERY DRIVER      9    2.97
2766   156   Week 156    2/21/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   21.62
2766   157   Week 157    2/28/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   33.43
2766   158   Week 158     3/6/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   20.61
2766   159   Week 159    3/13/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   20.61
2766   160   Week 160    3/20/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   17.03
2766   161   Week 161    3/27/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   21.48
2766   162   Week 162     4/3/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.21
2766   163   Week 163    4/10/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   25.68
2766   164   Week 164    4/17/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   21.24
2766   165   Week 165    4/24/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   28.27
2766   166   Week 166     5/1/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   29.78
2766   167   Week 167     5/8/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER   9.07   40.66
2766   168   Week 168    5/15/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.61
2766   169   Week 169    5/22/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   27.31
2766   170   Week 170    5/29/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.43
2766   171   Week 171     6/5/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.15
2766   172   Week 172    6/12/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.12
2766   173   Week 173    6/19/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   19.88
2766   174   Week 174    6/26/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   33.43
2766   175   Week 175     7/3/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.33
2766   176   Week 176    7/10/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   34.37
2766   177   Week 177    7/17/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.97
2766   178   Week 178    7/24/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.74
2766   179   Week 179    7/31/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   17.58
2766   180   Week 180     8/7/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   14.66
2766   181   Week 181    8/14/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   18.53
2766   182   Week 182    8/21/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9      24
2766   183   Week 183    8/28/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   18.66
2766   184   Week 184     9/4/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   13.75
2766   185   Week 185    9/11/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   19.49
2766   186   Week 186    9/18/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.95
2766   187   Week 187    9/25/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.28
2766   188   Week 188    10/2/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9    22.8
2766   189   Week 189    10/9/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   18.59
2766   190   Week 190   10/16/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   18.77
2766   191   Week 191   10/23/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   25.73
2766   192   Week 192   10/30/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9    20.5
2766   193   Week 193    11/6/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   16.26
2766   194   Week 194   11/13/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   26.98
2766   195   Week 195   11/20/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9    9.52
2766   196   Week 196   11/27/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN    JENNIFER KAUFMAN    DELIVERY DRIVER      9   22.45
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2766   197   Week 197    12/4/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   24.21
2766   198   Week 198   12/11/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   14.97
2766   199   Week 199   12/18/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    7.84
2766   200   Week 200   12/25/2016   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    12.8
2766   201   Week 201     1/1/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    8.61
2766   202   Week 202     1/8/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   15.74
2766   203   Week 203    1/15/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   15.25
2766   204   Week 204    1/22/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   19.02
2766   205   Week 205    1/29/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   27.91
2766   206   Week 206     2/5/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    19.5
2766   207   Week 207    2/12/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   29.52
2766   208   Week 208    2/19/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   25.86
2766   209   Week 209    2/26/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   25.23
2766   210   Week 210     3/5/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    27.1
2766   211   Week 211    3/12/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9      29
2766   212   Week 212    3/19/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   29.28
2766   213   Week 213    3/26/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   14.46
2766   214   Week 214     4/2/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   17.78
2766   215   Week 215     4/9/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   14.68
2766   216   Week 216    4/16/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   12.19
2766   217   Week 217    4/23/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER   9.07   25.82
2766   218   Week 218    4/30/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   23.08
2766   219   Week 219     5/7/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   21.03
2766   220   Week 220    5/14/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   21.59
2766   221   Week 221    5/21/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   22.36
2766   222   Week 222    5/28/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    3.37
2766   222   Week 222    5/28/2017   Northern   Tim Casper           199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    5.99
2766   223   Week 223     6/4/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   20.42
2766   224   Week 224    6/11/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   24.43
2766   225   Week 225    6/18/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    8.23
2766   226   Week 226    6/25/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    17.6
2766   227   Week 227     7/2/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   20.73
2766   228   Week 228     7/9/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   21.51
2766   229   Week 229    7/16/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   26.03
2766   230   Week 230    7/23/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   25.08
2766   231   Week 231    7/30/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9    9.84
2766   232   Week 232     8/6/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   14.29
2766   233   Week 233    8/13/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   19.93
2766   234   Week 234    8/20/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   17.53
2766   235   Week 235    8/27/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   36.27
2766   236   Week 236     9/3/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   33.83
2766   237   Week 237    9/10/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   32.65
2766   238   Week 238    9/17/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   36.51
2766   239   Week 239    9/24/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   29.21
2766   240   Week 240    10/1/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   24.98
2766   241   Week 241    10/8/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   18.64
2766   242   Week 242   10/15/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   36.54
2766   243   Week 243   10/22/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   25.23
2766   244   Week 244   10/29/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   29.71
2766   245   Week 245    11/5/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   24.93
2766   246   Week 246   11/12/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   37.22
2766   247   Week 247   11/19/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   22.59
2766   248   Week 248   11/26/2017   Northern   DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9      29
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2766   249   Week 249    12/3/2017   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER   9.09   39.12
2766   250   Week 250   12/10/2017   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER      9   28.29
2766   251   Week 251   12/17/2017   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER   9.43   28.54
2766   252   Week 252   12/24/2017   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   19.99
2766   253   Week 253   12/31/2017   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5    9.06
2766   254   Week 254     1/7/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   36.74
2766   255   Week 255    1/14/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   29.08
2766   256   Week 256    1/21/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   32.27
2766   257   Week 257    1/28/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   22.07
2766   258   Week 258     2/4/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   22.71
2766   259   Week 259    2/11/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   35.89
2766   260   Week 260    2/18/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   24.63
2766   261   Week 261    2/25/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   37.89
2766   262   Week 262     3/4/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   24.54
2766   263   Week 263    3/11/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   31.23
2766   264   Week 264    3/18/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   15.53
2766   265   Week 265    3/25/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   20.71
2766   266   Week 266     4/1/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5   26.87
2766   267   Week 267     4/8/2018   Northern DO Michael Johnson   199   IEP   IEP094   60530   JENNIFER   KAUFMAN   JENNIFER KAUFMAN   DELIVERY DRIVER    9.5    2.67
3925   139   Week 139   10/25/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER   8.26    0.47
3925   140   Week 140    11/1/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER   8.25    0.55
3925   141   Week 141    11/8/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER    8.2    0.05
3925   144   Week 144   11/29/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER   8.26    0.47
3925   146   Week 146   12/13/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER   8.25    0.73
3925   148   Week 148   12/27/2015   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER   8.25    1.65
3925   149   Week 149     1/3/2016   Closed LocaClosed Locations   196   IGV   IGV028   54928   ANNIE      PAGETT    ANNIE PAGETT       DELIVERY DRIVER    8.2    0.05
5084   157   Week 157    2/28/2016   Closed LocaClosed Locations   196   IGV   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    6.22
5084   158   Week 158     3/6/2016   Closed LocaClosed Locations   196   IGV   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   12.18
5084   159   Week 159    3/13/2016   Closed LocaClosed Locations   196   IGV   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   14.36
5084   160   Week 160    3/20/2016   Closed LocaClosed Locations   196   IGV   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    5.24
5084   161   Week 161    3/27/2016   Closed LocaClosed Locations   196   IGV   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    2.25
5084   161   Week 161    3/27/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    2.98
5084   162   Week 162     4/3/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    9.08
5084   163   Week 163    4/10/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    5.45
5084   164   Week 164    4/17/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    8.46
5084   165   Week 165    4/24/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    5.99
5084   166   Week 166     5/1/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   11.17
5084   167   Week 167     5/8/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    9.65
5084   168   Week 168    5/15/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    8.57
5084   169   Week 169    5/22/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    8.85
5084   170   Week 170    5/29/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    6.96
5084   171   Week 171     6/5/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    5.43
5084   172   Week 172    6/12/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   12.45
5084   173   Week 173    6/19/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   12.23
5084   174   Week 174    6/26/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    9.65
5084   175   Week 175     7/3/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25     7.1
5084   176   Week 176    7/10/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    9.25
5084   177   Week 177    7/17/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    12.2
5084   178   Week 178    7/24/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   11.37
5084   179   Week 179    7/31/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   15.85
5084   180   Week 180     8/7/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    12.6
5084   181   Week 181    8/14/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25   14.42
5084   182   Week 182    8/21/2016   Northern Greg Winger          147   IPR   IGV100   60880   RICHARD    TALMAN    RICHARD TALMAN     DELIVERY DRIVER   8.25    3.77
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5084   183   Week 183    8/28/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25     7.1
5084   184   Week 184     9/4/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   14.38
5084   185   Week 185    9/11/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   13.96
5084   186   Week 186    9/18/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25    18.1
5084   187   Week 187    9/25/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   14.26
5084   188   Week 188    10/2/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   26.29
5084   189   Week 189    10/9/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   18.05
5084   190   Week 190   10/16/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   17.35
5084   191   Week 191   10/23/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25   29.27
5084   192   Week 192   10/30/2016   Northern   Greg Winger          147   IPR   IGV100   60880   RICHARD   TALMAN   RICHARD TALMAN   DELIVERY DRIVER   8.25    7.95
5031   106   Week 106     3/8/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   27.17
5031   107   Week 107    3/15/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    28.6
5031   108   Week 108    3/22/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   22.28
5031   109   Week 109    3/29/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   19.67
5031   110   Week 110     4/5/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   28.45
5031   111   Week 111    4/12/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   21.64
5031   112   Week 112    4/19/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER   8.86   43.66
5031   113   Week 113    4/26/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   31.07
5031   114   Week 114     5/3/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   19.37
5031   115   Week 115    5/10/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   24.97
5031   116   Week 116    5/17/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   27.95
5031   117   Week 117    5/24/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   16.73
5031   118   Week 118    5/31/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   26.27
5031   119   Week 119     6/7/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   27.08
5031   120   Week 120    6/14/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   22.62
5031   121   Week 121    6/21/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   17.75
5031   122   Week 122    6/28/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5     4.9
5031   123   Week 123     7/5/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   14.01
5031   124   Week 124    7/12/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   14.41
5031   125   Week 125    7/19/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   17.07
5031   126   Week 126    7/26/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   17.02
5031   127   Week 127     8/2/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    9.29
5031   128   Week 128     8/9/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   21.42
5031   129   Week 129    8/16/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5     4.9
5031   130   Week 130    8/23/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   11.37
5031   131   Week 131    8/30/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    5.93
5031   132   Week 132     9/6/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    3.38
5031   133   Week 133    9/13/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   18.67
5031   134   Week 134    9/20/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   11.77
5031   135   Week 135    9/27/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   25.92
5031   136   Week 136    10/4/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   18.36
5031   137   Week 137   10/11/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   11.22
5031   138   Week 138   10/18/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   11.96
5031   139   Week 139   10/25/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    6.98
5031   140   Week 140    11/1/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   14.18
5031   141   Week 141    11/8/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5   10.69
5031   142   Week 142   11/15/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    8.97
5031   143   Week 143   11/22/2015   Northern   Tim Casper           144   INF   INF207   47425   USAMA     Sufi     USAMA Sufi       DELIVERY DRIVER    8.5    2.25
5031   214   Week 214     4/2/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA     SUFI     USAMA SUFI       DELIVERY DRIVER    8.5   15.06
5031   215   Week 215     4/9/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA     SUFI     USAMA SUFI       DELIVERY DRIVER    8.5    7.36
5031   216   Week 216    4/16/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA     SUFI     USAMA SUFI       DELIVERY DRIVER    8.5   15.46
5031   217   Week 217    4/23/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA     SUFI     USAMA SUFI       DELIVERY DRIVER    8.5   15.47
5031   218   Week 218    4/30/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA     SUFI     USAMA SUFI       DELIVERY DRIVER    8.5   15.51
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5031   219   Week 219     5/7/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5   14.88
5031   220   Week 220    5/14/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5     9.6
5031   221   Week 221    5/21/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5   14.28
5031   222   Week 222    5/28/2017   Northern   DO Michael Johnson   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5    7.55
5031   222   Week 222    5/28/2017   Northern   MP Northern Region   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5    5.17
5031   223   Week 223     6/4/2017   Northern   DO Michael Johnson   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5   22.99
5031   224   Week 224    6/11/2017   Northern   DO Michael Johnson   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5   20.95
5031   225   Week 225    6/18/2017   Northern   DO Michael Johnson   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5    6.18
5031   233   Week 233    8/13/2017   Northern   DO Michael Johnson   144   INF   INF207   47425   USAMA   SUFI      USAMA SUFI      DELIVERY DRIVER    8.5    4.88
2144   231   Week 231    7/30/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5    3.85
2144   232   Week 232     8/6/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   29.58
2144   233   Week 233    8/13/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5     7.8
2144   234   Week 234    8/20/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   29.92
2144   235   Week 235    8/27/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   15.73
2144   236   Week 236     9/3/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   28.31
2144   237   Week 237    9/10/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5    39.3
2144   238   Week 238    9/17/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   33.48
2144   239   Week 239    9/24/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   20.15
2144   240   Week 240    10/1/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   30.81
2144   241   Week 241    10/8/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   39.32
2144   242   Week 242   10/15/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   24.26
2144   243   Week 243   10/22/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   32.01
2144   244   Week 244   10/29/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   28.34
2144   245   Week 245    11/5/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   36.47
2144   246   Week 246   11/12/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   31.64
2144   247   Week 247   11/19/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   17.55
2144   248   Week 248   11/26/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   32.14
2144   249   Week 249    12/3/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   36.03
2144   250   Week 250   12/10/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   36.03
2144   251   Week 251   12/17/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   28.08
2144   252   Week 252   12/24/2017   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   20.27
2144   255   Week 255    1/14/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   30.87
2144   256   Week 256    1/21/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER   8.52    40.2
2144   257   Week 257    1/28/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   36.46
2144   258   Week 258     2/4/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   36.47
2144   259   Week 259    2/11/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5    32.4
2144   260   Week 260    2/18/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER   8.97   45.01
2144   261   Week 261    2/25/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   39.24
2144   262   Week 262     3/4/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER   8.77   42.69
2144   263   Week 263    3/11/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   23.93
2144   264   Week 264    3/18/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   37.45
2144   265   Week 265    3/25/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5    37.8
2144   266   Week 266     4/1/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5   39.34
2144   267   Week 267     4/8/2018   Northern   DO Michael Johnson   144   INF   INF214   48503   Corey   Halford   Corey Halford   DELIVERY DRIVER    8.5    8.02
3685   155   Week 155    2/14/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5    19.1
3685   156   Week 156    2/21/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   21.69
3685   157   Week 157    2/28/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   24.34
3685   158   Week 158     3/6/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   27.18
3685   159   Week 159    3/13/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER   8.54   40.42
3685   160   Week 160    3/20/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   20.04
3685   161   Week 161    3/27/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   34.45
3685   162   Week 162     4/3/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   34.91
3685   163   Week 163    4/10/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA     BRIAN MOTTA     DELIVERY DRIVER    8.5   26.12
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3685   165   Week 165    4/24/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   24.03
3685   166   Week 166     5/1/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    37.7
3685   167   Week 167     5/8/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    30.5
3685   168   Week 168    5/15/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   33.34
3685   169   Week 169    5/22/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   20.37
3685   170   Week 170    5/29/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    29.9
3685   171   Week 171     6/5/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   24.83
3685   172   Week 172    6/12/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   35.63
3685   173   Week 173    6/19/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   11.08
3685   174   Week 174    6/26/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   24.59
3685   175   Week 175     7/3/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   30.31
3685   176   Week 176    7/10/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   38.14
3685   177   Week 177    7/17/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   29.14
3685   178   Week 178    7/24/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    29.4
3685   179   Week 179    7/31/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   33.09
3685   180   Week 180     8/7/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   29.71
3685   181   Week 181    8/14/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    7.67
3685   182   Week 182    8/21/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5     8.8
3685   183   Week 183    8/28/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   14.14
3685   184   Week 184     9/4/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   17.24
3685   185   Week 185    9/11/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   18.07
3685   186   Week 186    9/18/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   17.67
3685   187   Week 187    9/25/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   16.81
3685   188   Week 188    10/2/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   11.86
3685   189   Week 189    10/9/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   17.02
3685   190   Week 190   10/16/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    17.3
3685   191   Week 191   10/23/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   14.98
3685   192   Week 192   10/30/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   14.81
3685   193   Week 193    11/6/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   18.08
3685   194   Week 194   11/13/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   19.33
3685   195   Week 195   11/20/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   11.78
3685   196   Week 196   11/27/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   18.33
3685   197   Week 197    12/4/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   17.93
3685   198   Week 198   12/11/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   19.27
3685   199   Week 199   12/18/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    14.5
3685   200   Week 200   12/25/2016   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   12.32
3685   201   Week 201     1/1/2017   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    9.79
3685   202   Week 202     1/8/2017   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   15.08
3685   203   Week 203    1/15/2017   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   15.15
3685   204   Week 204    1/22/2017   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   16.08
3685   205   Week 205    1/29/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5     9.6
3685   205   Week 205    1/29/2017   Northern   Tim Casper           144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    6.75
3685   206   Week 206     2/5/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    16.9
3685   207   Week 207    2/12/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   18.54
3685   208   Week 208    2/19/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   17.98
3685   209   Week 209    2/26/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   24.62
3685   210   Week 210     3/5/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5    6.13
3685   212   Week 212    3/19/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   16.22
3685   213   Week 213    3/26/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   18.62
3685   214   Week 214     4/2/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   16.35
3685   215   Week 215     4/9/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   14.22
3685   216   Week 216    4/16/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   14.65
3685   217   Week 217    4/23/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN   MOTTA   BRIAN MOTTA   DELIVERY DRIVER   8.5   19.89
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3685   218   Week 218   4/30/2017   Northern   MP Northern Region   144   INF   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   15.83
3685   219   Week 219    5/7/2017   Northern   MP Northern Region   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.73
3685   220   Week 220   5/14/2017   Northern   MP Northern Region   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   13.54
3685   221   Week 221   5/21/2017   Northern   MP Northern Region   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   17.73
3685   222   Week 222   5/28/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   14.69
3685   222   Week 222   5/28/2017   Northern   MP Northern Region   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5    5.93
3685   223   Week 223    6/4/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.73
3685   224   Week 224   6/11/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   15.23
3685   225   Week 225   6/18/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5    2.77
3685   226   Week 226   6/25/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5    5.38
3685   227   Week 227    7/2/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   12.37
3685   228   Week 228    7/9/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   23.08
3685   229   Week 229   7/16/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   18.87
3685   230   Week 230   7/23/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   22.68
3685   231   Week 231   7/30/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   20.91
3685   232   Week 232    8/6/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.98
3685   233   Week 233   8/13/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.25
3685   234   Week 234   8/20/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   24.74
3685   235   Week 235   8/27/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5    4.78
3685   236   Week 236    9/3/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.05
3685   237   Week 237   9/10/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   24.71
3685   238   Week 238   9/17/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5   19.44
3685   239   Week 239   9/24/2017   Northern   DO Michael Johnson   158   IOB   INF244   60671   BRIAN     MOTTA        BRIAN MOTTA          DELIVERY DRIVER    8.5    5.43
1112   101   Week 101    2/1/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5    21.3
1112   102   Week 102    2/8/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   28.53
1112   103   Week 103   2/15/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   22.01
1112   104   Week 104   2/22/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   25.41
1112   105   Week 105    3/1/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   18.52
1112   106   Week 106    3/8/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   38.12
1112   107   Week 107   3/15/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   34.53
1112   108   Week 108   3/22/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   35.35
1112   109   Week 109   3/29/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5    13.9
1112   110   Week 110    4/5/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   8.56   33.46
1112   111   Week 111   4/12/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5    5.47
1112   112   Week 112   4/19/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   27.25
1112   113   Week 113   4/26/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   33.97
1112   114   Week 114    5/3/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   8.92   31.36
1112   115   Week 115   5/10/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   33.26
1112   116   Week 116   5/17/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   27.05
1112   117   Week 117   5/24/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   8.53   36.17
1112   118   Week 118   5/31/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   29.08
1112   119   Week 119    6/7/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   26.78
1112   120   Week 120   6/14/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   34.05
1112   121   Week 121   6/21/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   8.63   31.92
1112   122   Week 122   6/28/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   20.71
1112   123   Week 123    7/5/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   23.05
1112   124   Week 124   7/12/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   18.17
1112   125   Week 125   7/19/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   14.05
1112   126   Week 126   7/26/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5    28.9
1112   127   Week 127    8/2/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   15.74
1112   128   Week 128    8/9/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   32.41
1112   129   Week 129   8/16/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER    8.5   37.12
1112   130   Week 130   8/23/2015   Northern   Tim Casper           158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   8.75   36.37
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1112   131   Week 131    8/30/2015   Northern   Tim Casper    158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER     8.5   23.96
1112   132   Week 132     9/6/2015   Northern   Tim Casper    158   IOB   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER     8.5   11.79
1112   133   Week 133    9/13/2015   Northern   Greg Winger   169   ICD   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   15.44
1112   134   Week 134    9/20/2015   Northern   Greg Winger   169   ICD   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   19.65
1112   135   Week 135    9/27/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    5.12
1112   135   Week 135    9/27/2015   Northern   Greg Winger   169   ICD   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    9.24
1112   136   Week 136    10/4/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    33.9
1112   137   Week 137   10/11/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   31.36
1112   138   Week 138   10/18/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   10.01   40.07
1112   139   Week 139   10/25/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   35.93
1112   140   Week 140    11/1/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   36.02
1112   141   Week 141    11/8/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   10.05   40.43
1112   142   Week 142   11/15/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   35.32
1112   143   Week 143   11/22/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    17.4
1112   144   Week 144   11/29/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   10.45   43.91
1112   145   Week 145    12/6/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   29.84
1112   146   Week 146   12/13/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   23.58
1112   147   Week 147   12/20/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    9.71
1112   148   Week 148   12/27/2015   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10    8.99
1112   149   Week 149     1/3/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   11.07
1112   150   Week 150    1/10/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   39.84
1112   151   Week 151    1/17/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   37.25
1112   152   Week 152    1/24/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   23.52
1112   153   Week 153    1/31/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   23.45
1112   154   Week 154     2/7/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   23.88
1112   155   Week 155    2/14/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER   10.24   42.03
1112   156   Week 156    2/21/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   27.94
1112   157   Week 157    2/28/2016   Northern   Greg Winger   142   ICS   IOB265   50331   ANTHONY   COPPOLETTA   ANTHONY COPPOLETTA   DELIVERY DRIVER      10   37.07
  39   114   Week 114     5/3/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   22.77
  39   115   Week 115    5/10/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   15.98
  39   116   Week 116    5/17/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5    9.97
  39   117   Week 117    5/24/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   15.57
  39   118   Week 118    5/31/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   14.22
  39   119   Week 119     6/7/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   17.01
  39   120   Week 120    6/14/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   21.18
  39   121   Week 121    6/21/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   17.96
  39   122   Week 122    6/28/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5     8.9
  39   123   Week 123     7/5/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5    12.4
  39   124   Week 124    7/12/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   11.35
  39   125   Week 125    7/19/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   12.92
  39   126   Week 126    7/26/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   15.41
  39   127   Week 127     8/2/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   15.73
  39   128   Week 128     8/9/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   18.24
  39   129   Week 129    8/16/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   18.99
  39   130   Week 130    8/23/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   16.05
  39   131   Week 131    8/30/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   10.07
  39   132   Week 132     9/6/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5    9.96
  39   133   Week 133    9/13/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   13.63
  39   134   Week 134    9/20/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   18.55
  39   135   Week 135    9/27/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   14.86
  39   136   Week 136    10/4/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   14.99
  39   137   Week 137   10/11/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   17.91
  39   138   Week 138   10/18/2015   Northern   Tim Casper    158   IOB   IOB281   54795   WALTER    ADAD         WALTER ADAD          DELIVERY DRIVER     8.5   14.24
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  39   139   Week 139   10/25/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   16.96
  39   140   Week 140    11/1/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   20.16
  39   141   Week 141    11/8/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   15.23
  39   142   Week 142   11/15/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   16.88
  39   143   Week 143   11/22/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    9.03
  39   144   Week 144   11/29/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   18.99
  39   145   Week 145    12/6/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   14.91
  39   146   Week 146   12/13/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   15.85
  39   147   Week 147   12/20/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5     3.5
  39   148   Week 148   12/27/2015   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    6.35
  39   149   Week 149     1/3/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   15.01
  39   150   Week 150    1/10/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   22.42
  39   151   Week 151    1/17/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   14.98
  39   152   Week 152    1/24/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   17.37
  39   153   Week 153    1/31/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   16.46
  39   154   Week 154     2/7/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   18.04
  39   155   Week 155    2/14/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   16.84
  39   156   Week 156    2/21/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   21.23
  39   157   Week 157    2/28/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    16.1
  39   158   Week 158     3/6/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   15.78
  39   159   Week 159    3/13/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   11.76
  39   160   Week 160    3/20/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   12.13
  39   161   Week 161    3/27/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    14.2
  39   162   Week 162     4/3/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    13.7
  39   163   Week 163    4/10/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   19.99
  39   164   Week 164    4/17/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5   19.14
  39   165   Week 165    4/24/2016   Northern   Tim Casper   158   IOB   IOB281   54795   WALTER    ADAD      WALTER ADAD       DELIVERY DRIVER   8.5    4.05
1091   176   Week 176    7/10/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   13.59
1091   177   Week 177    7/17/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   21.08
1091   178   Week 178    7/24/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   20.88
1091   179   Week 179    7/31/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5    17.2
1091   180   Week 180     8/7/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   30.84
1091   181   Week 181    8/14/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   16.93
1091   182   Week 182    8/21/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5    21.6
1091   183   Week 183    8/28/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   13.61
1091   184   Week 184     9/4/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   24.23
1091   185   Week 185    9/11/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   26.95
1091   186   Week 186    9/18/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5    25.2
1091   187   Week 187    9/25/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   14.85
1091   188   Week 188    10/2/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   19.17
1091   189   Week 189    10/9/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   27.14
1091   190   Week 190   10/16/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   26.91
1091   191   Week 191   10/23/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5   11.68
1091   197   Week 197    12/4/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5       3
1091   198   Week 198   12/11/2016   Northern   Tim Casper   158   IOB   IOB320   64230   KEITH     COOK      KEITH COOK        DELIVERY DRIVER   9.5    7.27
2964   176   Week 176    7/10/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   17.65
2964   177   Week 177    7/17/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   19.65
2964   178   Week 178    7/24/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   21.82
2964   179   Week 179    7/31/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   23.09
2964   180   Week 180     8/7/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   32.53
2964   181   Week 181    8/14/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   30.01
2964   182   Week 182    8/21/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5   31.37
2964   183   Week 183    8/28/2016   Northern   Tim Casper   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   9.5      36
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2964   184   Week 184     9/4/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.96   38.25
2964   185   Week 185    9/11/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   33.46
2964   186   Week 186    9/18/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   31.36
2964   187   Week 187    9/25/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.94   44.04
2964   188   Week 188    10/2/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   35.63
2964   189   Week 189    10/9/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   39.72
2964   190   Week 190   10/16/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.74   42.09
2964   191   Week 191   10/23/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.72    38.8
2964   192   Week 192   10/30/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   32.82
2964   193   Week 193    11/6/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER   10.05   45.25
2964   194   Week 194   11/13/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5    34.5
2964   195   Week 195   11/20/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   27.52
2964   196   Week 196   11/27/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   35.47
2964   197   Week 197    12/4/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   39.31
2964   198   Week 198   12/11/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   31.65
2964   199   Week 199   12/18/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   25.09
2964   200   Week 200   12/25/2016   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   12.27
2964   201   Week 201     1/1/2017   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   32.39
2964   202   Week 202     1/8/2017   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   34.11
2964   203   Week 203    1/15/2017   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER     9.5   30.87
2964   204   Week 204    1/22/2017   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   35.81
2964   205   Week 205    1/29/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   17.08
2964   205   Week 205    1/29/2017   Northern   Tim Casper           158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   12.72
2964   206   Week 206     2/5/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   26.76
2964   207   Week 207    2/12/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   22.64
2964   208   Week 208    2/19/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   35.01
2964   209   Week 209    2/26/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   25.69
2964   210   Week 210     3/5/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   30.38
2964   211   Week 211    3/12/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   29.48
2964   212   Week 212    3/19/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   25.06
2964   213   Week 213    3/26/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   21.51
2964   214   Week 214     4/2/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   35.05
2964   215   Week 215     4/9/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   21.32
2964   217   Week 217    4/23/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   15.92
2964   218   Week 218    4/30/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   19.81
2964   219   Week 219     5/7/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   24.89
2964   220   Week 220    5/14/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   11.85
2964   221   Week 221    5/21/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   12.87
2964   222   Week 222    5/28/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   11.51
2964   222   Week 222    5/28/2017   Northern   MP Northern Region   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    7.32
2964   223   Week 223     6/4/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   20.01
2964   224   Week 224    6/11/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   11.17
2964   225   Week 225    6/18/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    3.23
2964   226   Week 226    6/25/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   15.07
2964   227   Week 227     7/2/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    17.7
2964   228   Week 228     7/9/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   18.86
2964   229   Week 229    7/16/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   10.18
2964   232   Week 232     8/6/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75   16.11
2964   233   Week 233    8/13/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    2.53
2964   234   Week 234    8/20/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    2.63
2964   235   Week 235    8/27/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75     5.3
2964   236   Week 236     9/3/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75     2.5
2964   237   Week 237    9/10/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY   LAPIDUS   ANTHONY LAPIDUS   DELIVERY DRIVER    9.75    4.42
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2964   238   Week 238    9/17/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY     LAPIDUS     ANTHONY LAPIDUS     DELIVERY DRIVER   9.75    6.94
2964   239   Week 239    9/24/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY     LAPIDUS     ANTHONY LAPIDUS     DELIVERY DRIVER   9.75    5.13
2964   240   Week 240    10/1/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY     LAPIDUS     ANTHONY LAPIDUS     DELIVERY DRIVER   9.75    6.42
2964   242   Week 242   10/15/2017   Northern   DO Michael Johnson   158   IOB   IOB321   64231   ANTHONY     LAPIDUS     ANTHONY LAPIDUS     DELIVERY DRIVER   9.75    1.52
2572   240   Week 240    10/1/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   26.19
2572   241   Week 241    10/8/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   32.02
2572   242   Week 242   10/15/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25    23.1
2572   243   Week 243   10/22/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   10.25
2572   244   Week 244   10/29/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   12.31
2572   245   Week 245    11/5/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   25.96
2572   246   Week 246   11/12/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   11.69
2572   247   Week 247   11/19/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   11.03
2572   248   Week 248   11/26/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25     2.4
2572   249   Week 249    12/3/2017   Northern   DO Michael Johnson   158   IOB   IOB375   72298   ERIN        JACKSON     ERIN JACKSON        DELIVERY DRIVER   8.25   15.36
2093   105   Week 105     3/1/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   21.76
2093   106   Week 106     3/8/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   21.52
2093   107   Week 107    3/15/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   23.14
2093   108   Week 108    3/22/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   15.77
2093   109   Week 109    3/29/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   20.21
2093   110   Week 110     4/5/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   21.76
2093   111   Week 111    4/12/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   26.05
2093   112   Week 112    4/19/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   14.93
2093   113   Week 113    4/26/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25    9.29
2093   114   Week 114     5/3/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   28.42
2093   115   Week 115    5/10/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   19.14
2093   116   Week 116    5/17/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25    6.78
2093   118   Week 118    5/31/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   16.78
2093   119   Week 119     6/7/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   25.04
2093   120   Week 120    6/14/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   12.39
2093   121   Week 121    6/21/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   12.38
2093   123   Week 123     7/5/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   11.36
2093   124   Week 124    7/12/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   12.87
2093   125   Week 125    7/19/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   17.04
2093   126   Week 126    7/26/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   11.86
2093   128   Week 128     8/9/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   16.76
2093   129   Week 129    8/16/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   26.78
2093   130   Week 130    8/23/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   20.74
2093   131   Week 131    8/30/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   10.38
2093   132   Week 132     9/6/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   10.32
2093   133   Week 133    9/13/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25    1.98
2093   134   Week 134    9/20/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   12.04
2093   135   Week 135    9/27/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   21.49
2093   136   Week 136    10/4/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   18.81
2093   137   Week 137   10/11/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25   24.92
2093   138   Week 138   10/18/2015   Northern   Tim Casper           140   IOL   IOL201   37575   LORAN       GRUNTORAD   LORAN GRUNTORAD     DELIVERY DRIVER   8.25     7.7
2271   102   Week 102     2/8/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   16.33
2271   103   Week 103    2/15/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   22.17
2271   104   Week 104    2/22/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   16.68
2271   105   Week 105     3/1/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   28.94
2271   106   Week 106     3/8/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   21.07
2271   107   Week 107    3/15/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25      23
2271   108   Week 108    3/22/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   29.21
2271   109   Week 109    3/29/2015   Northern   Tim Casper           140   IOL   IOL284   50506   CHRISTINE   HAWKINS     CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   18.66
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2271   110   Week 110     4/5/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   29.51
2271   111   Week 111    4/12/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   23.26
2271   112   Week 112    4/19/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   27.15
2271   113   Week 113    4/26/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   34.48
2271   114   Week 114     5/3/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   19.49
2271   115   Week 115    5/10/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   24.87
2271   116   Week 116    5/17/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   14.91
2271   117   Week 117    5/24/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   21.33
2271   118   Week 118    5/31/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   18.04
2271   119   Week 119     6/7/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   19.22
2271   120   Week 120    6/14/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   16.86
2271   121   Week 121    6/21/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   26.35
2271   122   Week 122    6/28/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    8.47
2271   123   Week 123     7/5/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    8.08
2271   124   Week 124    7/12/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   13.08
2271   125   Week 125    7/19/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   15.49
2271   126   Week 126    7/26/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    6.34
2271   127   Week 127     8/2/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   11.21
2271   128   Week 128     8/9/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   12.63
2271   129   Week 129    8/16/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   16.94
2271   130   Week 130    8/23/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   16.52
2271   131   Week 131    8/30/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    9.64
2271   132   Week 132     9/6/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   13.21
2271   133   Week 133    9/13/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   11.86
2271   134   Week 134    9/20/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   14.72
2271   135   Week 135    9/27/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   22.02
2271   136   Week 136    10/4/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    15.9
2271   137   Week 137   10/11/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   17.44
2271   138   Week 138   10/18/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   27.69
2271   139   Week 139   10/25/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    35.5
2271   140   Week 140    11/1/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    15.2
2271   141   Week 141    11/8/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   21.85
2271   142   Week 142   11/15/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   25.58
2271   143   Week 143   11/22/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   11.17
2271   144   Week 144   11/29/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   18.05
2271   145   Week 145    12/6/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   22.78
2271   146   Week 146   12/13/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   24.27
2271   147   Week 147   12/20/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    7.36
2271   148   Week 148   12/27/2015   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25    2.57
2271   149   Week 149     1/3/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   21.79
2271   150   Week 150    1/10/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   22.33
2271   151   Week 151    1/17/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   26.27
2271   152   Week 152    1/24/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   24.94
2271   153   Week 153    1/31/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.25   25.62
2271   154   Week 154     2/7/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   8.89   24.77
2271   155   Week 155    2/14/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   26.18
2271   156   Week 156    2/21/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   26.01
2271   157   Week 157    2/28/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   22.94
2271   158   Week 158     3/6/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   29.26
2271   159   Week 159    3/13/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   30.95
2271   160   Week 160    3/20/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   19.45
2271   161   Week 161    3/27/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   20.92
2271   162   Week 162     4/3/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10    26.6
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2271   163   Week 163    4/10/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   17.66
2271   164   Week 164    4/17/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   14.65
2271   165   Week 165    4/24/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   14.89
2271   166   Week 166     5/1/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   22.62
2271   167   Week 167     5/8/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   17.71
2271   168   Week 168    5/15/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   13.01
2271   169   Week 169    5/22/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   20.45
2271   170   Week 170    5/29/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.03
2271   171   Week 171     6/5/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   12.27
2271   172   Week 172    6/12/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   15.25
2271   173   Week 173    6/19/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    13.5
2271   174   Week 174    6/26/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   15.98
2271   175   Week 175     7/3/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   11.12
2271   176   Week 176    7/10/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    13.9
2271   177   Week 177    7/17/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   13.94
2271   178   Week 178    7/24/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    11.8
2271   179   Week 179    7/31/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.42
2271   180   Week 180     8/7/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   20.96
2271   181   Week 181    8/14/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   11.19
2271   182   Week 182    8/21/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   18.64
2271   183   Week 183    8/28/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   13.74
2271   184   Week 184     9/4/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   14.45
2271   185   Week 185    9/11/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    15.7
2271   186   Week 186    9/18/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   12.93
2271   187   Week 187    9/25/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   13.42
2271   188   Week 188    10/2/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   19.09
2271   189   Week 189    10/9/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    14.5
2271   190   Week 190   10/16/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.95
2271   191   Week 191   10/23/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   18.41
2271   192   Week 192   10/30/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    5.66
2271   193   Week 193    11/6/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   13.98
2271   194   Week 194   11/13/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   18.19
2271   195   Week 195   11/20/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10     6.2
2271   196   Week 196   11/27/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.94
2271   197   Week 197    12/4/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   15.27
2271   198   Week 198   12/11/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   18.63
2271   199   Week 199   12/18/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.08
2271   200   Week 200   12/25/2016   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10     5.1
2271   201   Week 201     1/1/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    13.7
2271   202   Week 202     1/8/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   12.17
2271   203   Week 203    1/15/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    9.43
2271   204   Week 204    1/22/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   17.88
2271   205   Week 205    1/29/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   19.14
2271   206   Week 206     2/5/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   19.89
2271   207   Week 207    2/12/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   14.35
2271   208   Week 208    2/19/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   16.37
2271   209   Week 209    2/26/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   12.86
2271   210   Week 210     3/5/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   17.38
2271   211   Week 211    3/12/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   23.77
2271   212   Week 212    3/19/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   19.24
2271   213   Week 213    3/26/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    3.45
2271   214   Week 214     4/2/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10    18.3
2271   215   Week 215     4/9/2017   Northern   Tim Casper   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER   10   14.89
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2271   216   Week 216   4/16/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   19.08
2271   217   Week 217   4/23/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   20.28
2271   218   Week 218   4/30/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   19.28
2271   219   Week 219    5/7/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   16.19
2271   220   Week 220   5/14/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   23.69
2271   221   Week 221   5/21/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   14.52
2271   222   Week 222   5/28/2017   Northern   DO Greg Winger   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   10.33
2271   222   Week 222   5/28/2017   Northern   Tim Casper       140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10    3.92
2271   223   Week 223    6/4/2017   Northern   DO Greg Winger   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10   18.79
2271   224   Week 224   6/11/2017   Northern   DO Greg Winger   140   IOL   IOL284   50506   CHRISTINE   HAWKINS   CHRISTINE HAWKINS   DELIVERY DRIVER     10    6.61
 572   159   Week 159   3/13/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    3.92
 572   160   Week 160   3/20/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    7.78
 572   161   Week 161   3/27/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    12.7
 572   162   Week 162    4/3/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   13.83
 572   163   Week 163   4/10/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   21.61
 572   164   Week 164   4/17/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   18.52
 572   165   Week 165   4/24/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   18.28
 572   166   Week 166    5/1/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   15.15
 572   167   Week 167    5/8/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   10.96
 572   168   Week 168   5/15/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   16.42
 572   169   Week 169   5/22/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   21.68
 572   170   Week 170   5/29/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   16.44
 572   171   Week 171    6/5/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    15.5
 572   172   Week 172   6/12/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   21.07
 572   173   Week 173   6/19/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   21.03
 572   174   Week 174   6/26/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10     3.7
 572   175   Week 175    7/3/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10     8.6
 572   176   Week 176   7/10/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10   13.62
 572   177   Week 177   7/17/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    9.75
 572   178   Week 178   7/24/2016   Northern   Tim Casper       140   IOL   IOL313   61402   SOPHIA      BRANDON   SOPHIA BRANDON      DELIVERY DRIVER     10    1.25
1037   104   Week 104   2/22/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   13.57
1037   105   Week 105    3/1/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   13.14
1037   106   Week 106    3/8/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    9.73
1037   107   Week 107   3/15/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   10.95
1037   108   Week 108   3/22/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    5.75
1037   109   Week 109   3/29/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   11.97
1037   110   Week 110    4/5/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   10.25
1037   111   Week 111   4/12/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   11.86
1037   112   Week 112   4/19/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   11.31
1037   113   Week 113   4/26/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    9.99
1037   114   Week 114    5/3/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   10.01
1037   115   Week 115   5/10/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    9.41
1037   116   Week 116   5/17/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    4.92
1037   117   Week 117   5/24/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    5.45
1037   118   Week 118   5/31/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    5.36
1037   119   Week 119    6/7/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    9.46
1037   120   Week 120   6/14/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25     9.5
1037   121   Week 121   6/21/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25   12.85
1037   123   Week 123    7/5/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    2.97
1037   124   Week 124   7/12/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    4.74
1037   125   Week 125   7/19/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    6.26
1037   125   Week 125   7/19/2015   Northern   Greg Winger      160   ISB   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    2.45
1037   126   Week 126   7/26/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole      Max Cole            DELIVERY DRIVER   8.25    4.58
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1037   126   Week 126   7/26/2015   Northern   Greg Winger      160   ISB   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25    6.27
1037   127   Week 127    8/2/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25    6.73
1037   128   Week 128    8/9/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25    7.17
1037   129   Week 129   8/16/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25   14.74
1037   130   Week 130   8/23/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25    7.34
1037   131   Week 131   8/30/2015   Northern   Greg Winger      147   IPR   IPR198   44010   Max         Cole     Max Cole         DELIVERY DRIVER   8.25    5.58
 544   106   Week 106    3/8/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25   10.71
 544   107   Week 107   3/15/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25     8.2
 544   108   Week 108   3/22/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    9.25
 544   109   Week 109   3/29/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    9.32
 544   110   Week 110    4/5/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    6.61
 544   111   Week 111   4/12/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25   12.44
 544   112   Week 112   4/19/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    8.85
 544   113   Week 113   4/26/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25     7.4
 544   114   Week 114    5/3/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    8.84
 544   115   Week 115   5/10/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25   10.69
 544   116   Week 116   5/17/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    2.22
 544   117   Week 117   5/24/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    6.88
 544   118   Week 118   5/31/2015   Northern   Greg Winger      147   IPR   IPR240   53586   JACOB       BOWMAN   JACOB BOWMAN     DELIVERY DRIVER   8.25    3.83
4083   132   Week 132    9/6/2015   Northern   Greg Winger      147   IPR   IPR257   57486   Cathy       Piazza   Cathy Piazza     DELIVERY DRIVER    8.5    8.48
4083   133   Week 133   9/13/2015   Northern   Greg Winger      147   IPR   IPR257   57486   Cathy       Piazza   Cathy Piazza     DELIVERY DRIVER    8.5   25.08
4083   134   Week 134   9/20/2015   Northern   Greg Winger      147   IPR   IPR257   57486   Cathy       Piazza   Cathy Piazza     DELIVERY DRIVER    8.5   15.88
4083   135   Week 135   9/27/2015   Northern   Greg Winger      147   IPR   IPR257   57486   Cathy       Piazza   Cathy Piazza     DELIVERY DRIVER    8.5   25.74
4083   136   Week 136   10/4/2015   Northern   Greg Winger      147   IPR   IPR257   57486   Cathy       Piazza   Cathy Piazza     DELIVERY DRIVER    8.5    2.88
5333   203   Week 203   1/15/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10   13.05
5333   204   Week 204   1/22/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10    23.4
5333   205   Week 205   1/29/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10   22.32
5333   206   Week 206    2/5/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10   21.27
5333   207   Week 207   2/12/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10   15.66
5333   208   Week 208   2/19/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10     6.2
5333   209   Week 209   2/26/2017   Northern   Greg Winger      147   IPR   IPR287   67454   DANIELA     VALDEZ   DANIELA VALDEZ   DELIVERY DRIVER     10    7.77
 184   216   Week 216   4/16/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10    7.59
 184   217   Week 217   4/23/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   22.91
 184   218   Week 218   4/30/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   24.35
 184   219   Week 219    5/7/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   15.95
 184   220   Week 220   5/14/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   23.25
 184   221   Week 221   5/21/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   19.64
 184   222   Week 222   5/28/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   26.89
 184   222   Week 222   5/28/2017   Northern   Tim Casper       182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10    3.67
 184   223   Week 223    6/4/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   24.47
 184   224   Week 224   6/11/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   23.04
 184   225   Week 225   6/18/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   34.73
 184   226   Week 226   6/25/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   19.21
 184   227   Week 227    7/2/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   26.66
 184   228   Week 228    7/9/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   25.75
 184   229   Week 229   7/16/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   15.44
 184   230   Week 230   7/23/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   23.05
 184   231   Week 231   7/30/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10    21.3
 184   232   Week 232    8/6/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   19.12
 184   233   Week 233   8/13/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10   21.78
 184   234   Week 234   8/20/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10    12.3
 184   235   Week 235   8/27/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10     6.9
 184   237   Week 237   9/10/2017   Northern   DO Greg Winger   182   IRK   IRK175   69402   CASSANDRA   ARCO     CASSANDRA ARCO   DELIVERY DRIVER     10    9.13
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 184   238   Week 238    9/17/2017   Northern   DO Greg Winger      182   IRK   IRK175   69402   CASSANDRA   ARCO      CASSANDRA ARCO   DELIVERY DRIVER      10   20.66
 184   239   Week 239    9/24/2017   Northern   DO Greg Winger      182   IRK   IRK175   69402   CASSANDRA   ARCO      CASSANDRA ARCO   DELIVERY DRIVER      10    3.23
 700   253   Week 253   12/31/2017   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10    5.87
 700   254   Week 254     1/7/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   17.27
 700   255   Week 255    1/14/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   17.76
 700   256   Week 256    1/21/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10    4.15
 700   257   Week 257    1/28/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   11.81
 700   258   Week 258     2/4/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   28.65
 700   259   Week 259    2/11/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   38.49
 700   260   Week 260    2/18/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   28.79
 700   261   Week 261    2/25/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER   10.06   40.45
 700   262   Week 262     3/4/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10    9.32
 700   263   Week 263    3/11/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   23.65
 700   264   Week 264    3/18/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10    8.19
 700   265   Week 265    3/25/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10     5.1
 700   266   Week 266     4/1/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10   17.05
 700   267   Week 267     4/8/2018   Northern   DO Greg Winger      182   IRK   IRK189   73186   JAIME       BULL      JAIME BULL       DELIVERY DRIVER      10    7.67
2786   241   Week 241    10/8/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      10   12.95
2786   242   Week 242   10/15/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER   10.04    40.3
2786   243   Week 243   10/22/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      10   15.98
2786   244   Week 244   10/29/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      10   23.29
2786   245   Week 245    11/5/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      10   37.65
2786   246   Week 246   11/12/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      10   26.59
2786   247   Week 247   11/19/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   13.85
2786   248   Week 248   11/26/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   26.31
2786   249   Week 249    12/3/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   38.17
2786   250   Week 250   12/10/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   16.83
2786   251   Week 251   12/17/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   18.23
2786   252   Week 252   12/24/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   13.37
2786   253   Week 253   12/31/2017   Northern   DO Greg Winger      182   IRK   IRK190   73212   MATTHEW     KELLEY    MATTHEW KELLEY   DELIVERY DRIVER      11   14.33
 258   107   Week 107    3/15/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.92
 258   108   Week 108    3/22/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   18.05
 258   109   Week 109    3/29/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5    19.8
 258   110   Week 110     4/5/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   15.91
 258   111   Week 111    4/12/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5    17.6
 258   112   Week 112    4/19/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   15.39
 258   113   Week 113    4/26/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   14.43
 258   114   Week 114     5/3/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.13
 258   115   Week 115    5/10/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.04
 258   116   Week 116    5/17/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   14.14
 258   117   Week 117    5/24/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.81
 258   118   Week 118    5/31/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5    15.5
 258   119   Week 119     6/7/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   15.83
 258   120   Week 120    6/14/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   15.35
 258   121   Week 121    6/21/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   19.58
 258   122   Week 122    6/28/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   13.79
 258   123   Week 123     7/5/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.22
 258   124   Week 124    7/12/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   13.37
 258   125   Week 125    7/19/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5    17.2
 258   126   Week 126    7/26/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   17.15
 258   127   Week 127     8/2/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5    13.6
 258   128   Week 128     8/9/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   18.63
 258   129   Week 129    8/16/2015   Western    MP Western Region    48   LBJ   IRV002   67955   HASSAN      BABIKER   HASSAN BABIKER   DELIVERY DRIVER     8.5   14.43
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258   130   Week 130    8/23/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    9.78
258   134   Week 134    9/20/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   19.16
258   135   Week 135    9/27/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   20.24
258   136   Week 136    10/4/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   18.95
258   137   Week 137   10/11/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   18.59
258   138   Week 138   10/18/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   21.39
258   139   Week 139   10/25/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   19.18
258   140   Week 140    11/1/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   20.27
258   141   Week 141    11/8/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   15.66
258   142   Week 142   11/15/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    2.28
258   143   Week 143   11/22/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    3.12
258   144   Week 144   11/29/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   17.53
258   145   Week 145    12/6/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   18.29
258   146   Week 146   12/13/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   17.62
258   147   Week 147   12/20/2015   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    2.77
258   149   Week 149     1/3/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   18.01
258   150   Week 150    1/10/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   18.64
258   151   Week 151    1/17/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   17.73
258   152   Week 152    1/24/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    18.5
258   153   Week 153    1/31/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5    17.6
258   154   Week 154     2/7/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   16.33
258   155   Week 155    2/14/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   8.5   17.31
258   156   Week 156    2/21/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   19.63
258   157   Week 157    2/28/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   17.22
258   158   Week 158     3/6/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   18.11
258   159   Week 159    3/13/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9    17.2
258   160   Week 160    3/20/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   13.49
258   161   Week 161    3/27/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9     7.1
258   166   Week 166     5/1/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   11.99
258   167   Week 167     5/8/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   13.08
258   168   Week 168    5/15/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.41
258   169   Week 169    5/22/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   12.13
258   170   Week 170    5/29/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   15.53
258   171   Week 171     6/5/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.46
258   172   Week 172    6/12/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.62
258   173   Week 173    6/19/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9      16
258   174   Week 174    6/26/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   12.56
258   175   Week 175     7/3/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   11.34
258   176   Week 176    7/10/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   15.71
258   177   Week 177    7/17/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.07
258   178   Week 178    7/24/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   15.65
258   179   Week 179    7/31/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9    15.6
258   180   Week 180     8/7/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.57
258   181   Week 181    8/14/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   18.38
258   182   Week 182    8/21/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9    13.5
258   183   Week 183    8/28/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   12.98
258   184   Week 184     9/4/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   15.61
258   185   Week 185    9/11/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   17.36
258   186   Week 186    9/18/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   16.13
258   187   Week 187    9/25/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   13.31
258   188   Week 188    10/2/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   17.54
258   189   Week 189    10/9/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   14.16
258   190   Week 190   10/16/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER     9   14.48
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258   191   Week 191   10/23/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.93
258   192   Week 192   10/30/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.03
258   193   Week 193    11/6/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.64
258   194   Week 194   11/13/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    18.1
258   195   Week 195   11/20/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    7.25
258   196   Week 196   11/27/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   14.23
258   197   Week 197    12/4/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.73
258   198   Week 198   12/11/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.15
258   199   Week 199   12/18/2016   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    6.09
258   201   Week 201     1/1/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.83
258   202   Week 202     1/8/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.82
258   203   Week 203    1/15/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.17
258   204   Week 204    1/22/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.63
258   205   Week 205    1/29/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.68
258   206   Week 206     2/5/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.13
258   207   Week 207    2/12/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   11.62
258   208   Week 208    2/19/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.93
258   209   Week 209    2/26/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.23
258   210   Week 210     3/5/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.33
258   211   Week 211    3/12/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   12.05
258   212   Week 212    3/19/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.09
258   213   Week 213    3/26/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.19
258   214   Week 214     4/2/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.12
258   215   Week 215     4/9/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   14.76
258   216   Week 216    4/16/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.89
258   217   Week 217    4/23/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.55
258   218   Week 218    4/30/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.58
258   219   Week 219     5/7/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.45
258   220   Week 220    5/14/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.85
258   221   Week 221    5/21/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    9.35
258   222   Week 222    5/28/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   10.08
258   222   Week 222    5/28/2017   Western   MP Western Region   48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    6.23
258   223   Week 223     6/4/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.12
258   224   Week 224    6/11/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   16.15
258   225   Week 225    6/18/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.01
258   226   Week 226    6/25/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   14.57
258   227   Week 227     7/2/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    9.65
258   228   Week 228     7/9/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.78
258   229   Week 229    7/16/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    17.8
258   230   Week 230    7/23/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   15.92
258   231   Week 231    7/30/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9      17
258   232   Week 232     8/6/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   14.93
258   233   Week 233    8/13/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    15.9
258   234   Week 234    8/20/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   12.77
258   235   Week 235    8/27/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   10.07
258   236   Week 236     9/3/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   13.12
258   237   Week 237    9/10/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.02
258   238   Week 238    9/17/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.57
258   239   Week 239    9/24/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.18
258   240   Week 240    10/1/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   17.34
258   241   Week 241    10/8/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    16.7
258   242   Week 242   10/15/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9   18.59
258   243   Week 243   10/22/2017   Western   DO Will Schmidt     48   LBJ   IRV002   67955   HASSAN   BABIKER   HASSAN BABIKER   DELIVERY DRIVER   9    16.7
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 258   244   Week 244   10/29/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   15.67
 258   245   Week 245    11/5/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   19.77
 258   246   Week 246   11/12/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   16.35
 258   247   Week 247   11/19/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9     5.3
 258   248   Week 248   11/26/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   19.25
 258   249   Week 249    12/3/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   18.23
 258   250   Week 250   12/10/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   16.45
 258   251   Week 251   12/17/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9    9.84
 258   253   Week 253   12/31/2017   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   18.32
 258   254   Week 254     1/7/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   13.39
 258   255   Week 255    1/14/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   16.56
 258   256   Week 256    1/21/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   15.98
 258   257   Week 257    1/28/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   17.78
 258   258   Week 258     2/4/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   17.97
 258   259   Week 259    2/11/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   13.06
 258   260   Week 260    2/18/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   17.13
 258   261   Week 261    2/25/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   18.65
 258   262   Week 262     3/4/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   14.89
 258   263   Week 263    3/11/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   11.22
 258   264   Week 264    3/18/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   17.06
 258   265   Week 265    3/25/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   15.45
 258   266   Week 266     4/1/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9   15.08
 258   267   Week 267     4/8/2018   Western    DO Will Schmidt    48   LBJ   IRV002   67955   HASSAN    BABIKER   HASSAN BABIKER   DELIVERY DRIVER      9    3.32
5060   128   Week 128     8/9/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   15.28
5060   129   Week 129    8/16/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER   8.54    40.4
5060   130   Week 130    8/23/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   34.16
5060   131   Week 131    8/30/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   22.22
5060   132   Week 132     9/6/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   25.57
5060   133   Week 133    9/13/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    27.5
5060   134   Week 134    9/20/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    39.2
5060   135   Week 135    9/27/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   39.97
5060   136   Week 136    10/4/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   27.82
5060   137   Week 137   10/11/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   35.95
5060   138   Week 138   10/18/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   34.84
5060   139   Week 139   10/25/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   11.62
5060   140   Week 140    11/1/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   32.14
5060   141   Week 141    11/8/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   31.17
5060   142   Week 142   11/15/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   28.63
5060   143   Week 143   11/22/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   22.34
5060   144   Week 144   11/29/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    30.5
5060   145   Week 145    12/6/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   33.74
5060   146   Week 146   12/13/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   27.19
5060   147   Week 147   12/20/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   11.47
5060   148   Week 148   12/27/2015   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    7.32
5060   149   Week 149     1/3/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    22.3
5060   150   Week 150    1/10/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   15.85
5060   151   Week 151    1/17/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   13.13
5060   152   Week 152    1/24/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    2.72
5060   157   Week 157    2/28/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   11.15
5060   158   Week 158     3/6/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    27.9
5060   159   Week 159    3/13/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   28.58
5060   160   Week 160    3/20/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5    12.7
5060   161   Week 161    3/27/2016   Northern   Greg Winger       160   ISB   ISB234   56763   PATRICK   SWIECH    PATRICK SWIECH   DELIVERY DRIVER    8.5   21.06
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5060   162   Week 162     4/3/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER   8.91   44.25
5060   163   Week 163    4/10/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   36.18
5060   164   Week 164    4/17/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER   8.69   41.82
5060   165   Week 165    4/24/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   16.26
5060   166   Week 166     5/1/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   14.69
5060   167   Week 167     5/8/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   12.45
5060   168   Week 168    5/15/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER   9.07   19.12
5060   169   Week 169    5/22/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   17.88
5060   170   Week 170    5/29/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   19.21
5060   171   Week 171     6/5/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5     9.3
5060   172   Week 172    6/12/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   25.27
5060   173   Week 173    6/19/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   21.86
5060   174   Week 174    6/26/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5    20.9
5060   175   Week 175     7/3/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   12.78
5060   177   Week 177    7/17/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5   14.73
5060   178   Week 178    7/24/2016   Northern   Greg Winger      160   ISB   ISB234   56763   PATRICK     SWIECH       PATRICK SWIECH         DELIVERY DRIVER    8.5    5.29
1210   166   Week 166     5/1/2016   Northern   Greg Winger      160   ISB   ISB259   62561   FREDERICK   CUNNINGHAM   FREDERICK CUNNINGHAM   DELIVERY DRIVER      9    8.17
1210   167   Week 167     5/8/2016   Northern   Greg Winger      160   ISB   ISB259   62561   FREDERICK   CUNNINGHAM   FREDERICK CUNNINGHAM   DELIVERY DRIVER      9   29.28
1210   168   Week 168    5/15/2016   Northern   Greg Winger      160   ISB   ISB259   62561   FREDERICK   CUNNINGHAM   FREDERICK CUNNINGHAM   DELIVERY DRIVER      9    3.17
1210   169   Week 169    5/22/2016   Northern   Greg Winger      160   ISB   ISB259   62561   FREDERICK   CUNNINGHAM   FREDERICK CUNNINGHAM   DELIVERY DRIVER      9   16.16
 971   249   Week 249    12/3/2017   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    7.63
 971   252   Week 252   12/24/2017   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    3.77
 971   253   Week 253   12/31/2017   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5     4.1
 971   254   Week 254     1/7/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    4.22
 971   255   Week 255    1/14/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    6.86
 971   256   Week 256    1/21/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    3.68
 971   257   Week 257    1/28/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    3.77
 971   258   Week 258     2/4/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    4.94
 971   259   Week 259    2/11/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    3.53
 971   261   Week 261    2/25/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    5.18
 971   263   Week 263    3/11/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5   10.15
 971   264   Week 264    3/18/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5   11.17
 971   265   Week 265    3/25/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5    5.08
 971   266   Week 266     4/1/2018   Northern   DO Greg Winger   160   ISB   ISB274   65049   TYLER       CHUNG        TYLER CHUNG            DELIVERY DRIVER   10.5   11.67
4066   101   Week 101     2/1/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    2.72
4066   102   Week 102     2/8/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    4.48
4066   103   Week 103    2/15/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    2.37
4066   104   Week 104    2/22/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    5.85
4066   105   Week 105     3/1/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    6.53
4066   106   Week 106     3/8/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.33    0.03
4066   107   Week 107    3/15/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    4.61
4066   108   Week 108    3/22/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    6.43
4066   109   Week 109    3/29/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    3.23
4066   110   Week 110     4/5/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    7.72
4066   111   Week 111    4/12/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    6.65
4066   112   Week 112    4/19/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    5.73
4066   113   Week 113    4/26/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    4.46
4066   114   Week 114     5/3/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    7.84
4066   115   Week 115    5/10/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25   10.15
4066   116   Week 116    5/17/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    5.65
4066   117   Week 117    5/24/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    8.97
4066   118   Week 118    5/31/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    5.75
4066   119   Week 119     6/7/2015   Northern   Greg Winger      148   IVH   IVH200   46097   Joseph      Pfetzer      Joseph Pfetzer         DELIVERY DRIVER   8.25    7.96
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1792   114 Week 114     5/3/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   13.78
1792   115 Week 115    5/10/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   11.07
1792   116 Week 116    5/17/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   11.24
1792   117 Week 117    5/24/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   13.12
1792   118 Week 118    5/31/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   12.57
1792   119 Week 119     6/7/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   13.34
1792   120 Week 120    6/14/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   19.06
1792   121 Week 121    6/21/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   26.41
1792   122 Week 122    6/28/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05     4.5
1792   123 Week 123     7/5/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05      23
1792   124 Week 124    7/12/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   19.18
1792   125 Week 125    7/19/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   16.21
1792   126 Week 126    7/26/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   19.95
1792   127 Week 127     8/2/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   12.64
1792   128 Week 128     8/9/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   14.18
1792   129 Week 129    8/16/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   21.65
1792   132 Week 132     9/6/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   12.02
1792   133 Week 133    9/13/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    20.9
1792   134 Week 134    9/20/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   17.82
1792   135 Week 135    9/27/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   18.68
1792   136 Week 136    10/4/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    20.9
1792   137 Week 137   10/11/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   16.18
1792   138 Week 138   10/18/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    25.3
1792   139 Week 139   10/25/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   25.18
1792   140 Week 140    11/1/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    21.6
1792   141 Week 141    11/8/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   19.03
1792   142 Week 142   11/15/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   18.81
1792   143 Week 143   11/22/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    8.18
1792   144 Week 144   11/29/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   16.19
1792   145 Week 145    12/6/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   22.35
1792   146 Week 146   12/13/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    21.4
1792   147 Week 147   12/20/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    4.08
1792   148 Week 148   12/27/2015   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05    8.02
1792   149 Week 149     1/3/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   22.77
1792   150 Week 150    1/10/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   19.35
1792   151 Week 151    1/17/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   23.47
1792   152 Week 152    1/24/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER   8.05   14.02
1792   153 Week 153    1/31/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   21.14
1792   154 Week 154     2/7/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   18.92
1792   155 Week 155    2/14/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   18.17
1792   156 Week 156    2/21/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   26.93
1792   157 Week 157    2/28/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9    14.6
1792   158 Week 158     3/6/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   20.07
1792   159 Week 159    3/13/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   24.79
1792   161 Week 161    3/27/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   19.81
1792   162 Week 162     4/3/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   17.06
1792   163 Week 163    4/10/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   21.11
1792   164 Week 164    4/17/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   19.76
1792   165 Week 165    4/24/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   26.37
1792   166 Week 166     5/1/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   13.61
1792   167 Week 167     5/8/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   13.15
1792   168 Week 168    5/15/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   22.06
1792   169 Week 169    5/22/2016   Eastern   Don Shirley   194 JAX   JAX010   52311   CRAIG   FUCE   CRAIG FUCE   DELIVERY DRIVER      9   18.48
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1792   170   Week 170    5/29/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   12.07
1792   171   Week 171     6/5/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9    17.6
1792   172   Week 172    6/12/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   19.33
1792   173   Week 173    6/19/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   31.25
1792   174   Week 174    6/26/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   18.22
1792   175   Week 175     7/3/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   13.11
1792   176   Week 176    7/10/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   28.21
1792   177   Week 177    7/17/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   28.13
1792   178   Week 178    7/24/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9    22.4
1792   179   Week 179    7/31/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9      19
1792   180   Week 180     8/7/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   17.21
1792   181   Week 181    8/14/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   25.61
1792   182   Week 182    8/21/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   26.89
1792   183   Week 183    8/28/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   16.12
1792   184   Week 184     9/4/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   29.39
1792   185   Week 185    9/11/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9    25.8
1792   186   Week 186    9/18/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   19.64
1792   187   Week 187    9/25/2016   Eastern   Don Shirley        194   JAX   JAX010   52311   CRAIG      FUCE       CRAIG FUCE         DELIVERY DRIVER       9   24.39
2166   201   Week 201     1/1/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10    4.32
2166   202   Week 202     1/8/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER    10.3   39.53
2166   203   Week 203    1/15/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER   10.33   42.81
2166   204   Week 204    1/22/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   37.47
2166   205   Week 205    1/29/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   35.94
2166   206   Week 206     2/5/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   28.96
2166   207   Week 207    2/12/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   38.95
2166   208   Week 208    2/19/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   32.12
2166   209   Week 209    2/26/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10      26
2166   210   Week 210     3/5/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   26.61
2166   211   Week 211    3/12/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   21.21
2166   212   Week 212    3/19/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   14.85
2166   213   Week 213    3/26/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10   13.31
2166   214   Week 214     4/2/2017   Eastern   Don Shirley        194   JAX   JAX127   67314   KEVIN      HAMILTON   KEVIN HAMILTON     DELIVERY DRIVER      10     2.7
3500   214   Week 214     4/2/2017   Eastern   Don Shirley        194   JAX   JAX146   69105   REEF       MEYER      REEF MEYER         DELIVERY DRIVER     9.5   22.43
3500   215   Week 215     4/9/2017   Eastern   Don Shirley        194   JAX   JAX146   69105   REEF       MEYER      REEF MEYER         DELIVERY DRIVER     9.5   12.89
1507   217   Week 217    4/23/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   10.07
1507   218   Week 218    4/30/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9    4.62
1507   219   Week 219     5/7/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   20.76
1507   220   Week 220    5/14/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   17.11
1507   221   Week 221    5/21/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   21.44
1507   222   Week 222    5/28/2017   Eastern   DO David Rathbun   194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   13.31
1507   222   Week 222    5/28/2017   Eastern   Don Shirley        194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9    5.59
1507   223   Week 223     6/4/2017   Eastern   DO David Rathbun   194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   28.11
1507   224   Week 224    6/11/2017   Eastern   DO David Rathbun   194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   23.96
1507   225   Week 225    6/18/2017   Eastern   DO David Rathbun   194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   21.31
1507   226   Week 226    6/25/2017   Eastern   DO David Rathbun   194   JAX   JAX147   69412   MICHAELA   DURIGAN    MICHAELA DURIGAN   DELIVERY DRIVER       9   16.08
3436   244   Week 244   10/29/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5   17.45
3436   245   Week 245    11/5/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5   37.58
3436   246   Week 246   11/12/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5   33.24
3436   247   Week 247   11/19/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5    16.5
3436   248   Week 248   11/26/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5   27.87
3436   249   Week 249    12/3/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5   17.29
3436   250   Week 250   12/10/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5      24
3436   251   Week 251   12/17/2017   Eastern   DO David Rathbun   194   JAX   JAX171   73582   CARL       MCQUEEN    CARL MCQUEEN       DELIVERY DRIVER     9.5    9.77
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3436   252   Week 252   12/24/2017   Eastern    DO David Rathbun   194   JAX   JAX171   73582   CARL     MCQUEEN    CARL MCQUEEN      DELIVERY DRIVER    9.5    4.15
3436   253   Week 253   12/31/2017   Eastern    DO David Rathbun   194   JAX   JAX171   73582   CARL     MCQUEEN    CARL MCQUEEN      DELIVERY DRIVER    9.5    23.3
3436   254   Week 254     1/7/2018   Eastern    DO David Rathbun   194   JAX   JAX171   73582   CARL     MCQUEEN    CARL MCQUEEN      DELIVERY DRIVER    9.5   12.01
5660   103   Week 103    2/15/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   25.12
5660   104   Week 104    2/22/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   24.35
5660   105   Week 105     3/1/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   25.77
5660   106   Week 106     3/8/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   24.39
5660   107   Week 107    3/15/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5    26.1
5660   108   Week 108    3/22/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   23.14
5660   109   Week 109    3/29/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   20.77
5660   110   Week 110     4/5/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   24.52
5660   111   Week 111    4/12/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   21.72
5660   112   Week 112    4/19/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   22.38
5660   113   Week 113    4/26/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   24.25
5660   114   Week 114     5/3/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   23.68
5660   115   Week 115    5/10/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   22.99
5660   116   Week 116    5/17/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   26.19
5660   117   Week 117    5/24/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   27.06
5660   118   Week 118    5/31/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   22.23
5660   119   Week 119     6/7/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER    7.5   29.13
5660   120   Week 120    6/14/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER   7.84   11.88
5660   121   Week 121    6/21/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8    4.07
5660   122   Week 122    6/28/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   15.67
5660   123   Week 123     7/5/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   16.92
5660   124   Week 124    7/12/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   32.64
5660   125   Week 125    7/19/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   31.27
5660   126   Week 126    7/26/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   30.72
5660   127   Week 127     8/2/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   27.08
5660   128   Week 128     8/9/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   32.85
5660   129   Week 129    8/16/2015   Southern   Gene Leal           52   JNS   JNS543   51021   JEYLON   WILLIAMS   JEYLON WILLIAMS   DELIVERY DRIVER      8   16.35
 661   104   Week 104    2/22/2015   Southern   James Cornett       33   LKL   KIL778   48412   NANCY    BROWN      NANCY BROWN       DELIVERY DRIVER      9   18.54
 661   105   Week 105     3/1/2015   Southern   James Cornett       33   LKL   KIL778   48412   NANCY    BROWN      NANCY BROWN       DELIVERY DRIVER      9   23.89
 661   106   Week 106     3/8/2015   Southern   James Cornett       33   LKL   KIL778   48412   NANCY    BROWN      NANCY BROWN       DELIVERY DRIVER      9   19.81
 661   107   Week 107    3/15/2015   Southern   James Cornett       33   LKL   KIL778   48412   NANCY    BROWN      NANCY BROWN       DELIVERY DRIVER      9   15.33
2204   130   Week 130    8/23/2015   Western    Thomas McDonald     53   KIL   KIL829   57055   ISAIAH   HARDIMAN   ISAIAH HARDIMAN   DELIVERY DRIVER   8.25    4.02
2204   131   Week 131    8/30/2015   Western    Thomas McDonald     53   KIL   KIL829   57055   ISAIAH   HARDIMAN   ISAIAH HARDIMAN   DELIVERY DRIVER   8.25   17.85
4235   172   Week 172    6/12/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   20.75
4235   173   Week 173    6/19/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   19.52
4235   174   Week 174    6/26/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5    18.5
4235   175   Week 175     7/3/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5    7.05
4235   176   Week 176    7/10/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   21.38
4235   177   Week 177    7/17/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   10.79
4235   178   Week 178    7/24/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   19.33
4235   179   Week 179    7/31/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   33.29
4235   180   Week 180     8/7/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   15.72
4235   181   Week 181    8/14/2016   Southern   Noel Luna           15   SSQ   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5     3.4
4235   181   Week 181    8/14/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5      15
4235   182   Week 182    8/21/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   10.22
4235   183   Week 183    8/28/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5    8.75
4235   184   Week 184     9/4/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   10.68
4235   185   Week 185    9/11/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   14.69
4235   186   Week 186    9/18/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5    9.49
4235   187   Week 187    9/25/2016   Southern   Noel Luna           21   RIC   KTY079   32855   TARIQ    RAHMANI    TARIQ RAHMANI     DELIVERY DRIVER    8.5   13.71
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4235   188   Week 188    10/2/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   13.03
4235   189   Week 189    10/9/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   10.23
4235   190   Week 190   10/16/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   15.43
4235   191   Week 191   10/23/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   11.88
4235   192   Week 192   10/30/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   13.86
4235   193   Week 193    11/6/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5     6.8
4235   194   Week 194   11/13/2016   Southern   Noel Luna         21   RIC   KTY079   32855   TARIQ      RAHMANI    TARIQ RAHMANI       DELIVERY DRIVER    8.5   12.15
 455   121   Week 121    6/21/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    5.77
 455   122   Week 122    6/28/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   17.13
 455   123   Week 123     7/5/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   29.79
 455   124   Week 124    7/12/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   25.72
 455   125   Week 125    7/19/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   14.79
 455   126   Week 126    7/26/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.68
 455   127   Week 127     8/2/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   30.95
 455   128   Week 128     8/9/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.21
 455   129   Week 129    8/16/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   24.22
 455   130   Week 130    8/23/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   19.92
 455   131   Week 131    8/30/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   21.42
 455   132   Week 132     9/6/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   27.79
 455   133   Week 133    9/13/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   34.31
 455   134   Week 134    9/20/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   31.87
 455   135   Week 135    9/27/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   24.61
 455   136   Week 136    10/4/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   35.88
 455   137   Week 137   10/11/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   37.68
 455   138   Week 138   10/18/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   25.24
 455   139   Week 139   10/25/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   29.29
 455   140   Week 140    11/1/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER   7.56   36.99
 455   141   Week 141    11/8/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   29.64
 455   142   Week 142   11/15/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   23.36
 455   143   Week 143   11/22/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    23.6
 455   144   Week 144   11/29/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   24.92
 455   145   Week 145    12/6/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.07
 455   146   Week 146   12/13/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   21.69
 455   147   Week 147   12/20/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    9.08
 455   148   Week 148   12/27/2015   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   22.55
 455   149   Week 149     1/3/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   27.78
 455   150   Week 150    1/10/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   19.42
 455   151   Week 151    1/17/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   18.82
 455   152   Week 152    1/24/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   27.81
 455   153   Week 153    1/31/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   25.57
 455   154   Week 154     2/7/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    2.47
 455   162   Week 162     4/3/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    3.53
 455   163   Week 163    4/10/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    4.86
 455   164   Week 164    4/17/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   16.37
 455   165   Week 165    4/24/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   28.49
 455   166   Week 166     5/1/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   28.75
 455   167   Week 167     5/8/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   30.96
 455   168   Week 168    5/15/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    25.2
 455   169   Week 169    5/22/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   20.69
 455   170   Week 170    5/29/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.81
 455   171   Week 171     6/5/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    8.16
 455   172   Week 172    6/12/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   23.34
 455   173   Week 173    6/19/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   20.99
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 455   174   Week 174    6/26/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    19.7
 455   175   Week 175     7/3/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   16.76
 455   176   Week 176    7/10/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   11.99
 455   177   Week 177    7/17/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    19.9
 455   178   Week 178    7/24/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   33.86
 455   179   Week 179    7/31/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.35
 455   180   Week 180     8/7/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   20.73
 455   181   Week 181    8/14/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    32.7
 455   182   Week 182    8/21/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   18.71
 455   183   Week 183    8/28/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    22.3
 455   184   Week 184     9/4/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   26.63
 455   185   Week 185    9/11/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   23.12
 455   186   Week 186    9/18/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   20.75
 455   187   Week 187    9/25/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   27.11
 455   188   Week 188    10/2/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   13.58
 455   189   Week 189    10/9/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   28.76
 455   190   Week 190   10/16/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   21.81
 455   191   Week 191   10/23/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   23.53
 455   192   Week 192   10/30/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    30.9
 455   193   Week 193    11/6/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   17.68
 455   194   Week 194   11/13/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   12.43
 455   195   Week 195   11/20/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   13.61
 455   196   Week 196   11/27/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   14.74
 455   197   Week 197    12/4/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   28.12
 455   198   Week 198   12/11/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   20.98
 455   199   Week 199   12/18/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   16.17
 455   200   Week 200   12/25/2016   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5   21.05
 455   201   Week 201     1/1/2017   Southern   Mark Livingston   69   KWD   KWD618   55817   MADELINE   BIENVENU   MADELINE BIENVENU   DELIVERY DRIVER    7.5    5.76
1555   127   Week 127     8/2/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5    9.34
1555   128   Week 128     8/9/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   17.53
1555   129   Week 129    8/16/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   30.32
1555   130   Week 130    8/23/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   23.84
1555   131   Week 131    8/30/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   21.85
1555   132   Week 132     9/6/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   27.39
1555   133   Week 133    9/13/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   25.78
1555   134   Week 134    9/20/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   13.33
1555   135   Week 135    9/27/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   15.06
1555   136   Week 136    10/4/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   19.62
1555   137   Week 137   10/11/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER   7.64    41.5
1555   138   Week 138   10/18/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   36.79
1555   139   Week 139   10/25/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    7.5   36.27
1555   140   Week 140    11/1/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   29.99
1555   141   Week 141    11/8/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   32.55
1555   142   Week 142   11/15/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   31.63
1555   143   Week 143   11/22/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5    8.37
1555   144   Week 144   11/29/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   26.52
1555   145   Week 145    12/6/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   34.65
1555   146   Week 146   12/13/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5    37.2
1555   147   Week 147   12/20/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5    6.57
1555   148   Week 148   12/27/2015   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   23.27
1555   149   Week 149     1/3/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5    36.6
1555   150   Week 150    1/10/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER    8.5   33.86
1555   151   Week 151    1/17/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA    ELLIOTT    BARBARA ELLIOTT     DELIVERY DRIVER   8.58   35.73
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1555   152   Week 152    1/24/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.74   42.35
1555   153   Week 153    1/31/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   30.08
1555   154   Week 154     2/7/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.81   43.14
1555   155   Week 155    2/14/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.71   42.05
1555   156   Week 156    2/21/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.72   42.14
1555   157   Week 157    2/28/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   35.46
1555   158   Week 158     3/6/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   34.36
1555   159   Week 159    3/13/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    23.9
1555   160   Week 160    3/20/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   36.64
1555   161   Week 161    3/27/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   22.38
1555   162   Week 162     4/3/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    32.9
1555   163   Week 163    4/10/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   32.01
1555   164   Week 164    4/17/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   37.07
1555   165   Week 165    4/24/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5      36
1555   166   Week 166     5/1/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    38.1
1555   167   Week 167     5/8/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   33.03
1555   168   Week 168    5/15/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   39.18
1555   169   Week 169    5/22/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   33.87
1555   170   Week 170    5/29/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   17.04
1555   171   Week 171     6/5/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   33.75
1555   172   Week 172    6/12/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   34.34
1555   173   Week 173    6/19/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   28.33
1555   174   Week 174    6/26/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   23.12
1555   175   Week 175     7/3/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   34.78
1555   176   Week 176    7/10/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   30.25
1555   177   Week 177    7/17/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    23.2
1555   178   Week 178    7/24/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    32.4
1555   179   Week 179    7/31/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   28.35
1555   180   Week 180     8/7/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   25.45
1555   181   Week 181    8/14/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   31.33
1555   182   Week 182    8/21/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   29.04
1555   183   Week 183    8/28/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   33.82
1555   184   Week 184     9/4/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   26.68
1555   185   Week 185    9/11/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.63   41.21
1555   186   Week 186    9/18/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   29.57
1555   187   Week 187    9/25/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   27.14
1555   188   Week 188    10/2/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   31.07
1555   189   Week 189    10/9/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    31.5
1555   190   Week 190   10/16/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   31.04
1555   191   Week 191   10/23/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   36.37
1555   192   Week 192   10/30/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   30.97
1555   193   Week 193    11/6/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.74   39.18
1555   194   Week 194   11/13/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   29.62
1555   195   Week 195   11/20/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    26.7
1555   196   Week 196   11/27/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5      40
1555   197   Week 197    12/4/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   33.83
1555   198   Week 198   12/11/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5      39
1555   199   Week 199   12/18/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   28.83
1555   200   Week 200   12/25/2016   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5    9.44
1555   201   Week 201     1/1/2017   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   8.57   40.67
1555   202   Week 202     1/8/2017   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   11.68
1555   203   Week 203    1/15/2017   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   36.18
1555   204   Week 204    1/22/2017   Southern   Mark Livingston   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.5   31.33
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1555   205   Week 205    1/29/2017   Southern   Mark Livingston      69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   14.82
1555   205   Week 205    1/29/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   19.09
1555   206   Week 206     2/5/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   36.73
1555   207   Week 207    2/12/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   37.54
1555   208   Week 208    2/19/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   36.96
1555   209   Week 209    2/26/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   39.28
1555   210   Week 210     3/5/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   32.67
1555   211   Week 211    3/12/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   25.67
1555   212   Week 212    3/19/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.57   39.35
1555   213   Week 213    3/26/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   30.62
1555   214   Week 214     4/2/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   34.14
1555   215   Week 215     4/9/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   30.12
1555   216   Week 216    4/16/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    37.9
1555   217   Week 217    4/23/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.6   40.97
1555   218   Week 218    4/30/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   29.22
1555   219   Week 219     5/7/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   33.64
1555   220   Week 220    5/14/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   39.48
1555   221   Week 221    5/21/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   34.26
1555   222   Week 222    5/28/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   21.13
1555   222   Week 222    5/28/2017   Southern   MP Southern Region   69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   12.51
1555   223   Week 223     6/4/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   32.49
1555   224   Week 224    6/11/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   35.76
1555   225   Week 225    6/18/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   22.13
1555   226   Week 226    6/25/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   32.22
1555   227   Week 227     7/2/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    26.1
1555   228   Week 228     7/9/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   31.31
1555   229   Week 229    7/16/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    32.1
1555   230   Week 230    7/23/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   36.09
1555   231   Week 231    7/30/2017   Southern   DO Travis Bryant     45   HUM   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    9.29
1555   231   Week 231    7/30/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    28.4
1555   232   Week 232     8/6/2017   Southern   DO Travis Bryant     45   HUM   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5    6.03
1555   232   Week 232     8/6/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   27.74
1555   233   Week 233    8/13/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   39.46
1555   234   Week 234    8/20/2017   Southern   DO Travis Bryant     45   HUM   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   13.74
1555   234   Week 234    8/20/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   15.05
1555   235   Week 235    8/27/2017   Southern   DO Travis Bryant     45   HUM   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   12.78
1555   235   Week 235    8/27/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     8.5   25.62
1555   236   Week 236     9/3/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.45   51.48
1555   237   Week 237    9/10/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    8.94   44.67
1555   238   Week 238    9/17/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.84   45.79
1555   239   Week 239    9/24/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.87   46.13
1555   240   Week 240    10/1/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.34   40.77
1555   241   Week 241    10/8/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.61   43.38
1555   242   Week 242   10/15/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.47   41.98
1555   243   Week 243   10/22/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.38   41.17
1555   244   Week 244   10/29/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER     9.6   43.28
1555   245   Week 245    11/5/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.25   39.87
1555   246   Week 246   11/12/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.25   38.87
1555   247   Week 247   11/19/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.25   28.12
1555   248   Week 248   11/26/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.25   38.14
1555   249   Week 249    12/3/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER   10.08   43.37
1555   250   Week 250   12/10/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.53   42.57
1555   251   Week 251   12/17/2017   Southern   DO Travis Bryant     69   KWD   KWD623   56679   BARBARA   ELLIOTT   BARBARA ELLIOTT   DELIVERY DRIVER    9.25   33.54
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1555   252   Week 252   12/24/2017   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   33.31
1555   253   Week 253   12/31/2017   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   10.82
1555   254   Week 254     1/7/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   37.55
1555   255   Week 255    1/14/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.35   40.84
1555   256   Week 256    1/21/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   36.32
1555   257   Week 257    1/28/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   39.02
1555   258   Week 258     2/4/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   37.91
1555   259   Week 259    2/11/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   39.23
1555   260   Week 260    2/18/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   36.38
1555   261   Week 261    2/25/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   39.73
1555   262   Week 262     3/4/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   39.08
1555   263   Week 263    3/11/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   38.18
1555   264   Week 264    3/18/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.65    43.8
1555   265   Week 265    3/25/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25   33.34
1555   266   Week 266     4/1/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25      38
1555   267   Week 267     4/8/2018   Southern   DO Travis Bryant   69   KWD   KWD623   56679   BARBARA    ELLIOTT     BARBARA ELLIOTT   DELIVERY DRIVER   9.25    8.58
2788   159   Week 159    3/13/2016   Southern   Mark Livingston    69   KWD   KWD634   60137   SHERRY     LOPER       SHERRY LOPER      DELIVERY DRIVER      8    0.07
2788   160   Week 160    3/20/2016   Southern   Mark Livingston    69   KWD   KWD634   60137   SHERRY     LOPER       SHERRY LOPER      DELIVERY DRIVER      8    2.62
2788   168   Week 168    5/15/2016   Southern   Mark Livingston    69   KWD   KWD634   60137   SHERRY     LOPER       SHERRY LOPER      DELIVERY DRIVER      8    0.12
2788   171   Week 171     6/5/2016   Southern   Mark Livingston    69   KWD   KWD634   60137   SHERRY     LOPER       SHERRY LOPER      DELIVERY DRIVER      8    2.33
2788   175   Week 175     7/3/2016   Southern   Mark Livingston    69   KWD   KWD634   60137   SHERRY     LOPER       SHERRY LOPER      DELIVERY DRIVER      8    0.03
4982   224   Week 224    6/11/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5   21.85
4982   226   Week 226    6/25/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5   13.64
4982   227   Week 227     7/2/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    7.31
4982   228   Week 228     7/9/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5   12.54
4982   229   Week 229    7/16/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    7.17
4982   230   Week 230    7/23/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5     9.7
4982   231   Week 231    7/30/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    8.17
4982   232   Week 232     8/6/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    6.55
4982   233   Week 233    8/13/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    8.48
4982   234   Week 234    8/20/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    2.93
4982   237   Week 237    9/10/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5   15.47
4982   238   Week 238    9/17/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    8.03
4982   239   Week 239    9/24/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5   17.83
4982   240   Week 240    10/1/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    6.21
4982   241   Week 241    10/8/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5     9.3
4982   242   Week 242   10/15/2017   Southern   DO Travis Bryant   45   HUM   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    4.93
4982   243   Week 243   10/22/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    8.42
4982   244   Week 244   10/29/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    7.86
4982   245   Week 245    11/5/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    9.85
4982   251   Week 251   12/17/2017   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5     1.8
4982   254   Week 254     1/7/2018   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    4.45
4982   256   Week 256    1/21/2018   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    5.63
4982   259   Week 259    2/11/2018   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.5    0.22
4982   261   Week 261    2/25/2018   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER   7.51     0.7
4982   264   Week 264    3/18/2018   Southern   DO Travis Bryant   69   KWD   KWD677   68419   JON        STOCKWELL   JON STOCKWELL     DELIVERY DRIVER    7.6    0.05
3004   240   Week 240    10/1/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   30.15
3004   241   Week 241    10/8/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   35.63
3004   242   Week 242   10/15/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   39.26
3004   243   Week 243   10/22/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   35.59
3004   244   Week 244   10/29/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   26.54
3004   245   Week 245    11/5/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   28.64
3004   246   Week 246   11/12/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC    DELIVERY DRIVER    8.5   27.21
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3004   247   Week 247   11/19/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5    24.4
3004   248   Week 248   11/26/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   25.52
3004   249   Week 249    12/3/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   23.84
3004   250   Week 250   12/10/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   30.73
3004   251   Week 251   12/17/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   21.16
3004   252   Week 252   12/24/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   25.43
3004   253   Week 253   12/31/2017   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5    34.7
3004   254   Week 254     1/7/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   26.08
3004   255   Week 255    1/14/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   21.08
3004   256   Week 256    1/21/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   28.93
3004   257   Week 257    1/28/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   18.61
3004   258   Week 258     2/4/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   29.78
3004   259   Week 259    2/11/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   11.68
3004   260   Week 260    2/18/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   15.05
3004   261   Week 261    2/25/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   11.27
3004   262   Week 262     3/4/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   18.45
3004   263   Week 263    3/11/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5      19
3004   264   Week 264    3/18/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   27.22
3004   265   Week 265    3/25/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   14.59
3004   266   Week 266     4/1/2018   Southern   DO Travis Bryant   69   KWD   KWD696   72860   SAMANTHA   LEDUC       SAMANTHA LEDUC     DELIVERY DRIVER   8.5   21.94
2047   135   Week 135    9/27/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    4.65
2047   136   Week 136    10/4/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   13.71
2047   137   Week 137   10/11/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   11.13
2047   138   Week 138   10/18/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    20.1
2047   139   Week 139   10/25/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   20.89
2047   140   Week 140    11/1/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   17.18
2047   141   Week 141    11/8/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   15.76
2047   142   Week 142   11/15/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   11.89
2047   143   Week 143   11/22/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    9.45
2047   144   Week 144   11/29/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   17.85
2047   145   Week 145    12/6/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    24.4
2047   146   Week 146   12/13/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8     8.2
2047   147   Week 147   12/20/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    7.65
2047   148   Week 148   12/27/2015   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   12.25
2047   149   Week 149     1/3/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   16.63
2047   150   Week 150    1/10/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   13.52
2047   151   Week 151    1/17/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    9.18
2047   152   Week 152    1/24/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   20.09
2047   153   Week 153    1/31/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   13.11
2047   154   Week 154     2/7/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   12.12
2047   155   Week 155    2/14/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   20.03
2047   156   Week 156    2/21/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    13.4
2047   157   Week 157    2/28/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   16.21
2047   158   Week 158     3/6/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    17.1
2047   159   Week 159    3/13/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   11.75
2047   160   Week 160    3/20/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   10.19
2047   161   Week 161    3/27/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   23.78
2047   162   Week 162     4/3/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   16.33
2047   163   Week 163    4/10/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8    11.2
2047   164   Week 164    4/17/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   23.26
2047   165   Week 165    4/24/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   23.47
2047   166   Week 166     5/1/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   20.95
2047   167   Week 167     5/8/2016   Southern   Bradley Hulett     54   LAF   LAF731   57856   ROBERT     GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER     8   19.12
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2047   168   Week 168    5/15/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   20.07
2047   169   Week 169    5/22/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   14.47
2047   170   Week 170    5/29/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   24.02
2047   171   Week 171     6/5/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   15.52
2047   172   Week 172    6/12/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   12.29
2047   173   Week 173    6/19/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   18.94
2047   174   Week 174    6/26/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8    5.82
2047   175   Week 175     7/3/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   14.14
2047   176   Week 176    7/10/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   18.47
2047   177   Week 177    7/17/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   15.55
2047   178   Week 178    7/24/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   20.56
2047   179   Week 179    7/31/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8    15.8
2047   180   Week 180     8/7/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8   11.64
2047   181   Week 181    8/14/2016   Southern   Bradley Hulett      54   LAF   LAF731   57856   ROBERT    GREBINGER   ROBERT GREBINGER   DELIVERY DRIVER   8    4.78
3894   102   Week 102     2/8/2015   Western    MP Western Region   48   LBJ   LBJ120   81828   MOHAMED   OSMAN       MOHAMED OSMAN      DELIVERY DRIVER   8    9.06
1563   101   Week 101     2/1/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   36.48
1563   102   Week 102     2/8/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.45
1563   103   Week 103    2/15/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   27.05
1563   104   Week 104    2/22/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.72
1563   105   Week 105     3/1/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   26.42
1563   106   Week 106     3/8/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   30.48
1563   107   Week 107    3/15/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   33.83
1563   108   Week 108    3/22/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.73
1563   109   Week 109    3/29/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   27.35
1563   110   Week 110     4/5/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   36.04
1563   111   Week 111    4/12/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8    33.8
1563   112   Week 112    4/19/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8    38.2
1563   113   Week 113    4/26/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.75
1563   114   Week 114     5/3/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   34.77
1563   115   Week 115    5/10/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   24.54
1563   116   Week 116    5/17/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   36.35
1563   117   Week 117    5/24/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   38.18
1563   118   Week 118    5/31/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.88
1563   119   Week 119     6/7/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.76
1563   120   Week 120    6/14/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   34.74
1563   121   Week 121    6/21/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   34.02
1563   122   Week 122    6/28/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   26.35
1563   123   Week 123     7/5/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.69
1563   124   Week 124    7/12/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   32.25
1563   125   Week 125    7/19/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   32.14
1563   126   Week 126    7/26/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8      35
1563   127   Week 127     8/2/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   33.68
1563   128   Week 128     8/9/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.74
1563   129   Week 129    8/16/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   39.09
1563   130   Week 130    8/23/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   36.16
1563   131   Week 131    8/30/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   31.58
1563   132   Week 132     9/6/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   29.55
1563   133   Week 133    9/13/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   37.81
1563   134   Week 134    9/20/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8    27.1
1563   135   Week 135    9/27/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   27.48
1563   136   Week 136    10/4/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   28.59
1563   137   Week 137   10/11/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   35.86
1563   138   Week 138   10/18/2015   Western    Mike McCown         29   GPV   LBJ376   38295   Khalid    Elsheikh    Khalid Elsheikh    DELIVERY DRIVER   8   38.12
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1563   139   Week 139   10/25/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8   34.53
1563   140   Week 140    11/1/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8   37.54
1563   141   Week 141    11/8/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8   39.35
1563   142   Week 142   11/15/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8    29.8
1563   143   Week 143   11/22/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8   26.21
1563   144   Week 144   11/29/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER       8   36.41
1563   145   Week 145    12/6/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   30.15
1563   146   Week 146   12/13/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   35.49
1563   147   Week 147   12/20/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   29.41
1563   148   Week 148   12/27/2015   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   17.45
1563   149   Week 149     1/3/2016   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   37.13
1563   150   Week 150    1/10/2016   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   39.03
1563   151   Week 151    1/17/2016   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   28.97
1563   152   Week 152    1/24/2016   Western    Mike McCown       29   GPV   LBJ376     38295   Khalid       Elsheikh   Khalid Elsheikh      DELIVERY DRIVER    8.25   16.79
3797   163   Week 163    4/10/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    7.15
3797   164   Week 164    4/17/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   13.72
3797   165   Week 165    4/24/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   19.85
3797   166   Week 166     5/1/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   10.99
3797   167   Week 167     5/8/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   19.48
3797   168   Week 168    5/15/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    9.54
3797   169   Week 169    5/22/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25     7.8
3797   170   Week 170    5/29/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   18.76
3797   171   Week 171     6/5/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   30.09
3797   172   Week 172    6/12/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   23.02
3797   173   Week 173    6/19/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   22.73
3797   174   Week 174    6/26/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   21.91
3797   175   Week 175     7/3/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   23.84
3797   176   Week 176    7/10/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   29.53
3797   177   Week 177    7/17/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   15.43
3797   178   Week 178    7/24/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   15.99
3797   179   Week 179    7/31/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   24.48
3797   180   Week 180     8/7/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   23.23
3797   181   Week 181    8/14/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    16.7
3797   182   Week 182    8/21/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   15.97
3797   183   Week 183    8/28/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    9.68
3797   184   Week 184     9/4/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   31.68
3797   185   Week 185    9/11/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   36.18
3797   186   Week 186    9/18/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   31.46
3797   187   Week 187    9/25/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   20.71
3797   188   Week 188    10/2/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   24.57
3797   189   Week 189    10/9/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   21.86
3797   190   Week 190   10/16/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   24.67
3797   191   Week 191   10/23/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   21.14
3797   192   Week 192   10/30/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    19.2
3797   193   Week 193    11/6/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25    18.6
3797   194   Week 194   11/13/2016   Southern   Bradley Hulett   173   LCL   LCL344     61021   FREDNEISHA   NICHOLS    FREDNEISHA NICHOLS   DELIVERY DRIVER   10.25   17.62
1106   104   Week 104    2/22/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   28.49
1106   105   Week 105     3/1/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   22.84
1106   106   Week 106     3/8/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   11.88
1106   107   Week 107    3/15/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   28.68
1106   108   Week 108    3/22/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   19.59
1106   109   Week 109    3/29/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65   26.54
1106   110   Week 110     4/5/2015   Western    Michael Gibson    35   LEW   LEW4477   144477   ROSS         COOPER     ROSS COOPER          DELIVERY DRIVER    8.65    26.7
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1106   111   Week 111    4/12/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   27.79
1106   112   Week 112    4/19/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   27.34
1106   113   Week 113    4/26/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   12.76
1106   114   Week 114     5/3/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   27.76
1106   115   Week 115    5/10/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   36.86
1106   116   Week 116    5/17/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    9.56
1106   138   Week 138   10/18/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   22.23
1106   139   Week 139   10/25/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    16.7
1106   140   Week 140    11/1/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.81
1106   141   Week 141    11/8/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    14.6
1106   142   Week 142   11/15/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   18.74
1106   143   Week 143   11/22/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    9.05
1106   144   Week 144   11/29/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   17.04
1106   145   Week 145    12/6/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.07
1106   146   Week 146   12/13/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   12.75
1106   148   Week 148   12/27/2015   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    6.05
1106   149   Week 149     1/3/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.47
1106   150   Week 150    1/10/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   12.04
1106   151   Week 151    1/17/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.53
1106   152   Week 152    1/24/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   14.27
1106   153   Week 153    1/31/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   11.48
1106   154   Week 154     2/7/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   11.54
1106   155   Week 155    2/14/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   15.73
1106   156   Week 156    2/21/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   21.62
1106   157   Week 157    2/28/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   18.94
1106   158   Week 158     3/6/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   14.42
1106   159   Week 159    3/13/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   17.49
1106   160   Week 160    3/20/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   14.08
1106   161   Week 161    3/27/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   10.57
1106   162   Week 162     4/3/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   19.52
1106   163   Week 163    4/10/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   11.85
1106   164   Week 164    4/17/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   18.24
1106   165   Week 165    4/24/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   24.45
1106   166   Week 166     5/1/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   17.88
1106   167   Week 167     5/8/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   23.06
1106   168   Week 168    5/15/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   21.43
1106   169   Week 169    5/22/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    19.6
1106   170   Week 170    5/29/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   17.94
1106   171   Week 171     6/5/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   12.54
1106   172   Week 172    6/12/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.71
1106   173   Week 173    6/19/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   16.13
1106   174   Week 174    6/26/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   13.43
1106   175   Week 175     7/3/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   11.39
1106   176   Week 176    7/10/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65    12.5
1106   177   Week 177    7/17/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   24.65
1106   178   Week 178    7/24/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   20.04
1106   179   Week 179    7/31/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   19.68
1106   180   Week 180     8/7/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   13.29
1106   181   Week 181    8/14/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   17.63
1106   182   Week 182    8/21/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   22.08
1106   183   Week 183    8/28/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   11.62
1106   184   Week 184     9/4/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   19.74
1106   185   Week 185    9/11/2016   Western   Michael Gibson   35   LEW   LEW4477   144477   ROSS   COOPER   ROSS COOPER   DELIVERY DRIVER   8.65   19.06
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1106   186   Week 186    9/18/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   25.23
1106   187   Week 187    9/25/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   12.59
1106   188   Week 188    10/2/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   15.02
1106   189   Week 189    10/9/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   16.97
1106   190   Week 190   10/16/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.92
1106   191   Week 191   10/23/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   15.95
1106   192   Week 192   10/30/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   10.71
1106   193   Week 193    11/6/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.78
1106   194   Week 194   11/13/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.14
1106   195   Week 195   11/20/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    6.88
1106   196   Week 196   11/27/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    5.69
1106   197   Week 197    12/4/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.63
1106   198   Week 198   12/11/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   14.41
1106   199   Week 199   12/18/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   13.87
1106   200   Week 200   12/25/2016   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    5.15
1106   201   Week 201     1/1/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    8.21
1106   202   Week 202     1/8/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   13.45
1106   203   Week 203    1/15/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   14.84
1106   204   Week 204    1/22/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   19.31
1106   205   Week 205    1/29/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   14.67
1106   206   Week 206     2/5/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   18.02
1106   207   Week 207    2/12/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   18.23
1106   208   Week 208    2/19/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   14.82
1106   209   Week 209    2/26/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   16.55
1106   210   Week 210     3/5/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   19.62
1106   211   Week 211    3/12/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    6.93
1106   212   Week 212    3/19/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.45
1106   213   Week 213    3/26/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   14.15
1106   214   Week 214     4/2/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   27.55
1106   215   Week 215     4/9/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   17.57
1106   216   Week 216    4/16/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   25.06
1106   217   Week 217    4/23/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    4.38
1106   219   Week 219     5/7/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    8.43
1106   220   Week 220    5/14/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    20.4
1106   221   Week 221    5/21/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   13.88
1106   222   Week 222    5/28/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   11.34
1106   222   Week 222    5/28/2017   Western   Michael Gibson    35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    2.28
1106   223   Week 223     6/4/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   11.63
1106   224   Week 224    6/11/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    11.2
1106   225   Week 225    6/18/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    9.31
1106   226   Week 226    6/25/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   15.13
1106   227   Week 227     7/2/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    8.15
1106   228   Week 228     7/9/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    12.6
1106   229   Week 229    7/16/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    3.27
1106   230   Week 230    7/23/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    15.1
1106   231   Week 231    7/30/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   25.18
1106   232   Week 232     8/6/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   25.32
1106   233   Week 233    8/13/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   35.85
1106   234   Week 234    8/20/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65   25.85
1106   235   Week 235    8/27/2017   Western   DO Will Schmidt   35   LEW   LEW4477   144477   ROSS   COOPER     ROSS COOPER     DELIVERY DRIVER   8.65    9.25
 225   117   Week 117    5/24/2015   Western   Michael Gibson    35   LEW   LEW683     55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   26.22
 225   118   Week 118    5/31/2015   Western   Michael Gibson    35   LEW   LEW683     55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   26.17
 225   119   Week 119     6/7/2015   Western   Michael Gibson    35   LEW   LEW683     55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    16.5
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225   120   Week 120    6/14/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   28.39
225   121   Week 121    6/21/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   23.31
225   122   Week 122    6/28/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.11
225   123   Week 123     7/5/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.17
225   124   Week 124    7/12/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.17
225   125   Week 125    7/19/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.19
225   126   Week 126    7/26/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   28.53
225   127   Week 127     8/2/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.29
225   128   Week 128     8/9/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25      19
225   129   Week 129    8/16/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   21.45
225   130   Week 130    8/23/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.49
225   131   Week 131    8/30/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.59
225   132   Week 132     9/6/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    15.4
225   133   Week 133    9/13/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.95
225   134   Week 134    9/20/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.21
225   135   Week 135    9/27/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.49
225   136   Week 136    10/4/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.12
225   137   Week 137   10/11/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.86
225   138   Week 138   10/18/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.14
225   139   Week 139   10/25/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    19.5
225   140   Week 140    11/1/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    18.5
225   141   Week 141    11/8/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   22.96
225   142   Week 142   11/15/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   21.64
225   143   Week 143   11/22/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.84
225   144   Week 144   11/29/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.32
225   145   Week 145    12/6/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.93
225   146   Week 146   12/13/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   23.73
225   147   Week 147   12/20/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    9.32
225   148   Week 148   12/27/2015   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    8.58
225   149   Week 149     1/3/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.64
225   150   Week 150    1/10/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    19.3
225   151   Week 151    1/17/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.62
225   152   Week 152    1/24/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.91
225   153   Week 153    1/31/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    23.4
225   154   Week 154     2/7/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.45
225   155   Week 155    2/14/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.83
225   156   Week 156    2/21/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   16.63
225   157   Week 157    2/28/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.52
225   158   Week 158     3/6/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   22.83
225   159   Week 159    3/13/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   21.08
225   160   Week 160    3/20/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   16.62
225   161   Week 161    3/27/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.17
225   162   Week 162     4/3/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.77
225   163   Week 163    4/10/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    15.2
225   164   Week 164    4/17/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.23
225   165   Week 165    4/24/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.56
225   166   Week 166     5/1/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.38
225   167   Week 167     5/8/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.44
225   168   Week 168    5/15/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.62
225   169   Week 169    5/22/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   16.27
225   170   Week 170    5/29/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   16.04
225   171   Week 171     6/5/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.91
225   172   Week 172    6/12/2016   Western   Michael Gibson   35   LEW   LEW683   55194   COLE   ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   11.49
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 225   173   Week 173    6/19/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.43
 225   174   Week 174    6/26/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   10.39
 225   175   Week 175     7/3/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.09
 225   176   Week 176    7/10/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.93
 225   177   Week 177    7/17/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.85
 225   178   Week 178    7/24/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.91
 225   179   Week 179    7/31/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    4.87
 225   180   Week 180     8/7/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   10.44
 225   181   Week 181    8/14/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.15
 225   194   Week 194   11/13/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.84
 225   195   Week 195   11/20/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    7.76
 225   196   Week 196   11/27/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.72
 225   197   Week 197    12/4/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.86
 225   198   Week 198   12/11/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.82
 225   199   Week 199   12/18/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    7.31
 225   200   Week 200   12/25/2016   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    1.35
 225   201   Week 201     1/1/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.96
 225   202   Week 202     1/8/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   17.56
 225   203   Week 203    1/15/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   12.71
 225   204   Week 204    1/22/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.75
 225   205   Week 205    1/29/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.95
 225   206   Week 206     2/5/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.48
 225   207   Week 207    2/12/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.11
 225   208   Week 208    2/19/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   10.88
 225   209   Week 209    2/26/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.41
 225   210   Week 210     3/5/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    19.1
 225   211   Week 211    3/12/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.08
 225   212   Week 212    3/19/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25      18
 225   213   Week 213    3/26/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.43
 225   214   Week 214     4/2/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   19.53
 225   215   Week 215     4/9/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    18.8
 225   216   Week 216    4/16/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.24
 225   217   Week 217    4/23/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   20.92
 225   218   Week 218    4/30/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.82
 225   219   Week 219     5/7/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   21.13
 225   220   Week 220    5/14/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   18.39
 225   221   Week 221    5/21/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   10.77
 225   222   Week 222    5/28/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25     5.9
 225   222   Week 222    5/28/2017   Western   Michael Gibson     35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    6.28
 225   223   Week 223     6/4/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.22
 225   224   Week 224    6/11/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    8.35
 225   225   Week 225    6/18/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   13.04
 225   226   Week 226    6/25/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   15.06
 225   227   Week 227     7/2/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    9.88
 225   228   Week 228     7/9/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   10.99
 225   229   Week 229    7/16/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   14.03
 225   230   Week 230    7/23/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    9.39
 225   231   Week 231    7/30/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25   12.22
 225   232   Week 232     8/6/2017   Western   DO Will Schmidt    35   LEW   LEW683   55194   COLE    ATCHISON   COLE ATCHISON   DELIVERY DRIVER   7.25    7.49
5011   230   Week 230    7/23/2017   Western   DO Jay White      217   LVA   LVA012   69482   JIMYE   STRAUSS    JIMYE STRAUSS   DELIVERY DRIVER      9   11.25
5011   231   Week 231    7/30/2017   Western   DO Jay White      217   LVA   LVA012   69482   JIMYE   STRAUSS    JIMYE STRAUSS   DELIVERY DRIVER      9   30.01
5011   232   Week 232     8/6/2017   Western   DO Jay White      217   LVA   LVA012   69482   JIMYE   STRAUSS    JIMYE STRAUSS   DELIVERY DRIVER   9.78   36.77
5011   233   Week 233    8/13/2017   Western   DO Jay White      217   LVA   LVA012   69482   JIMYE   STRAUSS    JIMYE STRAUSS   DELIVERY DRIVER      9   20.06
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5011   253   Week 253   12/31/2017   Western   DO Jay White   217   LVA   LVA012   69482   JIMYE         STRAUSS        JIMYE STRAUSS            DELIVERY DRIVER   9.64   18.46
5011   254   Week 254     1/7/2018   Western   DO Jay White   217   LVA   LVA012   69482   JIMYE         STRAUSS        JIMYE STRAUSS            DELIVERY DRIVER      9     6.4
5011   255   Week 255    1/14/2018   Western   DO Jay White   217   LVA   LVA012   69482   JIMYE         STRAUSS        JIMYE STRAUSS            DELIVERY DRIVER      9    6.02
5011   264   Week 264    3/18/2018   Western   DO Jay White   217   LVA   LVA012   69482   JIMYE         STRAUSS        JIMYE STRAUSS            DELIVERY DRIVER      9    4.82
5285   225   Week 225    6/18/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25     4.5
5285   226   Week 226    6/25/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25      12
5285   227   Week 227     7/2/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25   10.13
5285   228   Week 228     7/9/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25   19.84
5285   229   Week 229    7/16/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25   17.77
5285   230   Week 230    7/23/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25   26.35
5285   231   Week 231    7/30/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25   13.92
5285   232   Week 232     8/6/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25    13.9
5285   233   Week 233    8/13/2017   Western   DO Jay White   217   LVA   LVA029   70643   NICHOLAS      TUCKER         NICHOLAS TUCKER          DELIVERY DRIVER   8.25    9.11
4690   226   Week 226    6/25/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25    7.15
4690   227   Week 227     7/2/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.57   23.55
4690   228   Week 228     7/9/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   18.92
4690   229   Week 229    7/16/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   19.49
4690   230   Week 230    7/23/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER    8.3   21.55
4690   231   Week 231    7/30/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   11.58
4690   232   Week 232     8/6/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   26.02
4690   233   Week 233    8/13/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   17.13
4690   234   Week 234    8/20/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   20.11
4690   235   Week 235    8/27/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25   19.29
4690   236   Week 236     9/3/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25    5.57
4690   237   Week 237    9/10/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25    7.22
4690   238   Week 238    9/17/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25    7.88
4690   239   Week 239    9/24/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25    7.22
4690   240   Week 240    10/1/2017   Western   DO Jay White   217   LVA   LVA033   71134   ALEJANDRO     SERRU‐RIVERA   ALEJANDRO SERRU‐RIVERA   DELIVERY DRIVER   8.25     7.4
4493   231   Week 231    7/30/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER   8.79   29.36
4493   232   Week 232     8/6/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   29.66
4493   233   Week 233    8/13/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   23.28
4493   234   Week 234    8/20/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   32.97
4493   235   Week 235    8/27/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   10.54
4493   236   Week 236     9/3/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   31.12
4493   237   Week 237    9/10/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   11.07
4493   238   Week 238    9/17/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5    17.9
4493   239   Week 239    9/24/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5    4.98
4493   240   Week 240    10/1/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   20.41
4493   241   Week 241    10/8/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5   26.35
4493   242   Week 242   10/15/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5    7.92
4493   243   Week 243   10/22/2017   Western   DO Jay White   215   LVB   LVB012   69534   CHRISTOPHER   ROSADO         CHRISTOPHER ROSADO       DELIVERY DRIVER    8.5    6.35
3794   227   Week 227     7/2/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25    9.79
3794   228   Week 228     7/9/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   26.01
3794   229   Week 229    7/16/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   18.18
3794   230   Week 230    7/23/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   31.58
3794   231   Week 231    7/30/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25    26.5
3794   232   Week 232     8/6/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   14.88
3794   233   Week 233    8/13/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   16.59
3794   234   Week 234    8/20/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   10.91
3794   235   Week 235    8/27/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25    8.55
3794   236   Week 236     9/3/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   13.76
3794   237   Week 237    9/10/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25   19.36
3794   238   Week 238    9/17/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA     NICASSIO       CHRISTINA NICASSIO       DELIVERY DRIVER   8.25    7.35
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3794   239   Week 239    9/24/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25   10.39
3794   240   Week 240    10/1/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25   10.33
3794   241   Week 241    10/8/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    3.98
3794   242   Week 242   10/15/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    9.58
3794   243   Week 243   10/22/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25     4.4
3794   244   Week 244   10/29/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    9.33
3794   245   Week 245    11/5/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    3.72
3794   246   Week 246   11/12/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    2.92
3794   250   Week 250   12/10/2017   Western   DO Jay White   215   LVB   LVB038   71151   CHRISTINA   NICASSIO   CHRISTINA NICASSIO   DELIVERY DRIVER   8.25    6.35
2082   218   Week 218    4/30/2017   Western   Will Schmidt   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    8.3   36.73
2082   219   Week 219     5/7/2017   Western   Will Schmidt   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25   35.57
2082   220   Week 220    5/14/2017   Western   Will Schmidt   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25   36.41
2082   221   Week 221    5/21/2017   Western   Will Schmidt   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25    29.2
2082   222   Week 222    5/28/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.33   23.45
2082   222   Week 222    5/28/2017   Western   Will Schmidt   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25   15.22
2082   223   Week 223     6/4/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25    37.5
2082   224   Week 224    6/11/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.32   37.25
2082   225   Week 225    6/18/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.32   38.76
2082   226   Week 226    6/25/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25   30.83
2082   227   Week 227     7/2/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.25   30.12
2082   228   Week 228     7/9/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.33    37.5
2082   229   Week 229    7/16/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.55   41.61
2082   230   Week 230    7/23/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.76   45.49
2082   231   Week 231    7/30/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.46   40.21
2082   232   Week 232     8/6/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.66   38.39
2082   233   Week 233    8/13/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    8.5      36
2082   234   Week 234    8/20/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    8.5    36.5
2082   235   Week 235    8/27/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    8.5   28.85
2082   236   Week 236     9/3/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    8.5   36.73
2082   237   Week 237    9/10/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.53   37.87
2082   238   Week 238    9/17/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.55   38.63
2082   239   Week 239    9/24/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.55   38.44
2082   240   Week 240    10/1/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   38.13
2082   241   Week 241    10/8/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   36.56
2082   242   Week 242   10/15/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   37.85
2082   243   Week 243   10/22/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.76   37.15
2082   244   Week 244   10/29/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.84   39.96
2082   245   Week 245    11/5/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.78   36.39
2082   246   Week 246   11/12/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   35.98
2082   247   Week 247   11/19/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   9.07   32.86
2082   248   Week 248   11/26/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   36.13
2082   249   Week 249    12/3/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   36.11
2082   250   Week 250   12/10/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.76   38.62
2082   251   Week 251   12/17/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75    28.8
2082   252   Week 252   12/24/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   27.71
2082   253   Week 253   12/31/2017   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.76   36.75
2082   254   Week 254     1/7/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   9.02   34.07
2082   255   Week 255    1/14/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   35.85
2082   256   Week 256    1/21/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER    9.9   53.93
2082   257   Week 257    1/28/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.93    39.2
2082   258   Week 258     2/4/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75   38.11
2082   259   Week 259    2/11/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.75    35.7
2082   260   Week 260    2/18/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO      GRISAFI    ANGELO GRISAFI       DELIVERY DRIVER   8.76   37.42
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2082   261   Week 261    2/25/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.75   36.78
2082   262   Week 262     3/4/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.75   35.88
2082   263   Week 263    3/11/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.75   36.76
2082   264   Week 264    3/18/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.78   38.04
2082   265   Week 265    3/25/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.79   37.21
2082   266   Week 266     4/1/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.77    38.4
2082   267   Week 267     4/8/2018   Western   DO Jay White   218   LVD   LVD005   69571   ANGELO   GRISAFI   ANGELO GRISAFI   DELIVERY DRIVER   8.75    7.18
2194   218   Week 218    4/30/2017   Western   Will Schmidt   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.83
2194   219   Week 219     5/7/2017   Western   Will Schmidt   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   14.03
2194   220   Week 220    5/14/2017   Western   Will Schmidt   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.42
2194   221   Week 221    5/21/2017   Western   Will Schmidt   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   13.63
2194   222   Week 222    5/28/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   10.16
2194   222   Week 222    5/28/2017   Western   Will Schmidt   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25     7.4
2194   223   Week 223     6/4/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.92
2194   224   Week 224    6/11/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   12.19
2194   225   Week 225    6/18/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.52
2194   226   Week 226    6/25/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   12.65
2194   227   Week 227     7/2/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   13.63
2194   228   Week 228     7/9/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   16.67
2194   229   Week 229    7/16/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25    20.8
2194   230   Week 230    7/23/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   34.32
2194   231   Week 231    7/30/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25    23.9
2194   232   Week 232     8/6/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   19.16
2194   233   Week 233    8/13/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   16.94
2194   234   Week 234    8/20/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.09
2194   235   Week 235    8/27/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   13.44
2194   236   Week 236     9/3/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   18.12
2194   237   Week 237    9/10/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   18.77
2194   238   Week 238    9/17/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.74
2194   239   Week 239    9/24/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   18.93
2194   240   Week 240    10/1/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.83
2194   241   Week 241    10/8/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   15.67
2194   242   Week 242   10/15/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   16.81
2194   243   Week 243   10/22/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.16
2194   244   Week 244   10/29/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25      17
2194   245   Week 245    11/5/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.07
2194   246   Week 246   11/12/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   18.11
2194   247   Week 247   11/19/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   11.34
2194   248   Week 248   11/26/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   15.53
2194   249   Week 249    12/3/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   15.56
2194   250   Week 250   12/10/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   12.92
2194   251   Week 251   12/17/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   11.52
2194   252   Week 252   12/24/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25    10.8
2194   253   Week 253   12/31/2017   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   14.97
2194   254   Week 254     1/7/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   15.36
2194   255   Week 255    1/14/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   19.37
2194   256   Week 256    1/21/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   27.95
2194   257   Week 257    1/28/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   18.47
2194   258   Week 258     2/4/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   16.48
2194   259   Week 259    2/11/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   12.16
2194   260   Week 260    2/18/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   17.38
2194   261   Week 261    2/25/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   14.68
2194   262   Week 262     3/4/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD   HANSEN    DONALD HANSEN    DELIVERY DRIVER   8.25   15.67
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2194   263   Week 263    3/11/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD    HANSEN     DONALD HANSEN      DELIVERY DRIVER   8.25   14.58
2194   264   Week 264    3/18/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD    HANSEN     DONALD HANSEN      DELIVERY DRIVER   8.25   16.09
2194   265   Week 265    3/25/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD    HANSEN     DONALD HANSEN      DELIVERY DRIVER   8.25   17.86
2194   266   Week 266     4/1/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD    HANSEN     DONALD HANSEN      DELIVERY DRIVER   8.25   16.05
2194   267   Week 267     4/8/2018   Western   DO Jay White   218   LVD   LVD006   69572   DONALD    HANSEN     DONALD HANSEN      DELIVERY DRIVER   8.25     2.6
2098   218   Week 218    4/30/2017   Western   Will Schmidt   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   35.96
2098   219   Week 219     5/7/2017   Western   Will Schmidt   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   33.95
2098   220   Week 220    5/14/2017   Western   Will Schmidt   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   33.95
2098   221   Week 221    5/21/2017   Western   Will Schmidt   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   27.91
2098   222   Week 222    5/28/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   19.34
2098   222   Week 222    5/28/2017   Western   Will Schmidt   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   13.15
2098   223   Week 223     6/4/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   31.88
2098   224   Week 224    6/11/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   21.58
2098   225   Week 225    6/18/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   32.57
2098   226   Week 226    6/25/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   21.85
2098   227   Week 227     7/2/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   28.07
2098   228   Week 228     7/9/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.25   25.58
2098   230   Week 230    7/23/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.97   48.39
2098   231   Week 231    7/30/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.31   37.17
2098   232   Week 232     8/6/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   9.05   41.79
2098   233   Week 233    8/13/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.51
2098   234   Week 234    8/20/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.51   35.82
2098   235   Week 235    8/27/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.58   28.74
2098   236   Week 236     9/3/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   32.68
2098   237   Week 237    9/10/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.69   38.17
2098   238   Week 238    9/17/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.61    22.4
2098   239   Week 239    9/24/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.62
2098   240   Week 240    10/1/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   34.41
2098   241   Week 241    10/8/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   30.72
2098   242   Week 242   10/15/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   33.64
2098   243   Week 243   10/22/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   30.82
2098   244   Week 244   10/29/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.52   34.51
2098   245   Week 245    11/5/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5    25.3
2098   246   Week 246   11/12/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.36
2098   247   Week 247   11/19/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   11.45
2098   248   Week 248   11/26/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   30.82
2098   249   Week 249    12/3/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.55   35.64
2098   250   Week 250   12/10/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.15
2098   251   Week 251   12/17/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   24.47
2098   252   Week 252   12/24/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   15.54
2098   253   Week 253   12/31/2017   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   19.76
2098   255   Week 255    1/14/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   32.18
2098   256   Week 256    1/21/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   9.44   50.85
2098   257   Week 257    1/28/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   29.68
2098   258   Week 258     2/4/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   32.24
2098   259   Week 259    2/11/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER   8.54    20.3
2098   260   Week 260    2/18/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   30.15
2098   261   Week 261    2/25/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.68
2098   262   Week 262     3/4/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.12
2098   263   Week 263    3/11/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   31.95
2098   264   Week 264    3/18/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   28.86
2098   265   Week 265    3/25/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   19.24
2098   266   Week 266     4/1/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO   GERARDO GUERRERO   DELIVERY DRIVER    8.5   29.03
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2098   267   Week 267    4/8/2018   Western   DO Jay White   218   LVD   LVD007   69574   GERARDO   GUERRERO       GERARDO GUERRERO          DELIVERY DRIVER    8.5    6.05
1867   256   Week 256   1/21/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.34   34.56
1867   257   Week 257   1/28/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   30.42
1867   258   Week 258    2/4/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   29.28
1867   259   Week 259   2/11/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   22.92
1867   260   Week 260   2/18/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   24.66
1867   261   Week 261   2/25/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   22.47
1867   262   Week 262    3/4/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   19.22
1867   263   Week 263   3/11/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   20.13
1867   264   Week 264   3/18/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   23.14
1867   265   Week 265   3/25/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25    13.1
1867   266   Week 266    4/1/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25   21.68
1867   267   Week 267    4/8/2018   Western   DO Jay White   218   LVD   LVD039   74871   PEDRO     GARCIA‐SIEKAVI PEDRO GARCIA‐SIEKAVIZZA   DELIVERY DRIVER   8.25    4.11
3503   218   Week 218   4/30/2017   Western   Will Schmidt   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    5.02
3503   219   Week 219    5/7/2017   Western   Will Schmidt   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   12.98
3503   220   Week 220   5/14/2017   Western   Will Schmidt   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   16.84
3503   221   Week 221   5/21/2017   Western   Will Schmidt   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   30.26
3503   222   Week 222   5/28/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5     9.1
3503   222   Week 222   5/28/2017   Western   Will Schmidt   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   11.07
3503   223   Week 223    6/4/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   12.31
3503   224   Week 224   6/11/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    3.45
3503   225   Week 225   6/18/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    4.12
3503   226   Week 226   6/25/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    17.4
3503   227   Week 227    7/2/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   10.93
3503   228   Week 228    7/9/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   19.82
3503   230   Week 230   7/23/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   25.65
3503   231   Week 231   7/30/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   13.12
3503   232   Week 232    8/6/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   20.68
3503   233   Week 233   8/13/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    7.09
3503   234   Week 234   8/20/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   11.54
3503   235   Week 235   8/27/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    9.22
3503   236   Week 236    9/3/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5   11.67
3503   237   Week 237   9/10/2017   Western   DO Jay White   216   LVH   LVH014   69622   ANTHONY   MEZA           ANTHONY MEZA              DELIVERY DRIVER    8.5    5.02
3231   217   Week 217   4/23/2017   Western   Will Schmidt   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9    6.78
3231   218   Week 218   4/30/2017   Western   Will Schmidt   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   31.51
3231   219   Week 219    5/7/2017   Western   Will Schmidt   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   29.24
3231   220   Week 220   5/14/2017   Western   Will Schmidt   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   33.57
3231   221   Week 221   5/21/2017   Western   Will Schmidt   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9    7.18
3231   222   Week 222   5/28/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   24.17
3231   223   Week 223    6/4/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   27.95
3231   224   Week 224   6/11/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   27.02
3231   225   Week 225   6/18/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   32.84
3231   226   Week 226   6/25/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   25.02
3231   227   Week 227    7/2/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   22.63
3231   228   Week 228    7/9/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9    11.1
3231   229   Week 229   7/16/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   29.68
3231   230   Week 230   7/23/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9    6.05
3231   230   Week 230   7/23/2017   Western   DO Jay White   218   LVD   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   30.78
3231   231   Week 231   7/30/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   26.48
3231   231   Week 231   7/30/2017   Western   DO Jay White   218   LVD   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   12.97
3231   232   Week 232    8/6/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9    35.1
3231   233   Week 233   8/13/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9      34
3231   234   Week 234   8/20/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ        MATTHEW MARQUEZ           DELIVERY DRIVER      9   32.65
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3231   235   Week 235    8/27/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   32.07
3231   236   Week 236     9/3/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   35.98
3231   237   Week 237    9/10/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   36.79
3231   238   Week 238    9/17/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   39.15
3231   239   Week 239    9/24/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   33.51
3231   240   Week 240    10/1/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   27.94
3231   241   Week 241    10/8/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER   9.06   30.84
3231   242   Week 242   10/15/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9    37.3
3231   243   Week 243   10/22/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   34.26
3231   244   Week 244   10/29/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   36.25
3231   245   Week 245    11/5/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   34.87
3231   246   Week 246   11/12/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   32.41
3231   247   Week 247   11/19/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   32.16
3231   248   Week 248   11/26/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   34.44
3231   249   Week 249    12/3/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   39.38
3231   250   Week 250   12/10/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   33.04
3231   251   Week 251   12/17/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   18.53
3231   252   Week 252   12/24/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   17.45
3231   253   Week 253   12/31/2017   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   31.81
3231   254   Week 254     1/7/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   32.08
3231   255   Week 255    1/14/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   29.26
3231   256   Week 256    1/21/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   30.59
3231   257   Week 257    1/28/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   33.35
3231   258   Week 258     2/4/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER   9.03   33.11
3231   259   Week 259    2/11/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   25.78
3231   260   Week 260    2/18/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   29.27
3231   261   Week 261    2/25/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   30.26
3231   262   Week 262     3/4/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   23.33
3231   263   Week 263    3/11/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   30.65
3231   264   Week 264    3/18/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   32.89
3231   265   Week 265    3/25/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   27.49
3231   266   Week 266     4/1/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9   30.74
3231   267   Week 267     4/8/2018   Western   DO Jay White   216   LVH   LVH018   69627   MATTHEW   MARQUEZ   MATTHEW MARQUEZ   DELIVERY DRIVER      9    5.22
3053   218   Week 218    4/30/2017   Western   Will Schmidt   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   18.62
3053   219   Week 219     5/7/2017   Western   Will Schmidt   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   25.54
3053   220   Week 220    5/14/2017   Western   Will Schmidt   215   LVB   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   20.92
3053   220   Week 220    5/14/2017   Western   Will Schmidt   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   11.89
3053   221   Week 221    5/21/2017   Western   Will Schmidt   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   19.47
3053   222   Week 222    5/28/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25    11.9
3053   222   Week 222    5/28/2017   Western   Will Schmidt   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25    5.73
3053   223   Week 223     6/4/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.27    8.03
3053   224   Week 224    6/11/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   17.36
3053   225   Week 225    6/18/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   14.41
3053   226   Week 226    6/25/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.26   25.77
3053   227   Week 227     7/2/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   24.74
3053   228   Week 228     7/9/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.35   28.47
3053   229   Week 229    7/16/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   30.15
3053   230   Week 230    7/23/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25    9.03
3053   230   Week 230    7/23/2017   Western   DO Jay White   218   LVD   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.27    31.1
3053   231   Week 231    7/30/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   24.36
3053   231   Week 231    7/30/2017   Western   DO Jay White   218   LVD   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   11.62
3053   232   Week 232     8/6/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25    38.7
3053   233   Week 233    8/13/2017   Western   DO Jay White   216   LVH   LVH029   69648   KARIE     LEVIN     KARIE LEVIN       DELIVERY DRIVER   8.25   31.53
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3053   234   Week 234    8/20/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.28   39.05
3053   235   Week 235    8/27/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.26   28.35
3053   236   Week 236     9/3/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   39.83
3053   237   Week 237    9/10/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER    8.3    37.8
3053   238   Week 238    9/17/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER    8.6   30.35
3053   239   Week 239    9/24/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.27   37.49
3053   240   Week 240    10/1/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   35.02
3053   241   Week 241    10/8/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   31.49
3053   242   Week 242   10/15/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.29   39.08
3053   243   Week 243   10/22/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   38.77
3053   244   Week 244   10/29/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   39.73
3053   245   Week 245    11/5/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   24.55
3053   246   Week 246   11/12/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   13.03
3053   247   Week 247   11/19/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25    3.48
3053   249   Week 249    12/3/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25    4.12
3053   250   Week 250   12/10/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25    5.33
3053   252   Week 252   12/24/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   23.38
3053   253   Week 253   12/31/2017   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   39.94
3053   254   Week 254     1/7/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.29   33.68
3053   255   Week 255    1/14/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.35   36.96
3053   256   Week 256    1/21/2018   Western    DO Jay White   218   LVD   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.59   43.41
3053   257   Week 257    1/28/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.29   23.68
3053   257   Week 257    1/28/2018   Western    DO Jay White   218   LVD   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER    8.5   13.28
3053   258   Week 258     2/4/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   31.36
3053   259   Week 259    2/11/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.34   16.35
3053   260   Week 260    2/18/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.26   32.92
3053   261   Week 261    2/25/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.28   34.69
3053   262   Week 262     3/4/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   37.45
3053   263   Week 263    3/11/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.33   28.18
3053   264   Week 264    3/18/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   32.21
3053   265   Week 265    3/25/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.26   21.23
3053   266   Week 266     4/1/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25   36.44
3053   267   Week 267     4/8/2018   Western    DO Jay White   216   LVH   LVH029    69648   KARIE    LEVIN    KARIE LEVIN     DELIVERY DRIVER   8.25    4.15
1272   239   Week 239    9/24/2017   Western    DO Jay White   216   LVH   LVH042    72811   CONNOR   DAVILA   CONNOR DAVILA   DELIVERY DRIVER   8.25   25.73
1272   240   Week 240    10/1/2017   Western    DO Jay White   216   LVH   LVH042    72811   CONNOR   DAVILA   CONNOR DAVILA   DELIVERY DRIVER   8.25   27.08
1272   241   Week 241    10/8/2017   Western    DO Jay White   216   LVH   LVH042    72811   CONNOR   DAVILA   CONNOR DAVILA   DELIVERY DRIVER   8.25    3.18
 492   245   Week 245    11/5/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25   13.53
 492   246   Week 246   11/12/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.36   29.65
 492   247   Week 247   11/19/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    8.57
 492   248   Week 248   11/26/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    3.98
 492   250   Week 250   12/10/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    5.76
 492   251   Week 251   12/17/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25   14.33
 492   252   Week 252   12/24/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    11.3
 492   253   Week 253   12/31/2017   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25   10.11
 492   254   Week 254     1/7/2018   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    7.07
 492   255   Week 255    1/14/2018   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    10.3
 492   256   Week 256    1/21/2018   Western    DO Jay White   216   LVH   LVH044    73820   BRIAN    BLEAK    BRIAN BLEAK     DELIVERY DRIVER   8.25    9.87
 338   107   Week 107    3/15/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5   11.68
 338   108   Week 108    3/22/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5   35.55
 338   109   Week 109    3/29/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5      29
 338   110   Week 110     4/5/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5   36.47
 338   111   Week 111    4/12/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5   39.71
 338   112   Week 112    4/19/2015   Southern   Gene Leal       43   COP   MAS182   549199   DAVID    BARRON   DAVID BARRON    DELIVERY DRIVER    8.5   33.83
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338   113   Week 113    4/26/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   39.75
338   114   Week 114     5/3/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   32.05
338   115   Week 115    5/10/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5    25.4
338   116   Week 116    5/17/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   30.68
338   117   Week 117    5/24/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5    31.5
338   118   Week 118    5/31/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   39.15
338   119   Week 119     6/7/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5    30.9
338   120   Week 120    6/14/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   36.11
338   121   Week 121    6/21/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   35.46
338   122   Week 122    6/28/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   20.98
338   123   Week 123     7/5/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   29.91
338   124   Week 124    7/12/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   29.09
338   125   Week 125    7/19/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   34.09
338   126   Week 126    7/26/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   33.74
338   127   Week 127     8/2/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   39.03
338   128   Week 128     8/9/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   31.67
338   129   Week 129    8/16/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   36.24
338   130   Week 130    8/23/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   31.88
338   131   Week 131    8/30/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   25.63
338   132   Week 132     9/6/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   30.52
338   133   Week 133    9/13/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   39.46
338   134   Week 134    9/20/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   22.25
338   135   Week 135    9/27/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   35.97
338   136   Week 136    10/4/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   37.81
338   137   Week 137   10/11/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   38.84
338   138   Week 138   10/18/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   39.97
338   139   Week 139   10/25/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   35.62
338   140   Week 140    11/1/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.68    41.8
338   141   Week 141    11/8/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.61   41.09
338   142   Week 142   11/15/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.59   40.84
338   143   Week 143   11/22/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   24.05
338   144   Week 144   11/29/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.63   41.21
338   145   Week 145    12/6/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.58    40.8
338   146   Week 146   12/13/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   8.75   42.53
338   147   Week 147   12/20/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   12.55
338   148   Week 148   12/27/2015   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   27.86
338   149   Week 149     1/3/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   35.36
338   150   Week 150    1/10/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    8.5   38.34
338   151   Week 151    1/17/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.06   40.58
338   152   Week 152    1/24/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   34.83
338   153   Week 153    1/31/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.11   41.03
338   154   Week 154     2/7/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.18   41.64
338   155   Week 155    2/14/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    22.3
338   156   Week 156    2/21/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   31.84
338   157   Week 157    2/28/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.48
338   158   Week 158     3/6/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    29.7
338   159   Week 159    3/13/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   23.07
338   160   Week 160    3/20/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   31.87
338   161   Week 161    3/27/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.56
338   162   Week 162     4/3/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.97
338   163   Week 163    4/10/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   28.99
338   164   Week 164    4/17/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   21.82
338   165   Week 165    4/24/2016   Southern   Gene Leal   43 COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   25.87
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338   166   Week 166     5/1/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.09
338   167   Week 167     5/8/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   33.42
338   168   Week 168    5/15/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   31.69
338   169   Week 169    5/22/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   32.32
338   170   Week 170    5/29/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   31.74
338   171   Week 171     6/5/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   24.22
338   172   Week 172    6/12/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    31.3
338   173   Week 173    6/19/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   33.69
338   174   Week 174    6/26/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.43
338   175   Week 175     7/3/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   26.11
338   176   Week 176    7/10/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   35.76
338   177   Week 177    7/17/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   22.25
338   178   Week 178    7/24/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   28.15
338   179   Week 179    7/31/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   27.73
338   180   Week 180     8/7/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    28.7
338   181   Week 181    8/14/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   21.67
338   182   Week 182    8/21/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.01   40.12
338   183   Week 183    8/28/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   25.16
338   184   Week 184     9/4/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   33.24
338   185   Week 185    9/11/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.11   40.98
338   186   Week 186    9/18/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   37.28
338   187   Week 187    9/25/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   31.54
338   188   Week 188    10/2/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER   9.19   41.72
338   189   Week 189    10/9/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   28.68
338   190   Week 190   10/16/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    34.9
338   191   Week 191   10/23/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   29.47
338   192   Week 192   10/30/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   32.05
338   193   Week 193    11/6/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   32.73
338   194   Week 194   11/13/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   26.69
338   195   Week 195   11/20/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9    21.6
338   196   Week 196   11/27/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   37.67
338   197   Week 197    12/4/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER      9   30.58
338   198   Week 198   12/11/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5    38.2
338   199   Week 199   12/18/2016   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5    8.72
338   201   Week 201     1/1/2017   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   20.46
338   202   Week 202     1/8/2017   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   29.55
338   203   Week 203    1/15/2017   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   36.38
338   204   Week 204    1/22/2017   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   29.14
338   205   Week 205    1/29/2017   Southern   Gene Leal            43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5    4.03
338   205   Week 205    1/29/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   13.38
338   206   Week 206     2/5/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   28.94
338   207   Week 207    2/12/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   27.04
338   208   Week 208    2/19/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5    32.6
338   209   Week 209    2/26/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   16.32
338   210   Week 210     3/5/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   27.11
338   211   Week 211    3/12/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   24.44
338   212   Week 212    3/19/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   29.86
338   213   Week 213    3/26/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   27.08
338   214   Week 214     4/2/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   25.89
338   215   Week 215     4/9/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   24.87
338   216   Week 216    4/16/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   32.32
338   217   Week 217    4/23/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5    26.7
338   218   Week 218    4/30/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID   BARRON   DAVID BARRON   DELIVERY DRIVER    9.5   28.44
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 338   219   Week 219     5/7/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   29.24
 338   220   Week 220    5/14/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   33.67
 338   221   Week 221    5/21/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5      21
 338   222   Week 222    5/28/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   17.42
 338   222   Week 222    5/28/2017   Southern   MP Southern Region   43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    13.4
 338   223   Week 223     6/4/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   29.83
 338   224   Week 224    6/11/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    26.4
 338   225   Week 225    6/18/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   24.33
 338   226   Week 226    6/25/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   18.65
 338   227   Week 227     7/2/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   10.64
 338   228   Week 228     7/9/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   27.09
 338   229   Week 229    7/16/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   30.84
 338   230   Week 230    7/23/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   18.67
 338   231   Week 231    7/30/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   24.57
 338   232   Week 232     8/6/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5      31
 338   233   Week 233    8/13/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   35.28
 338   234   Week 234    8/20/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   20.89
 338   236   Week 236     9/3/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   22.59
 338   237   Week 237    9/10/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   27.48
 338   238   Week 238    9/17/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   24.02
 338   239   Week 239    9/24/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   19.58
 338   240   Week 240    10/1/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    29.2
 338   241   Week 241    10/8/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   26.27
 338   242   Week 242   10/15/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   21.44
 338   243   Week 243   10/22/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   22.03
 338   244   Week 244   10/29/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   28.31
 338   245   Week 245    11/5/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   26.15
 338   246   Week 246   11/12/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   17.77
 338   247   Week 247   11/19/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   12.56
 338   248   Week 248   11/26/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    26.7
 338   249   Week 249    12/3/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   30.31
 338   250   Week 250   12/10/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   30.75
 338   251   Week 251   12/17/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   23.34
 338   253   Week 253   12/31/2017   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   19.85
 338   254   Week 254     1/7/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   12.15
 338   255   Week 255    1/14/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    6.13
 338   256   Week 256    1/21/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5      15
 338   257   Week 257    1/28/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   14.52
 338   258   Week 258     2/4/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   14.58
 338   259   Week 259    2/11/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   14.15
 338   260   Week 260    2/18/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   18.34
 338   261   Week 261    2/25/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5     6.9
 338   262   Week 262     3/4/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   12.71
 338   263   Week 263    3/11/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    3.95
 338   264   Week 264    3/18/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   18.98
 338   265   Week 265    3/25/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5   10.23
 338   266   Week 266     4/1/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    23.2
 338   267   Week 267     4/8/2018   Southern   DO Travis Bryant     43   COP   MAS182   549199   DAVID     BARRON    DAVID BARRON      DELIVERY DRIVER   9.5    6.08
4542   103   Week 103    2/15/2015   Southern   Noel Luna            15   SSQ   MAS584    42458   MELISSA   SALAZAR   MELISSA SALAZAR   DELIVERY DRIVER     9   17.63
1754   106   Week 106     3/8/2015   Southern   Gene Leal            22   MMC   MAS627    50112   LISA      FRANCIS   LISA FRANCIS      DELIVERY DRIVER   8.5    35.6
1754   107   Week 107    3/15/2015   Southern   Gene Leal            22   MMC   MAS627    50112   LISA      FRANCIS   LISA FRANCIS      DELIVERY DRIVER   8.5   30.22
1754   108   Week 108    3/22/2015   Southern   Gene Leal            22   MMC   MAS627    50112   LISA      FRANCIS   LISA FRANCIS      DELIVERY DRIVER   8.5   30.27
1754   109   Week 109    3/29/2015   Southern   Gene Leal            22   MMC   MAS627    50112   LISA      FRANCIS   LISA FRANCIS      DELIVERY DRIVER   8.5   39.48
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1754   110   Week 110     4/5/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   31.75
1754   111   Week 111    4/12/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   35.43
1754   112   Week 112    4/19/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   35.29
1754   113   Week 113    4/26/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   32.11
1754   114   Week 114     5/3/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   37.36
1754   115   Week 115    5/10/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5    36.8
1754   116   Week 116    5/17/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5   18.75
1754   117   Week 117    5/24/2015   Southern   Gene Leal       22   MMC   MAS627   50112   LISA   FRANCIS   LISA FRANCIS   DELIVERY DRIVER   8.5    5.58
2499   129   Week 129    8/16/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    8.75
2499   130   Week 130    8/23/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    3.43
2499   131   Week 131    8/30/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    8.61
2499   132   Week 132     9/6/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    9.53
2499   133   Week 133    9/13/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   34.27
2499   134   Week 134    9/20/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   24.94
2499   135   Week 135    9/27/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   32.74
2499   136   Week 136    10/4/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   15.69
2499   137   Week 137   10/11/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   23.63
2499   138   Week 138   10/18/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   21.73
2499   139   Week 139   10/25/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   22.16
2499   140   Week 140    11/1/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   19.16
2499   141   Week 141    11/8/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   12.97
2499   142   Week 142   11/15/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   17.88
2499   143   Week 143   11/22/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    7.88
2499   144   Week 144   11/29/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   18.57
2499   145   Week 145    12/6/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   11.52
2499   146   Week 146   12/13/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   14.16
2499   148   Week 148   12/27/2015   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8     3.8
2499   149   Week 149     1/3/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   18.19
2499   150   Week 150    1/10/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   16.26
2499   151   Week 151    1/17/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   17.67
2499   152   Week 152    1/24/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   26.42
2499   153   Week 153    1/31/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   14.25
2499   154   Week 154     2/7/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   16.68
2499   155   Week 155    2/14/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   22.47
2499   156   Week 156    2/21/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    9.25
2499   171   Week 171     6/5/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    4.85
2499   172   Week 172    6/12/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    2.98
2499   173   Week 173    6/19/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   11.03
2499   174   Week 174    6/26/2016   Southern   Gene Leal       46   MAS   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    3.28
2499   177   Week 177    7/17/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   18.03
2499   178   Week 178    7/24/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   21.85
2499   179   Week 179    7/31/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    18.6
2499   180   Week 180     8/7/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    21.5
2499   181   Week 181    8/14/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   24.23
2499   182   Week 182    8/21/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   24.05
2499   183   Week 183    8/28/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   26.58
2499   184   Week 184     9/4/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   31.17
2499   185   Week 185    9/11/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    25.5
2499   186   Week 186    9/18/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   29.97
2499   187   Week 187    9/25/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   21.53
2499   188   Week 188    10/2/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   28.67
2499   189   Week 189    10/9/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8    31.5
2499   190   Week 190   10/16/2016   Southern   James Cornett   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER     8   38.07
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2499   191   Week 191   10/23/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   32.75
2499   192   Week 192   10/30/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   24.06
2499   193   Week 193    11/6/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   34.57
2499   194   Week 194   11/13/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8    27.6
2499   195   Week 195   11/20/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   15.05
2499   196   Week 196   11/27/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   26.97
2499   197   Week 197    12/4/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   33.25
2499   198   Week 198   12/11/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   22.97
2499   200   Week 200   12/25/2016   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   13.03
2499   201   Week 201     1/1/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8    30.3
2499   202   Week 202     1/8/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   25.28
2499   203   Week 203    1/15/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   30.62
2499   204   Week 204    1/22/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   27.34
2499   205   Week 205    1/29/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   25.95
2499   206   Week 206     2/5/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    8   31.52
2499   207   Week 207    2/12/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   32.03
2499   208   Week 208    2/19/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    6.92
2499   209   Week 209    2/26/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   29.54
2499   210   Week 210     3/5/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   20.66
2499   211   Week 211    3/12/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   18.03
2499   212   Week 212    3/19/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   29.64
2499   213   Week 213    3/26/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   28.92
2499   214   Week 214     4/2/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    20.9
2499   215   Week 215     4/9/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   13.86
2499   216   Week 216    4/16/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    19.7
2499   217   Week 217    4/23/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   28.54
2499   218   Week 218    4/30/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   23.23
2499   219   Week 219     5/7/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   23.31
2499   220   Week 220    5/14/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   23.94
2499   221   Week 221    5/21/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   25.53
2499   222   Week 222    5/28/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    18.6
2499   222   Week 222    5/28/2017   Southern   James Cornett     40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   10.87
2499   223   Week 223     6/4/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   22.06
2499   224   Week 224    6/11/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   29.26
2499   225   Week 225    6/18/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   20.13
2499   226   Week 226    6/25/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10      24
2499   227   Week 227     7/2/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    15.6
2499   228   Week 228     7/9/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   19.72
2499   229   Week 229    7/16/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   26.23
2499   230   Week 230    7/23/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   30.54
2499   232   Week 232     8/6/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   31.63
2499   233   Week 233    8/13/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10    31.3
2499   234   Week 234    8/20/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   25.41
2499   235   Week 235    8/27/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   25.27
2499   236   Week 236     9/3/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   27.48
2499   237   Week 237    9/10/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   30.88
2499   238   Week 238    9/17/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   30.69
2499   239   Week 239    9/24/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   33.25
2499   240   Week 240    10/1/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   34.35
2499   241   Week 241    10/8/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   31.43
2499   242   Week 242   10/15/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   18.83
2499   243   Week 243   10/22/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   36.86
2499   244   Week 244   10/29/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH   HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10   28.55
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2499   245   Week 245    11/5/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    10    29.23
2499   246   Week 246   11/12/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    10    20.51
2499   247   Week 247   11/19/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    10     9.53
2499   248   Week 248   11/26/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER   10.4   33.32
2499   249   Week 249    12/3/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11     29.1
2499   250   Week 250   12/10/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    28.65
2499   251   Week 251   12/17/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    18.73
2499   252   Week 252   12/24/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11     4.13
2499   253   Week 253   12/31/2017   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    29.17
2499   254   Week 254     1/7/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    22.64
2499   255   Week 255    1/14/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    27.62
2499   256   Week 256    1/21/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    29.28
2499   257   Week 257    1/28/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    25.13
2499   258   Week 258     2/4/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    15.55
2499   259   Week 259    2/11/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    27.83
2499   260   Week 260    2/18/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    25.89
2499   261   Week 261    2/25/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    15.65
2499   262   Week 262     3/4/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11     22.1
2499   263   Week 263    3/11/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    21.21
2499   264   Week 264    3/18/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    25.18
2499   265   Week 265    3/25/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    25.49
2499   266   Week 266     4/1/2018   Southern   DO Jason Harmon   40   RRK   MAS657   56982   JOSH    HUBBELL   JOSH HUBBELL   DELIVERY DRIVER    11    20.31
5049   191   Week 191   10/23/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    7.77
5049   192   Week 192   10/30/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8     8.6
5049   193   Week 193    11/6/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    2.77
5049   194   Week 194   11/13/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.33
5049   195   Week 195   11/20/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    1.78
5049   196   Week 196   11/27/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    10.5
5049   197   Week 197    12/4/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   15.79
5049   198   Week 198   12/11/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8     9.6
5049   200   Week 200   12/25/2016   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    2.12
5049   201   Week 201     1/1/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   15.25
5049   202   Week 202     1/8/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   11.93
5049   203   Week 203    1/15/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    3.05
5049   204   Week 204    1/22/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    11.4
5049   205   Week 205    1/29/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   10.13
5049   206   Week 206     2/5/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   19.06
5049   207   Week 207    2/12/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.26
5049   208   Week 208    2/19/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   11.12
5049   209   Week 209    2/26/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.16
5049   210   Week 210     3/5/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.34
5049   211   Week 211    3/12/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   11.68
5049   212   Week 212    3/19/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.71
5049   213   Week 213    3/26/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    20.5
5049   214   Week 214     4/2/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   22.37
5049   215   Week 215     4/9/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    13.5
5049   216   Week 216    4/16/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   17.59
5049   217   Week 217    4/23/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   20.49
5049   218   Week 218    4/30/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   23.15
5049   219   Week 219     5/7/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   18.47
5049   220   Week 220    5/14/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   24.21
5049   221   Week 221    5/21/2017   Southern   Gene Leal         46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8   15.76
5049   222   Week 222    5/28/2017   Southern   DO Jay White      46   MAS   MAS692   66165   DYLAN   SWAN      DYLAN SWAN     DELIVERY DRIVER      8    3.78
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5049   222   Week 222    5/28/2017   Southern   Gene Leal       46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    3.53
5049   223   Week 223     6/4/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    8.95
5049   224   Week 224    6/11/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    5.81
5049   225   Week 225    6/18/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   11.55
5049   226   Week 226    6/25/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8     6.8
5049   227   Week 227     7/2/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   10.77
5049   228   Week 228     7/9/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    9.36
5049   229   Week 229    7/16/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    7.56
5049   230   Week 230    7/23/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    9.74
5049   231   Week 231    7/30/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    20.9
5049   232   Week 232     8/6/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   13.41
5049   233   Week 233    8/13/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   18.44
5049   234   Week 234    8/20/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8     5.9
5049   235   Week 235    8/27/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   15.14
5049   236   Week 236     9/3/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   16.34
5049   237   Week 237    9/10/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   15.41
5049   238   Week 238    9/17/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   13.66
5049   239   Week 239    9/24/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    4.03
5049   240   Week 240    10/1/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8     7.7
5049   241   Week 241    10/8/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8     7.3
5049   242   Week 242   10/15/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    15.8
5049   243   Week 243   10/22/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   11.46
5049   244   Week 244   10/29/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   10.67
5049   245   Week 245    11/5/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    7.88
5049   246   Week 246   11/12/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   13.15
5049   248   Week 248   11/26/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    10.9
5049   249   Week 249    12/3/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   13.81
5049   250   Week 250   12/10/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   18.22
5049   251   Week 251   12/17/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    3.32
5049   252   Week 252   12/24/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    8.89
5049   253   Week 253   12/31/2017   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    7.62
5049   254   Week 254     1/7/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   12.97
5049   255   Week 255    1/14/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    9.01
5049   256   Week 256    1/21/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   18.25
5049   257   Week 257    1/28/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   16.47
5049   258   Week 258     2/4/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   14.51
5049   259   Week 259    2/11/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    7.98
5049   260   Week 260    2/18/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    14.1
5049   261   Week 261    2/25/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   12.48
5049   262   Week 262     3/4/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    4.87
5049   263   Week 263    3/11/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    3.55
5049   265   Week 265    3/25/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   13.04
5049   266   Week 266     4/1/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8   14.97
5049   267   Week 267     4/8/2018   Southern   DO Jay White    46   MAS   MAS692   66165   DYLAN     SWAN     DYLAN SWAN       DELIVERY DRIVER   8    2.23
2074   105   Week 105     3/1/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    26.6
2074   106   Week 106     3/8/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    9.44
2074   107   Week 107    3/15/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    9.79
2074   108   Week 108    3/22/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    8.32
2074   109   Week 109    3/29/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   27.27
2074   110   Week 110     4/5/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   23.57
2074   111   Week 111    4/12/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   19.29
2074   112   Week 112    4/19/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   16.29
2074   113   Week 113    4/26/2015   Northern   Tim Casper     188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   23.02
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2074   114   Week 114     5/3/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   33.53
2074   115   Week 115    5/10/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   22.67
2074   116   Week 116    5/17/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   13.62
2074   117   Week 117    5/24/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   14.75
2074   118   Week 118    5/31/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    12.2
2074   119   Week 119     6/7/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   19.14
2074   120   Week 120    6/14/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9     5.9
2074   121   Week 121    6/21/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   17.33
2074   123   Week 123     7/5/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9     5.8
2074   124   Week 124    7/12/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.11
2074   125   Week 125    7/19/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    8.08
2074   126   Week 126    7/26/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9     2.3
2074   127   Week 127     8/2/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.68
2074   128   Week 128     8/9/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    8.19
2074   129   Week 129    8/16/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    5.64
2074   130   Week 130    8/23/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    1.58
2074   131   Week 131    8/30/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    5.93
2074   132   Week 132     9/6/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    8.27
2074   133   Week 133    9/13/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    6.13
2074   134   Week 134    9/20/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    4.48
2074   135   Week 135    9/27/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.08
2074   136   Week 136    10/4/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    9.14
2074   137   Week 137   10/11/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    4.65
2074   138   Week 138   10/18/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    7.71
2074   139   Week 139   10/25/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    6.09
2074   140   Week 140    11/1/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    8.32
2074   141   Week 141    11/8/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   12.05
2074   142   Week 142   11/15/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    7.68
2074   143   Week 143   11/22/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9     1.4
2074   144   Week 144   11/29/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.35
2074   145   Week 145    12/6/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.08
2074   146   Week 146   12/13/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9     0.6
2074   148   Week 148   12/27/2015   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    2.37
2074   149   Week 149     1/3/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    3.05
2074   150   Week 150    1/10/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   10.43
2074   151   Week 151    1/17/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   14.36
2074   152   Week 152    1/24/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   17.91
2074   153   Week 153    1/31/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   11.17
2074   154   Week 154     2/7/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    9.71
2074   155   Week 155    2/14/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    9.87
2074   156   Week 156    2/21/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9    17.3
2074   157   Week 157    2/28/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   15.96
2074   158   Week 158     3/6/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   19.84
2074   159   Week 159    3/13/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   24.78
2074   160   Week 160    3/20/2016   Northern   Tim Casper   188   MAW   MAW041   51745   JACKSON   GRIEPP   JACKSON GRIEPP   DELIVERY DRIVER   9   19.24
1413   148   Week 148   12/27/2015   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9     5.6
1413   149   Week 149     1/3/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   12.92
1413   150   Week 150    1/10/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   17.94
1413   151   Week 151    1/17/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   14.12
1413   152   Week 152    1/24/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   12.04
1413   153   Week 153    1/31/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   20.22
1413   154   Week 154     2/7/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   15.85
1413   155   Week 155    2/14/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL    TIMOTHY DITTL    DELIVERY DRIVER   9   16.09
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1413   156   Week 156    2/21/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    18.6
1413   157   Week 157    2/28/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9     3.3
1413   158   Week 158     3/6/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   19.44
1413   159   Week 159    3/13/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   15.77
1413   160   Week 160    3/20/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   15.15
1413   161   Week 161    3/27/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   18.25
1413   162   Week 162     4/3/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   25.18
1413   163   Week 163    4/10/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   17.06
1413   164   Week 164    4/17/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   16.87
1413   165   Week 165    4/24/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   20.47
1413   166   Week 166     5/1/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   32.47
1413   167   Week 167     5/8/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   36.65
1413   168   Week 168    5/15/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   28.09
1413   169   Week 169    5/22/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    8.08
1413   170   Week 170    5/29/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   19.17
1413   171   Week 171     6/5/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   20.67
1413   172   Week 172    6/12/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   11.42
1413   173   Week 173    6/19/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   20.72
1413   174   Week 174    6/26/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    7.84
1413   176   Week 176    7/10/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   16.34
1413   177   Week 177    7/17/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    19.3
1413   178   Week 178    7/24/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    8.06
1413   179   Week 179    7/31/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   20.32
1413   180   Week 180     8/7/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   18.28
1413   181   Week 181    8/14/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   21.45
1413   182   Week 182    8/21/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   18.93
1413   183   Week 183    8/28/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   23.03
1413   184   Week 184     9/4/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   14.33
1413   185   Week 185    9/11/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   23.26
1413   186   Week 186    9/18/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   17.43
1413   187   Week 187    9/25/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   26.87
1413   188   Week 188    10/2/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    27.8
1413   189   Week 189    10/9/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   25.76
1413   190   Week 190   10/16/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   33.64
1413   191   Week 191   10/23/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   26.61
1413   192   Week 192   10/30/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9    28.9
1413   193   Week 193    11/6/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER      9   35.15
1413   194   Week 194   11/13/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER   9.72   35.26
1413   195   Week 195   11/20/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   20.09
1413   196   Week 196   11/27/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    32.9
1413   197   Week 197    12/4/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    29.1
1413   198   Week 198   12/11/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   36.98
1413   199   Week 199   12/18/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   25.34
1413   200   Week 200   12/25/2016   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    6.97
1413   201   Week 201     1/1/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   16.88
1413   202   Week 202     1/8/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    2.97
1413   203   Week 203    1/15/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   13.93
1413   204   Week 204    1/22/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   12.34
1413   205   Week 205    1/29/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   14.16
1413   206   Week 206     2/5/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   18.02
1413   207   Week 207    2/12/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    7.81
1413   208   Week 208    2/19/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10   11.74
1413   209   Week 209    2/26/2017   Northern   Tim Casper   188   MAW   MAW147   59521   TIMOTHY   DITTL   TIMOTHY DITTL   DELIVERY DRIVER     10    8.95
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1413   210   Week 210     3/5/2017   Northern   Tim Casper       188   MAW   MAW147    59521   TIMOTHY   DITTL        TIMOTHY DITTL      DELIVERY DRIVER   10     9.07
1413   211   Week 211    3/12/2017   Northern   Tim Casper       188   MAW   MAW147    59521   TIMOTHY   DITTL        TIMOTHY DITTL      DELIVERY DRIVER   10        2
1972   160   Week 160    3/20/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    3.43
1972   161   Week 161    3/27/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   13.57
1972   162   Week 162     4/3/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    16.9
1972   163   Week 163    4/10/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   16.93
1972   164   Week 164    4/17/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   16.71
1972   165   Week 165    4/24/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   13.11
1972   166   Week 166     5/1/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    15.3
1972   167   Week 167     5/8/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   16.92
1972   168   Week 168    5/15/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   17.62
1972   169   Week 169    5/22/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   15.44
1972   170   Week 170    5/29/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    5.79
1972   171   Week 171     6/5/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   12.52
1972   172   Week 172    6/12/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   11.48
1972   173   Week 173    6/19/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5   11.28
1972   174   Week 174    6/26/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    9.12
1972   175   Week 175     7/3/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    9.58
1972   176   Week 176    7/10/2016   Northern   Tim Casper       188   MAW   MAW163    61610   MATTHEW   GOLDMAN      MATTHEW GOLDMAN    DELIVERY DRIVER   9.5    5.47
 735   237   Week 237    9/10/2017   Eastern    DO Mike McCown    73   MAX   MAX1006   72544   RICHARD   BUSH         RICHARD BUSH       DELIVERY DRIVER     8   10.63
 735   238   Week 238    9/17/2017   Eastern    DO Mike McCown    73   MAX   MAX1006   72544   RICHARD   BUSH         RICHARD BUSH       DELIVERY DRIVER     8    3.42
 735   239   Week 239    9/24/2017   Eastern    DO Mike McCown    73   MAX   MAX1006   72544   RICHARD   BUSH         RICHARD BUSH       DELIVERY DRIVER     8   14.87
 735   240   Week 240    10/1/2017   Eastern    DO Mike McCown    73   MAX   MAX1006   72544   RICHARD   BUSH         RICHARD BUSH       DELIVERY DRIVER     8   13.74
2441   230   Week 230    7/23/2017   Eastern    DO Mike McCown    73   MAX   MAX279    46581   DEMARIO   HOLLOWAN     DEMARIO HOLLOWAN   DELIVERY DRIVER   8.5   12.07
2441   231   Week 231    7/30/2017   Eastern    DO Mike McCown    73   MAX   MAX279    46581   DEMARIO   HOLLOWAN     DEMARIO HOLLOWAN   DELIVERY DRIVER   8.5     3.2
5658   118   Week 118    5/31/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   20.07
5658   119   Week 119     6/7/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    17.3
5658   120   Week 120    6/14/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    8.76
5658   121   Week 121    6/21/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   16.02
5658   122   Week 122    6/28/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    7.85
5658   123   Week 123     7/5/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   16.25
5658   124   Week 124    7/12/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   12.64
5658   125   Week 125    7/19/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   16.05
5658   126   Week 126    7/26/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   11.14
5658   127   Week 127     8/2/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    7.53
5658   128   Week 128     8/9/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    10.7
5658   129   Week 129    8/16/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    5.22
5658   130   Week 130    8/23/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8   11.84
5658   131   Week 131    8/30/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8      13
5658   132   Week 132     9/6/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    20.8
5658   133   Week 133    9/13/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    6.06
5658   134   Week 134    9/20/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    9.23
5658   135   Week 135    9/27/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    3.47
5658   136   Week 136    10/4/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    9.87
5658   137   Week 137   10/11/2015   Eastern    Brandon Andra     73   MAX   MAX595    55398   JAZMEN    WILLIAMS     JAZMEN WILLIAMS    DELIVERY DRIVER     8    5.93
5694   128   Week 128     8/9/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5     9.6
5694   129   Week 129    8/16/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   14.72
5694   130   Week 130    8/23/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   11.73
5694   131   Week 131    8/30/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   10.13
5694   132   Week 132     9/6/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   16.82
5694   134   Week 134    9/20/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   14.05
5694   135   Week 135    9/27/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   10.05
5694   136   Week 136    10/4/2015   Eastern    Brandon Andra     73   MAX   MAX707    56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   12.53
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5694   137   Week 137   10/11/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   14.32
5694   138   Week 138   10/18/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   16.63
5694   139   Week 139   10/25/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5    27.8
5694   140   Week 140    11/1/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   10.14
5694   141   Week 141    11/8/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5    2.95
5694   142   Week 142   11/15/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5    9.67
5694   143   Week 143   11/22/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   29.99
5694   144   Week 144   11/29/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   26.93
5694   145   Week 145    12/6/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   20.95
5694   146   Week 146   12/13/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   22.25
5694   147   Week 147   12/20/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5    8.93
5694   148   Week 148   12/27/2015   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   23.44
5694   149   Week 149     1/3/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   14.13
5694   150   Week 150    1/10/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   27.92
5694   151   Week 151    1/17/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   20.02
5694   152   Week 152    1/24/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   21.36
5694   153   Week 153    1/31/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   12.35
5694   154   Week 154     2/7/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   37.37
5694   155   Week 155    2/14/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   35.26
5694   156   Week 156    2/21/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   36.94
5694   157   Week 157    2/28/2016   Eastern   Brandon Andra       73   MAX   MAX707   56516   JAREL     WILLIAMSON   JAREL WILLIAMSON   DELIVERY DRIVER   7.5   34.98
1152   214   Week 214     4/2/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER     8   12.57
1152   215   Week 215     4/9/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER     8   23.47
1152   216   Week 216    4/16/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5     8.6
1152   217   Week 217    4/23/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5   13.29
1152   218   Week 218    4/30/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    3.65
1152   220   Week 220    5/14/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    1.95
1152   221   Week 221    5/21/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    5.65
1152   222   Week 222    5/28/2017   Eastern   DO Mike McCown      73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    4.73
1152   223   Week 223     6/4/2017   Eastern   DO Mike McCown      73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    5.01
1152   224   Week 224    6/11/2017   Eastern   DO Mike McCown      73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    3.23
1152   226   Week 226    6/25/2017   Eastern   DO Mike McCown      73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5    1.42
1152   227   Week 227     7/2/2017   Eastern   DO Mike McCown      73   MAX   MAX708   56872   DEVONTA   COX          DEVONTA COX        DELIVERY DRIVER   8.5     0.2
3367   142   Week 142   11/15/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER   7.8   29.87
3367   143   Week 143   11/22/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8    6.33
3367   144   Week 144   11/29/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   10.94
3367   145   Week 145    12/6/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   15.11
3367   146   Week 146   12/13/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   16.45
3367   147   Week 147   12/20/2015   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8    3.17
3367   149   Week 149     1/3/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   19.51
3367   150   Week 150    1/10/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   13.79
3367   151   Week 151    1/17/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   19.75
3367   152   Week 152    1/24/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   10.37
3367   153   Week 153    1/31/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   16.92
3367   154   Week 154     2/7/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   15.92
3367   155   Week 155    2/14/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   29.76
3367   156   Week 156    2/21/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   29.94
3367   157   Week 157    2/28/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   25.38
3367   158   Week 158     3/6/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   27.53
3367   159   Week 159    3/13/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   30.02
3367   160   Week 160    3/20/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8       9
3367   161   Week 161    3/27/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   24.17
3367   162   Week 162     4/3/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK    MCCREE       DERREK MCCREE      DELIVERY DRIVER     8   25.24
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3367   163   Week 163    4/10/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.42   28.82
3367   164   Week 164    4/17/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   26.35
3367   165   Week 165    4/24/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   21.98
3367   166   Week 166     5/1/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   22.93
3367   167   Week 167     5/8/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   30.18
3367   168   Week 168    5/15/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   29.69
3367   169   Week 169    5/22/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   15.95
3367   170   Week 170    5/29/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   21.48
3367   171   Week 171     6/5/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   30.83
3367   172   Week 172    6/12/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   17.69
3367   173   Week 173    6/19/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   18.93
3367   174   Week 174    6/26/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   16.54
3367   175   Week 175     7/3/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   10.35
3367   176   Week 176    7/10/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   17.62
3367   177   Week 177    7/17/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   19.82
3367   178   Week 178    7/24/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   28.81
3367   179   Week 179    7/31/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   27.77
3367   180   Week 180     8/7/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   31.04
3367   181   Week 181    8/14/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   33.54
3367   182   Week 182    8/21/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   23.52
3367   183   Week 183    8/28/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5      14
3367   184   Week 184     9/4/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   23.32
3367   185   Week 185    9/11/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5      31
3367   186   Week 186    9/18/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   22.09
3367   187   Week 187    9/25/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER    8.5   24.74
3367   188   Week 188    10/2/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    23.8
3367   189   Week 189    10/9/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   28.61
3367   190   Week 190   10/16/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   37.02
3367   191   Week 191   10/23/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   21.03
3367   192   Week 192   10/30/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   22.58
3367   194   Week 194   11/13/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   23.14
3367   195   Week 195   11/20/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    8.46
3367   196   Week 196   11/27/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   20.27
3367   197   Week 197    12/4/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    21.8
3367   198   Week 198   12/11/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   24.98
3367   199   Week 199   12/18/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    15.5
3367   200   Week 200   12/25/2016   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    5.07
3367   201   Week 201     1/1/2017   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    29.2
3367   202   Week 202     1/8/2017   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   19.02
3367   203   Week 203    1/15/2017   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   19.04
3367   204   Week 204    1/22/2017   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   32.91
3367   205   Week 205    1/29/2017   Eastern   Brandon Andra       73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    10.3
3367   205   Week 205    1/29/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   14.48
3367   206   Week 206     2/5/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   19.78
3367   207   Week 207    2/12/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   25.81
3367   208   Week 208    2/19/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   30.22
3367   209   Week 209    2/26/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   32.48
3367   210   Week 210     3/5/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   21.42
3367   211   Week 211    3/12/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   31.74
3367   212   Week 212    3/19/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   25.07
3367   213   Week 213    3/26/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   26.99
3367   214   Week 214     4/2/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   28.29
3367   215   Week 215     4/9/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   18.59
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3367   216   Week 216    4/16/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   25.29
3367   217   Week 217    4/23/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   29.83
3367   218   Week 218    4/30/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    21.3
3367   219   Week 219     5/7/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   29.57
3367   220   Week 220    5/14/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   24.73
3367   221   Week 221    5/21/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   19.95
3367   222   Week 222    5/28/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    8.94
3367   222   Week 222    5/28/2017   Eastern   Jason Harmon D.O.   73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75     5.8
3367   223   Week 223     6/4/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   18.74
3367   224   Week 224    6/11/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   25.35
3367   225   Week 225    6/18/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   29.71
3367   226   Week 226    6/25/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   30.88
3367   227   Week 227     7/2/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    4.57
3367   228   Week 228     7/9/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   22.96
3367   229   Week 229    7/16/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   29.35
3367   230   Week 230    7/23/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   31.78
3367   231   Week 231    7/30/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   33.09
3367   232   Week 232     8/6/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   29.78
3367   233   Week 233    8/13/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   33.96
3367   234   Week 234    8/20/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   38.32
3367   235   Week 235    8/27/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   17.61
3367   236   Week 236     9/3/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    21.3
3367   237   Week 237    9/10/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   30.19
3367   238   Week 238    9/17/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   26.82
3367   239   Week 239    9/24/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   28.53
3367   240   Week 240    10/1/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    26.3
3367   241   Week 241    10/8/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   26.37
3367   242   Week 242   10/15/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   23.75
3367   243   Week 243   10/22/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   25.94
3367   244   Week 244   10/29/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   21.77
3367   245   Week 245    11/5/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   24.79
3367   246   Week 246   11/12/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   24.82
3367   247   Week 247   11/19/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    14.5
3367   248   Week 248   11/26/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   24.73
3367   249   Week 249    12/3/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   18.68
3367   250   Week 250   12/10/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   20.17
3367   251   Week 251   12/17/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    8.31
3367   252   Week 252   12/24/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75    2.13
3367   253   Week 253   12/31/2017   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   16.63
3367   254   Week 254     1/7/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   21.77
3367   255   Week 255    1/14/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   8.75   10.08
3367   256   Week 256    1/21/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   29.62
3367   257   Week 257    1/28/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   20.87
3367   258   Week 258     2/4/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95    21.3
3367   259   Week 259    2/11/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   21.32
3367   260   Week 260    2/18/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   31.62
3367   261   Week 261    2/25/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   30.64
3367   262   Week 262     3/4/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   25.09
3367   263   Week 263    3/11/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   30.35
3367   264   Week 264    3/18/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   26.33
3367   265   Week 265    3/25/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   28.74
3367   266   Week 266     4/1/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95   25.94
3367   267   Week 267     4/8/2018   Eastern   DO Mike McCown      73   MAX   MAX713   58824   DERREK   MCCREE   DERREK MCCREE   DELIVERY DRIVER   9.95    6.37
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5757   165   Week 165    4/24/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25   22.95
5757   166   Week 166     5/1/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25   25.92
5757   167   Week 167     5/8/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25      39
5757   168   Week 168    5/15/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25   34.32
5757   169   Week 169    5/22/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25   10.06
5757   170   Week 170    5/29/2016   Northern   Greg Winger          195   MBW   MBW102   62360   LAYTON    WOODS        LAYTON WOODS           DELIVERY DRIVER    7.25    3.77
 710   228   Week 228     7/9/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9    6.46
 710   229   Week 229    7/16/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   11.72
 710   230   Week 230    7/23/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   17.84
 710   231   Week 231    7/30/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   13.32
 710   232   Week 232     8/6/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   20.08
 710   233   Week 233    8/13/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9      11
 710   234   Week 234    8/20/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   15.29
 710   235   Week 235    8/27/2017   Northern   DO Greg Winger       195   MBW   MBW196   71206   ANDREW    BURGERMEISTERANDREW BURGERMEISTER   DELIVERY DRIVER       9   15.82
  16   238   Week 238    9/17/2017   Northern   DO Greg Winger       195   MBW   MBW212   72722   VANDOLA   CHAMBERS     VANDOLA CHAMBERS       DELIVERY DRIVER       9     8.5
5074   193   Week 193    11/6/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   10.43
5074   194   Week 194   11/13/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   17.47
5074   195   Week 195   11/20/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    17.7
5074   196   Week 196   11/27/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    5.83
5074   197   Week 197    12/4/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    18.2
5074   198   Week 198   12/11/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    13.9
5074   199   Week 199   12/18/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   11.34
5074   200   Week 200   12/25/2016   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    5.92
5074   201   Week 201     1/1/2017   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75     5.3
5074   202   Week 202     1/8/2017   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   18.64
5074   203   Week 203    1/15/2017   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   17.52
5074   204   Week 204    1/22/2017   Northern   Bruce Brown          161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    6.28
5074   206   Week 206     2/5/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    9.58
5074   207   Week 207    2/12/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   16.26
5074   208   Week 208    2/19/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   21.74
5074   209   Week 209    2/26/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   17.61
5074   210   Week 210     3/5/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    9.07
5074   211   Week 211    3/12/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    5.35
5074   212   Week 212    3/19/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   21.44
5074   213   Week 213    3/26/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   13.45
5074   214   Week 214     4/2/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   11.92
5074   216   Week 216    4/16/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    4.88
5074   217   Week 217    4/23/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    5.75
5074   218   Week 218    4/30/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   11.62
5074   219   Week 219     5/7/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   16.78
5074   221   Week 221    5/21/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    9.64
5074   222   Week 222    5/28/2017   Northern   MP Northern Region   161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    11.2
5074   223   Week 223     6/4/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   15.68
5074   224   Week 224    6/11/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   14.06
5074   225   Week 225    6/18/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   10.22
5074   226   Week 226    6/25/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   16.52
5074   229   Week 229    7/16/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   13.01
5074   231   Week 231    7/30/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   10.21
5074   232   Week 232     8/6/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   14.12
5074   233   Week 233    8/13/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    4.88
5074   234   Week 234    8/20/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75    8.75
5074   236   Week 236     9/3/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   10.19
5074   237   Week 237    9/10/2017   Northern   DO Will Schmidt      161   MDC   MDC125   36158   NICOLAS   TAFURI       NICOLAS TAFURI         DELIVERY DRIVER   11.75   10.42
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5074   238   Week 238    9/17/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75      11
5074   239   Week 239    9/24/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75   31.16
5074   240   Week 240    10/1/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75   11.37
5074   241   Week 241    10/8/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75   15.81
5074   242   Week 242   10/15/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75    4.38
5074   243   Week 243   10/22/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75     5.1
5074   244   Week 244   10/29/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75   19.59
5074   245   Week 245    11/5/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75    5.12
5074   246   Week 246   11/12/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75   11.77
5074   248   Week 248   11/26/2017   Northern   DO Will Schmidt   161   MDC   MDC125   36158   NICOLAS   TAFURI   NICOLAS TAFURI   DELIVERY DRIVER   11.75    3.92
1288   101   Week 101     2/1/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8    17.2
1288   102   Week 102     2/8/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   12.38
1288   103   Week 103    2/15/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   18.59
1288   104   Week 104    2/22/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   14.97
1288   105   Week 105     3/1/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8    6.13
1288   106   Week 106     3/8/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   13.11
1288   107   Week 107    3/15/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   20.34
1288   108   Week 108    3/22/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   20.09
1288   109   Week 109    3/29/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   12.58
1288   110   Week 110     4/5/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   11.99
1288   111   Week 111    4/12/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   21.64
1288   112   Week 112    4/19/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   29.88
1288   113   Week 113    4/26/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   17.07
1288   114   Week 114     5/3/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   20.19
1288   115   Week 115    5/10/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   35.85
1288   116   Week 116    5/17/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   16.68
1288   117   Week 117    5/24/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   21.06
1288   118   Week 118    5/31/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   28.22
1288   119   Week 119     6/7/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   27.36
1288   120   Week 120    6/14/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   17.66
1288   121   Week 121    6/21/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER       8   30.07
1288   122   Week 122    6/28/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.19     9.7
1288   123   Week 123     7/5/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25    13.4
1288   124   Week 124    7/12/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   15.65
1288   125   Week 125    7/19/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25       4
1288   126   Week 126    7/26/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   10.24
1288   128   Week 128     8/9/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   14.69
1288   129   Week 129    8/16/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25    6.28
1288   130   Week 130    8/23/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   19.61
1288   131   Week 131    8/30/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   15.48
1288   132   Week 132     9/6/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   14.73
1288   133   Week 133    9/13/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   17.05
1288   134   Week 134    9/20/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25    20.6
1288   135   Week 135    9/27/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   21.22
1288   136   Week 136    10/4/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   21.87
1288   137   Week 137   10/11/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   24.15
1288   138   Week 138   10/18/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   19.64
1288   139   Week 139   10/25/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   22.03
1288   140   Week 140    11/1/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   21.75
1288   141   Week 141    11/8/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   21.34
1288   142   Week 142   11/15/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   17.78
1288   143   Week 143   11/22/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   14.44
1288   144   Week 144   11/29/2015   Northern   Bruce Brown       161   MDC   MDC214   51777   JUSTIN    DAVIS    JUSTIN DAVIS     DELIVERY DRIVER    8.25   20.45
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1288   145   Week 145    12/6/2015   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25    22.1
1288   146   Week 146   12/13/2015   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   15.53
1288   147   Week 147   12/20/2015   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25    6.65
1288   149   Week 149     1/3/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   14.65
1288   150   Week 150    1/10/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   15.91
1288   151   Week 151    1/17/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25    8.05
1288   152   Week 152    1/24/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   24.58
1288   153   Week 153    1/31/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   19.53
1288   154   Week 154     2/7/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   11.71
1288   155   Week 155    2/14/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   15.06
1288   156   Week 156    2/21/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   21.34
1288   157   Week 157    2/28/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   19.05
1288   158   Week 158     3/6/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   12.83
1288   159   Week 159    3/13/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25    12.6
1288   160   Week 160    3/20/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   16.19
1288   161   Week 161    3/27/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   10.52
1288   162   Week 162     4/3/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   20.76
1288   163   Week 163    4/10/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   19.57
1288   164   Week 164    4/17/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   11.29
1288   165   Week 165    4/24/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   19.82
1288   166   Week 166     5/1/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   14.87
1288   167   Week 167     5/8/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.25   15.84
1288   168   Week 168    5/15/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.44   19.77
1288   169   Week 169    5/22/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER    8.5   13.63
1288   170   Week 170    5/29/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER    8.5   13.84
1288   171   Week 171     6/5/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER    8.5   21.57
1288   172   Week 172    6/12/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER    8.5   22.64
1288   173   Week 173    6/19/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.55   21.22
1288   174   Week 174    6/26/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   11.37
1288   175   Week 175     7/3/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   16.42
1288   176   Week 176    7/10/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   13.12
1288   177   Week 177    7/17/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   14.73
1288   178   Week 178    7/24/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    2.95
1288   179   Week 179    7/31/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   20.29
1288   180   Week 180     8/7/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   18.23
1288   181   Week 181    8/14/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   23.44
1288   182   Week 182    8/21/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   19.34
1288   183   Week 183    8/28/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   17.75
1288   184   Week 184     9/4/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   25.63
1288   185   Week 185    9/11/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   27.55
1288   186   Week 186    9/18/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   20.95
1288   187   Week 187    9/25/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   13.67
1288   188   Week 188    10/2/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   19.44
1288   189   Week 189    10/9/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    20.6
1288   190   Week 190   10/16/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   18.67
1288   191   Week 191   10/23/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   23.28
1288   192   Week 192   10/30/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   18.63
1288   193   Week 193    11/6/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   17.49
1288   194   Week 194   11/13/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   16.67
1288   196   Week 196   11/27/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   17.45
1288   197   Week 197    12/4/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   23.97
1288   198   Week 198   12/11/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   19.68
1288   199   Week 199   12/18/2016   Northern   Bruce Brown   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   14.29
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1288   200   Week 200   12/25/2016   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75       9
1288   201   Week 201     1/1/2017   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   13.77
1288   202   Week 202     1/8/2017   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75      23
1288   203   Week 203    1/15/2017   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   19.58
1288   204   Week 204    1/22/2017   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   20.17
1288   205   Week 205    1/29/2017   Northern   Bruce Brown          161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75     3.3
1288   205   Week 205    1/29/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    14.8
1288   206   Week 206     2/5/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    18.1
1288   207   Week 207    2/12/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   16.33
1288   208   Week 208    2/19/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   14.93
1288   209   Week 209    2/26/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    17.6
1288   210   Week 210     3/5/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   18.47
1288   211   Week 211    3/12/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   12.53
1288   213   Week 213    3/26/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   15.58
1288   214   Week 214     4/2/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75    14.8
1288   215   Week 215     4/9/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   13.26
1288   216   Week 216    4/16/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   13.04
1288   217   Week 217    4/23/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.75   15.13
1288   218   Week 218    4/30/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   8.91    19.4
1288   219   Week 219     5/7/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9   20.08
1288   220   Week 220    5/14/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9   17.77
1288   221   Week 221    5/21/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9    9.96
1288   222   Week 222    5/28/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9    11.9
1288   222   Week 222    5/28/2017   Northern   MP Northern Region   161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9    5.03
1288   223   Week 223     6/4/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9   14.33
1288   224   Week 224    6/11/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9   17.55
1288   225   Week 225    6/18/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9   12.05
1288   226   Week 226    6/25/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER      9      22
1288   227   Week 227     7/2/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   15.53
1288   228   Week 228     7/9/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   18.75
1288   229   Week 229    7/16/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    20.2
1288   230   Week 230    7/23/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   17.71
1288   231   Week 231    7/30/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   15.97
1288   232   Week 232     8/6/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   13.02
1288   233   Week 233    8/13/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   15.32
1288   234   Week 234    8/20/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   15.68
1288   235   Week 235    8/27/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    14.7
1288   236   Week 236     9/3/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    17.1
1288   237   Week 237    9/10/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    20.6
1288   238   Week 238    9/17/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   18.87
1288   239   Week 239    9/24/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   22.21
1288   240   Week 240    10/1/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   19.65
1288   241   Week 241    10/8/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    9.68
1288   242   Week 242   10/15/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   12.63
1288   243   Week 243   10/22/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   17.47
1288   244   Week 244   10/29/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   19.69
1288   245   Week 245    11/5/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   15.36
1288   246   Week 246   11/12/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   19.19
1288   247   Week 247   11/19/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25    2.97
1288   248   Week 248   11/26/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   14.79
1288   249   Week 249    12/3/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   18.04
1288   250   Week 250   12/10/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   19.84
1288   251   Week 251   12/17/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS   JUSTIN DAVIS   DELIVERY DRIVER   9.25   14.99
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1288   253   Week 253   12/31/2017   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   13.44
1288   254   Week 254     1/7/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   17.21
1288   255   Week 255    1/14/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   14.92
1288   256   Week 256    1/21/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   18.48
1288   257   Week 257    1/28/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   14.76
1288   258   Week 258     2/4/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25    9.03
1288   259   Week 259    2/11/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   14.71
1288   260   Week 260    2/18/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   17.04
1288   261   Week 261    2/25/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25    7.65
1288   262   Week 262     3/4/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   18.18
1288   263   Week 263    3/11/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   22.26
1288   264   Week 264    3/18/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   16.64
1288   265   Week 265    3/25/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25    16.5
1288   266   Week 266     4/1/2018   Northern   DO Will Schmidt      161   MDC   MDC214   51777   JUSTIN   DAVIS        JUSTIN DAVIS      DELIVERY DRIVER   9.25   22.45
2712   196   Week 196   11/27/2016   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    3.08
2712   197   Week 197    12/4/2016   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75     5.7
2712   198   Week 198   12/11/2016   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    6.68
2712   199   Week 199   12/18/2016   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    9.91
2712   201   Week 201     1/1/2017   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    9.42
2712   202   Week 202     1/8/2017   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    8.09
2712   203   Week 203    1/15/2017   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    5.97
2712   204   Week 204    1/22/2017   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    8.18
2712   205   Week 205    1/29/2017   Northern   Bruce Brown          164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    3.08
2712   205   Week 205    1/29/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    6.52
2712   206   Week 206     2/5/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   8.75    6.48
2712   207   Week 207    2/12/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER    8.9   15.74
2712   208   Week 208    2/19/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    5.59
2712   209   Week 209    2/26/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    6.28
2712   210   Week 210     3/5/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    9.96
2712   211   Week 211    3/12/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    3.23
2712   212   Week 212    3/19/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   13.46
2712   213   Week 213    3/26/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   10.35
2712   214   Week 214     4/2/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    5.45
2712   215   Week 215     4/9/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    4.63
2712   216   Week 216    4/16/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   12.96
2712   217   Week 217    4/23/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   13.36
2712   218   Week 218    4/30/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   10.28
2712   219   Week 219     5/7/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    6.96
2712   220   Week 220    5/14/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    2.97
2712   221   Week 221    5/21/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    6.05
2712   222   Week 222    5/28/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    3.27
2712   222   Week 222    5/28/2017   Northern   MP Northern Region   164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    3.17
2712   223   Week 223     6/4/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    8.65
2712   224   Week 224    6/11/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9    6.87
2712   225   Week 225    6/18/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9     3.1
2712   226   Week 226    6/25/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER      9   14.11
2712   227   Week 227     7/2/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25   10.42
2712   228   Week 228     7/9/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25   14.18
2712   229   Week 229    7/16/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25   13.84
2712   230   Week 230    7/23/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25   17.77
2712   231   Week 231    7/30/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25    23.7
2712   232   Week 232     8/6/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25    7.35
2712   233   Week 233    8/13/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN     JONES, III   JOHN JONES, III   DELIVERY DRIVER   9.25   10.96
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2712   234   Week 234    8/20/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    9.75
2712   235   Week 235    8/27/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    7.05
2712   236   Week 236     9/3/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.53
2712   237   Week 237    9/10/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.68
2712   238   Week 238    9/17/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25   11.37
2712   239   Week 239    9/24/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    3.15
2712   240   Week 240    10/1/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.21
2712   241   Week 241    10/8/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.19
2712   242   Week 242   10/15/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.93
2712   243   Week 243   10/22/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.08
2712   244   Week 244   10/29/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    5.71
2712   245   Week 245    11/5/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25     6.5
2712   246   Week 246   11/12/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.82
2712   247   Week 247   11/19/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    2.32
2712   248   Week 248   11/26/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    3.23
2712   249   Week 249    12/3/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.25
2712   250   Week 250   12/10/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    5.78
2712   251   Week 251   12/17/2017   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25     7.9
2712   255   Week 255    1/14/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    3.12
2712   256   Week 256    1/21/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.09
2712   257   Week 257    1/28/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    4.97
2712   258   Week 258     2/4/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25     6.1
2712   259   Week 259    2/11/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    8.11
2712   260   Week 260    2/18/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.51
2712   261   Week 261    2/25/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25     6.6
2712   262   Week 262     3/4/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.42
2712   263   Week 263    3/11/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    6.27
2712   265   Week 265    3/25/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    5.84
2712   266   Week 266     4/1/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    5.69
2712   267   Week 267     4/8/2018   Northern   DO Will Schmidt      164   MDT   MDT333   66874   JOHN      JONES, III   JOHN JONES, III   DELIVERY DRIVER    9.25    3.57
 341   171   Week 171     6/5/2016   Northern   Bruce Brown          149   MDU   MDU255   38151   ABDOUL    BARRY        ABDOUL BARRY      DELIVERY DRIVER    7.75    3.57
4005   167   Week 167     5/8/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    4.37
4005   168   Week 168    5/15/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75   22.08
4005   169   Week 169    5/22/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    4.72
4005   170   Week 170    5/29/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    5.28
4005   171   Week 171     6/5/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    7.57
4005   172   Week 172    6/12/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    4.05
4005   173   Week 173    6/19/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    7.38
4005   174   Week 174    6/26/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    3.08
4005   175   Week 175     7/3/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    2.92
4005   176   Week 176    7/10/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    1.03
4005   177   Week 177    7/17/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75   12.81
4005   178   Week 178    7/24/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    7.52
4005   179   Week 179    7/31/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER    9.75    6.33
4005   198   Week 198   12/11/2016   Northern   Bruce Brown          149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75    6.55
4005   219   Week 219     5/7/2017   Northern   MP Northern Region   149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75    8.28
4005   220   Week 220    5/14/2017   Northern   MP Northern Region   149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75    5.17
4005   221   Week 221    5/21/2017   Northern   MP Northern Region   149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75   15.85
4005   222   Week 222    5/28/2017   Northern   MP Northern Region   149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75     9.4
4005   223   Week 223     6/4/2017   Northern   DO Will Schmidt      149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75   11.67
4005   224   Week 224    6/11/2017   Northern   DO Will Schmidt      149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75    4.08
4005   225   Week 225    6/18/2017   Northern   DO Will Schmidt      149   MDU   MDU341   56877   JULIA     PEDERSOLI    JULIA PEDERSOLI   DELIVERY DRIVER   10.75    7.56
4764   170   Week 170    5/29/2016   Northern   Bruce Brown          149   MDU   MDU359   63231   MICHAEL   SILBER       MICHAEL SILBER    DELIVERY DRIVER    9.55    18.4
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4764   171   Week 171     6/5/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55    11.2
4764   172   Week 172    6/12/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55    13.4
4764   173   Week 173    6/19/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55    5.82
4764   174   Week 174    6/26/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55    4.05
4764   175   Week 175     7/3/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55     7.3
4764   176   Week 176    7/10/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55   18.57
4764   177   Week 177    7/17/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55   11.09
4764   178   Week 178    7/24/2016   Northern   Bruce Brown      149   MDU   MDU359   63231   MICHAEL    SILBER     MICHAEL SILBER      DELIVERY DRIVER   9.55    7.47
5230   102   Week 102     2/8/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   33.79
5230   103   Week 103    2/15/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   26.58
5230   104   Week 104    2/22/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   26.73
5230   105   Week 105     3/1/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5    19.1
5230   106   Week 106     3/8/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   23.22
5230   107   Week 107    3/15/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   19.59
5230   108   Week 108    3/22/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   29.38
5230   109   Week 109    3/29/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   29.86
5230   110   Week 110     4/5/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   32.97
5230   111   Week 111    4/12/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   31.39
5230   112   Week 112    4/19/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   25.45
5230   113   Week 113    4/26/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.1   27.65
5230   114   Week 114     5/3/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   24.36
5230   115   Week 115    5/10/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   28.03
5230   116   Week 116    5/17/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   29.34
5230   117   Week 117    5/24/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   30.67
5230   118   Week 118    5/31/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   22.93
5230   119   Week 119     6/7/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   18.36
5230   120   Week 120    6/14/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   15.24
5230   121   Week 121    6/21/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   33.21
5230   122   Week 122    6/28/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   15.07
5230   123   Week 123     7/5/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER      8   32.26
5230   124   Week 124    7/12/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   8.06   18.32
5230   125   Week 125    7/19/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   13.06
5230   126   Week 126    7/26/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   20.21
5230   127   Week 127     8/2/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   26.71
5230   128   Week 128     8/9/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   34.77
5230   129   Week 129    8/16/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   27.65
5230   130   Week 130    8/23/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   24.44
5230   131   Week 131    8/30/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   17.41
5230   132   Week 132     9/6/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    8.5   29.59
5230   133   Week 133    9/13/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   8.41   46.31
5230   134   Week 134    9/20/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER    7.9   41.59
5230   135   Week 135    9/27/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.75   33.12
5230   136   Week 136    10/4/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.75    33.8
5230   137   Week 137   10/11/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.75   12.18
5230   138   Week 138   10/18/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.75    7.57
5230   139   Week 139   10/25/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.75    2.03
5230   145   Week 145    12/6/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   19.47
5230   146   Week 146   12/13/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   24.15
5230   147   Week 147   12/20/2015   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25    16.2
5230   150   Week 150    1/10/2016   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   21.23
5230   151   Week 151    1/17/2016   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   25.63
5230   154   Week 154     2/7/2016   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   31.51
5230   155   Week 155    2/14/2016   Western    Michael Gibson    50   MKY   MKY615   49128   NICHOLAS   TOLLESON   NICHOLAS TOLLESON   DELIVERY DRIVER   7.25   30.14
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5230   156   Week 156   2/21/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   39.62
5230   157   Week 157   2/28/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   36.01
5230   158   Week 158    3/6/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   27.91
5230   159   Week 159   3/13/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   36.82
5230   160   Week 160   3/20/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25    26.4
5230   161   Week 161   3/27/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25    32.2
5230   162   Week 162    4/3/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25    34.5
5230   163   Week 163   4/10/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   38.51
5230   164   Week 164   4/17/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   26.68
5230   165   Week 165   4/24/2016   Western    Michael Gibson   50   MKY   MKY615    49128   NICHOLAS   TOLLESON     NICHOLAS TOLLESON       DELIVERY DRIVER   7.25   32.28
4087   106   Week 106    3/8/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   14.68
4087   108   Week 108   3/22/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   21.88
4087   110   Week 110    4/5/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   16.07
4087   111   Week 111   4/12/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   12.73
4087   112   Week 112   4/19/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   12.66
4087   113   Week 113   4/26/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER   9.25   23.95
4087   114   Week 114    5/3/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   19.26
4087   115   Week 115   5/10/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10    7.06
4087   116   Week 116   5/17/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10    21.1
4087   117   Week 117   5/24/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   25.15
4087   118   Week 118   5/31/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   26.84
4087   119   Week 119    6/7/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10    32.1
4087   120   Week 120   6/14/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   30.44
4087   121   Week 121   6/21/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   31.93
4087   122   Week 122   6/28/2015   Southern   Gene Leal        22   MMC   MMC205   927897   NEREIDA    PIEDRAHITA   NEREIDA PIEDRAHITA      DELIVERY DRIVER     10   16.34
2568   106   Week 106    3/8/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    5.79
2568   107   Week 107   3/15/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    6.19
2568   108   Week 108   3/22/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    9.83
2568   109   Week 109   3/29/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   10.53
2568   110   Week 110    4/5/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   16.75
2568   111   Week 111   4/12/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   13.83
2568   112   Week 112   4/19/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   12.81
2568   113   Week 113   4/26/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    12.8
2568   114   Week 114    5/3/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   16.26
2568   115   Week 115   5/10/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   10.29
2568   116   Week 116   5/17/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   13.57
2568   117   Week 117   5/24/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   12.44
2568   118   Week 118   5/31/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   17.83
2568   119   Week 119    6/7/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   18.91
2568   120   Week 120   6/14/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   10.63
2568   121   Week 121   6/21/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   13.43
2568   122   Week 122   6/28/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    4.03
2568   123   Week 123    7/5/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8      12
2568   124   Week 124   7/12/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   12.68
2568   125   Week 125   7/19/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    5.64
2568   126   Week 126   7/26/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    8.95
2568   127   Week 127    8/2/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    8.79
2568   128   Week 128    8/9/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    8.65
2568   129   Week 129   8/16/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    8.48
2568   130   Week 130   8/23/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    5.48
2568   131   Week 131   8/30/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8     9.4
2568   132   Week 132    9/6/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8     5.1
2568   133   Week 133   9/13/2015   Southern   Gene Leal        22   MMC   MMC271    46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8     8.1
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2568   134   Week 134    9/20/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    6.55
2568   138   Week 138   10/18/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    9.22
2568   139   Week 139   10/25/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    6.44
2568   140   Week 140    11/1/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    7.65
2568   141   Week 141    11/8/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   10.64
2568   142   Week 142   11/15/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   11.05
2568   143   Week 143   11/22/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    3.48
2568   144   Week 144   11/29/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.79
2568   145   Week 145    12/6/2015   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   10.14
2568   151   Week 151    1/17/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    5.71
2568   152   Week 152    1/24/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.32
2568   153   Week 153    1/31/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    3.55
2568   154   Week 154     2/7/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    5.91
2568   155   Week 155    2/14/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    6.63
2568   156   Week 156    2/21/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    9.07
2568   157   Week 157    2/28/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    9.42
2568   158   Week 158     3/6/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     6.3
2568   159   Week 159    3/13/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     7.5
2568   160   Week 160    3/20/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    5.45
2568   161   Week 161    3/27/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.97
2568   162   Week 162     4/3/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   10.31
2568   163   Week 163    4/10/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     6.5
2568   164   Week 164    4/17/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.44
2568   165   Week 165    4/24/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   17.34
2568   166   Week 166     5/1/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.18
2568   167   Week 167     5/8/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   11.31
2568   168   Week 168    5/15/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    6.03
2568   169   Week 169    5/22/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     5.4
2568   170   Week 170    5/29/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   11.23
2568   171   Week 171     6/5/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8      17
2568   172   Week 172    6/12/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.88
2568   173   Week 173    6/19/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     8.6
2568   174   Week 174    6/26/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     8.9
2568   175   Week 175     7/3/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.83
2568   176   Week 176    7/10/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   15.55
2568   177   Week 177    7/17/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   10.22
2568   178   Week 178    7/24/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   15.55
2568   179   Week 179    7/31/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    8.42
2568   180   Week 180     8/7/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   17.09
2568   181   Week 181    8/14/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.54
2568   182   Week 182    8/21/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   11.33
2568   183   Week 183    8/28/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    9.44
2568   184   Week 184     9/4/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    9.04
2568   185   Week 185    9/11/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.94
2568   186   Week 186    9/18/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8     8.7
2568   187   Week 187    9/25/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   14.58
2568   188   Week 188    10/2/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.39
2568   189   Week 189    10/9/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   10.03
2568   190   Week 190   10/16/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   12.15
2568   191   Week 191   10/23/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    7.33
2568   192   Week 192   10/30/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    5.48
2568   193   Week 193    11/6/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8    2.33
2568   194   Week 194   11/13/2016   Southern   Gene Leal   22   MMC   MMC271   46004   EHSAN   IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER   8   18.07
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2568   195   Week 195   11/20/2016   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8     3.5
2568   196   Week 196   11/27/2016   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   13.03
2568   197   Week 197    12/4/2016   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   17.29
2568   198   Week 198   12/11/2016   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8   17.15
2568   199   Week 199   12/18/2016   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    2.47
2568   201   Week 201     1/1/2017   Southern   Gene Leal          22   MMC   MMC271   46004   EHSAN      IZADI MOBARAKEHSAN IZADI MOBARAKEH   DELIVERY DRIVER      8    8.26
5135   201   Week 201     1/1/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    5.39
5135   202   Week 202     1/8/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   31.93
5135   203   Week 203    1/15/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    34.6
5135   204   Week 204    1/22/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   31.19
5135   205   Week 205    1/29/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   23.56
5135   206   Week 206     2/5/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   20.59
5135   207   Week 207    2/12/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   24.78
5135   208   Week 208    2/19/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   24.85
5135   209   Week 209    2/26/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   35.21
5135   210   Week 210     3/5/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   28.25
5135   211   Week 211    3/12/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8      16
5135   212   Week 212    3/19/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   19.47
5135   213   Week 213    3/26/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   18.05
5135   214   Week 214     4/2/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   23.74
5135   215   Week 215     4/9/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    4.23
5135   216   Week 216    4/16/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   18.16
5135   217   Week 217    4/23/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   13.04
5135   218   Week 218    4/30/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   14.68
5135   219   Week 219     5/7/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   21.86
5135   220   Week 220    5/14/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   20.23
5135   221   Week 221    5/21/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    9.59
5135   222   Week 222    5/28/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    8.61
5135   222   Week 222    5/28/2017   Southern   Gene Leal          22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    3.68
5135   223   Week 223     6/4/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   12.35
5135   224   Week 224    6/11/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   14.72
5135   225   Week 225    6/18/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   17.66
5135   226   Week 226    6/25/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    5.35
5135   227   Week 227     7/2/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    6.18
5135   228   Week 228     7/9/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    6.07
5135   229   Week 229    7/16/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    18.3
5135   230   Week 230    7/23/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8    10.5
5135   231   Week 231    7/30/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   20.88
5135   232   Week 232     8/6/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   17.63
5135   233   Week 233    8/13/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   15.14
5135   234   Week 234    8/20/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8   10.02
5135   235   Week 235    8/27/2017   Southern   DO Kelly Finley    22   MMC   MMC349   67283   KALEIF     TENSLEY      KALEIF TENSLEY          DELIVERY DRIVER      8     2.4
3126   244   Week 244   10/29/2017   Southern   DO Kelly Finley    22   MMC   MMC360   73558   BENJAMIN   LOPEZ‐GALVEZ BENJAMIN LOPEZ‐GALVEZ   DELIVERY DRIVER   8.25   10.72
3126   245   Week 245    11/5/2017   Southern   DO Kelly Finley    22   MMC   MMC360   73558   BENJAMIN   LOPEZ‐GALVEZ BENJAMIN LOPEZ‐GALVEZ   DELIVERY DRIVER   8.25   12.74
3126   246   Week 246   11/12/2017   Southern   DO Kelly Finley    22   MMC   MMC360   73558   BENJAMIN   LOPEZ‐GALVEZ BENJAMIN LOPEZ‐GALVEZ   DELIVERY DRIVER   8.25     7.4
3126   247   Week 247   11/19/2017   Southern   DO Kelly Finley    22   MMC   MMC360   73558   BENJAMIN   LOPEZ‐GALVEZ BENJAMIN LOPEZ‐GALVEZ   DELIVERY DRIVER   8.25    3.12
3126   248   Week 248   11/26/2017   Southern   DO Kelly Finley    22   MMC   MMC360   73558   BENJAMIN   LOPEZ‐GALVEZ BENJAMIN LOPEZ‐GALVEZ   DELIVERY DRIVER   8.25    3.75
 881   172   Week 172    6/12/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    9.95
 881   173   Week 173    6/19/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    6.22
 881   174   Week 174    6/26/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    2.73
 881   175   Week 175     7/3/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    2.82
 881   176   Week 176    7/10/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    7.48
 881   177   Week 177    7/17/2016   Southern   Bradley Hulett    175   MOB   MOB216   63472   JANCEY     CASTLEBERRY JANCEY CASTLEBERRY       DELIVERY DRIVER    8.5    2.53
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 881   178   Week 178    7/24/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5   13.79
 881   179   Week 179    7/31/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    7.82
 881   180   Week 180     8/7/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    3.03
 881   181   Week 181    8/14/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    2.65
 881   182   Week 182    8/21/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5   18.06
 881   183   Week 183    8/28/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5     7.9
 881   184   Week 184     9/4/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    4.65
 881   185   Week 185    9/11/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    5.93
 881   186   Week 186    9/18/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    8.65
 881   187   Week 187    9/25/2016   Southern   Bradley Hulett      175   MOB   MOB216   63472   JANCEY     CASTLEBERRY   JANCEY CASTLEBERRY    DELIVERY DRIVER    8.5    3.58
3772   227   Week 227     7/2/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    4.83
3772   228   Week 228     7/9/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   12.07
3772   229   Week 229    7/16/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.45
3772   231   Week 231    7/30/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   14.46
3772   232   Week 232     8/6/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   13.97
3772   233   Week 233    8/13/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    19.4
3772   234   Week 234    8/20/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    12.7
3772   235   Week 235    8/27/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    8.95
3772   236   Week 236     9/3/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.61
3772   237   Week 237    9/10/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   14.49
3772   238   Week 238    9/17/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   12.06
3772   239   Week 239    9/24/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.24
3772   240   Week 240    10/1/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.73
3772   241   Week 241    10/8/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   12.03
3772   242   Week 242   10/15/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.92
3772   243   Week 243   10/22/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   11.42
3772   244   Week 244   10/29/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   11.55
3772   245   Week 245    11/5/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    9.98
3772   246   Week 246   11/12/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   12.12
3772   247   Week 247   11/19/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    5.92
3772   248   Week 248   11/26/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   11.53
3772   249   Week 249    12/3/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9   10.66
3772   250   Week 250   12/10/2017   Southern   DO Brandon Andra    175   MOB   MOB254   71052   RICHARD    NELSON        RICHARD NELSON        DELIVERY DRIVER      9    7.24
4370   239   Week 239    9/24/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   16.76
4370   240   Week 240    10/1/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   19.92
4370   241   Week 241    10/8/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9    15.1
4370   242   Week 242   10/15/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9    8.26
4370   243   Week 243   10/22/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   15.69
4370   244   Week 244   10/29/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   17.91
4370   245   Week 245    11/5/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   14.53
4370   246   Week 246   11/12/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9   11.28
4370   248   Week 248   11/26/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9     3.2
4370   249   Week 249    12/3/2017   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9    4.77
4370   264   Week 264    3/18/2018   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9     6.9
4370   265   Week 265    3/25/2018   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9    3.13
4370   267   Week 267     4/8/2018   Southern   DO Brandon Andra    175   MOB   MOB261   72608   NATHALYA   RICHARDSON    NATHALYA RICHARDSON   DELIVERY DRIVER      9    3.82
1220   253   Week 253   12/31/2017   Southern   DO Brandon Andra    175   MOB   MOB273   74366   LEQUITA    CURTIS        LEQUITA CURTIS        DELIVERY DRIVER   9.25      11
1220   254   Week 254     1/7/2018   Southern   DO Brandon Andra    175   MOB   MOB273   74366   LEQUITA    CURTIS        LEQUITA CURTIS        DELIVERY DRIVER   9.25    8.54
1220   255   Week 255    1/14/2018   Southern   DO Brandon Andra    175   MOB   MOB273   74366   LEQUITA    CURTIS        LEQUITA CURTIS        DELIVERY DRIVER   9.25    4.17
1220   256   Week 256    1/21/2018   Southern   DO Brandon Andra    175   MOB   MOB273   74366   LEQUITA    CURTIS        LEQUITA CURTIS        DELIVERY DRIVER   9.25       4
1220   258   Week 258     2/4/2018   Southern   DO Brandon Andra    175   MOB   MOB273   74366   LEQUITA    CURTIS        LEQUITA CURTIS        DELIVERY DRIVER   9.25    2.67
5372   203   Week 203    1/15/2017   Western    MP Western Region    19   MSQ   MSQ808   53830   LARRY      VAUGHN        LARRY VAUGHN          DELIVERY DRIVER      9    4.07
5372   204   Week 204    1/22/2017   Western    MP Western Region    19   MSQ   MSQ808   53830   LARRY      VAUGHN        LARRY VAUGHN          DELIVERY DRIVER      9   20.43
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5372   205   Week 205    1/29/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   19.89
5372   206   Week 206     2/5/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   19.43
5372   207   Week 207    2/12/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   15.17
5372   208   Week 208    2/19/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   16.83
5372   209   Week 209    2/26/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   26.92
5372   210   Week 210     3/5/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   19.92
5372   211   Week 211    3/12/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9    9.92
5372   212   Week 212    3/19/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   20.76
5372   213   Week 213    3/26/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   20.31
5372   214   Week 214     4/2/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   19.32
5372   215   Week 215     4/9/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9    13.6
5372   216   Week 216    4/16/2017   Western   MP Western Region    19   MSQ   MSQ808   53830   LARRY     VAUGHN   LARRY VAUGHN    DELIVERY DRIVER      9   18.17
3141   124   Week 124    7/12/2015   Western   Mike McCown         150   NFW   NFW146   40075   MADALYN   LUCAS    MADALYN LUCAS   DELIVERY DRIVER    7.5    2.75
3141   128   Week 128     8/9/2015   Western   Mike McCown         150   NFW   NFW146   40075   MADALYN   LUCAS    MADALYN LUCAS   DELIVERY DRIVER    7.5    3.58
3141   129   Week 129    8/16/2015   Western   Mike McCown         150   NFW   NFW146   40075   MADALYN   LUCAS    MADALYN LUCAS   DELIVERY DRIVER    7.5    7.53
3137   129   Week 129    8/16/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   17.73
3137   130   Week 130    8/23/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   27.02
3137   131   Week 131    8/30/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25      29
3137   132   Week 132     9/6/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.77
3137   133   Week 133    9/13/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25      29
3137   134   Week 134    9/20/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25    23.2
3137   135   Week 135    9/27/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   37.23
3137   136   Week 136    10/4/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   22.41
3137   137   Week 137   10/11/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   21.84
3137   138   Week 138   10/18/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   25.44
3137   139   Week 139   10/25/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   34.95
3137   140   Week 140    11/1/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   30.94
3137   141   Week 141    11/8/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   26.83
3137   142   Week 142   11/15/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   33.85
3137   143   Week 143   11/22/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   25.84
3137   144   Week 144   11/29/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   27.75
3137   145   Week 145    12/6/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   36.72
3137   146   Week 146   12/13/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   31.93
3137   147   Week 147   12/20/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   20.62
3137   148   Week 148   12/27/2015   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   29.02
3137   149   Week 149     1/3/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.42   42.01
3137   150   Week 150    1/10/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25      34
3137   151   Week 151    1/17/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   37.25
3137   152   Week 152    1/24/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25    34.1
3137   153   Week 153    1/31/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   38.45
3137   154   Week 154     2/7/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.29   40.49
3137   155   Week 155    2/14/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   37.09
3137   156   Week 156    2/21/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.78
3137   157   Week 157    2/28/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.22
3137   158   Week 158     3/6/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   39.82
3137   159   Week 159    3/13/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.39
3137   160   Week 160    3/20/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   25.64
3137   161   Week 161    3/27/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   39.69
3137   162   Week 162     4/3/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   17.77
3137   163   Week 163    4/10/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   36.72
3137   164   Week 164    4/17/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   36.67
3137   165   Week 165    4/24/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.92
3137   166   Week 166     5/1/2016   Western   Mike McCown         150   NFW   NFW262   56991   BRANDON   LUCAS    BRANDON LUCAS   DELIVERY DRIVER   7.25   35.95
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3137   167   Week 167     5/8/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   35.27
3137   168   Week 168    5/15/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   39.86
3137   169   Week 169    5/22/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   26.14
3137   170   Week 170    5/29/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   39.01
3137   171   Week 171     6/5/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   39.72
3137   172   Week 172    6/12/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   35.04
3137   173   Week 173    6/19/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   40.05
3137   174   Week 174    6/26/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   34.39
3137   175   Week 175     7/3/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.56   43.74
3137   176   Week 176    7/10/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25    17.9
3137   177   Week 177    7/17/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   38.06
3137   178   Week 178    7/24/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   37.56
3137   179   Week 179    7/31/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   36.89
3137   180   Week 180     8/7/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25    34.4
3137   181   Week 181    8/14/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   28.35
3137   182   Week 182    8/21/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   19.02
3137   183   Week 183    8/28/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   16.85
3137   184   Week 184     9/4/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   18.92
3137   185   Week 185    9/11/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25   16.95
3137   186   Week 186    9/18/2016   Western   Mike McCown   150   NFW   NFW262   56991   BRANDON   LUCAS      BRANDON LUCAS      DELIVERY DRIVER   7.25    4.83
2698   106   Week 106     3/8/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   32.79
2698   107   Week 107    3/15/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   28.76
2698   108   Week 108    3/22/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   22.37
2698   109   Week 109    3/29/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   29.27
2698   110   Week 110     4/5/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5    30.6
2698   111   Week 111    4/12/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   25.38
2698   112   Week 112    4/19/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   28.27
2698   113   Week 113    4/26/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   25.29
2698   114   Week 114     5/3/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   25.82
2698   116   Week 116    5/17/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   15.53
2698   117   Week 117    5/24/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5     4.2
2698   118   Week 118    5/31/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   23.83
2698   119   Week 119     6/7/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   17.52
2698   120   Week 120    6/14/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   25.06
2698   121   Week 121    6/21/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   18.48
2698   122   Week 122    6/28/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   10.23
2698   123   Week 123     7/5/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   19.85
2698   124   Week 124    7/12/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   30.03
2698   125   Week 125    7/19/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   26.43
2698   126   Week 126    7/26/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   32.43
2698   127   Week 127     8/2/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   30.41
2698   128   Week 128     8/9/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   24.31
2698   129   Week 129    8/16/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   30.74
2698   130   Week 130    8/23/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   13.46
2698   131   Week 131    8/30/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   16.51
2698   132   Week 132     9/6/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   29.73
2698   133   Week 133    9/13/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   34.04
2698   134   Week 134    9/20/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   34.18
2698   135   Week 135    9/27/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   17.93
2698   136   Week 136    10/4/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   25.83
2698   137   Week 137   10/11/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   35.77
2698   138   Week 138   10/18/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   28.97
2698   139   Week 139   10/25/2015   Eastern   Don Shirley    30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER    8.5   21.73
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2698   140   Week 140    11/1/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   19.67
2698   141   Week 141    11/8/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   26.54
2698   142   Week 142   11/15/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   39.87
2698   143   Week 143   11/22/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5      17
2698   144   Week 144   11/29/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   32.14
2698   145   Week 145    12/6/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   26.66
2698   146   Week 146   12/13/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   38.96
2698   147   Week 147   12/20/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    20.8
2698   148   Week 148   12/27/2015   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   10.95
2698   149   Week 149     1/3/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   29.07
2698   150   Week 150    1/10/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   21.55
2698   151   Week 151    1/17/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   24.38
2698   152   Week 152    1/24/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   21.48
2698   153   Week 153    1/31/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   17.62
2698   154   Week 154     2/7/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   26.03
2698   155   Week 155    2/14/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    16.2
2698   156   Week 156    2/21/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   26.49
2698   157   Week 157    2/28/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   23.09
2698   158   Week 158     3/6/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   26.36
2698   159   Week 159    3/13/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   21.48
2698   160   Week 160    3/20/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    25.5
2698   161   Week 161    3/27/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   24.57
2698   162   Week 162     4/3/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    6.25
2698   163   Week 163    4/10/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.77
2698   164   Week 164    4/17/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   16.57
2698   165   Week 165    4/24/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   17.73
2698   166   Week 166     5/1/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   24.83
2698   167   Week 167     5/8/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.62
2698   168   Week 168    5/15/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   18.95
2698   169   Week 169    5/22/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   15.45
2698   170   Week 170    5/29/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   11.84
2698   171   Week 171     6/5/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    22.2
2698   172   Week 172    6/12/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   16.03
2698   173   Week 173    6/19/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   20.88
2698   174   Week 174    6/26/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   17.78
2698   175   Week 175     7/3/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   19.51
2698   176   Week 176    7/10/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   20.28
2698   177   Week 177    7/17/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   22.35
2698   178   Week 178    7/24/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   20.18
2698   179   Week 179    7/31/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   25.73
2698   180   Week 180     8/7/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    20.1
2698   181   Week 181    8/14/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.87
2698   182   Week 182    8/21/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   18.12
2698   183   Week 183    8/28/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    15.8
2698   184   Week 184     9/4/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   20.78
2698   185   Week 185    9/11/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    21.9
2698   186   Week 186    9/18/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   22.52
2698   187   Week 187    9/25/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   18.14
2698   188   Week 188    10/2/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    7.12
2698   189   Week 189    10/9/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.82
2698   190   Week 190   10/16/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   19.14
2698   191   Week 191   10/23/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   11.85
2698   192   Week 192   10/30/2016   Eastern   Don Shirley   30   ORA   ORA566   35741   TIFFANY   JOHNSTON   TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    6.85
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2698   193   Week 193    11/6/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   24.59
2698   194   Week 194   11/13/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.46
2698   196   Week 196   11/27/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    26.5
2698   197   Week 197    12/4/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    15.1
2698   198   Week 198   12/11/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   20.29
2698   199   Week 199   12/18/2016   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    6.97
2698   201   Week 201     1/1/2017   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   16.97
2698   202   Week 202     1/8/2017   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   12.37
2698   203   Week 203    1/15/2017   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    12.8
2698   204   Week 204    1/22/2017   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   15.99
2698   205   Week 205    1/29/2017   Eastern   Don Shirley         30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   10.22
2698   206   Week 206     2/5/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.04
2698   207   Week 207    2/12/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   23.59
2698   208   Week 208    2/19/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   25.43
2698   209   Week 209    2/26/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   11.53
2698   210   Week 210     3/5/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   23.03
2698   211   Week 211    3/12/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.33
2698   212   Week 212    3/19/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   15.55
2698   213   Week 213    3/26/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.45
2698   214   Week 214     4/2/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   19.85
2698   215   Week 215     4/9/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    12.6
2698   216   Week 216    4/16/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.98
2698   217   Week 217    4/23/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.62
2698   218   Week 218    4/30/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   10.99
2698   219   Week 219     5/7/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   18.89
2698   220   Week 220    5/14/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   14.33
2698   221   Week 221    5/21/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5   13.41
2698   222   Week 222    5/28/2017   Eastern   Jason Harmon D.O.   30   ORA   ORA566   35741   TIFFANY   JOHNSTON    TIFFANY JOHNSTON   DELIVERY DRIVER   8.5    5.54
4455   241   Week 241    10/8/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    19.8
4455   242   Week 242   10/15/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   14.79
4455   243   Week 243   10/22/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    15.3
4455   244   Week 244   10/29/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   12.33
4455   245   Week 245    11/5/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9      19
4455   246   Week 246   11/12/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   29.22
4455   247   Week 247   11/19/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    0.83
4455   248   Week 248   11/26/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   22.53
4455   249   Week 249    12/3/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   29.87
4455   250   Week 250   12/10/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    23.2
4455   251   Week 251   12/17/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   24.82
4455   252   Week 252   12/24/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    2.97
4455   253   Week 253   12/31/2017   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   17.85
4455   254   Week 254     1/7/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    16.5
4455   255   Week 255    1/14/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    16.1
4455   256   Week 256    1/21/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    9.35
4455   257   Week 257    1/28/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    27.1
4455   258   Week 258     2/4/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9      23
4455   259   Week 259    2/11/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   27.15
4455   260   Week 260    2/18/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   25.88
4455   261   Week 261    2/25/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    7.86
4455   262   Week 262     3/4/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9      38
4455   263   Week 263    3/11/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   31.25
4455   264   Week 264    3/18/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9   27.87
4455   265   Week 265    3/25/2018   Eastern   DO David Rathbun    30   ORA   ORA615   73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ   DELIVERY DRIVER     9    9.28
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4455   266   Week 266     4/1/2018   Eastern   DO David Rathbun    30   ORA   ORA615     73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ    DELIVERY DRIVER      9   37.42
4455   267   Week 267     4/8/2018   Eastern   DO David Rathbun    30   ORA   ORA615     73098   ADRIAN    RODRIGUEZ   ADRIAN RODRIGUEZ    DELIVERY DRIVER      9    3.13
1385   104   Week 104    2/22/2015   Eastern   Don Shirley         30   ORA   ORA7058   627058   CYNTHIA   DEVIVA      CYNTHIA DEVIVA      DELIVERY DRIVER   9.35   33.21
1385   105   Week 105     3/1/2015   Eastern   Don Shirley         30   ORA   ORA7058   627058   CYNTHIA   DEVIVA      CYNTHIA DEVIVA      DELIVERY DRIVER   9.35   25.34
1385   106   Week 106     3/8/2015   Eastern   Don Shirley         30   ORA   ORA7058   627058   CYNTHIA   DEVIVA      CYNTHIA DEVIVA      DELIVERY DRIVER   9.35    30.9
1385   107   Week 107    3/15/2015   Eastern   Don Shirley         30   ORA   ORA7058   627058   CYNTHIA   DEVIVA      CYNTHIA DEVIVA      DELIVERY DRIVER   9.35   13.54
3347   216   Week 216    4/16/2017   Eastern   Don Shirley        115   ORF   ORF1000    69130   MICHAEL   MCCLENDON   MICHAEL MCCLENDON   DELIVERY DRIVER      9   17.51
3347   217   Week 217    4/23/2017   Eastern   Don Shirley        115   ORF   ORF1000    69130   MICHAEL   MCCLENDON   MICHAEL MCCLENDON   DELIVERY DRIVER      9   33.76
3347   218   Week 218    4/30/2017   Eastern   Don Shirley        115   ORF   ORF1000    69130   MICHAEL   MCCLENDON   MICHAEL MCCLENDON   DELIVERY DRIVER      9   26.21
3347   219   Week 219     5/7/2017   Eastern   Don Shirley        115   ORF   ORF1000    69130   MICHAEL   MCCLENDON   MICHAEL MCCLENDON   DELIVERY DRIVER      9   21.28
3347   220   Week 220    5/14/2017   Eastern   Don Shirley        115   ORF   ORF1000    69130   MICHAEL   MCCLENDON   MICHAEL MCCLENDON   DELIVERY DRIVER      9   22.98
3635   101   Week 101     2/1/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   34.51
3635   102   Week 102     2/8/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   39.53
3635   103   Week 103    2/15/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   34.32
3635   104   Week 104    2/22/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   22.57
3635   105   Week 105     3/1/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   38.46
3635   106   Week 106     3/8/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   36.19
3635   107   Week 107    3/15/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25    13.8
3635   108   Week 108    3/22/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   30.74
3635   109   Week 109    3/29/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   23.51
3635   110   Week 110     4/5/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   35.27
3635   111   Week 111    4/12/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   33.41
3635   112   Week 112    4/19/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   38.27
3635   113   Week 113    4/26/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   34.33
3635   114   Week 114     5/3/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   27.37
3635   115   Week 115    5/10/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   27.05
3635   116   Week 116    5/17/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   26.42
3635   117   Week 117    5/24/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   23.67
3635   118   Week 118    5/31/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   30.41
3635   119   Week 119     6/7/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   23.95
3635   120   Week 120    6/14/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   21.95
3635   121   Week 121    6/21/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   21.07
3635   122   Week 122    6/28/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   24.32
3635   123   Week 123     7/5/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25    23.9
3635   124   Week 124    7/12/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   31.26
3635   125   Week 125    7/19/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   30.98
3635   126   Week 126    7/26/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   24.02
3635   127   Week 127     8/2/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   27.41
3635   128   Week 128     8/9/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   26.11
3635   129   Week 129    8/16/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   22.08
3635   130   Week 130    8/23/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   23.93
3635   131   Week 131    8/30/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   18.14
3635   132   Week 132     9/6/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.29   40.34
3635   133   Week 133    9/13/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   30.76
3635   134   Week 134    9/20/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   36.74
3635   135   Week 135    9/27/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   28.98
3635   136   Week 136    10/4/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   32.49
3635   137   Week 137   10/11/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   33.61
3635   138   Week 138   10/18/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   31.72
3635   139   Week 139   10/25/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25    39.9
3635   140   Week 140    11/1/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   38.02
3635   141   Week 141    11/8/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25   37.45
3635   142   Week 142   11/15/2015   Eastern   Don Shirley        115   ORF   ORF261    123397   MANUEL    MORALES     MANUEL MORALES      DELIVERY DRIVER   9.25    35.1
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3635   143   Week 143   11/22/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   17.17
3635   144   Week 144   11/29/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    28.4
3635   145   Week 145    12/6/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   34.79
3635   146   Week 146   12/13/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.61   39.93
3635   147   Week 147   12/20/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   10.29
3635   148   Week 148   12/27/2015   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    9.66
3635   149   Week 149     1/3/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    36.7
3635   150   Week 150    1/10/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    37.1
3635   151   Week 151    1/17/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.43   41.61
3635   152   Week 152    1/24/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   38.55
3635   153   Week 153    1/31/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   39.45
3635   154   Week 154     2/7/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   32.14
3635   155   Week 155    2/14/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.31   38.14
3635   156   Week 156    2/21/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.44   41.69
3635   157   Week 157    2/28/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   39.44
3635   158   Week 158     3/6/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   32.83
3635   159   Week 159    3/13/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   31.05
3635   160   Week 160    3/20/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    23.7
3635   161   Week 161    3/27/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   37.34
3635   162   Week 162     4/3/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.69   44.17
3635   163   Week 163    4/10/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   32.75
3635   164   Week 164    4/17/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   24.52
3635   165   Week 165    4/24/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.93   46.85
3635   166   Week 166     5/1/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.85      46
3635   167   Week 167     5/8/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   39.39
3635   168   Week 168    5/15/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.56   42.87
3635   169   Week 169    5/22/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   32.56
3635   170   Week 170    5/29/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   29.04
3635   171   Week 171     6/5/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   33.29
3635   172   Week 172    6/12/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   38.58
3635   173   Week 173    6/19/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   31.66
3635   174   Week 174    6/26/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   21.41
3635   175   Week 175     7/3/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   22.69
3635   176   Week 176    7/10/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   37.38
3635   177   Week 177    7/17/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   36.44
3635   178   Week 178    7/24/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    27.1
3635   179   Week 179    7/31/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER     9.9   46.48
3635   180   Week 180     8/7/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   37.33
3635   181   Week 181    8/14/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.48   42.07
3635   182   Week 182    8/21/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   31.31
3635   183   Week 183    8/28/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   24.22
3635   184   Week 184     9/4/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    38.3
3635   185   Week 185    9/11/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.94      47
3635   186   Week 186    9/18/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   35.95
3635   187   Week 187    9/25/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   31.78
3635   188   Week 188    10/2/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   21.92
3635   189   Week 189    10/9/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25    27.3
3635   190   Week 190   10/16/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   32.86
3635   191   Week 191   10/23/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   34.07
3635   192   Week 192   10/30/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER   10.31    51.8
3635   193   Week 193    11/6/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   34.96
3635   194   Week 194   11/13/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.32   40.64
3635   195   Week 195   11/20/2016   Eastern   Don Shirley   115   ORF   ORF261   123397   MANUEL   MORALES   MANUEL MORALES   DELIVERY DRIVER    9.25   12.42
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3635   196   Week 196   11/27/2016   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25     7.8
3635   197   Week 197    12/4/2016   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25    5.65
3635   198   Week 198   12/11/2016   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER    9.3   40.43
3635   199   Week 199   12/18/2016   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   26.21
3635   200   Week 200   12/25/2016   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   10.28
3635   203   Week 203    1/15/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   12.03
3635   204   Week 204    1/22/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   38.72
3635   205   Week 205    1/29/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   22.03
3635   206   Week 206     2/5/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25    6.17
3635   207   Week 207    2/12/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   34.22
3635   208   Week 208    2/19/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   35.06
3635   209   Week 209    2/26/2017   Eastern   Don Shirley        115   ORF   ORF261   123397   MANUEL    MORALES   MANUEL MORALES   DELIVERY DRIVER   9.25   12.77
5032   209   Week 209    2/26/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9    3.08
5032   210   Week 210     3/5/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   27.41
5032   211   Week 211    3/12/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   24.21
5032   212   Week 212    3/19/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   19.25
5032   213   Week 213    3/26/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9    17.8
5032   214   Week 214     4/2/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   28.67
5032   215   Week 215     4/9/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   31.83
5032   216   Week 216    4/16/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9      21
5032   217   Week 217    4/23/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   32.76
5032   218   Week 218    4/30/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   24.52
5032   219   Week 219     5/7/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   20.21
5032   220   Week 220    5/14/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER    9.4   43.88
5032   221   Week 221    5/21/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   26.63
5032   222   Week 222    5/28/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   15.67
5032   222   Week 222    5/28/2017   Eastern   Don Shirley        115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   13.45
5032   223   Week 223     6/4/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER   9.44   44.34
5032   224   Week 224    6/11/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER   9.49   44.86
5032   225   Week 225    6/18/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   34.11
5032   226   Week 226    6/25/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   27.17
5032   227   Week 227     7/2/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   14.93
5032   228   Week 228     7/9/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   32.74
5032   229   Week 229    7/16/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   30.94
5032   230   Week 230    7/23/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   28.98
5032   231   Week 231    7/30/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER   10.1   53.01
5032   232   Week 232     8/6/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   38.61
5032   233   Week 233    8/13/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   31.61
5032   234   Week 234    8/20/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   37.16
5032   235   Week 235    8/27/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   16.45
5032   236   Week 236     9/3/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9    14.6
5032   237   Week 237    9/10/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   26.64
5032   238   Week 238    9/17/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   32.55
5032   239   Week 239    9/24/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   18.55
5032   240   Week 240    10/1/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   14.81
5032   241   Week 241    10/8/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9    25.4
5032   242   Week 242   10/15/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   31.31
5032   243   Week 243   10/22/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   29.67
5032   244   Week 244   10/29/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9   37.49
5032   245   Week 245    11/5/2017   Eastern   DO David Rathbun   115   ORF   ORF461    68383   BRADLEY   SUGGS     BRADLEY SUGGS    DELIVERY DRIVER      9    6.08
4048   114   Week 114     5/3/2015   Eastern   Don Shirley        115   ORF   ORF952    54861   BRETT     PETERS    BRETT PETERS     DELIVERY DRIVER   8.25   19.47
4048   115   Week 115    5/10/2015   Eastern   Don Shirley        115   ORF   ORF952    54861   BRETT     PETERS    BRETT PETERS     DELIVERY DRIVER   8.25   23.29
4048   116   Week 116    5/17/2015   Eastern   Don Shirley        115   ORF   ORF952    54861   BRETT     PETERS    BRETT PETERS     DELIVERY DRIVER   8.25   18.24
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4048   117   Week 117    5/24/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   22.52
4048   118   Week 118    5/31/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   15.93
4048   119   Week 119     6/7/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   21.71
4048   120   Week 120    6/14/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   16.53
4048   121   Week 121    6/21/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   20.46
4048   122   Week 122    6/28/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    3.17
4048   123   Week 123     7/5/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    8.51
4048   124   Week 124    7/12/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    8.93
4048   127   Week 127     8/2/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    7.42
4048   128   Week 128     8/9/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   18.94
4048   129   Week 129    8/16/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   25.58
4048   130   Week 130    8/23/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   13.83
4048   131   Week 131    8/30/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   10.64
4048   132   Week 132     9/6/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    9.52
4048   133   Week 133    9/13/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   10.13
4048   134   Week 134    9/20/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   12.29
4048   135   Week 135    9/27/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.88   47.14
4048   136   Week 136    10/4/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   24.09
4048   137   Week 137   10/11/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   35.31
4048   138   Week 138   10/18/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   26.34
4048   139   Week 139   10/25/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.35   40.95
4048   140   Week 140    11/1/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   39.32
4048   141   Week 141    11/8/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   35.85
4048   142   Week 142   11/15/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    16.3
4048   143   Week 143   11/22/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   20.77
4048   144   Week 144   11/29/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    33.9
4048   145   Week 145    12/6/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   36.15
4048   146   Week 146   12/13/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   39.45
4048   147   Week 147   12/20/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   30.84
4048   148   Week 148   12/27/2015   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   19.63
4048   149   Week 149     1/3/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   30.05
4048   150   Week 150    1/10/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   25.65
4048   151   Week 151    1/17/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   38.82
4048   152   Week 152    1/24/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   38.95
4048   153   Week 153    1/31/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    23.4
4048   154   Week 154     2/7/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   27.91
4048   155   Week 155    2/14/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   30.36
4048   156   Week 156    2/21/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   18.55
4048   157   Week 157    2/28/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   30.14
4048   158   Week 158     3/6/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    34.3
4048   159   Week 159    3/13/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   38.02
4048   160   Week 160    3/20/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    37.6
4048   161   Week 161    3/27/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   30.34
4048   162   Week 162     4/3/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   38.48
4048   163   Week 163    4/10/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.29   40.37
4048   164   Week 164    4/17/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25    39.2
4048   165   Week 165    4/24/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.94   48.03
4048   166   Week 166     5/1/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   36.75
4048   167   Week 167     5/8/2016   Eastern   Don Shirley   115   ORF   ORF952   54861   BRETT   PETERS   BRETT PETERS   DELIVERY DRIVER   8.25   14.15
5012   115   Week 115    5/10/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN   STRAWN   LOGAN STRAWN   DELIVERY DRIVER   8.05   15.23
5012   116   Week 116    5/17/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN   STRAWN   LOGAN STRAWN   DELIVERY DRIVER   8.05   16.02
5012   117   Week 117    5/24/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN   STRAWN   LOGAN STRAWN   DELIVERY DRIVER   8.05   28.71
5012   118   Week 118    5/31/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN   STRAWN   LOGAN STRAWN   DELIVERY DRIVER   8.05   23.26
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5012   119   Week 119     6/7/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   23.06
5012   120   Week 120    6/14/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05    7.49
5012   121   Week 121    6/21/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05      30
5012   122   Week 122    6/28/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   30.14
5012   123   Week 123     7/5/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   26.28
5012   124   Week 124    7/12/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05    31.8
5012   125   Week 125    7/19/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   23.38
5012   126   Week 126    7/26/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05    15.7
5012   127   Week 127     8/2/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   32.94
5012   129   Week 129    8/16/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   32.12
5012   130   Week 130    8/23/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   24.43
5012   131   Week 131    8/30/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   23.34
5012   132   Week 132     9/6/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   25.84
5012   133   Week 133    9/13/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   25.04
5012   134   Week 134    9/20/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   26.28
5012   135   Week 135    9/27/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   26.51
5012   136   Week 136    10/4/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   19.64
5012   137   Week 137   10/11/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05      18
5012   138   Week 138   10/18/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   26.79
5012   139   Week 139   10/25/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05   31.39
5012   140   Week 140    11/1/2015   Eastern   Don Shirley   183   ORM   ORM117   54854   LOGAN     STRAWN    LOGAN STRAWN      DELIVERY DRIVER   8.05    29.4
 385   129   Week 129    8/16/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   20.39
 385   130   Week 130    8/23/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   22.51
 385   131   Week 131    8/30/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   29.41
 385   132   Week 132     9/6/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5    18.5
 385   133   Week 133    9/13/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   20.51
 385   134   Week 134    9/20/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   22.74
 385   135   Week 135    9/27/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   21.62
 385   136   Week 136    10/4/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   13.79
 385   137   Week 137   10/11/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   20.47
 385   138   Week 138   10/18/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   34.23
 385   139   Week 139   10/25/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   23.79
 385   140   Week 140    11/1/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   21.95
 385   141   Week 141    11/8/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   36.23
 385   142   Week 142   11/15/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   35.02
 385   143   Week 143   11/22/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   15.61
 385   144   Week 144   11/29/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   31.31
 385   145   Week 145    12/6/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    8.5   38.56
 385   146   Week 146   12/13/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   8.63   35.17
 385   147   Week 147   12/20/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   17.91
 385   148   Week 148   12/27/2015   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   12.64
 385   149   Week 149     1/3/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   36.09
 385   150   Week 150    1/10/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.16
 385   151   Week 151    1/17/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   29.01
 385   152   Week 152    1/24/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.09   40.86
 385   153   Week 153    1/31/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.01   40.13
 385   154   Week 154     2/7/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER    9.1   40.95
 385   155   Week 155    2/14/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   37.17
 385   156   Week 156    2/21/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   39.22
 385   157   Week 157    2/28/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   39.51
 385   158   Week 158     3/6/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   28.59
 385   159   Week 159    3/13/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9    33.1
 385   160   Week 160    3/20/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.08   38.98
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 385   161   Week 161    3/27/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   38.55
 385   162   Week 162     4/3/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   38.79
 385   163   Week 163    4/10/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   26.71
 385   164   Week 164    4/17/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   30.56
 385   165   Week 165    4/24/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   36.48
 385   166   Week 166     5/1/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   34.04
 385   167   Week 167     5/8/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   29.76
 385   168   Week 168    5/15/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   33.95
 385   169   Week 169    5/22/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.87
 385   170   Week 170    5/29/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   30.04
 385   171   Week 171     6/5/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.95
 385   172   Week 172    6/12/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   35.63
 385   173   Week 173    6/19/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   34.96
 385   174   Week 174    6/26/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   27.64
 385   175   Week 175     7/3/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   21.04
 385   176   Week 176    7/10/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   28.66
 385   177   Week 177    7/17/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   29.51
 385   178   Week 178    7/24/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   26.76
 385   179   Week 179    7/31/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   35.91
 385   180   Week 180     8/7/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   35.69
 385   181   Week 181    8/14/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.11
 385   182   Week 182    8/21/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   37.45
 385   183   Week 183    8/28/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   22.85
 385   184   Week 184     9/4/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   27.32
 385   185   Week 185    9/11/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   33.74
 385   186   Week 186    9/18/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.92
 385   187   Week 187    9/25/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   29.79
 385   188   Week 188    10/2/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   18.41
 385   189   Week 189    10/9/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9    32.5
 385   190   Week 190   10/16/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.33   43.13
 385   191   Week 191   10/23/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.76
 385   192   Week 192   10/30/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   30.92
 385   193   Week 193    11/6/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   31.22
 385   194   Week 194   11/13/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER      9   27.87
 385   196   Week 196   11/27/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   35.39
 385   197   Week 197    12/4/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   27.94
 385   198   Week 198   12/11/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   22.24
 385   199   Week 199   12/18/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75    9.54
 385   200   Week 200   12/25/2016   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   12.79
 385   201   Week 201     1/1/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   22.53
 385   202   Week 202     1/8/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   28.01
 385   203   Week 203    1/15/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   34.65
 385   204   Week 204    1/22/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   32.69
 385   205   Week 205    1/29/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   29.94
 385   206   Week 206     2/5/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   36.23
 385   207   Week 207    2/12/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75    29.5
 385   208   Week 208    2/19/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75   29.15
 385   209   Week 209    2/26/2017   Eastern   Don Shirley   183   ORM   ORM127   56798   MICHAEL   BECCARI   MICHAEL BECCARI   DELIVERY DRIVER   9.75     4.2
3024   208   Week 208    2/19/2017   Eastern   Don Shirley   183   ORM   ORM209   68247   AMANDA    LEGG      AMANDA LEGG       DELIVERY DRIVER      9    7.85
3024   209   Week 209    2/26/2017   Eastern   Don Shirley   183   ORM   ORM209   68247   AMANDA    LEGG      AMANDA LEGG       DELIVERY DRIVER      9   22.83
3024   210   Week 210     3/5/2017   Eastern   Don Shirley   183   ORM   ORM209   68247   AMANDA    LEGG      AMANDA LEGG       DELIVERY DRIVER      9   19.96
3024   211   Week 211    3/12/2017   Eastern   Don Shirley   183   ORM   ORM209   68247   AMANDA    LEGG      AMANDA LEGG       DELIVERY DRIVER      9   15.96
3024   212   Week 212    3/19/2017   Eastern   Don Shirley   183   ORM   ORM209   68247   AMANDA    LEGG      AMANDA LEGG       DELIVERY DRIVER      9      16
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3024   213   Week 213   3/26/2017   Eastern   Don Shirley        183   ORM   ORM209   68247   AMANDA    LEGG        AMANDA LEGG      DELIVERY DRIVER      9   17.25
3024   214   Week 214    4/2/2017   Eastern   Don Shirley        183   ORM   ORM209   68247   AMANDA    LEGG        AMANDA LEGG      DELIVERY DRIVER      9    6.44
3024   215   Week 215    4/9/2017   Eastern   Don Shirley        183   ORM   ORM209   68247   AMANDA    LEGG        AMANDA LEGG      DELIVERY DRIVER      9   19.48
3024   216   Week 216   4/16/2017   Eastern   Don Shirley        183   ORM   ORM209   68247   AMANDA    LEGG        AMANDA LEGG      DELIVERY DRIVER      9     3.5
4664   209   Week 209   2/26/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   18.61
4664   210   Week 210    3/5/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   25.06
4664   211   Week 211   3/12/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   35.77
4664   212   Week 212   3/19/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9      25
4664   213   Week 213   3/26/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   31.46
4664   214   Week 214    4/2/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   25.39
4664   215   Week 215    4/9/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   33.16
4664   216   Week 216   4/16/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   21.54
4664   217   Week 217   4/23/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   28.97
4664   218   Week 218   4/30/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   32.87
4664   219   Week 219    5/7/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   23.83
4664   220   Week 220   5/14/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   27.97
4664   221   Week 221   5/21/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   15.96
4664   222   Week 222   5/28/2017   Eastern   DO David Rathbun   183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9     9.4
4664   222   Week 222   5/28/2017   Eastern   Don Shirley        183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9    6.34
4664   223   Week 223    6/4/2017   Eastern   DO David Rathbun   183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   31.52
4664   224   Week 224   6/11/2017   Eastern   DO David Rathbun   183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9   22.06
4664   225   Week 225   6/18/2017   Eastern   DO David Rathbun   183   ORM   ORM211   68357   RICHARD   SCOTT       RICHARD SCOTT    DELIVERY DRIVER      9    13.1
1085   106   Week 106    3/8/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9      25
1085   107   Week 107   3/15/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.31   42.98
1085   108   Week 108   3/22/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.35   43.35
1085   109   Week 109   3/29/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   37.88
1085   110   Week 110    4/5/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9    39.8
1085   111   Week 111   4/12/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   28.87
1085   112   Week 112   4/19/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   37.38
1085   113   Week 113   4/26/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   27.36
1085   114   Week 114    5/3/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.35   43.37
1085   115   Week 115   5/10/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   29.68
1085   116   Week 116   5/17/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   26.17
1085   117   Week 117   5/24/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   27.56
1085   118   Week 118   5/31/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   36.48
1085   119   Week 119    6/7/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   39.37
1085   120   Week 120   6/14/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9    27.9
1085   121   Week 121   6/21/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   32.96
1085   122   Week 122   6/28/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   29.23
1085   123   Week 123    7/5/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   28.49
1085   124   Week 124   7/12/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   17.01
1085   125   Week 125   7/19/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   34.11
1085   126   Week 126   7/26/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   32.79
1085   127   Week 127    8/2/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   30.14
1085   128   Week 128    8/9/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.48   44.79
1085   129   Week 129   8/16/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   37.22
1085   130   Week 130   8/23/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.36   43.43
1085   131   Week 131   8/30/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9      30
1085   132   Week 132    9/6/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   35.01
1085   133   Week 133   9/13/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.01   40.12
1085   134   Week 134   9/20/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.31   41.89
1085   135   Week 135   9/27/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   9.01   40.09
1085   136   Week 136   10/4/2015   Western   Thomas McDonald     11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER      9   31.43
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1085   137   Week 137   10/11/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   39.02
1085   138   Week 138   10/18/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.06    52.3
1085   139   Week 139   10/25/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.44   44.34
1085   140   Week 140    11/1/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   38.66
1085   141   Week 141    11/8/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   30.28
1085   142   Week 142   11/15/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   23.42
1085   143   Week 143   11/22/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   19.68
1085   144   Week 144   11/29/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   34.86
1085   145   Week 145    12/6/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   37.93
1085   146   Week 146   12/13/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   35.65
1085   148   Week 148   12/27/2015   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER       9   10.45
1085   149   Week 149     1/3/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.67   46.97
1085   150   Week 150    1/10/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.1   40.91
1085   151   Week 151    1/17/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.63   31.58
1085   152   Week 152    1/24/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.17   18.02
1085   153   Week 153    1/31/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.91   47.94
1085   154   Week 154     2/7/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   23.74
1085   155   Week 155    2/14/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   23.35
1085   156   Week 156    2/21/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    9.98
1085   157   Week 157    2/28/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   14.95
1085   158   Week 158     3/6/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    6.75
1085   159   Week 159    3/13/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    9.24
1085   160   Week 160    3/20/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   26.37
1085   161   Week 161    3/27/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.38    33.1
1085   162   Week 162     4/3/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   21.64
1085   163   Week 163    4/10/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   15.08
1085   164   Week 164    4/17/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    8.97
1085   165   Week 165    4/24/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   10.33
1085   167   Week 167     5/8/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    8.57
1085   170   Week 170    5/29/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   18.34
1085   171   Week 171     6/5/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    5.15
1085   179   Week 179    7/31/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    4.35
1085   180   Week 180     8/7/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.69   20.88
1085   181   Week 181    8/14/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    21.6
1085   182   Week 182    8/21/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   10.58
1085   183   Week 183    8/28/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    8.75
1085   184   Week 184     9/4/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.67   35.91
1085   185   Week 185    9/11/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.9   37.68
1085   186   Week 186    9/18/2016   Western   Thomas McDonald   10   BOW   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   14.25     2.5
1085   186   Week 186    9/18/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.93   34.14
1085   187   Week 187    9/25/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   17.06
1085   188   Week 188    10/2/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   29.98
1085   189   Week 189    10/9/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.62   30.94
1085   190   Week 190   10/16/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER    9.77   29.35
1085   191   Week 191   10/23/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.28   38.44
1085   192   Week 192   10/30/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.21    27.6
1085   193   Week 193    11/6/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.06   33.81
1085   194   Week 194   11/13/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   17.08
1085   195   Week 195   11/20/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   18.73
1085   196   Week 196   11/27/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   19.43
1085   197   Week 197    12/4/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER   10.26      30
1085   198   Week 198   12/11/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5   13.96
1085   199   Week 199   12/18/2016   Western   Thomas McDonald   11   OVT   OVT668   47665   LUIS   CONTRERAS   LUIS CONTRERAS   DELIVERY DRIVER     9.5    4.58
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1085   200   Week 200   12/25/2016   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5    3.52
1085   201   Week 201     1/1/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5     4.4
1085   202   Week 202     1/8/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   15.92
1085   203   Week 203    1/15/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER   11.19   36.46
1085   204   Week 204    1/22/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   26.96
1085   205   Week 205    1/29/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   16.81
1085   206   Week 206     2/5/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   19.82
1085   207   Week 207    2/12/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   10.85
1085   208   Week 208    2/19/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER   10.29   28.09
1085   209   Week 209    2/26/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   33.35
1085   210   Week 210     3/5/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   38.09
1085   211   Week 211    3/12/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   28.21
1085   212   Week 212    3/19/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   30.74
1085   213   Week 213    3/26/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   26.91
1085   214   Week 214     4/2/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   22.64
1085   215   Week 215     4/9/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   32.39
1085   216   Week 216    4/16/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   30.24
1085   217   Week 217    4/23/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   25.41
1085   218   Week 218    4/30/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   15.74
1085   219   Week 219     5/7/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   32.12
1085   220   Week 220    5/14/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   24.99
1085   221   Week 221    5/21/2017   Western   Thomas McDonald      11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   17.33
1085   222   Week 222    5/28/2017   Western   DO Michael Johnson   11   OVT   OVT668   47665   LUIS      CONTRERAS   LUIS CONTRERAS    DELIVERY DRIVER     9.5   10.48
2213   175   Week 175     7/3/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8    4.77
2213   176   Week 176    7/10/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8    4.45
2213   178   Week 178    7/24/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8    17.6
2213   179   Week 179    7/31/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8     8.7
2213   180   Week 180     8/7/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   15.55
2213   181   Week 181    8/14/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   16.21
2213   182   Week 182    8/21/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   26.62
2213   183   Week 183    8/28/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   15.24
2213   184   Week 184     9/4/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   27.08
2213   185   Week 185    9/11/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   21.02
2213   186   Week 186    9/18/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   17.02
2213   187   Week 187    9/25/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   31.46
2213   188   Week 188    10/2/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   16.74
2213   189   Week 189    10/9/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8    26.2
2213   190   Week 190   10/16/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   30.37
2213   191   Week 191   10/23/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   34.87
2213   192   Week 192   10/30/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   14.34
2213   193   Week 193    11/6/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   24.65
2213   194   Week 194   11/13/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   19.54
2213   196   Week 196   11/27/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   26.74
2213   197   Week 197    12/4/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   27.29
2213   198   Week 198   12/11/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   30.45
2213   199   Week 199   12/18/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   18.47
2213   200   Week 200   12/25/2016   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   21.37
2213   201   Week 201     1/1/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   23.16
2213   202   Week 202     1/8/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   20.96
2213   203   Week 203    1/15/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   12.07
2213   204   Week 204    1/22/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8    28.8
2213   205   Week 205    1/29/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   10.72
2213   206   Week 206     2/5/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA   HARKINS     BRIANNA HARKINS   DELIVERY DRIVER       8   19.13
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2213   207   Week 207    2/12/2017   Western   Thomas McDonald      11   OVT   OVT792   62311   BRIANNA    HARKINS   BRIANNA HARKINS   DELIVERY DRIVER      8    8.93
1949   188   Week 188    10/2/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8    26.8
1949   189   Week 189    10/9/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8   19.08
1949   190   Week 190   10/16/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8   20.46
1949   191   Week 191   10/23/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8      29
1949   192   Week 192   10/30/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8   25.36
1949   193   Week 193    11/6/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8    9.95
1949   194   Week 194   11/13/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8    4.22
1949   196   Week 196   11/27/2016   Western   Thomas McDonald      11   OVT   OVT811   65884   TINNEKIA   GIPSON    TINNEKIA GIPSON   DELIVERY DRIVER      8    1.55
1043   201   Week 201     1/1/2017   Western   Thomas McDonald      11   OVT   OVT820   67239   JOHN       COLEMAN   JOHN COLEMAN      DELIVERY DRIVER      8   14.33
1043   202   Week 202     1/8/2017   Western   Thomas McDonald      11   OVT   OVT820   67239   JOHN       COLEMAN   JOHN COLEMAN      DELIVERY DRIVER      8   20.61
5796   201   Week 201     1/1/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    4.53
5796   202   Week 202     1/8/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    19.4
5796   203   Week 203    1/15/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    18.4
5796   204   Week 204    1/22/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   22.26
5796   205   Week 205    1/29/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   20.28
5796   206   Week 206     2/5/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   18.81
5796   207   Week 207    2/12/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    14.2
5796   208   Week 208    2/19/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   15.88
5796   209   Week 209    2/26/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    17.5
5796   210   Week 210     3/5/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   13.45
5796   211   Week 211    3/12/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    9.66
5796   212   Week 212    3/19/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    4.27
5796   213   Week 213    3/26/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   14.12
5796   214   Week 214     4/2/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   14.06
5796   215   Week 215     4/9/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    9.65
5796   216   Week 216    4/16/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   16.92
5796   217   Week 217    4/23/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   16.81
5796   218   Week 218    4/30/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   23.45
5796   220   Week 220    5/14/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   14.33
5796   221   Week 221    5/21/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    9.85
5796   222   Week 222    5/28/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   16.12
5796   222   Week 222    5/28/2017   Western   Thomas McDonald      11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    4.18
5796   224   Week 224    6/11/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   14.25
5796   225   Week 225    6/18/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    6.88
5796   226   Week 226    6/25/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9   10.17
5796   227   Week 227     7/2/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER      9    8.98
5796   228   Week 228     7/9/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.13     6.8
5796   229   Week 229    7/16/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    6.65
5796   230   Week 230    7/23/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    9.63
5796   231   Week 231    7/30/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    6.98
5796   232   Week 232     8/6/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   23.12
5796   233   Week 233    8/13/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   15.71
5796   234   Week 234    8/20/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   24.08
5796   235   Week 235    8/27/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   10.33
5796   236   Week 236     9/3/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    6.97
5796   237   Week 237    9/10/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   10.21
5796   238   Week 238    9/17/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    9.94
5796   239   Week 239    9/24/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   15.47
5796   240   Week 240    10/1/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25   13.73
5796   241   Week 241    10/8/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25     8.3
5796   242   Week 242   10/15/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25     8.9
5796   243   Week 243   10/22/2017   Western   DO Michael Johnson   11   OVT   OVT821   67262   FUMIHIRO   YAMADA    FUMIHIRO YAMADA   DELIVERY DRIVER   9.25    7.55
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5796   244   Week 244   10/29/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25   19.99
5796   245   Week 245    11/5/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25   12.75
5796   245   Week 245    11/5/2017   Western    DO Michael Johnson   191   FWM   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    3.73
5796   246   Week 246   11/12/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25   13.95
5796   247   Week 247   11/19/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    2.72
5796   248   Week 248   11/26/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25     2.1
5796   249   Week 249    12/3/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    8.05
5796   249   Week 249    12/3/2017   Western    DO Michael Johnson   191   FWM   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    3.63
5796   250   Week 250   12/10/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    3.73
5796   251   Week 251   12/17/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25   16.43
5796   253   Week 253   12/31/2017   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    2.07
5796   254   Week 254     1/7/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    8.07
5796   255   Week 255    1/14/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    5.27
5796   257   Week 257    1/28/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    10.9
5796   257   Week 257    1/28/2018   Western    DO Michael Johnson   191   FWM   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.25    5.02
5796   258   Week 258     2/4/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER    9.41   12.11
5796   259   Week 259    2/11/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5   22.63
5796   260   Week 260    2/18/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5    8.77
5796   261   Week 261    2/25/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5    9.44
5796   263   Week 263    3/11/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5    2.65
5796   264   Week 264    3/18/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5    5.85
5796   265   Week 265    3/25/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5   12.46
5796   266   Week 266     4/1/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5   15.37
5796   267   Week 267     4/8/2018   Western    DO Michael Johnson    11   OVT   OVT821   67262   FUMIHIRO   YAMADA     FUMIHIRO YAMADA   DELIVERY DRIVER     9.5     3.7
2326   191   Week 191   10/23/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5    4.97
2326   192   Week 192   10/30/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5    5.62
2326   193   Week 193    11/6/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   25.84
2326   194   Week 194   11/13/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   32.41
2326   195   Week 195   11/20/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   13.62
2326   196   Week 196   11/27/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   30.05
2326   197   Week 197    12/4/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   24.94
2326   198   Week 198   12/11/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   24.73
2326   199   Week 199   12/18/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   17.67
2326   200   Week 200   12/25/2016   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5    11.9
2326   201   Week 201     1/1/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   15.86
2326   202   Week 202     1/8/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   21.14
2326   203   Week 203    1/15/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5    9.78
2326   204   Week 204    1/22/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   18.22
2326   205   Week 205    1/29/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   11.85
2326   206   Week 206     2/5/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   18.81
2326   207   Week 207    2/12/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   12.05
2326   208   Week 208    2/19/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   18.71
2326   209   Week 209    2/26/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   19.31
2326   210   Week 210     3/5/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5   16.18
2326   211   Week 211    3/12/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER     9.5    8.42
2326   212   Week 212    3/19/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    9.86   21.29
2326   213   Week 213    3/26/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    10.5   31.74
2326   214   Week 214     4/2/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    10.5   38.48
2326   215   Week 215     4/9/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    10.5   29.03
2326   216   Week 216    4/16/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.71   41.69
2326   217   Week 217    4/23/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.56   40.49
2326   218   Week 218    4/30/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    10.5   35.32
2326   219   Week 219     5/7/2017   Northern   Greg Winger          197   PAC   PAC156   66373   THOMAS     HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER    10.5    30.5
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2326   220   Week 220    5/14/2017   Northern   Greg Winger       197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5   21.78
2326   221   Week 221    5/21/2017   Northern   Greg Winger       197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5   24.63
2326   222   Week 222    5/28/2017   Northern   DO Greg Winger    197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5      19
2326   222   Week 222    5/28/2017   Northern   Greg Winger       197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5   14.98
2326   223   Week 223     6/4/2017   Northern   DO Greg Winger    197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5    13.8
2326   224   Week 224    6/11/2017   Northern   DO Greg Winger    197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5    32.3
2326   225   Week 225    6/18/2017   Northern   DO Greg Winger    197   PAC   PAC156    66373   THOMAS   HERDLICK   THOMAS HERDLICK   DELIVERY DRIVER   10.5   20.27
5760   102   Week 102     2/8/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   25.26
5760   103   Week 103    2/15/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   20.71
5760   104   Week 104    2/22/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.83   40.84
5760   105   Week 105     3/1/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   31.19
5760   106   Week 106     3/8/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   30.13
5760   107   Week 107    3/15/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   16.81
5760   108   Week 108    3/22/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   36.07
5760   109   Week 109    3/29/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   15.98
5760   110   Week 110     4/5/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   30.24
5760   111   Week 111    4/12/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75   28.83
5760   112   Week 112    4/19/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75    31.8
5760   113   Week 113    4/26/2015   Southern   Mark Livingston    36   PAS   PAS150    31756   SARENA   WOODS      SARENA WOODS      DELIVERY DRIVER   7.75    6.32
4252   105   Week 105     3/1/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   36.02
4252   106   Week 106     3/8/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.77   40.14
4252   107   Week 107    3/15/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   36.37
4252   108   Week 108    3/22/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER    8.9   41.41
4252   109   Week 109    3/29/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   39.87
4252   110   Week 110     4/5/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.93   41.69
4252   111   Week 111    4/12/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER    8.8   40.42
4252   112   Week 112    4/19/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.77   40.22
4252   113   Week 113    4/26/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   39.01
4252   114   Week 114     5/3/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   9.15   44.07
4252   115   Week 115    5/10/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   39.93
4252   116   Week 116    5/17/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   38.66
4252   117   Week 117    5/24/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   38.18
4252   118   Week 118    5/31/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.77   40.18
4252   119   Week 119     6/7/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   36.15
4252   120   Week 120    6/14/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   35.01
4252   121   Week 121    6/21/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   35.45
4252   122   Week 122    6/28/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   30.06
4252   123   Week 123     7/5/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   35.38
4252   124   Week 124    7/12/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.01
4252   125   Week 125    7/19/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.13
4252   126   Week 126    7/26/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.56
4252   127   Week 127     8/2/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   35.88
4252   128   Week 128     8/9/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER    9.3   45.76
4252   129   Week 129    8/16/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   36.56
4252   130   Week 130    8/23/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   39.99
4252   131   Week 131    8/30/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   38.42
4252   132   Week 132     9/6/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.53
4252   133   Week 133    9/13/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.94   41.82
4252   134   Week 134    9/20/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.48
4252   135   Week 135    9/27/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   9.04   42.81
4252   136   Week 136    10/4/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   39.62
4252   137   Week 137   10/11/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75   37.67
4252   138   Week 138   10/18/2015   Southern   Mark Livingston    36   PAS   PAS533   291322   JOSE     RAMIREZ    JOSE RAMIREZ      DELIVERY DRIVER   8.75    38.7
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4252   139   Week 139   10/25/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.66
4252   140   Week 140    11/1/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.03
4252   141   Week 141    11/8/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.75
4252   142   Week 142   11/15/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.89   41.33
4252   143   Week 143   11/22/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    30.9
4252   144   Week 144   11/29/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   35.22
4252   146   Week 146   12/13/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.84
4252   147   Week 147   12/20/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    32.2
4252   148   Week 148   12/27/2015   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   32.23
4252   149   Week 149     1/3/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.87   41.16
4252   150   Week 150    1/10/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   28.84
4252   151   Week 151    1/17/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.95
4252   152   Week 152    1/24/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.82   40.63
4252   153   Week 153    1/31/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.09
4252   154   Week 154     2/7/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.17   44.25
4252   155   Week 155    2/14/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.11
4252   156   Week 156    2/21/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   29.16
4252   158   Week 158     3/6/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    38.6
4252   159   Week 159    3/13/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   26.09
4252   160   Week 160    3/20/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.97
4252   161   Week 161    3/27/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.32   45.96
4252   162   Week 162     4/3/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.68
4252   163   Week 163    4/10/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.95    41.9
4252   164   Week 164    4/17/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.04
4252   165   Week 165    4/24/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.81   40.59
4252   166   Week 166     5/1/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.51
4252   167   Week 167     5/8/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.89
4252   168   Week 168    5/15/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.92
4252   169   Week 169    5/22/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER    9.1   43.52
4252   170   Week 170    5/29/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.52
4252   171   Week 171     6/5/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.89   41.32
4252   172   Week 172    6/12/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   34.82
4252   173   Week 173    6/19/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75      29
4252   174   Week 174    6/26/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   34.48
4252   175   Week 175     7/3/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.27
4252   176   Week 176    7/10/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.75
4252   177   Week 177    7/17/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75     8.6
4252   181   Week 181    8/14/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.68
4252   182   Week 182    8/21/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.52
4252   183   Week 183    8/28/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    37.1
4252   184   Week 184     9/4/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.94   41.81
4252   185   Week 185    9/11/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.81   40.59
4252   186   Week 186    9/18/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.83   40.76
4252   188   Week 188    10/2/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.71
4252   189   Week 189    10/9/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.78
4252   190   Week 190   10/16/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    34.7
4252   191   Week 191   10/23/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER    8.8   40.49
4252   192   Week 192   10/30/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.81
4252   193   Week 193    11/6/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.04   42.82
4252   194   Week 194   11/13/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.49
4252   195   Week 195   11/20/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   29.44
4252   196   Week 196   11/27/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.17
4252   197   Week 197    12/4/2016   Southern   Mark Livingston   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.78
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4252   198   Week 198   12/11/2016   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.52
4252   199   Week 199   12/18/2016   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   30.09
4252   200   Week 200   12/25/2016   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   31.13
4252   201   Week 201     1/1/2017   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.27
4252   202   Week 202     1/8/2017   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75      38
4252   203   Week 203    1/15/2017   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.74
4252   204   Week 204    1/22/2017   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.91
4252   205   Week 205    1/29/2017   Southern   Mark Livingston      36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   18.25
4252   205   Week 205    1/29/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   17.11
4252   206   Week 206     2/5/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.34   46.28
4252   207   Week 207    2/12/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.35
4252   208   Week 208    2/19/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.07
4252   209   Week 209    2/26/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.48
4252   210   Week 210     3/5/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   34.93
4252   211   Week 211    3/12/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    35.5
4252   212   Week 212    3/19/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   34.34
4252   213   Week 213    3/26/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.52
4252   214   Week 214     4/2/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.61
4252   216   Week 216    4/16/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.82   40.62
4252   217   Week 217    4/23/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.82
4252   218   Week 218    4/30/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   35.27
4252   219   Week 219     5/7/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   39.43
4252   220   Week 220    5/14/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   38.88
4252   221   Week 221    5/21/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.85
4252   222   Week 222    5/28/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   19.22
4252   222   Week 222    5/28/2017   Southern   MP Southern Region   36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   18.37
4252   223   Week 223     6/4/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   37.98
4252   224   Week 224    6/11/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    33.1
4252   225   Week 225    6/18/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   32.49
4252   226   Week 226    6/25/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   35.63
4252   227   Week 227     7/2/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   35.55
4252   228   Week 228     7/9/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   26.54
4252   229   Week 229    7/16/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   36.98
4252   230   Week 230    7/23/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75    36.8
4252   231   Week 231    7/30/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.75   33.81
4252   232   Week 232     8/6/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   8.79   40.37
4252   233   Week 233    8/13/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.05   36.46
4252   234   Week 234    8/20/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   30.57
4252   235   Week 235    8/27/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   24.11
4252   236   Week 236     9/3/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   37.12
4252   237   Week 237    9/10/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   39.79
4252   238   Week 238    9/17/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.36   40.98
4252   239   Week 239    9/24/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25    39.7
4252   240   Week 240    10/1/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.59   43.12
4252   241   Week 241    10/8/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   37.31
4252   242   Week 242   10/15/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.28   40.24
4252   243   Week 243   10/22/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.28   40.23
4252   244   Week 244   10/29/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   36.46
4252   245   Week 245    11/5/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.36      41
4252   246   Week 246   11/12/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER    9.3   40.45
4252   247   Week 247   11/19/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   24.78
4252   248   Week 248   11/26/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER   9.25   38.53
4252   249   Week 249    12/3/2017   Southern   DO Jay White         36   PAS   PAS533   291322   JOSE   RAMIREZ   JOSE RAMIREZ   DELIVERY DRIVER    9.4   41.38
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4252   250   Week 250   12/10/2017   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.54   42.64
4252   252   Week 252   12/24/2017   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   39.99
4252   253   Week 253   12/31/2017   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   36.81
4252   254   Week 254     1/7/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   37.79
4252   255   Week 255    1/14/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   38.22
4252   256   Week 256    1/21/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   38.26
4252   257   Week 257    1/28/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.68   44.12
4252   258   Week 258     2/4/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.31   40.49
4252   259   Week 259    2/11/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   39.79
4252   260   Week 260    2/18/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.54   42.69
4252   261   Week 261    2/25/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   37.24
4252   262   Week 262     3/4/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   38.08
4252   263   Week 263    3/11/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   37.13
4252   264   Week 264    3/18/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.38   41.14
4252   266   Week 266     4/1/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25   37.87
4252   267   Week 267     4/8/2018   Southern   DO Jay White      36   PAS   PAS533   291322   JOSE    RAMIREZ   JOSE RAMIREZ    DELIVERY DRIVER   9.25    9.35
2670   105   Week 105     3/1/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.77
2670   106   Week 106     3/8/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.26
2670   109   Week 109    3/29/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   15.62
2670   110   Week 110     4/5/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   19.28
2670   111   Week 111    4/12/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   17.45
2670   112   Week 112    4/19/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   17.94
2670   113   Week 113    4/26/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   16.92
2670   114   Week 114     5/3/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   24.35
2670   115   Week 115    5/10/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   24.83
2670   116   Week 116    5/17/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   11.27
2670   117   Week 117    5/24/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.06
2670   118   Week 118    5/31/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.54
2670   119   Week 119     6/7/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.46
2670   120   Week 120    6/14/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    7.88
2670   121   Week 121    6/21/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   11.12
2670   122   Week 122    6/28/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    9.54
2670   123   Week 123     7/5/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   11.11
2670   124   Week 124    7/12/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   17.41
2670   125   Week 125    7/19/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.25
2670   126   Week 126    7/26/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   10.52
2670   127   Week 127     8/2/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.29
2670   128   Week 128     8/9/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   22.19
2670   129   Week 129    8/16/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.65
2670   130   Week 130    8/23/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    9.97
2670   131   Week 131    8/30/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    6.98
2670   135   Week 135    9/27/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   18.32
2670   136   Week 136    10/4/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    5.05
2670   138   Week 138   10/18/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   23.55
2670   139   Week 139   10/25/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   16.28
2670   140   Week 140    11/1/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   11.76
2670   141   Week 141    11/8/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.03
2670   142   Week 142   11/15/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.88
2670   144   Week 144   11/29/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   15.88
2670   145   Week 145    12/6/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    13.2
2670   146   Week 146   12/13/2015   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    7.78
2670   149   Week 149     1/3/2016   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    4.25
2670   150   Week 150    1/10/2016   Southern   Mark Livingston   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   10.43
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2670   151   Week 151    1/17/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   17.33
2670   152   Week 152    1/24/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   22.02
2670   153   Week 153    1/31/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    7.87
2670   154   Week 154     2/7/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.85
2670   155   Week 155    2/14/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.81
2670   156   Week 156    2/21/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    9.69
2670   157   Week 157    2/28/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    4.92
2670   158   Week 158     3/6/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.39
2670   159   Week 159    3/13/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     5.1
2670   160   Week 160    3/20/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    9.26
2670   161   Week 161    3/27/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    4.78
2670   162   Week 162     4/3/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.67
2670   163   Week 163    4/10/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.19
2670   164   Week 164    4/17/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   17.13
2670   165   Week 165    4/24/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   13.38
2670   166   Week 166     5/1/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     9.9
2670   167   Week 167     5/8/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    4.75
2670   168   Week 168    5/15/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   12.56
2670   169   Week 169    5/22/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    9.13
2670   170   Week 170    5/29/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     4.8
2670   171   Week 171     6/5/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    4.22
2670   172   Week 172    6/12/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     7.8
2670   173   Week 173    6/19/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    6.92
2670   174   Week 174    6/26/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    8.49
2670   178   Week 178    7/24/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    3.27
2670   179   Week 179    7/31/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    6.67
2670   180   Week 180     8/7/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   16.42
2670   181   Week 181    8/14/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   16.11
2670   182   Week 182    8/21/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    2.63
2670   183   Week 183    8/28/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.37
2670   184   Week 184     9/4/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     4.9
2670   185   Week 185    9/11/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   15.62
2670   186   Week 186    9/18/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   15.97
2670   187   Week 187    9/25/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.67
2670   188   Week 188    10/2/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5   14.64
2670   189   Week 189    10/9/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    5.77
2670   190   Week 190   10/16/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5     7.5
2670   191   Week 191   10/23/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER    9.5    10.6
2670   192   Week 192   10/30/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.66      12
2670   193   Week 193    11/6/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.95
2670   194   Week 194   11/13/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.99
2670   195   Week 195   11/20/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.13
2670   196   Week 196   11/27/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    14.2
2670   197   Week 197    12/4/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.75
2670   198   Week 198   12/11/2016   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    5.95
2670   201   Week 201     1/1/2017   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.06
2670   202   Week 202     1/8/2017   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75     6.5
2670   203   Week 203    1/15/2017   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   17.12
2670   204   Week 204    1/22/2017   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.23
2670   205   Week 205    1/29/2017   Southern   Mark Livingston      36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.28
2670   206   Week 206     2/5/2017   Southern   MP Southern Region   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.75
2670   207   Week 207    2/12/2017   Southern   MP Southern Region   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.82
2670   208   Week 208    2/19/2017   Southern   MP Southern Region   36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.48
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2670   209   Week 209    2/26/2017   Southern   Mark Livingston      167   BTN   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.59
2670   209   Week 209    2/26/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75     7.5
2670   210   Week 210     3/5/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.43
2670   212   Week 212    3/19/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.66
2670   213   Week 213    3/26/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.05
2670   214   Week 214     4/2/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    6.52
2670   215   Week 215     4/9/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    8.01
2670   216   Week 216    4/16/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    8.42
2670   217   Week 217    4/23/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   16.11
2670   218   Week 218    4/30/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.47
2670   219   Week 219     5/7/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.62
2670   220   Week 220    5/14/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    10.3
2670   221   Week 221    5/21/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.99
2670   222   Week 222    5/28/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.21
2670   222   Week 222    5/28/2017   Southern   MP Southern Region    36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    4.13
2670   223   Week 223     6/4/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   14.71
2670   224   Week 224    6/11/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.08
2670   225   Week 225    6/18/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.87
2670   227   Week 227     7/2/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.97
2670   228   Week 228     7/9/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.14
2670   229   Week 229    7/16/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   13.15
2670   230   Week 230    7/23/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.95
2670   231   Week 231    7/30/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   12.91
2670   232   Week 232     8/6/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    13.1
2670   233   Week 233    8/13/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   15.99
2670   234   Week 234    8/20/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75     8.8
2670   236   Week 236     9/3/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    4.15
2670   237   Week 237    9/10/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   14.73
2670   238   Week 238    9/17/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    15.9
2670   239   Week 239    9/24/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   19.78
2670   240   Week 240    10/1/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.41
2670   241   Week 241    10/8/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.92
2670   242   Week 242   10/15/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    6.53
2670   243   Week 243   10/22/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    6.85
2670   244   Week 244   10/29/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.35
2670   245   Week 245    11/5/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   16.43
2670   246   Week 246   11/12/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.63
2670   248   Week 248   11/26/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.97
2670   249   Week 249    12/3/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   20.86
2670   250   Week 250   12/10/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   14.22
2670   251   Week 251   12/17/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    9.37
2670   253   Week 253   12/31/2017   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.68
2670   254   Week 254     1/7/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.36
2670   255   Week 255    1/14/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   10.81
2670   256   Week 256    1/21/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   14.88
2670   257   Week 257    1/28/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    7.87
2670   258   Week 258     2/4/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   15.47
2670   259   Week 259    2/11/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   18.18
2670   260   Week 260    2/18/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   11.73
2670   261   Week 261    2/25/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75     5.3
2670   262   Week 262     3/4/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   12.22
2670   264   Week 264    3/18/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75    3.55
2670   265   Week 265    3/25/2018   Southern   DO Jay White          36   PAS   PAS550   390885   JULIE   JOHNSON   JULIE JOHNSON   DELIVERY DRIVER   9.75   14.96
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2670   266   Week 266     4/1/2018   Southern   DO Jay White      36   PAS   PAS550   390885   JULIE     JOHNSON      JULIE JOHNSON        DELIVERY DRIVER   9.75    15.9
2670   267   Week 267     4/8/2018   Southern   DO Jay White      36   PAS   PAS550   390885   JULIE     JOHNSON      JULIE JOHNSON        DELIVERY DRIVER   9.75    4.27
1882   105   Week 105     3/1/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   22.19
1882   106   Week 106     3/8/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   18.17
1882   107   Week 107    3/15/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   10.74
1882   108   Week 108    3/22/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   25.16
1882   109   Week 109    3/29/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   17.27
1882   110   Week 110     4/5/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   15.47
1882   111   Week 111    4/12/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75    18.6
1882   112   Week 112    4/19/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   18.95
1882   113   Week 113    4/26/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   21.81
1882   114   Week 114     5/3/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   20.18
1882   115   Week 115    5/10/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   18.86
1882   116   Week 116    5/17/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   16.99
1882   117   Week 117    5/24/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75    20.7
1882   118   Week 118    5/31/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER   7.75   26.06
1882   119   Week 119     6/7/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    7.9   17.33
1882   120   Week 120    6/14/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   24.72
1882   121   Week 121    6/21/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   10.77
1882   122   Week 122    6/28/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   18.75
1882   123   Week 123     7/5/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   14.45
1882   124   Week 124    7/12/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   12.32
1882   125   Week 125    7/19/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   23.82
1882   126   Week 126    7/26/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   22.33
1882   127   Week 127     8/2/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   17.01
1882   128   Week 128     8/9/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   23.28
1882   129   Week 129    8/16/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   26.79
1882   130   Week 130    8/23/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   16.35
1882   131   Week 131    8/30/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   16.32
1882   132   Week 132     9/6/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   18.92
1882   133   Week 133    9/13/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   16.23
1882   134   Week 134    9/20/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   23.43
1882   135   Week 135    9/27/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   18.92
1882   136   Week 136    10/4/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   25.67
1882   137   Week 137   10/11/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   15.61
1882   138   Week 138   10/18/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   19.67
1882   139   Week 139   10/25/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    9.91
1882   140   Week 140    11/1/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    17.3
1882   141   Week 141    11/8/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   18.92
1882   142   Week 142   11/15/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   17.55
1882   143   Week 143   11/22/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    6.43
1882   144   Week 144   11/29/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   22.02
1882   145   Week 145    12/6/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5   17.59
1882   146   Week 146   12/13/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    6.87
1882   147   Week 147   12/20/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    2.35
1882   148   Week 148   12/27/2015   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5     3.7
1882   149   Week 149     1/3/2016   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    6.02
1882   150   Week 150    1/10/2016   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    5.62
1882   151   Week 151    1/17/2016   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    6.74
1882   152   Week 152    1/24/2016   Southern   Mark Livingston   36   PAS   PAS570    45314   Zack      Gartman      Zack Gartman         DELIVERY DRIVER    8.5    3.25
5347   173   Week 173    6/19/2016   Southern   James Cornett     16   ARB   PAS591    48846   CHARLES   VAN TASSEL   CHARLES VAN TASSEL   DELIVERY DRIVER      9    9.88
5347   174   Week 174    6/26/2016   Southern   James Cornett     16   ARB   PAS591    48846   CHARLES   VAN TASSEL   CHARLES VAN TASSEL   DELIVERY DRIVER      9   18.68
5347   175   Week 175     7/3/2016   Southern   James Cornett     16   ARB   PAS591    48846   CHARLES   VAN TASSEL   CHARLES VAN TASSEL   DELIVERY DRIVER      9   16.83
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5347   176   Week 176    7/10/2016   Southern   James Cornett     16 ARB   PAS591   48846   CHARLES   VAN TASSEL   CHARLES VAN TASSEL   DELIVERY DRIVER   9   18.25
5347   177   Week 177    7/17/2016   Southern   James Cornett     16 ARB   PAS591   48846   CHARLES   VAN TASSEL   CHARLES VAN TASSEL   DELIVERY DRIVER   9   20.66
  66   116   Week 116    5/17/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    8.55
  66   117   Week 117    5/24/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   14.65
  66   118   Week 118    5/31/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    11.9
  66   119   Week 119     6/7/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   22.74
  66   120   Week 120    6/14/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   12.07
  66   121   Week 121    6/21/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.67
  66   122   Week 122    6/28/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   10.91
  66   123   Week 123     7/5/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   20.52
  66   124   Week 124    7/12/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   17.12
  66   125   Week 125    7/19/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   11.55
  66   126   Week 126    7/26/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   16.28
  66   127   Week 127     8/2/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   20.04
  66   128   Week 128     8/9/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.07
  66   129   Week 129    8/16/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.71
  66   130   Week 130    8/23/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    15.2
  66   131   Week 131    8/30/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.35
  66   132   Week 132     9/6/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   14.85
  66   133   Week 133    9/13/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   17.72
  66   134   Week 134    9/20/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   19.54
  66   135   Week 135    9/27/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   25.66
  66   136   Week 136    10/4/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   20.27
  66   137   Week 137   10/11/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   14.77
  66   138   Week 138   10/18/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   30.76
  66   139   Week 139   10/25/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   12.13
  66   140   Week 140    11/1/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    19.8
  66   141   Week 141    11/8/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   16.05
  66   142   Week 142   11/15/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   12.47
  66   143   Week 143   11/22/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   10.95
  66   144   Week 144   11/29/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   17.01
  66   145   Week 145    12/6/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   22.81
  66   146   Week 146   12/13/2015   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   11.12
  66   149   Week 149     1/3/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   16.99
  66   150   Week 150    1/10/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   13.49
  66   151   Week 151    1/17/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.29
  66   152   Week 152    1/24/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   14.18
  66   153   Week 153    1/31/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    17.5
  66   154   Week 154     2/7/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   20.62
  66   155   Week 155    2/14/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   15.14
  66   156   Week 156    2/21/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    12.1
  66   157   Week 157    2/28/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   13.49
  66   158   Week 158     3/6/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   16.76
  66   159   Week 159    3/13/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   15.37
  66   160   Week 160    3/20/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   15.37
  66   161   Week 161    3/27/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   28.67
  66   162   Week 162     4/3/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   18.46
  66   163   Week 163    4/10/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   14.83
  66   164   Week 164    4/17/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   12.43
  66   165   Week 165    4/24/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    18.5
  66   166   Week 166     5/1/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8    16.4
  66   167   Week 167     5/8/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   17.73
  66   168   Week 168    5/15/2016   Southern   Mark Livingston   36 PAS   PAS611   55125   TROY      AIKEN        TROY AIKEN           DELIVERY DRIVER   8   21.86
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66   169   Week 169    5/22/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER      8    13.8
66   170   Week 170    5/29/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER      8   11.54
66   171   Week 171     6/5/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER   8.31   14.12
66   172   Week 172    6/12/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   18.14
66   173   Week 173    6/19/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.74
66   174   Week 174    6/26/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    6.94
66   175   Week 175     7/3/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    7.45
66   176   Week 176    7/10/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   25.33
66   177   Week 177    7/17/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   12.13
66   178   Week 178    7/24/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   21.07
66   179   Week 179    7/31/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   16.01
66   180   Week 180     8/7/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   17.37
66   181   Week 181    8/14/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   18.12
66   182   Week 182    8/21/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   14.63
66   183   Week 183    8/28/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    8.99
66   184   Week 184     9/4/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   18.68
66   185   Week 185    9/11/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   16.35
66   186   Week 186    9/18/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5      16
66   187   Week 187    9/25/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   24.77
66   188   Week 188    10/2/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   11.64
66   189   Week 189    10/9/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   17.62
66   190   Week 190   10/16/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   17.73
66   191   Week 191   10/23/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   12.61
66   192   Week 192   10/30/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   17.04
66   193   Week 193    11/6/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    17.8
66   194   Week 194   11/13/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.16
66   195   Week 195   11/20/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    4.62
66   196   Week 196   11/27/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.13
66   197   Week 197    12/4/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    12.3
66   198   Week 198   12/11/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    11.4
66   199   Week 199   12/18/2016   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5     2.5
66   201   Week 201     1/1/2017   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.35
66   202   Week 202     1/8/2017   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   15.65
66   203   Week 203    1/15/2017   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   14.37
66   204   Week 204    1/22/2017   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   12.66
66   205   Week 205    1/29/2017   Southern   Mark Livingston      36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    6.19
66   205   Week 205    1/29/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   10.23
66   206   Week 206     2/5/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    18.4
66   207   Week 207    2/12/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   16.46
66   208   Week 208    2/19/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   15.25
66   209   Week 209    2/26/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.64
66   210   Week 210     3/5/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   14.88
66   211   Week 211    3/12/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5     5.4
66   212   Week 212    3/19/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   10.97
66   213   Week 213    3/26/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    8.87
66   214   Week 214     4/2/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    8.55
66   215   Week 215     4/9/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    9.46
66   216   Week 216    4/16/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.53
66   217   Week 217    4/23/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   13.26
66   218   Week 218    4/30/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   12.85
66   219   Week 219     5/7/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   14.22
66   220   Week 220    5/14/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5   12.09
66   221   Week 221    5/21/2017   Southern   MP Southern Region   36   PAS   PAS611   55125   TROY   AIKEN   TROY AIKEN   DELIVERY DRIVER    8.5    9.76
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 66   222   Week 222    5/28/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    2.93
 66   222   Week 222    5/28/2017   Southern   MP Southern Region    36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    3.45
 66   223   Week 223     6/4/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    14.5
 66   224   Week 224    6/11/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    9.72
 66   225   Week 225    6/18/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    7.07
 66   226   Week 226    6/25/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   12.15
 66   228   Week 228     7/9/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    11.6
 66   229   Week 229    7/16/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   10.67
 66   230   Week 230    7/23/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   11.25
 66   231   Week 231    7/30/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   12.81
 66   232   Week 232     8/6/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   11.65
 66   233   Week 233    8/13/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   13.96
 66   234   Week 234    8/20/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    10.2
 66   236   Week 236     9/3/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5     2.5
 66   237   Week 237    9/10/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   12.28
 66   238   Week 238    9/17/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5     9.6
 66   239   Week 239    9/24/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   12.68
 66   240   Week 240    10/1/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   13.23
 66   241   Week 241    10/8/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    9.75
 66   242   Week 242   10/15/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   11.85
 66   243   Week 243   10/22/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5   13.12
 66   244   Week 244   10/29/2017   Southern   DO Jay White          36   PAS   PAS611    55125   TROY    AIKEN    TROY AIKEN     DELIVERY DRIVER   8.5    6.77
892   103   Week 103    2/15/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    19.74
892   104   Week 104    2/22/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    20.37
892   105   Week 105     3/1/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    23.36
892   106   Week 106     3/8/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    16.44
892   107   Week 107    3/15/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    17.46
892   108   Week 108    3/22/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    24.65
892   109   Week 109    3/29/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    24.75
892   110   Week 110     4/5/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    17.12
892   111   Week 111    4/12/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    15.72
892   112   Week 112    4/19/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    25.15
892   113   Week 113    4/26/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    27.48
892   114   Week 114     5/3/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    27.59
892   115   Week 115    5/10/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    29.77
892   116   Week 116    5/17/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    16.12
892   117   Week 117    5/24/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    23.12
892   118   Week 118    5/31/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    24.55
892   119   Week 119     6/7/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    28.06
892   120   Week 120    6/14/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    21.85
892   121   Week 121    6/21/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    17.71
892   122   Week 122    6/28/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    21.43
892   123   Week 123     7/5/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    22.02
892   124   Week 124    7/12/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    34.86
892   125   Week 125    7/19/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    31.18
892   126   Week 126    7/26/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    22.56
892   127   Week 127     8/2/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10       11
892   128   Week 128     8/9/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10     29.8
892   129   Week 129    8/16/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    33.47
892   130   Week 130    8/23/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    29.72
892   131   Week 131    8/30/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    18.13
892   132   Week 132     9/6/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    28.03
892   133   Week 133    9/13/2015   Eastern    Max Torrence         132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER   10    29.76
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 892   134   Week 134    9/20/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   13.31
 892   135   Week 135    9/27/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   27.29
 892   136   Week 136    10/4/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   25.79
 892   137   Week 137   10/11/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   26.48
 892   138   Week 138   10/18/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10     9.8
 892   139   Week 139   10/25/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10    8.45
 892   140   Week 140    11/1/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   23.42
 892   141   Week 141    11/8/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   15.41
 892   142   Week 142   11/15/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   11.07
 892   143   Week 143   11/22/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10    5.69
 892   144   Week 144   11/29/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   19.11
 892   145   Week 145    12/6/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   11.28
 892   146   Week 146   12/13/2015   Eastern    Max Torrence     132   PBK   PBK134   198292   SHANE   CAUSEY   SHANE CAUSEY   DELIVERY DRIVER     10   17.45
4394   101   Week 101     2/1/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   13.88
4394   102   Week 102     2/8/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    21.3
4394   103   Week 103    2/15/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    24.4
4394   104   Week 104    2/22/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   28.54
4394   105   Week 105     3/1/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   27.35
4394   106   Week 106     3/8/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   27.94
4394   107   Week 107    3/15/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   26.03
4394   108   Week 108    3/22/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    8.62
4394   109   Week 109    3/29/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   18.86
4394   110   Week 110     4/5/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   26.61
4394   111   Week 111    4/12/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    4.64
4394   112   Week 112    4/19/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   19.11
4394   113   Week 113    4/26/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75       9
4394   114   Week 114     5/3/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75     5.1
4394   115   Week 115    5/10/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   19.36
4394   116   Week 116    5/17/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   20.55
4394   117   Week 117    5/24/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   11.93
4394   118   Week 118    5/31/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    23.1
4394   119   Week 119     6/7/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   12.54
4394   120   Week 120    6/14/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   17.42
4394   121   Week 121    6/21/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   18.44
4394   123   Week 123     7/5/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    8.59
4394   124   Week 124    7/12/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75   11.51
4394   125   Week 125    7/19/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    9.31
4394   127   Week 127     8/2/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    3.33
4394   128   Week 128     8/9/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    5.71
4394   129   Week 129    8/16/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    5.62
4394   130   Week 130    8/23/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    9.59
4394   131   Week 131    8/30/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    3.53
4394   132   Week 132     9/6/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    3.12
4394   133   Week 133    9/13/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    7.17
4394   134   Week 134    9/20/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    9.23
4394   135   Week 135    9/27/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    8.02
4394   136   Week 136    10/4/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    9.34
4394   138   Week 138   10/18/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    3.83
4394   139   Week 139   10/25/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    5.68
4394   140   Week 140    11/1/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    6.14
4394   141   Week 141    11/8/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75     9.3
4394   142   Week 142   11/15/2015   Eastern    Max Torrence     132   PBK   PBK289    49843   KYLE    RIVERA   KYLE RIVERA    DELIVERY DRIVER   8.75    5.95
2299   197   Week 197    12/4/2016   Southern   Bradley Hulett   181   PFL   PFL252    66862   HALEY   HELTON   HALEY HELTON   DELIVERY DRIVER    8.5   15.02
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2299   198   Week 198   12/11/2016   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   17.97
2299   199   Week 199   12/18/2016   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   11.27
2299   200   Week 200   12/25/2016   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   15.55
2299   201   Week 201     1/1/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   27.35
2299   202   Week 202     1/8/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5      26
2299   203   Week 203    1/15/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   27.99
2299   204   Week 204    1/22/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   22.82
2299   205   Week 205    1/29/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   22.38
2299   206   Week 206     2/5/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   14.23
2299   208   Week 208    2/19/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5    4.63
2299   209   Week 209    2/26/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5    24.4
2299   210   Week 210     3/5/2017   Southern   Bradley Hulett     181   PFL   PFL252   66862   HALEY       HELTON     HALEY HELTON         DELIVERY DRIVER   8.5   21.02
3747   232   Week 232     8/6/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   16.86
3747   233   Week 233    8/13/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   14.23
3747   234   Week 234    8/20/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   13.09
3747   235   Week 235    8/27/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   12.15
3747   236   Week 236     9/3/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9     7.3
3747   237   Week 237    9/10/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   21.18
3747   238   Week 238    9/17/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   11.38
3747   239   Week 239    9/24/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   13.97
3747   240   Week 240    10/1/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9     9.5
3747   241   Week 241    10/8/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   13.22
3747   242   Week 242   10/15/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   11.88
3747   243   Week 243   10/22/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   34.62
3747   244   Week 244   10/29/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9   24.79
3747   245   Week 245    11/5/2017   Southern   DO Brandon Andra   181   PFL   PFL266   71847   ALEXANDER   NASELIUS   ALEXANDER NASELIUS   DELIVERY DRIVER     9    1.37
 551   248   Week 248   11/26/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5    4.18
 551   249   Week 249    12/3/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   17.15
 551   250   Week 250   12/10/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5    21.4
 551   251   Week 251   12/17/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   11.61
 551   252   Week 252   12/24/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5     8.7
 551   253   Week 253   12/31/2017   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   26.13
 551   254   Week 254     1/7/2018   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   13.89
 551   255   Week 255    1/14/2018   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   19.82
 551   256   Week 256    1/21/2018   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   18.31
 551   257   Week 257    1/28/2018   Southern   DO Brandon Andra   181   PFL   PFL279   74192   JACOB       BOYD       JACOB BOYD           DELIVERY DRIVER   9.5   16.75
1598   163   Week 163    4/10/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   13.63
1598   164   Week 164    4/17/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   28.27
1598   164   Week 164    4/17/2016   Western    Clint McPhail      133   PHM   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9    5.02
1598   165   Week 165    4/24/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   30.46
1598   165   Week 165    4/24/2016   Western    Clint McPhail      133   PHM   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9    6.98
1598   166   Week 166     5/1/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   23.12
1598   166   Week 166     5/1/2016   Western    Clint McPhail      133   PHM   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9    4.03
1598   167   Week 167     5/8/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   24.75
1598   168   Week 168    5/15/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   33.46
1598   169   Week 169    5/22/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   32.29
1598   170   Week 170    5/29/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   22.43
1598   171   Week 171     6/5/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   32.58
1598   172   Week 172    6/12/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   30.84
1598   173   Week 173    6/19/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   29.85
1598   174   Week 174    6/26/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   22.25
1598   175   Week 175     7/3/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9   30.71
1598   176   Week 176    7/10/2016   Western    Clint McPhail      122   PHA   PHA543   61956   DEVANTE     EVANS      DEVANTE EVANS        DELIVERY DRIVER     9    16.4
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1598   177   Week 177    7/17/2016   Western   Clint McPhail   122   PHA   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   15.46
1598   178   Week 178    7/24/2016   Western   Clint McPhail   122   PHA   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   20.22
1598   179   Week 179    7/31/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   19.49
1598   180   Week 180     8/7/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   13.38
1598   181   Week 181    8/14/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   12.21
1598   182   Week 182    8/21/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   18.62
1598   183   Week 183    8/28/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   13.11
1598   184   Week 184     9/4/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9      19
1598   185   Week 185    9/11/2016   Western   Clint McPhail   180   PHS   PHA543   61956   DEVANTE   EVANS       DEVANTE EVANS      DELIVERY DRIVER      9   18.74
1060   101   Week 101     2/1/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    3.72
1060   102   Week 102     2/8/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05     2.5
1060   103   Week 103    2/15/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    6.49
1060   104   Week 104    2/22/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05     3.3
1060   105   Week 105     3/1/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    7.63
1060   106   Week 106     3/8/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    2.48
1060   107   Week 107    3/15/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    5.69
1060   108   Week 108    3/22/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    5.38
1060   110   Week 110     4/5/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    6.11
1060   111   Week 111    4/12/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05   12.93
1060   112   Week 112    4/19/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    7.85
1060   113   Week 113    4/26/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    6.37
1060   114   Week 114     5/3/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    7.85
1060   115   Week 115    5/10/2015   Western   Clint McPhail   119   PHB   PHB540   32086   JEANNE    COLQUETTE   JEANNE COLQUETTE   DELIVERY DRIVER   8.05    8.22
1464   101   Week 101     2/1/2015   Western   Clint McPhail   119   PHB   PHB554   32112   AMANDA    DRIGGERS    AMANDA DRIGGERS    DELIVERY DRIVER   8.05   18.32
1464   102   Week 102     2/8/2015   Western   Clint McPhail   119   PHB   PHB554   32112   AMANDA    DRIGGERS    AMANDA DRIGGERS    DELIVERY DRIVER   8.05   10.14
1464   104   Week 104    2/22/2015   Western   Clint McPhail   119   PHB   PHB554   32112   AMANDA    DRIGGERS    AMANDA DRIGGERS    DELIVERY DRIVER   8.05   13.67
1464   105   Week 105     3/1/2015   Western   Clint McPhail   119   PHB   PHB554   32112   AMANDA    DRIGGERS    AMANDA DRIGGERS    DELIVERY DRIVER   8.05    6.57
4342   170   Week 170    5/29/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    18.8
4342   171   Week 171     6/5/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    3.17
4342   172   Week 172    6/12/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    8.52
4342   173   Week 173    6/19/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    9.84
4342   174   Week 174    6/26/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25     4.2
4342   176   Week 176    7/10/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    3.43
4342   177   Week 177    7/17/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    6.75
4342   178   Week 178    7/24/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    6.01
4342   179   Week 179    7/31/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25    6.73
4342   180   Week 180     8/7/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25   17.92
4342   181   Week 181    8/14/2016   Western   Clint McPhail   119   PHB   PHB594   32166   LILLIAN   REYNOSO     LILLIAN REYNOSO    DELIVERY DRIVER   8.25     4.9
2684   240   Week 240    10/1/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11    8.23
2684   244   Week 244   10/29/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11    8.48
2684   245   Week 245    11/5/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11   11.72
2684   246   Week 246   11/12/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11   15.92
2684   247   Week 247   11/19/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11   13.86
2684   248   Week 248   11/26/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11   19.57
2684   249   Week 249    12/3/2017   Western   DO Jay White    133   PHM   PHM564   54205   NICOLLE   JOHNSON     NICOLLE JOHNSON    DELIVERY DRIVER     11    6.98
1648   170   Week 170    5/29/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25    18.2
1648   171   Week 171     6/5/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25    11.5
1648   172   Week 172    6/12/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25   11.93
1648   173   Week 173    6/19/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25   18.81
1648   174   Week 174    6/26/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25   12.33
1648   175   Week 175     7/3/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25    8.98
1648   176   Week 176    7/10/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25   19.07
1648   177   Week 177    7/17/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH    FENO        HANNAH FENO        DELIVERY DRIVER   8.25   15.87
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1648   178   Week 178    7/24/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25    20.7
1648   179   Week 179    7/31/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   25.95
1648   180   Week 180     8/7/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   24.79
1648   181   Week 181    8/14/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   20.68
1648   182   Week 182    8/21/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25      20
1648   183   Week 183    8/28/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   30.68
1648   184   Week 184     9/4/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   15.14
1648   185   Week 185    9/11/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   19.67
1648   186   Week 186    9/18/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25    18.9
1648   187   Week 187    9/25/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   16.29
1648   190   Week 190   10/16/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   37.62
1648   191   Week 191   10/23/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   23.66
1648   192   Week 192   10/30/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   39.43
1648   193   Week 193    11/6/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   28.66
1648   194   Week 194   11/13/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   23.15
1648   195   Week 195   11/20/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   17.09
1648   196   Week 196   11/27/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   15.34
1648   197   Week 197    12/4/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   20.44
1648   198   Week 198   12/11/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   16.18
1648   199   Week 199   12/18/2016   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER   8.25   26.02
1648   201   Week 201     1/1/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10   15.63
1648   202   Week 202     1/8/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10   21.15
1648   203   Week 203    1/15/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10   19.81
1648   204   Week 204    1/22/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10   13.41
1648   205   Week 205    1/29/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    7.35
1648   206   Week 206     2/5/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    2.55
1648   207   Week 207    2/12/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    15.7
1648   208   Week 208    2/19/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    6.57
1648   209   Week 209    2/26/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    5.85
1648   210   Week 210     3/5/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    4.65
1648   211   Week 211    3/12/2017   Western   Clint McPhail   133   PHM   PHM617   62526   HANNAH   FENO     HANNAH FENO    DELIVERY DRIVER     10    4.38
4051   180   Week 180     8/7/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   34.61
4051   181   Week 181    8/14/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   19.88
4051   182   Week 182    8/21/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   28.91
4051   183   Week 183    8/28/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25    18.5
4051   184   Week 184     9/4/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   14.76
4051   185   Week 185    9/11/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   27.03
4051   186   Week 186    9/18/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   23.78
4051   187   Week 187    9/25/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   15.86
4051   188   Week 188    10/2/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   24.13
4051   189   Week 189    10/9/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   23.16
4051   190   Week 190   10/16/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   37.83
4051   191   Week 191   10/23/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   24.94
4051   192   Week 192   10/30/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   31.18
4051   193   Week 193    11/6/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   22.13
4051   194   Week 194   11/13/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   16.73
4051   196   Week 196   11/27/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   27.56
4051   197   Week 197    12/4/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   24.13
4051   198   Week 198   12/11/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   21.88
4051   199   Week 199   12/18/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25   26.67
4051   200   Week 200   12/25/2016   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER   8.25    2.63
4051   201   Week 201     1/1/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER     10    10.4
4051   202   Week 202     1/8/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID    PETERS   DAVID PETERS   DELIVERY DRIVER     10   13.48
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4051   203   Week 203    1/15/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   19.59
4051   204   Week 204    1/22/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   39.39
4051   205   Week 205    1/29/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   26.18
4051   206   Week 206     2/5/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   33.43
4051   207   Week 207    2/12/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   22.03
4051   208   Week 208    2/19/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   33.05
4051   209   Week 209    2/26/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   34.81
4051   210   Week 210     3/5/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   23.25
4051   211   Week 211    3/12/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    23.9
4051   212   Week 212    3/19/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   23.53
4051   213   Week 213    3/26/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   36.85
4051   214   Week 214     4/2/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   30.52
4051   215   Week 215     4/9/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   33.54
4051   216   Week 216    4/16/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   19.68
4051   217   Week 217    4/23/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   12.33
4051   218   Week 218    4/30/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    38.7
4051   219   Week 219     5/7/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   28.02
4051   220   Week 220    5/14/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   34.61
4051   221   Week 221    5/21/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    29.7
4051   222   Week 222    5/28/2017   Western   Clint McPhail   133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    3.77
4051   222   Week 222    5/28/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   14.62
4051   223   Week 223     6/4/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    24.3
4051   224   Week 224    6/11/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   15.27
4051   225   Week 225    6/18/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   27.38
4051   226   Week 226    6/25/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   16.94
4051   227   Week 227     7/2/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   22.44
4051   228   Week 228     7/9/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   26.47
4051   229   Week 229    7/16/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   35.68
4051   230   Week 230    7/23/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   13.38
4051   231   Week 231    7/30/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   39.13
4051   232   Week 232     8/6/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   30.96
4051   233   Week 233    8/13/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   33.56
4051   234   Week 234    8/20/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   39.53
4051   235   Week 235    8/27/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    15.4
4051   236   Week 236     9/3/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   22.99
4051   237   Week 237    9/10/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   30.82
4051   238   Week 238    9/17/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   38.03
4051   239   Week 239    9/24/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   32.79
4051   240   Week 240    10/1/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   38.85
4051   241   Week 241    10/8/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   38.48
4051   242   Week 242   10/15/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   30.84
4051   243   Week 243   10/22/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   35.16
4051   244   Week 244   10/29/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   10.58
4051   245   Week 245    11/5/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   23.02
4051   246   Week 246   11/12/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10   18.07
4051   247   Week 247   11/19/2017   Western   DO Jay White    133   PHM   PHM628   64727   DAVID   PETERS   DAVID PETERS   DELIVERY DRIVER     10    9.92
2279   105   Week 105     3/1/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.34
2279   106   Week 106     3/8/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05     3.4
2279   107   Week 107    3/15/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   12.48
2279   108   Week 108    3/22/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   20.14
2279   109   Week 109    3/29/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   13.66
2279   110   Week 110     4/5/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   15.91
2279   111   Week 111    4/12/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.65
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2279   112   Week 112    4/19/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.11
2279   113   Week 113    4/26/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   14.62
2279   114   Week 114     5/3/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   22.03
2279   115   Week 115    5/10/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05      20
2279   116   Week 116    5/17/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    9.74
2279   117   Week 117    5/24/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05      10
2279   118   Week 118    5/31/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   18.91
2279   119   Week 119     6/7/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   11.86
2279   120   Week 120    6/14/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.21
2279   121   Week 121    6/21/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   14.06
2279   124   Week 124    7/12/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    1.98
2279   130   Week 130    8/23/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.15
2279   131   Week 131    8/30/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   10.15
2279   132   Week 132     9/6/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.33
2279   133   Week 133    9/13/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   14.68
2279   134   Week 134    9/20/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   21.42
2279   135   Week 135    9/27/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   12.77
2279   136   Week 136    10/4/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.76
2279   137   Week 137   10/11/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.05
2279   138   Week 138   10/18/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   25.05
2279   139   Week 139   10/25/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.98
2279   140   Week 140    11/1/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   21.54
2279   141   Week 141    11/8/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.57
2279   142   Week 142   11/15/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.25
2279   143   Week 143   11/22/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    9.03
2279   144   Week 144   11/29/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   18.97
2279   145   Week 145    12/6/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    3.22
2279   146   Week 146   12/13/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    5.51
2279   147   Week 147   12/20/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    9.05
2279   148   Week 148   12/27/2015   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    2.97
2279   149   Week 149     1/3/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.03
2279   150   Week 150    1/10/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.76
2279   151   Week 151    1/17/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.85
2279   152   Week 152    1/24/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   22.28
2279   153   Week 153    1/31/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   13.75
2279   154   Week 154     2/7/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   20.83
2279   155   Week 155    2/14/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.86
2279   156   Week 156    2/21/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.35
2279   157   Week 157    2/28/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05    15.4
2279   158   Week 158     3/6/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   20.61
2279   159   Week 159    3/13/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   20.53
2279   160   Week 160    3/20/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05      13
2279   161   Week 161    3/27/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   21.24
2279   162   Week 162     4/3/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   18.79
2279   163   Week 163    4/10/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   18.18
2279   164   Week 164    4/17/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   19.09
2279   165   Week 165    4/24/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   16.88
2279   166   Week 166     5/1/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.43
2279   167   Week 167     5/8/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   14.92
2279   168   Week 168    5/15/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   17.94
2279   169   Week 169    5/22/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   12.38
2279   170   Week 170    5/29/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   14.93
2279   171   Week 171     6/5/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON   HAYNES   JASON HAYNES   DELIVERY DRIVER   8.05   13.33
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2279   172   Week 172    6/12/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   13.04
2279   173   Week 173    6/19/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05    9.78
2279   174   Week 174    6/26/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05    8.83
2279   175   Week 175     7/3/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05    8.96
2279   176   Week 176    7/10/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   16.39
2279   177   Week 177    7/17/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   13.03
2279   178   Week 178    7/24/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   12.35
2279   179   Week 179    7/31/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.01
2279   180   Week 180     8/7/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   13.04
2279   181   Week 181    8/14/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   10.67
2279   182   Week 182    8/21/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   10.31
2279   183   Week 183    8/28/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05     8.1
2279   184   Week 184     9/4/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.81
2279   185   Week 185    9/11/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.34
2279   186   Week 186    9/18/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.22
2279   187   Week 187    9/25/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   16.56
2279   188   Week 188    10/2/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.18
2279   189   Week 189    10/9/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   17.37
2279   190   Week 190   10/16/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05    16.5
2279   191   Week 191   10/23/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   14.66
2279   192   Week 192   10/30/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   15.17
2279   193   Week 193    11/6/2016   Western   Clint McPhail   179   PHR   PHR013   37257   JASON     HAYNES       JASON HAYNES         DELIVERY DRIVER   8.05   11.58
1468   107   Week 107    3/15/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   39.91
1468   108   Week 108    3/22/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   39.79
1468   109   Week 109    3/29/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   29.76
1468   110   Week 110     4/5/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   39.48
1468   111   Week 111    4/12/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   39.74
1468   112   Week 112    4/19/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   35.37
1468   113   Week 113    4/26/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   35.96
1468   114   Week 114     5/3/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   35.66
1468   115   Week 115    5/10/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5    39.9
1468   116   Week 116    5/17/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5    33.3
1468   117   Week 117    5/24/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   36.15
1468   118   Week 118    5/31/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   36.39
1468   119   Week 119     6/7/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   34.33
1468   120   Week 120    6/14/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   32.31
1468   121   Week 121    6/21/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   33.86
1468   122   Week 122    6/28/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   32.13
1468   123   Week 123     7/5/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   33.94
1468   124   Week 124    7/12/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5    39.3
1468   125   Week 125    7/19/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   37.88
1468   126   Week 126    7/26/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   32.66
1468   127   Week 127     8/2/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   37.02
1468   128   Week 128     8/9/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5    39.3
1468   129   Week 129    8/16/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   37.89
1468   130   Week 130    8/23/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   32.34
1468   131   Week 131    8/30/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   26.14
1468   132   Week 132     9/6/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5    39.2
1468   133   Week 133    9/13/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   29.27
1468   134   Week 134    9/20/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   36.03
1468   135   Week 135    9/27/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   32.65
1468   136   Week 136    10/4/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   31.69
1468   137   Week 137   10/11/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    8.5   27.42
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1468   138   Week 138   10/18/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.37
1468   139   Week 139   10/25/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   31.84
1468   140   Week 140    11/1/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   30.91
1468   141   Week 141    11/8/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.85
1468   142   Week 142   11/15/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.53
1468   143   Week 143   11/22/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   17.38
1468   144   Week 144   11/29/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   29.94
1468   145   Week 145    12/6/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.42
1468   146   Week 146   12/13/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   31.91
1468   147   Week 147   12/20/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   18.53
1468   148   Week 148   12/27/2015   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   16.17
1468   149   Week 149     1/3/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.65
1468   150   Week 150    1/10/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   37.49
1468   151   Week 151    1/17/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   38.68
1468   152   Week 152    1/24/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   34.63
1468   153   Week 153    1/31/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   31.38
1468   154   Week 154     2/7/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   34.83
1468   155   Week 155    2/14/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   35.32
1468   156   Week 156    2/21/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   37.86
1468   157   Week 157    2/28/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   38.36
1468   158   Week 158     3/6/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   31.85
1468   159   Week 159    3/13/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.71
1468   160   Week 160    3/20/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.81
1468   161   Week 161    3/27/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   33.85
1468   162   Week 162     4/3/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.47
1468   163   Week 163    4/10/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.88
1468   164   Week 164    4/17/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.65
1468   165   Week 165    4/24/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.87
1468   166   Week 166     5/1/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   39.89
1468   167   Week 167     5/8/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.52
1468   168   Week 168    5/15/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   36.96
1468   169   Week 169    5/22/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   29.87
1468   170   Week 170    5/29/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   29.82
1468   171   Week 171     6/5/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   30.64
1468   172   Week 172    6/12/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   30.04
1468   173   Week 173    6/19/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   26.61
1468   174   Week 174    6/26/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   19.17
1468   175   Week 175     7/3/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   21.93
1468   176   Week 176    7/10/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   27.41
1468   177   Week 177    7/17/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   30.77
1468   178   Week 178    7/24/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5    37.1
1468   179   Week 179    7/31/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   25.33
1468   180   Week 180     8/7/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   32.52
1468   181   Week 181    8/14/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   28.45
1468   182   Week 182    8/21/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   32.13
1468   183   Week 183    8/28/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   8.5   26.36
1468   184   Week 184     9/4/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5   31.22
1468   185   Week 185    9/11/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5   33.94
1468   186   Week 186    9/18/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5   33.05
1468   187   Week 187    9/25/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5   34.17
1468   188   Week 188    10/2/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5    39.8
1468   189   Week 189    10/9/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5   36.68
1468   190   Week 190   10/16/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   9.5    39.8
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1468   191   Week 191   10/23/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   39.76
1468   192   Week 192   10/30/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER    9.55   40.41
1468   193   Week 193    11/6/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   36.08
1468   194   Week 194   11/13/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   39.45
1468   195   Week 195   11/20/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   25.67
1468   196   Week 196   11/27/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   34.33
1468   197   Week 197    12/4/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   39.33
1468   198   Week 198   12/11/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   37.28
1468   199   Week 199   12/18/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   15.09
1468   200   Week 200   12/25/2016   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     9.5   16.63
1468   201   Week 201     1/1/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    25.9
1468   202   Week 202     1/8/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    30.5
1468   203   Week 203    1/15/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   36.98
1468   204   Week 204    1/22/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   39.33
1468   205   Week 205    1/29/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   39.32
1468   206   Week 206     2/5/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   27.57
1468   207   Week 207    2/12/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   38.14
1468   208   Week 208    2/19/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    36.8
1468   209   Week 209    2/26/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   39.92
1468   210   Week 210     3/5/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   39.72
1468   211   Week 211    3/12/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   38.28
1468   212   Week 212    3/19/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   39.52
1468   213   Week 213    3/26/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   35.04
1468   214   Week 214     4/2/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.47   44.14
1468   215   Week 215     4/9/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   35.73
1468   216   Week 216    4/16/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   38.78
1468   217   Week 217    4/23/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   38.93
1468   218   Week 218    4/30/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   36.25
1468   219   Week 219     5/7/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.02   40.17
1468   220   Week 220    5/14/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   37.87
1468   221   Week 221    5/21/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   26.89
1468   222   Week 222    5/28/2017   Western   Clint McPhail   179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    8.93
1468   222   Week 222    5/28/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    18.8
1468   223   Week 223     6/4/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   31.89
1468   224   Week 224    6/11/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   30.06
1468   225   Week 225    6/18/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   26.88
1468   226   Week 226    6/25/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   25.67
1468   227   Week 227     7/2/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   16.64
1468   228   Week 228     7/9/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   31.97
1468   229   Week 229    7/16/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   30.96
1468   230   Week 230    7/23/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   29.89
1468   231   Week 231    7/30/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   25.23
1468   232   Week 232     8/6/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   34.48
1468   233   Week 233    8/13/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   34.66
1468   234   Week 234    8/20/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   33.12
1468   235   Week 235    8/27/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   25.76
1468   236   Week 236     9/3/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   23.09
1468   237   Week 237    9/10/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   25.67
1468   238   Week 238    9/17/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   25.76
1468   239   Week 239    9/24/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10    29.9
1468   240   Week 240    10/1/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   32.98
1468   241   Week 241    10/8/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   32.04
1468   242   Week 242   10/15/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER      10   38.73
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1468   243   Week 243   10/22/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   33.22
1468   244   Week 244   10/29/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   25.09
1468   245   Week 245    11/5/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   32.79
1468   246   Week 246   11/12/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   33.61
1468   247   Week 247   11/19/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   17.32
1468   248   Week 248   11/26/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   20.06
1468   249   Week 249    12/3/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   24.89
1468   250   Week 250   12/10/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   31.62
1468   251   Week 251   12/17/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   24.39
1468   252   Week 252   12/24/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER     10   10.48
1468   253   Week 253   12/31/2017   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   21.06
1468   254   Week 254     1/7/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   33.69
1468   255   Week 255    1/14/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   33.54
1468   256   Week 256    1/21/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   32.28
1468   257   Week 257    1/28/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5    31.9
1468   258   Week 258     2/4/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   34.89
1468   259   Week 259    2/11/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   32.01
1468   260   Week 260    2/18/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   33.65
1468   261   Week 261    2/25/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   24.07
1468   262   Week 262     3/4/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   24.13
1468   263   Week 263    3/11/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   30.97
1468   264   Week 264    3/18/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   38.17
1468   265   Week 265    3/25/2018   Western   DO Jay White    179   PHR   PHR019   37260   WILLIAM   DROUILLARD   WILLIAM DROUILLARD   DELIVERY DRIVER   10.5   22.84
3529   104   Week 104    2/22/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   18.06
3529   105   Week 105     3/1/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   25.05
3529   106   Week 106     3/8/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   21.24
3529   107   Week 107    3/15/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   22.83
3529   108   Week 108    3/22/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   29.68
3529   109   Week 109    3/29/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   27.41
3529   110   Week 110     4/5/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   22.63
3529   111   Week 111    4/12/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   22.32
3529   112   Week 112    4/19/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   22.59
3529   113   Week 113    4/26/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   24.97
3529   114   Week 114     5/3/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   17.28
3529   115   Week 115    5/10/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   19.09
3529   116   Week 116    5/17/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   23.48
3529   117   Week 117    5/24/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   21.93
3529   118   Week 118    5/31/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   17.78
3529   119   Week 119     6/7/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1    12.8
3529   120   Week 120    6/14/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   21.85
3529   121   Week 121    6/21/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1      10
3529   122   Week 122    6/28/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1    7.53
3529   123   Week 123     7/5/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   11.37
3529   124   Week 124    7/12/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1    8.27
3529   125   Week 125    7/19/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   24.93
3529   126   Week 126    7/26/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   33.93
3529   127   Week 127     8/2/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   22.74
3529   128   Week 128     8/9/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   21.95
3529   129   Week 129    8/16/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   20.19
3529   130   Week 130    8/23/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   12.44
3529   131   Week 131    8/30/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   17.86
3529   132   Week 132     9/6/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   18.29
3529   133   Week 133    9/13/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY     MILLER       KELLY MILLER         DELIVERY DRIVER    8.1   16.11
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3529   134   Week 134    9/20/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   13.84
3529   135   Week 135    9/27/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1    9.18
3529   136   Week 136    10/4/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   14.02
3529   137   Week 137   10/11/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   25.35
3529   138   Week 138   10/18/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1    7.06
3529   139   Week 139   10/25/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1     8.7
3529   140   Week 140    11/1/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   13.48
3529   141   Week 141    11/8/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   15.33
3529   142   Week 142   11/15/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   12.97
3529   144   Week 144   11/29/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   20.85
3529   145   Week 145    12/6/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   17.95
3529   146   Week 146   12/13/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   13.01
3529   148   Week 148   12/27/2015   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1    5.78
3529   149   Week 149     1/3/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   11.33
3529   150   Week 150    1/10/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   14.67
3529   151   Week 151    1/17/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   13.54
3529   152   Week 152    1/24/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   17.42
3529   153   Week 153    1/31/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   15.13
3529   154   Week 154     2/7/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   14.75
3529   155   Week 155    2/14/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   22.72
3529   156   Week 156    2/21/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   17.66
3529   157   Week 157    2/28/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   25.05
3529   158   Week 158     3/6/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   17.02
3529   159   Week 159    3/13/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1     7.9
3529   160   Week 160    3/20/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1   24.26
3529   161   Week 161    3/27/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER    8.1    2.55
3529   163   Week 163    4/10/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER   8.13    0.15
3529   168   Week 168    5/15/2016   Western   Clint McPhail   179   PHR   PHR123   53306   KELLY   MILLER   KELLY MILLER   DELIVERY DRIVER      8    0.02
3458   107   Week 107    3/15/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   10.23
3458   108   Week 108    3/22/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    9.32
3458   109   Week 109    3/29/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1     6.5
3458   110   Week 110     4/5/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   13.63
3458   111   Week 111    4/12/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   10.23
3458   112   Week 112    4/19/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   10.55
3458   113   Week 113    4/26/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    9.81
3458   114   Week 114     5/3/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    9.83
3458   115   Week 115    5/10/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   13.11
3458   116   Week 116    5/17/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    9.32
3458   117   Week 117    5/24/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   12.41
3458   118   Week 118    5/31/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    2.58
3458   120   Week 120    6/14/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    8.72
3458   121   Week 121    6/21/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1    11.4
3458   122   Week 122    6/28/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   10.07
3458   123   Week 123     7/5/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   12.36
3458   124   Week 124    7/12/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   12.24
3458   125   Week 125    7/19/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   13.12
3458   126   Week 126    7/26/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   12.92
3458   127   Week 127     8/2/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   11.61
3458   128   Week 128     8/9/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   12.21
3458   129   Week 129    8/16/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   18.79
3458   130   Week 130    8/23/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   10.52
3458   131   Week 131    8/30/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   15.76
3458   132   Week 132     9/6/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO    SUSAN MELLO    DELIVERY DRIVER    8.1   11.55
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3458   133   Week 133    9/13/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   18.29
3458   134   Week 134    9/20/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.09
3458   135   Week 135    9/27/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   18.11
3458   136   Week 136    10/4/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    6.06
3458   137   Week 137   10/11/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.47
3458   138   Week 138   10/18/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    15.4
3458   139   Week 139   10/25/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   18.32
3458   140   Week 140    11/1/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.84
3458   141   Week 141    11/8/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   18.14
3458   142   Week 142   11/15/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   11.53
3458   143   Week 143   11/22/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   13.04
3458   144   Week 144   11/29/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   11.63
3458   145   Week 145    12/6/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   19.29
3458   146   Week 146   12/13/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.85
3458   148   Week 148   12/27/2015   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    3.53
3458   149   Week 149     1/3/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.07
3458   150   Week 150    1/10/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.67
3458   151   Week 151    1/17/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.76
3458   152   Week 152    1/24/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   19.74
3458   153   Week 153    1/31/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   13.17
3458   154   Week 154     2/7/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.11
3458   155   Week 155    2/14/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   16.31
3458   156   Week 156    2/21/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.45
3458   157   Week 157    2/28/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.09
3458   158   Week 158     3/6/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   11.97
3458   159   Week 159    3/13/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.75
3458   160   Week 160    3/20/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.41
3458   161   Week 161    3/27/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    15.8
3458   162   Week 162     4/3/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   16.28
3458   163   Week 163    4/10/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   15.22
3458   164   Week 164    4/17/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   16.34
3458   165   Week 165    4/24/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   17.14
3458   166   Week 166     5/1/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    4.08
3458   166   Week 166     5/1/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    5.45
3458   167   Week 167     5/8/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.17
3458   168   Week 168    5/15/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.96
3458   169   Week 169    5/22/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.28
3458   170   Week 170    5/29/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.41
3458   173   Week 173    6/19/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.73
3458   174   Week 174    6/26/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   13.53
3458   175   Week 175     7/3/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    5.72
3458   176   Week 176    7/10/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.28
3458   177   Week 177    7/17/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   10.51
3458   178   Week 178    7/24/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    9.84
3458   179   Week 179    7/31/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.26
3458   180   Week 180     8/7/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    4.62
3458   181   Week 181    8/14/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    7.95
3458   182   Week 182    8/21/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    9.55
3458   183   Week 183    8/28/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    5.32
3458   184   Week 184     9/4/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    3.37
3458   185   Week 185    9/11/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.19
3458   186   Week 186    9/18/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.85
3458   187   Week 187    9/25/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    8.35
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3458   188   Week 188    10/2/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    8.67
3458   189   Week 189    10/9/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    3.53
3458   190   Week 190   10/16/2016   Western   Clint McPhail   179   PHR   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    4.47
3458   190   Week 190   10/16/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    8.57
3458   191   Week 191   10/23/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    8.83
3458   192   Week 192   10/30/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.32
3458   193   Week 193    11/6/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   13.17
3458   194   Week 194   11/13/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   12.83
3458   195   Week 195   11/20/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    4.18
3458   196   Week 196   11/27/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1    3.52
3458   197   Week 197    12/4/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   13.27
3458   198   Week 198   12/11/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   14.28
3458   199   Week 199   12/18/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1   11.84
3458   200   Week 200   12/25/2016   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   8.1     7.5
3458   201   Week 201     1/1/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    10.72
3458   202   Week 202     1/8/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     15.3
3458   203   Week 203    1/15/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    16.77
3458   204   Week 204    1/22/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    13.11
3458   205   Week 205    1/29/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    10.95
3458   206   Week 206     2/5/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    16.23
3458   207   Week 207    2/12/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     5.75
3458   208   Week 208    2/19/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     7.81
3458   209   Week 209    2/26/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     9.25
3458   210   Week 210     3/5/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     8.73
3458   211   Week 211    3/12/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    14.85
3458   212   Week 212    3/19/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     11.1
3458   213   Week 213    3/26/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    12.44
3458   214   Week 214     4/2/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    10.03
3458   215   Week 215     4/9/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    10.55
3458   216   Week 216    4/16/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    15.25
3458   217   Week 217    4/23/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     15.9
3458   218   Week 218    4/30/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     9.72
3458   220   Week 220    5/14/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    14.62
3458   221   Week 221    5/21/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    10.21
3458   222   Week 222    5/28/2017   Western   Clint McPhail   180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     3.88
3458   222   Week 222    5/28/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     5.78
3458   223   Week 223     6/4/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    12.32
3458   224   Week 224    6/11/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     14.2
3458   225   Week 225    6/18/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    12.68
3458   226   Week 226    6/25/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     9.67
3458   227   Week 227     7/2/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     2.83
3458   228   Week 228     7/9/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    16.02
3458   229   Week 229    7/16/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    13.29
3458   230   Week 230    7/23/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     9.23
3458   231   Week 231    7/30/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    11.39
3458   232   Week 232     8/6/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     3.68
3458   234   Week 234    8/20/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10    11.15
3458   235   Week 235    8/27/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     6.07
3458   236   Week 236     9/3/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     5.65
3458   237   Week 237    9/10/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     6.05
3458   238   Week 238    9/17/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     5.46
3458   239   Week 239    9/24/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     7.02
3458   240   Week 240    10/1/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN   MELLO   SUSAN MELLO   DELIVERY DRIVER   10     7.71
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3458   241   Week 241    10/8/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    7.14
3458   242   Week 242   10/15/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    9.16
3458   243   Week 243   10/22/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    9.81
3458   244   Week 244   10/29/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    4.31
3458   245   Week 245    11/5/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    4.92
3458   246   Week 246   11/12/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    9.58
3458   247   Week 247   11/19/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    2.77
3458   248   Week 248   11/26/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    3.13
3458   249   Week 249    12/3/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    9.87
3458   250   Week 250   12/10/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10   10.15
3458   251   Week 251   12/17/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER     10    9.55
3458   253   Week 253   12/31/2017   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    5.75
3458   254   Week 254     1/7/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    7.73
3458   255   Week 255    1/14/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   11.61
3458   256   Week 256    1/21/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   13.65
3458   257   Week 257    1/28/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   12.27
3458   258   Week 258     2/4/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   10.77
3458   259   Week 259    2/11/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   11.66
3458   260   Week 260    2/18/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    5.97
3458   261   Week 261    2/25/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    5.73
3458   262   Week 262     3/4/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    3.35
3458   263   Week 263    3/11/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   12.97
3458   264   Week 264    3/18/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   16.01
3458   265   Week 265    3/25/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5   14.51
3458   266   Week 266     4/1/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    9.38
3458   267   Week 267     4/8/2018   Western   DO Jay White    180   PHS   PHR127   53754   SUSAN    MELLO     SUSAN MELLO      DELIVERY DRIVER   10.5    3.05
2991   197   Week 197    12/4/2016   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER   8.15    6.47
2991   198   Week 198   12/11/2016   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER   8.15   12.43
2991   199   Week 199   12/18/2016   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER   8.15    6.92
2991   200   Week 200   12/25/2016   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER   8.81    7.53
2991   201   Week 201     1/1/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10     7.3
2991   202   Week 202     1/8/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   13.96
2991   203   Week 203    1/15/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   13.38
2991   204   Week 204    1/22/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   15.08
2991   205   Week 205    1/29/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   10.37
2991   206   Week 206     2/5/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   11.74
2991   207   Week 207    2/12/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   15.43
2991   208   Week 208    2/19/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   16.27
2991   209   Week 209    2/26/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10    13.8
2991   210   Week 210     3/5/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   10.45
2991   211   Week 211    3/12/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   11.79
2991   212   Week 212    3/19/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10     9.3
2991   213   Week 213    3/26/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10   13.93
2991   214   Week 214     4/2/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10    8.25
2991   215   Week 215     4/9/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10    8.86
2991   216   Week 216    4/16/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10    14.5
2991   217   Week 217    4/23/2017   Western   Clint McPhail   179   PHR   PHR299   66951   ELIJAH   LAYNE     ELIJAH LAYNE     DELIVERY DRIVER     10    7.05
3078   236   Week 236     9/3/2017   Western   DO Jay White    179   PHR   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10    22.6
3078   237   Week 237    9/10/2017   Western   DO Jay White    179   PHR   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10   23.19
3078   238   Week 238    9/17/2017   Western   DO Jay White    179   PHR   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10   29.75
3078   239   Week 239    9/24/2017   Western   DO Jay White    179   PHR   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10   20.17
3078   241   Week 241    10/8/2017   Western   DO Jay White    133   PHM   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10    3.57
3078   242   Week 242   10/15/2017   Western   DO Jay White    133   PHM   PHR323   72370   ASHLEY   LIPPOLD   ASHLEY LIPPOLD   DELIVERY DRIVER     10    4.32
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3216   245   Week 245    11/5/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER   10.44   37.74
3216   246   Week 246   11/12/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10    35.5
3216   247   Week 247   11/19/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10    3.68
3216   248   Week 248   11/26/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10   16.48
3216   249   Week 249    12/3/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10   14.31
3216   250   Week 250   12/10/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10   17.55
3216   251   Week 251   12/17/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER      10   12.58
3216   253   Week 253   12/31/2017   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5    7.97
3216   254   Week 254     1/7/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   11.01
3216   255   Week 255    1/14/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   18.97
3216   256   Week 256    1/21/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   18.51
3216   257   Week 257    1/28/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5    8.43
3216   258   Week 258     2/4/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   20.32
3216   259   Week 259    2/11/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   18.69
3216   260   Week 260    2/18/2018   Western   DO Jay White    179   PHR   PHR333   73738   AARON   MANTECON   AARON MANTECON   DELIVERY DRIVER    10.5   17.21
 483   102   Week 102     2/8/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9    7.76
 483   103   Week 103    2/15/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   17.42
 483   104   Week 104    2/22/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   26.19
 483   105   Week 105     3/1/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   23.84
 483   106   Week 106     3/8/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   21.41
 483   107   Week 107    3/15/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.03
 483   108   Week 108    3/22/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   14.08
 483   109   Week 109    3/29/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.81
 483   110   Week 110     4/5/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   15.17
 483   111   Week 111    4/12/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   23.04
 483   112   Week 112    4/19/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   17.26
 483   113   Week 113    4/26/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   19.64
 483   114   Week 114     5/3/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.61
 483   115   Week 115    5/10/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   15.47
 483   116   Week 116    5/17/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   14.88
 483   117   Week 117    5/24/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   16.38
 483   118   Week 118    5/31/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   10.08
 483   120   Week 120    6/14/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   17.05
 483   121   Week 121    6/21/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   16.85
 483   122   Week 122    6/28/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9    7.03
 483   123   Week 123     7/5/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9    1.85
 483   125   Week 125    7/19/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   11.03
 483   126   Week 126    7/26/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   15.71
 483   127   Week 127     8/2/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   16.37
 483   128   Week 128     8/9/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   20.41
 483   129   Week 129    8/16/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9    18.8
 483   130   Week 130    8/23/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.71
 483   131   Week 131    8/30/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.79
 483   132   Week 132     9/6/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   20.87
 483   133   Week 133    9/13/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   21.13
 483   134   Week 134    9/20/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   21.04
 483   135   Week 135    9/27/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   23.48
 483   136   Week 136    10/4/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   25.22
 483   137   Week 137   10/11/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   24.14
 483   138   Week 138   10/18/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   23.91
 483   139   Week 139   10/25/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   16.41
 483   140   Week 140    11/1/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   18.56
 483   141   Week 141    11/8/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY    DAVID BLAKLEY    DELIVERY DRIVER       9   19.97
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483   142   Week 142   11/15/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   24.75
483   143   Week 143   11/22/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    8.38
483   144   Week 144   11/29/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   19.04
483   145   Week 145    12/6/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   17.72
483   146   Week 146   12/13/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   13.36
483   147   Week 147   12/20/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    5.45
483   148   Week 148   12/27/2015   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    6.52
483   149   Week 149     1/3/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   17.46
483   150   Week 150    1/10/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   14.26
483   151   Week 151    1/17/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   17.57
483   152   Week 152    1/24/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    15.6
483   153   Week 153    1/31/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   22.63
483   154   Week 154     2/7/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   28.71
483   155   Week 155    2/14/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   22.61
483   156   Week 156    2/21/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   19.52
483   157   Week 157    2/28/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   19.22
483   158   Week 158     3/6/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   18.83
483   159   Week 159    3/13/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   19.19
483   160   Week 160    3/20/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   15.41
483   161   Week 161    3/27/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   21.95
483   162   Week 162     4/3/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   28.54
483   163   Week 163    4/10/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   16.68
483   164   Week 164    4/17/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   27.19
483   165   Week 165    4/24/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   25.21
483   166   Week 166     5/1/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   22.05
483   167   Week 167     5/8/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   36.21
483   168   Week 168    5/15/2016   Western   Clint McPhail   180   PHS   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   35.14
483   169   Week 169    5/22/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9     9.6
483   170   Week 170    5/29/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    15.2
483   171   Week 171     6/5/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   12.14
483   172   Week 172    6/12/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    19.6
483   173   Week 173    6/19/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    21.9
483   174   Week 174    6/26/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    8.95
483   175   Week 175     7/3/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9     7.5
483   176   Week 176    7/10/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   17.18
483   177   Week 177    7/17/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   19.61
483   178   Week 178    7/24/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   31.95
483   179   Week 179    7/31/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   13.61
483   180   Week 180     8/7/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   11.01
483   181   Week 181    8/14/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   20.01
483   182   Week 182    8/21/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   16.55
483   183   Week 183    8/28/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   10.12
483   184   Week 184     9/4/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    20.8
483   185   Week 185    9/11/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9    17.2
483   186   Week 186    9/18/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   10.48
483   187   Week 187    9/25/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   18.22
483   188   Week 188    10/2/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   15.47
483   189   Week 189    10/9/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   23.33
483   190   Week 190   10/16/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   33.65
483   191   Week 191   10/23/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   25.71
483   192   Week 192   10/30/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   29.32
483   193   Week 193    11/6/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   27.46
483   194   Week 194   11/13/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   9   29.67
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483   195   Week 195   11/20/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER    9   14.03
483   196   Week 196   11/27/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER    9   26.96
483   197   Week 197    12/4/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER    9   17.26
483   198   Week 198   12/11/2016   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER    9    22.8
483   201   Week 201     1/1/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    20.3
483   202   Week 202     1/8/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   16.21
483   203   Week 203    1/15/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   29.73
483   204   Week 204    1/22/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   20.55
483   205   Week 205    1/29/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   17.54
483   206   Week 206     2/5/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   19.44
483   207   Week 207    2/12/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   18.39
483   208   Week 208    2/19/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   26.69
483   209   Week 209    2/26/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   20.93
483   210   Week 210     3/5/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   24.72
483   211   Week 211    3/12/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    7.39
483   212   Week 212    3/19/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   18.75
483   213   Week 213    3/26/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    14.9
483   214   Week 214     4/2/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   21.02
483   215   Week 215     4/9/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   14.68
483   216   Week 216    4/16/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   21.15
483   217   Week 217    4/23/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   25.53
483   218   Week 218    4/30/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   20.65
483   219   Week 219     5/7/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   19.63
483   220   Week 220    5/14/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    25.4
483   221   Week 221    5/21/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   14.77
483   222   Week 222    5/28/2017   Western   Clint McPhail   179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    5.74
483   222   Week 222    5/28/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    8.42
483   223   Week 223     6/4/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   16.42
483   224   Week 224    6/11/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   15.52
483   225   Week 225    6/18/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   16.88
483   226   Week 226    6/25/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    8.86
483   227   Week 227     7/2/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    8.16
483   228   Week 228     7/9/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    12.9
483   229   Week 229    7/16/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   17.66
483   230   Week 230    7/23/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   15.86
483   231   Week 231    7/30/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   15.98
483   232   Week 232     8/6/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   22.23
483   233   Week 233    8/13/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   15.14
483   234   Week 234    8/20/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   10.95
483   235   Week 235    8/27/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    14.1
483   236   Week 236     9/3/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    14.8
483   237   Week 237    9/10/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   19.45
483   238   Week 238    9/17/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   14.44
483   239   Week 239    9/24/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   22.01
483   240   Week 240    10/1/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   15.01
483   241   Week 241    10/8/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   16.72
483   242   Week 242   10/15/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   24.24
483   243   Week 243   10/22/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   21.95
483   244   Week 244   10/29/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   22.66
483   245   Week 245    11/5/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10      28
483   246   Week 246   11/12/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   23.26
483   247   Week 247   11/19/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10    6.38
483   248   Week 248   11/26/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID   BLAKLEY   DAVID BLAKLEY   DELIVERY DRIVER   10   18.23
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 483   249   Week 249    12/3/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER     10   16.09
 483   250   Week 250   12/10/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER     10   22.59
 483   251   Week 251   12/17/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER     10    13.3
 483   253   Week 253   12/31/2017   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   15.44
 483   254   Week 254     1/7/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   23.52
 483   255   Week 255    1/14/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5    27.3
 483   256   Week 256    1/21/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   18.46
 483   257   Week 257    1/28/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   16.12
 483   258   Week 258     2/4/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   24.01
 483   259   Week 259    2/11/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   15.53
 483   260   Week 260    2/18/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   15.22
 483   261   Week 261    2/25/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   21.45
 483   262   Week 262     3/4/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5    10.5
 483   263   Week 263    3/11/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   16.17
 483   264   Week 264    3/18/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   10.93
 483   265   Week 265    3/25/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5    9.96
 483   266   Week 266     4/1/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5   24.22
 483   267   Week 267     4/8/2018   Western   DO Jay White    179   PHR   PHS002   37220   DAVID     BLAKLEY    DAVID BLAKLEY      DELIVERY DRIVER   10.5    3.67
3429   106   Week 106     3/8/2015   Western   Clint McPhail   180   PHS   PHS014   37233   WILLIAM   MCMILLAN   WILLIAM MCMILLAN   DELIVERY DRIVER   8.05   21.02
3429   107   Week 107    3/15/2015   Western   Clint McPhail   180   PHS   PHS014   37233   WILLIAM   MCMILLAN   WILLIAM MCMILLAN   DELIVERY DRIVER   8.05   23.02
3429   108   Week 108    3/22/2015   Western   Clint McPhail   180   PHS   PHS014   37233   WILLIAM   MCMILLAN   WILLIAM MCMILLAN   DELIVERY DRIVER   8.05   21.94
3429   109   Week 109    3/29/2015   Western   Clint McPhail   180   PHS   PHS014   37233   WILLIAM   MCMILLAN   WILLIAM MCMILLAN   DELIVERY DRIVER   8.05   20.36
3429   110   Week 110     4/5/2015   Western   Clint McPhail   180   PHS   PHS014   37233   WILLIAM   MCMILLAN   WILLIAM MCMILLAN   DELIVERY DRIVER   8.05   12.56
2902   107   Week 107    3/15/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   23.95
2902   108   Week 108    3/22/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   20.47
2902   109   Week 109    3/29/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   21.03
2902   110   Week 110     4/5/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   14.76
2902   111   Week 111    4/12/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   20.21
2902   112   Week 112    4/19/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15    17.8
2902   113   Week 113    4/26/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15    19.3
2902   114   Week 114     5/3/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   17.57
2902   115   Week 115    5/10/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   23.48
2902   116   Week 116    5/17/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   14.48
2902   117   Week 117    5/24/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   17.57
2902   118   Week 118    5/31/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   23.66
2902   119   Week 119     6/7/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   19.76
2902   120   Week 120    6/14/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   12.95
2902   121   Week 121    6/21/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   16.32
2902   122   Week 122    6/28/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15    3.88
2902   123   Week 123     7/5/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   16.76
2902   124   Week 124    7/12/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   28.65
2902   125   Week 125    7/19/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   24.38
2902   126   Week 126    7/26/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   16.25
2902   127   Week 127     8/2/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   19.81
2902   128   Week 128     8/9/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   13.93
2902   129   Week 129    8/16/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   22.02
2902   130   Week 130    8/23/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   18.42
2902   131   Week 131    8/30/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15    7.72
2902   132   Week 132     9/6/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   18.34
2902   133   Week 133    9/13/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   12.41
2902   134   Week 134    9/20/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   15.96
2902   135   Week 135    9/27/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   15.37
2902   136   Week 136    10/4/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL      CHARLES KRULL      DELIVERY DRIVER   8.15   14.35
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2902   137   Week 137   10/11/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   14.39
2902   138   Week 138   10/18/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   19.04
2902   139   Week 139   10/25/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   15.02
2902   140   Week 140    11/1/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.22
2902   141   Week 141    11/8/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   23.93
2902   142   Week 142   11/15/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   10.98
2902   143   Week 143   11/22/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    8.83
2902   144   Week 144   11/29/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   21.03
2902   145   Week 145    12/6/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.46
2902   146   Week 146   12/13/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    16.7
2902   147   Week 147   12/20/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    3.92
2902   148   Week 148   12/27/2015   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    4.82
2902   149   Week 149     1/3/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   12.84
2902   150   Week 150    1/10/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   19.73
2902   151   Week 151    1/17/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   21.21
2902   152   Week 152    1/24/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   16.91
2902   153   Week 153    1/31/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   16.66
2902   154   Week 154     2/7/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.74
2902   155   Week 155    2/14/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.68
2902   156   Week 156    2/21/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15      18
2902   157   Week 157    2/28/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.43
2902   158   Week 158     3/6/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   16.34
2902   159   Week 159    3/13/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.18
2902   160   Week 160    3/20/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.56
2902   161   Week 161    3/27/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.81
2902   162   Week 162     4/3/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.01
2902   163   Week 163    4/10/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   19.61
2902   164   Week 164    4/17/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   14.91
2902   165   Week 165    4/24/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.91
2902   166   Week 166     5/1/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   18.09
2902   167   Week 167     5/8/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    17.6
2902   168   Week 168    5/15/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   15.67
2902   169   Week 169    5/22/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    10.9
2902   170   Week 170    5/29/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   16.91
2902   171   Week 171     6/5/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   10.86
2902   172   Week 172    6/12/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   11.24
2902   173   Week 173    6/19/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   10.32
2902   174   Week 174    6/26/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    9.65
2902   175   Week 175     7/3/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   12.38
2902   176   Week 176    7/10/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   16.92
2902   177   Week 177    7/17/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   12.82
2902   178   Week 178    7/24/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   15.54
2902   179   Week 179    7/31/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    9.53
2902   180   Week 180     8/7/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   11.37
2902   181   Week 181    8/14/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   14.16
2902   182   Week 182    8/21/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   13.04
2902   183   Week 183    8/28/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    9.26
2902   184   Week 184     9/4/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   13.75
2902   185   Week 185    9/11/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   12.92
2902   186   Week 186    9/18/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    7.25
2902   187   Week 187    9/25/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   14.33
2902   188   Week 188    10/2/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   13.27
2902   189   Week 189    10/9/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   14.59
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2902   190   Week 190   10/16/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   20.74
2902   191   Week 191   10/23/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   12.06
2902   192   Week 192   10/30/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   15.73
2902   193   Week 193    11/6/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    18.1
2902   194   Week 194   11/13/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15   17.85
2902   195   Week 195   11/20/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    7.19
2902   196   Week 196   11/27/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    8.22
2902   198   Week 198   12/11/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    7.98
2902   199   Week 199   12/18/2016   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER   8.15    2.52
2902   201   Week 201     1/1/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   13.66
2902   202   Week 202     1/8/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    16.6
2902   203   Week 203    1/15/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   12.38
2902   204   Week 204    1/22/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   17.53
2902   205   Week 205    1/29/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   13.75
2902   206   Week 206     2/5/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   17.38
2902   207   Week 207    2/12/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    4.25
2902   208   Week 208    2/19/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    15.7
2902   209   Week 209    2/26/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   18.32
2902   210   Week 210     3/5/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.84
2902   211   Week 211    3/12/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   11.69
2902   212   Week 212    3/19/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.72
2902   213   Week 213    3/26/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   14.79
2902   214   Week 214     4/2/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.32
2902   215   Week 215     4/9/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   15.88
2902   216   Week 216    4/16/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   17.51
2902   217   Week 217    4/23/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   18.47
2902   218   Week 218    4/30/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.45
2902   219   Week 219     5/7/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   18.25
2902   220   Week 220    5/14/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    15.5
2902   221   Week 221    5/21/2017   Western   Clint McPhail   179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   12.88
2902   222   Week 222    5/28/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    6.25
2902   223   Week 223     6/4/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   18.21
2902   224   Week 224    6/11/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10      17
2902   225   Week 225    6/18/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   15.45
2902   226   Week 226    6/25/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    14.1
2902   227   Week 227     7/2/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    5.43
2902   228   Week 228     7/9/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   18.25
2902   229   Week 229    7/16/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   22.67
2902   230   Week 230    7/23/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   20.23
2902   231   Week 231    7/30/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   14.37
2902   232   Week 232     8/6/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   25.48
2902   233   Week 233    8/13/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   14.66
2902   234   Week 234    8/20/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    4.02
2902   235   Week 235    8/27/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   14.57
2902   236   Week 236     9/3/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   22.06
2902   237   Week 237    9/10/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   21.16
2902   238   Week 238    9/17/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    19.9
2902   239   Week 239    9/24/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   26.98
2902   240   Week 240    10/1/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.83
2902   241   Week 241    10/8/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   16.43
2902   242   Week 242   10/15/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10    5.28
2902   243   Week 243   10/22/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   15.49
2902   244   Week 244   10/29/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL   CHARLES KRULL   DELIVERY DRIVER     10   23.11
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2902   245   Week 245    11/5/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10    26.9
2902   246   Week 246   11/12/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10   26.51
2902   247   Week 247   11/19/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10    8.11
2902   248   Week 248   11/26/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10   17.98
2902   249   Week 249    12/3/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10   22.46
2902   250   Week 250   12/10/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10   23.34
2902   251   Week 251   12/17/2017   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER     10    10.3
2902   254   Week 254     1/7/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   17.15
2902   255   Week 255    1/14/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5    15.8
2902   256   Week 256    1/21/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   13.27
2902   257   Week 257    1/28/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   16.28
2902   258   Week 258     2/4/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   12.96
2902   259   Week 259    2/11/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   13.07
2902   260   Week 260    2/18/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   11.88
2902   261   Week 261    2/25/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   18.52
2902   262   Week 262     3/4/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   13.79
2902   263   Week 263    3/11/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   14.04
2902   264   Week 264    3/18/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   17.47
2902   265   Week 265    3/25/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5    15.6
2902   266   Week 266     4/1/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5   22.75
2902   267   Week 267     4/8/2018   Western   DO Jay White    179   PHR   PHS018   37230   CHARLES   KRULL       CHARLES KRULL     DELIVERY DRIVER   10.5    2.52
1942   104   Week 104    2/22/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   29.51
1942   105   Week 105     3/1/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   36.25
1942   106   Week 106     3/8/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   35.28
1942   107   Week 107    3/15/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   29.87
1942   108   Week 108    3/22/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   34.62
1942   109   Week 109    3/29/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   15.38
1942   110   Week 110     4/5/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   23.79
1942   111   Week 111    4/12/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   33.06
1942   112   Week 112    4/19/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   28.74
1942   113   Week 113    4/26/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   32.36
1942   114   Week 114     5/3/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   35.92
1942   115   Week 115    5/10/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   36.06
1942   116   Week 116    5/17/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5    23.1
1942   117   Week 117    5/24/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   25.92
1942   118   Week 118    5/31/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5    33.3
1942   119   Week 119     6/7/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   30.65
1942   120   Week 120    6/14/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   34.88
1942   121   Week 121    6/21/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   27.14
1942   122   Week 122    6/28/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5    11.1
1942   123   Week 123     7/5/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   27.05
1942   124   Week 124    7/12/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5    28.1
1942   125   Week 125    7/19/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   27.12
1942   126   Week 126    7/26/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5    23.1
1942   127   Week 127     8/2/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   31.51
1942   128   Week 128     8/9/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   31.16
1942   129   Week 129    8/16/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   27.33
1942   130   Week 130    8/23/2015   Western   Clint McPhail   180   PHS   PHS109   45705   DEWEY     GILLILAND   DEWEY GILLILAND   DELIVERY DRIVER    9.5   10.64
3047   127   Week 127     8/2/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN      FRED LERMAN       DELIVERY DRIVER   8.05     3.1
3047   128   Week 128     8/9/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN      FRED LERMAN       DELIVERY DRIVER   8.05   20.52
3047   129   Week 129    8/16/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN      FRED LERMAN       DELIVERY DRIVER   8.05    15.5
3047   130   Week 130    8/23/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN      FRED LERMAN       DELIVERY DRIVER   8.05   14.37
3047   131   Week 131    8/30/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN      FRED LERMAN       DELIVERY DRIVER   8.05   15.44
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3047   132   Week 132     9/6/2015   Western   Clint McPhail   180   PHS   PHS153   56463   FRED      LERMAN    FRED LERMAN       DELIVERY DRIVER   8.05   10.18
1349   135   Week 135    9/27/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   22.07
1349   136   Week 136    10/4/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   29.53
1349   137   Week 137   10/11/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   35.92
1349   138   Week 138   10/18/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER   8.63   41.28
1349   139   Week 139   10/25/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   27.56
1349   140   Week 140    11/1/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   30.09
1349   141   Week 141    11/8/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    27.8
1349   142   Week 142   11/15/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   39.03
1349   143   Week 143   11/22/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   14.18
1349   144   Week 144   11/29/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   38.35
1349   145   Week 145    12/6/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5      39
1349   146   Week 146   12/13/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    34.7
1349   147   Week 147   12/20/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   13.64
1349   148   Week 148   12/27/2015   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    17.3
1349   149   Week 149     1/3/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   31.62
1349   150   Week 150    1/10/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   33.08
1349   151   Week 151    1/17/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   25.37
1349   152   Week 152    1/24/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   25.37
1349   153   Week 153    1/31/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    29.7
1349   154   Week 154     2/7/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   32.04
1349   155   Week 155    2/14/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   30.55
1349   156   Week 156    2/21/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   30.41
1349   157   Week 157    2/28/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    34.6
1349   158   Week 158     3/6/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    32.8
1349   159   Week 159    3/13/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   33.74
1349   160   Week 160    3/20/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   26.22
1349   161   Week 161    3/27/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   33.28
1349   162   Week 162     4/3/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   33.82
1349   163   Week 163    4/10/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   26.03
1349   164   Week 164    4/17/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5    32.9
1349   165   Week 165    4/24/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   33.97
1349   166   Week 166     5/1/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    8.5   25.44
1349   167   Week 167     5/8/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   34.95
1349   168   Week 168    5/15/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   27.17
1349   169   Week 169    5/22/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   14.07
1349   170   Week 170    5/29/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   22.11
1349   171   Week 171     6/5/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   36.33
1349   172   Week 172    6/12/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   34.93
1349   173   Week 173    6/19/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5    35.3
1349   174   Week 174    6/26/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   20.21
1349   175   Week 175     7/3/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5    24.9
1349   176   Week 176    7/10/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   31.81
1349   177   Week 177    7/17/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   32.25
1349   178   Week 178    7/24/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   27.03
1349   179   Week 179    7/31/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   31.99
1349   180   Week 180     8/7/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   23.92
1349   181   Week 181    8/14/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   28.26
1349   182   Week 182    8/21/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   22.87
1349   183   Week 183    8/28/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   19.87
1349   184   Week 184     9/4/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5    18.8
1349   185   Week 185    9/11/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5    6.75
1349   186   Week 186    9/18/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER    9.5   35.31
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1349   187   Week 187    9/25/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   37.25
1349   188   Week 188    10/2/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   36.61
1349   189   Week 189    10/9/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5    18.7
1349   190   Week 190   10/16/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5    35.4
1349   191   Week 191   10/23/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   21.38
1349   193   Week 193    11/6/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5    28.1
1349   194   Week 194   11/13/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   19.07
1349   196   Week 196   11/27/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   17.98
1349   197   Week 197    12/4/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   31.64
1349   198   Week 198   12/11/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5   26.52
1349   199   Week 199   12/18/2016   Western   Clint McPhail   180   PHS   PHS160   57750   CHARLES   DELANEY   CHARLES DELANEY   DELIVERY DRIVER     9.5    7.43
 114   157   Week 157    2/28/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    4.83
 114   158   Week 158     3/6/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   11.43
 114   159   Week 159    3/13/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   13.48
 114   160   Week 160    3/20/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   10.75
 114   161   Week 161    3/27/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   15.42
 114   162   Week 162     4/3/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   16.05
 114   163   Week 163    4/10/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   18.15
 114   164   Week 164    4/17/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   14.99
 114   165   Week 165    4/24/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   19.81
 114   166   Week 166     5/1/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   12.37
 114   167   Week 167     5/8/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   14.45
 114   168   Week 168    5/15/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    10.7
 114   169   Week 169    5/22/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   14.38
 114   170   Week 170    5/29/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    6.07
 114   171   Week 171     6/5/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   18.75
 114   172   Week 172    6/12/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    15.6
 114   173   Week 173    6/19/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   14.33
 114   174   Week 174    6/26/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    6.55
 114   175   Week 175     7/3/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    9.97
 114   176   Week 176    7/10/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   12.35
 114   177   Week 177    7/17/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   12.36
 114   178   Week 178    7/24/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    12.1
 114   179   Week 179    7/31/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   10.24
 114   180   Week 180     8/7/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    7.19
 114   181   Week 181    8/14/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   11.38
 114   182   Week 182    8/21/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    8.04
 114   183   Week 183    8/28/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   10.61
 114   184   Week 184     9/4/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    8.37
 114   185   Week 185    9/11/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    9.88
 114   186   Week 186    9/18/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5   10.47
 114   187   Week 187    9/25/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    9.32
 114   188   Week 188    10/2/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    9.68
 114   189   Week 189    10/9/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5     9.5
 114   190   Week 190   10/16/2016   Western   Clint McPhail   180   PHS   PHS176   60856   JAMES     ALLIN     JAMES ALLIN       DELIVERY DRIVER     8.5    4.18
5841   234   Week 234    8/20/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER   10.52    0.25
5841   235   Week 235    8/27/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5    8.62
5841   236   Week 236     9/3/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5   12.25
5841   237   Week 237    9/10/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5    12.3
5841   238   Week 238    9/17/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5    3.53
5841   239   Week 239    9/24/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5   20.61
5841   240   Week 240    10/1/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5   15.97
5841   241   Week 241    10/8/2017   Western   DO Jay White    180   PHS   PHS219   67610   ERICK     ZAVALA    ERICK ZAVALA      DELIVERY DRIVER    10.5   17.08
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5841   242   Week 242   10/15/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5   32.79
5841   243   Week 243   10/22/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5   15.49
5841   244   Week 244   10/29/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5   16.62
5841   245   Week 245    11/5/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5    8.55
5841   246   Week 246   11/12/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5    8.17
5841   247   Week 247   11/19/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5     3.2
5841   248   Week 248   11/26/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5    8.42
5841   249   Week 249    12/3/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5     9.3
5841   250   Week 250   12/10/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5     9.9
5841   251   Week 251   12/17/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.5    3.63
5841   252   Week 252   12/24/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER    10.8    10.6
5841   253   Week 253   12/31/2017   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER   11.25    8.46
5841   254   Week 254     1/7/2018   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER   11.25   15.18
5841   255   Week 255    1/14/2018   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER   11.25   15.47
5841   256   Week 256    1/21/2018   Western    DO Jay White      180   PHS   PHS219   67610   ERICK        ZAVALA        ERICK ZAVALA         DELIVERY DRIVER   11.25    14.5
5009   110   Week 110     4/5/2015   Eastern    Max Torrence      184   PLT   PLT051   51719   LINDA        STRANGWAYES   LINDA STRANGWAYES    DELIVERY DRIVER   10.25    7.52
5009   111   Week 111    4/12/2015   Eastern    Max Torrence      184   PLT   PLT051   51719   LINDA        STRANGWAYES   LINDA STRANGWAYES    DELIVERY DRIVER   10.33    0.03
5009   117   Week 117    5/24/2015   Eastern    Max Torrence      184   PLT   PLT051   51719   LINDA        STRANGWAYES   LINDA STRANGWAYES    DELIVERY DRIVER   10.25    1.43
5009   119   Week 119     6/7/2015   Eastern    Max Torrence      184   PLT   PLT051   51719   LINDA        STRANGWAYES   LINDA STRANGWAYES    DELIVERY DRIVER    10.5    0.02
1030   205   Week 205    1/29/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9     4.5
1030   206   Week 206     2/5/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   27.13
1030   207   Week 207    2/12/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   16.96
1030   208   Week 208    2/19/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   14.87
1030   209   Week 209    2/26/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   21.09
1030   210   Week 210     3/5/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   24.87
1030   211   Week 211    3/12/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   21.13
1030   212   Week 212    3/19/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   19.57
1030   213   Week 213    3/26/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   20.49
1030   214   Week 214     4/2/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   19.37
1030   215   Week 215     4/9/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    7.06
1030   216   Week 216    4/16/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   13.75
1030   217   Week 217    4/23/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   14.24
1030   218   Week 218    4/30/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   18.44
1030   219   Week 219     5/7/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   17.66
1030   220   Week 220    5/14/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    2.77
1030   221   Week 221    5/21/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    6.05
1030   222   Week 222    5/28/2017   Eastern    DO Kelly Finley   184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    6.95
1030   222   Week 222    5/28/2017   Eastern    Don Shirley       184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    6.42
1030   223   Week 223     6/4/2017   Eastern    DO Kelly Finley   184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9   11.56
1030   224   Week 224    6/11/2017   Eastern    DO Kelly Finley   184   PLT   PLT160   67863   JUSTIN       COHEN         JUSTIN COHEN         DELIVERY DRIVER       9    6.93
 138   119   Week 119     6/7/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5    8.17
 138   120   Week 120    6/14/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   23.87
 138   121   Week 121    6/21/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   10.96
 138   122   Week 122    6/28/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   10.15
 138   123   Week 123     7/5/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   19.01
 138   124   Week 124    7/12/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   24.88
 138   125   Week 125    7/19/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER    8.68   33.18
 138   126   Week 126    7/26/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   26.95
 138   127   Week 127     8/2/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   28.56
 138   128   Week 128     8/9/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER    9.29   49.12
 138   129   Week 129    8/16/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER    9.05   45.96
 138   130   Week 130    8/23/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   27.43
 138   131   Week 131    8/30/2015   Southern   Noel Luna         187   PTX   PTX112   55605   JACQUELINE   ALVAREZ       JACQUELINE ALVAREZ   DELIVERY DRIVER     8.5   15.07
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138   132   Week 132     9/6/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.51      35
138   133   Week 133    9/13/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   21.43
138   134   Week 134    9/20/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   23.19
138   135   Week 135    9/27/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   25.02
138   136   Week 136    10/4/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5    6.56
138   137   Week 137   10/11/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   20.69
138   138   Week 138   10/18/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   29.72
138   139   Week 139   10/25/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   18.83
138   140   Week 140    11/1/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   35.43
138   141   Week 141    11/8/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.74   42.37
138   143   Week 143   11/22/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   11.18
138   144   Week 144   11/29/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   31.45
138   145   Week 145    12/6/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   30.64
138   146   Week 146   12/13/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   32.56
138   147   Week 147   12/20/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   22.69
138   148   Week 148   12/27/2015   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   24.22
138   149   Week 149     1/3/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   25.15
138   150   Week 150    1/10/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   30.73
138   151   Week 151    1/17/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   26.78
138   152   Week 152    1/24/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5    8.23
138   153   Week 153    1/31/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   26.04
138   154   Week 154     2/7/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   38.59
138   155   Week 155    2/14/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5      29
138   156   Week 156    2/21/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   29.99
138   157   Week 157    2/28/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   32.38
138   158   Week 158     3/6/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   33.79
138   159   Week 159    3/13/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   34.81
138   160   Week 160    3/20/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   22.77
138   161   Week 161    3/27/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   37.05
138   162   Week 162     4/3/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   25.16
138   163   Week 163    4/10/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   20.93
138   164   Week 164    4/17/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   29.26
138   165   Week 165    4/24/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5    27.9
138   166   Week 166     5/1/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   28.38
138   167   Week 167     5/8/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   39.46
138   168   Week 168    5/15/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   29.87
138   169   Week 169    5/22/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   10.99
138   170   Week 170    5/29/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   26.79
138   171   Week 171     6/5/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   30.17
138   172   Week 172    6/12/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   19.48
138   173   Week 173    6/19/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   27.54
138   174   Week 174    6/26/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   32.51
138   175   Week 175     7/3/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   27.12
138   176   Week 176    7/10/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   26.39
138   177   Week 177    7/17/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER    8.5   31.57
138   179   Week 179    7/31/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.64   36.61
138   181   Week 181    8/14/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   37.78
138   182   Week 182    8/21/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   27.74
138   183   Week 183    8/28/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   29.76
138   184   Week 184     9/4/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   32.41
138   185   Week 185    9/11/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    31.5
138   186   Week 186    9/18/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   37.49
138   187   Week 187    9/25/2016   Southern   Noel Luna   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   19.98
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138   188   Week 188    10/2/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   15.64
138   189   Week 189    10/9/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   37.56
138   190   Week 190   10/16/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   36.96
138   192   Week 192   10/30/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   12.02
138   193   Week 193    11/6/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   30.97
138   194   Week 194   11/13/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    27.3
138   195   Week 195   11/20/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   21.44
138   196   Week 196   11/27/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   31.83
138   197   Week 197    12/4/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   33.53
138   198   Week 198   12/11/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   33.38
138   199   Week 199   12/18/2016   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    8.68
138   201   Week 201     1/1/2017   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   29.21
138   202   Week 202     1/8/2017   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   16.65
138   203   Week 203    1/15/2017   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   27.88
138   204   Week 204    1/22/2017   Southern   Noel Luna            187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   28.42
138   205   Week 205    1/29/2017   Southern   MP Southern Region   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   32.38
138   206   Week 206     2/5/2017   Southern   MP Southern Region   187   PTX   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   25.91
138   207   Week 207    2/12/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   24.65
138   208   Week 208    2/19/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   26.23
138   209   Week 209    2/26/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   26.12
138   210   Week 210     3/5/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   26.66
138   211   Week 211    3/12/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   24.44
138   212   Week 212    3/19/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   16.61
138   213   Week 213    3/26/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   27.97
138   214   Week 214     4/2/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   24.64
138   215   Week 215     4/9/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   27.49
138   216   Week 216    4/16/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75     4.5
138   221   Week 221    5/21/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   11.85
138   222   Week 222    5/28/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    9.22
138   222   Week 222    5/28/2017   Southern   MP Southern Region    36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    5.47
138   223   Week 223     6/4/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   20.82
138   224   Week 224    6/11/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   15.39
138   225   Week 225    6/18/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   18.75
138   226   Week 226    6/25/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   16.35
138   227   Week 227     7/2/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    4.27
138   228   Week 228     7/9/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   19.02
138   229   Week 229    7/16/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    15.5
138   230   Week 230    7/23/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   16.88
138   231   Week 231    7/30/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   21.61
138   232   Week 232     8/6/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   14.56
138   233   Week 233    8/13/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    8.77
138   234   Week 234    8/20/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   13.83
138   236   Week 236     9/3/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   23.12
138   237   Week 237    9/10/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   13.29
138   238   Week 238    9/17/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    4.15
138   239   Week 239    9/24/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   27.15
138   240   Week 240    10/1/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   17.46
138   241   Week 241    10/8/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   24.07
138   242   Week 242   10/15/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   18.42
138   243   Week 243   10/22/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   26.98
138   244   Week 244   10/29/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   19.93
138   245   Week 245    11/5/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   23.01
138   246   Week 246   11/12/2017   Southern   DO Jay White          36   PAS   PTX112   55605   JACQUELINE   ALVAREZ   JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   16.45
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138   247   Week 247   11/19/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75    5.27
138   248   Week 248   11/26/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER   8.75   17.71
138   249   Week 249    12/3/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9      25
138   250   Week 250   12/10/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   25.23
138   251   Week 251   12/17/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   13.02
138   253   Week 253   12/31/2017   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   24.05
138   254   Week 254     1/7/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   21.83
138   255   Week 255    1/14/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   15.53
138   256   Week 256    1/21/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9    16.8
138   257   Week 257    1/28/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   15.53
138   258   Week 258     2/4/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   22.94
138   259   Week 259    2/11/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   19.44
138   260   Week 260    2/18/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   17.74
138   261   Week 261    2/25/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9    19.1
138   262   Week 262     3/4/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   14.56
138   263   Week 263    3/11/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   14.98
138   264   Week 264    3/18/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   21.17
138   265   Week 265    3/25/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9   18.24
138   266   Week 266     4/1/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9    14.8
138   267   Week 267     4/8/2018   Southern   DO Jay White     36   PAS   PTX112   55605   JACQUELINE    ALVAREZ    JACQUELINE ALVAREZ   DELIVERY DRIVER      9    5.03
464   157   Week 157    2/28/2016   Eastern    Nick Robertson   77   RBC   RBC905   60911   CHRISTOPHER   BISHOP     CHRISTOPHER BISHOP   DELIVERY DRIVER    7.5    20.3
464   158   Week 158     3/6/2016   Eastern    Nick Robertson   77   RBC   RBC905   60911   CHRISTOPHER   BISHOP     CHRISTOPHER BISHOP   DELIVERY DRIVER    7.5   23.89
154   101   Week 101     2/1/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   17.57
154   102   Week 102     2/8/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   15.88
154   103   Week 103    2/15/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   12.66
154   104   Week 104    2/22/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   19.08
154   105   Week 105     3/1/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   19.12
154   106   Week 106     3/8/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   20.35
154   107   Week 107    3/15/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   10.97
154   108   Week 108    3/22/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8    13.2
154   109   Week 109    3/29/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   12.76
154   110   Week 110     4/5/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   12.45
154   111   Week 111    4/12/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   19.87
154   112   Week 112    4/19/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER   8.34   27.92
154   113   Week 113    4/26/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   20.38
154   114   Week 114     5/3/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   21.22
154   115   Week 115    5/10/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   21.74
154   116   Week 116    5/17/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8      15
154   117   Week 117    5/24/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   18.28
154   118   Week 118    5/31/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   21.22
154   119   Week 119     6/7/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   23.25
154   120   Week 120    6/14/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   13.55
154   121   Week 121    6/21/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8    17.6
154   122   Week 122    6/28/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   10.08
154   123   Week 123     7/5/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   16.68
154   124   Week 124    7/12/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   16.85
154   125   Week 125    7/19/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   23.51
154   126   Week 126    7/26/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8    13.7
154   127   Week 127     8/2/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8      23
154   128   Week 128     8/9/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   15.92
154   129   Week 129    8/16/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   18.67
154   130   Week 130    8/23/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   15.72
154   131   Week 131    8/30/2015   Southern   Noel Luna        21   RIC   RIC475   47177   KANDICE       ANDERSON   KANDICE ANDERSON     DELIVERY DRIVER      8   12.13
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154   132   Week 132     9/6/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    8.77
154   133   Week 133    9/13/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   33.21
154   134   Week 134    9/20/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   26.91
154   135   Week 135    9/27/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    9.41
154   136   Week 136    10/4/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    13.3
154   137   Week 137   10/11/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   36.54
154   138   Week 138   10/18/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   18.03
154   139   Week 139   10/25/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   13.17
154   140   Week 140    11/1/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    17.5
154   141   Week 141    11/8/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   21.26
154   142   Week 142   11/15/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   17.74
154   144   Week 144   11/29/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   26.42
154   145   Week 145    12/6/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.11    24.3
154   146   Week 146   12/13/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   16.27
154   147   Week 147   12/20/2015   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    8.42
154   149   Week 149     1/3/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   19.01
154   150   Week 150    1/10/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   19.07
154   151   Week 151    1/17/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    24.2
154   152   Week 152    1/24/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   13.42
154   153   Week 153    1/31/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   19.13
154   154   Week 154     2/7/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    7.43
154   154   Week 154     2/7/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    4.07
154   155   Week 155    2/14/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.57    25.7
154   155   Week 155    2/14/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   17.94
154   156   Week 156    2/21/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.95   35.12
154   157   Week 157    2/28/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    7.49
154   158   Week 158     3/6/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8     3.5
154   158   Week 158     3/6/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    17.1
154   159   Week 159    3/13/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    8.32
154   159   Week 159    3/13/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    8.47
154   160   Week 160    3/20/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    12.4
154   160   Week 160    3/20/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   14.42
154   161   Week 161    3/27/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.34   18.59
154   161   Week 161    3/27/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   20.16
154   162   Week 162     4/3/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.86    14.9
154   162   Week 162     4/3/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   24.33
154   163   Week 163    4/10/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   13.81
154   163   Week 163    4/10/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    20.3
154   164   Week 164    4/17/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   11.51
154   164   Week 164    4/17/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   22.95
154   165   Week 165    4/24/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   12.22
154   165   Week 165    4/24/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   20.62
154   166   Week 166     5/1/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    13.6
154   166   Week 166     5/1/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   20.71
154   167   Week 167     5/8/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   12.62
154   167   Week 167     5/8/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   23.87
154   168   Week 168    5/15/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   12.08
154   168   Week 168    5/15/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   21.41
154   169   Week 169    5/22/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   12.73
154   169   Week 169    5/22/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   17.85
154   170   Week 170    5/29/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    8.25
154   170   Week 170    5/29/2016   Southern   Noel Luna   21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    18.9
154   171   Week 171     6/5/2016   Southern   Noel Luna   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    6.33
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154   171   Week 171     6/5/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   16.43
154   172   Week 172    6/12/2016   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    3.58
154   172   Week 172    6/12/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   23.95
154   173   Week 173    6/19/2016   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    3.48
154   173   Week 173    6/19/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   16.78
154   175   Week 175     7/3/2016   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    4.97
154   175   Week 175     7/3/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8     9.1
154   176   Week 176    7/10/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   19.29
154   177   Week 177    7/17/2016   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8     8.4
154   177   Week 177    7/17/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   16.66
154   178   Week 178    7/24/2016   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    4.43
154   178   Week 178    7/24/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   19.85
154   179   Week 179    7/31/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   29.89
154   180   Week 180     8/7/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   25.66
154   181   Week 181    8/14/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   21.53
154   182   Week 182    8/21/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   13.38
154   183   Week 183    8/28/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   14.92
154   184   Week 184     9/4/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   18.34
154   185   Week 185    9/11/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   20.68
154   186   Week 186    9/18/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    25.1
154   187   Week 187    9/25/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   26.93
154   188   Week 188    10/2/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   21.39
154   189   Week 189    10/9/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   22.59
154   190   Week 190   10/16/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   18.85
154   191   Week 191   10/23/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   11.33
154   192   Week 192   10/30/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   16.67
154   193   Week 193    11/6/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   22.48
154   194   Week 194   11/13/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    18.7
154   195   Week 195   11/20/2016   Southern   Noel Luna         21   RIC   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   10.47
154   201   Week 201     1/1/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    10.8
154   210   Week 210     3/5/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    5.91
154   211   Week 211    3/12/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8    2.95
154   212   Week 212    3/19/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   17.91
154   213   Week 213    3/26/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   17.94
154   214   Week 214     4/2/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   14.83
154   215   Week 215     4/9/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   10.65
154   216   Week 216    4/16/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   27.02
154   217   Week 217    4/23/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   20.64
154   218   Week 218    4/30/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   24.57
154   219   Week 219     5/7/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   17.74
154   220   Week 220    5/14/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   17.55
154   221   Week 221    5/21/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   10.09
154   222   Week 222    5/28/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   10.35
154   222   Week 222    5/28/2017   Southern   Noel Luna         15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8     6.6
154   223   Week 223     6/4/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   30.79
154   224   Week 224    6/11/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   21.87
154   225   Week 225    6/18/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   27.11
154   226   Week 226    6/25/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   39.67
154   227   Week 227     7/2/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   19.94
154   228   Week 228     7/9/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   20.81
154   229   Week 229    7/16/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   18.75
154   230   Week 230    7/23/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   19.64
154   231   Week 231    7/30/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8   32.24
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 154   232   Week 232     8/6/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   25.69
 154   233   Week 233    8/13/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   30.45
 154   234   Week 234    8/20/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   13.65
 154   235   Week 235    8/27/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   21.44
 154   236   Week 236     9/3/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   22.65
 154   237   Week 237    9/10/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   35.35
 154   238   Week 238    9/17/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   35.92
 154   239   Week 239    9/24/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   26.35
 154   240   Week 240    10/1/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   36.12
 154   241   Week 241    10/8/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   38.02
 154   242   Week 242   10/15/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   31.38
 154   243   Week 243   10/22/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER    8.5   45.69
 154   244   Week 244   10/29/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.18   41.88
 154   245   Week 245    11/5/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.33   43.59
 154   246   Week 246   11/12/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   37.12
 154   247   Week 247   11/19/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   21.34
 154   248   Week 248   11/26/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   38.94
 154   249   Week 249    12/3/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.74   49.13
 154   250   Week 250   12/10/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.02   40.16
 154   251   Week 251   12/17/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   19.54
 154   252   Week 252   12/24/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   30.93
 154   253   Week 253   12/31/2017   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   39.95
 154   254   Week 254     1/7/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   35.88
 154   255   Week 255    1/14/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   34.47
 154   256   Week 256    1/21/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   33.79
 154   257   Week 257    1/28/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.43   44.86
 154   258   Week 258     2/4/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   38.23
 154   259   Week 259    2/11/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   37.31
 154   260   Week 260    2/18/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   39.02
 154   261   Week 261    2/25/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   29.89
 154   262   Week 262     3/4/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   31.18
 154   263   Week 263    3/11/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    39.4
 154   264   Week 264    3/18/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.55   46.42
 154   265   Week 265    3/25/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8   24.54
 154   266   Week 266     4/1/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER   8.27   42.86
 154   267   Week 267     4/8/2018   Southern   DO Kelly Finley   15   SSQ   RIC475   47177   KANDICE   ANDERSON   KANDICE ANDERSON   DELIVERY DRIVER      8    9.82
1166   150   Week 150    1/10/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   15.14
1166   151   Week 151    1/17/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8    10.2
1166   152   Week 152    1/24/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   11.75
1166   153   Week 153    1/31/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   15.62
1166   154   Week 154     2/7/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   13.93
1166   155   Week 155    2/14/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   11.91
1166   156   Week 156    2/21/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   13.74
1166   157   Week 157    2/28/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8   14.03
1166   158   Week 158     3/6/2016   Southern   Noel Luna         21   RIC   RIC529   59756   Michael   Crecy      Michael Crecy      DELIVERY DRIVER      8    7.35
3688   207   Week 207    2/12/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8    3.17
3688   208   Week 208    2/19/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8   16.79
3688   209   Week 209    2/26/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8   15.77
3688   210   Week 210     3/5/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8      14
3688   211   Week 211    3/12/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8   15.03
3688   212   Week 212    3/19/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8   12.25
3688   213   Week 213    3/26/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8   19.98
3688   214   Week 214     4/2/2017   Southern   Noel Luna         21   RIC   RIC573   68045   DANNY     MOUTON     DANNY MOUTON       DELIVERY DRIVER      8    16.9
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3688   215   Week 215     4/9/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    14.8
3688   216   Week 216    4/16/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   15.39
3688   217   Week 217    4/23/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   20.76
3688   218   Week 218    4/30/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    9.86
3688   219   Week 219     5/7/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   11.09
3688   220   Week 220    5/14/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   20.63
3688   221   Week 221    5/21/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   11.46
3688   222   Week 222    5/28/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    9.86
3688   222   Week 222    5/28/2017   Southern   Noel Luna          21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    5.92
3688   223   Week 223     6/4/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   14.96
3688   224   Week 224    6/11/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   11.26
3688   225   Week 225    6/18/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   13.23
3688   226   Week 226    6/25/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    6.47
3688   227   Week 227     7/2/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    7.15
3688   228   Week 228     7/9/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8   12.65
3688   229   Week 229    7/16/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8     7.3
3688   230   Week 230    7/23/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    8.89
3688   231   Week 231    7/30/2017   Southern   DO Jay White       21   RIC   RIC573     68045   DANNY      MOUTON    DANNY MOUTON      DELIVERY DRIVER     8    5.53
 375   171   Week 171     6/5/2016   Southern   James Cornett      40   RRK   RRK1000    63325   ALEXIA     BEASLEY   ALEXIA BEASLEY    DELIVERY DRIVER   11     24.9
 375   172   Week 172    6/12/2016   Southern   James Cornett      40   RRK   RRK1000    63325   ALEXIA     BEASLEY   ALEXIA BEASLEY    DELIVERY DRIVER   11     8.55
 375   173   Week 173    6/19/2016   Southern   James Cornett      40   RRK   RRK1000    63325   ALEXIA     BEASLEY   ALEXIA BEASLEY    DELIVERY DRIVER   11     19.1
 375   174   Week 174    6/26/2016   Southern   James Cornett      40   RRK   RRK1000    63325   ALEXIA     BEASLEY   ALEXIA BEASLEY    DELIVERY DRIVER   11     7.38
 375   175   Week 175     7/3/2016   Southern   James Cornett      40   RRK   RRK1000    63325   ALEXIA     BEASLEY   ALEXIA BEASLEY    DELIVERY DRIVER   11    25.16
  11    94   Week 94    12/14/2014   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   23.24
  11    95   Week 95    12/21/2014   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   14.08
  11    96   Week 96    12/28/2014   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   14.46
  11    97   Week 97      1/4/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   36.44
  11    98   Week 98     1/11/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   38.57
  11    99   Week 99     1/18/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   32.97
  11   100   Week 100    1/25/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   33.28
  11   101   Week 101     2/1/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   23.09
  11   102   Week 102     2/8/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   27.07
  11   103   Week 103    2/15/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   32.61
  11   104   Week 104    2/22/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8    39.7
  11   105   Week 105     3/1/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   27.89
  11   106   Week 106     3/8/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   28.19
  11   107   Week 107    3/15/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8    24.8
  11   108   Week 108    3/22/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8    36.7
  11   109   Week 109    3/29/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8   26.08
  11   110   Week 110     4/5/2015   Southern   James Cornett      40   RRK   RRK764    765342   JUAN       URIOL     JUAN URIOL        DELIVERY DRIVER     8     5.5
 550   229   Week 229    7/16/2017   Eastern    DO Jason Harmon     7   RSF   RSF582     70880   RICKY      BOYCE     RICKY BOYCE       DELIVERY DRIVER   10     8.76
 550   230   Week 230    7/23/2017   Eastern    DO Jason Harmon     7   RSF   RSF582     70880   RICKY      BOYCE     RICKY BOYCE       DELIVERY DRIVER   10     4.28
 550   231   Week 231    7/30/2017   Eastern    DO Jason Harmon     7   RSF   RSF582     70880   RICKY      BOYCE     RICKY BOYCE       DELIVERY DRIVER   10    14.27
 550   232   Week 232     8/6/2017   Eastern    DO Jason Harmon     7   RSF   RSF582     70880   RICKY      BOYCE     RICKY BOYCE       DELIVERY DRIVER   10    16.31
3758   219   Week 219     5/7/2017   Western    Default Area      207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5   11.77
3758   220   Week 220    5/14/2017   Western    Default Area      207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5     8.9
3758   221   Week 221    5/21/2017   Western    Default Area      207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5     9.2
3758   222   Week 222    5/28/2017   Western    DO Will Schmidt   207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5   11.71
3758   223   Week 223     6/4/2017   Western    DO Will Schmidt   207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5    13.7
3758   224   Week 224    6/11/2017   Western    DO Will Schmidt   207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5    7.39
3758   225   Week 225    6/18/2017   Western    DO Will Schmidt   207   RTX   RTX051     69936   ALEXX      NAYLOR    ALEXX NAYLOR      DELIVERY DRIVER   7.5     8.2
4307   219   Week 219     5/7/2017   Western    Default Area      207   RTX   RTX056     70030   BRITTANI   REEVES    BRITTANI REEVES   DELIVERY DRIVER   8.5   12.17
4307   220   Week 220    5/14/2017   Western    Default Area      207   RTX   RTX056     70030   BRITTANI   REEVES    BRITTANI REEVES   DELIVERY DRIVER   8.5   28.59
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4307   221   Week 221    5/21/2017   Western   Default Area      207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   17.17
4307   222   Week 222    5/28/2017   Western   Default Area      207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5    8.33
4307   222   Week 222    5/28/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5    8.47
4307   223   Week 223     6/4/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5     6.5
4307   224   Week 224    6/11/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5    8.09
4307   225   Week 225    6/18/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   13.93
4307   226   Week 226    6/25/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   16.01
4307   227   Week 227     7/2/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5    7.42
4307   228   Week 228     7/9/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   11.35
4307   229   Week 229    7/16/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   13.32
4307   230   Week 230    7/23/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   13.18
4307   231   Week 231    7/30/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   14.99
4307   232   Week 232     8/6/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   25.48
4307   233   Week 233    8/13/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   12.91
4307   234   Week 234    8/20/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   11.22
4307   235   Week 235    8/27/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   12.43
4307   236   Week 236     9/3/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   19.34
4307   237   Week 237    9/10/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   14.34
4307   238   Week 238    9/17/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   17.85
4307   239   Week 239    9/24/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   20.31
4307   240   Week 240    10/1/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5   11.45
4307   241   Week 241    10/8/2017   Western   DO Will Schmidt   207   RTX   RTX056   70030   BRITTANI   REEVES   BRITTANI REEVES   DELIVERY DRIVER    8.5     7.9
5616   104   Week 104    2/22/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25    22.1
5616   105   Week 105     3/1/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   20.98
5616   106   Week 106     3/8/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   28.98
5616   107   Week 107    3/15/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   31.45
5616   108   Week 108    3/22/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   27.17
5616   109   Week 109    3/29/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   28.67
5616   110   Week 110     4/5/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   26.02
5616   111   Week 111    4/12/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   20.69
5616   112   Week 112    4/19/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   26.72
5616   113   Week 113    4/26/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25    27.1
5616   114   Week 114     5/3/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   25.73
5616   115   Week 115    5/10/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   19.87
5616   116   Week 116    5/17/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   27.16
5616   117   Week 117    5/24/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   20.61
5616   118   Week 118    5/31/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   23.74
5616   123   Week 123     7/5/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   18.42
5616   124   Week 124    7/12/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   25.95
5616   125   Week 125    7/19/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   28.45
5616   126   Week 126    7/26/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   25.03
5616   127   Week 127     8/2/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   27.02
5616   128   Week 128     8/9/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   23.24
5616   129   Week 129    8/16/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   28.73
5616   130   Week 130    8/23/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   34.74
5616   131   Week 131    8/30/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   25.24
5616   132   Week 132     9/6/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   25.35
5616   133   Week 133    9/13/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   20.02
5616   134   Week 134    9/20/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   22.38
5616   135   Week 135    9/27/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25    28.5
5616   136   Week 136    10/4/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   28.96
5616   137   Week 137   10/11/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25    31.7
5616   138   Week 138   10/18/2015   Western   Thomas McDonald    27   SAR   SAR641   38970   Dean       Wiese    Dean Wiese        DELIVERY DRIVER   9.25   31.83
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5616   139   Week 139   10/25/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   27.27
5616   140   Week 140    11/1/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   30.82
5616   141   Week 141    11/8/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   20.94
5616   142   Week 142   11/15/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   31.65
5616   143   Week 143   11/22/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   11.65
5616   144   Week 144   11/29/2015   Western   Thomas McDonald   27   SAR   SAR641   38970   Dean      Wiese      Dean Wiese         DELIVERY DRIVER    9.25   18.68
1985   101   Week 101     2/1/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.37   37.23
1985   102   Week 102     2/8/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER     9.5   36.67
1985   103   Week 103    2/15/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35      37
1985   104   Week 104    2/22/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.52   41.53
1985   105   Week 105     3/1/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER     9.9   45.35
1985   106   Week 106     3/8/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   39.91
1985   107   Week 107    3/15/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   39.92
1985   108   Week 108    3/22/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.67   42.97
1985   109   Week 109    3/29/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   30.58
1985   110   Week 110     4/5/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   35.54
1985   111   Week 111    4/12/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.56   41.84
1985   112   Week 112    4/19/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   39.66
1985   113   Week 113    4/26/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.41   40.55
1985   114   Week 114     5/3/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.61
1985   115   Week 115    5/10/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   29.26
1985   116   Week 116    5/17/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.11
1985   117   Week 117    5/24/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.43
1985   118   Week 118    5/31/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   36.95
1985   119   Week 119     6/7/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   35.48
1985   120   Week 120    6/14/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   33.08
1985   121   Week 121    6/21/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35    32.9
1985   122   Week 122    6/28/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.63
1985   123   Week 123     7/5/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   23.09
1985   124   Week 124    7/12/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   24.14
1985   125   Week 125    7/19/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35    28.2
1985   127   Week 127     8/2/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   32.84
1985   128   Week 128     8/9/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   32.04
1985   129   Week 129    8/16/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   30.33
1985   130   Week 130    8/23/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   30.85
1985   131   Week 131    8/30/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.78
1985   132   Week 132     9/6/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   36.39
1985   133   Week 133    9/13/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   33.81
1985   134   Week 134    9/20/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   26.64
1985   135   Week 135    9/27/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   31.93
1985   136   Week 136    10/4/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   30.83
1985   137   Week 137   10/11/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   33.19
1985   138   Week 138   10/18/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   39.37
1985   139   Week 139   10/25/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   33.47
1985   140   Week 140    11/1/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.46   40.98
1985   141   Week 141    11/8/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.45   37.04
1985   142   Week 142   11/15/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   23.51
1985   143   Week 143   11/22/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   23.52
1985   144   Week 144   11/29/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   25.03
1985   145   Week 145    12/6/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   30.52
1985   146   Week 146   12/13/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   10.08   38.72
1985   147   Week 147   12/20/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   19.43
1985   148   Week 148   12/27/2015   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.35   18.66
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1985   149   Week 149     1/3/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35      29
1985   150   Week 150    1/10/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   28.75
1985   151   Week 151    1/17/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    3.53
1985   152   Week 152    1/24/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.52   38.28
1985   153   Week 153    1/31/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   27.92
1985   154   Week 154     2/7/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.57
1985   155   Week 155    2/14/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.4   40.43
1985   156   Week 156    2/21/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER    9.4   40.46
1985   157   Week 157    2/28/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   36.07
1985   158   Week 158     3/6/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    25.4
1985   159   Week 159    3/13/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   33.33
1985   160   Week 160    3/20/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.48
1985   161   Week 161    3/27/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   32.08
1985   162   Week 162     4/3/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    31.5
1985   163   Week 163    4/10/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   33.78
1985   164   Week 164    4/17/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.96
1985   165   Week 165    4/24/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.73   38.39
1985   166   Week 166     5/1/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   34.94
1985   167   Week 167     5/8/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.73   37.16
1985   168   Week 168    5/15/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.76   43.87
1985   169   Week 169    5/22/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    32.8
1985   170   Week 170    5/29/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   39.53
1985   171   Week 171     6/5/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   15.17
1985   172   Week 172    6/12/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.11
1985   173   Week 173    6/19/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.15
1985   174   Week 174    6/26/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   29.71
1985   175   Week 175     7/3/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   19.45
1985   176   Week 176    7/10/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.17
1985   177   Week 177    7/17/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   20.55
1985   178   Week 178    7/24/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   28.71
1985   179   Week 179    7/31/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   18.01
1985   180   Week 180     8/7/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.18
1985   181   Week 181    8/14/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   23.77
1985   182   Week 182    8/21/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.63
1985   183   Week 183    8/28/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.64   38.81
1985   184   Week 184     9/4/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   34.51
1985   185   Week 185    9/11/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.44   40.77
1985   186   Week 186    9/18/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.45   40.87
1985   187   Week 187    9/25/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.24
1985   188   Week 188    10/2/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.52
1985   189   Week 189    10/9/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.47   40.65
1985   190   Week 190   10/16/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.39
1985   191   Week 191   10/23/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.09
1985   192   Week 192   10/30/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.43   40.65
1985   193   Week 193    11/6/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.48   41.15
1985   194   Week 194   11/13/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   37.41
1985   195   Week 195   11/20/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   25.53
1985   196   Week 196   11/27/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   36.54
1985   197   Week 197    12/4/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.66
1985   198   Week 198   12/11/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.42    40.6
1985   199   Week 199   12/18/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   25.41
1985   200   Week 200   12/25/2016   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   32.79
1985   201   Week 201     1/1/2017   Western   Thomas McDonald   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   28.71
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1985   202   Week 202     1/8/2017   Western   Thomas McDonald      27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.63    42.5
1985   203   Week 203    1/15/2017   Western   Thomas McDonald      27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   36.77
1985   204   Week 204    1/22/2017   Western   Thomas McDonald      27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.48   41.15
1985   205   Week 205    1/29/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.48   30.28
1985   205   Week 205    1/29/2017   Western   Thomas McDonald      27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   10.57
1985   206   Week 206     2/5/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   33.39
1985   207   Week 207    2/12/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.35
1985   208   Week 208    2/19/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.66
1985   209   Week 209    2/26/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   38.35
1985   210   Week 210     3/5/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.96
1985   211   Week 211    3/12/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    8.31
1985   212   Week 212    3/19/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.97
1985   213   Week 213    3/26/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   26.53
1985   214   Week 214     4/2/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35     9.9
1985   215   Week 215     4/9/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.05
1985   216   Week 216    4/16/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.64
1985   217   Week 217    4/23/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.54    41.7
1985   218   Week 218    4/30/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   39.32
1985   219   Week 219     5/7/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   36.09
1985   220   Week 220    5/14/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.26
1985   221   Week 221    5/21/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   27.79
1985   222   Week 222    5/28/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   20.24
1985   222   Week 222    5/28/2017   Western   MP Western Region    27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35    9.19
1985   223   Week 223     6/4/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   29.61
1985   224   Week 224    6/11/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   28.06
1985   225   Week 225    6/18/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   31.87
1985   226   Week 226    6/25/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   37.25
1985   227   Week 227     7/2/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   27.83
1985   228   Week 228     7/9/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   32.26
1985   229   Week 229    7/16/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   24.34
1985   230   Week 230    7/23/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   26.52
1985   231   Week 231    7/30/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   26.62
1985   232   Week 232     8/6/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   29.85
1985   233   Week 233    8/13/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   27.22
1985   234   Week 234    8/20/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   27.92
1985   235   Week 235    8/27/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   30.67
1985   236   Week 236     9/3/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   33.33
1985   237   Week 237    9/10/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.01
1985   238   Week 238    9/17/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   33.97
1985   239   Week 239    9/24/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   35.03
1985   240   Week 240    10/1/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   30.35
1985   241   Week 241    10/8/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   36.19
1985   242   Week 242   10/15/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   34.08
1985   243   Week 243   10/22/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   26.71
1985   244   Week 244   10/29/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   30.93
1985   245   Week 245    11/5/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   29.63
1985   246   Week 246   11/12/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   34.29
1985   247   Week 247   11/19/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   12.07
1985   248   Week 248   11/26/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   30.29
1985   249   Week 249    12/3/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   28.68
1985   250   Week 250   12/10/2017   Western   DO Michael Johnson   27   SAR   SAR646   39683   MICHAEL   GONZALES   MICHAEL GONZALES   DELIVERY DRIVER   9.35   25.11
1767   114   Week 114     5/3/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER    7.5    3.53
1767   115   Week 115    5/10/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER    7.5   14.17
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1767   116   Week 116    5/17/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5   16.47
1767   117   Week 117    5/24/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5   17.19
1767   118   Week 118    5/31/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5   16.79
1767   119   Week 119     6/7/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.18
1767   120   Week 120    6/14/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5   12.16
1767   121   Week 121    6/21/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5   13.28
1767   122   Week 122    6/28/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    5.27
1767   123   Week 123     7/5/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.04
1767   124   Week 124    7/12/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    8.22
1767   125   Week 125    7/19/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    9.12
1767   126   Week 126    7/26/2015   Western   Thomas McDonald      27   SAR   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    4.85
1767   130   Week 130    8/23/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.22
1767   132   Week 132     9/6/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    4.15
1767   135   Week 135    9/27/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    3.55
1767   136   Week 136    10/4/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5     6.4
1767   137   Week 137   10/11/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    5.98
1767   138   Week 138   10/18/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    8.02
1767   139   Week 139   10/25/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    8.66
1767   140   Week 140    11/1/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.77
1767   141   Week 141    11/8/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.45
1767   142   Week 142   11/15/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.02
1767   144   Week 144   11/29/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5     8.2
1767   145   Week 145    12/6/2015   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.33
1767   151   Week 151    1/17/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    8.27
1767   152   Week 152    1/24/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    5.32
1767   153   Week 153    1/31/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.26
1767   154   Week 154     2/7/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.82
1767   156   Week 156    2/21/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.46
1767   157   Week 157    2/28/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.28
1767   158   Week 158     3/6/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.12
1767   159   Week 159    3/13/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    3.23
1767   161   Week 161    3/27/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.22
1767   162   Week 162     4/3/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5     6.8
1767   163   Week 163    4/10/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5     7.6
1767   164   Week 164    4/17/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.24
1767   165   Week 165    4/24/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.28
1767   166   Week 166     5/1/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.98
1767   170   Week 170    5/29/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    7.25
1767   171   Week 171     6/5/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.12
1767   172   Week 172    6/12/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5     7.8
1767   173   Week 173    6/19/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    6.47
1767   174   Week 174    6/26/2016   Western   MP Western Region     6   ARL   SAR685   54855   ZACHARY   FRANKLIN   ZACHARY FRANKLIN   DELIVERY DRIVER     7.5    5.55
1770   194   Week 194   11/13/2016   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5    6.37
1770   196   Week 196   11/27/2016   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5   18.34
1770   197   Week 197    12/4/2016   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5     9.2
1770   198   Week 198   12/11/2016   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5   12.77
1770   201   Week 201     1/1/2017   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5    8.52
1770   202   Week 202     1/8/2017   Western   Thomas McDonald      27   SAR   SAR761   66497   ROB       FRANZ      ROB FRANZ          DELIVERY DRIVER     7.5    3.25
3854   238   Week 238    9/17/2017   Eastern   DO Will Schmidt     198   SGA   SGA076   58724   STEPHEN   OGLESBY    STEPHEN OGLESBY    DELIVERY DRIVER   11.75    5.97
3854   239   Week 239    9/24/2017   Eastern   DO Will Schmidt     198   SGA   SGA076   58724   STEPHEN   OGLESBY    STEPHEN OGLESBY    DELIVERY DRIVER   11.75   17.86
3854   240   Week 240    10/1/2017   Eastern   DO Will Schmidt     198   SGA   SGA076   58724   STEPHEN   OGLESBY    STEPHEN OGLESBY    DELIVERY DRIVER   11.75    9.06
3854   241   Week 241    10/8/2017   Eastern   DO Will Schmidt     198   SGA   SGA076   58724   STEPHEN   OGLESBY    STEPHEN OGLESBY    DELIVERY DRIVER   11.75   21.83
3854   242   Week 242   10/15/2017   Eastern   DO Will Schmidt     198   SGA   SGA076   58724   STEPHEN   OGLESBY    STEPHEN OGLESBY    DELIVERY DRIVER   11.75   22.23
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3854   243   Week 243   10/22/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER   11.75   20.68
3854   244   Week 244   10/29/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER   12.15   37.04
3854   245   Week 245    11/5/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER   11.75   31.14
3854   246   Week 246   11/12/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   34.52
3854   247   Week 247   11/19/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   15.28
3854   248   Week 248   11/26/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   25.22
3854   249   Week 249    12/3/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   29.11
3854   250   Week 250   12/10/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   16.57
3854   251   Week 251   12/17/2017   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12    7.75
3854   254   Week 254     1/7/2018   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   19.33
3854   255   Week 255    1/14/2018   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12   24.83
3854   256   Week 256    1/21/2018   Eastern   DO Will Schmidt   198   SGA   SGA076   58724   STEPHEN      OGLESBY    STEPHEN OGLESBY       DELIVERY DRIVER      12    8.33
5712   145   Week 145    12/6/2015   Eastern   Don Shirley       198   SGA   SGA086   58814   GREGGORY     WILSON     GREGGORY WILSON       DELIVERY DRIVER    7.25    12.1
5712   146   Week 146   12/13/2015   Eastern   Don Shirley       198   SGA   SGA086   58814   GREGGORY     WILSON     GREGGORY WILSON       DELIVERY DRIVER    7.25     9.8
3828   206   Week 206     2/5/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   17.44
3828   207   Week 207    2/12/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   21.22
3828   208   Week 208    2/19/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   27.22
3828   209   Week 209    2/26/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   16.65
3828   210   Week 210     3/5/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   15.43
3828   211   Week 211    3/12/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   13.91
3828   212   Week 212    3/19/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   13.04
3828   213   Week 213    3/26/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   24.13
3828   214   Week 214     4/2/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   17.44
3828   215   Week 215     4/9/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   17.14
3828   216   Week 216    4/16/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5      19
3828   217   Week 217    4/23/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   14.22
3828   218   Week 218    4/30/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   14.25
3828   219   Week 219     5/7/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER     8.5   21.27
3828   220   Week 220    5/14/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   20.82
3828   221   Week 221    5/21/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    6.28
3828   222   Week 222    5/28/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   12.95
3828   222   Week 222    5/28/2017   Eastern   Don Shirley       198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   12.44
3828   223   Week 223     6/4/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   18.47
3828   224   Week 224    6/11/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   17.36
3828   225   Week 225    6/18/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    9.42
3828   226   Week 226    6/25/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   19.69
3828   228   Week 228     7/9/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    8.58
3828   229   Week 229    7/16/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    8.82
3828   230   Week 230    7/23/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   13.25
3828   231   Week 231    7/30/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   14.87
3828   232   Week 232     8/6/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   12.46
3828   233   Week 233    8/13/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9   19.07
3828   234   Week 234    8/20/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    8.51
3828   235   Week 235    8/27/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    8.41
3828   236   Week 236     9/3/2017   Eastern   DO Will Schmidt   198   SGA   SGA183   67869   ABDUL        NOUROZI    ABDUL NOUROZI         DELIVERY DRIVER       9    8.57
5631   223   Week 223     6/4/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9    5.48
5631   224   Week 224    6/11/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   34.65
5631   225   Week 225    6/18/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   30.41
5631   226   Week 226    6/25/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   28.22
5631   227   Week 227     7/2/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   24.83
5631   228   Week 228     7/9/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   23.36
5631   229   Week 229    7/16/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   32.86
5631   230   Week 230    7/23/2017   Eastern   DO Will Schmidt   198   SGA   SGA210   70662   ANNASTACIA   WILLIAMS   ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   34.35
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5631   231   Week 231    7/30/2017   Eastern    DO Will Schmidt   198   SGA   SGA210    70662   ANNASTACIA   WILLIAMS     ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   35.12
5631   232   Week 232     8/6/2017   Eastern    DO Will Schmidt   198   SGA   SGA210    70662   ANNASTACIA   WILLIAMS     ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   34.33
5631   233   Week 233    8/13/2017   Eastern    DO Will Schmidt   198   SGA   SGA210    70662   ANNASTACIA   WILLIAMS     ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   29.77
5631   234   Week 234    8/20/2017   Eastern    DO Will Schmidt   198   SGA   SGA210    70662   ANNASTACIA   WILLIAMS     ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   32.97
5631   235   Week 235    8/27/2017   Eastern    DO Will Schmidt   198   SGA   SGA210    70662   ANNASTACIA   WILLIAMS     ANNASTACIA WILLIAMS   DELIVERY DRIVER       9   14.39
3332   233   Week 233    8/13/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   15.86
3332   234   Week 234    8/20/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   12.66
3332   235   Week 235    8/27/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    9.88
3332   236   Week 236     9/3/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    9.76
3332   237   Week 237    9/10/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   15.87
3332   238   Week 238    9/17/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   20.13
3332   239   Week 239    9/24/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   31.71
3332   240   Week 240    10/1/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   24.29
3332   241   Week 241    10/8/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    21.5
3332   242   Week 242   10/15/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   29.51
3332   243   Week 243   10/22/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   21.32
3332   244   Week 244   10/29/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    8.18
3332   246   Week 246   11/12/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   24.17
3332   247   Week 247   11/19/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   31.16
3332   248   Week 248   11/26/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   13.67
3332   249   Week 249    12/3/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    21.4
3332   250   Week 250   12/10/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   28.05
3332   251   Week 251   12/17/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9    7.07
3332   252   Week 252   12/24/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   12.02
3332   253   Week 253   12/31/2017   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER       9   21.57
3332   254   Week 254     1/7/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   26.62
3332   255   Week 255    1/14/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   34.82
3332   256   Week 256    1/21/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER   10.02   44.95
3332   257   Week 257    1/28/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   28.94
3332   258   Week 258     2/4/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   21.45
3332   259   Week 259    2/11/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   23.93
3332   260   Week 260    2/18/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5    27.1
3332   261   Week 261    2/25/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   24.76
3332   262   Week 262     3/4/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   24.43
3332   263   Week 263    3/11/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   20.87
3332   264   Week 264    3/18/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   23.35
3332   265   Week 265    3/25/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5   18.17
3332   267   Week 267     4/8/2018   Eastern    DO Will Schmidt   198   SGA   SGA219    72031   STEVEN       MCALLISTER   STEVEN MCALLISTER     DELIVERY DRIVER     9.5     5.5
4014   107   Week 107    3/15/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5    3.95
4014   108   Week 108    3/22/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5   11.92
4014   109   Week 109    3/29/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5    3.22
4014   110   Week 110     4/5/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5    6.65
4014   111   Week 111    4/12/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5    7.98
4014   112   Week 112    4/19/2015   Southern   Noel Luna          25   SGR   SGR614    45141   SEAN         PENALBER     SEAN PENALBER         DELIVERY DRIVER     8.5    3.25
3552   145   Week 145    12/6/2015   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5    4.88
3552   146   Week 146   12/13/2015   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   15.57
3552   150   Week 150    1/10/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   15.72
3552   151   Week 151    1/17/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   21.18
3552   152   Week 152    1/24/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   14.71
3552   153   Week 153    1/31/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5    15.7
3552   154   Week 154     2/7/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   20.27
3552   155   Week 155    2/14/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   18.86
3552   156   Week 156    2/21/2016   Southern   Noel Luna          21   RIC   SPC102   649863   JUAN         MIRANDA      JUAN MIRANDA          DELIVERY DRIVER     8.5   17.55
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3552   157   Week 157    2/28/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5   15.68
3552   158   Week 158     3/6/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    8.16
3552   159   Week 159    3/13/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     3.8
3552   160   Week 160    3/20/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     2.4
3552   161   Week 161    3/27/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    4.07
3552   162   Week 162     4/3/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    8.14
3552   163   Week 163    4/10/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    3.85
3552   164   Week 164    4/17/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     4.3
3552   168   Week 168    5/15/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5   13.04
3552   169   Week 169    5/22/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    3.07
3552   170   Week 170    5/29/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    6.03
3552   171   Week 171     6/5/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     7.2
3552   172   Week 172    6/12/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5   16.02
3552   173   Week 173    6/19/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    8.24
3552   174   Week 174    6/26/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     5.5
3552   175   Week 175     7/3/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    2.97
3552   176   Week 176    7/10/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    11.7
3552   177   Week 177    7/17/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     9.6
3552   178   Week 178    7/24/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    6.31
3552   179   Week 179    7/31/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5   10.63
3552   182   Week 182    8/21/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    3.12
3552   184   Week 184     9/4/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    5.45
3552   185   Week 185    9/11/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    2.87
3552   186   Week 186    9/18/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    8.83
3552   187   Week 187    9/25/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    8.67
3552   188   Week 188    10/2/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5     4.3
3552   189   Week 189    10/9/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    6.63
3552   191   Week 191   10/23/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    3.57
3552   192   Week 192   10/30/2016   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    5.52
3552   204   Week 204    1/22/2017   Southern   Noel Luna   21   RIC   SPC102   649863   JUAN    MIRANDA       JUAN MIRANDA           DELIVERY DRIVER    8.5    3.63
5341   102   Week 102     2/8/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5    37.4
5341   103   Week 103    2/15/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   29.93
5341   104   Week 104    2/22/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.98
5341   105   Week 105     3/1/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.33
5341   106   Week 106     3/8/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.32
5341   107   Week 107    3/15/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.28
5341   108   Week 108    3/22/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.11
5341   109   Week 109    3/29/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.91
5341   110   Week 110     4/5/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.81
5341   111   Week 111    4/12/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.05
5341   112   Week 112    4/19/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5      35
5341   113   Week 113    4/26/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   31.62
5341   114   Week 114     5/3/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   33.95
5341   115   Week 115    5/10/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5    30.3
5341   116   Week 116    5/17/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   20.66
5341   117   Week 117    5/24/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   29.22
5341   118   Week 118    5/31/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.78
5341   119   Week 119     6/7/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.74
5341   120   Week 120    6/14/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.86
5341   121   Week 121    6/21/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.19
5341   122   Week 122    6/28/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   22.77
5341   123   Week 123     7/5/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   28.35
5341   124   Week 124    7/12/2015   Southern   Noel Luna   23   SPC   SPC138    36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   27.99
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5341   125   Week 125    7/19/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.64
5341   126   Week 126    7/26/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.62
5341   127   Week 127     8/2/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.63
5341   128   Week 128     8/9/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.85
5341   129   Week 129    8/16/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.31
5341   130   Week 130    8/23/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.12
5341   131   Week 131    8/30/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   26.34
5341   132   Week 132     9/6/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   38.24
5341   133   Week 133    9/13/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   26.46
5341   134   Week 134    9/20/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   33.92
5341   135   Week 135    9/27/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   37.31
5341   136   Week 136    10/4/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.77
5341   137   Week 137   10/11/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.03
5341   138   Week 138   10/18/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   28.24
5341   139   Week 139   10/25/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5    34.8
5341   140   Week 140    11/1/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5    36.5
5341   141   Week 141    11/8/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   31.96
5341   142   Week 142   11/15/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   37.35
5341   143   Week 143   11/22/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   26.28
5341   144   Week 144   11/29/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.93
5341   145   Week 145    12/6/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.25
5341   146   Week 146   12/13/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   29.98
5341   148   Week 148   12/27/2015   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5     7.5
5341   149   Week 149     1/3/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.89
5341   150   Week 150    1/10/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   34.24
5341   151   Week 151    1/17/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   36.23
5341   152   Week 152    1/24/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   35.72
5341   153   Week 153    1/31/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   32.12
5341   154   Week 154     2/7/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   33.63
5341   155   Week 155    2/14/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   28.52
5341   156   Week 156    2/21/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5    37.3
5341   157   Week 157    2/28/2016   Southern   Noel Luna   23   SPC   SPC138   36363   MARIO   VALLEJO TORRESMARIO VALLEJO TORRES   DELIVERY DRIVER   10.5   25.85
1392   102   Week 102     2/8/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   16.87
1392   103   Week 103    2/15/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   19.42
1392   104   Week 104    2/22/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   15.65
1392   105   Week 105     3/1/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   16.78
1392   106   Week 106     3/8/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   11.72
1392   107   Week 107    3/15/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   15.67
1392   108   Week 108    3/22/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   11.33
1392   109   Week 109    3/29/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75    7.48
1392   110   Week 110     4/5/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75    12.2
1392   111   Week 111    4/12/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   13.65
1392   112   Week 112    4/19/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   12.17
1392   113   Week 113    4/26/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75    6.92
1392   114   Week 114     5/3/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   10.51
1392   115   Week 115    5/10/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   12.33
1392   116   Week 116    5/17/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75    6.14
1392   119   Week 119     6/7/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   17.21
1392   120   Week 120    6/14/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   11.65
1392   121   Week 121    6/21/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   12.65
1392   122   Week 122    6/28/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75     4.4
1392   123   Week 123     7/5/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75      11
1392   124   Week 124    7/12/2015   Southern   Noel Luna   23   SPC   SPC557   45893   JOSUE   DIAZ          JOSUE DIAZ             DELIVERY DRIVER   7.75   14.89
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1392   125   Week 125    7/19/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   12.05
1392   126   Week 126    7/26/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   11.37
1392   127   Week 127     8/2/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.88
1392   128   Week 128     8/9/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    14.3
1392   129   Week 129    8/16/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.19
1392   130   Week 130    8/23/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    10.5
1392   131   Week 131    8/30/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   10.79
1392   132   Week 132     9/6/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    3.98
1392   133   Week 133    9/13/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   11.38
1392   134   Week 134    9/20/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.69
1392   135   Week 135    9/27/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   11.15
1392   136   Week 136    10/4/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    7.43
1392   137   Week 137   10/11/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75     7.1
1392   138   Week 138   10/18/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.65
1392   139   Week 139   10/25/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    7.17
1392   140   Week 140    11/1/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   14.58
1392   141   Week 141    11/8/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   17.65
1392   142   Week 142   11/15/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.47
1392   143   Week 143   11/22/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    3.78
1392   144   Week 144   11/29/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.11
1392   145   Week 145    12/6/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   17.06
1392   146   Week 146   12/13/2015   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    10.5
1392   149   Week 149     1/3/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.69
1392   150   Week 150    1/10/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   11.41
1392   151   Week 151    1/17/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.57
1392   152   Week 152    1/24/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.88
1392   153   Week 153    1/31/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.78
1392   154   Week 154     2/7/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.78
1392   155   Week 155    2/14/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    6.92
1392   156   Week 156    2/21/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.31
1392   157   Week 157    2/28/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   13.62
1392   158   Week 158     3/6/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.42
1392   159   Week 159    3/13/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   11.29
1392   160   Week 160    3/20/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   15.21
1392   161   Week 161    3/27/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75    8.72
1392   162   Week 162     4/3/2016   Southern   Noel Luna      23   SPC   SPC557   45893   JOSUE      DIAZ       JOSUE DIAZ          DELIVERY DRIVER   7.75   10.45
5619   103   Week 103    2/15/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   22.68
5619   104   Week 104    2/22/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   19.96
5619   105   Week 105     3/1/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8    9.03
5619   106   Week 106     3/8/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   14.96
5619   107   Week 107    3/15/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8    3.82
5619   108   Week 108    3/22/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   16.96
5619   109   Week 109    3/29/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8    18.6
5619   110   Week 110     4/5/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   16.25
5619   111   Week 111    4/12/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   32.74
5619   112   Week 112    4/19/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   33.52
5619   113   Week 113    4/26/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   31.62
5619   114   Week 114     5/3/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER      8   34.09
5619   115   Week 115    5/10/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.31   37.35
5619   116   Week 116    5/17/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   36.97
5619   117   Week 117    5/24/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   38.36
5619   118   Week 118    5/31/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   26.76
5619   119   Week 119     6/7/2015   Eastern    Les Brannen   124   SSC   SSC337   48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   30.68
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5619   120   Week 120    6/14/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.12   43.66
5619   121   Week 121    6/21/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   26.89
5619   122   Week 122    6/28/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   23.01
5619   123   Week 123     7/5/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   25.01
5619   124   Week 124    7/12/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   28.66
5619   125   Week 125    7/19/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   28.05
5619   126   Week 126    7/26/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75   36.95
5619   127   Week 127     8/2/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   8.75    29.3
5619   128   Week 128     8/9/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.46   41.91
5619   129   Week 129    8/16/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   29.23
5619   130   Week 130    8/23/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   31.05
5619   131   Week 131    8/30/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   23.52
5619   132   Week 132     9/6/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   31.99
5619   133   Week 133    9/13/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   20.64
5619   134   Week 134    9/20/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   23.95
5619   135   Week 135    9/27/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    26.8
5619   136   Week 136    10/4/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   19.79
5619   137   Week 137   10/11/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   27.12
5619   138   Week 138   10/18/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    28.1
5619   139   Week 139   10/25/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   27.28
5619   140   Week 140    11/1/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   27.24
5619   141   Week 141    11/8/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   26.46
5619   142   Week 142   11/15/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   19.57
5619   143   Week 143   11/22/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   21.58
5619   144   Week 144   11/29/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   25.17
5619   145   Week 145    12/6/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   39.18
5619   146   Week 146   12/13/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   28.76
5619   147   Week 147   12/20/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    9.08
5619   148   Week 148   12/27/2015   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   16.87
5619   149   Week 149     1/3/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    16.6
5619   150   Week 150    1/10/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   19.91
5619   151   Week 151    1/17/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   14.73
5619   152   Week 152    1/24/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    23.7
5619   153   Week 153    1/31/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   11.52
5619   154   Week 154     2/7/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   10.97
5619   155   Week 155    2/14/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   17.52
5619   156   Week 156    2/21/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25    9.85
5619   157   Week 157    2/28/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   14.55
5619   158   Week 158     3/6/2016   Eastern    Les Brannen   124   SSC   SSC337    48332   CAROLINE   MONAGHAN   CAROLINE MONAGHAN   DELIVERY DRIVER   9.25   19.79
 833   105   Week 105     3/1/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8       3
 833   106   Week 106     3/8/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8   12.58
 833   107   Week 107    3/15/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8   10.77
 833   108   Week 108    3/22/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8    0.25
 833   111   Week 111    4/12/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8     0.6
 833   112   Week 112    4/19/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8    8.65
 833   113   Week 113    4/26/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8    10.3
 833   114   Week 114     5/3/2015   Eastern    Les Brannen   124   SSC   SSC352    51464   ANDREA     CARPER     ANDREA CARPER       DELIVERY DRIVER      8    9.68
4533   106   Week 106     3/8/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   23.85
4533   107   Week 107    3/15/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   29.15
4533   108   Week 108    3/22/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   34.07
4533   109   Week 109    3/29/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   28.01
4533   110   Week 110     4/5/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   26.42
4533   111   Week 111    4/12/2015   Southern   Noel Luna      60   DTH   SSQ221   865597   JOSE       SABIN      JOSE SABIN          DELIVERY DRIVER    8.5   27.33
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4533   112   Week 112    4/19/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   30.49
4533   113   Week 113    4/26/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   29.71
4533   114   Week 114     5/3/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   28.39
4533   115   Week 115    5/10/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.03
4533   116   Week 116    5/17/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5    31.8
4533   117   Week 117    5/24/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   21.66
4533   118   Week 118    5/31/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   38.36
4533   119   Week 119     6/7/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   29.66
4533   120   Week 120    6/14/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.31
4533   121   Week 121    6/21/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.95
4533   122   Week 122    6/28/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   30.23
4533   123   Week 123     7/5/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   34.63
4533   124   Week 124    7/12/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   36.66
4533   125   Week 125    7/19/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.78
4533   126   Week 126    7/26/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   38.13
4533   127   Week 127     8/2/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.62   41.11
4533   128   Week 128     8/9/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5    38.6
4533   129   Week 129    8/16/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.72   42.13
4533   130   Week 130    8/23/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.65   41.46
4533   131   Week 131    8/30/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5    31.7
4533   132   Week 132     9/6/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.54   40.42
4533   133   Week 133    9/13/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   39.36
4533   134   Week 134    9/20/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   39.98
4533   135   Week 135    9/27/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   32.05
4533   136   Week 136    10/4/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   39.12
4533   137   Week 137   10/11/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   36.03
4533   138   Week 138   10/18/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.91
4533   139   Week 139   10/25/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   28.67
4533   140   Week 140    11/1/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.92
4533   141   Week 141    11/8/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   38.81
4533   142   Week 142   11/15/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   31.62
4533   143   Week 143   11/22/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5     7.3
4533   144   Week 144   11/29/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   39.78
4533   145   Week 145    12/6/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   38.33
4533   146   Week 146   12/13/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   33.64
4533   147   Week 147   12/20/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5     8.6
4533   148   Week 148   12/27/2015   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   31.12
4533   149   Week 149     1/3/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.85
4533   150   Week 150    1/10/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   32.26
4533   151   Week 151    1/17/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.22
4533   152   Week 152    1/24/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   36.02
4533   153   Week 153    1/31/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   33.81
4533   154   Week 154     2/7/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.66   41.52
4533   155   Week 155    2/14/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.04
4533   156   Week 156    2/21/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   34.96
4533   157   Week 157    2/28/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.05
4533   158   Week 158     3/6/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   34.58
4533   159   Week 159    3/13/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   22.75
4533   160   Week 160    3/20/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   20.55
4533   161   Week 161    3/27/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   38.34
4533   162   Week 162     4/3/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.69   41.84
4533   163   Week 163    4/10/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   31.69
4533   164   Week 164    4/17/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   35.33
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4533   165   Week 165    4/24/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER    8.5   37.96
4533   166   Week 166     5/1/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   32.12
4533   167   Week 167     5/8/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   38.24
4533   168   Week 168    5/15/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   36.63
4533   169   Week 169    5/22/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   30.26
4533   170   Week 170    5/29/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    32.3
4533   171   Week 171     6/5/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   34.35
4533   172   Week 172    6/12/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.82
4533   173   Week 173    6/19/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.83
4533   174   Week 174    6/26/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   24.72
4533   175   Week 175     7/3/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   30.83
4533   176   Week 176    7/10/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   15.38
4533   177   Week 177    7/17/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    19.6
4533   178   Week 178    7/24/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.82
4533   179   Week 179    7/31/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.78
4533   180   Week 180     8/7/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   35.74
4533   181   Week 181    8/14/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   34.99
4533   182   Week 182    8/21/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   32.04
4533   183   Week 183    8/28/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75      20
4533   184   Week 184     9/4/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   30.41
4533   185   Week 185    9/11/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   26.17
4533   186   Week 186    9/18/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.12
4533   187   Week 187    9/25/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   28.36
4533   188   Week 188    10/2/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    23.6
4533   189   Week 189    10/9/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   27.84
4533   190   Week 190   10/16/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   39.56
4533   191   Week 191   10/23/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.02
4533   192   Week 192   10/30/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   9.41   35.95
4533   193   Week 193    11/6/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   37.18
4533   194   Week 194   11/13/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   30.04
4533   195   Week 195   11/20/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    12.4
4533   196   Week 196   11/27/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   27.02
4533   197   Week 197    12/4/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    31.2
4533   198   Week 198   12/11/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    32.2
4533   199   Week 199   12/18/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   14.66
4533   200   Week 200   12/25/2016   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   16.07
4533   201   Week 201     1/1/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   27.08
4533   202   Week 202     1/8/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   29.81
4533   203   Week 203    1/15/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.64
4533   204   Week 204    1/22/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   28.93
4533   205   Week 205    1/29/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   30.45
4533   206   Week 206     2/5/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   9.49   48.07
4533   207   Week 207    2/12/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   34.03
4533   208   Week 208    2/19/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   32.17
4533   209   Week 209    2/26/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   31.93
4533   210   Week 210     3/5/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   33.42
4533   211   Week 211    3/12/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   22.92
4533   212   Week 212    3/19/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   36.19
4533   213   Week 213    3/26/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    8.35
4533   214   Week 214     4/2/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   23.21
4533   215   Week 215     4/9/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   35.09
4533   216   Week 216    4/16/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75   35.57
4533   217   Week 217    4/23/2017   Southern   Noel Luna   60   DTH   SSQ221   865597   JOSE   SABIN   JOSE SABIN   DELIVERY DRIVER   8.75    33.6
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4533   218   Week 218    4/30/2017   Southern   Noel Luna         60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   25.14
4533   219   Week 219     5/7/2017   Southern   Noel Luna         60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   32.65
4533   220   Week 220    5/14/2017   Southern   Noel Luna         60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   28.62
4533   221   Week 221    5/21/2017   Southern   Noel Luna         60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.69
4533   222   Week 222    5/28/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   13.13
4533   222   Week 222    5/28/2017   Southern   Noel Luna         60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   13.65
4533   223   Week 223     6/4/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   27.95
4533   224   Week 224    6/11/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   35.68
4533   225   Week 225    6/18/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   32.22
4533   226   Week 226    6/25/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   20.74
4533   227   Week 227     7/2/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   18.11
4533   228   Week 228     7/9/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   28.46
4533   229   Week 229    7/16/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.21
4533   230   Week 230    7/23/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75    33.4
4533   231   Week 231    7/30/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.73
4533   232   Week 232     8/6/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.52
4533   233   Week 233    8/13/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   32.89
4533   234   Week 234    8/20/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   21.95
4533   235   Week 235    8/27/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   20.59
4533   236   Week 236     9/3/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.36
4533   237   Week 237    9/10/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   26.65
4533   238   Week 238    9/17/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   32.68
4533   239   Week 239    9/24/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   27.68
4533   240   Week 240    10/1/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   31.38
4533   241   Week 241    10/8/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   33.46
4533   242   Week 242   10/15/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   31.74
4533   243   Week 243   10/22/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   29.61
4533   244   Week 244   10/29/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   39.45
4533   245   Week 245    11/5/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER    8.8   40.45
4533   246   Week 246   11/12/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   29.79
4533   247   Week 247   11/19/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   15.04
4533   248   Week 248   11/26/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   31.78
4533   249   Week 249    12/3/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   27.83
4533   250   Week 250   12/10/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   31.59
4533   251   Week 251   12/17/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   29.34
4533   253   Week 253   12/31/2017   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   20.13
4533   254   Week 254     1/7/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   34.52
4533   255   Week 255    1/14/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   30.93
4533   256   Week 256    1/21/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   32.22
4533   257   Week 257    1/28/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   33.45
4533   258   Week 258     2/4/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER      9   42.37
4533   259   Week 259    2/11/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   31.94
4533   260   Week 260    2/18/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   39.57
4533   261   Week 261    2/25/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   35.88
4533   262   Week 262     3/4/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   25.26
4533   263   Week 263    3/11/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75    6.47
4533   264   Week 264    3/18/2018   Southern   DO Kelly Finley   60 DTH   SSQ221   865597   JOSE     SABIN   JOSE SABIN     DELIVERY DRIVER   8.75   17.89
4532   103   Week 103    2/15/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5   25.21
4532   105   Week 105     3/1/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5   27.97
4532   106   Week 106     3/8/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5    32.9
4532   107   Week 107    3/15/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5   20.22
4532   108   Week 108    3/22/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5   28.95
4532   109   Week 109    3/29/2015   Southern   Noel Luna         60 DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER    8.5   26.52
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4532   110   Week 110     4/5/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   8.75   27.96
4532   111   Week 111    4/12/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   8.75   27.32
4532   112   Week 112    4/19/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   27.88
4532   113   Week 113    4/26/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.74
4532   114   Week 114     5/3/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   23.67
4532   115   Week 115    5/10/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   20.85
4532   116   Week 116    5/17/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   23.74
4532   117   Week 117    5/24/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    23.3
4532   118   Week 118    5/31/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   25.52
4532   119   Week 119     6/7/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    19.9
4532   120   Week 120    6/14/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   22.17
4532   121   Week 121    6/21/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.13
4532   122   Week 122    6/28/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   21.38
4532   123   Week 123     7/5/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   27.55
4532   124   Week 124    7/12/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   28.85
4532   125   Week 125    7/19/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    29.7
4532   126   Week 126    7/26/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   27.59
4532   127   Week 127     8/2/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   34.93
4532   128   Week 128     8/9/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.46
4532   129   Week 129    8/16/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.62
4532   130   Week 130    8/23/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   38.27
4532   131   Week 131    8/30/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   21.72
4532   132   Week 132     9/6/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   26.44
4532   133   Week 133    9/13/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9     6.9
4532   134   Week 134    9/20/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   36.89
4532   135   Week 135    9/27/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9      27
4532   136   Week 136    10/4/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.11
4532   137   Week 137   10/11/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.92
4532   138   Week 138   10/18/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   25.69
4532   139   Week 139   10/25/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.85
4532   140   Week 140    11/1/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   38.09
4532   141   Week 141    11/8/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   38.24
4532   142   Week 142   11/15/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   39.34
4532   143   Week 143   11/22/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   16.45
4532   144   Week 144   11/29/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   38.38
4532   145   Week 145    12/6/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   39.65
4532   146   Week 146   12/13/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   29.26
4532   147   Week 147   12/20/2015   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   14.32
4532   149   Week 149     1/3/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   34.96
4532   150   Week 150    1/10/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.85
4532   151   Week 151    1/17/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.14
4532   152   Week 152    1/24/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   34.88
4532   153   Week 153    1/31/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.78
4532   154   Week 154     2/7/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.89
4532   155   Week 155    2/14/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.26
4532   156   Week 156    2/21/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.27
4532   157   Week 157    2/28/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   37.07
4532   158   Week 158     3/6/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    34.2
4532   159   Week 159    3/13/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   27.81
4532   160   Week 160    3/20/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   14.25
4532   161   Week 161    3/27/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9.06   40.53
4532   162   Week 162     4/3/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.37
4532   163   Week 163    4/10/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   23.87
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4532   164   Week 164    4/17/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    27.5
4532   165   Week 165    4/24/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.73
4532   166   Week 166     5/1/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.22
4532   167   Week 167     5/8/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.95
4532   168   Week 168    5/15/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   26.51
4532   169   Week 169    5/22/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    13.1
4532   170   Week 170    5/29/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   30.27
4532   171   Week 171     6/5/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.28
4532   172   Week 172    6/12/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   31.05
4532   173   Week 173    6/19/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   31.45
4532   174   Week 174    6/26/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    24.4
4532   175   Week 175     7/3/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   23.48
4532   176   Week 176    7/10/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.68
4532   177   Week 177    7/17/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   23.66
4532   178   Week 178    7/24/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.62
4532   179   Week 179    7/31/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   24.27
4532   180   Week 180     8/7/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.84
4532   181   Week 181    8/14/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   31.62
4532   182   Week 182    8/21/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.51
4532   183   Week 183    8/28/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   21.09
4532   184   Week 184     9/4/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   32.57
4532   185   Week 185    9/11/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   30.76
4532   186   Week 186    9/18/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.04
4532   187   Week 187    9/25/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.28
4532   188   Week 188    10/2/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   19.24
4532   189   Week 189    10/9/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   32.86
4532   190   Week 190   10/16/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    33.4
4532   191   Week 191   10/23/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.82
4532   192   Week 192   10/30/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   38.16
4532   193   Week 193    11/6/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   34.18
4532   194   Week 194   11/13/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.87
4532   195   Week 195   11/20/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   12.83
4532   196   Week 196   11/27/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    31.3
4532   197   Week 197    12/4/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   28.11
4532   198   Week 198   12/11/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   34.31
4532   199   Week 199   12/18/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   11.72
4532   200   Week 200   12/25/2016   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   13.25
4532   201   Week 201     1/1/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   26.81
4532   202   Week 202     1/8/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   31.28
4532   203   Week 203    1/15/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    31.6
4532   204   Week 204    1/22/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9    30.4
4532   205   Week 205    1/29/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   27.97
4532   206   Week 206     2/5/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   14.38
4532   207   Week 207    2/12/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   29.59
4532   208   Week 208    2/19/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   31.34
4532   209   Week 209    2/26/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   33.45
4532   210   Week 210     3/5/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   32.62
4532   211   Week 211    3/12/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   28.14
4532   212   Week 212    3/19/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9      32
4532   213   Week 213    3/26/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   38.78
4532   214   Week 214     4/2/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   27.89
4532   215   Week 215     4/9/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   32.91
4532   216   Week 216    4/16/2017   Southern   Noel Luna   60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER   9   34.85
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4532   217   Week 217    4/23/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   28.05
4532   218   Week 218    4/30/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   29.67
4532   219   Week 219     5/7/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   33.02
4532   220   Week 220    5/14/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.79
4532   221   Week 221    5/21/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   22.84
4532   222   Week 222    5/28/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9      11
4532   222   Week 222    5/28/2017   Southern   Noel Luna          60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   11.59
4532   223   Week 223     6/4/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    28.7
4532   224   Week 224    6/11/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.67
4532   225   Week 225    6/18/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   26.67
4532   226   Week 226    6/25/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.72
4532   227   Week 227     7/2/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   21.69
4532   228   Week 228     7/9/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.44
4532   229   Week 229    7/16/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.36
4532   230   Week 230    7/23/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.08
4532   231   Week 231    7/30/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   23.42
4532   232   Week 232     8/6/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   36.79
4532   233   Week 233    8/13/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    32.6
4532   234   Week 234    8/20/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   26.01
4532   235   Week 235    8/27/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   13.68
4532   236   Week 236     9/3/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.72
4532   237   Week 237    9/10/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   28.48
4532   238   Week 238    9/17/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.85
4532   239   Week 239    9/24/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   28.36
4532   240   Week 240    10/1/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.94
4532   241   Week 241    10/8/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.45
4532   242   Week 242   10/15/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   34.96
4532   242   Week 242   10/15/2017   Southern   DO Kelly Finley   117   DT2   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    1.57
4532   243   Week 243   10/22/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.78
4532   244   Week 244   10/29/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   14.61
4532   245   Week 245    11/5/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   33.49
4532   246   Week 246   11/12/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.36
4532   247   Week 247   11/19/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   14.65
4532   248   Week 248   11/26/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.56
4532   249   Week 249    12/3/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.57
4532   250   Week 250   12/10/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   30.52
4532   251   Week 251   12/17/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   11.95
4532   253   Week 253   12/31/2017   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   29.12
4532   254   Week 254     1/7/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    24.7
4532   255   Week 255    1/14/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   13.15
4532   256   Week 256    1/21/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   34.64
4532   257   Week 257    1/28/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    34.5
4532   258   Week 258     2/4/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   28.38
4532   259   Week 259    2/11/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.16
4532   260   Week 260    2/18/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.86
4532   261   Week 261    2/25/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.44
4532   262   Week 262     3/4/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   25.07
4532   263   Week 263    3/11/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    8.28
4532   264   Week 264    3/18/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   32.86
4532   265   Week 265    3/25/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   31.19
4532   266   Week 266     4/1/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9   35.22
4532   267   Week 267     4/8/2018   Southern   DO Kelly Finley    60   DTH   SSQ319   685613   JHONNI   SABIN   JHONNI SABIN   DELIVERY DRIVER      9    7.85
3741   102   Week 102     2/8/2015   Southern   Noel Luna          21   RIC   SSQ555    48121   JOHER    NAQVI   JOHER NAQVI    DELIVERY DRIVER   7.44    42.2
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3741   103   Week 103    2/15/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   25.35
3741   104   Week 104    2/22/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   15.63
3741   104   Week 104    2/22/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   17.68
3741   105   Week 105     3/1/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   14.22
3741   105   Week 105     3/1/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   18.72
3741   106   Week 106     3/8/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   15.66
3741   107   Week 107    3/15/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    5.34
3741   107   Week 107    3/15/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    12.4
3741   108   Week 108    3/22/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   13.77
3741   108   Week 108    3/22/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    5.25
3741   109   Week 109    3/29/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    5.13
3741   109   Week 109    3/29/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   20.42
3741   110   Week 110     4/5/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   17.38
3741   110   Week 110     4/5/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   17.39
3741   111   Week 111    4/12/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    4.47
3741   111   Week 111    4/12/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   13.44
3741   112   Week 112    4/19/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   33.19
3741   113   Week 113    4/26/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   10.17
3741   114   Week 114     5/3/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    1.33
3741   114   Week 114     5/3/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    28.8
3741   115   Week 115    5/10/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.54   19.18
3741   116   Week 116    5/17/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   16.31
3741   117   Week 117    5/24/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    15.3
3741   118   Week 118    5/31/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.16   34.55
3741   119   Week 119     6/7/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   31.55
3741   120   Week 120    6/14/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   22.17
3741   121   Week 121    6/21/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25     4.4
3741   121   Week 121    6/21/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   21.49
3741   122   Week 122    6/28/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   34.78
3741   123   Week 123     7/5/2015   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    0.08
3741   123   Week 123     7/5/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    33.3
3741   124   Week 124    7/12/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   23.55
3741   125   Week 125    7/19/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   21.08
3741   126   Week 126    7/26/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   34.08
3741   127   Week 127     8/2/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   13.78
3741   128   Week 128     8/9/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   10.63
3741   129   Week 129    8/16/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   18.82
3741   130   Week 130    8/23/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   10.05
3741   131   Week 131    8/30/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   16.36
3741   132   Week 132     9/6/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   15.72
3741   133   Week 133    9/13/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   17.37
3741   134   Week 134    9/20/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    4.94
3741   135   Week 135    9/27/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   13.23
3741   136   Week 136    10/4/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   10.45
3741   137   Week 137   10/11/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   23.62
3741   138   Week 138   10/18/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    5.13
3741   139   Week 139   10/25/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   19.52
3741   140   Week 140    11/1/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   14.57
3741   141   Week 141    11/8/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25      18
3741   142   Week 142   11/15/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    8.96
3741   144   Week 144   11/29/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25     5.5
3741   145   Week 145    12/6/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25    5.18
3741   146   Week 146   12/13/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25      11
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3741   147   Week 147   12/20/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   11.15
3741   148   Week 148   12/27/2015   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.25   14.04
3741   150   Week 150    1/10/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   7.74   10.06
3741   151   Week 151    1/17/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.15
3741   154   Week 154     2/7/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.07
3741   155   Week 155    2/14/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.72
3741   157   Week 157    2/28/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.02
3741   158   Week 158     3/6/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     6.2
3741   159   Week 159    3/13/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.24
3741   161   Week 161    3/27/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   19.24
3741   162   Week 162     4/3/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   15.32
3741   163   Week 163    4/10/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.68
3741   164   Week 164    4/17/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.03
3741   165   Week 165    4/24/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   13.23
3741   166   Week 166     5/1/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.53
3741   167   Week 167     5/8/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    20.8
3741   168   Week 168    5/15/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   14.81
3741   169   Week 169    5/22/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   18.08
3741   170   Week 170    5/29/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.08
3741   171   Week 171     6/5/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    12.4
3741   172   Week 172    6/12/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   16.68
3741   173   Week 173    6/19/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   17.43
3741   174   Week 174    6/26/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.59
3741   175   Week 175     7/3/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.32
3741   178   Week 178    7/24/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.37
3741   179   Week 179    7/31/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.72
3741   180   Week 180     8/7/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.43
3741   185   Week 185    9/11/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.93
3741   186   Week 186    9/18/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     2.9
3741   187   Week 187    9/25/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    4.07
3741   188   Week 188    10/2/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     6.8
3741   189   Week 189    10/9/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25       4
3741   190   Week 190   10/16/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   14.88
3741   191   Week 191   10/23/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.84
3741   192   Week 192   10/30/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.48   12.38
3741   193   Week 193    11/6/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.79
3741   194   Week 194   11/13/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   18.58
3741   196   Week 196   11/27/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    4.17
3741   197   Week 197    12/4/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     8.3
3741   198   Week 198   12/11/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    2.38
3741   199   Week 199   12/18/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     5.1
3741   200   Week 200   12/25/2016   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    4.68
3741   201   Week 201     1/1/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   18.49
3741   202   Week 202     1/8/2017   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.09
3741   202   Week 202     1/8/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.32
3741   203   Week 203    1/15/2017   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    1.33
3741   203   Week 203    1/15/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.58
3741   204   Week 204    1/22/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     7.1
3741   205   Week 205    1/29/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.15
3741   206   Week 206     2/5/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.36
3741   207   Week 207    2/12/2017   Southern   Noel Luna   15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    3.23
3741   207   Week 207    2/12/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   13.42
3741   208   Week 208    2/19/2017   Southern   Noel Luna   21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    10.1
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3741   209   Week 209    2/26/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.23
3741   210   Week 210     3/5/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.08
3741   211   Week 211    3/12/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.24
3741   212   Week 212    3/19/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.52
3741   213   Week 213    3/26/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.18
3741   214   Week 214     4/2/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.32
3741   215   Week 215     4/9/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.07
3741   216   Week 216    4/16/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   13.77
3741   217   Week 217    4/23/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   14.32
3741   218   Week 218    4/30/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.22
3741   219   Week 219     5/7/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.65
3741   220   Week 220    5/14/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.32
3741   221   Week 221    5/21/2017   Southern   Noel Luna          21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   15.78
3741   222   Week 222    5/28/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.95
3741   223   Week 223     6/4/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25      20
3741   224   Week 224    6/11/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    5.51
3741   225   Week 225    6/18/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    9.08
3741   226   Week 226    6/25/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.95
3741   227   Week 227     7/2/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.68
3741   228   Week 228     7/9/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.95
3741   229   Week 229    7/16/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.54
3741   229   Week 229    7/16/2017   Southern   DO Kelly Finley   117   DT2   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.08
3741   230   Week 230    7/23/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.81
3741   231   Week 231    7/30/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.23
3741   231   Week 231    7/30/2017   Southern   DO Kelly Finley    15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    2.52
3741   232   Week 232     8/6/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.71
3741   232   Week 232     8/6/2017   Southern   DO Kelly Finley    15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.27
3741   233   Week 233    8/13/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   10.97
3741   233   Week 233    8/13/2017   Southern   DO Kelly Finley    15   SSQ   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.49
3741   235   Week 235    8/27/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     8.7
3741   236   Week 236     9/3/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.34
3741   237   Week 237    9/10/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     8.9
3741   238   Week 238    9/17/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.75
3741   239   Week 239    9/24/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     6.5
3741   242   Week 242   10/15/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.97
3741   243   Week 243   10/22/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.68
3741   244   Week 244   10/29/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.23
3741   244   Week 244   10/29/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.13
3741   245   Week 245    11/5/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.92
3741   245   Week 245    11/5/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   22.64
3741   246   Week 246   11/12/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.05
3741   246   Week 246   11/12/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   12.58
3741   247   Week 247   11/19/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.62
3741   248   Week 248   11/26/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.73
3741   248   Week 248   11/26/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   11.32
3741   249   Week 249    12/3/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.33
3741   249   Week 249    12/3/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   16.35
3741   250   Week 250   12/10/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.34
3741   250   Week 250   12/10/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25     7.3
3741   252   Week 252   12/24/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.77
3741   253   Week 253   12/31/2017   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.71
3741   253   Week 253   12/31/2017   Southern   DO Kelly Finley    60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   13.25
3741   254   Week 254     1/7/2018   Southern   DO Jay White       21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    9.62
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3741   254   Week 254     1/7/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   23.71
3741   255   Week 255    1/14/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.91
3741   255   Week 255    1/14/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   14.17
3741   256   Week 256    1/21/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    9.54
3741   256   Week 256    1/21/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   20.34
3741   257   Week 257    1/28/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    8.48
3741   257   Week 257    1/28/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   22.28
3741   258   Week 258     2/4/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    9.19
3741   258   Week 258     2/4/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   24.44
3741   259   Week 259    2/11/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    9.58
3741   259   Week 259    2/11/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   14.75
3741   260   Week 260    2/18/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.05
3741   260   Week 260    2/18/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   16.03
3741   261   Week 261    2/25/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    4.33
3741   261   Week 261    2/25/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   17.16
3741   262   Week 262     3/4/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.84
3741   262   Week 262     3/4/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   25.06
3741   263   Week 263    3/11/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.55
3741   264   Week 264    3/18/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25   23.21
3741   265   Week 265    3/25/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    7.44
3741   266   Week 266     4/1/2018   Southern   DO Jay White      21   RIC   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    6.35
3741   266   Week 266     4/1/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    17.9
3741   267   Week 267     4/8/2018   Southern   DO Kelly Finley   60   DTH   SSQ555   48121   JOHER   NAQVI   JOHER NAQVI   DELIVERY DRIVER   8.25    3.88
1736   158   Week 158     3/6/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   13.42
1736   159   Week 159    3/13/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    9.96
1736   160   Week 160    3/20/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   12.64
1736   161   Week 161    3/27/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   19.88
1736   162   Week 162     4/3/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   26.91
1736   163   Week 163    4/10/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   13.81
1736   164   Week 164    4/17/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   17.07
1736   165   Week 165    4/24/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   10.81
1736   166   Week 166     5/1/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   13.42
1736   167   Week 167     5/8/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   27.08
1736   168   Week 168    5/15/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   22.13
1736   169   Week 169    5/22/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8     6.3
1736   171   Week 171     6/5/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    3.25
1736   172   Week 172    6/12/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    9.68
1736   173   Week 173    6/19/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    8.23
1736   174   Week 174    6/26/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    7.72
1736   175   Week 175     7/3/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   15.62
1736   176   Week 176    7/10/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   10.22
1736   177   Week 177    7/17/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    8.22
1736   178   Week 178    7/24/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   12.98
1736   179   Week 179    7/31/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   10.23
1736   182   Week 182    8/21/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   22.24
1736   183   Week 183    8/28/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   18.49
1736   184   Week 184     9/4/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   12.64
1736   185   Week 185    9/11/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   15.26
1736   186   Week 186    9/18/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   14.58
1736   187   Week 187    9/25/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   15.47
1736   188   Week 188    10/2/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8   12.29
1736   189   Week 189    10/9/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    13.5
1736   190   Week 190   10/16/2016   Southern   Noel Luna         15   SSQ   SSQ592   61224   TYRA    FORD    TYRA FORD     DELIVERY DRIVER      8    9.05
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1736   191   Week 191   10/23/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8   15.51
1736   192   Week 192   10/30/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8   22.49
1736   193   Week 193    11/6/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8   10.45
1736   194   Week 194   11/13/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8     9.2
1736   195   Week 195   11/20/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8    7.74
1736   196   Week 196   11/27/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8   20.49
1736   197   Week 197    12/4/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8   13.75
1736   198   Week 198   12/11/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8     7.5
1736   199   Week 199   12/18/2016   Southern   Noel Luna        15   SSQ   SSQ592   61224   TYRA       FORD    TYRA FORD       DELIVERY DRIVER   8    2.47
1897   197   Week 197    12/4/2016   Southern   Noel Luna        15   SSQ   SSQ615   66747   TERRENCE   GEE     TERRENCE GEE    DELIVERY DRIVER   8    3.08
1897   198   Week 198   12/11/2016   Southern   Noel Luna        15   SSQ   SSQ615   66747   TERRENCE   GEE     TERRENCE GEE    DELIVERY DRIVER   8    5.68
1897   201   Week 201     1/1/2017   Southern   Noel Luna        15   SSQ   SSQ615   66747   TERRENCE   GEE     TERRENCE GEE    DELIVERY DRIVER   8     5.3
1580   179   Week 179    7/31/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    7.31
1580   180   Week 180     8/7/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   11.21
1580   181   Week 181    8/14/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    3.17
1580   182   Week 182    8/21/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   11.47
1580   183   Week 183    8/28/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.17
1580   184   Week 184     9/4/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.85
1580   185   Week 185    9/11/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   11.69
1580   186   Week 186    9/18/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   15.08
1580   187   Week 187    9/25/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   13.24
1580   188   Week 188    10/2/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.57
1580   189   Week 189    10/9/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8     8.4
1580   190   Week 190   10/16/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.97
1580   191   Week 191   10/23/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    6.13
1580   192   Week 192   10/30/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    2.82
1580   194   Week 194   11/13/2016   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    6.53
1580   203   Week 203    1/15/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   12.81
1580   204   Week 204    1/22/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   11.67
1580   205   Week 205    1/29/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8     4.6
1580   206   Week 206     2/5/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   10.75
1580   207   Week 207    2/12/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.28
1580   208   Week 208    2/19/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   16.77
1580   209   Week 209    2/26/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    6.04
1580   210   Week 210     3/5/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    9.24
1580   211   Week 211    3/12/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    2.68
1580   212   Week 212    3/19/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8       7
1580   213   Week 213    3/26/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.63
1580   214   Week 214     4/2/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.77
1580   215   Week 215     4/9/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.39
1580   216   Week 216    4/16/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.57
1580   217   Week 217    4/23/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    7.91
1580   218   Week 218    4/30/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.45
1580   219   Week 219     5/7/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8   10.45
1580   220   Week 220    5/14/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    8.98
1580   221   Week 221    5/21/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    4.76
1580   222   Week 222    5/28/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8     2.7
1580   222   Week 222    5/28/2017   Western    Mike McCown      58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    2.55
1580   223   Week 223     6/4/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8     7.9
1580   224   Week 224    6/11/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    2.72
1580   225   Week 225    6/18/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    9.58
1580   226   Week 226    6/25/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    5.33
1580   228   Week 228     7/9/2017   Western    DO Mike McCown   58   STM   STM221   25319   KENNETH    ERWIN   KENNETH ERWIN   DELIVERY DRIVER   8    3.15
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1580   229   Week 229    7/16/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    3.12
1580   230   Week 230    7/23/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    2.83
1580   232   Week 232     8/6/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    5.68
1580   233   Week 233    8/13/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    5.22
1580   234   Week 234    8/20/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    5.57
1580   236   Week 236     9/3/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8     2.1
1580   237   Week 237    9/10/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    4.32
1580   244   Week 244   10/29/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    6.43
1580   245   Week 245    11/5/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8   13.72
1580   246   Week 246   11/12/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    2.38
1580   249   Week 249    12/3/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    6.01
1580   250   Week 250   12/10/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    2.68
1580   251   Week 251   12/17/2017   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    3.53
1580   254   Week 254     1/7/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8     3.5
1580   255   Week 255    1/14/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    5.88
1580   256   Week 256    1/21/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    5.57
1580   257   Week 257    1/28/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8     2.5
1580   260   Week 260    2/18/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    7.32
1580   261   Week 261    2/25/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    3.17
1580   264   Week 264    3/18/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8   14.58
1580   265   Week 265    3/25/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8    8.12
1580   266   Week 266     4/1/2018   Western   DO Mike McCown   58   STM   STM221   25319   KENNETH   ERWIN    KENNETH ERWIN    DELIVERY DRIVER      8   11.47
3930   107   Week 107    3/15/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   36.28
3930   108   Week 108    3/22/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   27.99
3930   109   Week 109    3/29/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   36.78
3930   110   Week 110     4/5/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9    25.6
3930   111   Week 111    4/12/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   33.33
3930   112   Week 112    4/19/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.47   36.37
3930   113   Week 113    4/26/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   29.65
3930   114   Week 114     5/3/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   30.14
3930   115   Week 115    5/10/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.03   40.25
3930   116   Week 116    5/17/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   24.95
3930   117   Week 117    5/24/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   27.68
3930   118   Week 118    5/31/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   32.44
3930   119   Week 119     6/7/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   34.37
3930   120   Week 120    6/14/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   34.47
3930   121   Week 121    6/21/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.11   34.98
3930   122   Week 122    6/28/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9    18.5
3930   123   Week 123     7/5/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   28.01
3930   124   Week 124    7/12/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.12   37.54
3930   125   Week 125    7/19/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9    39.2
3930   126   Week 126    7/26/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   37.14
3930   127   Week 127     8/2/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   27.61
3930   128   Week 128     8/9/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   37.61
3930   129   Week 129    8/16/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.48   43.11
3930   130   Week 130    8/23/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.48   44.79
3930   131   Week 131    8/30/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   25.22
3930   132   Week 132     9/6/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   25.69
3930   133   Week 133    9/13/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   34.24
3930   134   Week 134    9/20/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   30.88
3930   135   Week 135    9/27/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.14   41.29
3930   136   Week 136    10/4/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   31.51
3930   137   Week 137   10/11/2015   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   38.87
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3930   138   Week 138   10/18/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9    34.4
3930   139   Week 139   10/25/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9    34.5
3930   140   Week 140    11/1/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER      9   35.71
3930   141   Week 141    11/8/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   37.67
3930   142   Week 142   11/15/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   34.65
3930   143   Week 143   11/22/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5    4.82
3930   144   Week 144   11/29/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.77   33.62
3930   145   Week 145    12/6/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   31.83
3930   146   Week 146   12/13/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5      38
3930   147   Week 147   12/20/2015   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   19.23
3930   149   Week 149     1/3/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   17.52
3930   150   Week 150    1/10/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   32.43
3930   151   Week 151    1/17/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   32.15
3930   152   Week 152    1/24/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5    8.31
3930   153   Week 153    1/31/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   18.55
3930   154   Week 154     2/7/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   17.72
3930   155   Week 155    2/14/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   36.65
3930   156   Week 156    2/21/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   33.37
3930   157   Week 157    2/28/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   26.18
3930   158   Week 158     3/6/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5    39.7
3930   159   Week 159    3/13/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   25.14
3930   160   Week 160    3/20/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   26.79
3930   161   Week 161    3/27/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   25.74
3930   162   Week 162     4/3/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   26.77
3930   163   Week 163    4/10/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   30.53
3930   164   Week 164    4/17/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   28.38
3930   165   Week 165    4/24/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   24.45
3930   166   Week 166     5/1/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   29.85
3930   167   Week 167     5/8/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER   9.64   31.86
3930   168   Week 168    5/15/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   11.58
3930   169   Week 169    5/22/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   27.88
3930   170   Week 170    5/29/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   27.94
3930   171   Week 171     6/5/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5    32.6
3930   172   Week 172    6/12/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5    31.7
3930   173   Week 173    6/19/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   30.75
3930   174   Week 174    6/26/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   23.77
3930   175   Week 175     7/3/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   19.19
3930   176   Week 176    7/10/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   33.64
3930   177   Week 177    7/17/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   33.31
3930   178   Week 178    7/24/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   29.06
3930   179   Week 179    7/31/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   29.57
3930   180   Week 180     8/7/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   31.83
3930   181   Week 181    8/14/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   24.73
3930   182   Week 182    8/21/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   30.34
3930   183   Week 183    8/28/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   25.92
3930   184   Week 184     9/4/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   33.05
3930   185   Week 185    9/11/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   30.22
3930   186   Week 186    9/18/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   35.57
3930   187   Week 187    9/25/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   22.15
3930   188   Week 188    10/2/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   25.04
3930   189   Week 189    10/9/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   29.88
3930   190   Week 190   10/16/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   22.68
3930   191   Week 191   10/23/2016   Western   Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER   QUENTIN PALMER   DELIVERY DRIVER    9.5   29.12
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3930   192   Week 192   10/30/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   20.12
3930   193   Week 193    11/6/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   31.75
3930   194   Week 194   11/13/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    30.9
3930   195   Week 195   11/20/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    9.33
3930   196   Week 196   11/27/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   27.05
3930   197   Week 197    12/4/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.83
3930   198   Week 198   12/11/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   27.32
3930   199   Week 199   12/18/2016   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    18.4
3930   201   Week 201     1/1/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   21.57
3930   202   Week 202     1/8/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   21.68
3930   203   Week 203    1/15/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   37.45
3930   204   Week 204    1/22/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   29.83
3930   205   Week 205    1/29/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   22.07
3930   206   Week 206     2/5/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   11.32
3930   207   Week 207    2/12/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   25.74
3930   208   Week 208    2/19/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   14.92
3930   209   Week 209    2/26/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   38.66
3930   210   Week 210     3/5/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   17.41
3930   211   Week 211    3/12/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   18.59
3930   212   Week 212    3/19/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    23.6
3930   213   Week 213    3/26/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   21.43
3930   214   Week 214     4/2/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   26.96
3930   215   Week 215     4/9/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   29.11
3930   216   Week 216    4/16/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   28.99
3930   217   Week 217    4/23/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   25.76
3930   218   Week 218    4/30/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   27.97
3930   219   Week 219     5/7/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   32.93
3930   220   Week 220    5/14/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   28.48
3930   221   Week 221    5/21/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   20.23
3930   222   Week 222    5/28/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    12.5
3930   222   Week 222    5/28/2017   Western   Mike McCown      58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   10.49
3930   223   Week 223     6/4/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    20.4
3930   224   Week 224    6/11/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   31.46
3930   225   Week 225    6/18/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   29.94
3930   226   Week 226    6/25/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   17.15
3930   227   Week 227     7/2/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   19.57
3930   228   Week 228     7/9/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.55
3930   229   Week 229    7/16/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    22.8
3930   230   Week 230    7/23/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    20.9
3930   231   Week 231    7/30/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   15.13
3930   232   Week 232     8/6/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   26.29
3930   233   Week 233    8/13/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   21.09
3930   234   Week 234    8/20/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    19.9
3930   235   Week 235    8/27/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.95
3930   236   Week 236     9/3/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    19.9
3930   237   Week 237    9/10/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.29
3930   238   Week 238    9/17/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.63
3930   239   Week 239    9/24/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   30.13
3930   240   Week 240    10/1/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5   24.55
3930   241   Week 241    10/8/2017   Western   DO Mike McCown   58   STM   STM254   34084   QUENTIN   PALMER     QUENTIN PALMER    DELIVERY DRIVER   9.5    12.5
5290   228   Week 228     7/9/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH    TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER     8   11.49
5290   229   Week 229    7/16/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH    TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER     8      15
5290   230   Week 230    7/23/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH    TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER     8   10.93
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5290   231   Week 231    7/30/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   13.91
5290   232   Week 232     8/6/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    14.9
5290   233   Week 233    8/13/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   15.04
5290   234   Week 234    8/20/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   12.72
5290   235   Week 235    8/27/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8     9.3
5290   236   Week 236     9/3/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    8.56
5290   238   Week 238    9/17/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   10.67
5290   239   Week 239    9/24/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   16.28
5290   240   Week 240    10/1/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   12.94
5290   241   Week 241    10/8/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   11.49
5290   242   Week 242   10/15/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    9.39
5290   243   Week 243   10/22/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   12.93
5290   244   Week 244   10/29/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    9.06
5290   245   Week 245    11/5/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   14.11
5290   246   Week 246   11/12/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    9.55
5290   247   Week 247   11/19/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    3.42
5290   248   Week 248   11/26/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   12.78
5290   249   Week 249    12/3/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   13.79
5290   250   Week 250   12/10/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   13.65
5290   251   Week 251   12/17/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    9.19
5290   253   Week 253   12/31/2017   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   14.01
5290   254   Week 254     1/7/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   13.38
5290   255   Week 255    1/14/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   22.26
5290   256   Week 256    1/21/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   17.85
5290   257   Week 257    1/28/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   11.38
5290   258   Week 258     2/4/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    12.5
5290   259   Week 259    2/11/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   10.83
5290   260   Week 260    2/18/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   17.29
5290   261   Week 261    2/25/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   14.62
5290   262   Week 262     3/4/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   21.46
5290   263   Week 263    3/11/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   18.53
5290   264   Week 264    3/18/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    3.28
5290   265   Week 265    3/25/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   12.48
5290   266   Week 266     4/1/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8   19.82
5290   267   Week 267     4/8/2018   Western   DO Mike McCown   58   STM   STM327   71219   SUMEDH   TULADHAR   SUMEDH TULADHAR   DELIVERY DRIVER   8    2.58
5288   231   Week 231    7/30/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   16.24
5288   232   Week 232     8/6/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   23.97
5288   233   Week 233    8/13/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   21.89
5288   234   Week 234    8/20/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   24.01
5288   235   Week 235    8/27/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   17.44
5288   236   Week 236     9/3/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   23.91
5288   237   Week 237    9/10/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   24.75
5288   238   Week 238    9/17/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   25.04
5288   239   Week 239    9/24/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   25.21
5288   240   Week 240    10/1/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   25.05
5288   241   Week 241    10/8/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   28.24
5288   242   Week 242   10/15/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   29.07
5288   243   Week 243   10/22/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   33.64
5288   244   Week 244   10/29/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   31.74
5288   245   Week 245    11/5/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   37.81
5288   246   Week 246   11/12/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   33.86
5288   247   Week 247   11/19/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   21.88
5288   248   Week 248   11/26/2017   Western   DO Mike McCown   58   STM   STM329   71643   JAY      TULADHAR   JAY TULADHAR      DELIVERY DRIVER   8   28.94
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5288   249   Week 249    12/3/2017   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   30.33
5288   250   Week 250   12/10/2017   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   28.48
5288   251   Week 251   12/17/2017   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   28.62
5288   252   Week 252   12/24/2017   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   20.72
5288   253   Week 253   12/31/2017   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   29.85
5288   254   Week 254     1/7/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   35.09
5288   255   Week 255    1/14/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   34.64
5288   256   Week 256    1/21/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   32.14
5288   257   Week 257    1/28/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8    34.9
5288   258   Week 258     2/4/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   27.94
5288   259   Week 259    2/11/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   27.74
5288   260   Week 260    2/18/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   29.23
5288   261   Week 261    2/25/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   21.49
5288   262   Week 262     3/4/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   20.35
5288   263   Week 263    3/11/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   30.95
5288   264   Week 264    3/18/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   38.97
5288   265   Week 265    3/25/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8   32.98
5288   266   Week 266     4/1/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8    31.7
5288   267   Week 267     4/8/2018   Western   DO Mike McCown    58   STM   STM329   71643   JAY       TULADHAR   JAY TULADHAR      DELIVERY DRIVER      8    3.07
 118   102   Week 102     2/8/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1   10.66
 118   103   Week 103    2/15/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1    16.5
 118   104   Week 104    2/22/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1   12.15
 118   105   Week 105     3/1/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1   16.15
 118   106   Week 106     3/8/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1   13.78
 118   107   Week 107    3/15/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1   14.54
 118   108   Week 108    3/22/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1    7.52
 118   108   Week 108    3/22/2015   Western   Clint McPhail    166   TAO   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1       4
 118   109   Week 109    3/29/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1    3.35
 118   109   Week 109    3/29/2015   Western   Clint McPhail    166   TAO   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1    3.07
 118   110   Week 110     4/5/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1     3.5
 118   111   Week 111    4/12/2015   Western   Clint McPhail    165   TAB   TAB200   52971   CLAYTON   ALLOR      CLAYTON ALLOR     DELIVERY DRIVER    8.1    3.47
1145   104   Week 104    2/22/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   13.05
1145   105   Week 105     3/1/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   23.89
1145   106   Week 106     3/8/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   26.47
1145   107   Week 107    3/15/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   29.02
1145   108   Week 108    3/22/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   25.46
1145   109   Week 109    3/29/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15     7.7
1145   110   Week 110     4/5/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   25.43
1145   111   Week 111    4/12/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   24.93
1145   112   Week 112    4/19/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   28.62
1145   113   Week 113    4/26/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15    27.1
1145   114   Week 114     5/3/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   23.76
1145   115   Week 115    5/10/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   26.02
1145   116   Week 116    5/17/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   19.73
1145   117   Week 117    5/24/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   20.38
1145   118   Week 118    5/31/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   22.93
1145   119   Week 119     6/7/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   22.21
1145   120   Week 120    6/14/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   25.99
1145   121   Week 121    6/21/2015   Western   Clint McPhail    165   TAB   TAB203   53205   SCOTT     COVELL     SCOTT COVELL      DELIVERY DRIVER   8.15   15.27
5726   156   Week 156    2/21/2016   Western   Clint McPhail    165   TAB   TAB252   60661   MELANIE   WINKLER    MELANIE WINKLER   DELIVERY DRIVER    8.5   24.22
5726   157   Week 157    2/28/2016   Western   Clint McPhail    165   TAB   TAB252   60661   MELANIE   WINKLER    MELANIE WINKLER   DELIVERY DRIVER    8.5   37.26
5726   158   Week 158     3/6/2016   Western   Clint McPhail    165   TAB   TAB252   60661   MELANIE   WINKLER    MELANIE WINKLER   DELIVERY DRIVER    8.5   34.58
5726   159   Week 159    3/13/2016   Western   Clint McPhail    165   TAB   TAB252   60661   MELANIE   WINKLER    MELANIE WINKLER   DELIVERY DRIVER   8.71   42.08
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5726   160   Week 160    3/20/2016   Western   Clint McPhail   165   TAB   TAB252    60661   MELANIE   WINKLER        MELANIE WINKLER     DELIVERY DRIVER    8.5   37.55
5726   161   Week 161    3/27/2016   Western   Clint McPhail   165   TAB   TAB252    60661   MELANIE   WINKLER        MELANIE WINKLER     DELIVERY DRIVER   8.59   40.91
5726   162   Week 162     4/3/2016   Western   Clint McPhail   165   TAB   TAB252    60661   MELANIE   WINKLER        MELANIE WINKLER     DELIVERY DRIVER    8.5   30.39
5726   163   Week 163    4/10/2016   Western   Clint McPhail   165   TAB   TAB252    60661   MELANIE   WINKLER        MELANIE WINKLER     DELIVERY DRIVER    8.5   35.29
5726   164   Week 164    4/17/2016   Western   Clint McPhail   165   TAB   TAB252    60661   MELANIE   WINKLER        MELANIE WINKLER     DELIVERY DRIVER    8.5   12.02
4097   161   Week 161    3/27/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   20.35
4097   162   Week 162     4/3/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   30.33
4097   163   Week 163    4/10/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   26.79
4097   164   Week 164    4/17/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   20.84
4097   165   Week 165    4/24/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   28.65
4097   166   Week 166     5/1/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   28.77
4097   167   Week 167     5/8/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15   29.19
4097   168   Week 168    5/15/2016   Western   Clint McPhail   165   TAB   TAB264    61659   AIMEE     PIERSON        AIMEE PIERSON       DELIVERY DRIVER   8.15    7.19
3993   171   Week 171     6/5/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05     5.1
3993   172   Week 172    6/12/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   31.73
3993   173   Week 173    6/19/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   25.26
3993   174   Week 174    6/26/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   25.07
3993   175   Week 175     7/3/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   39.45
3993   176   Week 176    7/10/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   36.27
3993   177   Week 177    7/17/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   35.05
3993   178   Week 178    7/24/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05    39.5
3993   179   Week 179    7/31/2016   Western   Clint McPhail   165   TAB   TAB276    63154   JOHN      PAWIN          JOHN PAWIN          DELIVERY DRIVER   8.05   33.45
1893   103   Week 103    2/15/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.25     5.6
1893   104   Week 104    2/22/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.25   12.04
1893   105   Week 105     3/1/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.75    11.5
1893   106   Week 106     3/8/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.75    13.7
1893   107   Week 107    3/15/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.75    4.93
1893   114   Week 114     5/3/2015   Western   Clint McPhail   166   TAO   TAO049   994726   ROXANNE   GAUL           ROXANNE GAUL        DELIVERY DRIVER   9.75    3.93
1674   142   Week 142   11/15/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   15.23
1674   143   Week 143   11/22/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   16.54
1674   144   Week 144   11/29/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   36.18
1674   145   Week 145    12/6/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   39.01
1674   146   Week 146   12/13/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   30.13
1674   146   Week 146   12/13/2015   Western   Clint McPhail   166   TAO   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75    5.03
1674   147   Week 147   12/20/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   30.25
1674   148   Week 148   12/27/2015   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   34.52
1674   149   Week 149     1/3/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   30.59
1674   150   Week 150    1/10/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   32.48
1674   151   Week 151    1/17/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75    33.8
1674   152   Week 152    1/24/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   36.63
1674   153   Week 153    1/31/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   29.43
1674   153   Week 153    1/31/2016   Western   Clint McPhail   166   TAO   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75    4.12
1674   154   Week 154     2/7/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75    34.8
1674   155   Week 155    2/14/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   39.54
1674   156   Week 156    2/21/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   9.12   43.68
1674   157   Week 157    2/28/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   38.06
1674   158   Week 158     3/6/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   39.77
1674   159   Week 159    3/13/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   38.01
1674   160   Week 160    3/20/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   38.46
1674   161   Week 161    3/27/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   37.44
1674   162   Week 162     4/3/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   36.19
1674   163   Week 163    4/10/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   36.38
1674   164   Week 164    4/17/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   37.29
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1674   165   Week 165    4/24/2016   Western   Clint McPhail   165   TAB   TAO063   579155   RAUL      FIGUEROA JR.   RAUL FIGUEROA JR.   DELIVERY DRIVER   8.75   30.92
2563   107   Week 107    3/15/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   36.26
2563   108   Week 108    3/22/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.41    40.6
2563   109   Week 109    3/29/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   34.86
2563   110   Week 110     4/5/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   39.96
2563   111   Week 111    4/12/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   36.29
2563   112   Week 112    4/19/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.37   40.23
2563   113   Week 113    4/26/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   35.44
2563   114   Week 114     5/3/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   28.77
2563   115   Week 115    5/10/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   35.43
2563   116   Week 116    5/17/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35    29.7
2563   117   Week 117    5/24/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   36.15
2563   118   Week 118    5/31/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   38.18
2563   119   Week 119     6/7/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35      37
2563   120   Week 120    6/14/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.06
2563   121   Week 121    6/21/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.13
2563   122   Week 122    6/28/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   22.05
2563   123   Week 123     7/5/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   27.02
2563   124   Week 124    7/12/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   26.14
2563   125   Week 125    7/19/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.17
2563   126   Week 126    7/26/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.48
2563   127   Week 127     8/2/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   33.45
2563   128   Week 128     8/9/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   29.88
2563   129   Week 129    8/16/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   36.26
2563   130   Week 130    8/23/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35    35.2
2563   131   Week 131    8/30/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   26.77
2563   132   Week 132     9/6/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   30.91
2563   133   Week 133    9/13/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35    33.2
2563   134   Week 134    9/20/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.28
2563   135   Week 135    9/27/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   21.87
2563   136   Week 136    10/4/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35    6.97
2563   137   Week 137   10/11/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   30.47
2563   138   Week 138   10/18/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   35.42
2563   139   Week 139   10/25/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   35.85
2563   140   Week 140    11/1/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.41
2563   141   Week 141    11/8/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   35.74
2563   142   Week 142   11/15/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35    32.3
2563   143   Week 143   11/22/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   23.34
2563   144   Week 144   11/29/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.13
2563   145   Week 145    12/6/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.35   32.82
2563   146   Week 146   12/13/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75    34.3
2563   147   Week 147   12/20/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   24.15
2563   148   Week 148   12/27/2015   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   23.15
2563   149   Week 149     1/3/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   34.47
2563   150   Week 150    1/10/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.87   41.13
2563   151   Week 151    1/17/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   28.58
2563   152   Week 152    1/24/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   34.18
2563   153   Week 153    1/31/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   35.24
2563   154   Week 154     2/7/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   35.34
2563   155   Week 155    2/14/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   35.72
2563   156   Week 156    2/21/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75    34.5
2563   157   Week 157    2/28/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   38.97
2563   158   Week 158     3/6/2016   Western   Clint McPhail   166   TAO   TAO123    31883   JEFFREY   ISLER          JEFFREY ISLER       DELIVERY DRIVER   8.75   34.67
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2563   159   Week 159    3/13/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.26
2563   160   Week 160    3/20/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   33.66
2563   161   Week 161    3/27/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.83
2563   162   Week 162     4/3/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   30.66
2563   163   Week 163    4/10/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.62
2563   164   Week 164    4/17/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.96
2563   165   Week 165    4/24/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   33.52
2563   166   Week 166     5/1/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   33.89
2563   167   Week 167     5/8/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   31.56
2563   168   Week 168    5/15/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.46
2563   169   Week 169    5/22/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   26.63
2563   170   Week 170    5/29/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   31.49
2563   171   Week 171     6/5/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   30.29
2563   172   Week 172    6/12/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   34.17
2563   173   Week 173    6/19/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75      34
2563   174   Week 174    6/26/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   24.42
2563   175   Week 175     7/3/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   29.29
2563   176   Week 176    7/10/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75    31.4
2563   177   Week 177    7/17/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   34.86
2563   178   Week 178    7/24/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.38
2563   179   Week 179    7/31/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.38
2563   180   Week 180     8/7/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   34.93
2563   181   Week 181    8/14/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   29.27
2563   182   Week 182    8/21/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.66
2563   183   Week 183    8/28/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   28.06
2563   184   Week 184     9/4/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   28.27
2563   187   Week 187    9/25/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   31.38
2563   188   Week 188    10/2/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   28.13
2563   189   Week 189    10/9/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   35.68
2563   190   Week 190   10/16/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   34.21
2563   191   Week 191   10/23/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.07
2563   192   Week 192   10/30/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   37.11
2563   193   Week 193    11/6/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   31.21
2563   194   Week 194   11/13/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   37.06
2563   195   Week 195   11/20/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   19.24
2563   196   Week 196   11/27/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   33.93
2563   197   Week 197    12/4/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   34.98
2563   198   Week 198   12/11/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.75   32.32
2563   200   Week 200   12/25/2016   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER   8.87   22.03
2563   201   Week 201     1/1/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   29.43
2563   202   Week 202     1/8/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   39.99
2563   203   Week 203    1/15/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10    31.6
2563   204   Week 204    1/22/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   36.03
2563   205   Week 205    1/29/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   34.72
2563   206   Week 206     2/5/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   34.59
2563   207   Week 207    2/12/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10    30.3
2563   208   Week 208    2/19/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   32.85
2563   209   Week 209    2/26/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   36.21
2563   210   Week 210     3/5/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   32.23
2563   211   Week 211    3/12/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   33.45
2563   212   Week 212    3/19/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   33.78
2563   213   Week 213    3/26/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   33.34
2563   214   Week 214     4/2/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER   JEFFREY ISLER   DELIVERY DRIVER     10   34.59
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2563   215   Week 215     4/9/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   31.04
2563   216   Week 216    4/16/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   30.22
2563   217   Week 217    4/23/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   33.86
2563   218   Week 218    4/30/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   37.12
2563   219   Week 219     5/7/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   30.95
2563   220   Week 220    5/14/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   31.46
2563   221   Week 221    5/21/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   25.69
2563   222   Week 222    5/28/2017   Western   Clint McPhail   166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   10.93
2563   222   Week 222    5/28/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   16.42
2563   223   Week 223     6/4/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   27.58
2563   224   Week 224    6/11/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   27.29
2563   225   Week 225    6/18/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   25.12
2563   226   Week 226    6/25/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   28.77
2563   227   Week 227     7/2/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10    22.4
2563   228   Week 228     7/9/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   27.42
2563   229   Week 229    7/16/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   29.25
2563   230   Week 230    7/23/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   29.49
2563   231   Week 231    7/30/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   27.27
2563   232   Week 232     8/6/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   31.12
2563   233   Week 233    8/13/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10    31.7
2563   234   Week 234    8/20/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   32.65
2563   238   Week 238    9/17/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   16.52
2563   239   Week 239    9/24/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   15.65
2563   240   Week 240    10/1/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   29.33
2563   241   Week 241    10/8/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   34.46
2563   242   Week 242   10/15/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   34.38
2563   243   Week 243   10/22/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   34.05
2563   244   Week 244   10/29/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   32.73
2563   245   Week 245    11/5/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   34.08
2563   246   Week 246   11/12/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   25.48
2563   247   Week 247   11/19/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   17.21
2563   248   Week 248   11/26/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10    35.9
2563   249   Week 249    12/3/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10    30.1
2563   250   Week 250   12/10/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   30.85
2563   251   Week 251   12/17/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   28.84
2563   252   Week 252   12/24/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER     10   16.28
2563   253   Week 253   12/31/2017   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   23.11
2563   254   Week 254     1/7/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   35.03
2563   255   Week 255    1/14/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   26.01
2563   256   Week 256    1/21/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   32.93
2563   257   Week 257    1/28/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   34.47
2563   258   Week 258     2/4/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   30.07
2563   259   Week 259    2/11/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   32.43
2563   260   Week 260    2/18/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   29.68
2563   261   Week 261    2/25/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   34.55
2563   262   Week 262     3/4/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5    27.6
2563   263   Week 263    3/11/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   35.44
2563   264   Week 264    3/18/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   34.51
2563   265   Week 265    3/25/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   35.81
2563   266   Week 266     4/1/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5   35.86
2563   267   Week 267     4/8/2018   Western   DO Jay White    166   TAO   TAO123   31883   JEFFREY   ISLER        JEFFREY ISLER      DELIVERY DRIVER   10.5    7.68
 883   106   Week 106     3/8/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA     CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.39   17.99
 883   107   Week 107    3/15/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA     CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   9.37   13.14
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883   108   Week 108    3/22/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   14.71
883   109   Week 109    3/29/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.28   27.37
883   110   Week 110     4/5/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05    7.52
883   111   Week 111    4/12/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   17.26
883   112   Week 112    4/19/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.31    17.4
883   113   Week 113    4/26/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   17.22
883   114   Week 114     5/3/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   16.21
883   115   Week 115    5/10/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   13.87
883   116   Week 116    5/17/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05     3.8
883   117   Week 117    5/24/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   16.02
883   118   Week 118    5/31/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   24.11
883   121   Week 121    6/21/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      8    0.18
883   122   Week 122    6/28/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   14.14
883   123   Week 123     7/5/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   13.45
883   124   Week 124    7/12/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   16.66
883   125   Week 125    7/19/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   18.74
883   126   Week 126    7/26/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   22.71
883   127   Week 127     8/2/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   16.67
883   128   Week 128     8/9/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   25.27
883   129   Week 129    8/16/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   28.21
883   130   Week 130    8/23/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05    24.9
883   131   Week 131    8/30/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   23.45
883   132   Week 132     9/6/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   29.15
883   133   Week 133    9/13/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.15   30.62
883   134   Week 134    9/20/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   20.74
883   135   Week 135    9/27/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   24.29
883   136   Week 136    10/4/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   25.45
883   137   Week 137   10/11/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.07    29.3
883   138   Week 138   10/18/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   26.87
883   139   Week 139   10/25/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.05   16.83
883   140   Week 140    11/1/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.22   26.99
883   141   Week 141    11/8/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.51   28.87
883   142   Week 142   11/15/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.46   28.72
883   143   Week 143   11/22/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   20.28
883   144   Week 144   11/29/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   24.99
883   145   Week 145    12/6/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   27.84
883   146   Week 146   12/13/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   15.83
883   147   Week 147   12/20/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   10.18
883   148   Week 148   12/27/2015   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25    5.98
883   149   Week 149     1/3/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   23.53
883   150   Week 150    1/10/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.35   31.56
883   151   Week 151    1/17/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.26   27.57
883   152   Week 152    1/24/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   24.36
883   153   Week 153    1/31/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.26   28.01
883   154   Week 154     2/7/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   32.71
883   155   Week 155    2/14/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.46   31.57
883   157   Week 157    2/28/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   35.58
883   158   Week 158     3/6/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   33.67
883   159   Week 159    3/13/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.56    23.7
883   160   Week 160    3/20/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   22.21
883   161   Week 161    3/27/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25    35.1
883   162   Week 162     4/3/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   35.74
883   163   Week 163    4/10/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   8.25   33.11
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883   164   Week 164    4/17/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   31.11
883   165   Week 165    4/24/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.34   37.69
883   166   Week 166     5/1/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   29.45
883   167   Week 167     5/8/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   24.56
883   168   Week 168    5/15/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   32.63
883   169   Week 169    5/22/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   24.05
883   170   Week 170    5/29/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   20.17
883   171   Week 171     6/5/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   31.03
883   172   Week 172    6/12/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   34.32
883   173   Week 173    6/19/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   30.32
883   174   Week 174    6/26/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   26.81
883   175   Week 175     7/3/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   23.58
883   176   Week 176    7/10/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25    24.9
883   177   Week 177    7/17/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25    25.6
883   178   Week 178    7/24/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   28.06
883   179   Week 179    7/31/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   27.91
883   180   Week 180     8/7/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.28   34.69
883   181   Week 181    8/14/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.77    34.9
883   182   Week 182    8/21/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   27.71
883   183   Week 183    8/28/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.86   34.66
883   184   Week 184     9/4/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   23.71
883   185   Week 185    9/11/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   32.41
883   186   Week 186    9/18/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.47   40.15
883   187   Week 187    9/25/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   37.59
883   188   Week 188    10/2/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   31.73
883   189   Week 189    10/9/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   27.08
883   190   Week 190   10/16/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.71   39.09
883   191   Week 191   10/23/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25    33.5
883   192   Week 192   10/30/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.88   35.41
883   193   Week 193    11/6/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   27.86
883   194   Week 194   11/13/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.32   38.12
883   195   Week 195   11/20/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   15.59
883   196   Week 196   11/27/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   15.91
883   197   Week 197    12/4/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.64   32.34
883   198   Week 198   12/11/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   26.03
883   199   Week 199   12/18/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   27.63
883   200   Week 200   12/25/2016   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    8.25   22.22
883   201   Week 201     1/1/2017   Western   Clint McPhail   165   TAB   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   12.94     9.9
883   201   Week 201     1/1/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    26.2
883   202   Week 202     1/8/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.03   29.14
883   203   Week 203    1/15/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.14   21.91
883   204   Week 204    1/22/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.64   36.27
883   205   Week 205    1/29/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.53   40.78
883   206   Week 206     2/5/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.35   32.61
883   207   Week 207    2/12/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   31.91
883   208   Week 208    2/19/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.38   34.67
883   209   Week 209    2/26/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.32   36.75
883   210   Week 210     3/5/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    24.7
883   212   Week 212    3/19/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   29.89
883   213   Week 213    3/26/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    10.7   20.41
883   214   Week 214     4/2/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.72   35.29
883   215   Week 215     4/9/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.26   24.84
883   216   Week 216    4/16/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   34.01
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883   217   Week 217    4/23/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.59   35.32
883   218   Week 218    4/30/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   32.61
883   219   Week 219     5/7/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   25.62
883   220   Week 220    5/14/2017   Western   Clint McPhail   165   TAB   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    2.73
883   220   Week 220    5/14/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   26.87
883   221   Week 221    5/21/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    26.8
883   222   Week 222    5/28/2017   Western   Clint McPhail   166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    12.4
883   222   Week 222    5/28/2017   Western   DO Jay White    165   TAB   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   11.76    4.18
883   222   Week 222    5/28/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   12.72
883   223   Week 223     6/4/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    27.1
883   224   Week 224    6/11/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   20.57
883   225   Week 225    6/18/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   23.85
883   226   Week 226    6/25/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   27.23
883   227   Week 227     7/2/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   25.67
883   228   Week 228     7/9/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   26.25
883   229   Week 229    7/16/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   25.59
883   230   Week 230    7/23/2017   Western   DO Jay White    165   TAB   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    3.93
883   230   Week 230    7/23/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    21.3
883   231   Week 231    7/30/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   26.87
883   232   Week 232     8/6/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    30.4
883   233   Week 233    8/13/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.36   35.26
883   234   Week 234    8/20/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.09   32.18
883   235   Week 235    8/27/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.92   41.05
883   236   Week 236     9/3/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.02    34.3
883   237   Week 237    9/10/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    10.6   37.75
883   238   Week 238    9/17/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.28   31.93
883   239   Week 239    9/24/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.13    35.9
883   240   Week 240    10/1/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   27.19
883   241   Week 241    10/8/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.63   31.94
883   243   Week 243   10/22/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    8.64
883   244   Week 244   10/29/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   17.81
883   245   Week 245    11/5/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.86   29.55
883   246   Week 246   11/12/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.28   32.89
883   247   Week 247   11/19/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   16.78
883   248   Week 248   11/26/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.33   15.98
883   249   Week 249    12/3/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.66   18.11
883   250   Week 250   12/10/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.45   19.33
883   251   Week 251   12/17/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10   18.96
883   252   Week 252   12/24/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER      10    2.58
883   253   Week 253   12/31/2017   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    10.5   23.73
883   254   Week 254     1/7/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    11.4   22.31
883   255   Week 255    1/14/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.85   29.24
883   256   Week 256    1/21/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   11.27   14.28
883   257   Week 257    1/28/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.71   17.08
883   258   Week 258     2/4/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   12.49   13.88
883   259   Week 259    2/11/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   12.18   15.15
883   260   Week 260    2/18/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    10.5   10.52
883   261   Week 261    2/25/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   12.23    13.6
883   262   Week 262     3/4/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   12.56   18.51
883   263   Week 263    3/11/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   11.33   20.27
883   264   Week 264    3/18/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   11.53   12.45
883   265   Week 265    3/25/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   11.14    17.9
883   266   Week 266     4/1/2018   Western   DO Jay White    166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER    13.3    29.5
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 883   267   Week 267     4/8/2018   Western   DO Jay White        166   TAO   TAO158   37903   DIANA   CASTRICONE   DIANA CASTRICONE   DELIVERY DRIVER   10.5    3.58
2701   180   Week 180     8/7/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    5.23
2701   181   Week 181    8/14/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    6.73
2701   182   Week 182    8/21/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   12.76
2701   183   Week 183    8/28/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    9.03
2701   184   Week 184     9/4/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   19.67
2701   185   Week 185    9/11/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    14.8
2701   186   Week 186    9/18/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   12.23
2701   187   Week 187    9/25/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   11.72
2701   188   Week 188    10/2/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   11.88
2701   189   Week 189    10/9/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    7.41
2701   190   Week 190   10/16/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   13.41
2701   191   Week 191   10/23/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9     8.3
2701   192   Week 192   10/30/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   10.56
2701   193   Week 193    11/6/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    2.57
2701   194   Week 194   11/13/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9   11.89
2701   196   Week 196   11/27/2016   Western   MP Western Region   174   TAR   TAR301   64665   AMBER   JONES        AMBER JONES        DELIVERY DRIVER      9    0.42
5159   215   Week 215     4/9/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8    16.3
5159   216   Week 216    4/16/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8      23
5159   217   Week 217    4/23/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   23.11
5159   218   Week 218    4/30/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   23.29
5159   219   Week 219     5/7/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   20.19
5159   220   Week 220    5/14/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   26.64
5159   221   Week 221    5/21/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8    26.1
5159   222   Week 222    5/28/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   29.24
5159   222   Week 222    5/28/2017   Western   MP Western Region   174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   10.21
5159   223   Week 223     6/4/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   27.45
5159   224   Week 224    6/11/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   28.97
5159   225   Week 225    6/18/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   22.74
5159   226   Week 226    6/25/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   30.52
5159   227   Week 227     7/2/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   18.71
5159   228   Week 228     7/9/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   27.51
5159   229   Week 229    7/16/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8      36
5159   230   Week 230    7/23/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   30.93
5159   231   Week 231    7/30/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   31.81
5159   232   Week 232     8/6/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   38.56
5159   233   Week 233    8/13/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER   8.54   38.05
5159   234   Week 234    8/20/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER   8.08   36.42
5159   235   Week 235    8/27/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   35.47
5159   236   Week 236     9/3/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   35.12
5159   237   Week 237    9/10/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   31.54
5159   238   Week 238    9/17/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER   8.28   43.03
5159   239   Week 239    9/24/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   33.43
5159   240   Week 240    10/1/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   31.69
5159   241   Week 241    10/8/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   29.59
5159   242   Week 242   10/15/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER   8.02   30.16
5159   243   Week 243   10/22/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   29.93
5159   244   Week 244   10/29/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   32.51
5159   245   Week 245    11/5/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   34.92
5159   246   Week 246   11/12/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   37.59
5159   247   Week 247   11/19/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   15.42
5159   248   Week 248   11/26/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8   20.68
5159   249   Week 249    12/3/2017   Western   DO Mike McCown      174   TAR   TAR329   69089   JOYCE   THOMAS       JOYCE THOMAS       DELIVERY DRIVER      8    32.1
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5159   250   Week 250   12/10/2017   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER   8.22   42.34
5159   251   Week 251   12/17/2017   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   29.62
5159   252   Week 252   12/24/2017   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   26.01
5159   253   Week 253   12/31/2017   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8    24.2
5159   254   Week 254     1/7/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   20.17
5159   255   Week 255    1/14/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   19.11
5159   256   Week 256    1/21/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   20.43
5159   257   Week 257    1/28/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   27.08
5159   258   Week 258     2/4/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   32.32
5159   259   Week 259    2/11/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   38.59
5159   260   Week 260    2/18/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER   8.22   33.88
5159   261   Week 261    2/25/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   39.54
5159   262   Week 262     3/4/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER   8.22   42.35
5159   263   Week 263    3/11/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   32.88
5159   264   Week 264    3/18/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER    8.5   45.68
5159   265   Week 265    3/25/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8   36.12
5159   266   Week 266     4/1/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8    32.8
5159   267   Week 267     4/8/2018   Western   DO Mike McCown       174   TAR   TAR329   69089   JOYCE     THOMAS         JOYCE THOMAS            DELIVERY DRIVER      8    6.62
3077   204   Week 204    1/22/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5     8.1
3077   205   Week 205    1/29/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   31.88
3077   206   Week 206     2/5/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER   9.32   44.43
3077   207   Week 207    2/12/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   16.11
3077   208   Week 208    2/19/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5    21.8
3077   209   Week 209    2/26/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER   9.16   47.36
3077   210   Week 210     3/5/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   25.42
3077   211   Week 211    3/12/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   23.54
3077   212   Week 212    3/19/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   33.93
3077   213   Week 213    3/26/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   25.94
3077   214   Week 214     4/2/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   31.25
3077   215   Week 215     4/9/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   30.13
3077   216   Week 216    4/16/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   29.79
3077   217   Week 217    4/23/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   21.21
3077   218   Week 218    4/30/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   27.07
3077   219   Week 219     5/7/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5   28.44
3077   220   Week 220    5/14/2017   Western   Thomas McDonald      202   TCH   TCH028   67447   AMAYA     LINVILLE‐ GREENAMAYA LINVILLE‐ GREEN   DELIVERY DRIVER    8.5    4.57
3322   204   Week 204    1/22/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5    9.52
3322   205   Week 205    1/29/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5   29.64
3322   206   Week 206     2/5/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5   39.61
3322   207   Week 207    2/12/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER   9.11    41.8
3322   208   Week 208    2/19/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5   31.52
3322   209   Week 209    2/26/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER   9.15   47.21
3322   210   Week 210     3/5/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5   23.76
3322   211   Week 211    3/12/2017   Western   Thomas McDonald      202   TCH   TCH029   67448   CHARITY   MAYS           CHARITY MAYS            DELIVERY DRIVER    8.5   28.43
1671   229   Week 229    7/16/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75    3.53
1671   230   Week 230    7/23/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   35.04
1671   231   Week 231    7/30/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   22.45
1671   232   Week 232     8/6/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   34.07
1671   233   Week 233    8/13/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   35.09
1671   234   Week 234    8/20/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   15.85
1671   235   Week 235    8/27/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   20.25
1671   236   Week 236     9/3/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75      32
1671   237   Week 237    9/10/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75   30.32
1671   238   Week 238    9/17/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE     FIELDS         LAURE FIELDS            DELIVERY DRIVER   8.75    22.2
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1671   239   Week 239    9/24/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   28.65
1671   240   Week 240    10/1/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   26.43
1671   241   Week 241    10/8/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   22.28
1671   242   Week 242   10/15/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   31.01
1671   243   Week 243   10/22/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9    33.2
1671   244   Week 244   10/29/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9    28.1
1671   245   Week 245    11/5/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   28.58
1671   246   Week 246   11/12/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   33.79
1671   247   Week 247   11/19/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   16.93
1671   248   Week 248   11/26/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   35.92
1671   249   Week 249    12/3/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   37.42
1671   250   Week 250   12/10/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   17.22
1671   251   Week 251   12/17/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   26.15
1671   252   Week 252   12/24/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   25.75
1671   253   Week 253   12/31/2017   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   33.36
1671   254   Week 254     1/7/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   22.18
1671   255   Week 255    1/14/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   36.15
1671   256   Week 256    1/21/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER   9.02   40.15
1671   257   Week 257    1/28/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   35.29
1671   258   Week 258     2/4/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   33.19
1671   259   Week 259    2/11/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   23.27
1671   260   Week 260    2/18/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   28.73
1671   261   Week 261    2/25/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   25.34
1671   262   Week 262     3/4/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   38.67
1671   263   Week 263    3/11/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   32.61
1671   264   Week 264    3/18/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9    35.9
1671   265   Week 265    3/25/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9   10.25
1671   266   Week 266     4/1/2018   Western   DO Michael Johnson   202   TCH   TCH147   71461   LAURE    FIELDS   LAURE FIELDS    DELIVERY DRIVER      9    8.08
1660   135   Week 135    9/27/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   17.31
1660   136   Week 136    10/4/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    25.1
1660   137   Week 137   10/11/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   16.46
1660   138   Week 138   10/18/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   12.76
1660   139   Week 139   10/25/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   13.66
1660   140   Week 140    11/1/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   10.76
1660   141   Week 141    11/8/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    9.43
1660   142   Week 142   11/15/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   12.32
1660   143   Week 143   11/22/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   11.11
1660   144   Week 144   11/29/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   15.14
1660   145   Week 145    12/6/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   14.66
1660   146   Week 146   12/13/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    5.83
1660   147   Week 147   12/20/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    4.75
1660   148   Week 148   12/27/2015   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    7.05
1660   149   Week 149     1/3/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   13.45
1660   150   Week 150    1/10/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   15.53
1660   151   Week 151    1/17/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    6.93
1660   152   Week 152    1/24/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    18.1
1660   153   Week 153    1/31/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   11.82
1660   154   Week 154     2/7/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   13.18
1660   155   Week 155    2/14/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    9.77
1660   156   Week 156    2/21/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5   17.83
1660   157   Week 157    2/28/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    9.54
1660   158   Week 158     3/6/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    5.72
1660   159   Week 159    3/13/2016   Eastern   Brandon Andra        170   TFL   TFL261   57704   JOSEPH   FERRIN   JOSEPH FERRIN   DELIVERY DRIVER    8.5    8.77
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1660   160   Week 160    3/20/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5    5.28
1660   161   Week 161    3/27/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5   10.11
1660   162   Week 162     4/3/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5   18.08
1660   163   Week 163    4/10/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5   12.97
1660   164   Week 164    4/17/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5   12.62
1660   165   Week 165    4/24/2016   Eastern    Brandon Andra   170   TFL   TFL261    57704   JOSEPH    FERRIN    JOSEPH FERRIN     DELIVERY DRIVER    8.5    9.68
  73   104   Week 104    2/22/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.07
  73   105   Week 105     3/1/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5    28.3
  73   106   Week 106     3/8/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   18.28
  73   107   Week 107    3/15/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   28.13
  73   108   Week 108    3/22/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   13.33
  73   109   Week 109    3/29/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   17.61
  73   110   Week 110     4/5/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   29.34
  73   111   Week 111    4/12/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   16.47
  73   112   Week 112    4/19/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   27.95
  73   113   Week 113    4/26/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   14.48
  73   114   Week 114     5/3/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   26.51
  73   115   Week 115    5/10/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   26.96
  73   116   Week 116    5/17/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   25.94
  73   117   Week 117    5/24/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   25.14
  73   118   Week 118    5/31/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   17.87
  73   119   Week 119     6/7/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER   9.62   35.08
  73   121   Week 121    6/21/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   39.45
  73   122   Week 122    6/28/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   23.66
  73   123   Week 123     7/5/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   28.85
  73   124   Week 124    7/12/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   35.07
  73   125   Week 125    7/19/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   38.39
  73   126   Week 126    7/26/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   36.56
  73   127   Week 127     8/2/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   29.78
  73   128   Week 128     8/9/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   27.84
  73   129   Week 129    8/16/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   31.77
  73   130   Week 130    8/23/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   32.27
  73   131   Week 131    8/30/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   30.26
  73   132   Week 132     9/6/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   23.25
  73   133   Week 133    9/13/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5    30.2
  73   134   Week 134    9/20/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   37.13
  73   135   Week 135    9/27/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.41
  73   136   Week 136    10/4/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   28.11
  73   137   Week 137   10/11/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   33.14
  73   138   Week 138   10/18/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   33.95
  73   139   Week 139   10/25/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.54
  73   140   Week 140    11/1/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5    23.3
  73   141   Week 141    11/8/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   35.16
  73   142   Week 142   11/15/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   27.14
  73   143   Week 143   11/22/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   20.42
  73   144   Week 144   11/29/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   37.21
  73   145   Week 145    12/6/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   32.77
  73   146   Week 146   12/13/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5    31.7
  73   147   Week 147   12/20/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5      15
  73   148   Week 148   12/27/2015   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   19.94
  73   149   Week 149     1/3/2016   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   27.57
  73   150   Week 150    1/10/2016   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.69
  73   151   Week 151    1/17/2016   Southern   Gene Leal        28   TNY   TNY108   813065   ALLYSON   AL QADI   ALLYSON AL QADI   DELIVERY DRIVER    9.5   20.63
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  73   152   Week 152   1/24/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.26
  73   153   Week 153   1/31/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   30.64
  73   154   Week 154    2/7/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   31.31
  73   155   Week 155   2/14/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   32.89
  73   156   Week 156   2/21/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   16.85
  73   157   Week 157   2/28/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   25.31
  73   158   Week 158    3/6/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.73
  73   159   Week 159   3/13/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   15.25
  73   160   Week 160   3/20/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   23.47
  73   161   Week 161   3/27/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   33.51
  73   162   Week 162    4/3/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   28.78
  73   163   Week 163   4/10/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   26.97
  73   164   Week 164   4/17/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   18.69
  73   165   Week 165   4/24/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER   10.1   44.05
  73   166   Week 166    5/1/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   35.23
  73   167   Week 167    5/8/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   34.62
  73   168   Week 168   5/15/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   35.86
  73   169   Week 169   5/22/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   32.94
  73   170   Week 170   5/29/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   21.62
  73   171   Week 171    6/5/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER   9.53   38.99
  73   172   Week 172   6/12/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   37.34
  73   173   Week 173   6/19/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5      33
  73   174   Week 174   6/26/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   17.78
  73   175   Week 175    7/3/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   24.35
  73   176   Week 176   7/10/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   29.66
  73   177   Week 177   7/17/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   36.47
  73   178   Week 178   7/24/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5    35.5
  73   179   Week 179   7/31/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   38.61
  73   180   Week 180    8/7/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   35.63
  73   181   Week 181   8/14/2016   Southern   Gene Leal          28   TNY   TNY108   813065   ALLYSON   AL QADI    ALLYSON AL QADI   DELIVERY DRIVER    9.5   11.66
4229   104   Week 104   2/22/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8    24.7
4229   105   Week 105    3/1/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   36.36
4229   106   Week 106    3/8/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   25.51
4229   107   Week 107   3/15/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   32.71
4229   108   Week 108   3/22/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   35.57
4229   109   Week 109   3/29/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   24.32
4229   110   Week 110    4/5/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   27.14
4229   111   Week 111   4/12/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   33.59
4229   112   Week 112   4/19/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   35.51
4229   113   Week 113   4/26/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8    39.6
4229   114   Week 114    5/3/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER   8.16   41.68
4229   115   Week 115   5/10/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   38.25
4229   116   Week 116   5/17/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   33.52
4229   117   Week 117   5/24/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   27.81
4229   118   Week 118   5/31/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER   8.04   40.36
4229   119   Week 119    6/7/2015   Western    Thomas McDonald    53   KIL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8    4.72
4229   119   Week 119    6/7/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   29.51
4229   120   Week 120   6/14/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   22.03
4229   121   Week 121   6/21/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   37.99
4229   122   Week 122   6/28/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8    18.8
4229   123   Week 123    7/5/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   25.55
4229   124   Week 124   7/12/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   30.61
4229   125   Week 125   7/19/2015   Western    Thomas McDonald   172   TPL   TPL234    53354   Bryce     Rackliff   Bryce Rackliff    DELIVERY DRIVER      8   36.62
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4229   126   Week 126    7/26/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   28.91
4229   127   Week 127     8/2/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   28.47
4229   128   Week 128     8/9/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   35.99
4229   129   Week 129    8/16/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   30.43
4229   130   Week 130    8/23/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   24.08
4229   131   Week 131    8/30/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   27.81
4229   132   Week 132     9/6/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   33.43
4229   133   Week 133    9/13/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   26.01
4229   134   Week 134    9/20/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    24.4
4229   135   Week 135    9/27/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    13.8
4229   136   Week 136    10/4/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   16.91
4229   137   Week 137   10/11/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   21.19
4229   138   Week 138   10/18/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    12.5
4229   139   Week 139   10/25/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   17.81
4229   140   Week 140    11/1/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   10.38
4229   141   Week 141    11/8/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   14.04
4229   142   Week 142   11/15/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   16.72
4229   143   Week 143   11/22/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   12.99
4229   144   Week 144   11/29/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    6.92
4229   145   Week 145    12/6/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   14.91
4229   146   Week 146   12/13/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   20.56
4229   147   Week 147   12/20/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    8.56
4229   148   Week 148   12/27/2015   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    6.17
4229   149   Week 149     1/3/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   22.49
4229   150   Week 150    1/10/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   12.33
4229   151   Week 151    1/17/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   24.14
4229   152   Week 152    1/24/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   26.82
4229   153   Week 153    1/31/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    6.57
4229   154   Week 154     2/7/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   15.84
4229   155   Week 155    2/14/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8    8.89
4229   156   Week 156    2/21/2016   Western   Thomas McDonald   172   TPL   TPL234    53354   Bryce   Rackliff       Bryce Rackliff       DELIVERY DRIVER      8   13.47
1006   170   Week 170    5/29/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75   15.65
1006   171   Week 171     6/5/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75    9.85
1006   172   Week 172    6/12/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75   20.82
1006   173   Week 173    6/19/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75   12.15
1006   174   Week 174    6/26/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75    7.82
1006   175   Week 175     7/3/2016   Western   Thomas McDonald   172   TPL   TPL297    63063   DYLAN   CLINE‐RIEMER   DYLAN CLINE‐RIEMER   DELIVERY DRIVER   7.75    7.75
5315   239   Week 239    9/24/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25    8.65
5315   240   Week 240    10/1/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25    5.08
5315   241   Week 241    10/8/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   10.09
5315   242   Week 242   10/15/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25    26.2
5315   243   Week 243   10/22/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   20.07
5315   244   Week 244   10/29/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   14.45
5315   245   Week 245    11/5/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   13.62
5315   246   Week 246   11/12/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25    8.69
5315   247   Week 247   11/19/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25     2.6
5315   248   Week 248   11/26/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   14.33
5315   249   Week 249    12/3/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25       8
5315   250   Week 250   12/10/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   12.65
5315   251   Week 251   12/17/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25      13
5315   253   Week 253   12/31/2017   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25    3.15
5315   254   Week 254     1/7/2018   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   17.91
5315   255   Week 255    1/14/2018   Western   DO Mike McCown     12   TYL   TYL1094   72538   ELENA   TUSSY          ELENA TUSSY          DELIVERY DRIVER   7.25   19.87
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5315   256   Week 256   1/21/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   16.52
5315   257   Week 257   1/28/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25    11.4
5315   258   Week 258    2/4/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   25.04
5315   259   Week 259   2/11/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   15.56
5315   260   Week 260   2/18/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   19.29
5315   261   Week 261   2/25/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   14.19
5315   262   Week 262    3/4/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   23.09
5315   263   Week 263   3/11/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   17.12
5315   264   Week 264   3/18/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   14.43
5315   265   Week 265   3/25/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25    8.61
5315   266   Week 266    4/1/2018   Western    DO Mike McCown    12   TYL   TYL1094   72538   ELENA      TUSSY     ELENA TUSSY       DELIVERY DRIVER   7.25   15.41
2852   104   Week 104   2/22/2015   Northern   Bruce Brown      138   DCF   VCV238    50438   JEREMIAH   KINNEY    JEREMIAH KINNEY   DELIVERY DRIVER    8.5   15.83
2852   105   Week 105    3/1/2015   Northern   Bruce Brown      138   DCF   VCV238    50438   JEREMIAH   KINNEY    JEREMIAH KINNEY   DELIVERY DRIVER    8.5   10.05
2852   106   Week 106    3/8/2015   Northern   Bruce Brown      138   DCF   VCV238    50438   JEREMIAH   KINNEY    JEREMIAH KINNEY   DELIVERY DRIVER    8.5   22.04
2852   107   Week 107   3/15/2015   Northern   Bruce Brown      138   DCF   VCV238    50438   JEREMIAH   KINNEY    JEREMIAH KINNEY   DELIVERY DRIVER    8.5   22.36
2852   108   Week 108   3/22/2015   Northern   Bruce Brown      138   DCF   VCV238    50438   JEREMIAH   KINNEY    JEREMIAH KINNEY   DELIVERY DRIVER    8.5   13.78
5745   128   Week 128    8/9/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   14.15
5745   129   Week 129   8/16/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   21.61
5745   130   Week 130   8/23/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   10.73
5745   131   Week 131   8/30/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   25.88
5745   132   Week 132    9/6/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   16.77
5745   133   Week 133   9/13/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   24.77
5745   134   Week 134   9/20/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   24.24
5745   135   Week 135   9/27/2015   Northern   Alex Williams    176   VCV   VCV270    56825   Jacob      Wood      Jacob Wood        DELIVERY DRIVER      9   28.17
 143   101   Week 101    2/1/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   11.77
 143   102   Week 102    2/8/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   15.21
 143   103   Week 103   2/15/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   12.68
 143   104   Week 104   2/22/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    8.02
 143   105   Week 105    3/1/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5     6.1
 143   106   Week 106    3/8/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5      14
 143   107   Week 107   3/15/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   15.37
 143   108   Week 108   3/22/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    17.8
 143   109   Week 109   3/29/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   15.79
 143   111   Week 111   4/12/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   16.28
 143   112   Week 112   4/19/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   14.29
 143   113   Week 113   4/26/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   12.64
 143   114   Week 114    5/3/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    5.39
 143   117   Week 117   5/24/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5     6.5
 143   118   Week 118   5/31/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    9.19
 143   119   Week 119    6/7/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   10.68
 143   120   Week 120   6/14/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    9.92
 143   121   Week 121   6/21/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   12.82
 143   122   Week 122   6/28/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    2.65
 143   123   Week 123    7/5/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    6.92
 143   124   Week 124   7/12/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    9.68
 143   125   Week 125   7/19/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    9.22
 143   126   Week 126   7/26/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    7.64
 143   127   Week 127    8/2/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5     9.4
 143   128   Week 128    8/9/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   10.72
 143   129   Week 129   8/16/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   13.51
 143   130   Week 130   8/23/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5   12.75
 143   131   Week 131   8/30/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    2.03
 143   133   Week 133   9/13/2015   Northern   Alex Williams    129   VHG   VHG500    44239   DENIS      ANCHETA   DENIS ANCHETA     DELIVERY DRIVER    7.5    2.17
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 143   134   Week 134    9/20/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.88
 143   135   Week 135    9/27/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     1.9
 143   136   Week 136    10/4/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.88
 143   137   Week 137   10/11/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    4.87
 143   138   Week 138   10/18/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    5.32
 143   139   Week 139   10/25/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.45
 143   140   Week 140    11/1/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     3.9
 143   141   Week 141    11/8/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    5.14
 143   142   Week 142   11/15/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.53
 143   143   Week 143   11/22/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.93
 143   144   Week 144   11/29/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     6.6
 143   145   Week 145    12/6/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    4.57
 143   146   Week 146   12/13/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    4.02
 143   147   Week 147   12/20/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     2.3
 143   148   Week 148   12/27/2015   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.96
 143   149   Week 149     1/3/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.33
 143   150   Week 150    1/10/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.67
 143   151   Week 151    1/17/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.56
 143   152   Week 152    1/24/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    2.05
 143   153   Week 153    1/31/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    6.17
 143   154   Week 154     2/7/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5   11.62
 143   155   Week 155    2/14/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.84
 143   156   Week 156    2/21/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    6.23
 143   157   Week 157    2/28/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.45
 143   158   Week 158     3/6/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    8.42
 143   159   Week 159    3/13/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     6.2
 143   160   Week 160    3/20/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.38
 143   161   Week 161    3/27/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.95
 143   162   Week 162     4/3/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     4.4
 143   163   Week 163    4/10/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    5.95
 143   164   Week 164    4/17/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5     3.5
 143   165   Week 165    4/24/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    2.57
 143   166   Week 166     5/1/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    5.18
 143   167   Week 167     5/8/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    5.06
 143   168   Week 168    5/15/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    2.76
 143   169   Week 169    5/22/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.75
 143   170   Week 170    5/29/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.84
 143   171   Week 171     6/5/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    6.47
 143   172   Week 172    6/12/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    7.67
 143   173   Week 173    6/19/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    7.11
 143   175   Week 175     7/3/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.66
 143   176   Week 176    7/10/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    4.05
 143   177   Week 177    7/17/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    3.77
 143   178   Week 178    7/24/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    2.22
 143   181   Week 181    8/14/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.85
 143   182   Week 182    8/21/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    4.15
 143   183   Week 183    8/28/2016   Northern   Alex Williams   129   VHG   VHG500   44239   DENIS     ANCHETA   DENIS ANCHETA    DELIVERY DRIVER   7.5    1.05
4501   163   Week 163    4/10/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5   24.11
4501   164   Week 164    4/17/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5   28.53
4501   165   Week 165    4/24/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5   30.99
4501   166   Week 166     5/1/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5   30.49
4501   167   Week 167     5/8/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5      31
4501   168   Week 168    5/15/2016   Northern   Alex Williams   129   VHG   VHG612   61738   BRIANNA   ROSCOE    BRIANNA ROSCOE   DELIVERY DRIVER   7.5   25.45
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4501   169   Week 169    5/22/2016   Northern   Alex Williams      129   VHG   VHG612    61738   BRIANNA   ROSCOE      BRIANNA ROSCOE    DELIVERY DRIVER    7.5   17.04
4501   170   Week 170    5/29/2016   Northern   Alex Williams      129   VHG   VHG612    61738   BRIANNA   ROSCOE      BRIANNA ROSCOE    DELIVERY DRIVER    7.5    9.81
2477   233   Week 233    8/13/2017   Northern   DO Travis Bryant   129   VHG   VHG679    71949   BETTY     HOUSTON     BETTY HOUSTON     DELIVERY DRIVER      8   10.55
2477   234   Week 234    8/20/2017   Northern   DO Travis Bryant   129   VHG   VHG679    71949   BETTY     HOUSTON     BETTY HOUSTON     DELIVERY DRIVER      8   25.57
2477   235   Week 235    8/27/2017   Northern   DO Travis Bryant   129   VHG   VHG679    71949   BETTY     HOUSTON     BETTY HOUSTON     DELIVERY DRIVER      8   31.05
2477   236   Week 236     9/3/2017   Northern   DO Travis Bryant   129   VHG   VHG679    71949   BETTY     HOUSTON     BETTY HOUSTON     DELIVERY DRIVER      8   32.88
2477   237   Week 237    9/10/2017   Northern   DO Travis Bryant   129   VHG   VHG679    71949   BETTY     HOUSTON     BETTY HOUSTON     DELIVERY DRIVER      8     2.6
1384   237   Week 237    9/10/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   24.34
1384   238   Week 238    9/17/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   31.14
1384   239   Week 239    9/24/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   33.05
1384   240   Week 240    10/1/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   36.05
1384   241   Week 241    10/8/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   33.11
1384   242   Week 242   10/15/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   22.74
1384   243   Week 243   10/22/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   25.75
1384   244   Week 244   10/29/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   20.66
1384   245   Week 245    11/5/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   31.16
1384   246   Week 246   11/12/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   28.76
1384   247   Week 247   11/19/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8   14.73
1384   248   Week 248   11/26/2017   Northern   DO Travis Bryant   129   VHG   VHG681    72353   STEVEN    DEVINE      STEVEN DEVINE     DELIVERY DRIVER      8    8.05
1399   101   Week 101     2/1/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   22.68
1399   102   Week 102     2/8/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9    1.72
1399   103   Week 103    2/15/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9    21.9
1399   104   Week 104    2/22/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   11.17
1399   105   Week 105     3/1/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   16.62
1399   106   Week 106     3/8/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   27.04
1399   107   Week 107    3/15/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   22.34
1399   108   Week 108    3/22/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   14.83
1399   109   Week 109    3/29/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9    0.22
1399   110   Week 110     4/5/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   19.92
1399   111   Week 111    4/12/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   23.12
1399   112   Week 112    4/19/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   13.06
1399   113   Week 113    4/26/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   22.46
1399   114   Week 114     5/3/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   11.13
1399   115   Week 115    5/10/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   11.04
1399   117   Week 117    5/24/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   19.68
1399   118   Week 118    5/31/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9    25.4
1399   119   Week 119     6/7/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   23.37
1399   121   Week 121    6/21/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   24.75
1399   123   Week 123     7/5/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   16.12
1399   124   Week 124    7/12/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER      9   17.66
1399   125   Week 125    7/19/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   17.38
1399   126   Week 126    7/26/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35    10.9
1399   127   Week 127     8/2/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35    8.51
1399   128   Week 128     8/9/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   22.34
1399   129   Week 129    8/16/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   13.89
1399   130   Week 130    8/23/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   24.64
1399   132   Week 132     9/6/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   20.75
1399   133   Week 133    9/13/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35    21.8
1399   134   Week 134    9/20/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.35   11.47
1399   135   Week 135    9/27/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.02
1399   136   Week 136    10/4/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.13
1399   137   Week 137   10/11/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.02
1399   138   Week 138   10/18/2015   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA     DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   14.63
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1399   139   Week 139   10/25/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   15.56
1399   140   Week 140    11/1/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.01
1399   141   Week 141    11/8/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.87
1399   142   Week 142   11/15/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.32
1399   144   Week 144   11/29/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    20.8
1399   145   Week 145    12/6/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.93
1399   146   Week 146   12/13/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.01
1399   147   Week 147   12/20/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    7.72
1399   148   Week 148   12/27/2015   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.35
1399   149   Week 149     1/3/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.47
1399   150   Week 150    1/10/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.65
1399   151   Week 151    1/17/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    9.13
1399   152   Week 152    1/24/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.59
1399   153   Week 153    1/31/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.78
1399   154   Week 154     2/7/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   11.65
1399   155   Week 155    2/14/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.58
1399   156   Week 156    2/21/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   13.36
1399   157   Week 157    2/28/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    11.7
1399   158   Week 158     3/6/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    22.4
1399   159   Week 159    3/13/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   14.47
1399   160   Week 160    3/20/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    12.8
1399   161   Week 161    3/27/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    20.2
1399   162   Week 162     4/3/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   12.63
1399   163   Week 163    4/10/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.15
1399   164   Week 164    4/17/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.03
1399   165   Week 165    4/24/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.52
1399   166   Week 166     5/1/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.15
1399   167   Week 167     5/8/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.07
1399   168   Week 168    5/15/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.99
1399   169   Week 169    5/22/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   10.63
1399   170   Week 170    5/29/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    25.2
1399   171   Week 171     6/5/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   20.28
1399   172   Week 172    6/12/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   20.48
1399   173   Week 173    6/19/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    9.38
1399   175   Week 175     7/3/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.82
1399   176   Week 176    7/10/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.29
1399   177   Week 177    7/17/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.16
1399   178   Week 178    7/24/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    6.92
1399   179   Week 179    7/31/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   11.53
1399   180   Week 180     8/7/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.41
1399   181   Week 181    8/14/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.55
1399   182   Week 182    8/21/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   14.95
1399   183   Week 183    8/28/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   12.28
1399   184   Week 184     9/4/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   28.42
1399   185   Week 185    9/11/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.35
1399   186   Week 186    9/18/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    14.3
1399   188   Week 188    10/2/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45      24
1399   189   Week 189    10/9/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.67
1399   190   Week 190   10/16/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.07
1399   191   Week 191   10/23/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.06
1399   193   Week 193    11/6/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    26.1
1399   194   Week 194   11/13/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.41
1399   195   Week 195   11/20/2016   Northern   Alex Williams   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   10.95
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1399   196   Week 196   11/27/2016   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    21.5
1399   197   Week 197    12/4/2016   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.65
1399   198   Week 198   12/11/2016   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.55
1399   199   Week 199   12/18/2016   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    6.87
1399   202   Week 202     1/8/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   20.79
1399   203   Week 203    1/15/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45      27
1399   204   Week 204    1/22/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   27.87
1399   205   Week 205    1/29/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.22
1399   206   Week 206     2/5/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.44
1399   207   Week 207    2/12/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.25
1399   208   Week 208    2/19/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    23.1
1399   209   Week 209    2/26/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.85
1399   210   Week 210     3/5/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.11
1399   211   Week 211    3/12/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.53
1399   212   Week 212    3/19/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.73
1399   213   Week 213    3/26/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.98
1399   214   Week 214     4/2/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   27.65
1399   215   Week 215     4/9/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   10.97
1399   216   Week 216    4/16/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   20.88
1399   217   Week 217    4/23/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.13
1399   218   Week 218    4/30/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    23.7
1399   219   Week 219     5/7/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    27.3
1399   220   Week 220    5/14/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    23.2
1399   221   Week 221    5/21/2017   Northern   Alex Williams      101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   18.28
1399   222   Week 222    5/28/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.76
1399   223   Week 223     6/4/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.41
1399   224   Week 224    6/11/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.67
1399   225   Week 225    6/18/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   14.65
1399   226   Week 226    6/25/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.92
1399   227   Week 227     7/2/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.25
1399   228   Week 228     7/9/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.35
1399   229   Week 229    7/16/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.71
1399   230   Week 230    7/23/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   17.36
1399   231   Week 231    7/30/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.18
1399   232   Week 232     8/6/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.69
1399   233   Week 233    8/13/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.08
1399   234   Week 234    8/20/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   15.42
1399   235   Week 235    8/27/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.45
1399   236   Week 236     9/3/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   18.28
1399   237   Week 237    9/10/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.19
1399   238   Week 238    9/17/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   11.45
1399   239   Week 239    9/24/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.42
1399   240   Week 240    10/1/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.95
1399   241   Week 241    10/8/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.57
1399   242   Week 242   10/15/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.93
1399   243   Week 243   10/22/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.58
1399   244   Week 244   10/29/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.27
1399   245   Week 245    11/5/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.02
1399   246   Week 246   11/12/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   33.55
1399   247   Week 247   11/19/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   11.58
1399   248   Week 248   11/26/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.98
1399   249   Week 249    12/3/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    24.8
1399   250   Week 250   12/10/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA   DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   32.88
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1399   251   Week 251   12/17/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   17.01
1399   252   Week 252   12/24/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.51
1399   253   Week 253   12/31/2017   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   21.87
1399   254   Week 254     1/7/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    25.4
1399   255   Week 255    1/14/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.82
1399   256   Week 256    1/21/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   19.22
1399   257   Week 257    1/28/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.55
1399   258   Week 258     2/4/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   22.82
1399   259   Week 259    2/11/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   16.65
1399   260   Week 260    2/18/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   25.39
1399   261   Week 261    2/25/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   26.28
1399   262   Week 262     3/4/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   23.34
1399   263   Week 263    3/11/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   24.97
1399   264   Week 264    3/18/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   17.22
1399   265   Week 265    3/25/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45   12.87
1399   266   Week 266     4/1/2018   Northern   DO Travis Bryant   101   VHH   VHH218   547336   DONNA    DICKINSON   DONNA DICKINSON   DELIVERY DRIVER   9.45    23.1
1418   107   Week 107    3/15/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   27.13
1418   108   Week 108    3/22/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   19.07
1418   109   Week 109    3/29/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   13.82
1418   110   Week 110     4/5/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   20.31
1418   111   Week 111    4/12/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   20.75
1418   112   Week 112    4/19/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   21.26
1418   113   Week 113    4/26/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5    9.59
1418   115   Week 115    5/10/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   11.85
1418   116   Week 116    5/17/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5    5.13
1418   117   Week 117    5/24/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5    10.7
1418   118   Week 118    5/31/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5    6.28
1418   119   Week 119     6/7/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   19.01
1418   121   Week 121    6/21/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5    20.5
1418   122   Week 122    6/28/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   15.69
1418   123   Week 123     7/5/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   14.95
1418   124   Week 124    7/12/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   10.48
1418   127   Week 127     8/2/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5     8.3
1418   128   Week 128     8/9/2015   Northern   Alex Williams      101   VHH   VHH317    46299   DWIGHT   DIXON       DWIGHT DIXON      DELIVERY DRIVER    7.5   13.47
5306   100   Week 100    1/25/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   13.47
5306   102   Week 102     2/8/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   23.65
5306   103   Week 103    2/15/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   18.13
5306   104   Week 104    2/22/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25    4.33
5306   105   Week 105     3/1/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   36.59
5306   106   Week 106     3/8/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   30.66
5306   107   Week 107    3/15/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   30.55
5306   108   Week 108    3/22/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   27.57
5306   109   Week 109    3/29/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25    8.68
5306   110   Week 110     4/5/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   15.09
5306   111   Week 111    4/12/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   23.39
5306   112   Week 112    4/19/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   25.46
5306   113   Week 113    4/26/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   19.47
5306   114   Week 114     5/3/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   15.08
5306   115   Week 115    5/10/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   21.64
5306   116   Week 116    5/17/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   11.09
5306   117   Week 117    5/24/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25   10.34
5306   118   Week 118    5/31/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25    15.8
5306   119   Week 119     6/7/2015   Northern   Alex Williams      101   VHH   VHH939    44829   JUSTIN   TURNER      JUSTIN TURNER     DELIVERY DRIVER   9.25    15.3
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5306   120   Week 120    6/14/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   17.93
5306   124   Week 124    7/12/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   12.34
5306   125   Week 125    7/19/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25    7.52
5306   126   Week 126    7/26/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   13.18
5306   127   Week 127     8/2/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   18.07
5306   128   Week 128     8/9/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25    10.7
5306   130   Week 130    8/23/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25    20.4
5306   131   Week 131    8/30/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   16.84
5306   132   Week 132     9/6/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   17.32
5306   133   Week 133    9/13/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   20.34
5306   134   Week 134    9/20/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   21.54
5306   135   Week 135    9/27/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   28.01
5306   136   Week 136    10/4/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   14.59
5306   137   Week 137   10/11/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   18.61
5306   138   Week 138   10/18/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   11.57
5306   139   Week 139   10/25/2015   Northern   Alex Williams      101   VHH   VHH939   44829   JUSTIN     TURNER     JUSTIN TURNER       DELIVERY DRIVER   9.25   18.01
 151   172   Week 172    6/12/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    8.15
 151   173   Week 173    6/19/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    5.22
 151   174   Week 174    6/26/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    4.03
 151   175   Week 175     7/3/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    4.25
 151   176   Week 176    7/10/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5   20.04
 151   177   Week 177    7/17/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5     5.3
 151   178   Week 178    7/24/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5   13.58
 151   179   Week 179    7/31/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    2.08
 151   180   Week 180     8/7/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5   10.97
 151   181   Week 181    8/14/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5   15.58
 151   182   Week 182    8/21/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    9.79
 151   183   Week 183    8/28/2016   Northern   Alex Williams      152   VHN   VHN218   61025   JENNIFER   ANDERSON   JENNIFER ANDERSON   DELIVERY DRIVER    8.5    3.28
 364   158   Week 158     3/6/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   12.13
 364   159   Week 159    3/13/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   20.35
 364   160   Week 160    3/20/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   20.51
 364   161   Week 161    3/27/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5    18.2
 364   162   Week 162     4/3/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   10.69
 364   163   Week 163    4/10/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   15.63
 364   164   Week 164    4/17/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   23.69
 364   165   Week 165    4/24/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5    21.8
 364   166   Week 166     5/1/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   25.12
 364   167   Week 167     5/8/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   20.55
 364   168   Week 168    5/15/2016   Northern   Alex Williams      152   VHN   VHN219   61026   THOMAS     BAUER      THOMAS BAUER        DELIVERY DRIVER    8.5   18.16
3697   218   Week 218    4/30/2017   Northern   Alex Williams      152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   10.73
3697   219   Week 219     5/7/2017   Northern   Alex Williams      152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   27.25
3697   220   Week 220    5/14/2017   Northern   Alex Williams      152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   15.53
3697   221   Week 221    5/21/2017   Northern   Alex Williams      152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   12.04
3697   222   Week 222    5/28/2017   Northern   Alex Williams      152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   13.79
3697   222   Week 222    5/28/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   13.75
3697   223   Week 223     6/4/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   23.32
3697   224   Week 224    6/11/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   19.96
3697   225   Week 225    6/18/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   19.24
3697   226   Week 226    6/25/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   18.07
3697   227   Week 227     7/2/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9    9.15
3697   228   Week 228     7/9/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   18.18
3697   229   Week 229    7/16/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   14.33
3697   230   Week 230    7/23/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER      9   16.65
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3697   231   Week 231    7/30/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   29.38
3697   232   Week 232     8/6/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   20.65
3697   233   Week 233    8/13/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   19.01
3697   234   Week 234    8/20/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   13.81
3697   235   Week 235    8/27/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   14.44
3697   236   Week 236     9/3/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   23.56
3697   237   Week 237    9/10/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   22.98
3697   238   Week 238    9/17/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   18.33
3697   239   Week 239    9/24/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   15.46
3697   240   Week 240    10/1/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   35.93
3697   241   Week 241    10/8/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   29.63
3697   242   Week 242   10/15/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   22.79
3697   243   Week 243   10/22/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   22.85
3697   244   Week 244   10/29/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   19.51
3697   245   Week 245    11/5/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   34.18
3697   246   Week 246   11/12/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   21.82
3697   247   Week 247   11/19/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9    3.93
3697   248   Week 248   11/26/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   10.18
3697   249   Week 249    12/3/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   25.07
3697   250   Week 250   12/10/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   28.75
3697   251   Week 251   12/17/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   11.71
3697   252   Week 252   12/24/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   13.21
3697   253   Week 253   12/31/2017   Northern   DO Travis Bryant   152   VHN   VHN254   69819   MICHELLE   MULLANEY   MICHELLE MULLANEY   DELIVERY DRIVER     9   10.28
 933   145   Week 145    12/6/2015   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER   7.5   16.09
 933   146   Week 146   12/13/2015   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER   7.5   12.85
 933   147   Week 147   12/20/2015   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8    9.09
 933   148   Week 148   12/27/2015   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   10.18
 933   149   Week 149     1/3/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   13.36
 933   150   Week 150    1/10/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   13.51
 933   151   Week 151    1/17/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   11.59
 933   152   Week 152    1/24/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   17.11
 933   153   Week 153    1/31/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   22.14
 933   154   Week 154     2/7/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   36.38
 933   155   Week 155    2/14/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8    32.9
 933   156   Week 156    2/21/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   23.07
 933   157   Week 157    2/28/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   25.95
 933   158   Week 158     3/6/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   18.16
 933   159   Week 159    3/13/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   24.33
 933   160   Week 160    3/20/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8     8.1
 933   161   Week 161    3/27/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   20.17
 933   162   Week 162     4/3/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   19.18
 933   163   Week 163    4/10/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   24.02
 933   164   Week 164    4/17/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   21.56
 933   165   Week 165    4/24/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   29.35
 933   166   Week 166     5/1/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   29.55
 933   167   Week 167     5/8/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   26.69
 933   168   Week 168    5/15/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   24.09
 933   169   Week 169    5/22/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   26.25
 933   170   Week 170    5/29/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   25.13
 933   171   Week 171     6/5/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   24.27
 933   172   Week 172    6/12/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8    19.2
 933   173   Week 173    6/19/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8   12.35
 933   174   Week 174    6/26/2016   Northern   Alex Williams      114   VHP   VHP619   59057   ARIANNA    CHARLEY    ARIANNA CHARLEY     DELIVERY DRIVER     8    7.77
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 933   175   Week 175     7/3/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   20.78
 933   176   Week 176    7/10/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   23.77
 933   177   Week 177    7/17/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   24.13
 933   178   Week 178    7/24/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   26.85
 933   179   Week 179    7/31/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   28.02
 933   180   Week 180     8/7/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   23.59
 933   181   Week 181    8/14/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   28.78
 933   182   Week 182    8/21/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   22.95
 933   183   Week 183    8/28/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   29.84
 933   184   Week 184     9/4/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   24.52
 933   185   Week 185    9/11/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   19.94
 933   186   Week 186    9/18/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   14.98
 933   187   Week 187    9/25/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8    34.6
 933   188   Week 188    10/2/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8   25.58
 933   189   Week 189    10/9/2016   Northern Alex Williams        114   VHP   VHP619    59057   ARIANNA       CHARLEY   ARIANNA CHARLEY       DELIVERY DRIVER      8    8.25
3294   134   Week 134    9/20/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8    7.02
3294   135   Week 135    9/27/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   10.37
3294   136   Week 136    10/4/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   19.43
3294   137   Week 137   10/11/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   21.24
3294   138   Week 138   10/18/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   22.85
3294   139   Week 139   10/25/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   24.95
3294   140   Week 140    11/1/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   22.91
3294   141   Week 141    11/8/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   16.42
3294   142   Week 142   11/15/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   12.09
3294   143   Week 143   11/22/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   16.98
3294   144   Week 144   11/29/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   35.86
3294   145   Week 145    12/6/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8    13.4
3294   146   Week 146   12/13/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8   26.38
3294   147   Week 147   12/20/2015   Closed LocaClosed Locations   111   VRP   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8    10.4
3294   149   Week 149     1/3/2016   Northern Alex Williams        137   VRW   VRP542    57742   Lane          Mater     Lane Mater            DELIVERY DRIVER      8    9.08
3495   141   Week 141    11/8/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8    7.87
3495   142   Week 142   11/15/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8   11.73
3495   143   Week 143   11/22/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8   11.58
3495   144   Week 144   11/29/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8   10.85
3495   145   Week 145    12/6/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8   11.17
3495   146   Week 146   12/13/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8   14.84
3495   147   Week 147   12/20/2015   Closed LocaClosed Locations   111   VRP   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8    4.84
3495   149   Week 149     1/3/2016   Northern Alex Williams        137   VRW   VRP544    58457   Jonathan      Messina   Jonathan Messina      DELIVERY DRIVER      8    3.32
1066   101   Week 101     2/1/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   32.33
1066   102   Week 102     2/8/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    33.8
1066   103   Week 103    2/15/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   21.04
1066   104   Week 104    2/22/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   14.16
1066   109   Week 109    3/29/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    4.07
1066   110   Week 110     4/5/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   19.77
1066   111   Week 111    4/12/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   25.61
1066   112   Week 112    4/19/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    39.5
1066   113   Week 113    4/26/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25      32
1066   114   Week 114     5/3/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   10.37
1066   115   Week 115    5/10/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25      19
1066   116   Week 116    5/17/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   23.04
1066   117   Week 117    5/24/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   20.84
1066   118   Week 118    5/31/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    16.7
1066   119   Week 119     6/7/2015   Northern Alex Williams         37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   16.57
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1066   120   Week 120    6/14/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   29.04
1066   121   Week 121    6/21/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   29.68
1066   122   Week 122    6/28/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   22.51
1066   123   Week 123     7/5/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   15.85
1066   124   Week 124    7/12/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25     8.3
1066   125   Week 125    7/19/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    8.83
1066   126   Week 126    7/26/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    8.33
1066   127   Week 127     8/2/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   19.16
1066   128   Week 128     8/9/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   13.93
1066   129   Week 129    8/16/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   25.83
1066   130   Week 130    8/23/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   36.22
1066   131   Week 131    8/30/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   24.57
1066   132   Week 132     9/6/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25    25.3
1066   133   Week 133    9/13/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   30.33
1066   134   Week 134    9/20/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   38.19
1066   135   Week 135    9/27/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   32.09
1066   136   Week 136    10/4/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   29.72
1066   137   Week 137   10/11/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   31.01
1066   138   Week 138   10/18/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   32.55
1066   139   Week 139   10/25/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   28.89
1066   140   Week 140    11/1/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   33.96
1066   141   Week 141    11/8/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   31.24
1066   142   Week 142   11/15/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   20.96
1066   143   Week 143   11/22/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   14.96
1066   144   Week 144   11/29/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   34.07
1066   145   Week 145    12/6/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   19.15
1066   146   Week 146   12/13/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   17.94
1066   147   Week 147   12/20/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   11.23
1066   148   Week 148   12/27/2015   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   11.26
1066   149   Week 149     1/3/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   19.23
1066   150   Week 150    1/10/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   17.84
1066   151   Week 151    1/17/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.25   14.44
1066   152   Week 152    1/24/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.36   25.03
1066   153   Week 153    1/31/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   15.08
1066   154   Week 154     2/7/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   13.18
1066   155   Week 155    2/14/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   14.23
1066   156   Week 156    2/21/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   15.23
1066   157   Week 157    2/28/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   22.35
1066   158   Week 158     3/6/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   20.79
1066   159   Week 159    3/13/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    21.3
1066   160   Week 160    3/20/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   31.56
1066   161   Week 161    3/27/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    23.3
1066   162   Week 162     4/3/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   24.39
1066   163   Week 163    4/10/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   15.67
1066   164   Week 164    4/17/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   11.42
1066   165   Week 165    4/24/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    25.9
1066   166   Week 166     5/1/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    13.8
1066   167   Week 167     5/8/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    8.41
1066   168   Week 168    5/15/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    9.65
1066   169   Week 169    5/22/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5    8.32
1066   170   Week 170    5/29/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5     9.9
1066   171   Week 171     6/5/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   10.77
1066   172   Week 172    6/12/2016   Northern   Alex Williams   37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER    9.5   16.83
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1066   173   Week 173    6/19/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.25
1066   174   Week 174    6/26/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.15
1066   175   Week 175     7/3/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    9.07
1066   176   Week 176    7/10/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   10.13
1066   177   Week 177    7/17/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    7.29
1066   177   Week 177    7/17/2016   Northern   Alex Williams      137   VRW   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    9.48
1066   178   Week 178    7/24/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    17.9
1066   179   Week 179    7/31/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   12.91
1066   180   Week 180     8/7/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    4.95
1066   181   Week 181    8/14/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5     6.2
1066   182   Week 182    8/21/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   24.78
1066   183   Week 183    8/28/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   20.04
1066   184   Week 184     9/4/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    4.63
1066   185   Week 185    9/11/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.97
1066   186   Week 186    9/18/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   14.47
1066   187   Week 187    9/25/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   15.34
1066   188   Week 188    10/2/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    15.4
1066   189   Week 189    10/9/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   16.68
1066   190   Week 190   10/16/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.03
1066   191   Week 191   10/23/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   11.45
1066   192   Week 192   10/30/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   11.97
1066   193   Week 193    11/6/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    10.3
1066   194   Week 194   11/13/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   20.98
1066   195   Week 195   11/20/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   15.96
1066   196   Week 196   11/27/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   20.84
1066   197   Week 197    12/4/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    19.5
1066   198   Week 198   12/11/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   14.48
1066   199   Week 199   12/18/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    8.39
1066   200   Week 200   12/25/2016   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    10.3
1066   201   Week 201     1/1/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    16.2
1066   202   Week 202     1/8/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   19.75
1066   203   Week 203    1/15/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5      19
1066   204   Week 204    1/22/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   19.74
1066   205   Week 205    1/29/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   18.02
1066   206   Week 206     2/5/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.53
1066   207   Week 207    2/12/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   15.18
1066   208   Week 208    2/19/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    13.1
1066   209   Week 209    2/26/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    17.1
1066   210   Week 210     3/5/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   16.66
1066   211   Week 211    3/12/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   12.51
1066   212   Week 212    3/19/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.65
1066   213   Week 213    3/26/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   16.13
1066   214   Week 214     4/2/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    11.8
1066   215   Week 215     4/9/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   14.03
1066   216   Week 216    4/16/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   15.19
1066   217   Week 217    4/23/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   19.97
1066   218   Week 218    4/30/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   16.59
1066   219   Week 219     5/7/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   21.86
1066   220   Week 220    5/14/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5   13.21
1066   221   Week 221    5/21/2017   Northern   Alex Williams       37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    7.37
1066   222   Week 222    5/28/2017   Northern   DO Travis Bryant    37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    3.65
1066   223   Week 223     6/4/2017   Northern   DO Travis Bryant    37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5    9.06
1066   224   Week 224    6/11/2017   Northern   DO Travis Bryant    37   VRS   VRS336   133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER   9.5     3.6
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1066   225   Week 225    6/18/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    11.1
1066   226   Week 226    6/25/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.87
1066   227   Week 227     7/2/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    7.46
1066   228   Week 228     7/9/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    6.85
1066   229   Week 229    7/16/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    1.62
1066   230   Week 230    7/23/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.18
1066   231   Week 231    7/30/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    7.06
1066   232   Week 232     8/6/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.72
1066   233   Week 233    8/13/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.93
1066   235   Week 235    8/27/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    8.79
1066   236   Week 236     9/3/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    5.95
1066   237   Week 237    9/10/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.43
1066   238   Week 238    9/17/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.72
1066   239   Week 239    9/24/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    6.13
1066   240   Week 240    10/1/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.95
1066   241   Week 241    10/8/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5     6.8
1066   242   Week 242   10/15/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5     5.3
1066   243   Week 243   10/22/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    6.97
1066   245   Week 245    11/5/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.47
1066   248   Week 248   11/26/2017   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.98
1066   255   Week 255    1/14/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    2.62
1066   257   Week 257    1/28/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    7.66
1066   258   Week 258     2/4/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    6.15
1066   260   Week 260    2/18/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.47
1066   261   Week 261    2/25/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.08
1066   262   Week 262     3/4/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.67
1066   263   Week 263    3/11/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.68
1066   264   Week 264    3/18/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.62
1066   265   Week 265    3/25/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    4.17
1066   266   Week 266     4/1/2018   Northern   DO Travis Bryant   37   VRS   VRS336    133903   CHRISTOPHER   COMPTON   CHRISTOPHER COMPTON   DELIVERY DRIVER     9.5    3.03
2012   190   Week 190   10/16/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   25.43
2012   191   Week 191   10/23/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   15.65
2012   192   Week 192   10/30/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   27.21
2012   193   Week 193    11/6/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   36.64
2012   194   Week 194   11/13/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   28.81
2012   196   Week 196   11/27/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   33.53
2012   197   Week 197    12/4/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   27.72
2012   198   Week 198   12/11/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   23.46
2012   199   Week 199   12/18/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10    12.6
2012   200   Week 200   12/25/2016   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   24.27
2012   201   Week 201     1/1/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   26.67
2012   202   Week 202     1/8/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   31.09
2012   203   Week 203    1/15/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER   10.16   41.31
2012   204   Week 204    1/22/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER   10.99   39.51
2012   205   Week 205    1/29/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   33.35
2012   206   Week 206     2/5/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   37.02
2012   207   Week 207    2/12/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   38.83
2012   208   Week 208    2/19/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   35.05
2012   209   Week 209    2/26/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   27.31
2012   210   Week 210     3/5/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER      10   24.69
2012   211   Week 211    3/12/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER   10.01   40.07
2012   212   Week 212    3/19/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER   10.91   47.76
2012   213   Week 213    3/26/2017   Western    Thomas McDonald    41   WAC   WAC1074    66078   AUSTIN        GOSE      AUSTIN GOSE           DELIVERY DRIVER   10.26   42.16
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2012   214   Week 214    4/2/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.04   40.36
2012   215   Week 215    4/9/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   38.86
2012   216   Week 216   4/16/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   36.33
2012   217   Week 217   4/23/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.97   49.58
2012   218   Week 218   4/30/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.42   43.71
2012   219   Week 219    5/7/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.66   46.12
2012   220   Week 220   5/14/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   34.35
2012   221   Week 221   5/21/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   32.54
2012   222   Week 222   5/28/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   11.61
2012   222   Week 222   5/28/2017   Western   Thomas McDonald   41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   12.95
2012   223   Week 223    6/4/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   24.08
2012   224   Week 224   6/11/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   27.62
2012   225   Week 225   6/18/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   37.96
2012   226   Week 226   6/25/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   37.51
2012   227   Week 227    7/2/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   25.95
2012   228   Week 228    7/9/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   38.57
2012   229   Week 229   7/16/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   30.04
2012   230   Week 230   7/23/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.55   44.92
2012   231   Week 231   7/30/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   37.88
2012   232   Week 232    8/6/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   38.11
2012   233   Week 233   8/13/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   14.55
2012   234   Week 234   8/20/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.01    40.1
2012   235   Week 235   8/27/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER   10.12   41.02
2012   236   Week 236    9/3/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   30.89
2012   237   Week 237   9/10/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   33.69
2012   238   Week 238   9/17/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   32.37
2012   239   Week 239   9/24/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   30.62
2012   240   Week 240   10/1/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10    32.6
2012   241   Week 241   10/8/2017   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   24.52
2012   257   Week 257   1/28/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10    3.05
2012   258   Week 258    2/4/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   35.61
2012   259   Week 259   2/11/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   36.78
2012   260   Week 260   2/18/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   26.93
2012   261   Week 261   2/25/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   31.08
2012   262   Week 262    3/4/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10    36.5
2012   263   Week 263   3/11/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   38.99
2012   264   Week 264   3/18/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   37.18
2012   265   Week 265   3/25/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10   21.95
2012   266   Week 266    4/1/2018   Western   DO Greg Winger    41   WAC   WAC1074   66078   AUSTIN    GOSE      AUSTIN GOSE       DELIVERY DRIVER      10    8.11
2588   101   Week 101    2/1/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   16.97
2588   102   Week 102    2/8/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   11.86
2588   103   Week 103   2/15/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8    21.2
2588   104   Week 104   2/22/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.15   35.22
2588   105   Week 105    3/1/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   22.44
2588   106   Week 106    3/8/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   24.41
2588   107   Week 107   3/15/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   35.59
2588   108   Week 108   3/22/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   31.96
2588   109   Week 109   3/29/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   25.34
2588   110   Week 110    4/5/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8    32.8
2588   111   Week 111   4/12/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   38.39
2588   112   Week 112   4/19/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.33   43.55
2588   113   Week 113   4/26/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   38.46
2588   114   Week 114    5/3/2015   Western   Thomas McDonald   41   WAC   WAC990    50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER       8   27.34
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2588   115   Week 115    5/10/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.02   40.16
2588   116   Week 116    5/17/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   37.45
2588   117   Week 117    5/24/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   20.27
2588   118   Week 118    5/31/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   31.93
2588   119   Week 119     6/7/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   23.73
2588   120   Week 120    6/14/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   25.53
2588   121   Week 121    6/21/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   27.77
2588   122   Week 122    6/28/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   14.13
2588   123   Week 123     7/5/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   18.93
2588   124   Week 124    7/12/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8    17.1
2588   125   Week 125    7/19/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   28.09
2588   126   Week 126    7/26/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   30.97
2588   127   Week 127     8/2/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8    33.2
2588   128   Week 128     8/9/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.33   40.22
2588   129   Week 129    8/16/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   27.97
2588   130   Week 130    8/23/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   38.07
2588   131   Week 131    8/30/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      8   26.22
2588   132   Week 132     9/6/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.33   43.56
2588   133   Week 133    9/13/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.28   37.12
2588   134   Week 134    9/20/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.66   41.52
2588   135   Week 135    9/27/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   39.54
2588   136   Week 136    10/4/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   28.76
2588   137   Week 137   10/11/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.84   43.53
2588   138   Week 138   10/18/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   24.99
2588   139   Week 139   10/25/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5    3.45
2588   140   Week 140    11/1/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   16.92
2588   141   Week 141    11/8/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   18.33
2588   142   Week 142   11/15/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   25.73
2588   143   Week 143   11/22/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   20.23
2588   144   Week 144   11/29/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   32.64
2588   145   Week 145    12/6/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   25.76
2588   146   Week 146   12/13/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   28.82
2588   147   Week 147   12/20/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   29.19
2588   148   Week 148   12/27/2015   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   13.21
2588   149   Week 149     1/3/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   19.58
2588   150   Week 150    1/10/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   32.75
2588   151   Week 151    1/17/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   25.66
2588   152   Week 152    1/24/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   15.52
2588   153   Week 153    1/31/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   29.73
2588   154   Week 154     2/7/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   25.08
2588   155   Week 155    2/14/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   31.96
2588   156   Week 156    2/21/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   24.81
2588   157   Week 157    2/28/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   24.39
2588   158   Week 158     3/6/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5      12
2588   159   Week 159    3/13/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.5   16.73
2588   160   Week 160    3/20/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75    19.9
2588   161   Week 161    3/27/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75   17.03
2588   162   Week 162     4/3/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75   26.76
2588   163   Week 163    4/10/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75    34.5
2588   164   Week 164    4/17/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75   25.26
2588   165   Week 165    4/24/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75   25.39
2588   166   Week 166     5/1/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75   30.52
2588   167   Week 167     5/8/2016   Western   Thomas McDonald   41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   8.75    8.28
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2588   168   Week 168    5/15/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   34.74
2588   169   Week 169    5/22/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   21.88
2588   170   Week 170    5/29/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   30.36
2588   171   Week 171     6/5/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   20.09
2588   172   Week 172    6/12/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75    23.7
2588   173   Week 173    6/19/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   30.04
2588   174   Week 174    6/26/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   26.33
2588   175   Week 175     7/3/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   12.09
2588   176   Week 176    7/10/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   10.66
2588   177   Week 177    7/17/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   12.91
2588   178   Week 178    7/24/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   16.29
2588   179   Week 179    7/31/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   19.98
2588   180   Week 180     8/7/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   22.37
2588   181   Week 181    8/14/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   32.33
2588   182   Week 182    8/21/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   16.72
2588   183   Week 183    8/28/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75    9.05
2588   184   Week 184     9/4/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   23.27
2588   185   Week 185    9/11/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   22.01
2588   186   Week 186    9/18/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   19.22
2588   187   Week 187    9/25/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   26.44
2588   188   Week 188    10/2/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER    8.75   31.43
2588   189   Week 189    10/9/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   29.96
2588   190   Week 190   10/16/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   33.82
2588   191   Week 191   10/23/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   23.97
2588   192   Week 192   10/30/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   26.21
2588   193   Week 193    11/6/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   31.52
2588   194   Week 194   11/13/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   31.88
2588   195   Week 195   11/20/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER      10   12.75
2588   196   Week 196   11/27/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   27.58
2588   197   Week 197    12/4/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   22.07
2588   198   Week 198   12/11/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   23.46
2588   199   Week 199   12/18/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25    6.37
2588   200   Week 200   12/25/2016   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.26    0.98
2588   201   Week 201     1/1/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   22.63
2588   202   Week 202     1/8/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   21.13
2588   203   Week 203    1/15/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   21.94
2588   204   Week 204    1/22/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   28.77
2588   205   Week 205    1/29/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25    20.5
2588   206   Week 206     2/5/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   17.37
2588   207   Week 207    2/12/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   23.22
2588   208   Week 208    2/19/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   24.41
2588   209   Week 209    2/26/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   20.89
2588   210   Week 210     3/5/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   10.25
2588   211   Week 211    3/12/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   14.35
2588   212   Week 212    3/19/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25    21.2
2588   213   Week 213    3/26/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25   26.84
2588   214   Week 214     4/2/2017   Western Thomas McDonald        41   WAC   WAC990   50158   JESSICA   JACOBUS   JESSICA JACOBUS   DELIVERY DRIVER   10.25    9.42
3134   136   Week 136    10/4/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER     9.5    5.36
3134   137   Week 137   10/11/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER     9.5   12.94
3134   138   Week 138   10/18/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER     9.5     8.4
3134   139   Week 139   10/25/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER    9.52     0.5
3134   141   Week 141    11/8/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER     9.5    8.84
3134   143   Week 143   11/22/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO    YOLANDA LOZANO    DELIVERY DRIVER     9.5      15
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3134   144   Week 144   11/29/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    15.2
3134   145   Week 145    12/6/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   16.64
3134   146   Week 146   12/13/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   32.72
3134   147   Week 147   12/20/2015   Closed LocaClosed Locations   155   WEL   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   19.68
3134   193   Week 193    11/6/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   19.58
3134   194   Week 194   11/13/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    8.66
3134   195   Week 195   11/20/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   14.82
3134   196   Week 196   11/27/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   16.22
3134   197   Week 197    12/4/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   20.96
3134   198   Week 198   12/11/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5     7.5
3134   200   Week 200   12/25/2016   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    0.04
3134   201   Week 201     1/1/2017   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5     3.4
3134   202   Week 202     1/8/2017   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    16.2
3134   203   Week 203    1/15/2017   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5   11.76
3134   204   Week 204    1/22/2017   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5     8.9
3134   205   Week 205    1/29/2017   Eastern    Don Shirley        126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    7.26
3134   205   Week 205    1/29/2017   Eastern    Max Torrence       126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5     7.7
3134   206   Week 206     2/5/2017   Eastern    Don Shirley        126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    13.8
3134   207   Week 207    2/12/2017   Eastern    Don Shirley        126   BOY   WEL143   49204   YOLANDA   LOZANO   YOLANDA LOZANO   DELIVERY DRIVER   9.5    5.16
 387   106   Week 106     3/8/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   30.28
 387   107   Week 107    3/15/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   21.77
 387   108   Week 108    3/22/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   22.26
 387   109   Week 109    3/29/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   19.54
 387   110   Week 110     4/5/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5    11.1
 387   111   Week 111    4/12/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   18.78
 387   112   Week 112    4/19/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   12.23
 387   113   Week 113    4/26/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5     5.9
 387   118   Week 118    5/31/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   22.74
 387   119   Week 119     6/7/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   34.92
 387   120   Week 120    6/14/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   24.23
 387   121   Week 121    6/21/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   20.71
 387   122   Week 122    6/28/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   17.33
 387   123   Week 123     7/5/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   21.92
 387   124   Week 124    7/12/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   15.22
 387   125   Week 125    7/19/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   11.61
 387   126   Week 126    7/26/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   17.61
 387   127   Week 127     8/2/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   14.36
 387   128   Week 128     8/9/2015   Closed LocaClosed Locations   155   WEL   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   16.27
 387   130   Week 130    8/23/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   20.12
 387   131   Week 131    8/30/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   13.24
 387   132   Week 132     9/6/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   11.28
 387   133   Week 133    9/13/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   14.03
 387   134   Week 134    9/20/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   12.97
 387   135   Week 135    9/27/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   20.17
 387   136   Week 136    10/4/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   22.44
 387   137   Week 137   10/11/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   15.28
 387   138   Week 138   10/18/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   29.24
 387   139   Week 139   10/25/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5    9.34
 387   140   Week 140    11/1/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   21.83
 387   141   Week 141    11/8/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   12.87
 387   142   Week 142   11/15/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5   17.26
 387   143   Week 143   11/22/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5     3.3
 387   144   Week 144   11/29/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL    BECKER   SAMUEL BECKER    DELIVERY DRIVER   8.5    9.42
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 387   145   Week 145    12/6/2015   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER   8.5    2.97
 387   149   Week 149     1/3/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER   8.5   13.84
 387   150   Week 150    1/10/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER   8.5     9.1
 387   151   Week 151    1/17/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER   8.5   16.87
 387   152   Week 152    1/24/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER   8.5    6.97
 387   153   Week 153    1/31/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    8.25
 387   154   Week 154     2/7/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   11.45
 387   155   Week 155    2/14/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9     6.9
 387   156   Week 156    2/21/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9     6.9
 387   157   Week 157    2/28/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    8.93
 387   158   Week 158     3/6/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9     8.8
 387   159   Week 159    3/13/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    9.12
 387   160   Week 160    3/20/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    2.87
 387   161   Week 161    3/27/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    3.52
 387   162   Week 162     4/3/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    6.47
 387   163   Week 163    4/10/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    8.79
 387   164   Week 164    4/17/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   12.21
 387   165   Week 165    4/24/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   10.64
 387   182   Week 182    8/21/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   23.87
 387   183   Week 183    8/28/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   32.73
 387   184   Week 184     9/4/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   19.41
 387   185   Week 185    9/11/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   22.72
 387   186   Week 186    9/18/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   26.78
 387   187   Week 187    9/25/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   27.83
 387   188   Week 188    10/2/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   18.77
 387   189   Week 189    10/9/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   28.64
 387   190   Week 190   10/16/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    10.2
 387   191   Week 191   10/23/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   33.61
 387   192   Week 192   10/30/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   17.22
 387   193   Week 193    11/6/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   16.33
 387   194   Week 194   11/13/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    22.4
 387   195   Week 195   11/20/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9     7.3
 387   196   Week 196   11/27/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   26.84
 387   197   Week 197    12/4/2016   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   18.96
 387   202   Week 202     1/8/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   25.46
 387   203   Week 203    1/15/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   13.96
 387   204   Week 204    1/22/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    19.8
 387   205   Week 205    1/29/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   17.14
 387   206   Week 206     2/5/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   18.28
 387   207   Week 207    2/12/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   23.64
 387   208   Week 208    2/19/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   17.17
 387   209   Week 209    2/26/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    6.25
 387   210   Week 210     3/5/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   18.66
 387   211   Week 211    3/12/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9    6.72
 387   213   Week 213    3/26/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   18.93
 387   214   Week 214     4/2/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   14.67
 387   215   Week 215     4/9/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   19.45
 387   216   Week 216    4/16/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   15.91
 387   217   Week 217    4/23/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   20.06
 387   218   Week 218    4/30/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   34.32
 387   219   Week 219     5/7/2017   Eastern    Don Shirley        194   JAX   WEL160   51937   SAMUEL   BECKER   SAMUEL BECKER   DELIVERY DRIVER     9   20.63
1144   113   Week 113    4/26/2015   Closed LocaClosed Locations   155   WEL   WEL181   54676   SUSAN    COURY    SUSAN COURY     DELIVERY DRIVER     9    9.54
1144   114   Week 114     5/3/2015   Closed LocaClosed Locations   155   WEL   WEL181   54676   SUSAN    COURY    SUSAN COURY     DELIVERY DRIVER     9   22.95
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1144   115   Week 115    5/10/2015   Closed LocaClosed Locations   155   WEL   WEL181   54676   SUSAN      COURY       SUSAN COURY        DELIVERY DRIVER      9    2.47
1672   193   Week 193    11/6/2016   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10    0.05
1672   196   Week 196   11/27/2016   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10    5.37
1672   199   Week 199   12/18/2016   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10     1.5
1672   200   Week 200   12/25/2016   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10    0.28
1672   201   Week 201     1/1/2017   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10       2
1672   202   Week 202     1/8/2017   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10   23.63
1672   203   Week 203    1/15/2017   Eastern    Max Torrence       126   BOY   WEL206   58562   MICHELLE   FIELDS      MICHELLE FIELDS    DELIVERY DRIVER     10    7.32
  68   102   Week 102     2/8/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.18
  68   103   Week 103    2/15/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.71
  68   104   Week 104    2/22/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.65
  68   105   Week 105     3/1/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   21.26
  68   106   Week 106     3/8/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.45
  68   107   Week 107    3/15/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.43
  68   108   Week 108    3/22/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.88
  68   109   Week 109    3/29/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.97
  68   110   Week 110     4/5/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.57
  68   111   Week 111    4/12/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.82
  68   112   Week 112    4/19/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.85
  68   113   Week 113    4/26/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.94
  68   114   Week 114     5/3/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.22
  68   115   Week 115    5/10/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.58
  68   116   Week 116    5/17/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.05
  68   117   Week 117    5/24/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.59
  68   118   Week 118    5/31/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.33
  68   119   Week 119     6/7/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    17.4
  68   120   Week 120    6/14/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.58
  68   121   Week 121    6/21/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75      17
  68   122   Week 122    6/28/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    8.37
  68   123   Week 123     7/5/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.71
  68   124   Week 124    7/12/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.47
  68   125   Week 125    7/19/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.69
  68   126   Week 126    7/26/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.27
  68   127   Week 127     8/2/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.93
  68   128   Week 128     8/9/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.44
  68   129   Week 129    8/16/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.87
  68   130   Week 130    8/23/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.05
  68   131   Week 131    8/30/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   11.96
  68   132   Week 132     9/6/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.82
  68   133   Week 133    9/13/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.68
  68   134   Week 134    9/20/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.28
  68   135   Week 135    9/27/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.07
  68   136   Week 136    10/4/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.98
  68   137   Week 137   10/11/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.01
  68   138   Week 138   10/18/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.73
  68   139   Week 139   10/25/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.43
  68   140   Week 140    11/1/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.62
  68   141   Week 141    11/8/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.54
  68   142   Week 142   11/15/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.07
  68   143   Week 143   11/22/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    6.42
  68   144   Week 144   11/29/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    18.1
  68   145   Week 145    12/6/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.38
  68   146   Week 146   12/13/2015   Southern Noel Luna            130   WIL   WIL248   50928   DANIEL     AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.78
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68   147   Week 147   12/20/2015   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    4.17
68   148   Week 148   12/27/2015   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75     4.8
68   149   Week 149     1/3/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.59
68   150   Week 150    1/10/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.48
68   151   Week 151    1/17/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.76
68   152   Week 152    1/24/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.07
68   153   Week 153    1/31/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.85
68   154   Week 154     2/7/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.71
68   155   Week 155    2/14/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.91
68   156   Week 156    2/21/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.54
68   157   Week 157    2/28/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.92
68   158   Week 158     3/6/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.03
68   159   Week 159    3/13/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.98
68   160   Week 160    3/20/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.53
68   161   Week 161    3/27/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.34
68   162   Week 162     4/3/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.18
68   163   Week 163    4/10/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.04
68   164   Week 164    4/17/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   23.51
68   165   Week 165    4/24/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.32
68   166   Week 166     5/1/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.32
68   167   Week 167     5/8/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.94
68   168   Week 168    5/15/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.28
68   169   Week 169    5/22/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.92
68   170   Week 170    5/29/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.19
68   171   Week 171     6/5/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   26.04
68   172   Week 172    6/12/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.79
68   173   Week 173    6/19/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.02
68   174   Week 174    6/26/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.41
68   175   Week 175     7/3/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.28
68   176   Week 176    7/10/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   23.75
68   177   Week 177    7/17/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   21.05
68   178   Week 178    7/24/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    17.4
68   179   Week 179    7/31/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.44
68   180   Week 180     8/7/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    16.4
68   181   Week 181    8/14/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    14.7
68   182   Week 182    8/21/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.88
68   183   Week 183    8/28/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.38
68   184   Week 184     9/4/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   23.55
68   185   Week 185    9/11/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    19.5
68   186   Week 186    9/18/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.14
68   187   Week 187    9/25/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.78
68   188   Week 188    10/2/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.65
68   189   Week 189    10/9/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.18
68   190   Week 190   10/16/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.01
68   191   Week 191   10/23/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    15.8
68   192   Week 192   10/30/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.84
68   193   Week 193    11/6/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.97
68   194   Week 194   11/13/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.67
68   195   Week 195   11/20/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    3.15
68   196   Week 196   11/27/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.58
68   197   Week 197    12/4/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.73
68   198   Week 198   12/11/2016   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.31
68   201   Week 201     1/1/2017   Southern   Noel Luna   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.18
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68   202   Week 202     1/8/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75      13
68   203   Week 203    1/15/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    16.7
68   204   Week 204    1/22/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.92
68   205   Week 205    1/29/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.89
68   206   Week 206     2/5/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   11.42
68   207   Week 207    2/12/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    16.1
68   208   Week 208    2/19/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.68
68   209   Week 209    2/26/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.11
68   210   Week 210     3/5/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    16.6
68   211   Week 211    3/12/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.28
68   212   Week 212    3/19/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.78
68   213   Week 213    3/26/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.35
68   214   Week 214     4/2/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    8.85
68   215   Week 215     4/9/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    8.98
68   216   Week 216    4/16/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   11.34
68   217   Week 217    4/23/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   11.18
68   218   Week 218    4/30/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   15.04
68   219   Week 219     5/7/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   10.94
68   220   Week 220    5/14/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.78
68   221   Week 221    5/21/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    5.74
68   222   Week 222    5/28/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75     3.2
68   222   Week 222    5/28/2017   Southern   Noel Luna         130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75     5.7
68   223   Week 223     6/4/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.73
68   224   Week 224    6/11/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.84
68   225   Week 225    6/18/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   11.19
68   226   Week 226    6/25/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   10.34
68   227   Week 227     7/2/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75     5.3
68   228   Week 228     7/9/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   12.88
68   229   Week 229    7/16/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    8.21
68   230   Week 230    7/23/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    10.4
68   231   Week 231    7/30/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   10.39
68   232   Week 232     8/6/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.95
68   233   Week 233    8/13/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.49
68   234   Week 234    8/20/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    8.15
68   236   Week 236     9/3/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   22.91
68   237   Week 237    9/10/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.95
68   238   Week 238    9/17/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.46
68   239   Week 239    9/24/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   21.49
68   240   Week 240    10/1/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   17.93
68   241   Week 241    10/8/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   14.43
68   242   Week 242   10/15/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.26
68   243   Week 243   10/22/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.19
68   244   Week 244   10/29/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    19.5
68   245   Week 245    11/5/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   19.76
68   246   Week 246   11/12/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.83
68   247   Week 247   11/19/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    6.35
68   248   Week 248   11/26/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   16.63
68   249   Week 249    12/3/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   20.91
68   250   Week 250   12/10/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    16.7
68   251   Week 251   12/17/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   13.54
68   252   Week 252   12/24/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75       5
68   253   Week 253   12/31/2017   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75     2.9
68   254   Week 254     1/7/2018   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL   AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    14.1
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  68   255   Week 255   1/14/2018   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL    AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75   18.25
  68   256   Week 256   1/21/2018   Southern   DO Kelly Finley   130   WIL   WIL248   50928   DANIEL    AKINBOADE   DANIEL AKINBOADE   DELIVERY DRIVER   7.75    6.87
1342   212   Week 212   3/19/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9    6.42
1342   213   Week 213   3/26/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   22.05
1342   214   Week 214    4/2/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   16.91
1342   215   Week 215    4/9/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9    14.2
1342   216   Week 216   4/16/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   13.38
1342   217   Week 217   4/23/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   14.33
1342   218   Week 218   4/30/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   15.23
1342   219   Week 219    5/7/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   20.75
1342   220   Week 220   5/14/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   22.36
1342   221   Week 221   5/21/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9   33.29
1342   222   Week 222   5/28/2017   Eastern    Scott Miller      171   WNC   WNC165   68751   ALEX      DEGRASSI    ALEX DEGRASSI      DELIVERY DRIVER      9    7.32
5036   102   Week 102    2/8/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   16.67
5036   103   Week 103   2/15/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   13.97
5036   104   Week 104   2/22/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25     8.2
5036   105   Week 105    3/1/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   12.85
5036   106   Week 106    3/8/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25     3.8
5036   107   Week 107   3/15/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    9.43
5036   108   Week 108   3/22/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25     7.4
5036   109   Week 109   3/29/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    9.62
5036   110   Week 110    4/5/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   13.18
5036   111   Week 111   4/12/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    0.08
5036   112   Week 112   4/19/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    4.14
5036   114   Week 114    5/3/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    9.22
5036   115   Week 115   5/10/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   12.11
5036   116   Week 116   5/17/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    6.22
5036   117   Week 117   5/24/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   13.81
5036   118   Week 118   5/31/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   16.31
5036   119   Week 119    6/7/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   13.92
5036   120   Week 120   6/14/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25   12.53
5036   121   Week 121   6/21/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25    6.82
5036   123   Week 123    7/5/2015   Eastern    Nick Robertson    162   CNC   WNS741   38356   JULIE     SULLIVAN    JULIE SULLIVAN     DELIVERY DRIVER   9.25     7.4
2366   112   Week 112   4/19/2015   Eastern    Nick Robertson     65   WNS   WNS763   43638   CHARLES   HICKS       CHARLES HICKS      DELIVERY DRIVER   8.75   10.02
2365   101   Week 101    2/1/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   30.06
2365   102   Week 102    2/8/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   27.75
2365   103   Week 103   2/15/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   20.49
2365   104   Week 104   2/22/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   25.44
2365   105   Week 105    3/1/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   28.49
2365   106   Week 106    3/8/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8    20.9
2365   107   Week 107   3/15/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   20.46
2365   108   Week 108   3/22/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   12.48
2365   109   Week 109   3/29/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8    7.01
2365   110   Week 110    4/5/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   17.28
2365   111   Week 111   4/12/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   17.78
2365   112   Week 112   4/19/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   23.37
2365   113   Week 113   4/26/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   16.13
2365   114   Week 114    5/3/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   19.31
2365   115   Week 115   5/10/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8    22.4
2365   116   Week 116   5/17/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   31.59
2365   117   Week 117   5/24/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   26.09
2365   118   Week 118   5/31/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   20.49
2365   119   Week 119    6/7/2015   Eastern    Nick Robertson     65   WNS   WNS776   49310   CANDACE   HICKS       CANDACE HICKS      DELIVERY DRIVER      8   25.29
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2365   120   Week 120    6/14/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8    19.6
2365   121   Week 121    6/21/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   16.13
2365   122   Week 122    6/28/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8    20.2
2365   123   Week 123     7/5/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   19.58
2365   124   Week 124    7/12/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8    19.3
2365   125   Week 125    7/19/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   21.66
2365   126   Week 126    7/26/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   18.77
2365   127   Week 127     8/2/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8    8.62
2365   128   Week 128     8/9/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   29.21
2365   129   Week 129    8/16/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER      8   29.97
2365   130   Week 130    8/23/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.07   28.82
2365   131   Week 131    8/30/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   14.74
2365   132   Week 132     9/6/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    16.4
2365   133   Week 133    9/13/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   17.91
2365   134   Week 134    9/20/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   15.21
2365   135   Week 135    9/27/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   15.16
2365   136   Week 136    10/4/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    18.8
2365   137   Week 137   10/11/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   22.82
2365   138   Week 138   10/18/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   20.47
2365   139   Week 139   10/25/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   14.25
2365   140   Week 140    11/1/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   29.64
2365   141   Week 141    11/8/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   24.19
2365   142   Week 142   11/15/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.52   32.69
2365   143   Week 143   11/22/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    8.59
2365   144   Week 144   11/29/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   25.91
2365   145   Week 145    12/6/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.52   26.84
2365   146   Week 146   12/13/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   15.52
2365   147   Week 147   12/20/2015   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    8.21
2365   149   Week 149     1/3/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    5.05
2365   151   Week 151    1/17/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   14.56
2365   152   Week 152    1/24/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   16.54
2365   153   Week 153    1/31/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.78   27.05
2365   154   Week 154     2/7/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    9.82
2365   155   Week 155    2/14/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    8.45
2365   156   Week 156    2/21/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   9.44   36.44
2365   157   Week 157    2/28/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.52   27.57
2365   158   Week 158     3/6/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   8.88   39.97
2365   159   Week 159    3/13/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   35.72
2365   160   Week 160    3/20/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    13.5
2365   161   Week 161    3/27/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   24.78
2365   162   Week 162     4/3/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   22.61
2365   163   Week 163    4/10/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   22.13
2365   164   Week 164    4/17/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   25.04
2365   165   Week 165    4/24/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   25.31
2365   166   Week 166     5/1/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   30.77
2365   167   Week 167     5/8/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5   21.84
2365   168   Week 168    5/15/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    20.6
2365   169   Week 169    5/22/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER    8.5    8.93
2365   170   Week 170    5/29/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER     10    0.07
2365   171   Week 171     6/5/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER     10    3.25
2365   172   Week 172    6/12/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER     10    2.55
2365   184   Week 184     9/4/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   10.5    2.95
2365   185   Week 185    9/11/2016   Eastern   Nick Robertson   65   WNS   WNS776   49310   CANDACE   HICKS   CANDACE HICKS   DELIVERY DRIVER   10.5    6.17
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2365   189   Week 189    10/9/2016   Eastern   Nick Robertson    65   WNS   WNS776   49310   CANDACE   HICKS     CANDACE HICKS   DELIVERY DRIVER   15.75    0.83
2365   208   Week 208    2/19/2017   Eastern   Scott Miller      65   WNS   WNS776   49310   CANDACE   HICKS     CANDACE HICKS   DELIVERY DRIVER      11    2.97
2365   216   Week 216    4/16/2017   Eastern   Scott Miller      65   WNS   WNS776   49310   CANDACE   HICKS     CANDACE HICKS   DELIVERY DRIVER      11    2.78
2365   223   Week 223     6/4/2017   Eastern   DO Jason Harmon   65   WNS   WNS776   49310   CANDACE   HICKS     CANDACE HICKS   DELIVERY DRIVER    11.5     2.1
4768   185   Week 185    9/11/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   16.97
4768   186   Week 186    9/18/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    24.3
4768   187   Week 187    9/25/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   15.96
4768   188   Week 188    10/2/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   11.93
4768   189   Week 189    10/9/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   20.13
4768   190   Week 190   10/16/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    9.02
4768   191   Week 191   10/23/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   16.62
4768   192   Week 192   10/30/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   17.62
4768   193   Week 193    11/6/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   10.43
4768   194   Week 194   11/13/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    8.27
4768   195   Week 195   11/20/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    2.67
4768   196   Week 196   11/27/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    8.79
4768   197   Week 197    12/4/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5      10
4768   198   Week 198   12/11/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    8.63
4768   199   Week 199   12/18/2016   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    3.23
4768   201   Week 201     1/1/2017   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   15.92
4768   202   Week 202     1/8/2017   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   13.22
4768   203   Week 203    1/15/2017   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    9.97
4768   204   Week 204    1/22/2017   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   13.59
4768   205   Week 205    1/29/2017   Eastern   Nick Robertson    65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    7.35
4768   205   Week 205    1/29/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    5.79
4768   206   Week 206     2/5/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    6.53
4768   207   Week 207    2/12/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   12.45
4768   208   Week 208    2/19/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    3.76
4768   209   Week 209    2/26/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    8.83
4768   210   Week 210     3/5/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   11.12
4768   211   Week 211    3/12/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    8.79
4768   212   Week 212    3/19/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    11.1
4768   213   Week 213    3/26/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   11.02
4768   214   Week 214     4/2/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   14.92
4768   215   Week 215     4/9/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   11.99
4768   216   Week 216    4/16/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    3.95
4768   217   Week 217    4/23/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   11.45
4768   218   Week 218    4/30/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5     5.3
4768   219   Week 219     5/7/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5     2.7
4768   221   Week 221    5/21/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    5.65
4768   222   Week 222    5/28/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    6.82
4768   222   Week 222    5/28/2017   Eastern   Scott Miller      65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    2.23
4768   223   Week 223     6/4/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    6.47
4768   224   Week 224    6/11/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5   10.22
4768   225   Week 225    6/18/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    2.88
4768   226   Week 226    6/25/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    7.62
4768   228   Week 228     7/9/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5     2.4
4768   229   Week 229    7/16/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    5.07
4768   230   Week 230    7/23/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    3.63
4768   231   Week 231    7/30/2017   Eastern   DO Jason Harmon   65   WNS   WNS818   65550   RANDY     SILVERS   RANDY SILVERS   DELIVERY DRIVER     8.5    3.33
4631   193   Week 193    11/6/2016   Eastern   Nick Robertson    65   WNS   WNS837   66585   BRANT     SCHMIDT   BRANT SCHMIDT   DELIVERY DRIVER       8   24.11
4631   194   Week 194   11/13/2016   Eastern   Nick Robertson    65   WNS   WNS837   66585   BRANT     SCHMIDT   BRANT SCHMIDT   DELIVERY DRIVER       8   22.09
4631   195   Week 195   11/20/2016   Eastern   Nick Robertson    65   WNS   WNS837   66585   BRANT     SCHMIDT   BRANT SCHMIDT   DELIVERY DRIVER       8   27.09
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4631   196   Week 196   11/27/2016   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8   32.24
4631   197   Week 197    12/4/2016   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8   22.09
4631   198   Week 198   12/11/2016   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8   18.56
4631   199   Week 199   12/18/2016   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8    4.69
4631   200   Week 200   12/25/2016   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8    9.75
4631   201   Week 201     1/1/2017   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8    7.98
4631   202   Week 202     1/8/2017   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8   19.37
4631   203   Week 203    1/15/2017   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8    20.6
4631   204   Week 204    1/22/2017   Eastern   Nick Robertson     65   WNS   WNS837    66585   BRANT            SCHMIDT   BRANT SCHMIDT           DELIVERY DRIVER      8   26.66
3154   216   Week 216    4/16/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25    5.33
3154   217   Week 217    4/23/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   28.78
3154   218   Week 218    4/30/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   32.62
3154   219   Week 219     5/7/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25    23.1
3154   220   Week 220    5/14/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   32.76
3154   221   Week 221    5/21/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   29.05
3154   222   Week 222    5/28/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   18.56
3154   222   Week 222    5/28/2017   Western   Mike McCown        34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25    15.6
3154   223   Week 223     6/4/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   32.68
3154   224   Week 224    6/11/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   34.32
3154   225   Week 225    6/18/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   33.73
3154   226   Week 226    6/25/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   33.54
3154   227   Week 227     7/2/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   29.77
3154   228   Week 228     7/9/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   28.85
3154   229   Week 229    7/16/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   30.02
3154   230   Week 230    7/23/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.33   40.91
3154   231   Week 231    7/30/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   36.14
3154   232   Week 232     8/6/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   38.54
3154   233   Week 233    8/13/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   29.92
3154   234   Week 234    8/20/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   39.11
3154   235   Week 235    8/27/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   32.79
3154   236   Week 236     9/3/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.31   40.64
3154   237   Week 237    9/10/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.29   40.41
3154   238   Week 238    9/17/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.33   40.85
3154   239   Week 239    9/24/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.38   41.52
3154   240   Week 240    10/1/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   31.87
3154   241   Week 241    10/8/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25    27.7
3154   242   Week 242   10/15/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.25   20.34
3154   243   Week 243   10/22/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.34   41.03
3154   244   Week 244   10/29/2017   Western   DO David Rathbun   34   WPL   WPL1007   69393   ALBERTO CARLOS   LUMMIS    ALBERTO CARLOS LUMMIS   DELIVERY DRIVER   7.54   43.45
